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                     Exhibit 2
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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA



ALEXANDRE PELLETIER, Individually             Civil Action
and On Behalf of All Others Similarly
Situated,                                     No. 17-CV-5114

                                 Plaintiff,

                   v.

ENDO INTERNATIONAL PLC, RAJIV
KANISHKA LIYANAARCHCHIE
DE SILVA, SUKETU P. UPADHYAY, AND
PAUL V. CAMPANELLI

                              Defendants.




                         EXPERT REPORT OF ZACHARY NYE, PH.D.

                                        June 26, 2020
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I.      Background and Qualifications

1.      I am a financial economist and Vice President at Stanford Consulting Group, Inc.

(“SCG”). Since 1981, SCG has provided economic research and expert testimony for business

litigation, and regulatory and legislative proceedings. All SCG professionals hold masters or

doctoral degrees in business, economics, finance or operations research, and certain senior

consultants have testified as experts in these fields. I have an A.B. in Economics from Princeton

University; an M.Sc. in Finance from the London Business School; and a Ph.D. in Finance from

the Paul Merage School of Business at the University of California, Irvine. I have co-authored

academic research published in peer-reviewed conference proceedings, as well as working

papers with finance faculty at various universities. My research areas include the market

efficiency of financial and derivative securities, volatility forecasting, risk management, financial

econometrics, valuation and corporate finance. I have previously served as an expert witness in

matters involving securities litigation, as well as business and intellectual property valuation.

My curriculum vitae, which includes my academic research, publications in the past ten years,

and prior expert testimony in the past four years, is attached hereto as Exhibit 1.

2.      My current hourly rate is $800. I have received assistance from individuals at SCG, who

worked under my direction; their fees charged for this project are their standard hourly rates.

Neither my compensation nor that of any individual at SCG is contingent on the outcome of this

litigation.

II.     Scope of Engagement

3.      I have been retained by Counsel for Lead Plaintiff in this matter to opine as to whether

the common stock of Endo International plc (“Endo” or the “Company”) traded in an efficient

market during the period March 2, 2015 through February 27, 2017, inclusive (the “Class




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Period”). I also have been asked by Counsel to opine on whether damages under §10(b)

(“Section 10(b)”) of the Securities Exchange Act of 1934 (“Exchange Act”), and Rule 10b-5

promulgated thereunder by the SEC, can be calculated using a method that is common to each

Class member and in a manner consistent with Lead Plaintiff’s theory of liability,1 for investors

who purchased or otherwise acquired Endo stock during the Class Period. However, I have not

been asked at this time to calculate or opine on the amount of such damages.

III.    Bases for Opinions

4.      My opinions are based upon my professional knowledge and experience, my review of

documents and information relevant to this matter (see Exhibit 2), and the analyses described in

this Report and its Exhibits. Documents, data, and other information that I have relied upon as

bases for my opinions are cited in this Report and its Exhibits. Such documents and information

are typically relied upon by financial experts in securities class actions and by financial

economists in their research.

5.      Counsel for Lead Plaintiff has informed me that the record in this matter continues to be

developed and that fact discovery is ongoing. To the extent they are relevant, I would expect to

review additional information that may become available through discovery as well as the

reports and depositions of other expert witnesses. The opinions offered in this Report are subject

to refinement or revision based on continuing analysis of the documents and information listed

above, as well as new or additional information that may be provided to or obtained by me in the

course of this matter.




1
 The claims in this action are set forth in the “Amended Class Action Complaint,” dated August
6, 2018 (the “Complaint”).


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IV.      Summary of Opinions

6.       As discussed below in §VI, based on my review of the available evidence in this matter,

and careful analysis of data specific to Endo relating to the efficiency factors detailed throughout

this Report, I conclude that the market for Endo stock was efficient throughout the Class Period.

7.       As discussed in §VII, it is my opinion that damages under Section 10(b) of the Exchange

Act, for investors who purchased or otherwise acquired Endo stock during the Class Period, can

be calculated using a methodology that is common to the Class and in a manner that is consistent

with Lead Plaintiff’s theory of liability.

V.       Overview of Endo’s Business Operations

8.       During the Class Period, Endo described itself as a “global specialty pharmaceutical

company focused on branded and generic pharmaceuticals.”2 The Company “primarily [sold its]

generic and branded pharmaceuticals to wholesalers, retail drug store chains, supermarket chains,

mass merchandisers, distributors, mail order accounts, hospitals and government agencies.”3 In

2015, 2016, and 2017, its major customers included Cardinal Health, Inc., McKesson

Corporation, and AmerisourceBergen Corporation.4




2
    Endo International plc, SEC Form 10-K for year-end 2015, filed February 29, 2016, p. 2.
3
 Endo International plc, SEC Form 10-K for year-end 2017, filed February 27, 2018, p. 8. See
also, Endo International plc, SEC Form 10-K for year-end 2016, filed March 1, 2017, p. 13.
4
  In 2015, 2016 and 2017, Cardinal Health, Inc. accounted for between 21% and 25% of Endo’s
total revenues; McKesson Corporation accounted for between 25% and 31% of Endo’s total
revenues; and AmerisourceBergen Corporation accounted for between 23% and 25% of Endo’s
total revenues. (Ibid.)



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9.         During the Class Period, Endo operated within three reportable business segments: (i)

U.S. Generic Pharmaceuticals; (ii) U.S. Branded Pharmaceuticals; and (iii) International

Pharmaceuticals.5, 6 The Company’s U.S. Generic Pharmaceuticals segment was comprised of:

           generic products primarily in the United States across multiple therapeutic
           categories, including pain management, urology, central nervous system
           disorders, immunosuppression, oncology, women’s health and cardiovascular
           disease markets, among others. Product dosage forms and delivery systems
           include[d] solid oral extended-release, solid oral immediate-release and abuse-
           resistant products, as well as alternative dosage forms such as liquids, semi-solids,
           patches, powders, ophthalmics, sprays, and sterile injectable products.7

The Company’s U.S. Branded Pharmaceuticals segment included the “specialty pharmaceuticals

market” (offering treatments in the area of urology and orthopedics/pediatric endocrinology), the

“urology market,” and the “pain management market.”8 Endo’s International Pharmaceuticals

segment included “a variety of specialty pharmaceutical and branded generic products for the

Canadian, Latin American, South African and non-U.S. markets.”9, 10 The Company’s total

reported revenue for year-ends 2017, 2016 and 2015, by business segment was as follows:11




5
  Endo International plc, SEC Form 10-K for year-end 2016, filed March 1, 2017, p. 2; Endo
International plc, SEC Form 10-K for year-end 2017, filed February 27, 2018, p. 1.
6
 Shortly before the start of the Class Period, in February 2015, Endo’s “Board of Directors …
approved a plan to sell the Company’s American Medical Systems Holdings, Inc. (AMS)
business, which comprised the entirety of [its] former Devices segment.” (Endo International
plc, SEC Form 10-K for year-end 2016, filed March 1, 2017, p. F-18.)
7
    Endo International plc, SEC Form 10-K for year-end 2016, filed March 1, 2017, p. 6.
8
    Ibid., pp. 6, 7.
9
    Ibid., p. 7.
10
  After the Class Period, the Company’s South Africa business was sold in July 2017, and its
Latin American business was sold in October 2017. (Endo International plc, SEC Form 10-K for
year-end 2017, filed February 27, 2018, p. 2.)
11
     Endo International plc, SEC Form 10-K for year-end 2017, filed February 27, 2018, p. 62.



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 Revenue (in thousands)                       2017                2016                2015
  U.S. Generic Pharmaceuticals             $2,281,001          $2,564,613          $1,672,416
  U.S. Branded Pharmaceuticals              $957,525           $1,166,294          $1,284,607
  International Pharmaceuticals             $230,332            $279,367            $311,695
 Total                                     $3,468,858          $4,010,274          $3,268,718

10.        Shortly before the Class Period, in January 2015, Endo acquired Auxilium

Pharmaceuticals, Inc. (“Auxilium”) for equity and cash consideration of $2.6 billion.12 Auxilium

was “a fully integrated specialty biopharmaceutical company” which “focus[ed] on developing

and commercializing innovative products for specific patients’ needs.”13

11.        In September 2015, the Company “acquired Par Pharmaceutical Holdings, Inc. (Par),

which develops, licenses, manufactures, markets and distributes innovative and cost-effective

pharmaceuticals that help improve patient quality of life,” for total consideration of $8.14

billion.14 After the acquisition, Endo’s U.S. Generic Pharmaceutical segment conducted

“business as Par Pharmaceutical,” and was reportedly “the fourth largest U.S. generics company

based on market share.”15

12.        Endo was incorporated in Ireland in 2013 “as a private limited company and re-registered

effective February 18, 2014 as a public limited company.”16 The Company’s global

headquarters are located in Dublin, Ireland, and its U.S. headquarters are located in Malvern,

Pennsylvania.17 During the Class Period, Endo’s ordinary shares were listed on the NASDAQ




12
     Endo International plc, SEC Form 10-K for year-end 2015, filed February 29, 2016, p. 47.
13
     Ibid., p. 3.
14
     Ibid., p. 3, 48.
15
     Endo International plc, SEC Form 10-K for year-end 2016, filed March 1, 2017, p. 2.
16
     Endo International plc, SEC Form 10-K for year-end 2015, filed February 29, 2016, p. 2.
17
     Ibid., p. 3.



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Global Select Market and the Toronto Stock Exchange (“TSX”) under the ticker symbol

“ENDP.”18, 19

VI.       The Market for Endo Stock Was Efficient Throughout the Class Period

13.       In this case, Lead Plaintiff has asserted the “fraud-on-the-market” presumption of

reliance. The “fraud-on-the-market” theory was first addressed by the U.S. Supreme Court in

Basic, Inc. v. Levinson:

          In an open and developed securities market, the price of a company’s stock is
          determined by the available material information regarding the company and its
          business…. Misleading statements will therefore defraud purchasers of stock even
          if the purchasers do not directly rely on the misstatements…. The causal
          connection between the defendants’ fraud and the plaintiffs’ purchase of stock in
          such a case is no less significant than in a case of direct reliance on
          misrepresentations.20

14.       Since Basic, academic economists have debated various forms of the efficient capital

market hypothesis (“ECMH”).21 In 2014, the Supreme Court clarified that Basic did not


18
     Endo International plc, SEC Form 10-K for year-end 2016, filed March 1, 2017, p. 3.
19
   During the Class Period, approximately 1.05 million Endo ordinary shares traded on the TSX
(i.e., 0.04% of total U.S. and TSX combined trading volume). Shortly after the end of the Class
Period, Endo applied to have its shares delisted from the TSX at the close of business on March
17, 2017 “due to the limited trading volume of Endo’s ordinary shares on the TSX.”
(https://www. prnewswire.com/news-releases/endo-international-plc-to-delist-ordinary-shares-
from-the-toronto-stock-exchange-300417920.html.)
20
     Basic, Inc. v. Levinson, 485 U.S. 224, 241–242 (1988).
21
   Generally speaking, academic economists consider there to be three forms of market
efficiency: “weak” form; “semi-strong” form; and “strong” form market efficiency. (See Elton,
E., M. Gruber, S. Brown and W. Goetzmann, Modern Portfolio Theory and Investment Analysis,
6th ed., John Wiley and Sons, Inc., 2007, p. 400.) In “fraud-on-the-market” litigation, several
courts reference the semi-strong form of efficiency, which implies that market prices incorporate
all publicly available information. In academic finance literature, this is referred to as
“informational efficiency.” This hypothesis has been empirically validated in numerous studies.
(See, e.g., Fama, Eugene F., 1970 “Efficient Capital Markets: A Review of Theory and Empirical
Work,” Journal of Finance, Vol. 25, Issue 2, pp. 383–417.) The ECMH also has stood up
against its critics; while anomalies have occurred in financial markets, they appear to be random
and do not allow for trading strategies that would create abnormal profits. (See, e.g., Fama,



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“endorse ‘any particular theory of how quickly and completely publicly available information is

reflected in market price.’”22 To the contrary, the “fraud-on-the-market” theory is based “on the

fairly modest premise that ‘market professionals generally consider most publicly announced

material statements about companies, thereby affecting stock market prices.’”23 Under this

theory, investors’ reliance on any public material misrepresentations and/or omissions may be

presumed for purposes of a Rule 10b-5 action since the effects of those misrepresentations and/or

omissions will already be impounded in the market price.24

15.       While the Supreme Court in Halliburton II stated that a market need only be “generally

efficient” to invoke the “fraud-on-the-market” presumption, it did not adopt any particular test of

general market efficiency.25 Accordingly, I consider in this Report tests of efficiency that courts

have commonly used in securities litigation for over 30 years. An empirical test of market

efficiency is to examine price responsiveness to the release of new and material information

about the company in question. If the security price responds quickly, the response supports a

conclusion that the market for the security is efficient. Additional tests include the examination

of certain market conditions that have been found to promote efficiency.




Eugene F., 1998, “Market Efficiency, Long-term Returns, and Behavioral Finance,” Journal of
Financial Economics, Vol. 49, pp. 283–306; Malkiel, Burton G., 2003, “The Efficient Market
Hypothesis and Its Critics,” Journal of Economic Perspectives, Vol. 17, pp. 59–82.)
22
  Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2403 (2014) (“Halliburton II”),
quoting Basic, 485 U.S. at 248, n. 28.
23
     Id., quoting Basic, 485 U.S. at 246, n. 24.
24
  Basic, 485 U.S. at 241–242, 244, quoting Peil v. Speiser, 806 F.2d 1154, 1160–61 (3d Cir.
1986). See also, Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S. 804 (2011).
25
     Halliburton II, 134 S. Ct. at 2404.



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16.      Consistent with Basic and Halliburton II, the oft-cited Cammer v. Bloom decision

considered “efficient markets” to be “markets which are so active and followed that material

information disclosed by a company is expected to be reflected in the stock price.”26 The court

in Cammer identified five non-exhaustive factors that may be considered in determining whether

the market for a security is efficient.27 I understand that courts throughout the country assessing

the applicability of the “fraud-on-the-market” doctrine, including courts in the Third Circuit,

have widely adopted these five factors in evaluating market efficiency.28 In concluding that the

market for Endo stock was efficient during the Class Period, I considered each of the following

five Cammer factors as applied to the stock:

         i.     whether the security trades at a large weekly volume;

         ii.    whether analysts follow and report on the security;

         iii.   whether the security has market makers and whether there is a potential for
                arbitrage activity;

         iv.    whether the company is eligible to file SEC Form S-3; and




26
     Cammer v. Bloom, 711 F. Supp. 1264, 1273 n.11 (D.N.J. 1989).
27
   “The vast majority of courts have used the Cammer factors as ‘an analytical tool rather than as
a checklist.’ Indeed, not even the Cammer court considered the fifth factor necessary, stating
only that ‘it would be helpful to a plaintiff seeking to allege an efficient market . . . .’”
Carpenters Pension Trust Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 83 (S.D.N.Y.
2015). “Different contexts require courts to place greater importance on some factors than on
others. No other court has adopted a per se rule that any one factor is dispositive. At the same
time, courts have found market efficiency in the absence of an event study or where the event
study was not definitive.” Id., 310 F.R.D. at 84.
28
  See, e.g., In re DVI, Inc. Sec. Litig., 639 F.3d 623, 634 n.16 (3d Cir. 2011) (citing Hayes v.
Gross, 982 F.2d 104, 107 n.1 (3d Cir. 1992)); W. Palm Beach Police Pension Fund v. DFC
Glob. Corp., 2016 WL 4138613, at *12 (E.D. Pa. Aug. 4, 2016); City of Sterling Heights Gen.
Emps.’ Ret. Sys. v. Prudential Fin., Inc., 2015 U.S. Dist. LEXIS 115287, at *17 (D.N.J. Aug. 31,
2015) (discussing Cammer); In re Merck & Co., Inc. Sec., Derivative & ERISA Litig., 2013 WL
396117, at *11 (D.N.J. Jan. 30, 2013).



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         v.     whether empirical facts show a cause-and-effect relationship between the
                release of new, material information about the company in question and a
                response in the security’s price.29

17.      In addition to these five Cammer Factors, I have considered three other factors that have

also been considered by courts in evaluating market efficiency.30 These additional factors are:

         i.     the company’s market capitalization;

         ii.    the bid/ask spread on transactions in the security; and

         iii.   the security’s public float.

As demonstrated below in §VI.A–§VI.H, an analysis of these factors supports my conclusion

that the market for Endo stock was informationally efficient during the Class Period.

18.      Though not necessarily conclusive of market efficiency, it is worth noting that throughout

the Class Period, Endo common stock was listed and traded on the Nasdaq Global Select Market,

which is the highest tier of the broader Nasdaq Stock Market (“NASDAQ”).31 The NASDAQ is

an electronic stock market that displays the bid and ask quotes of market makers through a

worldwide network of thousands of computer terminals. NASDAQ investors have access to

real-time pricing and continuous trading. In addition, companies that are listed on the NASDAQ

must meet certain financial, trading, and corporate governance criteria. The NASDAQ was the

listing market for 2,779 and 2,895 public companies in March 2015 and February 2017,



29
     Cammer, 711 F. Supp. at 1285–1287.
30
  Krogman v. Sterritt, 202 F.R.D. 467, 478 (N.D. Tex. 2001); In re DVI Inc. Sec. Litig., 249
F.R.D. 196, 208 (E.D. Pa. 2008), aff’d sub nom. In re DVI, Inc. Sec. Litig., 639 F.3d 623 (3d Cir.
2011); Hull v. Glob. Digital Sols., Inc., 2018 WL 4380999, at *6 (D.N.J. Sept. 14, 2018); City of
Sterling Heights Gen. Employees’ Ret. Sys. v. Prudential Fin., Inc., 2015 WL 5097883, at *6
(D.N.J. Aug. 31, 2015).
31
  Endo International plc, SEC Form 10-K for year-end 2015, filed February 29, 2016, p. 3.
Endo International plc, SEC Form 10-K for year-end 2016, filed March 1, 2017, p. 3. Endo
International plc, SEC Form 10-K for year-end 2017, filed February 27, 2018, p. 1.



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respectively.32 The Nasdaq Global Select Market has the most stringent initial financial and

liquidity listing requirements of the NASDAQ’s three market tier designations:

          The Nasdaq Stock Market has three distinctive tiers: The Nasdaq Global Select
          Market®, The Nasdaq Global Market® and The Nasdaq Capital Market®.
          Applicants must satisfy certain financial, liquidity and corporate governance
          requirements to be approved for listing on any of these market tiers. … [T]he
          initial financial and liquidity requirements for the Nasdaq Global Select Market
          are more stringent than those for the Nasdaq Global Market and likewise, the
          initial listing requirements for the Nasdaq Global Market are more stringent than
          those for the Nasdaq Capital Market. Corporate governance requirements are the
          same across all Nasdaq market tiers.33

19.       A security’s listing on a national securities exchange such as the NASDAQ means that

financial information about that company is readily available to investors, at a minimum, through

the company’s SEC filings, and that investors have access to trading prices and volumes

throughout the trading day.34 Rules of the U.S. National Market System (“NMS”) also require




32
  World Federation of Exchanges, Equity Market Highlights for March 2015 and February
2017, available at https://statistics.world-exchanges.org/PredefinedReport.
33
     https://listingcenter.nasdaq.com/assets/initialguide.pdf.
34
     According to the Consolidated Tape Association’s website (https://www.ctaplan.com/index):
          The Consolidated Tape Association (CTA) oversees the dissemination of real-
          time trade and quote information in New York Stock Exchange LLC (Network A)
          and Bats, NYSE Arca, NYSE American and other regional exchange (Network B)
          listed securities. Since the late 1970s, all SEC-registered exchanges and market
          centers that trade Network A or Network B securities send their trades and quotes
          to a central consolidator where the Consolidated Tape System (CTS) and
          Consolidated Quote System (CQS) data streams are produced and distributed
          worldwide.
          The current Participants include the Cboe BYX Exchange, Inc., Cboe BZX
          Exchange, Inc., Cboe EDGA Exchange, Inc., Cboe EDGX Exchange, Inc., Cboe
          Exchange, Inc., Financial Industry Regulatory Authority, Inc., Investors Exchange
          LLC, Long-Term Stock Exchange, Inc., MEMX LLC, Nasdaq BX, Inc., Nasdaq
          ISE, LLC, Nasdaq PHLX LLC, Nasdaq Stock Market LLC, New York Stock
          Exchange LLC, NYSE American LLC, NYSE Arca, Inc., NYSE Chicago, Inc.,
          and NYSE National, Inc., (collectively, the “Participants”).



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that investor orders in NASDAQ-listed securities be filled at the best price that can be executed

immediately, even if that price is available in a different market.35 Because listing on a national

securities exchange brings together many thousands (or millions) of investors, trading prices

reflect a consensus opinion as to a security’s value.

20.       As is the case with all NASDAQ-listed equities, Endo stock also traded on other national

securities markets as well as Alternative Trading Systems (“ATS”) in the U.S. during the Class

Period. SEC Regulation NMS requires all trading centers in the U.S. “to establish, maintain, and

enforce written policies and procedures reasonably designed to prevent the execution of trades at

prices inferior to protected quotations displayed by other trading centers.”36 According to the

SEC:

          The NMS is premised on promoting fair competition among individual markets,
          while at the same time assuring that all of these markets are linked together,
          through facilities and rules, in a unified system that promotes interaction among
          the orders of buyers and sellers in a particular NMS stock. The NMS thereby
          incorporates two distinct types of competition – competition among individual
          markets and competition among individual orders – that together contribute to
          efficient markets. Vigorous competition among markets promotes more efficient
          and innovative trading services, while integrated competition among orders
          promotes more efficient pricing of individual stocks for all types of orders, large
          and small. Together, they produce markets that offer the greatest benefits for
          investors and listed companies.37




35
  Bodie, Zvi, Alex Kane and Alan J. Marcus, Investments, McGraw-Hill/Irwin, 7th ed., 2008,
Ch. 3, pp. 73, 74.
36
  SEC Regulation NMS, Securities Exchange Act Release No. 51808 (Jun. 9, 2005), 70 FR
37496 (Jun. 29, 2005) at 37496.
37
     Id., at 37498–9.



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21.      The market for securities trading on the NASDAQ is widely recognized as efficient. At

least one authority has commented that:

         at a minimum, there should be a presumption—probably conditional for class
         determination—that certain markets are developed and efficient for virtually all
         the securities traded there: the New York and American Stock Exchanges, the
         Chicago Board Options Exchange and the NASDAQ National Market System.38

Similarly, the court in Cammer stated:

         some may concur with [Defendant’s] suggestion … that companies listed on
         national stock exchanges or companies entitled to issue new securities using SEC
         Form S-3 would almost by definition involve stocks trading in an “open and
         developed” market.39

22.      The fact that Endo common stock was listed and traded on a major exchange supports my

conclusion that the market for the stock was efficient during the Class Period. Furthermore, my

analyses of the efficiency factors set forth below confirm the attributes of market efficiency that

Endo’s listing on the NASDAQ strongly implies.

                         A. Cammer Factor 1: Weekly Trading Volume

23.      A market for a security is liquid if investors can trade a large number of securities on

demand. Liquidity allows investors to buy and sell securities quickly when their assessments

about the value of a company have changed, facilitating the prompt price reaction to new,

material information that is characteristic of an efficient market. The large weekly trading

volume of Endo stock during the Class Period indicates the presence of a liquid market.

24.      According to the Cammer decision:

         the existence of an actively traded market, as evidenced by a large weekly volume
         of stock trades, suggests there is an efficient market … because it implies
         significant investor interest in the company. Such interest, in turn, implies a

38
  Bromberg & Lowenfels, 4 Securities Fraud and Commodities Fraud, Section 8.6 (Aug. 1988)
(quoted in Cammer, 711 F. Supp. at 1292).
39
     Cammer, 711 F. Supp. at 1276–77.



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          likelihood that many investors are executing trades on the basis of newly available
          or disseminated corporate information.40

25.       Under Cammer, “turnover measured by average weekly trading of 2% or more of the

outstanding shares would justify a strong presumption that the market for the security is an

efficient one; 1% would justify a substantial presumption.”41 During the Class Period, the total

number of Endo shares issued and outstanding ranged from approximately 177.5 million to 226.4

million shares.42 The average weekly reported trading volume for the shares, excluding weeks

not entirely contained within the Class Period, was as follows:43

                                          Endo Stock
                      Average Weekly Trading
                                                                 $906,818,332
                         Volume in Dollars
                      Average Weekly Trading
                                                                  26,059,143
                         Volume in Shares
                   Average Weekly Share Trading
                                                                    11.9%
                 Volume as a % of Shares Outstanding

Thus, the average weekly reported trading volume for Endo stock was more than five times the

2% “strong presumption” of market efficiency set out by Cammer.

26.       The high trading volume observed during the Class Period demonstrates an actively

traded market for Endo stock, showing significant investor interest in the Company and implying

a likelihood that many investors executed trades on the basis of newly available or disseminated

corporate information. These circumstances support my conclusion that Endo stock traded in an

efficient market during the Class Period.




40
     Cammer, 711 F. Supp. at 1286.
41
     Cammer, 711 F. Supp. at 1293, quoting Bromberg.
42
     Source: Bloomberg.
43
     See Exhibit 4 for a summary of weekly trading volume and shares outstanding.


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                      B. Cammer Factor 2: Number of Securities Analysts

27.      In demonstrating market efficiency, the Cammer decision states:

         [I]t would be persuasive to allege a significant number of securities analysts
         followed and reported on a company’s stock during the class period. The
         existence of such analysts would imply, for example, the [auditor’s] reports were
         closely reviewed by investment professionals, who would in turn make buy/sell
         recommendations to client investors. [] In this way the market price of the stock
         would be bid up or down to reflect the financial information contained in the
         [auditor’s] reports, as interpreted by the securities analysts.44

28.      Securities analysts research and report to investors on the financial condition and

prospects of a covered company. Analysts are conduits to the market for information collected

from on-site visits, conference calls accompanying key company announcements, and other

contacts with senior management. Analysts can channel new information to the market rapidly

through their published reports, online reporting services, and alerts given to clients and other

employees of the same investment firm. Analysts thus facilitate the dissemination of new

information to investors and any corresponding price reaction in a company’s securities.

29.      During the Class Period, several well-known investment firms followed and published

research reports on Endo that are publicly available from Thomson Reuters Eikon, Thomson

Reuters Knowledge, and/or Bloomberg, including, but not limited to: Barclays; BMO Capital

Markets; BofA Global Research; Canaccord Genuity; Cantor Fitzgerald; Citi; Cowen and

Company; CRT Capital; Deutsche Bank; Gabelli & Company; Gordon Haskett; Guggenheim

Securities LLC; Jefferies; JMP Securities; JPMorgan; Morgan Stanley; Morningstar, Inc.;

Needham; Northland Securities; Oppenheimer & Co., Inc.; Piper Sandler Companies; RBC

Capital Markets; SterneAgee CRT; Susquehanna Financial Group LLLP; SVB Leerink; UBS



44
     Cammer, 711 F. Supp. at 1286.



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Equities; Wells Fargo Securities, LLC; and William Blair & Company.45 Over 840 analyst

reports pertaining to Endo were issued during the Class Period.46 According to Bloomberg,

Goldman Sachs; ISS-EVA; Mizuho Securities; Nomura; Raymond James; and Stifel also

followed and issued reports on Endo during the Class Period.47

30.      Investors also received information and analyses about Endo during the Class Period via

media coverage, investor conferences, trade magazines, Company presentations and SEC filings.

Specifically, over 3,600 articles concerning Endo appeared in major domestic and international

news media, including: ACCESSWIRE; Benzinga.com; BioSpace (Abstracts); Bloomberg;

Business Wire; Canada NewsWire; Contify Life Science News; CQ FD Disclosure (U.S.); Dow

Jones Newswires; Drug Industry Daily; Drug Store News; ENP Newswire; FDAnews Drug Daily

Bulletin; FinancialWire (U.S.); GlobalData; Il Sole; Investor’s Business Daily (U.S.); M2

Presswire; MarketLine; MarketWatch; MarketWire; National Post; News Bites; Newsday;

NewsRx Medical Newsletters; PharmaBiz; PR Newswire; Press Association; Reuters; RTT News

(U.S.); Seeking Alpha; The Associated Press; The Canadian Press; The Deal; The Globe and

Mail; The Motley Fool; The New York Times; The Wall Street Journal; Theflyonthewall.com; US

Fed News; and US Food and Drug Administration News (Abstracts).48


45
  See Exhibit 5A, which summarizes research reports on Endo available from Thomson Reuters
Eikon, Thomson Reuters Knowledge, and Bloomberg.
46
  Exhibit 5B lists research reports on Endo available from Thomson Reuters Eikon, Thomson
Reuters Knowledge, and Bloomberg. These reports are only a subset of all reports pertaining to
Endo published during the Class Period. Certain restricted databases may carry research reports
pertaining to Endo that are not included in Exhibit 5B. Furthermore, it is my understanding that
certain analyst firms do not make all their reports available through historical and/or public
databases.
47
  See Exhibit 5C, which lists analysts’ price targets and rating actions on selected event dates
during the Class Period, as reported by Bloomberg.
48
     Sources: Dow Jones’ Factiva (www.factiva.com); Bloomberg; internet search.



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31.       In addition, Endo’s filings with the SEC were publicly available online during the Class

Period at no cost.49 Endo’s SEC filings during the Class Period included its consolidated

quarterly and year-end financial statements and Company press releases.50 Endo’s financial

statements, press releases and SEC filings are also made available on the Company’s website.51

32.       The coverage of Endo by securities analysts and the amount of public reporting on Endo

during the Class Period indicate that Company-specific news was widely disseminated to

investors, thereby facilitating the incorporation of such information into the market price of Endo

stock. Accordingly, this factor supports my conclusion that Endo stock traded in an efficient

market during the Class Period.

          C. Cammer Factor 3: Number of Market Makers and the Potential for Arbitrage

33.       The third Cammer factor concerns the existence of market makers and arbitrageurs who

can react quickly to news and facilitate trading. As discussed below, the fact that trading in

Endo stock was facilitated by numerous market makers, and the fact that investors could have

exploited arbitrage opportunities during the Class Period, support a finding of market efficiency.

Market Makers

34.       Market makers enable investors to trade promptly upon the arrival of new, relevant

information, thereby facilitating the incorporation of new information into securities prices.

Endo stock was listed and traded on the NASDAQ. NASDAQ market participants are made up

of “market makers, order-entry firms and electronic communications networks (ECNs) that




49
     The SEC’s EDGAR website is located at http://www.sec.gov/edgar.shtml.
50
     Exhibit 6 contains a list of Endo’s filings with the SEC during the Class Period.
51
     See https://investor.endo.com.



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utilize NASDAQ’s trading services.”52 NASDAQ defines a market maker as a “NASDAQ

member firm that buys and sells securities at prices it displays in NASDAQ for its own account

(principal trades) and for customer accounts (agency trades).”53 Market makers help to ensure a

liquid market for a particular stock; a market in which willing buyers can readily find willing

sellers, and vice versa. They are obligated to “engage in a course of dealings for its own account

to assist in the maintenance, insofar as reasonably practicable, of fair and orderly markets.”54

Market makers in a particular stock stand ready to provide stock price quotations and facilitate

trading by purchasing that stock from and selling to investors. They also buy and sell securities

and may increase or reduce their inventory when pricing discrepancies exist. Market makers

display both buy and sell quotes in all securities in which they choose to make a market and are

subject to disciplinary action if they fail to honor their quoted prices.55 Accordingly, market

efficiency can be facilitated by market maker involvement.

35.          I obtained NASDAQ market maker activity in Endo stock from Bloomberg. During the

Class Period, there were 199 active market makers that traded Endo stock (data reported monthly

from March 2015 through February 2017, inclusive). In addition, many of the market makers

that facilitated trading in Endo stock handled a sizeable volume of shares.56 The substantial




52
     https://www.nasdaqtrader.com/Trader.aspx?id=MarketMakerProcess.
53
     Ibid.
54
  Nasdaq Rule 4600, Requirements for Nasdaq Market Makers and Other Nasdaq Market Center
Participants (available at https://listingcenter.nasdaq.com/assets/rulebook/nasdaq/rules/Equity_
Rules_Legacy.pdf).
55
     Ibid.
56
     See Exhibit 7 for the share volume by market maker for Endo stock.



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number of market makers for Endo stock supports my conclusion that the market for the stock

was efficient during the Class Period.

Arbitrage Activity

36.       Related to Cammer Factor 3 is the existence of arbitrageurs, sophisticated investors who

can act rapidly to take advantage of security pricing discrepancies. Arbitrageurs ensure that

market prices reflect public information—the fundamental hallmark of market efficiency.57 As I

demonstrate below, the level of short interest, the degree of institutional ownership and the

tightness of bid/ask spreads suggest that arbitrage activity for the Company’s stock was prevalent

during the Class Period.

37.       One way in which arbitrageurs can exploit mispricing in the market is by engaging in

short-sale transactions. A short sale is a transaction in which an investor sells a stock that he or

she does not own and then purchases that stock back in the future. If the price declines between

the time a security is sold short and the time it is purchased, the short seller realizes a gain.

Thus, short selling is an advantageous strategy if an arbitrageur expects a security’s price to



57
     Arbitrage has been defined as:
          … the process of earning riskless profits by taking advantage of differential
          pricing for the same physical asset or security. As a widely applied investment
          tactic, arbitrage typically entails the sale of a security at a relatively high price and
          the simultaneous purchase of the same security (or its functional equivalent) at a
          relatively low price.
          Arbitrage activity is a critical element of modern, efficient security markets.
          Because arbitrage profits are by definition riskless, all investors have an incentive
          to take advantage of them whenever they are discovered. Granted, some investors
          have greater resources and inclination to engage in arbitrage than others.
          However, it takes relatively few of these active investors to exploit arbitrage
          situations and, by their buying and selling actions, eliminate these profit
          opportunities. (Sharpe, William F., et al., Investments, Prentice Hall, 6th ed.,
          1999, p. 284.)



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decline in the future.58 Furthermore, short sales allow arbitrageurs who currently do not own a

security to convey their opinions to the market, thereby helping the market to achieve a

consensus as to that security’s fair value given all publicly available information.

38.      Arbitrageurs were not constrained in their ability to short shares of Endo stock. During

the Class Period the average short interest as a percentage of float for the total U.S. market was

4.0%.59 In comparison, the average short interest for Endo stock during the Class Period was

5.5% of its shares outstanding and 5.6% of its public float.60, 61 Furthermore, economist Gene

D’Avolio found that short interest was, on average, 2.30% of shares outstanding for companies




58
  Berk, Jonathan and Peter DeMarzo, Corporate Finance, Pearson Education, Inc., 1st ed., 2007,
Ch. 11, p. 339.
59
     Source: Bloomberg. (See Exhibit 8A.)
60
   See Exhibit 8B for a summary of short interest for Endo stock during the Class Period. Public
float is equal to shares outstanding less insider holdings. A comparison of short interest to public
float is relevant as public float represents the shares available to lend for short sales.
61
   FINRA (the Financial Industry Regulatory Authority) was created in July 2007 from the
consolidation of the NASD and various regulatory functions of the NYSE. It is a non-
governmental organization that regulates member brokerage firms and exchange markets, and is
overseen by the SEC, the ultimate regulator of the U.S. securities industry, including FINRA.
(See https://www.finra.org/media-center/news-releases/2007/nasd-and-nyse-member-regulation-
combine-form-financial-industry.) Every firm and broker that sells securities to the public in the
United States must be licensed and registered by FINRA. (See https://www.finra.org/
registration-exams-ce/broker-dealers/become-new-finra-registered-broker-dealer-firm.) Pursuant
to FINRA Rule 4560:
         member firms are required to report total short positions in all customer and
         proprietary firm accounts in all equity securities to FINRA on a bi-monthly basis.
         These filings are made online using the Short Interest reporting system accessible
         via Firm Gateway at firms.finra.org. … Member firms that have short positions in
         OTC equity securities and in securities listed on a national securities exchange,
         such as NASDAQ, NYSE, NYSE American, NYSE Arca, Cboe BZX, and IEX,
         must file a Short Position Report with FINRA via the Web-based system. (See
         https://www.finra.org/filing-reporting/short-interest/regulation-filing-applications-
         instructions.)



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listed in the U.S. during the period April 2000 to September 2001.62 D’Avolio also estimated

that as much as one-quarter of the U.S. market capitalization was available as loan supply for

short-selling and that only 7% of that capacity was utilized, thereby indicating that “[t]he

aggregate market is easy to borrow.”63

39.       Institutional ownership is another indicator of arbitrage activity in that institutional

investors, such as pension funds, mutual funds and investment banks, are generally considered to

be sophisticated investors that have ready access to minute-to-minute financial news and to

online bulletins from analysts. Relative to most individual investors, institutional investors have

significantly greater resources with which to analyze public information pertinent to the

securities in which they invest. Institutional ownership implies that investment professionals

actively review company-specific financial information and, in turn, make buy/sell

recommendations to their firm and/or client investors. In this way, investors bid up or down the

market price of a security to reflect all publicly available information, as interpreted by

institutional investors. Moreover, because short sellers often borrow shares from institutions, a

high degree of institutional ownership relative to the level of short interest indicates a lack of

short-sale constraints, thereby facilitating market efficiency by enabling arbitrageurs to engage in

short selling.64


62
 D’Avolio, Gene, 2002, “The market for borrowing stock,” Journal of Financial Economics,
Vol. 66, pp. 271–306.
63
     Id., p. 273.
64
  Asquith, Paul, Parag A. Pathak and Jay R. Ritter, 2005, “Short interest, institutional ownership
and stock returns,” Journal of Financial Economics, Vol. 78, pp. 243–76. Asquith, et al., find
that “[i]n a typical year, there are 5,500 domestic operating companies trading on the NYSE,
Amex, and the Nasdaq National Market System. For these stocks, … institutional ownership is
greater than short sales for 95% of stocks, suggesting that short-sale constraints are not
common.” (Id., p. 245.)



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40.       According to quarter-end holdings data for Endo stock provided by Thomson Reuters

Eikon, institutions held over 92.0% of the shares available,65 and between 487 and 572

institutional investors held Endo stock during the Class Period.66 Additionally, institutional

holdings were, on average, more than 18 times the level of short interest during the Class Period,

indicating that short selling was not constrained.67

41.       Another indicator of the potential for arbitrage activity to correct market inefficiencies

(i.e., arbitrage opportunities) is the size of bid/ask spreads.68 Bid/ask spreads are a measure of

transaction costs and low transaction costs indicate that arbitrage opportunities can be exploited

readily. As shown in the following table, the average and median bid/ask spreads on Endo stock

during the Class Period were smaller than those of randomly sampled stocks listed on the

NASDAQ Global Select Market.69

                               Endo Stock                             Nasdaq GS Sample
                     Spread ($)         Spread (%)               Spread ($)       Spread (%)
 Average:              $0.01              0.04%                    $0.06            0.20%
 Median:               $0.01              0.04%                    $0.05            0.16%




65
     Shares available is equal to shares outstanding, plus short interest, less insider holdings.
66
  Institutions which file Form 13F with the SEC report shares held as of the end of each calendar
quarter. See Exhibit 9 for a summary of institutional holdings for Endo stock during the Class
Period.
67
  For Endo stock, the average number of shares held by institutions for quarters ended during
the Class Period was approximately 217.0 million, and the average short interest during the Class
Period was approximately 12.0 million.
68
     Unger, 401 F.3d 316 at 323, Krogman, 202 F.R.D. at 478.
69
  The bid/ask spread analysis reported in Exhibit 10 compares the bid/ask spreads of Endo stock
on each day during the Class Period to those of 100 randomly selected stocks listed on the
NASDAQ Global Select Market.



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42.      The fact that Endo stock’s bid/ask spreads were smaller than those of other stocks listed

on the NASDAQ Global Select Market supports my conclusion that the Company’s stock traded

in an efficient market during the Class Period.

                       D. Cammer Factor 4: Eligibility to File SEC Form S-3

43.      The Cammer court discussed the relationship between S-3 eligibility and efficiency,

noting that “[t]he issue is not whether [the company] recently completed a public offering, but

whether, if it did, it would enjoy the benefit of making abbreviated prospectus disclosure because

the SEC viewed it to be in an efficient market where documents ‘on file’ could be deemed to be

known by the investment community.”70

44.      Form S-3 is a simplified registration form that may be used by U.S. companies that meet

the following requirements:

         i.     it has been subject to the Securities Exchange Act of 1934 reporting
                requirements for more than one year;

         ii.    it has filed all required documents in a timely manner during the prior
                twelve months;

         iii.   it has not, since the last audited statements, failed to pay required dividends
                or sinking fund installments on preferred stock, or defaulted on debts or
                material leases; and

         iv.    it meets certain minimum stock requirements.71, 72




70
     Cammer, 711 F. Supp. at 1284.
71
     http://www.sec.gov/about/forms/forms-3.pdf.
72
  Prior to January 28, 2008, the SEC required a minimum of $75 million in stock be held by
non-affiliates. Effective January 28, 2008, a company with a non-affiliate public float of less
than $75 million is permitted to file Form S-3 with certain restrictions. (See Securities and
Exchange Commission, 17 CFR Parts 230 and 239 [Release No. 33-8878; File No. S7-10-07],
RIN 3235-AJ89, Revisions to the Eligibility Requirements for Primary Securities Offerings on
Forms S-3 and F-3.)



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Companies eligible for filing Form S-3 are permitted to incorporate prior filings by reference

into current filings and need not repeat such information since it is already widely publicly

available.

45.       It is the SEC’s view that these Form S-3 eligible companies—those that disclose financial

information to the SEC and issue press releases to the public—have already disseminated

information to the marketplace, and, therefore, that the market operates efficiently for them.73

Certain courts have also stated that the ability to file Form S-3 is an indicator of market

efficiency:

          Corporations permitted to use the S-3 form are thus presumed to be actively
          traded and widely followed. See Harman, 122 F.R.D. at 525. Therefore, a
          company’s ability to file an S-3 Registration Statement points to market
          efficiency.74

46.       Endo filed Form S-3s prior to, during, and after the Class Period.75 That Endo was

eligible to file Form S-3 throughout the Class Period supports my conclusion that the market for

its stock was efficient throughout that time.

          E. Cammer Factor 5: Empirical Facts Showing a Cause-and-Effect
             Relationship Between Unexpected Corporate Events or Financial
             Releases and the Price Reaction of Endo Stock

47.       Cammer Factor 5 relates to how a security’s price reacts to new, material information.

The Cammer court stated that:




73
     SEC Securities Act Release No. 6331 (August 18, 1981), pp. 5, 6.
74
     Krogman, 202 F.R.D. at 476.
75
  The latest Form S-3 filed by Endo prior to the Class Period was on January 19, 2006 (Form S-
3ASR). During the Class Period, Endo filed Form S-3ASR on June 2, 2015. After the Class
Period, Endo filed Form S-3ASR on August 8, 2018. Source: Edgar Pro (pro.edgar-online.com).



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          … one of the most convincing ways to demonstrate [market] efficiency would be
          to illustrate, over time, a cause and effect relationship between the company
          disclosures and resulting movements in stock price.76

48.       A test of market efficiency is to conduct what is known as an “event study” to examine

whether security prices respond to new, material information released to the market. Expert

economists commonly use an event study in securities litigation to correlate the disclosure of

new, material information to security price response.77 Event studies comprise numerous steps,

including: (i) the a priori definition and selection of events to study; (ii) identification of a study

period; (iii) estimation of a regression model to remove non-company-specific effects from the

security’s return; (iv) testing for statistical significance; and (v) interpretation of empirical

results.78 Academic research acknowledges that some variation in approaches to event studies is

permitted.79



76
     Cammer, 711 F. Supp. at 1291.
77
  I note that “[c]ourts have rejected the idea that the fifth Cammer factor is necessary to
establish market efficiency.” W. Palm Beach Police Pension Fund v. DFC Glob. Corp., 2016
WL 4138613, at *12 (E.D. Pa. Aug. 4, 2016); see also Waggoner, 875 F.3d at 96-98 (“direct
evidence of price impact under Cammer 5,” such as an event study, “is not always necessary to
establish market efficiency and invoke the Basic presumption”).
78
     As described by Mitchell and Netter (1994):
          The execution of an event study is quite simple. It involves the identification of
          an event that causes investors to change their expectations about the value of a
          firm. The investigator compares a stock price movement contemporaneous with
          the event to the expected stock price movement if the event had not taken place.
          There are three basic steps in conducting an event study: (i) define the event
          window; (ii) calculate abnormal stock price performance around the event; and
          (iii) test for statistical significance of the abnormal stock price performance.
(See Mitchell, Mark L. and Jeffry M. Netter, 1994, “The Role of Financial Economics in
Securities Fraud Cases: Applications at the Securities and Exchange Commission,” The Business
Lawyer, Vol. 49, pp. 557, 558.)
79
   However, “[w]hile there is no unique structure, the analysis can be viewed as having seven
steps.” Those steps are event definition, selection criteria, normal and abnormal returns,
estimation procedure, testing procedure, empirical results, and interpretation and conclusion.



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49.    I performed a standard event study for Endo stock to determine whether new, material

corporate events or financial releases promptly caused a measurable stock price reaction after

accounting for contemporaneous market and industry effects. As set forth in Exhibit 12, my

event study demonstrates a cause-and-effect relationship between new, material Company-

specific disclosures and resulting movements in Endo’s stock price during the Class Period. The

regression analyses used in the event study, from which I have estimated Endo’s Company-

specific returns (i.e., returns net of market and industry effects), are described in Appendix A and

Exhibit 11.80

50.    To determine which events to include in my analysis, I relied on my knowledge of a large

body of event-study literature that has evaluated what types of information affect stock

prices.81 Specifically, I examined dates during the Class Period on which Endo released

quarterly or year-end financial results. Such earnings-related announcements are an objective set

of events to examine, which has been shown in the academic finance literature to impact

securities’ prices, given the value-relevant information typically conveyed in such reports

regarding a firm’s cash flow prospects.82 Exhibit 12 describes each of my selected event dates in



(See Campbell, John Y., Andrew W. Lo, and A. Craig MacKinlay, The Econometrics of
Financial Markets, Princeton University Press, 1997, pp. 150–152.)
80
  My estimated regression equations appear in Exhibit 11A. Exhibit 11B shows Endo’s
expected and residual returns estimated from the regression models on each day of the Class
Period.
81
  See, e.g., Fama, Eugene F., 1991, “Efficient Capital Markets: II,” The Journal of Finance, Vol.
46, No. 5, pp. 1575–1617.
82
  See, e.g., Ball, R., and P. Brown, 1968, “An Empirical Evaluation of Accounting Income
Numbers,” Journal of Accounting Research, pp. 159–178; Foster, G., 1977, “Quarterly
Accounting Data: Time-Series Properties and Predictive-Ability Results,” Accounting Review,
Vol. 52, pp. 1–20; and Watts, R., 1978, “Systematic ‘Abnormal’ Returns after Quarterly
Earnings Announcements,” Journal of Financial Economics, Vol. 6, pp. 127–150.



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detail and discusses how the observed Company-specific price reaction in Endo stock is

consistent with that expected in an efficient market.83

51.    Out of the eight events examined, five (i.e., 62.5%) are associated with a statistically

significant Company-specific return at or above the 95% confidence level (one statistically

significant positive return, and four statistically significant negative returns).84 At the 95% level

of confidence, a statistically significant return is expected to occur 5% of the time. Thus, one

should expect a random sample of eight days to contain 0.4 days with a return that is statistically

significant at the 95% confidence level. Given that my sample contains more than 12 times as

many statistically significant dates as should be expected from a randomly selected eight-day

sample (at or above the 95% confidence level), my analysis confirms that Endo’s stock price

typically reacted more strongly on event dates than on non-event dates.85



83
   For each event date, Exhibit 12 contains the associated price movement of Endo stock, both
observed and net of market and industry effects, as well as an indicator of statistical significance
at the 95% and 99% confidence level.
84
   The statistically significant positive impact date is: August 9, 2016 (second-quarter 2016
earnings results). The statistically significant negative impact dates are: November 5, 2015
(third-quarter 2015 earnings results); February 29, 2016 (fourth-quarter/full-year 2015 earnings
results); May 6, 2016 (first-quarter 2016 earnings results); and November 8, 2016 (third-quarter
2016 earnings results).
85
   Additionally, the estimated probability of observing a statistically significant Company-
specific return (at the 95% confidence level) is 62.5% on event dates (i.e., five out of eight event
dates), but only 7.9% on non-event dates during the Class Period (i.e., 39 out of 495 non-event
dates). (Compare Exs. 11 & 12.) Statistical tests of the difference between these two estimated
probabilities strongly reject the null hypothesis that event dates and non-event dates are equally
likely to be associated with statistically significant Company-specific returns. Indeed, both the
“two-sample z-test” and “Fisher’s exact test,” which are commonly used to conduct hypothesis
tests for differences between proportions observed in categorical data, reject the null hypothesis
(p-value < 0.01) in favor of the alternative that there exists a higher probability of observing
statistically significant Company-specific returns on event dates. (See, e.g., Agresti, Alan, An
Introduction to Categorical Data Analysis, John Wiley & Sons, Inc., 2nd ed., 2007, Ch. 2
Contingency Tables, pp. 21–64.)



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                                                                      Expected Number of
                                 Actual Number of                       Event Dates with
                                 Event Dates with                   a Statistically Significant
      Total Number of        a Statistically Significant            Company-Specific Return
        Event Dates          Company-Specific Return                (95% Confidence Level)

            8                         5 (62.5%)                          8 * 5.0% = 0.40


52.      Furthermore, although directionality may not be required to show general market

efficiency for purposes of a securities class action,86 my review of the news and analysts’ reports

demonstrates that the direction of the Company-specific return observed on each event date was

consistent with that expected in an efficient market for Endo stock, thereby providing additional

evidence of efficiency. Specifically, the event date on which new predominantly

positive Company-specific news reached the market is associated with a statistically

significant positive return. The event dates on which new predominantly negative Company-

specific news reached the market are associated with a statistically significant negative

return. On event days that are associated with a statistically insignificant Company-specific

return,87 the Company’s financial results were generally in line with expectations, and/or

conveyed a mix of offsetting positive and negative new information, such that the insignificant

price reaction is consistent with that expected in an efficient market. Thus, my event study finds

that a strong cause-and-effect relationship existed between the information disclosed on the event

dates and resulting stock price movements.




86
  See, e.g., In re Petrobras Sec. Litig., 862 F.3d 250, 277 (2d Cir. 2017) (stating that district
court finding that directionality was not required was “within the range of permissible
decisions”); Wilson v. LSB Indus., 2018 U.S. Dist. LEXIS 138832, at *40 (S.D.N.Y. Aug. 13,
2018) (lack of directionality analysis did not impair usefulness of market efficiency report).
87
  The statistically insignificant impact dates are: March 2, 2015; May 11, 2015; and August 10,
2015.


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                                                   Endo International plc
$120

                     5/11/15
                      Q1-15     8/10/15
                                 Q2-15
                     Earnings
$100                            Earnings
                                                                                   "**" Indicates statistically significant
                                                                                   at the 95% confidence level.
 $80
            3/2/15
            Q4-14
            Earnings
 $60


                                                                                         8/9/16**
                                                                                          Q2-16
 $40
                                            11/5/15**                                    Earnings
                                              Q3-15
                                             Earnings
                                                           2/29/16**
 $20                                                        Q4-15
                                                           Earnings

                                                                          5/6/16**                    11/8/16**
                                                                       Q1-16 Earnings               Q3-16 Earnings
     $0




 Source: Bloomberg                         Closing Price      Earnings Release Impact Date


53.          Based on the event study performed, I find that Endo’s stock price reflected the

Company-specific information disclosed to the market, and promptly responded to the disclosure

of new, material, unexpected information, thereby supporting my conclusion that the market for

Endo stock was efficient throughout the Class Period.

             F. Additional Factor 1: Market Capitalization

54.          Courts have found that a large market capitalization (i.e., the total value of a company’s

equity) is an indicator of market efficiency because “there is a greater incentive for stock

purchasers to invest in more highly capitalized corporations.”88 I have discussed above the fact

that Endo stock exhibited a high degree of institutional ownership and the Company was widely



88
     Krogman, 202 F.R.D. at 478.


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followed by analysts. This is consistent with Endo’s sizeable market capitalization, which

ranged between $2.63 billion (January 27, 2017) and $18.24 billion (July 28, 2015) during the

Class Period.89

55.       By comparison, at the end of the Class Period, the median market capitalization of

companies listed on the NYSE was $2.81 billion, while the median market capitalization of

companies listed on the NASDAQ was approximately $348.24 million. As of February 27, 2017

(i.e., the end of the Class Period), Endo’s market capitalization was greater than 51.0% and

85.9% of NYSE-listed and NASDAQ-listed stocks, respectively. Accordingly, Endo’s high

market capitalization during the Class Period weighs in favor of a finding of market efficiency.

          G. Additional Factor 2: Bid/Ask Spread

56.       The Krogman court described bid-ask spreads as “the difference between the price at

which investors are willing to buy the stock and the price at which current stockholders are

willing to sell their shares,” finding that “a large bid-ask spread is indicative of an inefficient

market, because it suggests that the stock is too expensive to trade.”90 As discussed above, the

average and median bid/ask spreads on Endo stock during the Class Period were smaller than

those of randomly sampled stocks listed on the NASDAQ Global Select Market,91 thereby

supporting my conclusion that Endo stock traded in an efficient market during the Class Period.




89
     See Exhibit 13.
90
     Krogman, 202 F.R.D. at 478. See also, Unger, 401 F.3d 316 at 323.
91
     See ¶41.



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          H. Additional Factor 3: Public Float

57.       Courts have held that a large public float percentage (i.e., the percentage of a security

outstanding held by the public rather than insiders) may be an indicator of market efficiency.92

During the Class Period, there was an average of approximately 215.7 million Endo shares

outstanding, while insiders held approximately 1.1 million of these shares. Accordingly, the

public float of Endo Stock was, on average, 99.5% of shares outstanding during the Class Period.

On a dollar basis, the public float of the stock ranged between $2.72 billion (in January 2017)

and $18.14 billion (in July 2015).93 The fact that Endo had a large public float percentage

further supports my conclusion that the Company’s stock traded in an efficient market

throughout the Class Period.

VII.      Damages Can Be Measured on a Class-Wide Basis and in a Manner Consistent with
          Lead Plaintiff’s Theory of Liability

58.       I have not, as of yet, been asked to provide an opinion on loss causation or to calculate

Class-wide damages in this matter. I have been asked, however, to opine on whether damages

under Section 10(b) of the Exchange Act can be calculated on a Class-wide basis for all

purchases and/or acquisitions of Endo stock during the Class Period in a manner consistent with

Lead Plaintiff’s theory of liability. In what follows, I set forth the general economic framework

for quantifying per-security damages on a Class-wide basis, which reflect methodologies I would

propose to use if asked to calculate damages in this matter. Although damages, if any, for each

individual Class member may vary, the methodologies for calculating damages described below

would be commonly applicable to each Class member in this matter.


92
  Unger, 401 F.3d at 323; Bell, 422 F.3d at 313 n.10; Krogman, 202 F.R.D. at 478; O’Neil, 165
F.R.D. at 503.
93
     See Exhibit 14.



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59.      An investor incurs damages when a security is acquired at a price that is inflated as a

result of false or misleading statements or omissions, provided that a later corrective disclosure

and/or the materialization of a concealed risk causes the price of that security to decline.94 Price

inflation in a security can be created by material misrepresentations and/or omissions on or

before the date of purchase, which remain uncorrected in whole or in part at the time of

purchase. Material misrepresentations and/or omissions may also “prevent[] preexisting

inflation in a stock price from dissipating,” thereby “caus[ing] inflation not simply by adding it

to a stock, but by maintaining it.”95

60.      Price inflation may be measured on a Class-wide basis by analyzing the change in a

security’s price caused by a corrective disclosure and/or the materialization of a concealed risk.96

The decline in a security’s price in response to such events reflects the dissipation of price

inflation created by earlier misrepresentations and/or omissions. An event study can be used to

isolate Company-specific price movement caused by the revelation of true facts related to the

alleged fraud from price movement caused by other factors. Other factors can include changes in

market and industry conditions or the dissemination of material, non-fraud-related, Company-

specific information. This event study analysis applies to all Class members, regardless of the


94
  See, e.g., Gold, Kevin L., Eric Korman and Ahmer Nabi, “Federal Securities Acts and Areas of
Expert Analysis,” Litigation Services Handbook, The Role of the Financial Expert, 6th ed., Ed.
Roman L. Weil, Daniel G. Lentz, and Elizabeth A. Evans, John Wiley & Sons, Inc., 2017, Ch.
27, pp. 12–17.
95
   In re Vivendi, S.A. Sec. Litig., 838 F.3d 223, 258 (2d Cir. 2016). (Emphasis in original.)
Courts have further explained that “‘[t]here is no reason to draw any legal distinction between
fraudulent statements that wrongfully prolong the presence of inflation in a stock price and
fraudulent statements that initially introduce that inflation.’” Arkansas Teacher Ret. Sys. v.
Goldman Sachs Grp., Inc., ---F.3d---, 2020 WL 1682772, at *10 (2d Cir. Apr. 7, 2020) (quoting
In re Vivendi, S.A. Sec. Litig., 838 F.3d at 259).
96
     Supra note 94.



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extent to which the price movement is due to corrective disclosures and/or the materialization of

a concealed risk. After isolating the price impact of the alleged misstatements and omissions,

one can estimate the price inflation due to the alleged fraud for each day during the Class Period,

and on a Class-wide basis for each member of the Class.97, 98




97
   “Price impact can be shown either by an increase in price following a fraudulent public
statement or a decrease in price following a revelation of the fraud.” Erica P. John Fund, Inc. v.
Halliburton Co., 718 F.3d 423, 434 (5th Cir. 2013), vacated and remanded on other grounds,
Halliburton II, 134 S. Ct. 2398 (U.S. 2014).
98
  In re Pfizer, Inc. Sec. Litig., 819 F.3d 642, 649 (2d Cir. 2016) (internal citations omitted,
emphasis in original):
       Performing an event study can thus help an expert to determine at least two
       things. First, assuming that the defendant company fraudulently concealed
       information, the event study shows how much money the fraud caused
       shareholders to lose. Identifying residual returns on days when allegedly
       concealed information reached the market indicates that the supposedly withheld
       information caused the company’s stock price to change. If the release of
       allegedly withheld information causes a stock price decrease, shareholders who
       purchased the defendant company’s stock after the alleged fraud but before the
       revelation may have paid a higher price than they would have but for the
       defendant’s fraudulent conduct — known as an “artificial[ly] inflat[ed]” price.
       Second, the event study helps the expert “calculat[e] what the price of [the
       defendant company’s] security would have been had the alleged wrongful conduct
       not occurred,” by estimating the amount of artificial inflation in the company’s
       stock price over time. Just as the existence of a residual return on a day when the
       market discovers allegedly concealed information shows that the company’s stock
       price was artificially inflated, the size of the residual return on such a day
       provides evidence of the amount by which concealing that particular information
       inflated the defendant company’s stock. As a result, if concealed information
       reached the market through multiple corrective disclosures, the sum of the
       residual returns associated with those disclosures provides evidence about the
       amount of artificial inflation in the company’s stock after the fraud but before
       those corrections. Thus, an expert using an event study can estimate the amount
       of artificial inflation in the defendant company’s stock price when shareholders
       purchased their shares, which is equivalent to estimating the difference between
       what those investors should have paid for the shares but‐for the alleged fraud, and
       what they actually paid.



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61.       Once the daily levels of price inflation have been calculated throughout the Class Period,

a Class member’s actual trading activity in the security can be used to mechanically calculate

damages on an individual basis. For each Class member, damages incurred on a security

acquired during the Class Period and retained through the end of the Class Period are equal to the

amount of inflation at purchase. For a security acquired during the Class Period and sold later in

the Class Period, damages are the price inflation at purchase minus the price inflation at sale. In

other words, damages for purchases during the Class Period may be mitigated if the security is

sold before the price inflation is fully dissipated.99 Given my understanding of the Supreme

Court’s ruling in Dura,100 a security purchased during the Class Period and sold before the first

corrective disclosure and/or the materialization of a concealed risk is ineligible for damages.

Similarly, a security that is both purchased and sold between two consecutive disclosures of

corrective information is ineligible for damages.

62.       Finally, per-security damages should also incorporate the so-called “90-day lookback”

provision of the Private Securities Litigation Reform Act of 1995,101 which also can be applied

on a Class-wide basis. This provision applies such that losses on securities purchased during the

Class Period and held as of the close of the 90-day period subsequent to the Class Period (the

“90-Day Lookback Period”) cannot exceed the difference between the purchase price paid for

the security and the average price of the security during the 90-Day Lookback Period. Losses on

securities purchased during the Class Period and sold during the 90-Day Lookback Period cannot

exceed the difference between the purchase price paid for the security and the rolling average


99
  This general economic framework for calculating recoverable damages for a class of
shareholders is often referred to as the “out-of-pocket measure of damages.” (Supra note 94.)
100
      Dura Pharms., Inc. v. Broudo, 544 U.S. 336 (2005) (“Dura”).
101
      15 U.S.C. § 78u–4(e).


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Appendix A: Description of Regression Analyses

65.      For the purpose of examining market efficiency, I have conducted an event study to

determine whether new, material, Company-specific information promptly caused a measurable

price reaction in Endo stock after accounting for contemporaneous market and industry effects.

In an effort to isolate Company-specific effects that influenced Endo’s stock price during the

Class Period, I performed regression analyses to measure the relationship between Endo stock

returns and 1) changes in market-wide factors that would be expected to impact all stocks; and 2)

changes in industry-wide factors that would be expected to impact stocks in the “Generic

Pharma” industry. By measuring how Endo stock returns move in relation to an overall market

index and an industry index, I can also measure how the stock prices respond to Company-

specific news.

66.      For each event date prior to and including November 3, 2016 (i.e., the earliest corrective

event alleged in the Complaint),102 the “Control Period” used to estimate the regression equation

is the calendar year immediately preceding the impact date (i.e., the first trading day on which

the information disclosed could have impacted the market price).103, 104 Further, in order to


102
      Complaint, ¶¶260–263.
103
   Mitchell, Mark L. and Jeffry M. Netter, 1994, “The Role of Financial Economics in Securities
Fraud Cases: Applications at the Securities and Exchange Commission,” The Business Lawyer,
Vol. 49, pp. 545–90 at p. 568:
         The market model is estimated with regression analysis. The estimation period
         for this market model equation typically ranges from 100 to 300 trading days
         preceding the event under study.
104
   MacKinlay, A. Craig, 1997, “Event Studies in Economics and Finance,” Journal of Economic
Literature, Vol. 35, pp. 13–39 at p. 15:
         Given the selection of a normal performance model, the estimation window needs
         to be defined. The most common choice, when feasible, is using the period prior
         to the event window for the estimation window. For example, in an event study
         using daily data and the market model, the market model parameters could be



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prevent disclosure of the alleged fraud from contaminating my normal return measure, and in

turn my estimate of abnormal return volatility, the Control Period used for each subsequent event

is the calendar year immediately preceding November 3, 2016.105, 106 To be consistent with the

academic literature, each of my Control Periods excludes the events under study.107, 108

67.       The market index used in my regression analyses for Endo stock is the S&P 500, which

“includes 500 leading companies and captures approximately 80% coverage of available market

capitalization.”109 This broad-based market index is commonly used by economists as a




          estimated over the 120 days prior to the event. Generally the event period itself is
          not included in the estimation period to prevent the event from influencing the
          normal performance model parameter estimates.
105
   MacKinlay, A. Craig, 1997, “Event Studies in Economics and Finance,” Journal of Economic
Literature, Vol. 35, pp. 13–39 at p. 15:
          Appraisal of the event’s impact requires a measure of the abnormal return. The
          abnormal return is the actual ex post return of the security over the event window
          minus the normal return of the firm over the event window. The normal return is
          defined as the expected return without conditioning on the event taking place.
106
  Campbell, John Y., Andrew W. Lo, and A. Craig MacKinlay, The Econometrics of Financial
Markets, Princeton University Press, 1997, p. 158:
          It is typical for the estimation window and the event window not to overlap. This
          design provides estimators for the parameters of the normal return model which
          are not influenced by the event-related returns. Including the event window in the
          estimation of the normal model parameters could lead to the event returns having
          a large influence on the normal return measure. In this situation both the normal
          returns and the abnormal returns would reflect the impact of the event. This
          would be problematic since the methodology is built around the assumption that
          the event impact is captured by the abnormal returns.
107
      See Exhibit 12 for a list of all the events under study.
108
   See, e.g., MacKinlay, A. Craig, 1997, “Event Studies in Economics and Finance,” Journal of
Economic Literature, Vol. 35, pp. 13–39 at p. 15; and Campbell, John Y., Andrew W. Lo, and A.
Craig MacKinlay, The Econometrics of Financial Markets, Princeton University Press, 1997, p.
152.
109
      http://www.spindices.com/indices/equity/sp-500.



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representation of the overall market, which is theoretically required by the Capital Asset Pricing

Model (“CAPM”), for which famed financial economist, William Sharpe, won a Nobel Prize.110

68.       In addition to market-wide factors, my regression analyses also measure the relationship

between Endo stock returns and changes in industry-wide factors that would be expected to

impact all stocks in Endo’s particular industry. In constructing the industry index, I considered:

(i) companies identified as industry competitors in analyst reports published during the Class

Period; (ii) companies identified by the Bloomberg Industry Classification System (BICS) as

operating in the “Generic Pharma” industry; and (iii) companies identified as peers in Endo’s

SEC filings issued during the Class Period. The industry index used in this analysis is the

“NASDAQ Biotechnology Index,”111 which “contains securities of NASDAQ-listed companies

classified … as either Biotechnology or Pharmaceuticals [companies].”112 In its SEC filings

during the Class Period, Endo compared its stock price performance to the “NASDAQ




110
   The Sveriges Riksbank Prize in Economic Sciences in Memory of Alfred Nobel 1990, Press
Release, http://www.nobelprize.org/nobel_prizes/economic-sciences/laureates/1990/press.html:
          An important result is that the expected return on an asset is determined by the
          beta coefficient on the asset, which also measures the covariance between the
          return on the asset and the return on the market portfolio. …The CAPM is
          considered the backbone of modern price theory for financial markets. It is also
          widely used in empirical analysis, so that the abundance of financial statistical
          data can be utilized systematically and efficiently. …Along with Markowitz’
          portfolio model, the CAPM has also become the framework in textbooks on
          financial economics throughout the world.
111
      Bloomberg ticker symbol: “NBI Index.”
112
      See https://indexes.nasdaqomx.com/Index/Overview/NBI.



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Pharmaceutical Index,”113 which exhibited quantitatively similar annual returns to those of the

NASDAQ Biotechnology Index.

69.    My estimated regression equations appear in Exhibit 11A. As indicated by the t-statistics

corresponding to each index, Endo stock returns exhibited a statistically significant association

with both market index returns and residual industry index returns during the Class Period.114

Exhibit 11B shows Endo’s expected (i.e., “predicted”) and residual (i.e., “Company-specific”)

returns estimated from the regression models on each day of the Class Period. Expected returns

are those changes in stock prices due to market and industry factors that change the values of all

stocks in an economy (market effects) or in a particular industry (industry effects). Endo’s

residual returns are a measure of the change in the stock price due to Company-specific events

and are calculated as the difference between Endo’s actual return and its expected return.115




113
    See, e.g.: Endo International plc, SEC Form 10-K for year-end 2015, filed February 29, 2016,
p. 43; Endo International plc, SEC Form 10-K for year-end 2016, filed March 1, 2017, p. 46;
Endo International plc, SEC Form 10-K for year-end 2017, filed February 27, 2018, p. 45.
114
   Residual industry index returns are the portions of daily returns on the industry index which
are not explained by market effects, as determined from a regression of industry index returns on
market index returns during the Control Period. The use of residual industry index returns rather
than raw returns eliminates any statistical problems due to multicollinearity. (See Greene,
William H., Econometric Analysis, Prentice Hall, 2012, 7th ed., Ch. 4, p. 89.)
115
   Exhibit 11B also provides the confidence level for each day of the Class Period, which
measures the statistical significance of Endo’s residual returns. The confidence level associated
with a given Company-specific return is measured as one minus the “p-value” of that return,
where the p-value represents the conditional probability of observing a Company-specific return.
Thus, consistent with the standard frequently employed by social scientists, statistical
significance in context of securities litigation merely indicates that a given company-specific
return is a relatively rare occurrence. (See Kaye, David H. and David A. Freedman, “Reference
Guide on Statistics,” in Federal Judicial Center, Reference Manual on Scientific Evidence,
National Academies Press, 2011, 3rd ed., pp. 250–252: “Statistical significance is determined by
comparing a p [i.e., the probability of getting data as extreme as, or more extreme than, the actual
data—given that the null hypothesis is true] to a preset value, called the significance level.”
Thus, statistical significance “is merely a label for a certain kind of p-value.”)


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Exhibit 1



Zachary R. Nye
Email: zach@scginc.com


                                                    Education
Ph.D. – University of California, Irvine                                                                          2009
Finance                                                                                              Irvine, California
       •    Dissertation: Macro-Augmented Volatility Forecasting.
       •    Research Interests: Market efficiency of underlying and derivative securities, volatility
            forecasting, risk management, financial econometrics, valuation and corporate finance.
       •    Teaching Experience: Corporate Finance, Investments, and Risk Management.

M.Sc. – London Business School                                                                                 2004
Finance                                                                                              London, England
       •    Earned distinction for Masters Thesis on the informational efficiency of credit-linked notes.

A.B. – Princeton University                                                                                    2001
Economics                                                                                      Princeton, New Jersey



                                              Employment History
Vice President                                                                              Summer 2015 – present
Stanford Consulting Group, Inc.                                                            Redwood City, California

       The Stanford Consulting Group, Inc. provides economic research and expert testimony for business
       litigation, as well as regulatory and legislative proceedings.
       Responsibilities include:
            •   quantifying economic damages (e.g., present value of expected future earnings, price
                inflation, lost profits, unjust enrichment, reasonable royalties);
            •   enterprise, project, equity, debt, derivative-security and intellectual-property valuation;
            •   assessing the informational efficiency of financial securities;
            •   analyzing fairness opinions related to corporate mergers and acquisitions;
            •   econometric modeling and analysis;
            •   marginal cost analysis;
            •   preparing expert reports and declarations;
            •   providing deposition and trial testimony; and
            •   supporting counsel in preparation for cross examination of opposing experts.

Senior Consultant                                                                     Summer 2009 – Summer 2015
Stanford Consulting Group, Inc.                                                          Redwood City, California


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Exhibit 1
 Associate                                                                               Summer 2004 – Summer 2005
 Stanford Consulting Group, Inc.                                                            Redwood City, California

 Mortgage Consultant                                                                          Fall 2002 – Summer 2003
 Woolwich PLC                                                                                              Oxford, UK

 Trading Desk Specialist                                                                      Fall 2001 – Summer 2002
 Merrill Lynch, Defined Asset Funds                                                             Plainsboro, New Jersey



                                                 Academic Research
 Nye, Zachary and Mark Washburn, 2013, “Macro-Augmented Volatility Forecasting,” Western Decision Sciences
 Institute Proceedings. Paper presented at the WDSI Annual Meeting, Long Beach, California, March 27, 2013.
 Winner of the 2013 Best Theoretical/Empirical Research Paper Awards.

 Nye, Zachary and Philippe Jorion, 2009, “Macro-Augmented Volatility Forecasting,” Working Paper, University of
 California at Irvine.

 Nye, Zachary and Timothy C. Johnson, 2005, “Market Efficiency's Hidden Teeth: An Unambiguous Test for
 Derivative Securities,” Working Paper, London Business School.



                                                      Testimony

In re Allergan PLC Securities Litigation, United States District Court, Southern District of New York, Civil Action
No. 18-CV-12089-CM
         Deposition                 May 19, 2020

In re Zillow Group, Inc. Securities Litigation, United States District Court, Western District of Washington at
Seattle, Case No. 2:17-cv-01387-JCC
          Deposition                 March 10, 2020

Joseph Prause, et al. v. TechnipFMC plc, et al., United States District Court, Southern District of Texas, Houston
Division, Case No. 4:17-cv-02368
         Deposition                February 5, 2020
         Deposition                March 9, 2020

In re Quorum Health Securities Litigation, United States District Court, Middle District of Tennessee, Case No.
3:16-cv-02475
         Deposition                August 17, 2018
         Deposition                January 14, 2020

In re Snap Inc. Securities Litigation, United States District Court, Central District of California, Western Division,
Case No. 2:17-cv-03679-SVW-AGR
         Deposition                   December 13, 2019

In re Mylan N.V. Securities Litigation, United States District Court, Southern District of New York, Case No. 1:16-
CV-07926 (JPO)
        Deposition                  November 22, 2019

Jet Capital Master Fund, L.P., et al. v. American Realty Capital Properties, Inc., et al., United States District Court,
Southern District of New York, Case No. 1:15-cv-00307-AKH
         Deposition                   July 26, 2019



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Exhibit 1
Roofers’ Pension Fund, et al. v. Joseph C. Papa, et al., United States District Court, District of New Jersey, Civil
Action No. 2:16-cv-02805-MCA-LDW
        Deposition                  April 2, 2019

United States of America ex rel. Lori Morsell, et al. v. Symantec Corporation, United States District Court for the
District of Columbia, Civil Action No. 12-cv-0800 (RC)
          Deposition                March 13, 2019

City of Pontiac General Employees’ Retirement System, et al. v. Dell Inc., et al., United States District Court,
Western District of Texas, Austin Division, Case No. 1:15-cv-00374-LY
         Deposition                April 19, 2017
         Deposition                November 6, 2018

Pirnik v. Fiat Chrysler Automobiles N.V., et al., United States District Court, Southern District of New York, Case
No. 1:15-CV-07199-JMF
          Deposition               February 2, 2018
          Deposition               September 13, 2018

Teresa Doskocz, et al. v. ALS Lien Services, et al., Superior Court of California, County of Contra Costa, Case No.
C17-01486
        Deposition                 April 23, 2018

Bradley Cooper, et al. v. Thoratec Corporation, et al., United States District Court, Northern District of California,
Oakland Division, Case No. 4:14-cv-00360-CW
        Deposition                  March 6, 2018

L-3 Communications Corporation, et al. v. Serco, Inc., United States District Court for the Eastern District of
Virginia, Case No. 1:15-cv-701-GBL-JFA
         Deposition              October 22, 2015
         Deposition              October 18, 2017

In re Juno Therapeutics, Inc., United States District Court of Western District of Washington at Seattle, Case No.
C16-1069RSM
         Deposition                 October 4, 2017

Brad Mauss, et al. v. NuVasive, Inc., et al., United States District Court, Southern District of California, Case No.:
13-cv-02005-JM
        Deposition                 December 20, 2016
        Deposition                  August 28, 2017

In re Akorn, Inc. Securities Litigation, United States District Court, Northern District of Illinois, Eastern Division,
Case No. 15-CV-01944
         Deposition                   June 21, 2017

In re Ocwen Financial Corporation Securities Litigation, United States District Court, Southern District of Florida,
Case 14-81057-CIV-WPD
        Deposition                September 23, 2016
        Deposition                March 28, 2017

Stephen Calfo, et al. v. John P. Messina, Sr., et al., United States District Court, Southern District of New York,
Civil Action No. 15 Civ. 04010 (LGS)
         Deposition                 January 5, 2017

In re EZCORP, Inc. Securities Litigation, United States District Court, Southern District of New York, Case No. 14-
cv-6834 (ALC)
        Deposition                 October 14, 2016


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Exhibit 1
Arthur Menaldi, et al. v. Och-Ziff Capital Management Group LLC, et al., United States District Court, Southern
District of New York, No. 14-CV-03251-JPO
          Deposition                October 3, 2016

Keith Thomas, et al. v. MagnaChip Semiconductor Corp., et al., United States District Court, Northern District of
California, Case No. 3:14-cv-01160-JST
         Deposition               September 16, 2016

In re Rocket Fuel, Inc. Securities Litigation, United States District Court, Northern District of California, Oakland
Division, Case No. 4:14-cv-03998-PJH
         Deposition                  September 14, 2016

Barbara Strougo, Individually and on Behalf of All Others Similarly Situated v. Barclays PLC, et al., United States
District Court, Southern District of New York, Case No. 14-cv-5797 (SAS)
          Deposition                 August 11, 2015
          Evidentiary Hearing        November 5, 2015
          Deposition                 June 16, 2016

In re Merck & Co., Inc. Securities, Derivative & “ERISA” Litigation, United States District Court, District of New
Jersey, Case Numbers: 05-cv-5060; 07-cv-4021; 07-cv-4022; 07-cv-4023; 07-cv-4024; 07-cv-4546; 11-cv-6259; and
15-cv-518
         Deposition                 December 6, 2013
         Deposition                 October 1, 2015

Richard Thorpe and Darrel Weisheit, Individually and on Behalf of All Others Similarly Situated v. Walter
Investment Management Corp., et al., United States District Court, Southern District of Florida,
Case No. 1:14-cv-20880-UU
        Deposition               September 16, 2015

City of Austin Police Retirement System, Individually and on Behalf of All Others Similarly Situated v. Kinross
Gold Corporation, et al., United States District Court, Southern District of New York,
Civil Action No. 1:12-cv-01203-VEC-KNF
         Deposition                 November 19, 2014

In re El Paso Partners, L.P. Derivative Litigation, Court of Chancery of the State of Delaware, C.A. No. 7141-CS
          Deposition                 September 24, 2013
          Trial                      November 12 and 13, 2014

L-3 Communications Corporation, et al. v. Jaxon Engineering & Maintenance, Inc., et al., United States District
Court for the District of Colorado, Civil Action No. 10-cv-02868-MSK-KMT
         Deposition                  August 7, 2014

Axa Corporate Solutions Assurance, et al. v. Honeywell International, Inc., et al., Superior Court of the State of
Arizona in and for the County of Maricopa, No. CV2011-019334
        Deposition                February 24, 2014

In re Heckmann Corporation Securities Litigation, United States District Court for the District of Delaware,
Case No. 1:10-cv-00378-LPS-MPT
         Deposition              November 9, 2012




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Exhibit 2

Endo International plc
Document List

From Counsel

                                           Material                                               Document Date
Amended Class Action Complaint                                                                       8/6/2018
Order on Defendants' Motion to Dismiss                                                              2/14/2020
Memorandum on Defendants' Motion to Dismiss                                                         2/14/2020

Obtained by Stanford Consulting Group, Inc.

                                          Material                                                Document Date   Source
Academic journal articles, reference materials (e.g., books, web sites, and news articles), and
court filings                                                                                        Various      See footnotes to Nye Report
                                                                                                                  Thomson Reuters Eikon; Thomson Reuters Knowledge;
Analyst reports                                                                          3/2015 - 2/2017          Bloomberg
Analyst ratings and price target data                                                    3/2015 - 2/2017          Bloomberg
SEC filings for Endo                                                                     3/2015 - 2/2017          Edgar Pro
News articles and conference call transcripts for Endo                                   3/2015 - 2/2017          Factiva; Bloomberg; Internet
Daily closing bid & ask prices for Endo stock and for sample companies on the NASDAQ GS
market                                                                                   3/2015 - 2/2017          Bloomberg
Total returns & market capitalization for comparables and/or competitors of Endo         3/2014 - 2/2017          Bloomberg
Price, volume, dividend, shares outstanding data for Endo                                3/2014 - 2/2017          Bloomberg
Quarterly institutional and insider holdings data for Endo                              Q4 2014 - Q1 2017         Thomson Reuters Eikon
Daily index levels for S&P 500 Index                                                     3/2014 - 2/2017          Bloomberg
Short interest data for Endo                                                             3/2015 - 2/2017          Bloomberg
U.S. market short interest as a percentage of float data                                 3/2015 - 2/2017          Bloomberg
NASDAQ market maker activity data for Endo                                               3/2015 - 2/2017          Bloomberg
Market capitalization data for NYSE and NASDAQ listed companies                          3/2015 - 2/2017          Bloomberg




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Exhibit 3A

           Volume                            Endo International plc
           Closing Price
                                                 Closing Price and Volume
                                                     Source: Bloomberg
 $120.00                                                                                         70,000,000




                                                                                                 60,000,000
 $100.00



                                                                                                 50,000,000
  $80.00


                                                                                                 40,000,000

  $60.00

                                                                                                 30,000,000


  $40.00
                                                                                                 20,000,000



  $20.00
                                                                                                 10,000,000




   $0.00                                                                                         0




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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    3/2/2015         3,049,445      $87.32           $1.72       2.01%
    3/3/2015         3,576,467      $85.88           -$1.44     -1.65%
    3/4/2015         2,204,417      $85.65           -$0.23     -0.27%
    3/5/2015         1,936,700      $87.71           $2.06       2.41%
    3/6/2015         2,991,828      $87.03           -$0.68     -0.78%
    3/9/2015         2,508,390      $89.54           $2.51       2.88%
    3/10/2015        2,742,011      $89.00           -$0.54     -0.60%
    3/11/2015       11,366,169      $87.76           -$1.24     -1.39%
    3/12/2015        5,328,479      $90.50           $2.74       3.12%
    3/13/2015        4,632,802      $87.33           -$3.17     -3.50%
    3/16/2015        4,322,324      $89.65           $2.32       2.66%
    3/17/2015        2,140,654      $90.78           $1.13       1.26%
    3/18/2015        1,604,075      $91.74           $0.96       1.06%
    3/19/2015        1,595,009      $91.48           -$0.26     -0.28%
    3/20/2015        3,796,867      $92.37           $0.89       0.97%
    3/23/2015        2,405,613      $90.81           -$1.56     -1.69%
    3/24/2015        2,236,541      $89.51           -$1.30     -1.43%
    3/25/2015        2,915,454      $88.28           -$1.23     -1.37%
    3/26/2015        1,753,834      $87.81           -$0.47     -0.53%
    3/27/2015        2,557,045      $90.04           $2.23       2.54%
    3/30/2015        1,278,400      $91.53           $1.49       1.65%
    3/31/2015        2,451,379      $89.70           -$1.83     -2.00%
    4/1/2015         2,599,420      $89.68           -$0.02     -0.02%
    4/2/2015         1,235,862      $90.42           $0.74       0.83%
    4/6/2015         2,430,156      $90.02           -$0.40     -0.44%
    4/7/2015         1,285,914      $91.40           $1.38       1.53%
    4/8/2015         3,050,412      $93.64           $2.24       2.45%
    4/9/2015         1,285,501      $93.68           $0.04       0.04%
    4/10/2015        1,497,494      $94.46           $0.78       0.83%
    4/13/2015        1,494,958      $93.43           -$1.03     -1.09%
    4/14/2015        1,268,722      $93.32           -$0.11     -0.12%
    4/15/2015        1,661,453      $95.92           $2.60       2.79%
    4/16/2015        1,776,171      $95.11           -$0.81     -0.84%
    4/17/2015        1,618,754      $93.34           -$1.77     -1.86%
    4/20/2015        1,066,588      $93.20           -$0.14     -0.15%
    4/21/2015        1,511,890      $95.18           $1.98       2.12%
    4/22/2015        2,004,332      $94.09           -$1.09     -1.15%
    4/23/2015        1,657,602      $94.08           -$0.01     -0.01%
    4/24/2015          997,796      $93.27           -$0.81     -0.86%
    4/27/2015        1,412,375      $90.64           -$2.63     -2.82%
    4/28/2015        4,176,353      $87.83           -$2.81     -3.10%
    4/29/2015        2,375,958      $86.54           -$1.29     -1.47%
    4/30/2015        2,006,584      $84.07           -$2.48     -2.86%
    5/1/2015         1,976,186      $85.05           $0.98       1.17%
    5/4/2015         1,565,315      $86.31           $1.26       1.48%
    5/5/2015         1,223,575      $84.67           -$1.64     -1.90%
    5/6/2015         1,003,295      $84.64           -$0.03     -0.04%
    5/7/2015         1,604,196      $86.33           $1.69       2.00%
    5/8/2015         1,848,693      $87.04           $0.71       0.82%
    5/11/2015        2,043,134      $86.66           -$0.38     -0.44%
    5/12/2015        2,331,242      $84.60           -$2.06     -2.38%
    5/13/2015        1,063,243      $83.89           -$0.71     -0.84%
    5/14/2015          807,859      $85.02           $1.13       1.35%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    5/15/2015          765,306      $85.35           $0.33       0.39%
    5/18/2015        9,156,903      $80.77           -$4.58     -5.37%
    5/19/2015        4,898,094      $83.03           $2.26       2.80%
    5/20/2015        3,803,621      $85.65           $2.62       3.16%
    5/21/2015        3,413,878      $85.00           -$0.65     -0.76%
    5/22/2015        1,426,800      $84.92           -$0.08     -0.09%
    5/26/2015        1,769,696      $83.17           -$1.75     -2.06%
    5/27/2015        1,604,085      $83.41           $0.24       0.29%
    5/28/2015        2,950,830      $82.94           -$0.47     -0.56%
    5/29/2015        3,565,027      $83.76           $0.82       0.99%
    6/1/2015         2,138,603      $84.14           $0.38       0.45%
    6/2/2015         1,258,222      $83.71           -$0.43     -0.51%
    6/3/2015         2,224,601      $84.65           $0.94       1.12%
    6/4/2015         3,195,096      $84.18           -$0.47     -0.56%
    6/5/2015        15,786,817      $83.53           -$0.65     -0.77%
    6/8/2015         4,130,477      $84.15           $0.62       0.74%
    6/9/2015         2,159,660      $82.40           -$1.75     -2.08%
    6/10/2015        2,033,211      $82.40           $0.00       0.00%
    6/11/2015        1,637,895      $82.17           -$0.23     -0.28%
    6/12/2015        2,327,758      $80.54           -$1.63     -1.98%
    6/15/2015        1,975,159      $81.45           $0.91       1.13%
    6/16/2015        1,309,198      $81.52           $0.07       0.09%
    6/17/2015        1,034,470      $80.70           -$0.82     -1.01%
    6/18/2015        2,009,770      $83.34           $2.64       3.27%
    6/19/2015        3,108,403      $84.03           $0.69       0.83%
    6/22/2015        1,377,710      $84.16           $0.13       0.15%
    6/23/2015        1,355,121      $83.93           -$0.23     -0.27%
    6/24/2015        1,085,434      $82.26           -$1.67     -1.99%
    6/25/2015        1,324,464      $82.22           -$0.04     -0.05%
    6/26/2015        3,869,732      $80.81           -$1.41     -1.71%
    6/29/2015        1,764,724      $78.39           -$2.42     -2.99%
    6/30/2015        1,854,985      $79.65           $1.26       1.61%
    7/1/2015         1,416,211      $80.89           $1.24       1.56%
    7/2/2015         1,714,765      $82.02           $1.13       1.40%
    7/6/2015         2,908,734      $81.58           -$0.44     -0.54%
    7/7/2015         1,597,187      $81.39           -$0.19     -0.23%
    7/8/2015         2,504,230      $78.41           -$2.98     -3.66%
    7/9/2015         1,772,050      $80.46           $2.05       2.61%
    7/10/2015        1,267,153      $83.12           $2.66       3.31%
    7/13/2015        1,478,873      $84.02           $0.90       1.08%
    7/14/2015        2,242,783      $85.50           $1.48       1.76%
    7/15/2015          943,805      $84.79           -$0.71     -0.83%
    7/16/2015          890,189      $85.05           $0.26       0.31%
    7/17/2015        1,870,154      $85.38           $0.33       0.39%
    7/20/2015        2,520,740      $86.94           $1.56       1.83%
    7/21/2015        1,491,442      $86.13           -$0.81     -0.93%
    7/22/2015        1,092,007      $86.52           $0.39       0.45%
    7/23/2015        2,115,101      $85.90           -$0.62     -0.72%
    7/24/2015        1,243,802      $85.39           -$0.51     -0.59%
    7/27/2015        1,364,363      $85.81           $0.42       0.49%
    7/28/2015        2,744,070      $87.63           $1.82       2.12%
    7/29/2015        1,310,663      $86.19           -$1.44     -1.64%
    7/30/2015        1,216,817      $85.96           -$0.23     -0.27%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change    Return
     7/31/2015       3,040,701      $87.54           $1.58        1.84%
     8/3/2015        2,296,379      $86.99           -$0.55      -0.63%
     8/4/2015        1,911,305      $85.11           -$1.88      -2.16%
     8/5/2015        1,663,845      $85.85           $0.74        0.87%
     8/6/2015        2,255,299      $81.70           -$4.15      -4.83%
     8/7/2015        2,472,951      $83.75           $2.05        2.51%
     8/10/2015       3,586,458      $84.18           $0.43        0.51%
     8/11/2015       2,194,697      $83.43           -$0.75      -0.89%
     8/12/2015       1,814,426      $83.30           -$0.13      -0.16%
     8/13/2015       1,266,227      $83.45           $0.15        0.18%
     8/14/2015       2,158,157      $84.82           $1.37        1.64%
     8/17/2015       1,533,563      $86.36           $1.54        1.82%
     8/18/2015         901,276      $85.41           -$0.95      -1.10%
     8/19/2015       1,241,720      $84.32           -$1.09      -1.28%
     8/20/2015       2,700,077      $80.82           -$3.50      -4.15%
     8/21/2015       3,319,875      $76.61           -$4.21      -5.21%
     8/24/2015       3,858,428      $73.45           -$3.16      -4.12%
     8/25/2015       2,494,325      $73.09           -$0.36      -0.49%
     8/26/2015       2,031,531      $76.38           $3.29        4.50%
     8/27/2015       1,730,560      $79.00           $2.62        3.43%
     8/28/2015       1,296,226      $78.70           -$0.30      -0.38%
     8/31/2015       1,591,083      $77.00           -$1.70      -2.16%
     9/1/2015        3,255,967      $73.48           -$3.52      -4.57%
     9/2/2015        1,544,641      $74.96           $1.48        2.01%
     9/3/2015        1,392,652      $74.46           -$0.50      -0.67%
     9/4/2015        1,576,692      $73.00           -$1.46      -1.96%
     9/8/2015        1,869,795      $76.59           $3.59        4.92%
     9/9/2015        1,607,793      $74.98           -$1.61      -2.10%
     9/10/2015         975,233      $75.23           $0.25        0.33%
     9/11/2015       1,145,623      $74.80           -$0.43      -0.57%
     9/14/2015       1,079,641      $74.47           -$0.33      -0.44%
     9/15/2015         672,271      $75.97           $1.50        2.01%
     9/16/2015       4,740,827      $79.30           $3.33        4.38%
     9/17/2015       2,971,056      $80.99           $1.69        2.13%
     9/18/2015       5,105,757      $81.92           $0.93        1.15%
     9/21/2015       2,638,941      $78.33           -$3.59      -4.38%
     9/22/2015       3,458,164      $75.78           -$2.55      -3.26%
     9/23/2015       2,154,168      $75.40           -$0.38      -0.50%
     9/24/2015       3,659,198      $72.40           -$3.00      -3.98%
     9/25/2015       4,567,916      $68.84           -$3.56      -4.92%
     9/28/2015       7,734,021      $61.82           -$7.02     -10.20%
     9/29/2015       6,721,452      $60.57           -$1.25      -2.02%
     9/30/2015       8,778,572      $69.28           $8.71      14.38%
     10/1/2015       4,271,550      $70.02           $0.74        1.07%
     10/2/2015       3,347,452      $71.06           $1.04        1.49%
     10/5/2015       5,858,060      $67.28           -$3.78      -5.32%
     10/6/2015       6,869,498      $64.10           -$3.18      -4.73%
     10/7/2015       6,683,327      $63.14           -$0.96      -1.50%
     10/8/2015       3,404,470      $63.42           $0.28        0.44%
     10/9/2015       3,203,898      $64.27           $0.85        1.34%
    10/12/2015       1,717,522      $64.00           -$0.27      -0.42%
    10/13/2015       3,498,493      $62.87           -$1.13      -1.77%
    10/14/2015       5,711,428      $64.94           $2.07        3.29%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change    Return
    10/15/2015       3,517,712      $66.60           $1.66        2.56%
    10/16/2015       3,565,223      $69.02           $2.42        3.63%
    10/19/2015       3,895,385      $66.79           -$2.23      -3.23%
    10/20/2015       4,847,650      $62.83           -$3.96      -5.93%
    10/21/2015      23,252,504      $54.46           -$8.37     -13.32%
    10/22/2015      15,672,442      $51.46           -$3.00      -5.51%
    10/23/2015       9,969,239      $56.60           $5.14        9.99%
    10/26/2015       6,622,753      $58.97           $2.37        4.19%
    10/27/2015       4,425,549      $58.52           -$0.45      -0.76%
    10/28/2015       4,836,844      $60.89           $2.37        4.05%
    10/29/2015       6,409,542      $60.38           -$0.51      -0.84%
    10/30/2015       4,879,365      $59.99           -$0.39      -0.65%
     11/2/2015       2,951,479      $61.40           $1.41        2.35%
     11/3/2015       2,222,275      $61.26           -$0.14      -0.23%
     11/4/2015       3,544,004      $60.49           -$0.77      -1.26%
     11/5/2015      17,733,208      $51.70           -$8.79     -14.53%
     11/6/2015       8,457,860      $55.30           $3.60        6.96%
     11/9/2015       5,471,507      $54.50           -$0.80      -1.45%
    11/10/2015       5,205,459      $55.57           $1.07        1.96%
    11/11/2015       5,052,767      $56.51           $0.94        1.69%
    11/12/2015       5,711,711      $56.10           -$0.41      -0.73%
    11/13/2015       6,199,000      $57.99           $1.89        3.37%
    11/16/2015       2,923,188      $56.90           -$1.09      -1.88%
    11/17/2015       2,472,089      $57.65           $0.75        1.32%
    11/18/2015       3,173,912      $59.33           $1.68        2.91%
    11/19/2015       2,352,931      $59.41           $0.08        0.13%
    11/20/2015       1,958,898      $59.37           -$0.04      -0.07%
    11/23/2015       2,960,819      $60.16           $0.79        1.33%
    11/24/2015       2,016,117      $60.28           $0.12        0.20%
    11/25/2015       1,432,785      $61.00           $0.72        1.19%
    11/27/2015         949,846      $62.33           $1.33        2.18%
    11/30/2015       2,849,060      $61.48           -$0.85      -1.36%
     12/1/2015       4,258,794      $61.95           $0.47        0.76%
     12/2/2015       3,773,394      $61.55           -$0.40      -0.65%
     12/3/2015       4,613,796      $59.81           -$1.74      -2.83%
     12/4/2015       3,851,276      $62.70           $2.89        4.83%
     12/7/2015       4,545,239      $59.63           -$3.07      -4.90%
     12/8/2015       3,702,713      $59.28           -$0.35      -0.59%
     12/9/2015       5,301,581      $58.49           -$0.79      -1.33%
    12/10/2015       3,923,129      $58.33           -$0.16      -0.27%
    12/11/2015       7,288,754      $57.12           -$1.21      -2.07%
    12/14/2015       7,636,055      $57.43           $0.31        0.54%
    12/15/2015       4,176,544      $60.88           $3.45        6.01%
    12/16/2015       2,090,653      $62.03           $1.15        1.89%
    12/17/2015       2,427,317      $61.38           -$0.65      -1.05%
    12/18/2015      10,405,358      $61.02           -$0.36      -0.59%
    12/21/2015       1,725,812      $61.16           $0.14        0.23%
    12/22/2015       1,732,438      $62.61           $1.45        2.37%
    12/23/2015       1,118,815      $62.71           $0.10        0.16%
    12/24/2015       1,094,711      $62.62           -$0.09      -0.14%
    12/28/2015       1,238,065      $61.82           -$0.80      -1.28%
    12/29/2015       2,479,181      $62.49           $0.67        1.08%
    12/30/2015       1,679,016      $62.42           -$0.07      -0.11%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change    Return
    12/31/2015       1,500,384      $61.22           -$1.20      -1.92%
     1/4/2016        3,096,641      $59.82           -$1.40      -2.29%
     1/5/2016        2,254,168      $59.35           -$0.47      -0.79%
     1/6/2016        3,898,487      $57.31           -$2.04      -3.44%
     1/7/2016        3,441,755      $56.36           -$0.95      -1.66%
     1/8/2016        4,032,094      $53.78           -$2.58      -4.58%
     1/11/2016       4,690,630      $53.74           -$0.04      -0.07%
     1/12/2016       3,540,797      $55.04           $1.30        2.42%
     1/13/2016       3,549,021      $52.65           -$2.39      -4.34%
     1/14/2016       3,964,781      $53.98           $1.33        2.53%
     1/15/2016       3,604,960      $52.53           -$1.45      -2.69%
     1/19/2016       3,621,565      $52.66           $0.13        0.25%
     1/20/2016       4,885,560      $55.08           $2.42        4.60%
     1/21/2016       3,739,627      $56.37           $1.29        2.34%
     1/22/2016       3,027,445      $58.55           $2.18        3.87%
     1/25/2016       3,480,445      $57.84           -$0.71      -1.21%
     1/26/2016       7,205,030      $60.06           $2.22        3.84%
     1/27/2016       3,433,679      $58.07           -$1.99      -3.31%
     1/28/2016       6,549,082      $54.95           -$3.12      -5.37%
     1/29/2016       4,962,933      $55.47           $0.52        0.95%
     2/1/2016        3,125,077      $56.57           $1.10        1.98%
     2/2/2016        3,970,527      $55.80           -$0.77      -1.36%
     2/3/2016        3,606,479      $54.50           -$1.30      -2.33%
     2/4/2016        3,080,803      $54.30           -$0.20      -0.37%
     2/5/2016        6,581,611      $53.87           -$0.43      -0.79%
     2/8/2016        6,491,089      $50.65           -$3.22      -5.98%
     2/9/2016        4,745,758      $52.22           $1.57        3.10%
     2/10/2016       2,640,675      $51.00           -$1.22      -2.34%
     2/11/2016       6,317,267      $48.49           -$2.51      -4.92%
     2/12/2016       3,039,697      $50.09           $1.60        3.30%
     2/16/2016       2,996,613      $51.58           $1.49        2.97%
     2/17/2016       2,748,426      $52.76           $1.18        2.29%
     2/18/2016       3,455,567      $51.03           -$1.73      -3.28%
     2/19/2016       3,411,181      $50.26           -$0.77      -1.51%
     2/22/2016       2,697,136      $50.44           $0.18        0.36%
     2/23/2016       1,877,596      $50.22           -$0.22      -0.44%
     2/24/2016       1,699,860      $51.02           $0.80        1.59%
     2/25/2016       2,718,200      $52.67           $1.65        3.23%
     2/26/2016       4,345,009      $52.94           $0.27        0.51%
     2/29/2016      22,684,182      $41.81          -$11.13     -21.02%
     3/1/2016       11,916,335      $42.19           $0.38        0.91%
     3/2/2016        6,577,247      $43.85           $1.66        3.93%
     3/3/2016        5,661,847      $43.17           -$0.68      -1.55%
     3/4/2016        5,644,721      $42.44           -$0.73      -1.69%
     3/7/2016        5,606,759      $44.58           $2.14        5.04%
     3/8/2016        3,273,709      $42.66           -$1.92      -4.31%
     3/9/2016        6,191,864      $41.79           -$0.87      -2.04%
     3/10/2016       7,213,166      $40.40           -$1.39      -3.33%
     3/11/2016       6,119,462      $42.40           $2.00        4.95%
     3/14/2016       2,547,760      $42.08           -$0.32      -0.75%
     3/15/2016      17,422,040      $32.57           -$9.51     -22.60%
     3/16/2016      13,775,511      $33.91           $1.34        4.11%
     3/17/2016      20,893,439      $30.03           -$3.88     -11.44%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change    Return
    3/18/2016        9,758,606      $29.84           -$0.19      -0.63%
    3/21/2016       11,787,760      $28.84           -$1.00      -3.35%
    3/22/2016       10,217,347      $30.81           $1.97        6.83%
    3/23/2016        6,633,090      $29.93           -$0.88      -2.86%
    3/24/2016        4,124,392      $29.63           -$0.30      -1.00%
    3/28/2016        4,820,050      $28.27           -$1.36      -4.59%
    3/29/2016        6,552,742      $28.96           $0.69        2.44%
    3/30/2016        3,705,332      $28.45           -$0.51      -1.76%
    3/31/2016       15,615,217      $28.15           -$0.30      -1.05%
    4/1/2016         6,887,968      $28.68           $0.53        1.88%
    4/4/2016         5,617,014      $28.41           -$0.27      -0.94%
    4/5/2016         8,791,684      $26.91           -$1.50      -5.28%
    4/6/2016         9,745,394      $29.23           $2.32        8.62%
    4/7/2016        11,931,393      $29.07           -$0.16      -0.55%
    4/8/2016         5,361,399      $28.30           -$0.77      -2.65%
    4/11/2016       12,494,951      $26.03           -$2.27      -8.02%
    4/12/2016        9,114,201      $26.25           $0.22        0.85%
    4/13/2016        6,644,098      $27.14           $0.89        3.39%
    4/14/2016        4,449,176      $27.16           $0.02        0.07%
    4/15/2016        5,799,758      $26.33           -$0.83      -3.06%
    4/18/2016        7,689,124      $28.49           $2.16        8.20%
    4/19/2016        6,859,972      $28.75           $0.26        0.91%
    4/20/2016        7,081,047      $28.42           -$0.33      -1.15%
    4/21/2016        9,830,246      $31.83           $3.41      12.00%
    4/22/2016       11,663,661      $33.98           $2.15        6.75%
    4/25/2016       12,564,694      $30.04           -$3.94     -11.60%
    4/26/2016        7,730,414      $29.47           -$0.57      -1.90%
    4/27/2016        3,751,629      $28.88           -$0.59      -2.00%
    4/28/2016        4,792,356      $28.27           -$0.61      -2.11%
    4/29/2016        5,781,338      $27.00           -$1.27      -4.49%
    5/2/2016         4,745,681      $27.18           $0.18        0.67%
    5/3/2016         7,156,232      $28.13           $0.95        3.50%
    5/4/2016         5,699,863      $27.37           -$0.76      -2.70%
    5/5/2016         9,440,202      $26.59           -$0.78      -2.85%
    5/6/2016        57,847,374      $16.17          -$10.42     -39.19%
    5/9/2016        19,391,791      $15.27           -$0.90      -5.57%
    5/10/2016       13,625,089      $15.52           $0.25        1.64%
    5/11/2016       22,310,024      $13.55           -$1.97     -12.69%
    5/12/2016       19,916,870      $13.45           -$0.10      -0.74%
    5/13/2016       11,776,328      $14.05           $0.60        4.46%
    5/16/2016        9,415,814      $14.30           $0.25        1.78%
    5/17/2016       12,012,307      $15.17           $0.87        6.08%
    5/18/2016       11,763,198      $15.57           $0.40        2.64%
    5/19/2016       11,691,118      $14.77           -$0.80      -5.14%
    5/20/2016       11,089,049      $15.44           $0.67        4.54%
    5/23/2016        7,142,275      $15.16           -$0.28      -1.81%
    5/24/2016        6,935,671      $15.44           $0.28        1.85%
    5/25/2016        7,023,365      $15.31           -$0.13      -0.84%
    5/26/2016        6,191,833      $15.22           -$0.09      -0.59%
    5/27/2016        9,608,510      $15.38           $0.16        1.05%
    5/31/2016        7,865,669      $15.81           $0.43        2.80%
    6/1/2016        10,739,381      $16.62           $0.81        5.12%
    6/2/2016        14,215,089      $17.44           $0.82        4.93%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    6/3/2016         8,790,356      $17.59           $0.15       0.86%
    6/6/2016         9,199,262      $17.96           $0.37       2.10%
    6/7/2016        11,739,774      $17.62           -$0.34     -1.89%
    6/8/2016         5,485,446      $17.72           $0.10       0.57%
    6/9/2016         7,648,673      $18.00           $0.28       1.58%
    6/10/2016       11,339,831      $16.48           -$1.52     -8.44%
    6/13/2016        8,181,653      $16.68           $0.20       1.21%
    6/14/2016        8,056,258      $17.13           $0.45       2.70%
    6/15/2016        8,758,297      $16.82           -$0.31     -1.81%
    6/16/2016        5,626,363      $16.92           $0.10       0.59%
    6/17/2016       13,522,665      $16.44           -$0.48     -2.84%
    6/20/2016        6,940,140      $16.07           -$0.37     -2.25%
    6/21/2016        8,610,020      $15.40           -$0.67     -4.17%
    6/22/2016        7,448,881      $15.45           $0.05       0.32%
    6/23/2016        6,151,065      $15.84           $0.39       2.52%
    6/24/2016       10,050,357      $14.85           -$0.99     -6.25%
    6/27/2016        8,454,231      $13.69           -$1.16     -7.81%
    6/28/2016       20,806,143      $16.19           $2.50      18.26%
    6/29/2016       15,417,380      $15.93           -$0.26     -1.61%
    6/30/2016       13,829,622      $15.59           -$0.34     -2.13%
    7/1/2016        13,310,381      $16.98           $1.39       8.92%
    7/5/2016         7,589,211      $16.56           -$0.42     -2.47%
    7/6/2016        10,303,564      $17.10           $0.54       3.26%
    7/7/2016         5,083,202      $17.28           $0.18       1.05%
    7/8/2016         5,668,664      $17.42           $0.14       0.81%
    7/11/2016        5,801,079      $17.16           -$0.26     -1.49%
    7/12/2016        5,964,149      $17.39           $0.23       1.34%
    7/13/2016        7,203,876      $17.38           -$0.01     -0.06%
    7/14/2016        4,847,260      $17.68           $0.30       1.73%
    7/15/2016        8,411,929      $17.63           -$0.05     -0.28%
    7/18/2016        3,236,655      $17.92           $0.29       1.64%
    7/19/2016        3,564,578      $17.45           -$0.47     -2.62%
    7/20/2016        3,888,043      $18.04           $0.59       3.38%
    7/21/2016        3,361,414      $18.00           -$0.04     -0.22%
    7/22/2016        3,378,370      $17.50           -$0.50     -2.78%
    7/25/2016        3,259,404      $17.71           $0.21       1.20%
    7/26/2016        3,902,341      $17.34           -$0.37     -2.09%
    7/27/2016        3,819,622      $17.76           $0.42       2.42%
    7/28/2016        4,764,760      $17.89           $0.13       0.73%
    7/29/2016        3,623,036      $17.36           -$0.53     -2.96%
    8/1/2016         4,130,050      $16.88           -$0.48     -2.76%
    8/2/2016         6,891,248      $17.11           $0.23       1.36%
    8/3/2016         9,364,263      $18.21           $1.10       6.43%
    8/4/2016         5,756,559      $18.08           -$0.13     -0.71%
    8/5/2016         4,087,573      $18.07           -$0.01     -0.06%
    8/8/2016         8,358,611      $18.19           $0.12       0.66%
    8/9/2016        37,981,430      $22.16           $3.97      21.83%
    8/10/2016       13,068,871      $22.29           $0.13       0.59%
    8/11/2016        7,644,325      $23.01           $0.72       3.23%
    8/12/2016       10,924,591      $24.18           $1.17       5.08%
    8/15/2016        8,138,006      $23.23           -$0.95     -3.93%
    8/16/2016        6,510,112      $22.92           -$0.31     -1.33%
    8/17/2016        7,072,839      $22.74           -$0.18     -0.79%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change   Return
     8/18/2016       3,320,778      $22.89           $0.15       0.66%
     8/19/2016       4,039,620      $23.03           $0.14       0.61%
     8/22/2016       3,482,043      $22.94           -$0.09     -0.39%
     8/23/2016       5,431,113      $23.66           $0.72       3.14%
     8/24/2016      14,751,139      $22.09           -$1.57     -6.64%
     8/25/2016      10,762,708      $21.03           -$1.06     -4.80%
     8/26/2016       4,627,022      $21.03           $0.00       0.00%
     8/29/2016       5,025,163      $20.82           -$0.21     -1.00%
     8/30/2016       4,411,745      $20.89           $0.07       0.34%
     8/31/2016       4,950,048      $20.70           -$0.19     -0.91%
     9/1/2016        3,652,472      $20.23           -$0.47     -2.27%
     9/2/2016        9,613,829      $19.82           -$0.41     -2.03%
     9/6/2016        4,945,136      $20.49           $0.67       3.38%
     9/7/2016        4,004,708      $20.30           -$0.19     -0.93%
     9/8/2016        4,698,561      $20.65           $0.35       1.72%
     9/9/2016        3,557,923      $20.04           -$0.61     -2.98%
     9/12/2016       4,569,352      $20.80           $0.77       3.82%
     9/13/2016       4,604,967      $20.34           -$0.46     -2.21%
     9/14/2016       4,576,228      $20.34           $0.00       0.00%
     9/15/2016       4,071,806      $20.69           $0.35       1.72%
     9/16/2016       6,165,236      $20.85           $0.16       0.77%
     9/19/2016       3,614,021      $20.06           -$0.79     -3.79%
     9/20/2016       3,658,776      $20.29           $0.23       1.15%
     9/21/2016       4,407,692      $20.09           -$0.20     -0.99%
     9/22/2016       4,910,163      $20.26           $0.17       0.85%
     9/23/2016      21,089,683      $23.39           $3.13      15.45%
     9/26/2016       8,552,656      $21.99           -$1.40     -5.99%
     9/27/2016       5,465,989      $22.53           $0.54       2.46%
     9/28/2016       4,538,272      $22.36           -$0.17     -0.75%
     9/29/2016       8,483,396      $20.93           -$1.43     -6.40%
     9/30/2016      11,702,697      $20.15           -$0.78     -3.73%
     10/3/2016       5,081,428      $20.57           $0.42       2.08%
     10/4/2016       3,243,918      $20.39           -$0.18     -0.88%
     10/5/2016       4,979,030      $21.42           $1.03       5.05%
     10/6/2016       4,039,389      $20.63           -$0.79     -3.69%
     10/7/2016       5,570,113      $20.37           -$0.26     -1.26%
    10/10/2016       5,589,859      $21.18           $0.81       3.98%
    10/11/2016       4,582,144      $20.46           -$0.72     -3.40%
    10/12/2016       6,091,463      $19.63           -$0.83     -4.06%
    10/13/2016       5,532,317      $19.81           $0.18       0.92%
    10/14/2016       5,277,128      $19.86           $0.05       0.25%
    10/17/2016       3,498,863      $19.27           -$0.59     -2.97%
    10/18/2016       2,464,310      $19.85           $0.58       3.01%
    10/19/2016       2,534,529      $19.89           $0.04       0.20%
    10/20/2016       3,647,880      $20.53           $0.64       3.22%
    10/21/2016       3,770,942      $20.81           $0.28       1.36%
    10/24/2016       3,025,549      $20.81           $0.00       0.00%
    10/25/2016       4,001,415      $21.48           $0.67       3.22%
    10/26/2016       3,222,008      $20.78           -$0.70     -3.26%
    10/27/2016       3,477,872      $20.42           -$0.36     -1.73%
    10/28/2016       7,224,065      $19.57           -$0.85     -4.16%
    10/31/2016       4,699,121      $18.75           -$0.82     -4.19%
     11/1/2016       7,170,488      $18.87           $0.12       0.64%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

        Date        Volume       Closing Price   Price Change    Return
     11/2/2016       4,411,276      $18.17           -$0.70      -3.71%
     11/3/2016      20,578,074      $14.63           -$3.54     -19.48%
     11/4/2016      11,757,588      $14.98           $0.35        2.39%
     11/7/2016       6,472,040      $15.68           $0.70        4.67%
     11/8/2016      14,019,490      $14.51           -$1.17      -7.46%
     11/9/2016      11,543,728      $16.28           $1.77      12.20%
    11/10/2016       8,905,181      $17.48           $1.20        7.37%
    11/11/2016       5,890,938      $17.58           $0.10        0.57%
    11/14/2016       5,374,182      $18.19           $0.61        3.47%
    11/15/2016       5,319,897      $17.84           -$0.35      -1.92%
    11/16/2016       4,074,302      $17.10           -$0.74      -4.15%
    11/17/2016       6,933,028      $17.07           -$0.03      -0.18%
    11/18/2016       3,503,756      $17.14           $0.07        0.41%
    11/21/2016       2,908,459      $17.10           -$0.04      -0.23%
    11/22/2016       4,538,826      $16.25           -$0.85      -4.97%
    11/23/2016       3,481,714      $16.70           $0.45        2.77%
    11/25/2016       1,548,554      $16.47           -$0.23      -1.38%
    11/28/2016       3,285,107      $16.67           $0.20        1.21%
    11/29/2016       3,366,632      $16.17           -$0.50      -3.00%
    11/30/2016       5,027,236      $16.01           -$0.16      -0.99%
     12/1/2016       3,345,083      $15.82           -$0.19      -1.19%
     12/2/2016       2,157,908      $15.80           -$0.02      -0.13%
     12/5/2016       3,410,767      $15.87           $0.07        0.44%
     12/6/2016       4,304,129      $15.86           -$0.01      -0.06%
     12/7/2016       6,338,193      $15.09           -$0.77      -4.85%
     12/8/2016       4,764,736      $15.65           $0.56        3.71%
     12/9/2016       4,123,908      $15.64           -$0.01      -0.06%
    12/12/2016       4,480,759      $15.41           -$0.23      -1.47%
    12/13/2016       4,160,357      $15.95           $0.54        3.50%
    12/14/2016       5,635,788      $15.34           -$0.61      -3.82%
    12/15/2016       3,797,272      $15.45           $0.11        0.72%
    12/16/2016      14,074,657      $16.03           $0.58        3.75%
    12/19/2016       3,265,656      $16.03           $0.00        0.00%
    12/20/2016       1,916,727      $16.04           $0.01        0.06%
    12/21/2016       2,446,043      $15.69           -$0.35      -2.18%
    12/22/2016       2,903,159      $15.77           $0.08        0.51%
    12/23/2016       2,615,461      $16.27           $0.50        3.17%
    12/27/2016       1,749,835      $15.90           -$0.37      -2.27%
    12/28/2016       2,736,113      $15.65           -$0.25      -1.57%
    12/29/2016       2,876,035      $15.68           $0.03        0.19%
    12/30/2016       4,350,174      $16.47           $0.79        5.04%
     1/3/2017        4,711,061      $17.47           $1.00        6.07%
     1/4/2017        4,773,470      $17.70           $0.23        1.32%
     1/5/2017        3,576,831      $17.54           -$0.16      -0.90%
     1/6/2017        5,647,598      $16.54           -$1.00      -5.70%
     1/9/2017        6,614,728      $16.41           -$0.13      -0.79%
     1/10/2017       9,358,602      $15.31           -$1.10      -6.70%
     1/11/2017      16,213,278      $14.01           -$1.30      -8.49%
     1/12/2017       6,928,318      $13.87           -$0.14      -1.00%
     1/13/2017       9,887,318      $13.19           -$0.68      -4.90%
     1/17/2017       8,286,914      $13.07           -$0.12      -0.91%
     1/18/2017      10,807,327      $13.17           $0.10        0.77%
     1/19/2017       5,365,060      $12.90           -$0.27      -2.05%



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Exhibit 3B

Endo International plc
Closing Price and Volume
Source: Bloomberg

       Date         Volume       Closing Price   Price Change   Return
    1/20/2017        7,978,124      $12.34           -$0.56     -4.34%
    1/23/2017       10,506,206      $12.17           -$0.17     -1.38%
    1/24/2017        9,416,543      $11.85           -$0.32     -2.63%
    1/25/2017       12,502,299      $11.89           $0.04       0.34%
    1/26/2017        7,965,540      $11.99           $0.10       0.84%
    1/27/2017        6,537,587      $11.78           -$0.21     -1.75%
    1/30/2017        7,149,186      $11.81           $0.03       0.25%
    1/31/2017        6,910,552      $12.24           $0.43       3.64%
    2/1/2017         5,350,514      $12.34           $0.10       0.82%
    2/2/2017         7,616,701      $12.60           $0.26       2.11%
    2/3/2017         5,694,736      $12.71           $0.11       0.87%
    2/6/2017         5,844,086      $12.53           -$0.18     -1.42%
    2/7/2017         8,409,676      $12.01           -$0.52     -4.15%
    2/8/2017         7,368,939      $12.29           $0.28       2.33%
    2/9/2017         6,336,171      $12.18           -$0.11     -0.90%
    2/10/2017        5,196,360      $12.06           -$0.12     -0.99%
    2/13/2017        4,156,861      $12.10           $0.04       0.33%
    2/14/2017        7,277,020      $12.65           $0.55       4.55%
    2/15/2017       12,302,147      $13.65           $1.00       7.91%
    2/16/2017        8,678,503      $13.30           -$0.35     -2.56%
    2/17/2017        6,412,500      $13.08           -$0.22     -1.65%
    2/21/2017        4,902,603      $13.19           $0.11       0.84%
    2/22/2017        5,933,109      $12.89           -$0.30     -2.27%
    2/23/2017        9,419,165      $13.39           $0.50       3.88%
    2/24/2017        5,925,999      $13.15           -$0.24     -1.79%
    2/27/2017        9,113,450      $13.29           $0.14       1.06%




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Exhibit 4
Endo International plc
Volume Analysis
Source: Bloomberg


                    Weekly        Dollar Volume of    Volume as % of
    Date
                    Volume             Trades        Shares Outstanding
  3/6/2015           13,758,857    $1,192,479,587         7.75%           Share Turnover
  3/13/2015          26,577,851    $2,352,918,517         14.97%          Calendar Days                                 728
  3/20/2015          13,458,929    $1,225,610,785         7.58%           Time Period (years)                         1.993
  3/27/2015          11,868,487    $1,060,263,276         6.69%           Shares Out at End of Class Period     222,877,000
  4/2/2015            7,565,061     $681,763,276          4.26%           Total Volume in Class Period        2,719,264,315
  4/10/2015           9,549,477     $883,814,779          5.38%           Annualized Share Turnover                  612.1%
  4/17/2015           7,820,058     $737,463,757          4.41%
  4/24/2015           7,238,208     $680,906,919          4.08%
  5/1/2015           11,947,456    $1,037,200,263         6.68%           Shares Outstanding
  5/8/2015            7,245,074     $623,021,801          4.05%                   12/24/2014                   153,879,000
  5/15/2015           7,010,784     $597,479,560          3.92%                   3/2/2015                     177,510,000
  5/22/2015          22,699,296    $1,883,415,425         12.70%                  4/29/2015                    178,740,000
  5/29/2015           9,889,638     $824,330,848          5.53%                   5/11/2015                    178,746,000
  6/5/2015           24,603,339    $2,061,216,300         12.13%                  6/5/2015                     202,770,000
  6/12/2015          12,289,001    $1,015,135,671         6.01%                   6/8/2015                     204,600,000
  6/19/2015           9,437,000     $779,777,586          4.61%                   7/8/2015                     208,204,000
  6/26/2015           9,012,461     $740,581,653          4.40%                   8/10/2015                    208,251,000
  7/2/2015            6,750,685     $541,288,603          3.30%                   9/28/2015                    226,398,000
  7/10/2015          10,049,354     $811,551,144          4.83%                   11/9/2015                    226,449,000
  7/17/2015           7,425,804     $631,422,405          3.57%                   3/1/2016                     222,203,000
  7/24/2015           8,463,092     $729,986,909          4.06%                   4/29/2016                    222,661,000
  7/31/2015           9,676,614     $841,285,442          4.65%                   8/9/2016                     222,767,000
  8/7/2015           10,599,779     $896,641,846          5.09%                   11/8/2016                    222,877,000
  8/14/2015          11,019,965     $924,874,811          5.29%                   3/1/2017                     222,958,000
  8/21/2015           9,696,511     $786,674,161          4.66%                   5/1/2017                     223,112,000
  8/28/2015          11,411,070     $859,607,315          5.48%
  9/4/2015            9,361,035     $696,343,519          4.50%
  9/11/2015           5,598,444     $422,819,297          2.69%
  9/18/2015          14,569,552    $1,166,310,313         7.00%
  9/25/2015          16,478,387    $1,210,573,456         7.91%
  10/2/2015          30,853,047    $2,030,378,864         13.63%
  10/9/2015          26,019,253    $1,678,276,377         11.49%
 10/16/2015          18,010,378    $1,181,123,108         7.96%
 10/23/2015          57,637,220    $3,201,844,774         25.46%
 10/30/2015          27,174,053    $1,623,763,555         12.00%
  11/6/2015          34,908,826    $1,916,260,691         15.42%
 11/13/2015          27,640,444    $1,552,903,348         12.21%
 11/20/2015          12,881,018     $753,240,932          5.69%
 11/27/2015           7,359,567     $446,258,190          3.25%
  12/4/2015          19,346,320    $1,188,671,042         8.54%
 12/11/2015          24,761,416    $1,445,788,644         10.93%
 12/18/2015          26,735,927    $1,606,413,506         11.81%
 12/24/2015           5,671,776     $352,730,297          2.50%
 12/31/2015           6,896,646     $428,118,886          3.05%
  1/8/2016           16,723,145     $953,271,553          7.38%
  1/15/2016          19,350,189    $1,037,203,306         8.55%
  1/22/2016          15,274,197     $847,867,936          6.75%
  1/29/2016          25,631,169    $1,468,602,730         11.32%
  2/5/2016           20,364,497    $1,116,733,105         8.99%
  2/12/2016          23,234,486    $1,169,854,265         10.26%
  2/19/2016          12,611,787     $647,355,795          5.57%
  2/26/2016          13,337,801     $690,255,639          5.89%
  3/4/2016           52,484,332    $2,223,571,998         23.62%
  3/11/2016          28,404,960    $1,199,240,834         12.78%
  3/18/2016          64,397,356    $2,060,399,938         28.98%
  3/24/2016          32,762,589     $975,489,578          14.74%
  4/1/2016           37,581,309    $1,068,562,198         16.91%
  4/8/2016           41,446,884    $1,179,594,637         18.65%
  4/15/2016          38,502,184    $1,018,359,419         17.33%


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Exhibit 4
Endo International plc
Volume Analysis
Source: Bloomberg


                    Weekly          Dollar Volume of    Volume as % of
    Date
                    Volume               Trades        Shares Outstanding
  4/22/2016            43,124,050    $1,326,758,624         19.41%
  4/29/2016            34,620,431    $1,005,181,784         15.55%
  5/6/2016             84,889,352    $1,672,704,675         38.12%
  5/13/2016            87,020,102    $1,243,214,165         39.08%
  5/20/2016            55,971,486     $843,918,560          25.14%
  5/27/2016            36,901,654     $564,909,949          16.57%
  6/3/2016             41,610,495     $705,378,253          18.69%
  6/10/2016            45,412,986     $793,832,195          20.40%
  6/17/2016            44,145,236     $739,298,902          19.83%
  6/24/2016            39,200,463     $605,888,240          17.61%
  7/1/2016             71,817,757    $1,139,802,817         32.25%
  7/8/2016             28,644,641     $488,454,136          12.86%
  7/15/2016            32,228,293     $562,468,297          14.47%
  7/22/2016            17,429,060     $309,969,966          7.83%
  7/29/2016            19,369,163     $341,364,586          8.70%
  8/5/2016             30,229,693     $536,088,757          13.58%
  8/12/2016            77,977,828    $1,725,069,286         35.00%
  8/19/2016            29,081,355     $668,139,062          13.05%
  8/26/2016            39,054,025     $857,876,882          17.53%
  9/2/2016             27,653,257     $563,686,840          12.41%
  9/9/2016             17,206,328     $350,929,681          7.72%
  9/16/2016            23,987,589     $494,578,865          10.77%
  9/23/2016            37,680,335     $828,051,946          16.91%
  9/30/2016            38,743,010     $826,064,222          17.39%
  10/7/2016            22,913,878     $474,115,081          10.29%
 10/14/2016            27,072,911     $546,118,260          12.15%
 10/21/2016            15,916,524     $320,115,705          7.14%
 10/28/2016            20,950,909     $428,258,493          9.40%
  11/4/2016            48,616,547     $780,754,403          21.82%
 11/11/2016            46,831,377     $752,061,533          21.01%
 11/18/2016            25,205,165     $440,735,063          11.31%
 11/25/2016            12,477,553     $207,139,880          5.60%
  12/2/2016            17,181,966     $276,701,381          7.71%
  12/9/2016            22,941,733     $357,101,730          10.29%
 12/16/2016            32,148,833     $506,143,782          14.42%
 12/23/2016            13,147,046     $209,807,549          5.90%
 12/30/2016            11,712,157     $187,386,140          5.25%
  1/6/2017             18,708,960     $322,941,541          8.39%
  1/13/2017            49,002,244     $705,485,403          21.99%
  1/20/2017            32,437,425     $418,301,787          14.55%
  1/27/2017            46,928,175     $560,618,496          21.06%
  2/3/2017             32,721,689     $403,392,913          14.68%
  2/10/2017            33,155,232     $404,633,531          14.88%
  2/17/2017            38,827,031     $509,576,218          17.42%
  2/24/2017            26,180,876     $345,192,615          11.75%
Average                26,059,143     $906,818,332          11.9%
Minimum                 5,598,444     $187,386,140           2.5%
Maximum                87,020,102    $3,201,844,774         39.1%
Total               2,710,150,865   $94,309,106,567




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Exhibit 5A

Endo International plc
Number of Analyst Reports by Company
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

Abridged Search with Company Name as Primary Ticker Only
   Number                        Analyst Name                         Reports
      1        TheStreet.com Ratings                                   116
      2        RBC Capital Markets                                      84
       3       Guggenheim Securities LLC                                50
       4       Citi                                                     45
       5       JPMorgan                                                 41
       6       UBS Equities                                             34
       7       Morningstar, Inc.                                        29
       8       William Blair & Company                                  29
       9       Clarivate Analytics                                      27
      10       Deutsche Bank                                            27
      11       Morgan Stanley                                           27
      12       Susquehanna Financial Group LLLP                         26
      13       Morningstar Credit Research                              25
      14       Piper Sandler Companies                                  22
      15       SVB Leerink                                              21
      16       Barclays                                                 19
      17       Oppenheimer & Co., Inc.                                  18
      18       Wright Reports                                           16
      19       Gabelli & Company                                        15
      20       JMP Securities                                           15
      21       Cowen and Company                                        14
      22       Canaccord Genuity                                        13
      23       Northland Securities                                     13
      24       MarketLine                                               12
      25       CFRA Equity Research                                     11
      26       Sadif Analytics Prime                                    11
      27       BuySellSignals Research                                   9
      28       ValuEngine, Inc                                           9
      29       Cantor Fitzgerald                                         8
      30       MINKABU THE INOFONOID, Inc.                               8
      31       BMO Capital Markets                                       7
      32       GlobalData                                                7
      33       SterneAgee CRT                                            6
      34       Gordon Haskett                                            5
      35       Validea                                                   4
      36       Wells Fargo Securities, LLC                               4
      37       Vermilion Technical Research                              3
      38       BofA Global Research                                      2
      39       CRT Capital                                               2
      40       Jefferies                                                 2
      41       Needham                                                   2
      42       Pechala's Reports                                         2
      43       ValuEngine, Inc.                                          2
      44       MacroRisk Analytics                                       1
               Total Analyst Reports in Class Period                   843




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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                       Contributor                                                                                  Title
  3/1/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
  3/1/2015   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
  3/2/2015   Canaccord Genuity                              Q4 preview: Back in the growth business
  3/2/2015   Citi                                           Results: ENDP: 4Q14 a Beat; AMS Finally Divested. Maintain Buy.
  3/2/2015   CRT Capital                                    CRT - ENDP: Divests AMS to BSX; Adj. Est's; PT Upped to $86; FV
  3/2/2015   Deutsche Bank                                  Boston Scientific Alert : With Fences Around Liabilities, BSX Buying ENDP's AMS (Clarified)
  3/2/2015   Deutsche Bank                                  Boston Scientific Alert : With Fences Around Liabilities, BSX Buying ENDP's AMS franchise
  3/2/2015   Deutsche Bank                                  Endo International : Solid Q and outlook
  3/2/2015   Guggenheim Securities LLC                      ENDP - BUY - Improving Growth Prospects and AMS Divestiture Positions ENDP Well in 2015; Increasing PT to $100
  3/2/2015   JPMorgan                                       Endo International PLC : Suspending Rating and Price Target; Removing from the AFL
  3/2/2015   Morningstar Credit Research                    Morningstar | Mesh litigation settlement removes distractions for Endo. Updated Forecasts and Estimates from 02 Mar 2015
  3/2/2015   Morningstar, Inc.                              Morningstar | Endo Posts Strong 4Q and Divests Majority of AMS Business; Raising Our Fair Value Estimate
  3/2/2015   Morningstar, Inc.                              Morningstar | Mesh litigation settlement removes distractions for Endo. Updated Forecasts and Estimates from 02 Mar 2015
  3/2/2015   Oppenheimer & Co., Inc.                        4Q14 Beat; Strong Fetch for Device Biz from BSX
  3/2/2015   Piper Sandler Companies                        Solid 4Q; Addition By Subtraction With AMS Divestiture; Staying Bullish
  3/2/2015   RBC Capital Markets                            Endo International Plc - ENDP 4Q and 2015 outlook solid; AMS (MH/PH) to be spun adding greater focus on more M&A ahead
  3/2/2015   SterneAgee CRT                                 4Q14 Beat, 2015 Adjusted Guidance Ahead of Consensus; AMS Sale Leaves Flexibility for Further Deals
  3/2/2015   SVB Leerink                                    4Q Quick Take: De-levered Post AMS & '15 Guidance Slightly Better Than Expected
  3/2/2015   SVB Leerink                                    4Q Wrap: Solid Qtr & AMS Divestiture Position ENDP for Further Consolidation
  3/2/2015   UBS Equities                                   Endo Health Solutions "Nice 4Q; Strong 2015 Guidance Ex-AMS" (Buy) Goodman
  3/2/2015   Wells Fargo Securities, LLC                    ENDP: AMS Sale Provides Flexibility To Buy More Pharma And Improve Asset Mix; 2015E Guidance Is Better Than Expected

  3/2/2015   William Blair & Company                        Endo International plc:Quick Take on Fourth Quarter; 2015 Guidance Conservative While AMS Sale Provides Cash for M&A
  3/3/2015   Canaccord Genuity                              Trifecta: good Q4, better 2015, unloading AMS
  3/3/2015   Cantor Fitzgerald                              Strong 4Q:14; No Change to Our HOLD Thesis; Maintaining $80 PT
  3/3/2015   Citi                                           ENDP: 4Q Recap: Growth Story Intact; Maintain Buy and $98 TP
  3/3/2015   Gabelli & Company                              ENDP: Outlook, AMS Sale Are Catalysts -Buy
  3/3/2015   JPMorgan                                       Endo International PLC : Updating Model to Reflect Announced AMS Divestiture
  3/3/2015   Needham                                        Rebasing For Growth Post AMS; Valuation Embeds Best of Growth And M&A Worlds
  3/3/2015   RBC Capital Markets                            Endo International Plc - Growth profile is improving and accretive M&A deployment remains; raising our PT
  3/3/2015   Susquehanna Financial Group LLLP               Updating Forecasts and Raising Target Post-4Q on Solid Organic Trends
  3/3/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
  3/3/2015   UBS Equities                                   Endo Health Solutions "Executing According to Plan" (Buy) Goodman
  3/3/2015   William Blair & Company                        Endo International plc:Fourth-Quarter Second Look; AMS Divestiture Gives Endo Flexibility for Two or Three Deals in 2015
  3/5/2015   Morgan Stanley                                 ENDP: Resuming at OW; durable growth + M&A optionality



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                         Contributor                                                                                Title

  3/5/2015   Morningstar Credit Research                    Morningstar | Mesh litigation settlement removes distractions for Endo. Updated Forecasts and Estimates from 05 Mar 2015

  3/7/2015   Morningstar, Inc.                              Morningstar | Mesh litigation settlement removes distractions for Endo. Updated Forecasts and Estimates from 05 Mar 2015
  3/8/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
  3/9/2015   Piper Sandler Companies                        Survey Feedback Points to Continued Brisk Update for Xiaflex in Peyronie's
  3/9/2015   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
 3/10/2015   RBC Capital Markets                            Specialty Pharma: Short Interest Summary: Closer look at moves in PRGO, ENDP and DEPO
 3/10/2015   Sadif Analytics Prime                          Is Endo International PLC a Good Long-Term Investment?
 3/11/2015   Canaccord Genuity                              Trying to pull an Endo-around with last-minute higher bid for Salix
 3/11/2015   CFRA Equity Research                           Endo International plc
 3/11/2015   Citi                                           Alert: ENDP: Endo in the Mix for Salix
 3/11/2015   Citi                                           ENDP: Model Update
 3/11/2015   CRT Capital                                    CRT: VRX - Endo Throws a Wrench into the Valeant/Salix Deal
 3/11/2015   Jefferies                                      Jefferies: Steinberg: ENDP Outbids VRX for SLXP, But Our Math Says VRX is Still in the Driver's Seat
 3/11/2015   Morningstar Credit Research                    Morningstar | Endo Outbids Valeant in New Offer for Salix. See Updated Analyst Note from 11 Mar 2015
 3/11/2015   Needham                                        Who's The Master Now Obi Wan? ENDP Purportedly to Bid For SLXP
 3/11/2015   SVB Leerink                                    Quick-Take: Proposed Offer Unlikely To Trump VRX
 3/11/2015   UBS Equities                                   Endo Health Solutions "Great Deal if Endo Can Win" (Buy) Goodman
 3/11/2015   William Blair & Company                        Endo's Unsolicited Bid for Salix Provides Intriguing Offer, but Cash Likely Remains King
 3/12/2015   Cowen and Company                              Brief Thoughts/Comments On Proposed Endo-Salix Bid
 3/12/2015   Gabelli & Company                              ENDP: Big Deals Keep on Turning -Buy
 3/12/2015   JPMorgan                                       Pharmaceuticals — Major & Specialty : Suspending Estimates for ENDP and VRX
 3/12/2015   Morgan Stanley                                 ENDP: Potential Salix accretion analysis; what's next
 3/12/2015   Morningstar, Inc.                              Morningstar | Endo Outbids Valeant in New Offer for Salix
 3/12/2015   Morningstar, Inc.                              Morningstar | Endo Outbids Valeant in New Offer for Salix. See Updated Analyst Note from 11 Mar 2015
 3/12/2015   SterneAgee CRT                                 Adjusting Estimates and Raising PT for 4Q14 Results and Device Business Sale; Remain Buyers
 3/12/2015   SterneAgee CRT                                 Salix Acquisition Could be Transformational for Endo
 3/15/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
 3/16/2015   Cantor Fitzgerald                              We Expect Valeant to Prevail at $173/Share in Cash; See Less Accretion to Endo
 3/16/2015   Citi                                           Alert: ENDP: VRX Amends Offer for SLXP, ENDP Walks
 3/16/2015   Jefferies                                      Jefferies: Steinberg: SLXP Accepts VRX's Increased Bid and ENDP Drops Out; Other Suitors Unlikely
 3/16/2015   Morningstar Credit Research                    Morningstar | Endo Withdraws From Bidding War After Valeant Boosts Offer for Salix
 3/16/2015   Morningstar, Inc.                              Morningstar | Endo Backs Down as Valeant Raises Offer for Salix Pharmaceuticals
 3/16/2015   SterneAgee CRT                                 Valeant Increases Its Offer for Salix as Expected; Makes Endo Counter-Bid More Challenging
 3/16/2015   SterneAgee CRT                                 Valuation Discipline Is Encouraging; Value Enhancing Options Remain
 3/17/2015   Gabelli & Company                              ENDP: Sayonara, Salix -Buy
 3/17/2015   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
 3/17/2015   ValuEngine, Inc                                ValuEngine Rating and Forecast Report for ENDP
 3/18/2015   Guggenheim Securities LLC                      ACT, VRX, ENDP, MNK - Our Top Picks in the Gold Rush of Specialty Pharma Dealmaking



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                       Contributor                                                                                    Title
 3/18/2015   JPMorgan                                       Endo International PLC : Reinstating Estimates
 3/20/2015   Guggenheim Securities LLC                      ENDP Model Update
 3/22/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
 3/25/2015   Citi                                           Alert: ENDP: Takeaways Following Management Roadshow
 3/25/2015   SterneAgee CRT                                 Remain Buyers Post Upbeat Management Meeting; Adjust Estimates and Raise PT
 3/29/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
 3/31/2015   BuySellSignals Research                        Endo International adds US$4.9B in MCap in first quarter, leads Medical/Drugs sector gains
 3/31/2015   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
                                                            Endo International PLC : Potential for Significant Operational/Inorganic Upside Over Time; Moving to an OW Rating and $105 PT from
  4/2/2015   JPMorgan
                                                            NR
  4/5/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
  4/6/2015   Canaccord Genuity                              Global Morning Summary, 6 April 2015
  4/6/2015   Canaccord Genuity                              Q1 preview: normal seasonality
  4/6/2015   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
  4/6/2015   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
  4/7/2015   ValuEngine, Inc                                ValuEngine Rating and Forecast Report for ENDP
  4/8/2015   Wells Fargo Securities, LLC                    What Could ENDP Buy?
 4/12/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
 4/13/2015   Deutsche Bank                                  Endo International : Raising Xiaflex estimates and PT to $96
 4/15/2015   Piper Sandler Companies                        Feedback From Physician Survey Bodes Well For Belbuca Uptake; Raising PT
 4/19/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
                                                            Endo Health Solutions, Inc. (formerly Endo Pharmaceuticals Holdings, Inc.) - Mergers & Acquisitions (M&A), Partnerships & Alliances
 4/22/2015   MarketLine
                                                            and Investment Report
 4/26/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
 4/29/2015   Cantor Fitzgerald                              Reiterating HOLD/$80 PT Ahead of 1Q:15 Earnings
 4/29/2015   RBC Capital Markets                            Specialty Pharma: 1Q2015 Preview: M&A the focus but 1Q results still matter - focus on TEVA, MYL, ENDP and INSY
  5/1/2015   ValuEngine, Inc                                ValuEngine Rating and Forecast Report for ENDP
  5/3/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
  5/4/2015   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
  5/7/2015   Citi                                           ENDP: 1Q15 Preview: We Expect a Solid Quarter; Maintain Buy
 5/10/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO HEALTH SOLUTIONS INC (ENDP)
 5/11/2015   Canaccord Genuity                              Q1: No surprises but decent acquisition
 5/11/2015   Citi                                           Results: ENDP: 1Q15 Results Good Enough, Focus Remains on Auxilium and M&A
 5/11/2015   Deutsche Bank                                  Endo International plc : 1Q15 Results In-Line; Guidance Bumped Slightly
 5/11/2015   Guggenheim Securities LLC                      ENDP - BUY - 1Q15 Earnings Beat Highlights Operational Efficiency and Robust Growth Prospects for U.S. Gx Business
 5/11/2015   JPMorgan                                       Endo International PLC : 1Q/15 Takeaways: Solid Qtr, Reinvestment Suggests Solid 2016+ Setup - ALERT
 5/11/2015   Morgan Stanley                                 ENDP: 1Q EPS 11% above cons; EPS guidance bumped 1%; events to watch
 5/11/2015   Morningstar Credit Research                    Morningstar | Endo Reports Strong Fundamentals as Auxilium Integration Remains Underway
 5/11/2015   Piper Sandler Companies                        Generics Business A Continued Source Of Strength; Reiterating Overweight
 5/11/2015   RBC Capital Markets                            Endo International Plc - ENDP - 1Q largely as expected with small generic deal announced



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                        Contributor                                                                                 Title
 5/11/2015   SVB Leerink                                    Modest 1Q EPS Beat/Raise; 2015E to Be Active Year of M&A; Remain OP
 5/11/2015   UBS Equities                                   Endo Health Solutions "A Beat And Raise Quarter" (Buy) Goodman
 5/11/2015   UBS Equities                                   Endo Health Solutions "We Still Like This Story" (Buy) Goodman
 5/11/2015   Wells Fargo Securities, LLC                    ENDP: Solid Q1 Driven By Lower Operating Expenses - Lower Tax Rate Raises 2015E Guidance
 5/11/2015   William Blair & Company                        Endo International plc:Quick Take on First Quarter; Bottom-Line Upside Primarily Based on Lower Operating Costs
 5/12/2015   Deutsche Bank                                  Endo International : Generics biz drives solid 1Q
 5/12/2015   Gabelli & Company                              ENDP: I’m Talking About a Little Deal Called Aspen - Buy
 5/12/2015   JPMorgan                                       Endo International PLC : Solid Operational Performance Bodes Well For 2015+; Raising Estimates Post 1Q Results
 5/12/2015   RBC Capital Markets                            Endo International Plc - Some moving parts but outlook and primary drivers unchanged - M&A still a focus
 5/12/2015   RBC Capital Markets                            Specialty Pharma: Short Interest: Moves in TEVA, ENDP, DEPO - sell-off in latter a solid entry with view to 2016
 5/12/2015   Susquehanna Financial Group LLLP               Outlook a Little Choppier But Intact
 5/12/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 5/12/2015   William Blair & Company                        Endo International plc:Post-Call Model Update; Despite Potential Weakness in Second Quarter, Endo Set Up for Strong Second Half
 5/14/2015   Guggenheim Securities LLC                      Morning Summary
 5/14/2015   Sadif Analytics Prime                          Is Endo International PLC In Need of A Cure?
 5/15/2015   Cantor Fitzgerald                              Uneventful 1Q:15; No Change to Our HOLD Thesis and $80 PT
 5/15/2015   CFRA Equity Research                           Endo International plc
 5/17/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 5/18/2015   Canaccord Genuity                              Endo makes Par; birdies on the horizon
 5/18/2015   Cantor Fitzgerald                              Cantor Daily Research Highlights
 5/18/2015   Gordon Haskett                                 A second "Leonard" shows up at BBBY, Dillard's kills REIT talk, baby steps at CREE [BBBY, DDS, CREE, WU, ENDP, ALTR]
 5/18/2015   Guggenheim Securities LLC                      ENDP - BUY - Par Enhances Growth Prospect of U.S. Generic Business, Which Continues to Remain Underappreciated
 5/18/2015   Morningstar Credit Research                    Morningstar | Endo Buying Par Pharmaceutical; Maintaining Credit Rating and Overweight Bond Recommendation
 5/18/2015   Morningstar, Inc.                              Morningstar | Endo Builds Generic Business Through Acquisition of Par Pharmaceuticals
 5/18/2015   Morningstar, Inc.                              Morningstar | Mesh litigation settlement removes distractions for Endo.
 5/18/2015   Piper Sandler Companies                        Par Acquisition Need Not Drive Much If Any P/E Contraction; Raising PT
 5/18/2015   RBC Capital Markets                            Endo International Plc - ENDP to acquire Par - deal adds scale, diversification and double digit accretion; CC at 8:30AM ET
 5/18/2015   SVB Leerink                                    Par Pharma Brings Accretive, High-Quality Biz But at Lower Multiple; Remain OP
 5/18/2015   UBS Equities                                   Endo Health Solutions "Taking Qualitest To The Next Level" (Buy) Goodman
 5/18/2015   Wells Fargo Securities, LLC                    ENDP: Par Deal Brings High-Value Generics Diversification
                                                            Endo International plc:Par Deal Further Builds Out U.S. Generics Unit Despite Expected Slowing of Overall Market, Remain Market
 5/18/2015   William Blair & Company
                                                            Perform
 5/18/2015   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
 5/19/2015   Canaccord Genuity                              Endo rebounding as Par better understood
 5/19/2015   Cowen and Company                              Thoughts/Comments On The Proposed Endo-Par Acquisition
 5/19/2015   Gabelli & Company                              ENDP: Endo Shoots for Par, But Market Sees 2016 Bogey - Buy
 5/19/2015   Guggenheim Securities LLC                      TEVA, ENDP, EGLT, MDCO - The Market Is Hurting for Better Ways to Treat Pain



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                        Contributor                                                                                     Title
 5/19/2015   JPMorgan                                       Endo International PLC : Suspending Rating and Price Target
 5/19/2015   UBS Equities                                   Endo Health Solutions "Just Starting to Rev Up the Engine" (Buy) Goodman
 5/19/2015   UBS Equities                                   Endo Health Solutions "We Like the Par Deal" (Buy) Goodman
 5/20/2015   UBS Equities                                   UBS Global Healthcare Conference "Endo Health Solutions (ENDP)"
 5/21/2015   JPMorgan                                       Endo International PLC : Attractive LT Setup Post Par Acquisition; Reiterate OW
 5/22/2015   Cantor Fitzgerald                              Raising PT to $92 from $80 on Par Deal; Reiterate HOLD
 5/22/2015   Sadif Analytics Prime                          Endo International PLC: Upgraded to Below Average
 5/24/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 5/26/2015   Piper Sandler Companies                        Deeper Dive On Par Assets Underscores Our Favorable View of This Transaction
 5/26/2015   RBC Capital Markets                            Endo International Plc - Favorable outlook post Par but still significant debate - closer look at push-back
 5/27/2015   CFRA Equity Research                           Endo International plc
 5/28/2015   RBC Capital Markets                            Specialty Pharma: Short Interest: Notable increase in INSY with thoughts on ENDP and PRGO
 5/29/2015   Guggenheim Securities LLC                      ENDP - BUY - Par Has Us Raising Price Target to $110
 5/31/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  6/1/2015   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
  6/3/2015   UBS Equities                                   Endo Health Solutions "Titbits from Conference Call" (Buy) Goodman
  6/7/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  6/8/2015   GlobalData                                     Endo International plc (ENDP) - Financial and Strategic SWOT Analysis Review
  6/9/2015   Guggenheim Securities LLC                      ACT, VRX, ENDP, MNK - Our Top Picks in the Gold Rush of Specialty Pharma Dealmaking Chapter 2
 6/14/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 6/15/2015   Citi                                           ENDP: Model Update
 6/21/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
                                                            Vital Signs - Charts of the Day: CASY, CCL, CHCO, CMA, CYNO, DCOM, DE, DWA, ENDP, GD, JBL, KRA, LEN, MHO, MKC,
 6/25/2015   Vermilion Technical Research
                                                            MKSI, ODFL, OUTR, PBY, PLCE, PMC, SYK, UFI, UNP.
 6/28/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
                                                            US MARKET ANALYSIS AND FORECAST. 70 PAGE REPORT PUBLISH QUARTERLY. IN EACH REPORT YOU WILL FIND
 6/29/2015   Pechala's Reports                              12-MONTHS FORECASTS ANALYSIS TARGET PRICE VALUATION RATINGS AND CREUDE OIL DEPENDENCE FOR 7396
                                                            US STOCKS.
 6/30/2015   Gabelli & Company                              ENDP: Top Pick 2H15 - Buy
  7/5/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  7/6/2015   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
 7/10/2015   RBC Capital Markets                            Endo International Plc - Why we like the stock here post thesis revisit and meetings with management
 7/12/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 7/15/2015   Guggenheim Securities LLC                      AGN, TEVA, VRX, MNK, ENDP - Gold Rush of Specialty Pharma Dealmaking Chapter 3: Multiple Expansion
 7/17/2015   RBC Capital Markets                            Endo International Plc - Upgrade to Top Pick from OP and raise target; solid set up into the Par deal close
 7/19/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 7/20/2015   JPMorgan                                       Endo International PLC : 2Q/15 Preview; Attractive Long-Term Set-Up Post The Par Close
 7/20/2015   RBC Capital Markets                            Endo International Plc - ENDP for DEPO an attractive fit but valuation is a high hurdle - revisiting our proforma analysis
 7/20/2015   ValuEngine, Inc.                               ValuEngine Industry Report for Medical-drugs(ENDP)
 7/22/2015   BuySellSignals Research                        Endo International jumps 23.9% in trailing year



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                       Contributor                                                                                Title
 7/26/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 7/27/2015   RBC Capital Markets                            Specialty Pharma: Short Interest: Notable moves in PRGO and ENDP with small cap volatility in EGRX, AGRX, FLXN
  8/2/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  8/3/2015   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
                                                            Vital Signs - Charts of the Day: AJRD, AMGN, AMSF, ARRS, BCO, BCR, ENDP, EXLS, FNGN, GB, GPI, HPY, IM, MDCO, NSR,
  8/3/2015   Vermilion Technical Research
                                                            PCLN, PGTI, PRGS, RCL, SKYW, SSS, TDS, WETF, WU.
  8/4/2015   MarketLine                                     Endo International plc
  8/5/2015   Citi                                           ENDP: Remaining Constructive Ahead of 2Q15 Earnings
  8/9/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 8/10/2015   Canaccord Genuity                              Endo in Cresc-Endo
 8/10/2015   Citi                                           ENDP: 2Q15 Recap: Solid Quarter, Par Acquisition on Track for Timely Closure
 8/10/2015   Citi                                           Results: ENDP: 2Q15 Results Reassuring, Focus Turns to Completion of Par Transaction
 8/10/2015   Guggenheim Securities LLC                      ENDP - BUY - Solid 2Q15; Set-Up Heading into 2H15 Keeps Us Positive
 8/10/2015   JPMorgan                                       Endo International PLC : EPS Beat Driven By Expense Mgmt; Generic Commentary Reassuring - ALERT
 8/10/2015   Morgan Stanley                                 ENDP: 2Q results above; guidance unchanged pre-Par
 8/10/2015   Morningstar Credit Research                    Morningstar | Auxilium Deal Continues to Help Endo Meet Expectations
 8/10/2015   Morningstar, Inc.                              Morningstar | Auxilium Deal Continues to Help Endo Meet Expectations
 8/10/2015   Piper Sandler Companies                        Solid 2Q; Xiaflex and Generics Leading The Way; Reiterate Overweight
 8/10/2015   RBC Capital Markets                            Endo International Plc - ENDP posts 2Q upside with reaffirmed FY outlook but new Lidoderm competition a curve ball; CC at 8AM ET
 8/10/2015   RBC Capital Markets                            Endo International Plc - Robust 2016+ outlook forming; we would be buyers on solid risk/reward path
 8/10/2015   SVB Leerink                                    Inline 2Q + Guide; Encouraging Signs From Gx's and Peyronie's Uptake, PT to $96
 8/10/2015   UBS Equities                                   Endo Health Solutions "Solid Quarter" (Buy) Goodman
 8/10/2015   UBS Equities                                   Endo Health Solutions "Still Positive On Endo" (Buy) Goodman
 8/10/2015   UBS Equities                                   Endo Health Solutions "The Par P-IV Pipeline Is Compelling" (Buy) Goodman
                                                            Vital Signs - Charts of the Day: AGCO, AMT, AMGN, AZO, BK, DLPH, EBAY, ENDP, FBHS, OA, OXM, POST, PCLN, RCL, SPPI,
 8/10/2015   Vermilion Technical Research
                                                            and TTEC.
                                                            Endo International plc:Quick Take on Second Quarter; EPS Beat Due to Auxilium Integration, Looking for More Details on Par, Future
 8/10/2015   William Blair & Company
                                                            M&A
 8/11/2015   JPMorgan                                       Endo International PLC : Updating Model Post 2Q Results
 8/11/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 8/11/2015   William Blair & Company                        Endo International plc:Post-Call Update; Par Acquisition Increases Pro Forma Long-Term Outlook to Double-Digit Growth
 8/13/2015   Guggenheim Securities LLC                      TEVA, MYL, MNK, ENDP, PRGO - Are We Starting to Look More Alike?
 8/13/2015   Sadif Analytics Prime                          Is Endo International PLC Worth a Higher Bid?
 8/14/2015   Guggenheim Securities LLC                      AGN, IPXL, ENDP - Let's Not Get Carried Away With EPS Upside Expectations Yet
 8/14/2015   Morgan Stanley                                 ENDP: Opana ER upheld until 2023; only Impax will remain on the market with its generic
 8/14/2015   Oppenheimer & Co., Inc.                        2Q15 Model Update
 8/14/2015   RBC Capital Markets                            ENDP/IPXL/AGN - Court upholds ENDP's Opana ER patents ('122 and '216) - AGN generic potentially at risk, but no impact to IPXL
 8/16/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                       Contributor                                                                                     Title
 8/16/2015   ValuEngine, Inc                                ValuEngine Rating and Forecast Report for ENDP
 8/17/2015   CFRA Equity Research                           Endo International plc
 8/18/2015   GlobalData                                     Endo International Plc (ENDP) - Financial and Strategic SWOT Analysis Review
 8/23/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 8/24/2015   ValuEngine, Inc.                               ValuEngine Industry Report for Medical-Drugs(ENDP)
                                                            Endo International PLC (formerly Endo Health Solutions, Inc.) - Mergers & Acquisitions (M&A), Partnerships & Alliances and
 8/26/2015   MarketLine
                                                            Investment Report
 8/27/2015   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
 8/28/2015   Morningstar Credit Research                    Morningstar | Endo Reiterates Deleveraging Goal; Removing from Best Ideas List as Bonds Trade Near Fair Value
 8/30/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 8/31/2015   RBC Capital Markets                            Specialty pharma opportunities amidst recent volatility: Attractive entry points for ENDP, INSY, and SGNT
  9/1/2015   Gabelli & Company                              ENDP: Looking Ahead - Buy
  9/1/2015   Morgan Stanley                                 Endo: Downgrade to Equal-weight on growth uncertainty post-2017
  9/2/2015   Piper Sandler Companies                        Dynamics Surrounding Generics Segment Reinforce Our Bullish Thesis
  9/6/2015   Clarivate Analytics                            Endo International plc - Company and Drug Portfolio Report
  9/6/2015   Clarivate Analytics                            Endo International plc - Cortellis Company Detailed Pipeline Report
  9/6/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  9/7/2015   Sadif Analytics Prime                          Endo International PLC: Downgraded to Risky
 9/13/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 9/15/2015   RBC Capital Markets                            We think ENDP is an attractive option for PRGO: Why this makes sense and could be highly accretive per our analysis
 9/18/2015   RBC Capital Markets                            PRGO path ahead and feedback we heard on a hypothetical deal with ENDP:
 9/20/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
                                                            Endo International PLC (formerly Endo Health Solutions, Inc.) - Mergers & Acquisitions (M&A), Partnerships & Alliances and
 9/25/2015   MarketLine
                                                            Investment Report
 9/26/2015   Morningstar, Inc.                              Morningstar | ENDP Updated Star Rating from 25 Sep 2015
 9/27/2015   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 9/28/2015   Citi                                           Alert: ENDP: ENDP-Par Closes. Upside to FY16 EPS Expectations
 9/28/2015   Guggenheim Securities LLC                      ENDP - BUY - When It Comes to Generics, Size Matters; Raising EPS Estimates Post Increasing Visibility in '15+
 9/28/2015   JPMorgan                                       Endo International PLC : Guidance Update Highlights Continued Strong Operating Results - ALERT
 9/28/2015   JPMorgan                                       Endo International PLC : Model Update
 9/28/2015   Morningstar Credit Research                    Morningstar | Pricing Concerns in Specialty Pharma Industry Creates Some Buying Opportunities
 9/28/2015   Piper Sandler Companies                        Par Deal Complete; Encouraging Color On LT Growth Trajectory; Staying Bullish
 9/28/2015   RBC Capital Markets                            Endo International Plc - ENDP announces closing of Par and provides updated guidance - CC at 8:30am ET
 9/28/2015   SVB Leerink                                    Par Deal Closes with No Upside Surprises on Guidance; Remain OP, PT to $74
 9/28/2015   SVB Leerink                                    Updated Guidance Reflecting Par Light On Revs, But More Accretive on Spend
 9/28/2015   UBS Equities                                   Endo Health Solutions "Updated Guidance Supports Our Positive Stance" (Buy)
 9/29/2015   Canaccord Genuity                              Endo closes Par and issues new guidance
 9/29/2015   Deutsche Bank                                  Endo International : Reinstating with a Buy, $88 PT
 9/29/2015   Gabelli & Company                              ENDP: Outlook Overshadowed By Sector Sell-Off - Buy




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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                        Contributor                                                                                     Title
                                                            Seeing a little smoke over Seattle, Yahoo charging forward, MGM not laying down just yet, deal interloper stories not panning out
 9/29/2015    Gordon Haskett
                                                            [MSFT, YHOO, MGM, ATML, SLH, ENDP, NRG]
 9/29/2015    Morgan Stanley                                ENDP: Par deal closed; '15 EPS guidance above but '16 as expected
 9/29/2015    Morningstar Credit Research                   Morningstar | Pricing Concerns in Specialty Pharma Industry Creates Some Buying Opportunities
 9/29/2015    Morningstar, Inc.                             Morningstar | Pricing Concerns in Specialty Pharma Industry Creates Some Buying Opportunities
 9/29/2015    RBC Capital Markets                           Endo International Plc - Favorable guide but unfavorable share reaction in tough tape - no change to outlook
                                                            Endo International plc:Par Acquisition Complete, Paving Way to Be a Top Five Generic Business Despite Shaky Markets; Maintain
 9/29/2015    William Blair & Company
                                                            Market Perform
 9/30/2015    JPMorgan                                      Endo International PLC : Model Update
 9/30/2015    MarketLine                                    Endo International plc
 10/4/2015    Clarivate Analytics                           Endo International plc - Company and Drug Portfolio Report
 10/4/2015    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
 10/4/2015    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 10/5/2015    Deutsche Bank                                 Endo International Alert : Today’s sell-off a head-scratcher
 10/5/2015    Susquehanna Financial Group LLLP              Spec Pharma Weekly Rx Monitor
 10/5/2015    Wright Reports                                Wright Investors Service Comprehensive Report for Endo International PLC
 10/11/2015   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 10/12/2015   RBC Capital Markets                           Specialty Pharma: Short Interest: Up significantly again; closer look at ENDP, AGN and INSY
 10/13/2015   Citi                                          ENDP: Feedback from Management Meeting: Underlying Fundamentals Underappreciated. Buy.
 10/13/2015   Susquehanna Financial Group LLLP              Introducing Forecasts for the New ENDP
 10/13/2015   Susquehanna Financial Group LLLP              Resetting the Valuation Bar In Generics
 10/14/2015   William Blair & Company                       Fourth Quarter 2015 Catalyst Watch: ADMS, AKRX, BDSI/ENDP, EGRX, RVNC, SHPG, ZSPH
 10/18/2015   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 10/21/2015   Deutsche Bank                                 Endo International : Key pipeline event coming soon
                                                            AGN/ENDP - framing specialty pharmacy exposure in the context of weakness today; AGN does not use specialty pharmacy at all while
 10/21/2015 RBC Capital Markets
                                                            ENDP use is limited
 10/22/2015   Citi                                          Alert: ENDP: Feedback from Investor Meetings with Management
 10/23/2015   Guggenheim Securities LLC                     ENDP - BUY - Our 3Q15 Estimate for Xiaflex Needs to Be Straightened Out a Bit
 10/25/2015   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 10/26/2015   Citi                                          Alert: ENDP: R&D Milestone Achieved with Belbuca Approval
 10/26/2015   Piper Sandler Companies                       Belbuca Approved; Confident In Strong Uptake; Staying Bullish
 10/26/2015   RBC Capital Markets                           Endo International Plc - ENDP - Belbuca approved providing some positive news amidst challenging sector backdrop
 10/26/2015   UBS Equities                                  First Read: Endo Health Solutions "Good News For Belbuca" (Buy) Goodman
 10/26/2015   William Blair & Company                       Belbuca Approval and Schedule III Status Sets Up Growth Driver for Endo's Brand Business
 10/27/2015   RBC Capital Markets                           Specialty Pharma: Short Interest: Closer look at ENDP, AGN - INSY short interest hits all-time high at 76%
 10/27/2015   UBS Equities                                  Endo Health Solutions "Belbuca, At Least A $200M Opportunity" (Buy) Goodman
 10/28/2015   Guggenheim Securities LLC                     AGN, MYL, TEVA, ENDP, PRGO - When Being Too Cheap Has Unintended Consequences
 11/1/2015    MarketLine                                    Endo International plc
                                                            Endo International PLC (formerly Endo Health Solutions, Inc.) - Mergers & Acquisitions (M&A), Partnerships & Alliances and
 11/1/2015    MarketLine
                                                            Investment Report



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

   Date                           Contributor                                                                               Title
 11/1/2015    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/2/2015    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
 11/4/2015    BuySellSignals Research                       Endo International sinks 10.7% in trailing year
 11/5/2015    Citi                                          ENDP: 3Q Recap: Branded Business Under Scrutiny, but Share Price Reaction Overdone.
 11/5/2015    Cowen and Company                             Thesis Remains Unchanged
 11/5/2015    Guggenheim Securities LLC                     ENDP - BUY - 3Q15 Was PAR for the Course, But That Doesn't Seem to Matter Today
 11/5/2015    JPMorgan                                      Endo International PLC : In-Line 3Q Results; Branded Business Execution Represents A Key Focus Moving Forward - ALERT
 11/5/2015    JPMorgan                                      Endo International PLC : Long-Term Thesis Remains Intact And Sell-Off Overdone; Remain OW
 11/5/2015    Morgan Stanley                                ENDP: 3Q above, but Xiaflex only grew 3% and Endo took large charges
 11/5/2015    Morgan Stanley                                ENDP: CORRECTION: 3Q above, Xiaflex U.S. rev. grew double-digit; large charges
 11/5/2015    Morningstar Credit Research                   Morningstar | Endo’s Weak Quarter Raises Growth and Capital Allocation Concerns
 11/5/2015    Morningstar, Inc.                             Morningstar | Endo’s Weak Quarter Raises Growth and Capital Allocation Concerns
 11/5/2015    Piper Sandler Companies                       Recalibrating the Brand Business; Xiaflex, Belbuca and Generics Keep Us Bullish
 11/5/2015    RBC Capital Markets                           Endo International Plc - ENDP 3Q results largely in-line and modestly better than pre-announced expectations; CC at 8:30AM ET
 11/5/2015    SVB Leerink                                   3Q Sell-Off Overdone; Drivers Continue To Be US Gx's, Xiaflex and Belbuca
 11/5/2015    UBS Equities                                  Endo International "A Good Quarter" (Buy) Goodman
 11/5/2015    UBS Equities                                  Endo International "We Think Things Are Better Than the Stock Does" (Buy)
 11/5/2015    ValuEngine, Inc                               ValuEngine Rating and Forecast Report for ENDP
 11/5/2015    William Blair & Company                       Endo International plc:Post-Call Update; Near-Term Growth Likely Due to Par; Impairments Raise Concerns About Auxilium Assets

                                                            Endo International plc:Third-Quarter Quick Take; Earnings in Line With Guidance, Focus on Belbuca as an Organic Branded Growth
 11/5/2015    William Blair & Company
                                                            Driver
 11/6/2015    Deutsche Bank                                 Endo International : 3Q not great, but sell-off looks way overdone
 11/6/2015    Gabelli & Company                             ENDP: Sum of Parts Says Endo Oversold - Buy
 11/6/2015    RBC Capital Markets                           Endo International Plc - ENDP sell-off hard to explain but rationale for buy-back is now much stronger
 11/6/2015    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/6/2015    UBS Equities                                  Video: What's up in Pharma?
 11/8/2015    Canaccord Genuity                             Q3: Xiaflex needs to flex
 11/8/2015    Clarivate Analytics                           Endo International plc - Company and Drug Portfolio Report
 11/8/2015    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
 11/8/2015    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/9/2015    Citi                                          Alert: ENDP: Investor FAQ Alleviates Some Concerns. Focus Likely to Remain on Future Xiaflex Growth.
 11/9/2015    Citi                                          ENDP: Share Buyback a Step In the Right Direction As Uncertainties Regarding Branded Business Growth Profile Remain
 11/9/2015    RBC Capital Markets                           Endo International Plc - Share repurchase announcement sends the right message and is a good use of capital
 11/9/2015    UBS Equities                                  First Read: Endo International "Good Answers To Key Investor Questions" (Buy)
 11/10/2015   Clarivate Analytics                           Endo International plc - Company and Drug Portfolio Report
 11/10/2015   Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                         Contributor                                                                                    Title
 11/10/2015   Deutsche Bank                                 Endo International Alert : Tidbits from management meetings
 11/10/2015   Morningstar Credit Research                   Morningstar | Endo continues to pursue an aggressive M&A strategy.
 11/10/2015   RBC Capital Markets                           Specialty Pharma: Short Interest: SI lower for first time in 3-mos - closer look at INSY, ENDP, MYL, PRGO
 11/11/2015   Morningstar, Inc.                             Morningstar | ENDP Updated Star Rating from 10 Nov 2015
 11/11/2015   Oppenheimer & Co., Inc.                       Assuming Coverage of Endo Pharmaceuticals
 11/11/2015   RBC Capital Markets                           ENDP has no Linden Care exposure; most of our coverage has little to none
 11/15/2015   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/16/2015   RBC Capital Markets                           Endo International Plc - What we are looking for in our upcoming meeting with management
 11/16/2015   RBC Capital Markets                           What to focus on in the week ahead: Meeting with ENDP, DEPO, NEOS; where call volume has been focused
 11/16/2015   Sadif Analytics Prime                         Is Endo International PLC Worth its Desired Premium?
 11/17/2015   RBC Capital Markets                           Endo International Plc - HQ meeting - focus is on fundamentals but management will remain "opportunistic"
 11/20/2015   CFRA Equity Research                          Endo International plc
 11/20/2015   Susquehanna Financial Group LLLP              Updating Forecasts Post Earnings
                                                            Validea Guru Analysis Report for ENDP. Analysis using Validea's interpretation of the published quantitative strategies of well-known
 11/20/2015 Validea
                                                            Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
 11/22/2015   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/23/2015   Wright Reports                                Wright Investors Service Comprehensive Report for Endo International PLC
 11/25/2015   RBC Capital Markets                           Specialty Pharma: Short Interest: SI shows slight decline - closer look at INSY, ENDP, AKRX
 11/29/2015   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/30/2015   Guggenheim Securities LLC                     ENDP - BUY - Getting It Straight and to the Point; Let's Talk about What the Market Is Missing on ENDP
 12/1/2015    MarketLine                                    Endo International plc
 12/3/2015    Piper Sandler Companies                       Highlights From The 27th Annual Piper Jaffray Healthcare Conference
 12/6/2015    Clarivate Analytics                           Endo International plc - Company and Drug Portfolio Report
 12/6/2015    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
 12/6/2015    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/7/2015    GlobalData                                    Endo International Plc (ENDP) - Financial and Strategic SWOT Analysis Review
 12/9/2015    Northland Securities                          Initiating Coverage for M&A-Driven Generic/Branded Co. with MP and $67 PT
 12/13/2015   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/14/2015 Citi                                            Alert: ENDP: Extension of Voltaren Gel Agreement a Positive. Near-Term Focus Likely to Remain on Xiaflex Performance.
 12/14/2015   Morningstar Credit Research                   Morningstar | Endo pursues an aggressive merger and acquisition strategy.
 12/14/2015   Morningstar, Inc.                             Morningstar | Mesh litigation settlement removes distractions for Endo, but M&A track record creates uncertainty.
 12/14/2015   Northland Securities                          Extension for Voltaren Gel Agreement Incremental Positive for Endo
 12/14/2015   RBC Capital Markets                           Endo International Plc - ENDP - Voltaren Gel deal extension adds greater EPS certainty
 12/14/2015   UBS Equities                                  Endo International "Voltaren Gel Extension Is Upside to Numbers" (Buy) Goodman
                                                            Validea Guru Analysis Report for ENDP. Analysis using Validea's interpretation of the published quantitative strategies of well-known
 12/18/2015 Validea
                                                            Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
 12/20/2015 TheStreet.com Ratings                           TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/22/2015 Cowen and Company                               Morning Call - Dec 22 2015
 12/22/2015 Guggenheim Securities LLC                       ENDP - BUY - Getting Deeper into the Story Increases Our Conviction to Go Long



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                          Contributor                                                                               Title
 12/27/2015   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/28/2015   Susquehanna Financial Group LLLP              Spec Pharma Weekly Rx Monitor
 12/31/2015   BuySellSignals Research                       Endo International sinks 15.1% in FY 2015
  1/3/2016    Clarivate Analytics                           Endo International plc - Company and Drug Portfolio Report
  1/3/2016    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
  1/3/2016    RBC Capital Markets                           Endo International Plc - Our thesis and 40+ questions for ENDP - improving P&L outlook and inexpensive stock
  1/3/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  1/4/2016    RBC Capital Markets                           Research at a Glance - [U.S.] Jan 4,2016
  1/5/2016    RBC Capital Markets                           Endo International Plc - ENDP conference presentation; our quick takeaways
  1/6/2016    Wright Reports                                Wright Investors Service Comprehensive Report for Endo International PLC
  1/8/2016    Citi                                          ENDP: Model Update
  1/8/2016    RBC Capital Markets                           Our thoughts on Specialty Pharma into next week: 350+ questions - ENDP, MYL, PRGO, INSY, AKRX, IPXL, EGRX and more

                                                            Endo International PLC (formerly Endo Health Solutions, Inc.) - Mergers & Acquisitions (M&A), Partnerships & Alliances and
 1/10/2016    MarketLine
                                                            Investment Report
 1/11/2016    Citi                                          Alert: ENDP: A Few Incremental Positives for ENDP as Spec Pharma Remains Out of Favor
 1/11/2016    Guggenheim Securities LLC                     VRX, ENDP, MNK, HZNP, IPXL: Just What Did the Doctor Order? 4Q15 Quarterly Sales and Rx Trends for Specialty Pharma Drugs
 1/11/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 1/14/2016    Morgan Stanley                                ENDP: Expect near term earnings upside; tweaking model
 1/17/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 1/19/2016    JPMorgan                                      Endo International PLC : Inexpensive Valuation Creating Increasingly Attractive Set-up; Reiterate OW
 1/19/2016    Susquehanna Financial Group LLLP              Spec Pharma Weekly Rx Monitor
 1/21/2016    Barclays                                      U.S. Specialty Pharmaceuticals: Filling in the coverage blanks...
 1/24/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 1/27/2016    Guggenheim Securities LLC                     ENDP - BUY - Staying Ahead of the Curve on Xiaflex
 1/31/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  2/7/2016    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
  2/7/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  2/8/2016    Cowen and Company                             Model Update
  2/9/2016    Guggenheim Securities LLC                     TEVA, VRX, ENDP, MNK, PRGO, ZTS - How to Survive Under the Fog of War
                                                            Endo International PLC (formerly Endo Health Solutions, Inc.) – Mergers & Acquisitions (M&A), Partnerships & Alliances and
 2/10/2016    MarketLine
                                                            Investment Report
 2/14/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 2/16/2016    Morningstar Credit Research                   Morningstar | Endo pursues an aggressive merger and acquisition strategy.
 2/16/2016    Morningstar, Inc.                             Morningstar | We think Endo's less disciplined M&A strategy poses long-term risks.
 2/17/2016    Oppenheimer & Co., Inc.                       Afternoon Research Summary
 2/17/2016    Oppenheimer & Co., Inc.                       Model Update Prior to 4Q15 Earnings
 2/17/2016    Sadif Analytics Prime                         Is Endo International PLC Worth a Higher Bid?
 2/18/2016    Morgan Stanley                                ENDP: Xiaflex cellulite faces significant commercial question marks



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Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                        Contributor                                                                                  Title
 2/21/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 2/22/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
 2/25/2016   Citi                                           ENDP: Model Update
 2/25/2016   Deutsche Bank                                  Endo International Alert : Tidbits on Belbuca from BDSI's Investor Day
 2/26/2016   Northland Securities                           Raise 4Q15 In Line w/Consensus; Boost 2016-2020 EPS on Voltaren Gel Sales
 2/28/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 2/29/2016   Barclays                                       4Q15 ENDP First Impressions - US Spec Pharma
 2/29/2016   CFRA Equity Research                           Endo International plc
 2/29/2016   Citi                                           Alert: ENDP: Thoughts Post Choppy 4Q15 Earnings and Conference Call
 2/29/2016   Citi                                           Results: ENDP: 4Q15 a Mixed Bag; FY16 Revenue Guidance Light.
 2/29/2016   Cowen and Company                              Thesis Is Unchanged - But Value Investors Will Likely Now Find/Provide Support
 2/29/2016   Guggenheim Securities LLC                      ENDP - BUY - Don't Throw This One Out with the Rest of Your Spring Cleaning
 2/29/2016   JPMorgan                                       Endo International PLC : In-Line Qtr with Generic Pressure Offset by Branded Strength, Valuation Remains Highly Attractive - ALERT
 2/29/2016   Morgan Stanley                                 Endo: 4Q EPS figure looked good on surface, but lots of devils in the details
 2/29/2016   Morningstar Credit Research                    Morningstar | Endo’s Growth and Mesh Litigation Remain Concerns for 2016
 2/29/2016   Morningstar, Inc.                              Morningstar | Endo’s Growth and Mesh Litigation Remain Concerns for 2016
 2/29/2016   Northland Securities                           Endo's 4Q15 Disappoint Although Adjusted EPS "Beat"; 2016 Sales Guidance Misses
 2/29/2016   Piper Sandler Companies                        Generics Business Is Doing Fine...Really; And So Is Xiaflex; Staying Bullish
 2/29/2016   RBC Capital Markets                            Endo International Plc - ENDP 4Q EPS above and 2016 guidance detail provided but some moving parts for the 8:30 am CC
 2/29/2016   RBC Capital Markets                            Specialty pharma: What to focus on this week: ENDP and IPXL management roadshows, earnings and MHA Summit
 2/29/2016   UBS Equities                                   Endo International "Good News Bad News Quarter" (Buy) Goodman
 2/29/2016   UBS Equities                                   Endo International "Things Are Not That Bad; Keeping the Faith" (Buy) Goodman
 2/29/2016   ValuEngine, Inc                                ValuEngine Rating and Forecast Report for ENDP
                                                            Endo International plc:Fourth-Quarter Quick Take; Guidance in Line With Prior Announcement, Focus on Belbuca Launch and Par
 2/29/2016   William Blair & Company
                                                            Integration
  3/1/2016   Canaccord Genuity                              Endo Q4: Anyone up for 20% FCF yield?
  3/1/2016   Deutsche Bank                                  Endo International : Tough Q for Qualitest
  3/1/2016   Gabelli & Company                              ENDP: Mesh, Generic Pricing Hurt Outlook – Buy on Weakness
  3/1/2016   Guggenheim Securities LLC                      TEVA, MYL, PRGO, ENDP, MNK - Not Going to Be Left Exposed Because the Tide Is Not Going Out Yet
                                                            Endo International PLC : Shares Highly Oversold Following 4Q; Limited NT Catalysts But Attractive Entry Point For Those With
  3/1/2016   JPMorgan
                                                            Patience
  3/1/2016   Oppenheimer & Co., Inc.                        4Q15 Results: Mesh Liability and Generic Weakness Lead to Share Declines
  3/1/2016   RBC Capital Markets                            Endo International Plc - Lingering questions post 4Q - our upcoming management meetings will look to address
  3/1/2016   SVB Leerink                                    Lowering Ests & PT to $51 Reflecting Generic Price Dynamics; Remain OP
  3/1/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
                                                            Endo International plc:Post-Call Model Update; Litigation Uncertainty Presents Overhang, Double-Digit Organic Growth Expected in
  3/1/2016   William Blair & Company
                                                            2016
  3/2/2016   Northland Securities                           No Hurry to Commit to ENDP Shares, Slashing Target to $48 (from $67)



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                        Contributor                                                                                 Title
  3/2/2016   RBC Capital Markets                            Endo International Plc - ENDP FAQ sheet filed and adds important detail; 2017 targets unchanged
  3/3/2016   Morningstar Credit Research                    Morningstar | Endo’s Growth and Mesh Litigation Remain Concerns for 2016
  3/3/2016   RBC Capital Markets                            Endo International Plc - Management meetings clarify key questions and provide more confidence in outlook
  3/4/2016   Barclays                                       Endo International PLC: 4Q highlights ENDP is still a deal away
  3/4/2016   Morgan Stanley                                 ENDP: Lowering ests and PT; generics in the spotlight
  3/4/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  3/6/2016   RBC Capital Markets                            Specialty pharma: What to focus on this week: ENDP, IPXL investor meeting feedback; AGRX on the road, ACRX, KMPH, FLXN 4Q
  3/6/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  3/8/2016   Guggenheim Securities LLC                      TEVA, VRX, MNK, ENDP - Don't Be a Back-Seat Driver; Get Closer and See What's on the Policy Dashboard for '16
  3/8/2016   Piper Sandler Companies                        A Closer Look At Vasostrict; Competition Not A Nearer-Term Threat
  3/9/2016   GlobalData                                     Endo International Plc (ENDP) - Financial and Strategic SWOT Analysis Review
 3/11/2016   JPMorgan                                       Endo International PLC : Model Update
 3/13/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 3/14/2016   BuySellSignals Research                        Endo International loses $US4.3B in MCap in 2016, biggest drop in Medical/Drugs sector
 3/14/2016   Guggenheim Securities LLC                      TEVA, MYL, VRX, PRGO, SHPG, ENDP, MNK, HZNP - Slap Me with Some Butter Because I'm on a Roll....Up
 3/16/2016   Guggenheim Securities LLC                      ENDP - BUY - Crushing It; Stock Bouncing Back After Opioid Headlines Yesterday
 3/16/2016   Morningstar, Inc.                              Morningstar | ENDP Updated Star Rating from 15 Mar 2016
 3/17/2016   Citi                                           Alert: ENDP: Guidance Tweak Unhelpful for Sentiment as Cautious Sentiment in Spec Pharma Space Persists
 3/17/2016   Gabelli & Company                              ENDP: More Collateral Damage from VRX - Buy
 3/17/2016   JPMorgan                                       Endo International PLC : Shares Cheap But 1Q Update Not Helping Sentiment - ALERT
 3/17/2016   Northland Securities                           Presentation & 8-K Ahead of Investor Conference Implies 1Q16 Sales & EPS Miss
 3/17/2016   RBC Capital Markets                            Endo International Plc - Moving to OP - assessing where we stand
 3/18/2016   Deutsche Bank                                  Endo International : More conservative view on '16
                                                            Endo International PLC (formerly Endo Health Solutions, Inc.) – Mergers & Acquisitions (M&A), Partnerships & Alliances and
 3/18/2016   MarketLine
                                                            Investment Report
 3/18/2016   MINKABU THE INOFONOID, Inc.                    Endo International PLC Report [2016-03-18]
                                                            Endo International plc:Soft First Quarter Expected Due to Xiaflex and Foreign Currency, Valuation Attractive but Would Like Belbuca
 3/18/2016   William Blair & Company
                                                            and Par to Ramp Up
 3/20/2016   Deutsche Bank                                  Endo International : Adding insult to injury
 3/20/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 3/21/2016   Citi                                           Alert: ENDP: Pressure on ENDP Continues with Voltaren Gel Update.
 3/21/2016   Guggenheim Securities LLC                      ENDP - BUY - One Stock That Missed the St. Patty's Day Celebration
 3/21/2016   JPMorgan                                       Endo International PLC : Our Thoughts On Key Incoming Questions And The Longer-term Outlook
 3/21/2016   JPMorgan                                       Endo International PLC : Voltaren Gel Generic Approval Another Setback
 3/21/2016   Oppenheimer & Co., Inc.                        Voltaren Gel Generic Could Be Imminent
 3/21/2016   RBC Capital Markets                            Endo International Plc - ENDP - Voltaren Gel generic competition another near-term negative
 3/22/2016   Morgan Stanley                                 ENDP: Voltaren Gel at risk; estimating EPS implications
 3/25/2016   MINKABU THE INOFONOID, Inc.                    Endo International PLC Report [2016-03-25]
 3/27/2016   Piper Sandler Companies                        Thoughts on Voltaren Generics: There Will Be More than One; Modest P&L Impact



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                         Contributor                                                                                Title
 3/27/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 3/28/2016   Susquehanna Financial Group LLLP               Laying the Groundwork for Generics to Challenge Abuse-Deterrent Opioid Niche
 3/30/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 3/31/2016   Citi                                           Alert: ENDP: FTC Lawsuit another Hit to Sentiment.
 3/31/2016   JPMorgan                                       Endo International PLC : Thoughts on FTC Pay-for-Delay Suit - ALERT
 3/31/2016   RBC Capital Markets                            ENDP/AGN/IPXL: Our thoughts on the FTC complaint on OPANA ER and Lidoderm
  4/1/2016   Morgan Stanley                                 Endo: Much ado about FTC lawsuit
  4/3/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  4/4/2016   Clarivate Analytics                            Endo International plc - Company and Drug Portfolio Report
  4/4/2016   Clarivate Analytics                            Endo International plc - Cortellis Company Detailed Pipeline Report
  4/4/2016   Guggenheim Securities LLC                      ENDP - BUY - Need Some Catalysts to Get Out of the Dog House
  4/4/2016   Northland Securities                           Shares Cheaper but Not Compelling, Cutting EPS and Target to $34 (from $48)
  4/4/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
  4/5/2016   Guggenheim Securities LLC                      ENDP - BUY - Initial Thoughts on Impact of Proposed Treasury Regulations
  4/5/2016   RBC Capital Markets                            AGN/PFE - thoughts following tax expert conference call discussing new Treasury rules
  4/7/2016   SVB Leerink                                    Tough Start to '16, But Business Isn't Broken; PT $37, Remain OP
  4/8/2016   Guggenheim Securities LLC                      AGN, VRX, TEVA, MYL, ENDP, MNK, PRGO, HZNP, JAZZ - One Size Fits All Takes the Fun Out of Fashion
  4/8/2016   MINKABU THE INOFONOID, Inc.                    Endo International PLC Report [2016-04-08]
 4/10/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 4/11/2016   RBC Capital Markets                            Takeaways from our "Doc Day" in Boston: TEVA, AGN, ENDP, IPXL, INSY, DEPO, FLXN, KMPH
 4/12/2016   Gabelli & Company                              ENDP: Shares Dissed on Subsys Miss - Buy on Weakness
 4/17/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 4/18/2016   Deutsche Bank                                  Endo International : How much worse can it get?
 4/18/2016   SVB Leerink                                    1Q Preview: Durable Yes, but Qtr Prints Unlikely to Wow
 4/19/2016   RBC Capital Markets                            Takeaways from our "Doc Day" in New York: AGN, TEVA, ENDP, DEPO, FLXN, INSY, KMPH
 4/21/2016   BuySellSignals Research                        Endo International loses $US6.5B in MCap in 2016, biggest drop in Medical/Drugs sector
                                                            AGN, VRX, TEVA, MYL, SHPG, PRGO, ENDP, MNK, HZNP, JAZZ - How Tax Reform Could Leave MNCs Wearing The Emperor's
 4/21/2016   Guggenheim Securities LLC
                                                            New Clothes
 4/21/2016   JMP Securities                                 Initiating Coverage of Endo International at Market Outperform and $56 Price Target
 4/22/2016   MINKABU THE INOFONOID, Inc.                    Endo International PLC Report [2016-04-22]
 4/24/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 4/27/2016   JMP Securities                                 Specialty Pharmaceuticals 1Q16 Preview
 4/28/2016   Citi                                           ENDP: Watchfully Waiting for Execution Ahead of 1Q16 Earnings
 4/30/2016   CFRA Equity Research                           Endo International plc
  5/1/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  5/2/2016   Cowen and Company                              Model Update
                                                            "The Economy Matters" Report for ENDP: the economy's impact on ENDP's price and risk, featuring the powerful Economic Climate
  5/2/2016   MacroRisk Analytics
                                                            Rating and the new MacroRisk "Stoplight" and Risk Correspondence Score

  5/2/2016   RBC Capital Markets                            ENDP/AGN/IPXL/TEVA - OPANA ER District Court decision has incremental cross-stock implications but AGN still has options




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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                       Contributor                                                                                Title

  5/2/2016   RBC Capital Markets                            Specialty Pharma: What to focus on this week: Busy week of updates - MYL, ENDP, DEPO, SGNT, ACRX, AKRX, TEVA/EGRX
  5/4/2016   Oppenheimer & Co., Inc.                        1Q16 Preview: 2016 Guidance Will Be the Focus
  5/4/2016   Oppenheimer & Co., Inc.                        Afternoon Research Summary
  5/5/2016   Barclays                                       ENDP 1Q16 EPS First Impressions - Barclays US Spec Pharma
  5/5/2016   Morgan Stanley                                 Endo: Guidance much lower than expected; brand business President departed
  5/5/2016   Piper Sandler Companies                        Ripping Off The Band-Aid; Long Road Ahead To Recovery; Moving To Neutral
  5/5/2016   ValuEngine, Inc                                ValuEngine Rating and Forecast Report for ENDP
  5/6/2016   Barclays                                       Endo International PLC: Coping with a 4-handle
  5/6/2016   Citi                                           ENDP: 1Q16 Thoughts: ENDP Surprised Us (to the Downside), Again...
  5/6/2016   Cowen and Company                              Thesis Is Unchanged - Better Alternatives Exist
  5/6/2016   Deutsche Bank                                  Endo International : Surprised, disappointed, nervous; not downgrading here
                                                            Window opens at Teradata following coaching change, swift justice at Catalent, trouble at Endo (TDC, CTLT, CST, ENDP, ITT, CW,
  5/6/2016   Gordon Haskett
                                                            CDK)
  5/6/2016   Guggenheim Securities LLC                      ENDP - BUY - Does ENDP Have More Lead Left in the Pencil?
  5/6/2016   Guggenheim Securities LLC                      ENDP-BUY-Getting More Bent but Not Broken Yet, Lower-Than-Expected '16 Guide Down Drives Us to Lower PT From $65 to $35
  5/6/2016   JMP Securities                                 1Q16 In Line, Management Lowers Bar With Downward Guidance
  5/6/2016   JPMorgan                                       Endo International PLC : Volatile Generics Environment Leads To Greater Than Expected Guidance Cut; Lowering PT
  5/6/2016   MINKABU THE INOFONOID, Inc.                    Endo International PLC Report [2016-05-06]
  5/6/2016   Morningstar Credit Research                    Morningstar | Surprise Erosion of Generics Business Creates Bleak Outlook for Endo
  5/6/2016   Morningstar, Inc.                              Morningstar | Surprise Erosion of Generics Business Creates Bleak Outlook for Endo
  5/6/2016   Northland Securities                           Endo's 1Q16 EPS Beats Estimates; Company Cuts 2016 EPS Guidance to $4.50-$4.80
  5/6/2016   RBC Capital Markets                            Endo International Plc - Turnaround is going to take longer than expected - move to Sector Perform
  5/6/2016   RBC Capital Markets                            Specialty pharmaceuticals - ENDP cross-read: Consensus gross margins still too high - continued risk to sector EPS
  5/6/2016   Susquehanna Financial Group LLLP               Searching for the Core Earnings in Results Meltdown
  5/6/2016   SVB Leerink                                    Downgrade to MP: Better Value Elsewhere, ENDP Back To Turnaround Story
  5/6/2016   SVB Leerink                                    ENDP Price Headwind May Read To Others; TEVA Must Address '16 Guidance Monday
  5/6/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  5/6/2016   UBS Equities                                   Endo International "Painful Numbers" (Buy) Goodman
  5/6/2016   William Blair & Company                        Endo International plc:2016 Guidance Lowered Amid Competitive and Pricing Pressures, Maintain Market Perform
  5/8/2016   Clarivate Analytics                            Endo International plc - Company and Drug Portfolio Report
  5/8/2016   Clarivate Analytics                            Endo International plc - Cortellis Company Detailed Pipeline Report
  5/8/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  5/9/2016   Oppenheimer & Co., Inc.                        1Q16 Results: Continued Generics Pressure
 5/10/2016   Northland Securities                           Cutting Estimates Post-1Q16 Results & Lowered Guidance, Target Moves to $20 PS
 5/10/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 5/12/2016   Morgan Stanley                                 ENDP: Lowering estimates and PT in the wake of painful reset
                                                            Specialty Pharma: Where we are focused this week: Meetings with TEVA, ENDP management, AKRX and NEOS update, Generics off-
 5/15/2016   RBC Capital Markets
                                                            site



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                        Contributor                                                                                  Title
 5/15/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 5/17/2016   Citi                                           Alert: ENDP: Feedback from Management Meeting
 5/18/2016   Guggenheim Securities LLC                      ENDP - BUY - Believing More of What You See Than Hear
 5/18/2016   JPMorgan                                       Endo International PLC : Management Meeting Takeaways
 5/18/2016   Morgan Stanley                                 ENDP: Is there still earnings risk?
 5/18/2016   RBC Capital Markets                            Endo International Plc - Our takeaways following meeting with management; expect volatility to continue
 5/18/2016   Sadif Analytics Prime                          Is Endo International PLC Stock Still Attractive?
 5/19/2016   CFRA Equity Research                           Endo International plc
 5/19/2016   Guggenheim Securities LLC                      TEVA, MYL, ENDP, PRGO, IPXL, AKRX, ANIP - Don't Have to Wait for the Holidays to Get Under the Mistletoe
 5/20/2016   Guggenheim Securities LLC                      AGN, SHPG, TEVA, VRX, ENDP, MNK - Spec Pharma Companies Need to Grow a Beanstalk Worth the Climb
 5/20/2016   Morningstar Credit Research                    Morningstar | Endo's credit rating downgraded on stripped moat, substantial legal liabilities, and weak fundamental outlook.
 5/22/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 5/23/2016   RBC Capital Markets                            Specialty pharma: What we are focused on this week: Generics "cycle" report feedback, big week for TEVA "specialty", PRGO, ENDP
 5/24/2016   UBS Equities                                   UBS Global Healthcare Conference "Endo International (ENDP)" Goodman
 5/29/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 5/30/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
 5/31/2016   RBC Capital Markets                            Specialty Pharma: Top read notes in May: Focus high on ENDP, AGN and TEVA
  6/5/2016   Clarivate Analytics                            Endo International plc - Company and Drug Portfolio Report
  6/5/2016   Clarivate Analytics                            Endo International plc - Cortellis Company Detailed Pipeline Report
  6/5/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  6/9/2016   GlobalData                                     Endo International Plc (ENDP) - Financial and Strategic SWOT Analysis Review
 6/10/2016   Deutsche Bank                                  Endo International Alert : Adrenalin update
 6/10/2016   RBC Capital Markets                            Specialty Pharma: Short Interest: We have taken a closer look at moves in ENDP, PRGO, EGRX, IPXL
 6/12/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 6/13/2016   Cowen and Company                              Updating Estimates
 6/13/2016   SVB Leerink                                    Strategic Options for Beaten-up Names: More Favorable on PRGO Than ENDP
 6/15/2016   JMP Securities                                 FDA Advisory Committee To Be Held for Opana ER AD Label
 6/19/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 6/23/2016   Deutsche Bank                                  Specialty Pharmaceuticals : Tidbits from expert call on Generics
 6/24/2016   Guggenheim Securities LLC                      AGN, TEVA, MYL, VRX, PRGO, SHPG, ENDP, ZTS - BREXIT Impact Appears Minimal for Spec Pharma Companies
 6/26/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 6/27/2016   RBC Capital Markets                            Specialty Pharma: Short Interest: We have taken a closer look at moves in AGN, PRGO, ENDP, EGRX
 6/28/2016   BMO Capital Markets                            Endo International - Waiting for Better Visibility on Operational Execution; Initiating Coverage at Market Perform(comment)
 6/28/2016   Citi                                           Alert: ENDP: Finally Some Good News for ENDP as Vasostrict Patent Issued
 6/28/2016   Deutsche Bank                                  Endo International Alert : Important development for Vasostrict
 6/28/2016   JPMorgan                                       Endo International PLC : Vasostrict Patent Meaningfully Lowers Near-Term Risk - ALERT
 6/28/2016   Morningstar, Inc.                              Morningstar | ENDP Updated Star Rating from 28 Jun 2016
 6/28/2016   RBC Capital Markets                            Endo International Plc - Vasostrict patent issuance positive but not thesis-changing; thoughts on impact



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Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                       Contributor                                                                                  Title
 6/28/2016   SVB Leerink                                    Vasostrict IP Adds Few Yrs Exclus; Bull Case Interesting But Yrs to Play Out
 6/28/2016   William Blair & Company                        Endo International plc:Vasostrict Patent Issuance a Positive in the Midst of Pressures on Pain Franchise and Pricing Scrutiny
 6/29/2016   JMP Securities                                 Issued Patent for Vasostrict Provides Growth Runway for Endo
 6/29/2016   Morgan Stanley                                 ENDP: Vasostrict patent appears to reduce near-term downside risk
 6/29/2016   Oppenheimer & Co., Inc.                        Vasostrict Patent Issuance Is Welcomed News for Endo
                                                            Validea Guru Analysis Report for ENDP. Analysis using Validea's interpretation of the published quantitative strategies of well-known
  7/1/2016   Validea
                                                            Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
  7/3/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  7/4/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
  7/7/2016   Piper Sandler Companies                        Sizing Up The Generics Business; Still A Tough Road Ahead; Lowering PT
 7/10/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 7/11/2016   BuySellSignals Research                        Endo International plummets 72% in 2016, underperforming 81% of its global peers
 7/15/2016   William Blair & Company                        BDSI, COLL, ENDP, AKRX: Therapeutics Coverage, Key Product Weekly Total Prescriptions Update
 7/17/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 7/20/2016   William Blair & Company                        Therapeutics Coverage (SHPG, ENDP, AKRX, EGRX, COLL, BDSI) - Second-Quarter Preview
 7/21/2016   Guggenheim Securities LLC                      AGN, TEVA, MYL, SHPG, VRX, ENDP, MNK, JAZZ - We All Want The Same Different Things
 7/22/2016   JPMorgan                                       Specialty Pharmaceuticals : 2Q/16 EPS Preview: Pieces in Place for 2H Recovery; AGN, MYL, AKRX Attractive into Results
 7/23/2016   Citi                                           Life Sciences Weekend Beach Read: Quick Healthcare Funding Data Points
 7/24/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 7/25/2016   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
 7/26/2016   JMP Securities                                 Specialty Pharmaceuticals 2Q16 Preview and Price Target Updates
 7/31/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  8/4/2016   Citi                                           ENDP: Model Update
  8/5/2016   Morgan Stanley                                 ENDP: Vasostrict 20% price increase should help 2H results
  8/5/2016   Susquehanna Financial Group LLLP               Clearing Low Bar for 2Q Critical but Appears Achievable
  8/5/2016   William Blair & Company                        BDSI, COLL, ENDP, AKRX: Therapeutics Coverage, Key Product Weekly Total Prescriptions Update
  8/7/2016   RBC Capital Markets                            Where we are focused this week: Big week for sector earnings; our thoughts on AGN, ENDP, MYL and PRGO
  8/7/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  8/8/2016   Guggenheim Securities LLC                      ENDP - BUY - Turning the Corner on Performance; 2Q16 Beat and Outlook for '16+ Keep Us Positive on the Stock
  8/8/2016   Morgan Stanley                                 ENDP: 2Q well above, but reversal ahead in 3Q
  8/8/2016   Piper Sandler Companies                        2Q Beat; Still A Long Road Ahead To Recovery
  8/8/2016   UBS Equities                                   Endo International "Beating Low Expectations" (Buy) Goodman
  8/8/2016   ValuEngine, Inc                                ValuEngine Rating and Forecast Report for ENDP
  8/9/2016   Barclays                                       Endo International PLC: Solid 2Q, but doesn't bend the curve
  8/9/2016   BMO Capital Markets                            Endo International - 2Q Beats Lowered Expectations, 3Q Guided Down(comment)
  8/9/2016   CFRA Equity Research                           Endo International plc
  8/9/2016   Citi                                           Alert: ENDP: 2Q16 Recap: Absence of a Negative. Finally a Relatively Uneventful Quarter for ENDP
  8/9/2016   Cowen and Company                              Recovery In Quarterly Performance, But Overall Thesis Is Unchanged



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Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                        Contributor                                                                                  Title
  8/9/2016   Deutsche Bank                                  Endo International : Decent Q, thankfully
  8/9/2016   JMP Securities                                 ENDP: Strong Quarter and Mixed Guidance Clouds Thesis; Maintain Market Outperform
  8/9/2016   JPMorgan                                       Endo International PLC : 2Q Takeaways - Signs of Stability
  8/9/2016   MINKABU THE INOFONOID, Inc.                    Endo International PLC Report [2016-08-09]
  8/9/2016   Morningstar Credit Research                    Morningstar | After a Disastrous First Quarter, Endo’s Second-Quarter Results Show Stability
  8/9/2016   Morningstar, Inc.                              Morningstar | After a Disastrous First Quarter, Endo’s Second-Quarter Results Show Stability
  8/9/2016   Northland Securities                           Endo's 2Q16 EPS Decline to Above-Consensus $0.86 from $1.10; Guidance Unchanged
  8/9/2016   Oppenheimer & Co., Inc.                        2Q16 Results: Strong Quarter Gives Investors Hope
  8/9/2016   RBC Capital Markets                            Endo International Plc - Better than anticipated 2Q on low expectations; 2017 visibility low but improving
  8/9/2016   Susquehanna Financial Group LLLP               ENDP Easily Clears Low Bar As Results Stabilize
  8/9/2016   SVB Leerink                                    Improving Gx Environment Helps NT But Remain Cautious on LT Growth, PT to $22
  8/9/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
                                                            Endo International plc:Strong Second-Quarter Results Although Execution Rebound May Pause in the Third Quarter, Maintain Market
  8/9/2016   William Blair & Company
                                                            Perform
 8/10/2016   Gabelli & Company                              ENDP: Q2 Solid, But In The Wrong Places - Buy
 8/10/2016   MINKABU THE INOFONOID, Inc.                    Endo International PLC Report [2016-08-10]
 8/11/2016   Guggenheim Securities LLC                      TEVA, MYL, PRGO, ENDP, AKRX, IPXL - Don't Let the Sun Get in Your Eyes; Generic Drug Pricing Could Improve 2H16
 8/14/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
                                                            AGN, TEVA, MYL, VRX, PRGO, ZTS, SHPG, MNK, ENDP, HZNP - Swipe to the Left or Right? Sentiment Check on Spec Pharma
 8/17/2016   Guggenheim Securities LLC
                                                            Heading into 2H16
 8/17/2016   Sadif Analytics Prime                          Is Endo International PLC Worth a Higher Bid?
 8/21/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 8/22/2016   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
 8/28/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  9/2/2016   Morningstar Credit Research                    Morningstar | Clinton’s Proposed Drug Plan Doesn’t Change the Pricing Power for Innovative Drugs
  9/2/2016   Morningstar, Inc.                              Morningstar | Clinton’s Proposed Drug Plan Doesn’t Change the Pricing Power for Innovative Drugs
  9/4/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  9/8/2016   Morgan Stanley                                 ENDP: Earnings math ex-Zetia and ex-Seroquel; awaiting pipeline clarity
 9/11/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 9/12/2016   RBC Capital Markets                            Specialty Pharma: Short Interest: Sector SI continues to move lower; focus on TEVA, AGN, ENDP, IPXL
 9/15/2016   Citi                                           ENDP: Model Update
 9/16/2016   Morningstar Credit Research                    Morningstar | Clinton’s Proposed Drug Plan Doesn’t Change the Pricing Power for Innovative Drugs
 9/18/2016   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 9/19/2016   RBC Capital Markets                            Specialty Pharma: Where we are focused this week: EGRX investor meetings, ENDP, MYL and drug pricing again in focus
 9/20/2016   GlobalData                                     Endo International Plc (ENDP) - Financial and Strategic SWOT Analysis Review
 9/23/2016   Barclays                                       ENDP: Leadership change to reflect realities of ENDP's business - Barclays Spec Pharma
 9/23/2016   Cowen and Company                              Another Step In The Recovery, But Overall Thesis Is Unchanged
 9/23/2016   Deutsche Bank                                  Endo International Alert : Leadership change a positive development



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Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                         Contributor                                                                                 Title

 9/23/2016    Gordon Haskett                                A surprise from Flowserve, the De Silva era ends at Endo, two P&C names in the spotlight (FLS, ENDP, HIG, THG, NTCT, DNKN)
 9/23/2016    JMP Securities                                Paul Campanelli to Succeed Rajiv De Silva as CEO
 9/23/2016    JPMorgan                                      Endo International PLC : CEO Transition And Guidance Reiteration A Positive - ALERT
 9/23/2016    Morgan Stanley                                ENDP: New CEO a strong choice, but unclear why de Silva left now
 9/23/2016    Northland Securities                          Endo Changes Leadership as Paul Campanelli Becomes CEO, Appears Positive
 9/23/2016    RBC Capital Markets                           Endo International Plc - ENDP - CEO change announced and guidance reaffirmed; strategic "assessment" will be the near-term focus
 9/23/2016    SVB Leerink                                   New CEO Hire Encouraging, in the Long-Term
 9/23/2016    UBS Equities                                  First Read: Endo International "We Like the New CEO" (Buy) Goodman
                                                            Endo International plc:CEO Transition Marks Likely Change From “Growth Through Acquisition” Strategy to Focus on Operational
 9/23/2016    William Blair & Company
                                                            Execution
 9/25/2016    Oppenheimer & Co., Inc.                       CEO Change Signals New Direction for Endo
 9/25/2016    Piper Sandler Companies                       Thoughts on CEO Change: A Step In The Right Direction
 9/25/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 9/26/2016    RBC Capital Markets                           Specialty Pharma: Where we are focused this week: ENDP management meeting, DEPO update on NUCYNTA, TEVA Copaxone trial
 9/28/2016    Deutsche Bank                                 Endo International Alert : Tidbits from ENDP’s War Room
 9/28/2016    RBC Capital Markets                           Endo International Plc - Reflecting on the ENDP outlook post meeting with management; five things we learned
 9/28/2016    UBS Equities                                  First Read: Endo International "Lunch with the New CEO" (Buy) Goodman
 9/29/2016    BMO Capital Markets                           Some Updates from Management
 9/29/2016    Citi                                          Alert: ENDP: Takeaways from Analyst Meeting with New CEO
 9/29/2016    Gabelli & Company                             ENDP: Endo Embraces Generics Identity - Buy
 9/29/2016    JPMorgan                                      Endo International PLC : Management Meeting Takeaways
 9/29/2016    Northland Securities                          After Pullback In Shares, Risk-Reward Skews Positively; Upgrade to Outperform
 10/2/2016    RBC Capital Markets                           Specialty Pharma: Where we are focused this week: Sector weakness, TEVA, MYL, ENDP, DEPO; three small cap long ideas
 10/2/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 10/3/2016    Guggenheim Securities LLC                     TEVA, MYL, ENDP, PRGO, MNK, AKRX, ANIP - Feeling a Cool Breeze From Generic Drug Prices?
 10/3/2016    Wright Reports                                Wright Investors Service Comprehensive Report for Endo International PLC
 10/5/2016    Guggenheim Securities LLC                     AGN, SHPG, VRX, MNK, ENDP, JAZZ - The Price Is Right; Thoughts on Election-Cycle Proposals for Lowering Drug Costs

                                                            Validea Guru Analysis Report for ENDP. Analysis using Validea's interpretation of the published quantitative strategies of well-known
 10/7/2016    Validea
                                                            Wall Street experts including Peter Lynch, Warren Buffett, Ben Graham and Ken Fisher, among others.
 10/7/2016    William Blair & Company                       AKRX, BDSI, COLL, ENDP, SHPG: Therapeutics Coverage, Product Weekly Total Prescriptions Update
 10/9/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 10/11/2016   RBC Capital Markets                           Specialty Pharma: Short Interest: SI build not a surprise; we take a closer look at PRGO, AGN, ENDP
 10/14/2016   Guggenheim Securities LLC                     ENDP - BUY - Are We Just Robbing Rajiv to Pay Paul? Our Valuation Analysis Suggests the Answer Is "No"
 10/14/2016   William Blair & Company                       AKRX, BDSI, COLL, ENDP, SHPG: Therapeutics Coverage, Product Weekly Total Prescriptions Update
 10/16/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)



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Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                         Contributor                                                                                 Title
 10/19/2016   William Blair & Company                       AKRX, AGRX, COLL, EGRX, ENDP, SHPG: Third-Quarter Earnings Preview
 10/21/2016   Northland Securities                          Endo's CFO Departing in Late November, Not Surprising; Outperform Thesis Intact
 10/23/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 10/24/2016   BofA Global Research                          Endo International: New playbook, blocking and tackling key; reinstate with Buy, PO of $29
 10/24/2016   Deutsche Bank                                 Endo International : Key generic launches coming soon
                                                            Specialty Pharmaceuticals : 3Q/16 Preview: Fundamentals (And Sentiment?) Likely Nearing A Bottom, Positive on AGN, ENDP,
 10/24/2016 JPMorgan
                                                            AKRX, Cautious on VRX, IPXL

 10/24/2016 RBC Capital Markets                             Specialty Pharma: Where we are focused this week: GPhA conference, AGN, ENDP, TEVA, DEPO, KMPH, and 3Q cross-read
 10/25/2016 Barclays                                        Biosimilars/Generics: Read-through from Novartis 3Q - Barclays Spec Pharma
 10/25/2016 Guggenheim Securities LLC                       TEVA, MYL, ENDP, PRGO, MNK, AKRX, ANIP - First Data Point Of GRx Earnings Shows Mid-Single-Digit Price Erosion
 10/26/2016   Barclays                                      Endo International PLC: EPS tweaks into 3Q
 10/26/2016   BMO Capital Markets                           3Q Preview: Struggling Sentiment, Selectivity Is Key as We Expect Mixed Results
 10/28/2016   William Blair & Company                       AKRX, BDSI, ENDP, SHPG: Therapeutics Coverage, Product Weekly Total Prescriptions Update
 10/30/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/3/2016    Guggenheim Securities LLC                     AGN, TEVA, MYL, ENDP, AKRX, ANIP, IPXL - Who Hit the Panic Button Generic Stocks?
 11/3/2016    Morgan Stanley                                Stocks appear to be overreacting to DOJ generic price collusion investigation
 11/3/2016    Morningstar, Inc.                             Morningstar | ENDP Updated Star Rating from 03 Nov 2016
 11/3/2016    SVB Leerink                                   More Pricing Headwinds: DOJ Probe A Likely Overhang For Several Qtrs
 11/4/2016    CFRA Equity Research                          Endo International plc
 11/4/2016    Deutsche Bank                                 Initial thoughts on generics news
 11/4/2016    Morningstar Credit Research                   Morningstar | Media Reports Suggest Generic Drug Manufacturers Could Face Collusion Charges
 11/4/2016    Morningstar, Inc.                             Morningstar | Media Reports Suggest Generic Drug Manufacturers Could Face Collusion Charges
 11/4/2016    RBC Capital Markets                           Specialty Pharma Scripts: Week Ending October 28
 11/4/2016    RBC Capital Markets                           Generic sector: headwinds growing, cycles matter
 11/4/2016    Susquehanna Financial Group LLLP              DOJ Price-Fixing Case A Major Overhang but Declines Overdone vs. Precedents
 11/4/2016    UBS Equities                                  US Pharma - Large Cap and Specialty Weekly Pricing Update
 11/6/2016    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
                                                            Specialty Pharma: Where we are focused this week: Generic 3Q EPS and 2017 conundrum; ENDP, MYL, PRGO, AKRX, EGRX,
 11/6/2016    RBC Capital Markets
                                                            DEPO, FLXN+
 11/6/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/7/2016    BuySellSignals Research                       Endo International plummets 74% in 2016, underperforming 80% of its global peers
 11/7/2016    Citi                                          ENDP: Model Update
 11/7/2016    RBC Capital Markets                           Endo International Plc - Upcoming 3Q may help alleviate recent share pressure; three things we are watching
 11/8/2016    Barclays                                      ENDP: 3Q First Impressions - Barclays Spec Pharma
 11/8/2016    Barclays                                      ENDP: Key Takeaways from 3Q16 Call - Barclays Spec Pharma
 11/8/2016    BMO Capital Markets                           3Q Beats Overall, But Base Generics Showing Some More Weakness
 11/8/2016    Citi                                          ENDP: 3Q16 Recap: Deja Vu? Pressures in Generics Business Remain the Key Theme
 11/8/2016    Citi                                          Results: ENDP: 3Q a Beat; Challenges Remain



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Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

   Date                      Contributor                                                                                   Title
 11/8/2016    Cowen and Company                             Thesis Is Unchanged - Better Alternatives Exist
                                                            Pruning time at Perkin, front-running Sabre CEO announcement, losing streaks continue at Hertz and Valeant (PKI, SABR, PCLN, HTZ,
 11/8/2016    Gordon Haskett
                                                            VRX, ENDP, DHI, CC)
 11/8/2016    Guggenheim Securities LLC                     ENDP - BUY - 3Q16 Results Underscore Earnings Potential Is Still Underappreciated
 11/8/2016    JPMorgan                                      Endo International PLC : 3Q Impressions: Qtrly Beat Although Base Generics Business Remains Under Pressure - ALERT
 11/8/2016    JPMorgan                                      Endo International PLC : Thoughts Post 3Q
 11/8/2016    Morgan Stanley                                Endo: 3Q beat; guidance maintained
 11/8/2016    Oppenheimer & Co., Inc.                       3Q16 Results: Solid Results, But Challenging Headwinds Ahead
 11/8/2016    Piper Sandler Companies                       Injectibles Driving The Bus for Now; LT Earnings Visibility A Big Question Mark
                                                            Endo International Plc - ENDP 3Q solid on "low expectations" beat with reaffirmed 2016; but cautionary 2017 "generic" commentary
 11/8/2016    RBC Capital Markets
                                                            will bring sector cross-read
 11/8/2016    SVB Leerink                                   3Q Wrap-Up: Another Generics Rebasing, Reit MP, PT to $15
 11/8/2016    UBS Equities                                  Endo International "Seems Like An Overreaction" (Buy) Goodman
 11/8/2016    UBS Equities                                  First Read: Endo International "A Good 3Q Beat" (Buy) Goodman
 11/8/2016    ValuEngine, Inc                               ValuEngine Rating and Forecast Report for ENDP
                                                            Endo International plc:Third-Quarter Earnings Quick Take; Strong Top- and Bottom-Line Beat, Guidance Maintained as Seroquel XR
 11/8/2016    William Blair & Company
                                                            Launches
 11/9/2016    Deutsche Bank                                 Endo International : Lowering estimates and PT to $25
 11/9/2016    Gabelli & Company                             ENDP: Q3 Beat, But Can’t Ignore That Base Drop - Buy
 11/9/2016    JMP Securities                                ENDP Reports Strong 3Q16; Pipeline and Branded RX Offsetting Generic Pricing
 11/9/2016    MINKABU THE INOFONOID, Inc.                   Endo International PLC Report [2016-11-09]
 11/9/2016    Morgan Stanley                                ENDP: Reducing estimates on Gx pricing pressure
 11/9/2016    Morningstar Credit Research                   Morningstar | Republican Victories on Election Night Create High Probability of Healthcare Reform
 11/9/2016    Morningstar, Inc.                             Morningstar | ENDP Updated Star Rating from 08 Nov 2016
 11/9/2016    Morningstar, Inc.                             Morningstar | U.S. Elections Add Uncertainty to Healthcare Stocks, but Unlikely to Cause Major Fair Value Changes
 11/9/2016    RBC Capital Markets                           Endo International Plc - The realities of 2017 are hitting the stock and sector; lowering EPS and target
 11/9/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/9/2016    William Blair & Company                       Endo International plc:Third-Quarter Earnings Post-Call; Generics Base Erosion and Competitive Pressures Leads to Growth Questions
 11/10/2016   BMO Capital Markets                           Updating Model Post 3Q; Lowering Estimates and Target Given Generic Pressures
 11/10/2016   Morningstar, Inc.                             Morningstar | Hikma's Generic Unit Continues to Weigh on Third-Quarter Results
 11/10/2016   Susquehanna Financial Group LLLP              Progress Adjusting to New Normal Opens Path To Recovery - Upgrade to Positive
 11/11/2016   Morningstar Credit Research                   Morningstar | Specialty Pharma Industry Faces Tough Times; Wide-Moat Allergan Remains Our Top Pick
 11/11/2016   Morningstar, Inc.                             Morningstar | Specialty Pharma Industry Faces Tough Times; Wide-Moat Allergan Remains Our Top Pick
 11/13/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/14/2016   Pechala's Reports                             The Institutional Report (November 14 2016 US Edition) plus ENDP=US
 11/16/2016   Sadif Analytics Prime                         Is Endo International PLC Stock Still Attractive?
 11/17/2016   Barclays                                      ENDP: Will Xiaflex make a mark in Cellulite? - Barclays Spec Pharma
 11/17/2016   Cowen and Company                             Encouraging Cellulite Data Could Eventually Provide A Nice Strategic Option



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                          Contributor                                                                                 Title
 11/17/2016   JMP Securities                                Positive Phase 2B Cellulite Data for Xiaflex
 11/17/2016   JPMorgan                                      Endo International PLC : Encouraging Cellulite Phase 2b Data - ALERT
 11/17/2016   JPMorgan                                      Endo International PLC : Encouraging Cellulite Phase 2b Data - ALERT
 11/18/2016   CFRA Equity Research                          Endo International plc
 11/20/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 11/21/2016   Wright Reports                                Wright Investors Service Comprehensive Report for Endo International PLC
 11/27/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/2/2016    GlobalData                                    Endo International Plc (ENDP) - Financial and Strategic SWOT Analysis Review
 12/4/2016    Clarivate Analytics                           Endo International plc - Company and Drug Portfolio Report
 12/4/2016    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
 12/5/2016    Barclays                                      Endo International PLC: ENDP Post 3Q16 Earnings Call
 12/5/2016    Clarivate Analytics                           Endo International plc - Company and Drug Portfolio Report
 12/5/2016    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/6/2016    Oppenheimer & Co., Inc.                       Transfer of Coverage: Cautious on Turnaround Amid a Challenging Environment
 12/8/2016    Cantor Fitzgerald                             ENDO Returns Belbuca to BDSI Creating Strategic Pivot Away from Belbuca
 12/8/2016    Citi                                          Alert: ENDP: Belbuca Out. Focus Increasingly on Generics Portfolio + Xiaflex
 12/8/2016    Oppenheimer & Co., Inc.                       Afternoon Research Summary
 12/8/2016    Oppenheimer & Co., Inc.                       Bye Bye Belbuca
 12/8/2016    Piper Sandler Companies                       Logical Move On Belbuca, But Still A lot More Work To Do; Reiterating Neutral
 12/8/2016    UBS Equities                                  First Read: Endo International "Just the Beginning of the Restructuring" (Buy)
 12/9/2016    Cantor Fitzgerald                             BDSI Finds Itself Abruptly in the Pain Space as ENDP Exits and Returns Belbuca
 12/9/2016    JMP Securities                                Endo Returns Belbuca to BDSI
 12/11/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/12/2016   Barclays                                      Endo International PLC: Exiting pain
 12/18/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/26/2016   TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 12/30/2016   BuySellSignals Research                       Endo International continues downtrend, plummets 74% in FY 2016
  1/1/2017    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  1/2/2017    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  1/2/2017    Wright Reports                                Wright Investors Service Comprehensive Report for Endo International PLC
  1/3/2017    Guggenheim Securities LLC                     AGN, TEVA, MYL, PRGO, ENDP, MNK, ZTS - Year of The Rooster Brings Some Thoughts At The Crack of Dawn
  1/5/2017    Citi                                          ENDP: Balanced Risk-Reward. Moving to Neutral.
  1/5/2017    JPMorgan                                      Specialty Pharmaceuticals : Model Updates
  1/8/2017    Clarivate Analytics                           Endo International plc - Cortellis Company Detailed Pipeline Report
  1/8/2017    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  1/9/2017    Citi                                          Alert: ENDP: Absence of a Negative. FY16 Guidance Reaffirmed
  1/9/2017    JPMorgan                                      Endo International PLC : J.P. Morgan Conference Takeaways - ALERT
 1/10/2017    Barclays                                      ENDP: Quick Takeaways after the Conference Presentation - Barclays Spec Pharma
 1/12/2017    Morningstar, Inc.                             Morningstar | ENDP Updated Star Rating from 11 Jan 2017
 1/15/2017    TheStreet.com Ratings                         TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                      Contributor                                                                                     Title
 1/20/2017   Barclays                                       ENDP/MYL: Weekly Scripts Focus on generic Seroquel XR/Zetia/Benicar - Barclays Spec Pharma
 1/20/2017   Guggenheim Securities LLC                      ENDP - BUY - Limbo, How Low Can '17 Numbers Go?
                                                            Specialty Pharma / Generics : Generic Operating Environment Remains Challenging; MYL/AKRX Best Positioned, Moving to the
 1/20/2017   JPMorgan
                                                            Sidelines on ENDP/TEVA
 1/22/2017   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 1/23/2017   Barclays                                       ENDP: FTC settlement of little consequence, but reflects scrutiny on generics competitiveness - Barclays Spec Pharma
 1/23/2017   UBS Equities                                   First Read: U.S. Specialty Pharmaceuticals "Endo Settles with FTC" Goodman
 1/24/2017   JMP Securities                                 Settlement with FTC Regarding Opana ER and Lidoderm Pay-For-Delay Lawsuits
 1/24/2017   Oppenheimer & Co., Inc.                        Specialty Pharma & Generics Earnings Preview
 1/24/2017   SVB Leerink                                    Lowering Ests, Persistent US Gx Headwinds, Lowering PT to $12
 1/26/2017   Citi                                           Alert: ENDP: Restructuring Announced. Our Cautious Stance Remains.
 1/26/2017   Cowen and Company                              Model Update Note: Adjusting For Most Recent Disclosures/Commentary
 1/26/2017   Morgan Stanley                                 Endo Health Solutions: Cutting estimates and PT; ClarusOne impact ahead
 1/26/2017   Piper Sandler Companies                        Shares Still Not Positioned To Rebound For Myriad Reasons; Lowering PT
 1/26/2017   Susquehanna Financial Group LLLP               Morning Research Recap - Jan 26 2017 6:28AM
 1/26/2017   Susquehanna Financial Group LLLP               Pressures Temper Outlook but Fundamental Impact Modest
 1/27/2017   RBC Capital Markets                            Specialty Pharma: Short Interest: Closer look at MYL, PRGO, ENDP, IPXL; sector move higher off of lows
 1/29/2017   BMO Capital Markets                            CORRECTION: 4Q16 Preview: Struggles Continue, but Expectations Are Way Low
 1/29/2017   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 1/30/2017   JMP Securities                                 Revising 2017 estimates, Lowering Price Target from $34 to $20
 1/30/2017   RBC Capital Markets                            AKRX - ephedrine approval from ENDP sooner than expected; expect it to weigh on upcoming guidance
 1/30/2017   RBC Capital Markets                            Endo International Plc - A strategic look at ENDP options; we are taking a more conservative stance on EPS
 1/30/2017   RBC Capital Markets                            Specialty Pharma: Where we are focused this week: Debate from the road, TEVA, AKRX and MYL focus increasing, ENDP options
 1/30/2017   UBS Equities                                   First Read: U.S. Specialty Pharmaceuticals "Ephedrine Approval Is A ..."
 1/31/2017   Deutsche Bank                                  Specialty Pharmaceuticals : Thoughts on AKRX and ENDP following ephedrine news
 1/31/2017   Susquehanna Financial Group LLLP               Hitting Ephedrine Expectations as Market Gets Competitive
  2/5/2017   Clarivate Analytics                            Endo International plc - Cortellis Company Detailed Pipeline Report
  2/5/2017   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
  2/6/2017   Clarivate Analytics                            Endo International plc - Cortellis Company Detailed Pipeline Report
  2/7/2017   JMP Securities                                 Specialty Pharmaceuticals 4Q16 Preview
 2/10/2017   JMP Securities                                 BioPharma - Rx Data for the Week Ending February 3, 2017
 2/10/2017   JPMorgan                                       Endo International PLC : Remain Cautious Ahead of 2017 Guidance on Generic Pricing Headwinds
 2/12/2017   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)
 2/13/2017   RBC Capital Markets                            Specialty Pharma: Short Interest: Closer look at PRGO, ENDP, AKRX, IPXL; sector SI continues to ramp
 2/14/2017   Barclays                                       ENDP: Anti-trust claims on Vasostrict move ahead - Barclays Spec Pharma
 2/15/2017   Sadif Analytics Prime                          Is Endo International PLC the Safe Haven Investors Seek?
 2/16/2017   Morningstar Credit Research                    Morningstar | Endo's credit rating reflects its substantial legal liabilities and weak fundamental outlook.
 2/17/2017   Morningstar, Inc.                              Morningstar | ENDP Updated Star Rating from 16 Feb 2017
 2/19/2017   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)



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Exhibit 5B

Endo International plc
List of Analyst Reports
Source: Thomson Reuters Eikon, Thomson Reuters Knowledge, Bloomberg

    Date                       Contributor                                                                                    Title
                                                            Endo International PLC (formerly Endo Health Solutions, Inc.) – Mergers & Acquisitions (M&A), Partnerships & Alliances and
 2/20/2017   MarketLine
                                                            Investment Report
 2/21/2017   Canaccord Genuity                              On the sidelines ahead of strategic review; initiate with a HOLD rating and $14 PT
 2/21/2017   Susquehanna Financial Group LLLP               Spec Pharma Weekly Rx Monitor
 2/21/2017   Wright Reports                                 Wright Investors Service Comprehensive Report for Endo International PLC
 2/22/2017   BofA Global Research                           Endo International: All eyes on 2017 outlook; reiterate Buy
 2/24/2017   Barclays                                       ENDP/MYL: Weekly Scripts Focus on generic Seroquel XR/Zetia/Benicar - Barclays Spec Pharma
 2/24/2017   Citi                                           ENDP: Model Update
 2/26/2017   TheStreet.com Ratings                          TheStreet.com Ratings Stock Report For: ENDO INTERNATIONAL PLC (ENDP)




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Exhibit 5C

Endo International plc
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg


3/2/2015                                                                        Fourth-Quarter 2014 Results
                                         Price Target as of        Price Target as of      % Change in Price      Pre-Event         Post-Event
Firm
                                             2/27/2015                  3/5/2015                 Target        Rating Action      Rating Action
Canaccord Genuity                              $88.00                   $104.00                  18.18%              buy                buy
Cantor Fitzgerald                              $80.00                    $80.00                   0.00%              hold               hold
Cowen                                          $45.00                    $45.00                   0.00%        market perform     market perform
CRT Capital Group                              $80.00                    $86.00                   7.50%         Fairly Valued      Fairly Valued
Deutsche Bank                                  $91.00                    $91.00                   0.00%              buy                buy
Gabelli & Co                                                                                                         buy                buy
Goldman Sachs                                 $101.00                  $101.00                   0.00%          buy/attractive     buy/attractive
Guggenheim Securities                          $80.00                  $100.00                  25.00%               buy                buy
ISS-EVA                                                                                                          underweight        underweight
J.P. Morgan                                   $85.00                                                              overweight     Rating Suspended
Morgan Stanley                                                         $101.00                                     not rated      Overwt/In-Line
Morningstar, Inc                                                                                                     hold               hold
Needham & Co                                                                                                         hold               hold
Oppenheimer & Co                                                                                               market perform     market perform
Piper Sandler & Co                            $98.00                   $102.00                   4.08%            overweight         overweight
RBC Capital Markets                           $80.00                    $98.00                  22.50%           outperform         outperform
Sterne Agee CRT                               $90.00                    $90.00                   0.00%               buy                buy
Stifel                                        $95.00                    $95.00                   0.00%               buy                buy
Susquehanna Financial                         $75.00                    $95.00                  26.67%              neutral            neutral
SVB Leerink                                   $94.00                   $101.00                   7.45%           outperform         outperform
Wells Fargo Securities                                                                                           outperform         outperform
William Blair & Co                            $82.00                    $84.00                  2.44%          market perform     market perform
              Average                         $84.27                    $91.53                  8.62%

5/11/2015                                                                       First-Quarter 2015 Results
                                         Price Target as of        Price Target as of      % Change in Price      Pre-Event         Post-Event
Firm
                                              5/8/2015                 5/14/2015                 Target        Rating Action      Rating Action
Canaccord Genuity                             $104.00                   $104.00                   0.00%              buy                buy
Cantor Fitzgerald                              $80.00                    $80.00                   0.00%              hold               hold
Cowen                                          $45.00                    $45.00                   0.00%        market perform     market perform
Deutsche Bank                                  $96.00                    $96.00                   0.00%              buy                buy
Gabelli & Co                                                                                                         buy                buy
Goldman Sachs                                 $101.00                  $101.00                  0.00%           buy/attractive     buy/attractive
Guggenheim Securities                         $100.00                  $100.00                  0.00%                buy                buy
ISS-EVA                                                                                                          underweight        underweight
J.P. Morgan                                   $105.00                  $105.00                  0.00%             overweight         overweight
Morgan Stanley                                $101.00                  $101.00                  0.00%          Overwt/In-Line     Overwt/In-Line
Morningstar, Inc                                                                                                     hold               hold
Oppenheimer & Co                                                                                               market perform     market perform
Piper Sandler & Co                            $110.00                  $110.00                  0.00%             overweight         overweight
RBC Capital Markets                            $98.00                   $98.00                  0.00%            outperform         outperform
Stifel                                         $95.00                   $95.00                  0.00%                buy                buy
Susquehanna Financial                          $95.00                   $95.00                  0.00%               neutral            neutral
SVB Leerink                                   $101.00                  $100.00                  -0.99%           outperform         outperform
Wells Fargo Securities                                                                                           outperform         outperform
William Blair & Co                            $84.00                    $86.00                  2.38%          market perform     market perform
              Average                         $93.93                    $94.00                  0.08%




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Exhibit 5C

Endo International plc
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



8/10/2015                                                                       Second-Quarter 2015 Results
                                         Price Target as of        Price Target as of      % Change in Price      Pre-Event        Post-Event
Firm
                                              8/7/2015                 8/13/2015                 Target        Rating Action     Rating Action
Canaccord Genuity                             $104.00                   $104.00                   0.00%               buy               buy
Cowen                                          $85.00                    $85.00                   0.00%        market perform    market perform
Deutsche Bank                                                                                                      restricted        restricted
Gabelli & Co                                                                                                          buy               buy
Goldman Sachs                                 $101.00                  $101.00                  0.00%           buy/attractive    buy/attractive
Guggenheim Securities                         $110.00                  $110.00                  0.00%                 buy               buy
ISS-EVA                                                                                                          underweight       underweight
J.P. Morgan                                   $110.00                  $110.00                  0.00%             overweight        overweight
Morgan Stanley                                $101.00                  $101.00                  0.00%          Overwt/In-Line    Overwt/In-Line
Morningstar, Inc                                                                                                      hold              hold
Oppenheimer & Co                                                                                               market perform    market perform
Piper Sandler & Co                            $117.00                  $113.00                  -3.42%            overweight        overweight
Raymond James                                                                                                  market perform    market perform
RBC Capital Markets                           $107.00                  $107.00                   0.00%              top pick          top pick
Stifel                                        $115.00                  $115.00                   0.00%                buy               buy
Susquehanna Financial                          $95.00                   $95.00                   0.00%               neutral           neutral
SVB Leerink                                   $100.00                   $96.00                  -4.00%           outperform        outperform
William Blair & Co                             $84.00                   $87.00                   3.57%         market perform    market perform
              Average                         $102.42                  $102.00                  -0.41%

11/5/2015                                                                       Third-Quarter 2015 Results
                                         Price Target as of        Price Target as of      % Change in Price     Pre-Event         Post-Event
Firm
                                             11/4/2015                11/10/2015                 Target        Rating Action     Rating Action
Canaccord Genuity                             $104.00                   $104.00                  0.00%               buy               buy
Cowen                                          $85.00                    $85.00                  0.00%         market perform    market perform
Deutsche Bank                                  $88.00                    $84.00                  -4.55%              buy               buy
Gabelli & Co                                                                                                         buy               buy
Goldman Sachs                                  $84.00                   $79.00                  -5.95%          buy/attractive    buy/attractive
Guggenheim Securities                         $110.00                  $110.00                  0.00%                buy               buy
ISS-EVA                                                                                                             hold              hold
J.P. Morgan                                   $100.00                   $90.00                 -10.00%           overweight        overweight
Mizuho Securities                              $82.00                   $82.00                  0.00%                buy               buy
Morgan Stanley                                 $75.00                   $75.00                  0.00%          Equalwt/In-Line   Equalwt/In-Line
Morningstar, Inc                                                                                                     buy              hold
Nomura                                        $100.00                   $95.00                  -5.00%               buy               buy
Oppenheimer & Co                                                                                               market perform    market perform
Piper Sandler & Co                            $112.00                   $83.00                 -25.89%           overweight        overweight
Raymond James                                                                                                  market perform    market perform
RBC Capital Markets                           $100.00                   $91.00                  -9.00%            top pick          top pick
Stifel                                        $115.00                  $115.00                   0.00%               buy               buy
Susquehanna Financial                          $70.00                   $70.00                   0.00%             neutral           neutral
SVB Leerink                                    $74.00                   $64.00                 -13.51%           outperform        outperform
William Blair & Co                             $75.00                   $59.00                 -21.33%         market perform    market perform
              Average                          $91.60                   $85.73                  -6.40%




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Exhibit 5C

Endo International plc
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



2/29/2016                                                                       Fourth-Quarter 2015 Results
                                         Price Target as of        Price Target as of      % Change in Price      Pre-Event         Post-Event
Firm
                                             2/26/2016                  3/3/2016                  Target        Rating Action     Rating Action
Barclays                                       $70.00                    $70.00                   0.00%           equalweight      equalweight
Canaccord Genuity                             $104.00                    $67.00                  -35.58%              buy              buy
Cowen                                          $85.00                    $85.00                   0.00%         market perform    market perform
Deutsche Bank                                  $84.00                    $70.00                  -16.67%              buy              buy
Gabelli & Co                                                                                                          buy              buy
Guggenheim Securities                         $110.00                  $110.00                  0.00%                 buy              buy
ISS-EVA                                                                                                          underweight           hold
J.P. Morgan                                   $90.00                    $80.00                 -11.11%            overweight        overweight
Mizuho Securities                             $55.00                    $42.00                 -23.64%               neutral          neutral
Morgan Stanley                                $68.00                    $50.00                 -26.47%          Equalwt/In-Line   Equalwt/In-Line
Morningstar, Inc                                                                                                      hold             buy
Nomura                                        $95.00                    $80.00                 -15.79%                buy              buy
Northland Securities Inc                      $67.00                    $48.00                 -28.36%          market perform    market perform
Oppenheimer & Co                                                                                                market perform    market perform
Piper Sandler & Co                            $83.00                    $81.00                  -2.41%            overweight        overweight
Raymond James                                                                                                   market perform    market perform
RBC Capital Markets                            $91.00                   $73.00                 -19.78%              top pick         top pick
Stifel                                        $115.00                  $100.00                 -13.04%                buy              buy
Susquehanna Financial                          $68.00                   $68.00                  0.00%                neutral          neutral
SVB Leerink                                    $64.00                   $51.00                 -20.31%            outperform        outperform
William Blair & Co                             $59.00                   $47.00                 -20.34%          market perform    market perform
              Average                          $81.75                   $70.13                 -14.22%

5/5/2016                                                                        First-Quarter 2016 Results
                                         Price Target as of        Price Target as of      % Change in Price      Pre-Event         Post-Event
Firm
                                              5/4/2016                 5/10/2016                  Target        Rating Action     Rating Action
Barclays                                       $37.00                    $28.00                  -24.32%          equalweight       equalweight
Cowen                                          $85.00                    $85.00                   0.00%         market perform    market perform
Deutsche Bank                                  $61.00                    $31.00                  -49.18%              buy               buy
Gabelli & Co                                                                                                          buy               buy
Guggenheim Securities                         $65.00                    $35.00                 -46.15%                buy               buy
ISS-EVA                                                                                                              hold              hold
J.P. Morgan                                   $65.00                    $40.00                 -38.46%            overweight        overweight
JMP Securities                                $56.00                    $52.00                  -7.14%         market outperform market outperform
Mizuho Securities                             $42.00                    $13.00                 -69.05%              neutral        underperform
Morgan Stanley                                $50.00                    $50.00                  0.00%           Equalwt/In-Line Equalwt/In-Line
Morningstar, Inc                                                                                                      buy               buy
Northland Securities Inc                      $34.00                    $20.00                 -41.18%          market perform    market perform
Oppenheimer & Co                                                                                                market perform    market perform
Piper Sandler & Co                            $79.00                    $25.00                 -68.35%            overweight          neutral
Raymond James                                                                                                   market perform    market perform
RBC Capital Markets                           $45.00                    $26.00                 -42.22%            outperform      sector perform
Stifel                                        $90.00                    $75.00                 -16.67%                buy               buy
Susquehanna Financial                         $68.00                    $22.00                 -67.65%              neutral           neutral
SVB Leerink                                   $37.00                    $23.00                 -37.84%            outperform      market perform
William Blair & Co                            $35.00                    $27.00                 -22.86%          market perform    market perform
              Average                         $56.60                    $36.80                 -34.98%




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Exhibit 5C

Endo International plc
Analyst Price Targets and Rating Actions Surrounding Event Dates
Source: Bloomberg



8/8/2016                                                                        Second-Quarter 2016 Results
                                         Price Target as of        Price Target as of      % Change in Price       Pre-Event       Post-Event
Firm
                                              8/5/2016                 8/11/2016                  Target        Rating Action     Rating Action
Barclays                                       $28.00                    $22.00                  -21.43%          equalweight      equalweight
BMO Capital Markets                            $21.00                    $22.00                   4.76%         market perform    market perform
Cowen                                          $85.00                    $85.00                   0.00%         market perform    market perform
Deutsche Bank                                  $30.00                    $31.00                   3.33%               buy               buy
Gabelli & Co                                                                                                          buy               buy
Goldman Sachs                                 $20.00                    $22.00                  10.00%           neutral/neutral  neutral/neutral
Guggenheim Securities                         $35.00                    $35.00                   0.00%                buy               buy
ISS-EVA                                                                                                               hold             hold
J.P. Morgan                                   $40.00                    $40.00                  0.00%              overweight       overweight
JMP Securities                                $44.00                    $44.00                  0.00%          market outperform market outperform
Mizuho Securities                             $16.00                    $16.00                  0.00%                neutral          neutral
Morgan Stanley                                $15.00                    $15.00                  0.00%           Equalwt/In-Line Equalwt/In-Line
Morningstar, Inc                                                                                                      buy               buy
Northland Securities Inc                      $20.00                    $20.00                  0.00%           market perform    market perform
Oppenheimer & Co                                                                                                market perform    market perform
Piper Sandler & Co                            $18.00                    $19.00                  5.56%                neutral          neutral
Raymond James                                                                                                   market perform    market perform
RBC Capital Markets                           $26.00                    $26.00                   0.00%           sector perform   sector perform
Stifel                                        $25.00                    $25.00                   0.00%                buy               buy
Susquehanna Financial                         $22.00                    $22.00                   0.00%               neutral          neutral
SVB Leerink                                   $23.00                    $22.00                  -4.35%          market perform    market perform
William Blair & Co                            $20.00                    $20.00                   0.00%          market perform    market perform
              Average                         $28.71                    $28.59                  -0.41%

11/8/2016                                                                       Third-Quarter 2016 Results
                                         Price Target as of        Price Target as of      % Change in Price       Pre-Event       Post-Event
Firm
                                             11/7/2016                11/11/2016                 Target         Rating Action     Rating Action
Barclays                                       $22.00                    $22.00                  0.00%            equalweight      equalweight
BMO Capital Markets                            $22.00                    $20.00                  -9.09%         market perform    market perform
Cowen                                          $30.00                    $30.00                  0.00%          market perform    market perform
Deutsche Bank                                  $31.00                    $25.00                 -19.35%               buy               buy
Gabelli & Co                                                                                                          buy               buy
Goldman Sachs                                 $22.00                    $19.00                 -13.64%           neutral/neutral  neutral/neutral
Guggenheim Securities                         $35.00                    $35.00                  0.00%                 buy               buy
ISS-EVA                                                                                                               hold             hold
J.P. Morgan                                   $38.00                    $30.00                 -21.05%             overweight       overweight
JMP Securities                                $44.00                    $34.00                 -22.73%         market outperform market outperform
Mizuho Securities                             $29.00                    $25.00                 -13.79%                buy               buy
Morgan Stanley                                $16.00                    $15.00                  -6.25%          Equalwt/In-Line Equalwt/In-Line
Morningstar, Inc                                                                                                      buy               buy
Northland Securities Inc                      $27.00                    $27.00                  0.00%              outperform       outperform
Oppenheimer & Co                                                                                                                  market perform
Piper Sandler & Co                            $19.00                    $15.00                 -21.05%               neutral          neutral
Raymond James                                                                                                   market perform    market perform
RBC Capital Markets                           $26.00                    $21.00                 -19.23%           sector perform   sector perform
Stifel                                        $25.00                    $25.00                  0.00%                 buy               buy
Susquehanna Financial                         $22.00                    $20.00                  -9.09%               neutral         Positive
SVB Leerink                                   $22.00                    $15.00                 -31.82%          market perform    market perform
William Blair & Co                            $20.00                    $15.00                 -25.00%          market perform    market perform
              Average                         $26.47                    $23.12                 -12.67%




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Exhibit 6
Endo International plc
List of SEC Filings
Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                 Company (Filer)        Received     Period
    1              4          ENDO INTERNATIONAL PLC(FARHAT CAMILLE)           3/2/2015    2/26/2015
    2              4          ENDO INTERNATIONAL PLC(RUDIO DANIEL)             3/2/2015    2/26/2015
    3              4          ENDO INTERNATIONAL PLC(MANOGUE CAROLINE B)       3/2/2015    2/26/2015
    4              4          ENDO INTERNATIONAL PLC(UPADHYAY SUKETU)          3/2/2015    2/26/2015
    5              4          ENDO INTERNATIONAL PLC(DEGOLYER DONALD W)        3/2/2015    2/26/2015
    6            10-K         ENDO INTERNATIONAL PLC                           3/2/2015    12/31/2014
    7             8-K         ENDO INTERNATIONAL PLC                           3/2/2015     3/2/2015
    8             8-K         ENDO INTERNATIONAL PLC                           3/4/2015     3/2/2015
    9              4          ENDO INTERNATIONAL PLC(LORTIE BRIAN)             3/6/2015     3/4/2015
   10              3          ENDO INTERNATIONAL PLC(LORTIE BRIAN)             3/6/2015     3/1/2015
   11              4          ENDO INTERNATIONAL PLC(KIMMEL ROGER H)           3/6/2015     3/4/2015
   12              4          ENDO INTERNATIONAL PLC(SPENGLER WILLIAM)         3/6/2015     3/4/2015
   13              4          ENDO INTERNATIONAL PLC(SMITH JILL D.)            3/6/2015     3/4/2015
   14              4          ENDO INTERNATIONAL PLC(MONTAGUE WILLIAM P)       3/6/2015     3/4/2015
   15              4          ENDO INTERNATIONAL PLC(HYATT MICHAEL)            3/6/2015     3/4/2015
   16              4          ENDO INTERNATIONAL PLC(HUTSON NANCY J)           3/6/2015     3/4/2015
   17              4          ENDO INTERNATIONAL PLC(HIGGINS ARTHUR J)         3/6/2015     3/4/2015
   18              4          ENDO INTERNATIONAL PLC(DELUCCA JOHN)             3/6/2015     3/4/2015
   19              4          ENDO INTERNATIONAL PLC(COOKE SHANE)              3/6/2015     3/4/2015
   20              4          ENDO INTERNATIONAL PLC(MANOGUE CAROLINE B)       3/9/2015     3/5/2015
   21              4          ENDO INTERNATIONAL PLC(FARHAT CAMILLE)           3/11/2015    3/9/2015
   22             8-K         ENDO INTERNATIONAL PLC                           3/11/2015   3/11/2015
   23              4          ENDO INTERNATIONAL PLC(FARHAT CAMILLE)           3/12/2015   3/10/2015
   24             8-K         ENDO INTERNATIONAL PLC                           3/12/2015   3/12/2015
   25              4          ENDO INTERNATIONAL PLC(HALL SUSAN)               3/13/2015   3/11/2015
   26         CT ORDER        ENDO INTERNATIONAL PLC                           3/31/2015
   27              4          ENDO INTERNATIONAL PLC(MANOGUE CAROLINE B)       4/9/2015     4/7/2015
   28          DEFA14A        ENDO INTERNATIONAL PLC                           4/29/2015
   29          DEF 14A        ENDO INTERNATIONAL PLC                           4/29/2015    6/9/2015
   30             8-K         ENDO INTERNATIONAL PLC                           4/30/2015   4/28/2015
   31            10-Q         ENDO INTERNATIONAL PLC                           5/11/2015   3/31/2015
   32             8-K         ENDO INTERNATIONAL PLC                           5/11/2015   5/11/2015
   33              3          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)   5/13/2015    5/4/2015
   34             8-K         ENDO INTERNATIONAL PLC                           5/18/2015   5/18/2015
   35             8-K         ENDO INTERNATIONAL PLC                           5/20/2015   5/20/2015
   36             8-K         ENDO INTERNATIONAL PLC                           5/21/2015   5/18/2015
   37          DEFA14A        ENDO INTERNATIONAL PLC                           5/28/2015
   38             SD          ENDO INTERNATIONAL PLC                           6/1/2015
   39             8-K         ENDO INTERNATIONAL PLC                           6/2/2015     6/2/2015
   40             8-K         ENDO INTERNATIONAL PLC                           6/2/2015     6/2/2015
   41             8-K         ENDO INTERNATIONAL PLC                           6/2/2015     6/2/2015
   42           S-3ASR        ENDO INTERNATIONAL PLC                           6/2/2015
   43          DEFA14A        ENDO INTERNATIONAL PLC                           6/3/2015
   44            424B5        ENDO INTERNATIONAL PLC                           6/3/2015
   45             8-K         ENDO INTERNATIONAL PLC                           6/5/2015     6/4/2015
   46            424B5        ENDO INTERNATIONAL PLC                           6/8/2015
   47             8-K         ENDO INTERNATIONAL PLC                           6/9/2015     6/9/2015
   48             8-K         ENDO INTERNATIONAL PLC                           6/10/2015   6/10/2015
   49             8-K         ENDO INTERNATIONAL PLC                           6/15/2015   6/12/2015
   50             S-8         ENDO INTERNATIONAL PLC                           6/15/2015
   51              4          ENDO INTERNATIONAL PLC(HIGGINS ARTHUR J)         6/18/2015   6/16/2015
   52             8-K         ENDO INTERNATIONAL PLC                           6/19/2015   6/19/2015
   53             8-K         ENDO INTERNATIONAL PLC                           6/24/2015   6/24/2015
   54             8-K         ENDO INTERNATIONAL PLC                           6/25/2015   6/19/2015



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Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                 Company (Filer)                         Received      Period
   55             8-K         ENDO INTERNATIONAL PLC                                             7/9/2015     7/9/2015
   56             8-K         ENDO INTERNATIONAL PLC                                             8/7/2015     8/3/2015
   57            10-Q         ENDO INTERNATIONAL PLC                                            8/10/2015    6/30/2015
   58             8-K         ENDO INTERNATIONAL PLC                                            8/10/2015    8/10/2015
   59              4          ENDO INTERNATIONAL PLC(UPADHYAY SUKETU)                           9/28/2015    9/24/2015
   60             8-K         ENDO INTERNATIONAL PLC                                            9/28/2015    9/25/2015
   61            424B7        ENDO INTERNATIONAL PLC                                            9/28/2015
   62              4          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                           9/30/2015    9/28/2015
   63              3          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                           9/30/2015    9/25/2015
   64           SC 13G        ENDO INTERNATIONAL PLC(TPG GROUP HOLDINGS (SBS) ADVISORS, INC.)   10/2/2015
   65           10-Q/A        ENDO INTERNATIONAL PLC                                            10/6/2015    6/30/2015
   66         CT ORDER        ENDO INTERNATIONAL PLC                                            10/16/2015
   67           SC 13G        ENDO INTERNATIONAL PLC(SCULPTOR CAPITAL LP) (OZ MANAGEMENT LP)    11/2/2015
   68              4          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                           11/5/2015    11/3/2015
   69             8-K         ENDO INTERNATIONAL PLC                                            11/5/2015    11/5/2015
   70              4          ENDO INTERNATIONAL PLC(KIMMEL ROGER H)                            11/6/2015    11/5/2015
   71             8-K         ENDO INTERNATIONAL PLC                                            11/6/2015    11/6/2015
   72            10-Q         ENDO INTERNATIONAL PLC                                            11/9/2015    9/30/2015
   73             8-K         ENDO INTERNATIONAL PLC                                            11/9/2015    11/9/2015
   74              4          ENDO INTERNATIONAL PLC(KIMMEL ROGER H)                            11/12/2015   11/11/2015
   75              4          ENDO INTERNATIONAL PLC(COOKE SHANE)                               11/12/2015   11/12/2015
   76              4          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)                    11/12/2015   11/11/2015
   77              4          ENDO INTERNATIONAL PLC(LORTIE BRIAN)                              11/12/2015   11/11/2015
   78              4          ENDO INTERNATIONAL PLC(HYATT MICHAEL)                             11/12/2015   11/11/2015
   79              4          ENDO INTERNATIONAL PLC(HALL SUSAN)                                11/12/2015   11/11/2015
   80              4          ENDO INTERNATIONAL PLC(UPADHYAY SUKETU)                           11/12/2015   11/11/2015
   81              4          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                           11/12/2015   11/11/2015
   82              4          ENDO INTERNATIONAL PLC(DE SILVA RAJIV)                            11/12/2015   11/11/2015
   83              4          ENDO INTERNATIONAL PLC(KIMMEL ROGER H)                            11/17/2015   11/16/2015
   84             8-K         ENDO INTERNATIONAL PLC                                            11/20/2015   11/20/2015
   85             8-K         ENDO INTERNATIONAL PLC                                            12/14/2015   12/11/2015
   86             8-K         ENDO INTERNATIONAL PLC                                            12/30/2015   12/30/2015
   87              4          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)                     1/5/2016    12/31/2015
   88             8-K         ENDO INTERNATIONAL PLC                                            1/11/2016    1/11/2016
   89          SC 13G/A       ENDO INTERNATIONAL PLC(BLACKROCK INC.)                            1/26/2016
   90              5          ENDO INTERNATIONAL PLC(HYATT MICHAEL)                              2/1/2016    12/31/2015
   91             4/A         ENDO INTERNATIONAL PLC(HYATT MICHAEL)                              2/1/2016    2/28/2014
   92          SC 13G/A       ENDO INTERNATIONAL PLC(VANGUARD GROUP INC)                        2/11/2016
   93           SC 13G        ENDO INTERNATIONAL PLC(FMR LLC)                                   2/12/2016
   94          SC 13G/A       ENDO INTERNATIONAL PLC(SCULPTOR CAPITAL LP) (OZ MANAGEMENT LP)    2/16/2016
   95          SC 13G/A       ENDO INTERNATIONAL PLC(JANUS CAPITAL MANAGEMENT LLC)              2/16/2016
   96          SC 13G/A       ENDO INTERNATIONAL PLC(CAPITAL RESEARCH GLOBAL INVESTORS)         2/16/2016
   97              4          ENDO INTERNATIONAL PLC(LORTIE BRIAN)                              2/24/2016    2/22/2016
   98              4          ENDO INTERNATIONAL PLC(RUDIO DANIEL)                              2/24/2016    2/22/2016
   99              4          ENDO INTERNATIONAL PLC(LORTIE BRIAN)                              2/25/2016    2/23/2016
   100             4          ENDO INTERNATIONAL PLC(RUDIO DANIEL)                              2/25/2016    2/23/2016
   101             4          ENDO INTERNATIONAL PLC(UPADHYAY SUKETU)                           2/25/2016    2/23/2016
   102             4          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)                    2/25/2016    2/23/2016
   103             4          ENDO INTERNATIONAL PLC(HALL SUSAN)                                2/25/2016    2/23/2016
   104             4          ENDO INTERNATIONAL PLC(DE SILVA RAJIV)                            2/25/2016    2/23/2016
   105             4          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                           2/25/2016    2/23/2016
   106           10-K         ENDO INTERNATIONAL PLC                                            2/29/2016    12/31/2015
   107            8-K         ENDO INTERNATIONAL PLC                                            2/29/2016    2/29/2016



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Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                 Company (Filer)                         Received     Period
   108             4          ENDO INTERNATIONAL PLC(RUDIO DANIEL)                              3/1/2016    2/26/2016
   109             4          ENDO INTERNATIONAL PLC(UPADHYAY SUKETU)                           3/1/2016    2/26/2016
   110             4          ENDO INTERNATIONAL PLC(LORTIE BRIAN)                              3/1/2016    2/26/2016
   111            8-K         ENDO INTERNATIONAL PLC                                            3/2/2016    3/2/2016
   112             4          ENDO INTERNATIONAL PLC(SPENGLER WILLIAM)                          3/3/2016    3/1/2016
   113             4          ENDO INTERNATIONAL PLC(SMITH JILL D.)                             3/3/2016    3/1/2016
   114             4          ENDO INTERNATIONAL PLC(MONTAGUE WILLIAM P)                        3/3/2016    3/1/2016
   115             4          ENDO INTERNATIONAL PLC(KIMMEL ROGER H)                            3/3/2016    3/1/2016
   116             4          ENDO INTERNATIONAL PLC(HYATT MICHAEL)                             3/3/2016    3/1/2016
   117             4          ENDO INTERNATIONAL PLC(HUTSON NANCY J)                            3/3/2016    3/1/2016
   118             4          ENDO INTERNATIONAL PLC(HIGGINS ARTHUR J)                          3/3/2016    3/1/2016
   119             4          ENDO INTERNATIONAL PLC(COOKE SHANE)                               3/3/2016    3/1/2016
   120             4          ENDO INTERNATIONAL PLC(DE SILVA RAJIV)                            3/4/2016    3/2/2016
   121             4          ENDO INTERNATIONAL PLC(LORTIE BRIAN)                              3/4/2016    3/2/2016
   122             4          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)                    3/7/2016    3/7/2016
   123             4          ENDO INTERNATIONAL PLC(DE SILVA RAJIV)                            3/7/2016    3/7/2016
   124            8-K         ENDO INTERNATIONAL PLC                                            3/11/2016   3/11/2016
   125             4          ENDO INTERNATIONAL PLC(HALL SUSAN)                                3/14/2016   3/11/2016
   126             4          ENDO INTERNATIONAL PLC(KIMMEL ROGER H)                            3/14/2016   3/11/2016
   127             4          ENDO INTERNATIONAL PLC(SPENGLER WILLIAM)                          3/16/2016   3/16/2016
   128             4          ENDO INTERNATIONAL PLC(SPENGLER WILLIAM)                          3/17/2016   3/17/2016
   129             3          ENDO INTERNATIONAL PLC(VARGHESE HEMANTH JACOB)                    3/17/2016   3/7/2016
   130            8-K         ENDO INTERNATIONAL PLC                                            3/17/2016   3/17/2016
   131            8-K         ENDO INTERNATIONAL PLC                                            3/21/2016   3/21/2016
   132             4          ENDO INTERNATIONAL PLC(DE SILVA RAJIV)                            3/22/2016   3/18/2016
   133         PRE 14A        ENDO INTERNATIONAL PLC                                            3/23/2016   6/7/2016
   134        CT ORDER        ENDO INTERNATIONAL PLC                                            4/5/2016
   135         SC 13G/A       ENDO INTERNATIONAL PLC(CAPITAL RESEARCH GLOBAL INVESTORS)         4/8/2016
   136            4/A         ENDO INTERNATIONAL PLC(MONTAGUE WILLIAM P)                        4/21/2016   3/1/2016
   137         DEFA14A        ENDO INTERNATIONAL PLC                                            4/28/2016
   138         DEF 14A        ENDO INTERNATIONAL PLC                                            4/28/2016   6/9/2016
   139             4          ENDO INTERNATIONAL PLC(VARGHESE HEMANTH JACOB)                    5/2/2016    4/29/2016
   140             4          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)                    5/2/2016    4/29/2016
   141             3          ENDO INTERNATIONAL PLC(SISITSKY TODD BENJAMIN)                    5/5/2016    5/5/2016
   142          SC 13D        ENDO INTERNATIONAL PLC(TPG GROUP HOLDINGS (SBS) ADVISORS, INC.)   5/5/2016
   143         DEFA14A        ENDO INTERNATIONAL PLC                                            5/5/2016
   144         DEFR14A        ENDO INTERNATIONAL PLC                                            5/5/2016
   145            8-K         ENDO INTERNATIONAL PLC                                            5/5/2016    5/3/2016
   146           10-Q         ENDO INTERNATIONAL PLC                                            5/6/2016    3/31/2016
   147             4          ENDO INTERNATIONAL PLC(INGRAM DOUGLAS S)                          5/9/2016    5/5/2016
   148             3          ENDO INTERNATIONAL PLC(INGRAM DOUGLAS S)                          5/9/2016    5/5/2016
   149             4          ENDO INTERNATIONAL PLC(KIMMEL ROGER H)                            5/11/2016   5/10/2016
   150             4          ENDO INTERNATIONAL PLC(HIGGINS ARTHUR J)                          5/11/2016   5/10/2016
   151             4          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                           5/11/2016   5/10/2016
   152             4          ENDO INTERNATIONAL PLC(HIGGINS ARTHUR J)                          5/12/2016   5/11/2016
   153             4          ENDO INTERNATIONAL PLC(RUDIO DANIEL)                              5/18/2016   5/16/2016
   154            4/A         ENDO INTERNATIONAL PLC(INGRAM DOUGLAS S)                          5/18/2016   5/5/2016
   155         SC 13D/A       ENDO INTERNATIONAL PLC(TPG GROUP HOLDINGS (SBS) ADVISORS, INC.)   5/20/2016
   156         DEFA14A        ENDO INTERNATIONAL PLC                                            5/27/2016
   157            SD          ENDO INTERNATIONAL PLC                                            5/31/2016
   158            8-K         ENDO INTERNATIONAL PLC                                            6/10/2016   6/9/2016
   159        CT ORDER        ENDO INTERNATIONAL PLC                                            7/1/2016
   160        CT ORDER        ENDO HEALTH SOLUTIONS INC.                                        7/5/2016
   161         SC 13G/A       ENDO INTERNATIONAL PLC(FMR LLC)                                   7/11/2016



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Source: Edgar Pro (http://pro.edgar-online.com/)

 Count        Form Type                                Company (Filer)                    Received      Period
   162            8-K         ENDO INTERNATIONAL PLC                                      7/18/2016    7/18/2016
   163            8-K         ENDO INTERNATIONAL PLC                                       8/8/2016     8/8/2016
   164           10-Q         ENDO INTERNATIONAL PLC                                       8/9/2016    6/30/2016
   165             4          ENDO INTERNATIONAL PLC(UPADHYAY SUKETU)                     8/15/2016    8/11/2016
   166             4          ENDO INTERNATIONAL PLC(CIAFFONI JOSEPH)                     8/18/2016    8/16/2016
   167             3          ENDO INTERNATIONAL PLC(CIAFFONI JOSEPH)                     8/18/2016    8/15/2016
   168             4          ENDO INTERNATIONAL PLC(UPADHYAY SUKETU)                     9/27/2016    9/24/2016
   169             4          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                     9/28/2016    9/26/2016
   170            8-K         ENDO INTERNATIONAL PLC                                      9/28/2016    9/22/2016
   171            8-K         ENDO INTERNATIONAL PLC                                      9/29/2016    9/23/2016
   172        CT ORDER        ENDO INTERNATIONAL PLC                                      10/4/2016
   173            8-K         ENDO INTERNATIONAL PLC                                      10/21/2016   10/20/2016
   174            8-K         ENDO INTERNATIONAL PLC                                      11/7/2016    11/7/2016
   175             3          ENDO INTERNATIONAL PLC(PERA ANTONIO R)                      11/8/2016    11/1/2016
   176             3          ENDO INTERNATIONAL PLC(COUGHLIN TERRANCE J)                 11/8/2016    11/1/2016
   177           10-Q         ENDO INTERNATIONAL PLC                                      11/8/2016    9/30/2016
   178            8-K         ENDO INTERNATIONAL PLC                                      11/8/2016    11/8/2016
   179             4          ENDO INTERNATIONAL PLC(KIMMEL ROGER H)                      11/16/2016   11/15/2016
   180             3          ENDO INTERNATIONAL PLC(COLEMAN BLAISE)                      11/22/2016   11/22/2016
   181            8-K         ENDO INTERNATIONAL PLC                                      12/8/2016    12/7/2016
   182           8-K/A        ENDO INTERNATIONAL PLC                                      12/9/2016    12/9/2016
   183            8-K         ENDO INTERNATIONAL PLC                                      12/22/2016   12/21/2016
   184           8-K/A        ENDO INTERNATIONAL PLC                                      12/22/2016   12/22/2016
   185             4          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)               1/3/2017    12/31/2016
   186            8-K         ENDO INTERNATIONAL PLC                                       1/9/2017     1/9/2017
   187         SC 13G/A       ENDO INTERNATIONAL PLC(BLACKROCK INC.)                      1/24/2017
   188            8-K         ENDO INTERNATIONAL PLC                                      1/26/2017    1/26/2017
   189        CT ORDER        ENDO HEALTH SOLUTIONS INC.                                  1/27/2017
   190             4          ENDO INTERNATIONAL PLC(COLEMAN BLAISE)                      1/31/2017    1/28/2017
   191         SC 13G/A       ENDO INTERNATIONAL PLC(VANGUARD GROUP INC)                   2/9/2017
   192         SC 13G/A       ENDO INTERNATIONAL PLC(CAPITAL RESEARCH GLOBAL INVESTORS)   2/13/2017
   193         SC 13G/A       ENDO INTERNATIONAL PLC(FMR LLC)                             2/14/2017
   194             4          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)              2/23/2017    2/21/2017
   195             4          ENDO INTERNATIONAL PLC(PERA ANTONIO R)                      2/23/2017    2/21/2017
   196             4          ENDO INTERNATIONAL PLC(COLEMAN BLAISE)                      2/23/2017    2/21/2017
   197             4          ENDO INTERNATIONAL PLC(RUDIO DANIEL)                        2/23/2017    2/21/2017
   198             4          ENDO INTERNATIONAL PLC(COUGHLIN TERRANCE J)                 2/23/2017    2/21/2017
   199             4          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                     2/23/2017    2/21/2017
   200             4          ENDO INTERNATIONAL PLC(RUDIO DANIEL)                        2/27/2017    2/23/2017
   201             4          ENDO INTERNATIONAL PLC(PERA ANTONIO R)                      2/27/2017    2/23/2017
   202             4          ENDO INTERNATIONAL PLC(MALETTA MATTHEW JOSEPH)              2/27/2017    2/23/2017
   203             4          ENDO INTERNATIONAL PLC(COUGHLIN TERRANCE J)                 2/27/2017    2/23/2017
   204             4          ENDO INTERNATIONAL PLC(COLEMAN BLAISE)                      2/27/2017    2/23/2017
   205             4          ENDO INTERNATIONAL PLC(CAMPANELLI PAUL)                     2/27/2017    2/23/2017




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Exhibit 7
Endo International plc
Market Maker Activity from 3/2015 to 2/2017
Source: Bloomberg ( ENDP US Equity <GO>, BAS <GO> )

 Number       Code                          Market Maker           Volume
    1        MSCO     MORGAN STANLEY & CO., INCORPOR             205,208,969
    2         JPMS    J.P. MORGAN SECURITIES INC.                94,965,618
    3        FBCO     CREDIT SUISSE FIRST BOSTON LLC             83,802,867
    4         UBSS    UBS SECURITIES LLC.                        70,586,226
    5        LEHM     BARCLAYS CAPITAL INC.                      66,298,877
    6        GSCO     GOLDMAN SACHS                              57,518,382
    7         FQLS    QUANTLAB SECURITIES LP                     46,747,478
    8         INCA    INSTINET CORPORATION                       43,650,946
    9        TRBT     TRADEBOT SYSTEMS, INC.                     43,217,309
   10        DBAB     DEUTSCHE BANK SECURITIES INC.              28,744,826
   11         NITE    VIRTU AMERICAS LLC                         19,855,774
   12         SBSH    CITIGROUP GLOBAL MARKETS INC.              18,172,945
   13         GTSZ    GTS SECURITIES LLC                         12,858,575
   14         IBKR    INTERACTIVE BROKERS LLC                    11,032,995
   15        WEDB     WEDBUSH MORGAN SECURITIES INC.              9,879,424
   16         JMPT    JUMP TRADING, LLC                           9,571,865
   17         NITP    VIRTU AMERICAS LLC                          8,161,739
   18        LIWW     LIME BROKERAGE LLC                          8,013,968
   19        BNPX     BNP PARIBAS SECURITIES CORP.                7,203,617
   20         INJX    INSTINET, LLC                               6,858,635
   21          ITGI   ITG INC.                                    6,505,320
   22        BERN     SANFORD C. BERNSTEIN AND CO. I              5,846,952
   23         SSIC    SCOTTRADE, INC.                             5,183,576
   24        ETCC     ELECTRONIC TRANSACTION CLEARING, INC.       4,552,900
   25         IEXG    INVESTORS EXCHANGE                          4,498,387
   26         LSCI    LEK SECURITIES CORPORATION                  4,316,906
   27         FRET    FOX RIVER EXECUTION TEHNOLOGY, LLC          4,310,414
   28         JEFF    JEFFERIES & COMPANY, INC.                   3,956,774
   29        XCAP     XAMBALA CAPITAL, LLC                        3,860,920
   30        WCHV     WELLS FARGO SECURITIES, LLC                 3,828,722
   31         LIWE    LIME BROKERAGE LLC                          3,813,877
   32         ETRS    E*TRADE CLEARING LLC                        3,277,204
   33        GEBB     GLOBAL EXECUTION BROKERS, LP                3,225,429
   34        TMBR     TIMBER HILL LLC                             3,215,841
   35        DBUL     DEUTSCHE BANK SECURITIES INC.               3,025,136
   36        CPEX     CLEARPOOL EXECUTION SERVICES                2,443,237
   37         INAT    INSTINET, LLC                               2,368,922
   38         GSCS    GOLDMAN, SACHS & CO.                        2,353,788
   39         ETBT    ELECTRONIC TRANSACTION CLEARING, INC.       2,190,253
   40        LIWA     LIME BROKERAGE LLC                          1,993,415
   41        COWN     COWEN & CO., LLC                            1,967,417
   42         NFSC    NATIONAL FINANCIAL SERVICES LL              1,953,099
   43        BKMM     BNY MELLON CAPITAL MARKETS, LLC             1,788,367
   44         ETBE    ELECTRONIC TRANSACTION CLEARING, INC.       1,669,498
   45        XBLA     XAMBALA CAPITAL, LLC                        1,604,247
   46        CDRG     CITADEL SECURITIES LLC                      1,603,583
   47         JSCA    JANE STREET CAPITAL                         1,414,777
   48        PDQM     PDQ ATS. INC.                               1,300,348
   49        BZWW     GOLDMAN SACHS EXECUTION & CLEARING, L.P.    1,291,201
   50         BTIG    BTIG, LLC                                   1,268,250
   51        PRSG     PRINCETON SECURITIES GROUP, LLC             1,242,674
   52        LIWK     LIME BROKERAGE LLC                          1,106,891
   53        BMOC     BMO CAPITAL MARKETS                         1,043,936


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Exhibit 7
Endo International plc
Market Maker Activity from 3/2015 to 2/2017
Source: Bloomberg ( ENDP US Equity <GO>, BAS <GO> )

 Number       Code                         Market Maker                Volume
   54        ATDF     AUTOMATED TRADING DESK FINANCIAL SERVICES, LLC   958,151
   55        FOMA     AMERITRADE, INC.                                 919,686
   56        CHAS     CHARLES SCHWAB AND CO. INC.                      901,848
   57        BAYC     BAY CREST PARTNERS, LLC                          890,607
   58         LIJP    LIME BROKERAGE LLC                               878,935
   59        LIME     LIME BROKERAGE LLC                               848,717
   60        WEXM     WOLVERINE EXECUTION SERVICES, LLC                830,655
   61        DRTR     DART EXECUTIONS, LLC                             803,188
   62         PIPR    PIPER JAFFRAY & CO.                              750,274
   63        SPDR     SPEEDROUTE LLC                                   682,006
   64        WEXX     WOLVERINE EXECUTION SERVICES,                    658,614
   65        BETC     BAYES CAPITAL LLC                                658,519
   66        WBPX     WHITE BAY PT LLC                                 652,477
   67        EGXW     BATS TRADING, INC.                               648,513
   68        RHCO     SUNTRUST CAPITAL MARKETS, INC.                   627,892
   69        NQRB     BRUT, LLC                                        583,886
   70        ATMC     COWEN CAPITAL LLC                                553,888
   71        ARXS     ARXIS SECURITIES LLC                             477,266
   72        CANT     CANTOR FITZGERALD & CO.                          474,514
   73        HAPX     HAP TRADING, LLC                                 474,194
   74        ETDR     ELECTRONIC TRANSACTION CLEARING, INC.            377,752
   75        CTLR     CUTLER GROUP, LP                                 310,413
   76        ETDM     ELECTRONIC TRANSACTION CLEARING, INC.            307,992
   77        CPEM     CLEARPOOL EXECUTION SERVICES, LLC                307,416
   78        WMSF     WEDBUSH SECURITIES INC.                          304,304
   79        WBET     WALLACHBETH CAPITAL LLC                          300,000
   80        DEGS     DART EXECUTIONS, LLC                             269,366
   81        MSPD     MORGAN STANLEY & CO. LLC                         268,811
   82        DCHF     DART EXECUTIONS, LLC                             254,639
   83         DFIN    ELECTRONIC BROKERAGE SYSTEMS, LLC                246,003
   84        CPET     CLEARPOOL EXECUTION SERVICES, LLC                242,005
   85        BAYS     BAYES CAPITAL LLC                                226,348
   86        WEXA     WOLVERINE EXECUTION SERVICES, LLC                210,284
   87         FILL    TRADESTATION SECURITIES, INC.                    201,311
   88        MZHO     MIZUHO SECURITIES USA INC.                       198,208
   89        HPPO     POTAMUS TRADING, LLC                             188,707
   90        ETBG     ELECTRONIC TRANSACTION CLEARING, INC.            187,240
   91        SPOT     SPOT TRADING L.L.C.                              182,319
   92        ETBV                                                      172,014
   93        LEER     LEERINK SWANN & CO., INC.                        165,410
   94        DRKW     DRESDNER KLEINWORT                               162,863
   95        GLPX     ACS EXECUTION SERVICES, LLC                      161,744
   96        GSLT     GOLDMAN SACHS & CO. LLC                          155,710
   97        BZWV     GOLDMAN SACHS EXECUTION & CLEARING, L.P.         151,926
   98        DEMA     DEMATTEO MONESS LLC                              151,300
   99        ETDX     ELECTRONIC TRANSACTION CLEARING, INC.            139,796
   100        STFL    STIFEL NICOLAUS                                  113,900
   101       FCCP     FIRST CLEARING, LLC                              112,459
   102       VNDM     VANDHAM SECURITIES CORP.                         106,570
   103       BLTR     BLOOMBERG TRADEBOOK LLC                          104,699
   104       BARD     ROBERT W. BAIRD & CO. INCORPOR                   103,669
   105       ANDG     ANDREW GARRETT, INC.                             100,140
   106       NEFO     NEWEDGE USA, LLC                                 93,640


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Exhibit 7
Endo International plc
Market Maker Activity from 3/2015 to 2/2017
Source: Bloomberg ( ENDP US Equity <GO>, BAS <GO> )

 Number       Code                        Market Maker                    Volume
   107       BAYT     BAYPOINT TRADING LLC                                89,759
   108       LTCO     LADENBURG, THALMANN & CO. INC.                      86,283
   109       SDPT     STOCK DEPOT, INC.                                   83,600
   110       GTSX                                                         83,578
   111       MLUC                                                         83,258
   112       GABE     GABELLI AND CO INC.                                 76,800
   113       JONE     JONES AND ASSOCIATES INC.                           66,990
   114       KING     C. L. KING & ASSOCIATES, INC.                       62,052
   115       WMLP     WEDBUSH SECURITIES INC.                             57,398
   116       SPTD     STOCK USA INVESTMENTS                               50,555
   117       LMGP     LIME BROKERAGE LLC                                  49,788
   118       BZYD     GOLDMAN SACHS EXECUTION & CLEARING, L.P.            48,728
   119       MLZC     ERRILL LYNCH, PIERCE, FENNER & SMITH INCORPORATED   46,465
   120       BMUR     BREAN MURRAY AND CO. INC.                           44,500
   121       NTRC     THE NORTHERN TRUST COMPANY                          43,350
   122       GLPS     ELECTRONIC BROKERAGE SYSTEMS, LLC                   41,968
   123       CLSA     CLSA AMERICAS, LLC                                  41,320
   124        SJLS    SJ LEVINSON LLC                                     39,590
   125       ADAM     CANACCORD GENUITY INC                               35,274
   126       CUPS     CUTTONE & CO., INC.                                 33,525
   127       RAFF     RAFFENSPERGER, HUGHES & CO., INC.                   30,766
   128       MKMP     MKM PARTNERS                                        28,955
   129       FNYS     FIRST NEW YORK SECURITIES CO                        28,110
   130       MICA     SPARTAN SECURITIES GROUP LTD                        25,100
   131       ETBA     ELECTRONIC TRANSACTION CLEARING, INC.               25,053
   132       SPDL     SPEEDROUTE LLC                                      24,730
   133       NORT     NORTHLAND SECURITIES, INC.                          24,420
   134        TDSI    TD SECURITIES (USA) INC.                            24,135
   135       LSTE     LIGHTSPEED TRADING LLC                              22,980
   136       DRWC                                                         22,901
   137       WSEA     WOLVERINE SECURITIES                                21,534
   138       ODNC     ODEON CAPITAL GROUP LLC                             20,000
   139       WBLR     WILLIAM BLAIR & COMPANY L.L.C.                      19,003
   140       EGAW     BATS TRADING, INC.                                  18,939
   141       MAXM     MAXIM GROUP, LLC                                    18,800
   142       WUND     WUNDERLICH SECURITIES INC.                          18,553
   143       LQNB     LIQUIDNET, INC.                                     18,046
   144       NEED     NEEDHAM AND CO.                                     16,950
   145       PERT     PERSHING TRADING COMPANY L.P.                       15,296
   146       MLZB                                                         14,880
   147       OLDM     OLD MISSION CAPITAL, LLC                            13,580
   148        PICT    PICTET OVERSEAS INC.                                13,216
   149       GMOR     LIGHTSPEED TRADING, LLC                             12,072
   150        CIST    CAPITAL INSTITUTIONAL SERVICES                      10,655
   151       VIEW     VIEWTRADE SECURITIES, INC.                          10,500
   152       CMTT     CMT TRADING LLC                                     10,382
   153       LAFC     R. F. LAFFERTY & CO., INC.                          10,250
   154       BMAK     BMA SECURITIES                                      10,000
   155        GFIS    GFI SECURITIES LLC                                  10,000
   156        SUNI    SUN TRADING, LLC                                     9,726
   157       AVON     AVONDALE PARTNERS, LLC                               8,238
   158       SDLR     SANDLER O'NEILL & PARTNERS, L.                       7,790


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Exhibit 7
Endo International plc
Market Maker Activity from 3/2015 to 2/2017
Source: Bloomberg ( ENDP US Equity <GO>, BAS <GO> )

 Number       Code                             Market Maker     Volume
   159        AGIS    AEGIS CAPITAL CORP.                        7,150
   160       WMLL                                                5,731
   161       YAMN     YAMNER AND CO. INC.                        5,100
   162       RHOX     XR SECURITIES LLC                          4,957
   163       WABR     WALL STREET ACCESS                         4,860
   164       SPHN     STEPHENS INC.                              4,665
   165       JOTA     JUMP TRADING                               4,320
   166       GELP     RBC CAPITAL MARKETS, LLC                   4,187
   167       VNDS     VANDHAM SECURITIES CORP                    3,800
   168       ALLN     ALLEN & COMPANY INCORPORATED               3,600
   169       OPCO     OPPENHEIMER & CO. INC.                     3,584
   170       BNCH     THE BENCHMARK COMPANY, LLC                 3,207
   171       NPNT     NORTHPOINT TRADING PARTNERS, LLC           2,865
   172       BELZ     ELECTRONIC BROKERAGE SYSTEMS I             2,817
   173       WSAG     WALL STREET ACCESS                         2,555
   174       VERT     THE VERTICAL GROUP, INC.                   2,100
   175       WEED     WEEDEN & CO.L.P.                           2,082
   176       RGEL                                                2,000
   177       RGLD     REGAL DISCOUNT SECURITIES, INC             2,000
   178       JPMG                                                1,800
   179       FBRC     FRIEDMAN, BILLINGS, RAMSEY & C             1,500
   180       AFCO     ALBERT FRIED AND CO.                       1,400
   181       BBNT     SCOTT AND STRINGFELLOW INC.                1,000
   182       FMCO     FIRST MANHATTAN CO                         1,000
   183       MITR     GMP SECURITIES, LLC                        1,000
   184        RJLC    RJL CAPITAL GROUP, LLC                      900
   185       SHMR     O'CONNOR & COMPANY LLC                      886
   186       LIWD     LIME BROKERAGE LLC                          800
   187        TIAD    TRIAD SECURITIES CORP                       500
   188       LMGT                                                 465
   189       IMPC     IMPERIAL CAPITAL LLC                        426
   190       WEMM     WELLS FARGO SECURITIES, LLC.                300
   191       MAPL     MAPLE SECURITIES U.S.A. INC.                248
   192       MUFG                                                 210
   193       KBWI     KEEFE BRUYETTE AND WOODS INC.               200
   194       MBTS     MB TRADING                                  200
   195        FLTL    FELTL & COMPANY, LLC                        100
   196       SWST     SOUTHWEST SECURITIES, INC.                  93
   197       DALE     ANCORA SECURITIES INC.                      75
   198       DAWA     DAIWA SECURITIES AMERICA INC.               59
   199       MACQ     MACQUARIE CAPITAL (USA) INC.                22




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Exhibit 8A
Endo International plc
US Market Short Interest as a Percentage of Float

                                                        US Short
                  Date
                                                 Interest vs. Float Ratio
                3/13/2015                                 3.87%
                3/31/2015                                 3.83%
                4/15/2015                                 3.80%
                4/30/2015                                 3.76%
                5/15/2015                                 3.85%
                5/29/2015                                 3.84%
                6/15/2015                                 3.98%
                6/30/2015                                 3.96%
                7/15/2015                                 3.95%
                7/31/2015                                 3.88%
                8/14/2015                                 3.98%
                8/31/2015                                 4.12%
                9/15/2015                                 4.27%
                9/30/2015                                 4.31%
               10/15/2015                                 4.26%
               10/30/2015                                 4.13%
               11/13/2015                                 4.11%
               11/30/2015                                 4.12%
               12/15/2015                                 4.11%
               12/31/2015                                 4.06%
                1/15/2016                                 4.20%
                1/29/2016                                 4.27%
                2/12/2016                                 4.35%
                2/29/2016                                 4.37%
                3/15/2016                                 4.34%
                3/31/2016                                 4.23%
                4/15/2016                                 4.11%
                4/29/2016                                 3.96%
                5/13/2016                                 3.99%
                5/31/2016                                 4.04%
                6/15/2016                                 4.04%
                6/30/2016                                 4.03%
                7/15/2016                                 3.98%
                7/29/2016                                 3.88%
                8/15/2016                                 3.86%
                8/31/2016                                 3.83%
                9/15/2016                                 3.90%
                9/30/2016                                 4.00%
               10/14/2016                                 3.90%
               10/31/2016                                 3.90%
               11/15/2016                                 4.00%
               11/30/2016                                 3.80%
               12/15/2016                                 3.80%
               12/30/2016                                 3.60%
                1/13/2017                                 3.60%
                1/31/2017                                 3.60%
                2/15/2017                                 3.70%
                2/28/2017                                 3.70%
Average:                                                  3.98%
Source: Bloomberg Short Interest vs. Float Ratio for Total US Market (SFUSTOTL)
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Exhibit 8B
Endo International plc
Short Interest
Source: Bloomberg

                                                                                                   Short Interest as % of:
                                       Change In Short                               1
           Date       Short Interest                     Shares Outstanding     Float
                                          Interest                                          Shares Outstanding        Float
         3/13/2015        9,983,672                         177,510,000       176,609,554         5.62%              5.65%
         3/31/2015       10,224,363       240,691           177,510,000       176,485,683         5.76%              5.79%
         4/15/2015       11,956,304      1,731,941          177,510,000       176,485,683         6.74%              6.77%
         4/30/2015       10,302,693      (1,653,611)        178,740,000       177,715,683         5.76%              5.80%
         5/15/2015       10,415,609       112,916           178,746,000       177,721,683         5.83%              5.86%
         5/29/2015       13,293,947      2,878,338          178,746,000       177,721,683         7.44%              7.48%
         6/15/2015        8,845,750      (4,448,197)        204,600,000       203,575,683         4.32%              4.35%
         6/30/2015        9,524,835       679,085           204,600,000       203,585,603         4.66%              4.68%
         7/15/2015        9,079,109       (445,726)         208,204,000       207,189,603         4.36%              4.38%
         7/31/2015        8,372,958       (706,151)         208,204,000       207,189,603         4.02%              4.04%
         8/14/2015        9,030,904       657,946           208,251,000       207,236,603         4.34%              4.36%
         8/31/2015        9,417,279       386,375           208,251,000       207,236,603         4.52%              4.54%
         9/15/2015       10,006,433       589,154           208,251,000       207,236,603         4.80%              4.83%
         9/30/2015       12,406,635      2,400,202          226,398,000       225,200,002         5.48%              5.51%
        10/15/2015       10,758,108      (1,648,527)        226,398,000       225,200,002         4.75%              4.78%
        10/30/2015        7,465,931      (3,292,177)        226,398,000       225,200,002         3.30%              3.32%
        11/13/2015        9,192,783      1,726,852          226,449,000       225,251,002         4.06%              4.08%
        11/30/2015       10,287,663      1,094,880          226,449,000       225,251,002         4.54%              4.57%
        12/15/2015       10,968,745       681,082           226,449,000       225,251,002         4.84%              4.87%
        12/31/2015       12,763,190      1,794,445          226,449,000       225,317,017         5.64%              5.66%
         1/15/2016       12,574,850       (188,340)         226,449,000       225,317,017         5.55%              5.58%
         1/29/2016       12,699,620       124,770           226,449,000       225,317,017         5.61%              5.64%
         2/12/2016       12,953,044       253,424           226,449,000       225,317,017         5.72%              5.75%
         2/29/2016       11,876,219      (1,076,825)        226,449,000       225,317,017         5.24%              5.27%
         3/15/2016       10,577,336      (1,298,883)        222,203,000       221,071,017         4.76%              4.78%
         3/31/2016        9,146,322      (1,431,014)        222,203,000       220,888,131         4.12%              4.14%
         4/15/2016        6,898,886      (2,247,436)        222,203,000       220,888,131         3.10%              3.12%
         4/29/2016        6,037,696       (861,190)         222,661,000       221,346,131         2.71%              2.73%
         5/13/2016        9,137,196      3,099,500          222,661,000       221,346,131         4.10%              4.13%


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Exhibit 8B
Endo International plc
Short Interest
Source: Bloomberg

                                                                                                                              Short Interest as % of:
                                                                  Change In Short                               1
              Date                     Short Interest                               Shares Outstanding     Float
                                                                     Interest                                          Shares Outstanding        Float
           5/31/2016                     13,001,630                 3,864,434          222,661,000       221,346,131         5.84%              5.87%
           6/15/2016                     14,271,857                 1,270,227          222,661,000       221,346,131         6.41%              6.45%
           6/30/2016                     13,501,494                  (770,363)         222,661,000       221,405,278         6.06%              6.10%
           7/15/2016                     14,249,136                  747,642           222,661,000       221,405,278         6.40%              6.44%
           7/29/2016                     13,407,153                  (841,983)         222,661,000       221,405,278         6.02%              6.06%
           8/15/2016                     11,962,171                 (1,444,982)        222,767,000       221,511,278         5.37%              5.40%
           8/31/2016                     13,712,139                 1,749,968          222,767,000       221,511,278         6.16%              6.19%
           9/15/2016                     16,003,377                 2,291,238          222,767,000       221,511,278         7.18%              7.22%
           9/30/2016                     12,911,376                 (3,092,001)        222,767,000       221,514,877         5.80%              5.83%
           10/14/2016                    12,384,575                  (526,801)         222,767,000       221,514,877         5.56%              5.59%
           10/31/2016                    12,482,342                   97,767           222,767,000       221,514,877         5.60%              5.63%
           11/15/2016                    13,070,230                  587,888           222,877,000       221,624,877         5.86%              5.90%
           11/30/2016                    12,309,118                  (761,112)         222,877,000       221,624,877         5.52%              5.55%
           12/15/2016                    13,927,717                 1,618,599          222,877,000       221,624,877         6.25%              6.28%
           12/30/2016                    13,936,981                 1,454,639          222,877,000       221,849,758         6.25%              6.28%
           1/13/2017                     15,755,289                 1,818,308          222,877,000       221,849,758         7.07%              7.10%
           1/31/2017                     20,079,893                 4,324,604          222,877,000       221,849,758         9.01%              9.05%
           2/15/2017                     20,813,866                  733,973           222,877,000       221,849,758         9.34%              9.38%
           2/28/2017                     19,769,805                 (1,044,061)        222,877,000       221,849,758         8.87%              8.91%
Average:                                 11,953,088                  238,968           215,724,229       214,574,539         5.55%              5.58%
Minimum:                                 6,037,696                  (4,448,197)        177,510,000       176,485,683         2.71%              2.73%
Maximum:                                 20,813,866                 4,324,604          226,449,000       225,317,017         9.34%              9.38%

[1] Float is equal to shares outstanding less insider holdings.




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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                     99 8%          99 9%          98 1%          98 2%          97 9%           95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                        19,687,995     10,224,363      9,524,835     12,406,635     12,763,190       9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                   153,879,000    177,510,000    204,600,000    226,398,000    226,449,000     222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                  900,446      1,024,317      1,014,397      1,197,998      1,131,983       1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                          172,303,503    186,487,874    209,000,263    233,312,786    233,013,469     220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                         439            536            572            556            560             553            506            493            487             404

Institution/Individual                               12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015      3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Campanelli (Paul V)                                             0              0              0        185,969         188,069        188,069        104,274        102,293         102,293        103,527
Coleman (Blaise)                                                0              0              0              0               0              0              0              0           3,153          1,923
Cooke (Shane M)                                             2,743          6,179          6,179          6,179          10,179         10,179         17,290         17,290          17,290         17,290
Coughlin (Terrance John)                                        0              0              0              0               0              0              0              0         120,337        119,792
De Silva (Rajiv)                                          221,992        291,282        235,689        235,689         244,695        341,313        355,010        355,010               0              0
Degolyer Donald W                                             662            185            185            185             185            185            185            185               0              0
Delucca (John J)                                           30,556         32,343         32,343         32,343               0              0              0              0               0              0
Gergel (Ivan P)                                            34,053         34,053         34,053         34,053               0              0              0              0               0              0
Hall (Susan T)                                                  0              0              0              0               0              0          4,826          4,826               0              0
Higgins (Arthur J)                                         13,528         19,255         22,771         22,771          22,771         34,623         50,623         50,623          50,623         50,623
Hutson (Nancy J)                                           22,928         26,364         32,879         32,879          32,879         36,577         36,577         36,577          36,577         31,252
Hyatt (Michael)                                           283,187        284,974        259,974        259,974         261,974        265,672        260,672        260,672         260,672        260,672
Ingram (Douglas S)                                              0              0              0              0               0              0          4,890          4,890           4,890          4,890
Kimmel (Roger H)                                          172,032        178,775        227,137        227,137         248,362        263,362        265,362        265,362         258,362        258,362
Levin (Alan G)                                             58,556         58,556              0              0               0              0              0              0               0              0
Lortie (Brian)                                                  0         16,784         16,784         16,784          17,484         25,265         25,265         25,265          25,265         25,265
Maletta (Matthew Joseph)                                        0              0              0              0               0              0            721            721             349            738
Manogue (Caroline B)                                       34,563         25,645         43,100         43,100               0              0              0              0               0              0
Montague (William P)                                        4,701          8,137         35,530         35,530          35,530         39,228         39,228         39,228          39,228         39,228
Pera Antonio R                                                  0              0              0              0               0              0              0              0          19,022         18,775
Rudio Daniel A                                                  0             73             73             73              73            735            735            735             735            136
Smith (Jill D)                                             14,300         16,087         16,087         16,087          16,087         19,785         19,785         19,785          19,785         19,785
Spengler (William F)                                        4,563          6,350         43,137         43,137          43,137         48,835         48,835         48,835          48,835         48,835
Upadhyay (Suketu P)                                         2,082         19,275          8,476          6,108          10,558         37,691         18,543         16,925          16,925         16,925
Varghese (Hemanth Jacob)                                        0              0              0              0               0          3,350          2,901          2,901           2,901          2,901
1832 Asset Management L P                                       0              0              0              0               0              0              0              0           1,820          1,485
1919 Investment Counsel, LLC                                    0            600            630          5,614             580            580              0              0               0              0
300 North Capital, LLC_NLE                                      0         28,620              0              0               0              0              0              0               0              0
A R T Advisors, LLC                                             0              0         17,037              0               0              0              0              0               0        413,626
Aberdeen Asset Investments Limited                              0          2,484          4,235          4,899          12,617         12,801         12,040         12,040          10,031              0
Aberdeen Asset Managers Ltd                                     0         28,086         31,057         32,203          53,635         52,058         39,808         37,261          39,926              0
ABN AMRO Investment Solutions (AAIS)                            0             26            436          2,253           2,253            279             85          1,522           1,345              0
Absolute Return Capital, LLC_NLE                            4,003         10,679              0         23,798               0              0              0              0               0              0
Acadian Asset Management LLC                                    0              0              0              0               0              0            530          1,088       2,663,692      1,593,146
Acker Finley, Inc                                               0              0              0              0               0              0              0              0          14,100         14,100
Acrospire Investment Management LLC_NLE                         0              0              0              0               0              0          3,300          7,897          18,806          7,191
ACTIAM N V                                                    151            155            166            303           2,830         29,851         34,046         48,045          44,792            316
Ada Investment Management, LP_NLE                           5,397          6,428              0              0               0              0              0              0               0              0
Adage Capital Management, L P                                   0        262,000        160,000         96,900               0              0              0              0               0              0
Addison Capital Co                                              0          4,165              0              0          12,187              0              0              0               0              0
Advent Capital Management, LLC                                  0              0              0              0          50,000              0              0              0               0              0



                                                                                                                                                                                          Page 1 of 25
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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                            99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%          88 5%
Short Interest                                               19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981     24,000,542
Shares Outstanding                                          153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000    222,958,000
Shares Held by Insiders                                         900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242      1,020,919
Shares Held by Institutions                                 172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684    217,537,019
Number of Institutions With Holdings                                439            536            572            556            560            553            506            493            487            404

Institution/Individual                                      12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016     3/31/2017
Advisor Group, Inc                                                     0              0              0              0              0              0          8,050          9,190         11,701          3,379
Advisors Asset Management, Inc                                     4,300            900         46,088         38,809         19,651          6,878          4,967          3,628          2,297              0
Advisors Capital Management, LLC                                       0              0              0              0         42,954         56,294              0              0              0              0
Advisors Preferred, LLC                                                0             25            433              0              0              0              0              0              0              0
Advisory Invest GmbH                                                   0              0          2,200              0              0              0              0              0              0              0
Advisory Services Network, LLC                                     1,189          1,080          1,012          2,266              0              0              0            300            300              0
AEGON Investment Management B V                                   40,594         40,606         33,363         44,103         36,805         43,327         36,557         36,557         36,557         24,333
AGF Investments LLC                                                    0              0              0              0              0              0          7,547            576            730            499
AHL Partners LLP                                                   8,347         22,711         26,656          3,328              0              0              0              0              0              0
Airain Ltd                                                             0              0        127,662         14,415              0              0        128,005         86,118              0              0
AJO, LP                                                           25,300         25,300         25,300              0              0              0         20,190         20,190         20,190         20,190
Alean (Capital) Anstalt                                                0              0              0              0              0              0         83,000         83,000         83,000         83,000
Aletti Gestielle SGR S p A _NLE                                        0              0              0              0              0              0              0              0              0         30,000
Alfred Berg Kapitalforvaltning AS                                  2,275          3,057          3,057          3,057          1,073          1,073              0              0              0              0
Algert Global LLC                                                      0              0              0              0              0              0              0              0        142,384        179,018
Allen & Company LLC                                                5,325          7,213         15,154         16,217              0              0              0              0              0              0
AllianceBernstein L P                                            253,530        311,182        329,996        351,930        365,596        363,873        403,075        358,309        354,402        188,534
Allianz Global Investors GmbH                                      2,449          2,449        101,700              0         34,098         59,198         27,342              0            251              0
Allianz Global Investors Taiwan Ltd                                    0              0         21,000         43,000              0              0              0              0         72,700              0
Allianz Global Investors U S LLC                                 161,449        151,895        169,645        226,650         85,995              0            600              0        273,106              0
AlphaOne Capital Partners, LLC                                     3,594              0              0              0              0              0              0              0              0              0
Alpine Global Management, LLC                                          0              0            920              0              0              0              0              0              0              0
Alps Advisors, Inc                                                     0              0              0              0              0              0        312,798        283,992        214,182        204,155
Altegris Advisors, LLC                                             7,978              0              0              0         28,534          8,530              0              0              0              0
Alyeska Investment Group, L P                                          0              0              0              0              0        603,941              0              0              0              0
Amalgamated Bank Institutional Asset Management & Custody          4,461          6,198          6,367          7,485          6,154          8,269         28,122         28,108         31,738         32,357
AmericaFirst Capital Management, LLC                                   0              0              0              0              0              0              0              0              0         25,616
American Century Investment Management, Inc                    1,302,247      1,138,587      1,200,066      1,201,714              0              0              0              0              0              0
American Financial Group, Inc                                          0              0              0              0              0        447,880        807,880        807,880        807,880        807,880
American National Bank & Trust                                       946            712            712            712            445              0              0              0              0              0
American National Insurance Co                                   114,550        114,550        114,550        114,550        114,550        114,470        126,880        126,880        126,880        126,880
American National Registered Investment Advisor, Inc               3,625          3,625          3,625          3,625          3,625              0              0              0              0              0
Ameritas Investment Partners, Inc                                 22,598          3,311          3,761          3,907          7,717          7,717              0              0              0         58,495
Amici Capital, LLC_NLE                                                 0        153,146              0              0         49,110         49,110         49,110              0              0              0
AMP Capital Investors Limited                                     32,811         41,036         51,536         69,436         62,436         87,978        303,805         86,538         88,273         11,111
Amundi Asset Management                                          317,008         69,196         32,652        180,540        102,000        231,019        176,046         42,389        662,128         25,931
Amundi Pioneer Asset Management, Inc                             389,510        512,974        562,603        541,141        229,122        140,434         28,618         28,618         28,618         28,618
Analytic Investors, LLC_NLE                                            0              0              0              0              0              0              0              0            507        309,919
Andra AP-Fonden                                                        0              0          7,600          6,200              0         15,600         66,100              0         60,900              0
Anima SGR S p A                                                        0              0              0              0              0              0              0              0              0         30,000
Aperio Group, LLC                                                 16,566         22,639         25,344         38,192         42,468         43,200         56,092         82,295        127,477         51,530



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                          99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%          88 5%
Short Interest                                             19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981     24,000,542
Shares Outstanding                                        153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000    222,958,000
Shares Held by Insiders                                       900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242      1,020,919
Shares Held by Institutions                               172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684    217,537,019
Number of Institutions With Holdings                              439            536            572            556            560            553            506            493            487            404

Institution/Individual                                    12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016     3/31/2017
Apex Capital, LLC_NLE                                                0              0              0        200,000              0              0              0              0              0              0
APG Asset Management N V                                        51,578         51,578         63,825         79,904         79,904        262,347        386,347        386,347        466,647        351,724
AQR Capital Management, LLC                                     27,283              0              0              0         16,112         47,602      4,651,533      1,326,164        822,840      3,093,195
Aravt Global LLC                                             1,410,000      1,025,000      1,025,000      1,730,000      1,640,000        847,331              0              0              0              0
ARCA Fondi SGR S p A                                                 0              0              0              0              0              0         90,584         77,141         49,700        236,608
Archford Capital Strategies, LLC                                    21             21             21             21             21              0             21             21              0              0
Arden Asset Management LLC_NLE                                       0         23,426         23,112         23,112         23,112         23,112         23,112         23,112         23,112              0
Ardsley Advisory Partners LP                                         0              0              0              0        285,000        120,000              0              0              0              0
Argent Capital Management, LLC                                 486,790        471,799        469,099        472,079              0              0              0              0              0              0
Ariel Investments, LLC                                               0              0            571              0              0              0              0              0              0              0
Aristotle Capital Management, LLC                                    0              0              0              0              0              0            875          1,675          1,675          1,675
Arizona State Retirement System                                 96,358         96,358         96,358         57,000         55,700         55,400         50,200         48,800         49,000         82,500
Artemis Investment Management LLP                                    0              0              0              0              0              0              0              0              0        246,925
Ascend Capital, LLC_NLE                                        276,953              0              0              0        600,491              0              0      4,091,441              0         76,783
Aspen Investment Management Inc                                  3,000          3,000              0              0              0              0              0              0              0              0
Assenagon Asset Management S A                                   4,815         40,349         45,060         58,100         61,719         70,608         86,982        103,606        244,592        195,130
Asset Dedication, LLC                                                0              0              0              0            100              0              0            100              0              0
Asset Management Group of Bank of Hawaii                             0              0              0              0              0              0              0         17,740         13,030              0
Asset Management One Co , Ltd                                    3,992          3,992          3,992         42,372          3,992              0              0              0              0              0
Asset Management One USA Inc                                   350,812        336,759        289,979        282,661        280,785        209,739        223,720         19,608         21,983              0
Assetmark, Inc                                                       0              0              0              0              0             20             20             20             20             20
Asymmetry Capital Management, L P                                    0              0              0         26,600              0              0              0              0              0              0
AT Capital Management                                           58,188              0         59,103         35,610         76,905        132,063        365,999         76,288              0              0
Atalanta Sosnoff Capital, LLC                                        0         25,161              0              0              0              0              0              0              0              0
Aternalis Capital, LLC_NLE                                           0              0              0              0        215,000              0              0              0              0              0
Aurora Investment Management L L C _NLE                              0              0          4,586              0              0              0              0              0              0              0
Aveo Capital Partners, LLC                                           0              0              0              0              0              0              0              0              0         13,583
Aviva Investors France S A                                           0              0          7,900          7,900          7,430          7,430              0              0              0              0
Aviva Investors Global Services Limited                         53,190         85,398        102,618        102,794        106,016        115,223        135,268        137,735        147,368        137,735
AXA Investment Managers Paris                                      690            690         18,976         18,976         18,976         18,976         18,976         18,976              0              0
AXA Investment Managers UK Ltd                                 252,398        235,098        217,786        220,632        200,600              0              0              0              0              0
AXA Rosenberg Investment Management LLC                              0              0        113,499        113,499         96,489         96,355         85,798         85,436         85,436        109,762
AXA Rosenberg Investment Management Ltd                         13,200         13,200         13,200         13,200         13,200         13,200              0              0              0              0
Axiom Investors                                                756,530        543,210        641,830        754,980              0              0              0              0              0              0
Baader Bank AG                                                       0              0              0              0          6,000          4,500         11,700         11,700         11,700         11,700
Baillie Gifford & Co                                                 0              0              0              0              0              0              0              0        142,567              0
Balyasny Asset Management LP                                   180,622              0              0        219,787              0         75,996        350,939              0        391,970        305,200
Bank of Nova Scotia                                                  0          3,050          3,630          3,890          3,850              0              0              0              0              0
Banque Cantonale Vaudoise                                            0              0              0              0              0              0              0          2,130          2,130          2,617
Banque Degroof Petercam N V                                          0              0              0          3,995          4,003          8,011              0              0              0              0
Barclays Bank PLC (Barclays Capital Fund Solutions)              6,230          6,230          6,230          6,230          6,230          6,230          6,230              0              0              0



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                         99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%          88 5%
Short Interest                                            19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981     24,000,542
Shares Outstanding                                       153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000    222,958,000
Shares Held by Insiders                                      900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242      1,020,919
Shares Held by Institutions                              172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684    217,537,019
Number of Institutions With Holdings                             439            536            572            556            560            553            506            493            487            404

Institution/Individual                                   12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016     3/31/2017
Barclays Capital                                              156,838         80,918        130,058        153,480        192,146        156,828         71,660         28,311        350,291        148,730
Barclays Capital Inc                                            7,330          1,835        102,463        108,067         78,767        105,340        198,938         92,510         29,522         41,570
Barings LLC                                                     7,300          8,700         13,400         45,000         22,700         73,800         52,800        133,600        148,500        148,500
Barrow, Hanley, Mewhinney & Strauss, LLC                            0         21,600         21,600         34,700         27,573        409,458              0              0              0              0
BayernInvest Kapitalanlagegesellschaft mbH                      1,500          1,500          2,500          2,500          2,500          2,500              0              0              0              0
Bayesian Capital Management, LP                                     0              0              0              0              0              0              0         36,600              0              0
BBVA Asset Management, S A , S G I I C                              0            204            204          4,801          3,780          2,995          2,921          2,900          3,714          6,613
BBVA Compass                                                    4,150          4,150          4,150              0              0              0              0              0              0              0
Bellevue Asset Management AG                                   40,000        116,000        188,000        158,000        171,000        171,000         52,000        190,000        124,000        115,000
Bellevue Research, Inc                                         17,400         30,000         18,000         18,000         18,000         18,000         18,000         18,000         18,000         18,000
Bennett Lawrence Management, LLC_NLE                                0              0              0         13,200              0              0              0              0              0              0
Bessemer Trust Company, N A (US)                                  327              0              0             69             64              0              0              0          1,335          1,230
BG Fund Management Luxembourg S A                                   0              0              0          4,200              0              0              0              0              0              0
BlackRock (Netherlands) B V                                    20,971         25,597         28,746         30,928         32,569         46,080         42,364         40,558         43,140         31,394
BlackRock (Singapore) Limited                                       0          1,498              0              0              0              0              0              0              0              0
BlackRock Advisors (UK) Limited                               226,392        123,051        103,402        114,845        124,745        126,650        118,089        117,241        139,009          4,698
Blackrock Alternative Advisors                                  1,387              0              0              0              0              0              0              0              0              0
BlackRock Asset Management Australia Limited                      417            417            417              0              0              0              0              0              0              0
BlackRock Asset Management Canada Limited                       7,948        106,087        119,595        124,750        130,472        132,373        137,340        133,110        140,839         11,424
BlackRock Asset Management Deutschland AG                           0              0              0              0         37,441         35,233         35,707              0              0              0
BlackRock Asset Management Ireland Limited                    137,825        398,039        438,847        451,792        497,910        529,966        552,955        523,666        630,763         34,736
BlackRock Financial Management, Inc                           140,711        222,412        233,811        277,380        440,008        341,221        454,897        445,437        465,312        271,684
BlackRock Institutional Trust Company, N A                 10,610,539      9,730,264     10,598,808     11,843,060     11,883,675     12,121,716     12,684,151     12,751,644     13,333,566     19,125,175
BlackRock International Ltd                                    45,899         54,844         59,120         62,722         67,613         72,711         71,984         91,970         63,307         35,888
BlackRock Investment Management (Australia) Ltd                40,448         50,306         51,807         56,094         57,194         57,494         58,108         51,939         61,752            926
BlackRock Investment Management (UK) Ltd                      388,385        609,005        747,992        773,449        818,872        832,544        978,289        984,304        992,698        622,692
BlackRock Investment Management, LLC                          424,722        335,973        421,527        442,774        450,662        442,061        453,651        450,904        464,158        689,618
BlackRock Japan Co , Ltd                                      169,586        194,546        237,437        247,250        265,791        264,975        264,837        268,072        270,101              0
Blackstone Alternative Investment Advisors LLC                  2,954         37,348         37,348         37,348         37,348        241,345              0              0              0              0
Blue Jay Capital Management, LLC_NLE                                0        175,000              0              0        255,080              0              0              0              0              0
Blue Ridge Capital, L L C _NLE                              4,409,000      4,939,000      4,200,000      4,200,000      2,050,000              0              0              0              0              0
BlueCrest Capital Management LLP                                    0         54,405              0              0              0              0              0              0              0              0
Bluefin Trading, LLC                                                0              0              0              0              0        310,831              0        102,599              0              0
BlueMountain Capital Management, LLC                                0              0          1,449              0              0         94,976        199,193         76,819         60,845         20,731
BMO Asset Management Inc                                        8,200         19,200         22,300         73,808         71,687        100,870        100,163         23,122         23,122              0
BMO Asset Management U S                                        2,445          1,905          2,016          1,518              0              0            574            912              0          1,575
BMO Capital Markets (US)                                            0          1,994          1,155          1,195        687,208          1,443          1,467          1,217          1,192              0
BMO Global Asset Management                                     5,324          4,986          7,014          7,320          9,122          9,573          9,409          9,409          8,910              0
BMO Harris Bank N A                                             1,188          1,132          1,082          1,173          1,050            934            899          1,300          1,164            500
BMO Nesbitt Burns Inc                                             339            754            536          1,400            829          3,707          1,251            911            911            911
BMO Private Investment Counsel Inc                              2,438          2,438            600            600            600              0              0              0              0              0



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Available Shares Held by Institutions                       99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%          88 5%
Short Interest                                          19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981     24,000,542
Shares Outstanding                                     153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000    222,958,000
Shares Held by Insiders                                    900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242      1,020,919
Shares Held by Institutions                            172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684    217,537,019
Number of Institutions With Holdings                           439            536            572            556            560            553            506            493            487            404

Institution/Individual                                 12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016     3/31/2017
BNP Paribas Asset Management Belgium S A                          0              0              0            201             54             54             54             54             54             54
BNP Paribas Asset Management France SAS                       2,587        117,420        115,183        326,121         23,251         49,622         64,622         64,622         62,051         55,823
BNP Paribas Asset Management Nederland N V                        0              0              0             10              3              3              3              3              3              3
BNP Paribas Asset Management UK Limited                           0              0              0            162            162            162            162            162            162            162
BNP Paribas Asset Management USA, Inc                             0        106,420        104,183        309,121        248,797        244,987              0              0              0              0
BNP Paribas Securities Corp North America                     6,865        102,278        107,609        261,159        273,393        715,274        630,332        629,554        680,896        911,754
BNY Mellon Asset Management                                 547,427        600,320        642,622        676,294        679,424        680,167        679,468        673,982        685,277        791,410
BNY Mellon Wealth Management                                 17,291         18,174         19,765         23,659         21,835         28,737         16,182         29,234         23,527         35,443
BOCI-Prudential Asset Management Ltd                              0              0              0          4,327          4,327          2,584          2,584          2,584          2,584         22,245
BofA Global Research (US)                                   220,846         71,282         73,964        102,798        129,302         70,072         65,445        139,248        597,780        612,339
Bogle Investment Management, L P                                  0              0              0              0              0              0              0              0        770,969      1,117,897
Boothbay Fund Management, LLC                                     0              0              0          4,557              0              0              0              0              0              0
Bosera Asset Management Co , Ltd                                  0              0            392            392            339            339            337            337            362            362
Boston Partners                                                   0              0              0              0        219,427        219,427              0              0              0              0
BPI Gestão de Activos - S G F I M , S A                           0              0              0              0              0              0              0              0              0          1,079
Brahman Capital Corp                                      2,787,228      2,859,828      2,152,857      3,392,557      3,884,175              0              0              0              0              0
Brandywine Global Investment Management, LLC                      0        597,955        629,716        646,762        629,414        636,347              0              0              0              0
Brave Asset Management, Inc                                       0              0              0              0              0              0          7,650          5,650              0              0
BRC Investment Management, LLC_NLE                            9,594          8,346              0              0              0              0              0              0              0              0
Bridgewater Associates, LP                                        0              0              0              0              0              0              0        887,293      1,537,036      3,825,502
British Columbia Investment Management Corp                  16,372         72,855         71,966         70,763         62,187         62,187         91,100         53,129         46,214              0
Broadfin Capital, L L C                                           0              0              0              0              0              0      1,028,802      1,454,538      1,560,038      1,883,738
Bronfman E L Rothschild, L P                                      0              0              0              0          1,758          1,029          1,859          3,809          3,918          3,875
Brookstone Capital Management, LLC                                0              0             16             16              0              0              0              0              0              0
C WorldWide Asset Management Fondsmaeglerselskab A/S              0              0         35,000         35,000         17,500         17,500              0              0              0              0
C M Bidwell & Associates, Ltd                                     0              0              0              0              0              0              0        187,365              0              0
Caisse de Depot et Placement du Quebec                            0         78,300         89,100         92,000         88,500        287,268        238,068        224,668        174,568              0
Calamos Advisors LLC                                              0              0          6,500          4,450              0              0         18,985         18,985         18,985         18,985
California Public Employees' Retirement System              394,626        349,923        393,323        492,200        472,900        446,100        432,600        404,900        404,900        388,200
California State Teachers Retirement System                 283,767        325,086        326,456        387,410        428,102        489,681        445,599        449,599        437,999        419,099
Callan LLC                                                        0          4,900          4,900          2,800          2,800         20,973         19,226          3,200          3,200              0
Camber Capital Management LP                                      0              0              0              0              0              0      5,045,000      4,240,000      3,902,000      5,052,000
Cambria Investment Management, L P                                0             22            123            123              0              0              0              0              0              0
Candriam Belgium S A                                         18,000         18,992         15,680         19,427         32,356          8,210         96,170        133,045        120,748         77,000
Capital Fund Management S A                                       0              0              0              0              0              0              0              0              0         23,300
Capital Research Global Investors                        15,165,740     16,573,865     17,623,640     17,626,003     18,613,064     23,253,474     18,753,679     15,851,727     15,671,728     14,983,428
Capital World Investors                                     187,806        100,000              0              0              0              0              0              0              0              0
Capstone Investment Advisors, LLC                                 0              0              0          5,900              0              0              0         39,410              0              0
Carl Domino, Inc                                                  0              0              0              0              0              0              0              0         10,000              0
Carlson Capital, L P                                              0              0              0              0              0      1,100,000              0              0              0              0
CastleArk Management, LLC                                    38,175         60,600         54,050         50,850              0              0              0              0              0              0



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                        99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%          88 5%
Short Interest                                           19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981     24,000,542
Shares Outstanding                                      153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000    222,958,000
Shares Held by Insiders                                     900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242      1,020,919
Shares Held by Institutions                             172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684    217,537,019
Number of Institutions With Holdings                            439            536            572            556            560            553            506            493            487            404

Institution/Individual                                  12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016     3/31/2017
Castlemaine Partners, LLC_NLE                                      0              0              0              0              0              0            400              0              0              0
Catalyst Capital Advisors, LLC                               180,000        180,000        120,000         35,000         35,000         35,000              0              0              0              0
Central Trust & Investment Company                                 0              0              0              0          1,000              0              0              0              0              0
Century Capital Management, LLC_NLE                           77,454         64,430         62,480         66,585              0              0              0              0              0              0
CenturyLink Investment Management Company                      3,283          4,544              0              0              0              0              0              0              0              0
Ceresio Investors                                             17,800         17,800              0              0              0              0              0              0              0              0
Certium Asset Management LLC_NLE                              17,197         17,197         17,197         17,197         17,197              0              0              0              0              0
Charles Schwab Investment Management, Inc                    266,151        540,540        693,384        541,462        555,462        560,251        404,181        791,088        861,961        402,863
Chartwell Investment Partners, LLC                           289,775        370,365        425,715        720,335        355,660              0              0              0              0              0
Chatham Wealth Management                                        200              0              0              0              0              0              0              0              0              0
Checchi Capital Advisers, LLC                                      0              0              0              0              0          1,020            889              0              0              0
Chescapmanager, L L C                                              0              0         50,061              0        375,849        348,856              0              0              0              0
Chevy Chase Trust Company                                          0        138,479        160,241        170,503        171,591        172,492        174,994        165,444        165,751              0
Chicago Equity Partners, LLC                                  35,500         11,824         11,490          5,760          3,900              0              0        284,405        471,185        399,655
Chilton Investment Company, LLC                              259,381              0              0              0              0              0              0              0              0              0
Chou Associates Management Inc                                     0              0              0              0              0              0              0              0              0        950,000
CIBC Asset Management Inc                                      5,483         14,046         15,394         17,830         24,853         25,128         26,820         19,385         19,554              0
CIBC World Markets Corp                                            0              0              0              0        769,044        388,587         14,974              0         13,617              0
Citadel Advisors LLC                                       3,589,118        694,782      2,156,302        562,011        523,224      1,252,738        295,981        986,120         60,309      3,109,593
Citi Investment Research (US)                                 15,011         37,913          8,277          6,129          5,233         53,117        125,617          9,092         61,382         28,078
City National Rochdale, LLC                                        0              0              0              0            449            321            338            334            334              0
ClariVest Asset Management LLC                                     0              0              0              0              0              0              0            800              0              0
ClearArc Capital, Inc                                              0          3,802          4,869          4,979          4,936            224             53              0              0              0
ClearBridge Investments, LLC                                   9,794         12,714         12,729         12,298          9,577         10,136         10,067          9,952          9,864          9,857
Clinton Group, Inc                                                 0              0              0              0              0         66,720        191,656        190,986        104,035              0
Cloud Capital LLC                                                358            837            837            837            920            678            732            997            852            152
Clough Capital Partners, LP                                  368,700        355,655        238,800         12,842              0              0              0              0              0              0
CNA Insurance Companies                                        5,667              0              0              0              0              0              0              0              0              0
Coastland Capital LLC_NLE                                          0              0        150,500        141,494              0              0              0              0              0              0
Coatue Capital, L L C                                              0        430,000              0              0              0              0              0              0              0              0
Cobalt Capital Management, Inc                               309,500         48,300        127,600        277,200         52,000              0              0              0              0              0
Cognios Capital, LLC                                               0              0              0              0              0              0              0         63,188         71,431         82,837
Collins Capital Investments, LLC_NLE                          30,500         27,900         27,900         27,900         27,900         27,900         27,900         27,900              0              0
Columbia Threadneedle Investments (UK)                             0         99,470              0              0              0              0              0              0              0              0
Columbia Threadneedle Investments (US)                       458,054        587,991        531,674        545,307      2,458,860        625,523         73,369         87,586         70,593        554,138
Comerica, Inc                                                  1,264          1,201          1,254          2,289          1,921            808            738            702            173            528
Commerzbank AG                                                12,528         23,929         24,549          6,385         70,431         30,260         59,983         50,534         91,730        293,633
Commonwealth Bank of Australia                                   500            800          1,229          1,438          1,719          1,598          1,467          1,467          1,430          1,430
Compass Efficient Model Portfolios, LLC_NLE                        0              0              0              0              0              0          2,615          2,558          2,505              0
Conning, Inc                                                       0              0          2,750          2,950              0              0              0              0              0              0
Connor, Clark & Lunn Investment Management Ltd                     0              0              0              0          4,600        184,650        661,964        778,863      1,134,064      1,927,453



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                        99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%          88 5%
Short Interest                                           19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981     24,000,542
Shares Outstanding                                      153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000    222,958,000
Shares Held by Insiders                                     900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242      1,020,919
Shares Held by Institutions                             172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684    217,537,019
Number of Institutions With Holdings                            439            536            572            556            560            553            506            493            487            404

Institution/Individual                                  12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016     3/31/2017
Contrarius Investment Management Ltd                               0              0              0              0              0              0        737,778         57,672         57,672              0
Convergence Investment Partners, LLC                               0              0              0              0              0              0              0              0        262,067         65,870
Convergent Wealth Advisors_NLE                                     0              0              0              0            275            275              7              0              0              0
CooksonPeirce Wealth Management                                    0              0          3,520              0              0              0              0              0              0              0
Cornerstone Advisors, Inc (WA)                                     0             15             12              0              0              0              0              0            105            105
Cornerstone Capital Management Holdings LLC_NLE                    0         40,888         46,256         46,535         45,825         44,617         47,817         46,014         44,940         84,000
Corvex Management LP                                               0      1,265,561      1,579,696        584,317              0              0              0              0              0              0
Corvid Peak Capital Management, LLC                                0              0              0         96,000              0              0              0              0              0              0
CPP Investment Board                                          41,167         50,730         38,436         28,768          6,782          9,019          4,648         45,594         91,194        292,216
Creative Financial Group Ltd                                       0              0              0              0              0              0            700            200            200            400
Creative Planning, Inc                                         1,017          2,325              0          1,425            625          1,075          7,085          8,228          2,360          8,756
Credit Suisse Asset Management                               134,388        133,946        153,902        175,412        187,107        206,039        258,009        246,738        234,878        162,028
Credit Suisse Asset Management, LLC (US)                           0              0              0              0              0              0              0              0          5,874         12,807
Credit Suisse Hedging-Griffo Asset Management S A            375,679              0              0              0              0              0              0              0              0              0
Credit Suisse International                                   10,902         25,902         14,934         14,934          7,551          4,195            102            102            229            151
Credit Suisse Private Banking (Switzerland)                    9,462              0              0              0              0              0              0              0              0              0
Credit Suisse Securities (Europe) Limited                      4,472          2,773          2,363          1,706          6,680        190,605        104,896         54,489            955             26
Credit Suisse Securities (USA) LLC                           132,454        279,222        439,332        119,519      3,666,819      1,122,107        236,997         96,030         68,420         68,956
Croft-Leominster, Inc _NLE                                         0              0              0              0         80,694         37,047        106,502              0              0              0
Crossmark Global Investments, Inc                              7,845          5,575          5,905          6,715          8,845          8,545              0         34,235         67,835         31,075
Crosspoint Capital Strategies, LLC                                 0            240            210             63              0              0              0              0              0              0
CSS, LLC                                                           0         32,031          7,674          6,174          3,874              0              0              0              0              0
CTC myCFO, LLC                                                     0              0              0              0          1,161          3,260          3,602          3,690          5,736          6,943
Cubist Systematic Strategies, LLC                             59,772        110,397        204,163         85,257         12,454        284,181         15,543         16,179         16,430         33,305
Cumberland Private Wealth Management Inc                           0              0        177,475        176,335        363,435              0              0              0              0              0
Cupps Capital Management, LLC_NLE                                  0              0          7,993          9,972              0              0              0              0              0              0
Cutler Group, LP                                                   0              0              0              0              0         76,689         41,174         12,664         20,995         42,793
D E Shaw & Co , L P                                                0        250,925         20,923        254,963        865,143        207,971         47,406      2,459,841        405,619      1,730,832
D A Davidson & Co                                                  0              0            150            250          1,950          1,750          2,000          2,000          2,600          1,000
Dacheng Fund Management Co , Ltd                                   0              0            229            229            196            196            274            274          3,677          3,677
Daiwa Asset Management (Singapore) Ltd                             0              0              0              0              0              0              0              0            212            212
Daiwa Asset Management Co , Ltd                                3,600          4,100          3,900          4,600          4,900          4,900          4,900          4,900          4,900              0
Danske Bank                                                        0              0          2,300          2,300          2,300          2,600          2,600          2,600          2,600          2,600
Danske Capital                                                 1,403          2,703          1,300          1,300          3,600         24,468         50,782         42,352         61,039              0
Danske Invest Management Company S A                               0          1,300          1,300          1,300          1,300          1,300          1,300          1,300          1,300              0
Davis Selected Advisers, L P                                       0         16,900              0              0              0              0              0              0              0              0
DB Platinum Advisors                                          34,176         39,773         39,773         39,773          4,906          5,337          5,337          5,406          5,253              0
Deere & Company                                                    0              0              0              0              0         10,307         10,307              0              0              0
Deerfield Management Company, L P                                  0              0              0              0              0              0         30,000              0              0              0
Degroof Petercam Asset Management                             45,600         55,328         13,328          5,328          5,328          7,628          7,628          7,628          7,628            400
Degroof Petercam SGIIC, S A                                    4,001          4,003          4,003          3,995          4,003          8,412            801            801            801            801



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Endo International plc
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Shares Outstanding                                      153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000    222,958,000
Shares Held by Insiders                                     900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242      1,020,919
Shares Held by Institutions                             172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684    217,537,019
Number of Institutions With Holdings                            439            536            572            556            560            553            506            493            487            404

Institution/Individual                                  12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016     3/31/2017
Deimos Asset Management LLC_NLE                                    0              0              0              0         49,000              0              0              0              0              0
Deka Investment GmbH                                         100,358        100,418        105,389        103,712        127,001        127,318          9,376          9,220        125,890        116,200
DekaBank Deutsche Girozentrale                                96,612         99,512        103,358        136,518        137,416        131,602         14,402        115,828        121,228        107,200
Delta Lloyd Asset Management N V _NLE                          5,406          5,406          5,406         16,846         16,846         16,846         16,846         16,846              0              0
Deltec Asset Management, LLC                                       0              0              0              0              0        178,500        770,650        544,800        563,150        595,550
Denver Investments_NLE                                        39,678         14,118         13,749         86,570         54,725              0              0              0              0              0
Desjardins Global Asset Management                                 0              0              0              0              0         22,281         22,281         12,758         87,197         87,197
Deutsche Asset Management Americas                           308,407        221,444        212,806         54,114      2,308,303      1,732,770        565,050        568,830        549,962        956,908
Deutsche Bank AG (Germany)                                     3,577          3,578            233            409            547          1,602            532            551          9,475              0
Deutsche Bank Luxembourg S A                                       0              0              0              0              0              0              0          9,157         13,049              0
Deutsche Bank Securities Inc                                 559,081        992,095          9,221          5,016         30,220         23,374        459,361         34,860         18,346      1,023,532
Diamond Hill Capital Management Inc                                0              0         12,850         20,050         13,567         12,443              0              0              0              0
Dimensional Fund Advisors, L P                               264,296        569,250        467,363        487,827        521,592        552,341        543,488        549,338      1,437,373      3,824,529
Dimensional Fund Advisors, Ltd                                 4,612          5,205          4,787          5,366          6,504          6,405          9,105          9,105          9,305         34,568
Discovery Capital Management, LLC                          1,947,650      2,011,250      2,800,650      4,525,600      5,504,830      4,085,330              0              0              0              0
Dixon, Hubard, Feinour & Brown, Inc                                0          3,325              0              0              0              0              0              0              0              0
DNB Asset Management AB                                        1,100          1,100          1,100          1,100          1,100          5,200          5,200          5,200          5,200          5,200
DNB Asset Management AS                                       86,200         75,739         92,339         30,831         38,831        145,331         17,331         17,331         17,331              0
Dodge & Cox                                                        0          2,560          2,560              0              0              0              0              0              0              0
Dreman Value Management, L L C _NLE                                0              0              0              0              0            792         10,670         10,670              0              0
Driehaus Capital Management, LLC                             215,828        180,200        135,283         72,512         80,887              0              0              0              0              0
Dubuque Bank and Trust Company                                     0              0            747            747            747              0              0              0              0              0
DuPont Capital Management Corporation                         55,515         11,715              0              0              0              0              0              0              0              0
DWS Far Eastern Investments Limited                            1,656          1,656          1,672          1,672              0              0              0              0              0              0
DWS Investment GmbH                                           77,877        112,754        160,763         84,883        144,400        163,163        203,338        187,909        217,991         90,323
DWS Investment Management Americas, Inc                       12,838         67,964         66,067         67,923         66,731         27,586         67,186         85,553         85,553          4,595
DWS Investments UK Limited                                         0              0              0              0         29,303         42,171              0              0        200,000              0
Dynamic Technology Lab Pte Ltd                                     0              0              0              0              0         10,100              0         15,900              0              0
E Öhman J:or Fonder AB                                         3,900          3,900          3,900          4,900          4,900          4,900          4,900          4,900          4,900            700
EACM Advisors LLC_NLE                                              0              0              0          7,139          7,139          7,139          7,139          7,139          7,139          7,139
Eagle Asset Management, Inc                                   27,735         21,992         56,852         34,156         24,817              0              0              0              0              0
EARNEST Partners, LLC                                              0              0              0              0              0              0              0              0             87              0
Eaton Vance Management                                             0              0              0              0         13,201              0              0              0         13,390         13,390
Edge Wealth Management LLC                                         0              0              0              0              0            480              0              0              0              0
Edmond de Rothschild (Suisse) S A                                  0              0              0              0              0          1,200          3,090              0              0              0
Edmond de Rothschild Asset Management (France) S A           475,000              0              0              0              0        400,200        785,290      1,513,000      3,098,000      3,617,970
Elk Creek Partners, LLC                                            0         12,829          7,974         14,958         22,076         21,205         11,592              0              0              0
Elkhorn Investments, LLC_NLE                                       0              0              0              0              0              0              0              0         43,545              0
Ellington Management Group, L L C                                  0              0          4,694              0              0              0              0              0              0              0
Eminence Capital, LP                                         209,437        360,213        752,724        795,028      1,008,420              0              0              0              0              0
Employees Retirement System of Texas                          35,000              0          7,000          7,000          7,000          7,000          7,000          7,000          7,000          7,000



                                                                                                                                                                                             Page 8 of 25
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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                        99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%          88 5%
Short Interest                                           19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981     24,000,542
Shares Outstanding                                      153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000    222,958,000
Shares Held by Insiders                                     900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242      1,020,919
Shares Held by Institutions                             172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684    217,537,019
Number of Institutions With Holdings                            439            536            572            556            560            553            506            493            487            404

Institution/Individual                                  12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016     3/31/2017
Empyrean Capital Partners, LP                                      0              0              0              0        800,000      1,164,200        900,000              0              0              0
Endurant Capital Management LP                                     0              0              0              0              0              0              0        108,696         44,196              0
Engineers Gate Manager, L P                                    5,143         12,389         40,043              0              0         28,100              0              0         84,533              0
Enterprise Financial Services Corp                             5,102          5,052          5,630          5,630             42             15             15             15             15              0
Envestnet Asset Management, Inc                                    0              0          3,630          4,478          1,339          8,373          1,235              0            315            315
Eqis Capital Management, Inc                                       0              0              0              0          6,171              0              0              0              0              0
EquityCompass Investment Management, LLC                           0              0              0          9,266              0              0              0         11,178              0              0
ERSTE-SPARINVEST Kapitalanlagegesellschaft mbH                23,750         35,950         35,350         35,350         35,350              0              0              0              0              0
ETF Managers Group, LLC                                            0              0              0              0             84             84            210            378            469            607
ETF Securities Advisors LLC                                        0            108            504            602            100             95             79              0              0              0
Ethenea Independent Investors S A                                  0              0              0              0      1,875,000        647,291              0              0              0              0
Euclid Advisors LLC_NLE                                            0         64,880         15,297              0         11,127          4,010          7,920              0              0              0
Eurizon Capital S A                                                0              0              0              0             27             27             27             27              0              0
Evercore Wealth Management, LLC                                    0              0              0              0              0            100            100              0              0              0
EverPoint Asset Management, LLC_NLE                          400,000              0              0              0        100,000        150,000              0      1,125,000              0              0
ExxonMobil Investment Management, Inc                              0         42,688         45,015         47,806         46,658         49,773         53,025         50,624         45,914              0
Federated Equity Management Company of Pennsylvania           87,227          6,030          6,351          5,544          1,723          4,023          3,155          3,282          2,230        109,572
Federated Global Investment Management Corp                        0              0              0              0          2,561          8,908         13,894              0              0              0
Federated Investment Management Company                            0          6,030          6,351          5,544          4,284          8,908         13,894              0              0              0
Federated MDTA LLC                                                 0              0              0              0              0              0            432            347             20              5
Fidelity Institutional Asset Management                      480,062      1,220,526      1,543,087      1,845,074      2,956,610      2,968,381        128,010        167,110        182,910              0
Fidelity International                                             0              0              0        327,330        332,118        332,118              0              0              0            260
Fidelity Investments Canada ULC                                    0          4,255          4,255          4,255          5,588         12,073        966,500        836,500              0              0
Fidelity Management & Research Company                     2,594,780      6,969,612      9,213,065     11,355,075     13,211,495      9,099,695     32,295,897     32,210,789     33,245,738      3,973,125
Fideuram Investimenti SGR S p A                                    0              0              0              0              0         87,573              0              0              0              0
Fiera Capital Corporation                                     12,261         12,261          3,900          3,900          3,900              0              0              0              0              0
Fiera Capital Inc                                                  0              0              0              0              0              0              0              0          2,844              0
FineMark National Bank & Trust                                     0              0              0            514            739            215          1,435          2,276          2,043              0
FinEx Capital Management LLP                                       0             64             75             76             81             82             81             82             82              0
Finlabo SIM S p A                                                  0              0              0              0              0          1,700              0              0              0              0
First Allied Asset Management, Inc                             4,098          6,677          7,213          7,499          7,611              0              0         14,689         10,443              0
First Horizon Advisors, Inc                                        0              0             99              0              0              0              0              0              0              0
First Light Asset Management, LLC                              8,161          8,161          8,161          8,161          8,161          8,161              0              0              0              0
First Mercantile Trust Company                                14,500         14,250         14,250         14,250              0              0              0              0              0              0
First Midwest Trust Company                                        0          5,170          5,590          3,410              0              0              0              0              0              0
First Quadrant L P                                             8,700          4,600          4,600              0              0              0              0              0              0      2,200,356
First Trust Advisors L P                                      16,534              0        946,514         38,481        345,605        213,474        517,586        301,087        853,787      1,416,720
Fischer Francis Trees & Watts, Inc _NLE                            0              0              0              0        248,797        244,987              0              0              0              0
Fjärde AP-Fonden                                              46,431         39,615         38,104         40,242         44,389         50,517         50,303         52,070         46,555              0
Flexible Plan Investments, Ltd                                     0             25             25             25              0              0              0              0              0              0
Flinton Capital Management LLC                                     0              0              0              0              0              0              0              0         27,642         12,410



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Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                        99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                           19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                      153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                     900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                             172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                            439            536            572            556            560            553            506            493            487             404

Institution/Individual                                  12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Florida State Board of Administration                        203,513        206,079        218,375        225,532        259,104        266,694        315,107        301,257        301,645         291,297
FNY Capital Management LP                                          0              0              0              0              0            500              0              0              0               0
FNY Investment Advisers LLC                                        0              0              0              0              0              0              0              0              0             512
Fort Point Capital Partners, LLC                                   0              0              0              0              0              0              0         11,000         17,000          17,000
Foundation Asset Management, LP                              459,535        292,371        230,003        180,003        180,778        180,778              0              0              0               0
Fox Run Management, L L C                                          0              0              0              0              0         14,600              0              0              0          31,000
Franklin Advisers, Inc                                             0          2,084          2,458          2,570          2,388          2,388          2,388          2,083          2,083               0
Franklin Advisory Services, LLC                                    0              0              0              0              0              0        143,000         20,300         20,300               0
Franklin Mutual Advisers, LLC                                      0          2,080          3,067          3,067          3,068          3,068          3,068          3,068          3,068           3,068
Franklin Street Advisors, Inc                                      0              0              0              0         31,045              0              0              0              0               0
Fred Alger Management, Inc                                         0              0              0              0             93             93              0              0              0               0
FSC Securities Corporation                                       467            467            467            467            467            467            467              0              0               0
FT Options LLC                                                     0              0              0              0              0              0         20,300          6,800              0               0
Fubon Asset Management Company Ltd                                 0              0              0              0              0              0            728            728              0               0
FundLogic SAS                                                      0          1,035          2,010          3,763          2,076          2,100              0              0              0               0
Gabelli Funds, LLC                                            53,900        200,374        285,774         48,574         33,424         18,724         98,500        251,700        282,500         326,184
Galaxy Capital Trading Ltd_NLE                                 3,100          3,100          3,100          3,100              0              0              0              0              0               0
GAM Investment Management (Switzerland) AG                         0          1,700          1,700          1,700          1,700          1,700          4,178              0              0               0
Gamble Jones Investment Counsel                              109,572        130,341        157,287        168,009        173,774         50,464         14,575              0              0               0
Gargoyle Asset Management, LLC                                     0              0              0              0              0              0         20,462         20,462         29,005          29,005
Gateway Investment Advisers, LLC                                   0         19,154         21,136         22,130         23,048         16,092         15,978         15,496         14,746               0
GE Asset Management Inc _NLE                                   4,052         39,052         38,898         10,382          9,959          9,959          9,959              0              0               0
Gemmer Asset Management LLC                                      251            252            252              2             15              0              0              0              0               0
Geode Capital Management, L L C                              819,891      1,407,407      1,630,468      1,710,357      1,743,994      1,759,167      1,793,423      1,852,142      1,980,147       1,936,618
GF Fund Management Co , Ltd                                        0              0          1,592          1,592          2,812          2,812          3,056          3,056          1,040           1,040
Ghost Tree Capital, LLC                                            0              0        120,000              0              0         24,100              0              0        250,000               0
GHP Arbitrium AG                                                   0              0              0              0              0         17,000         37,000         30,000         22,000          30,000
Gideon Capital Advisors, Inc                                       0          4,924              0              0              0              0              0              0         37,024               0
Gies & Heimburger GmbH                                             0              0              0              0              0              0              0         11,900         12,930          12,930
Glassman Wealth Services LLC                                   3,868          3,868          2,904          2,904          4,838          6,344              0            329              0             151
Glaxis Capital Management, LLC                                50,300         14,350         30,860              0              0              0              0              0              0               0
Glenmede Investment Management LP                             31,966              0             39            295            100            135            175            249            828             828
Glenview Capital Management, LLC                           6,851,326      6,845,883      8,837,703      6,944,273              0              0              0      4,250,784      4,250,784      10,378,390
GLG Inc _NLE                                                       0              0              0              0              0              0            411            411            411             411
GLG LLC                                                            0         12,069        139,135              0         17,327         14,980         12,746        165,718         12,514         154,587
GLG Partners LP                                                    0              0              0        428,857        271,311              0              0              0              0               0
Global Endowment Management, LP                                3,940          3,940          3,940              0              0              0              0              0              0               0
Global Index Advisors, Inc _NLE                               12,889         15,441         14,792         20,463         22,047         22,453         22,495         17,893          8,462           8,497
Global Thematic Partners, LLC                                      0              0              0              0        984,761      1,352,726              0              0              0               0
Global X Management Company LLC_NLE                                0              0             69             74             39            359              0              0              0               0
GlobeFlex Capital, L P                                             0              0              0              0              0              0         22,390         42,390         42,420         109,332



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                           99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                              19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                         153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                        900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                                172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                               439            536            572            556            560            553            506            493            487             404

Institution/Individual                                     12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Godshalk Welsh Capital Management, Inc                              300              0              0              0              0              0              0              0              0               0
Golden Capital Management, L L C _NLE                                 0         27,278         30,117         29,935         28,828         27,118         27,101         25,379         23,266               0
Goldman Sachs & Company, Inc                                    790,521        964,165        979,304        169,427      2,919,509      1,890,572        637,689      1,049,944      1,777,882       1,757,679
Goldman Sachs Asset Management (US)                           3,999,798      2,587,089      4,147,092      4,345,387      4,352,047      1,346,615        105,435        265,033        371,410         340,678
Goldman Sachs Asset Management International                        151            151            159            159            203            203         13,609         14,903         14,903          14,903
Gotham Asset Management, LLC                                          0              0         11,516              0              0              0      1,036,004         28,677              0         744,425
Greenwich Wealth Management LLC                                 222,700        154,200        104,200         47,000         47,000         28,280         28,280         28,280         28,280          28,280
Group One Trading, L P                                           26,680          7,811         13,229         37,690              0        298,159        438,791        301,542        273,802         362,673
GS Investment Strategies, LLC                                         0              0         30,494         52,909         93,022         85,588              0              0              0               0
GSA Capital Partners LLP                                          6,508         35,395         47,776         75,543         17,077         90,744              0              0         16,237               0
Guardian Investor Services LLC                                        0          1,225          1,225          1,225          1,225          1,225          1,225          1,225          1,225               0
Guardian Life Insurance Company of America                            0            776            888          1,217            987            770            770            770            770               0
Guggenheim Investments                                           40,640        512,613        597,832        540,582        884,662        706,814      1,775,439      1,466,359      3,104,755         413,120
Guotai Asset Management Co , Ltd                                      0              0              0              0          2,800          2,800          2,700          2,700              0               0
Gupta Wealth Management Llc_NLE                                       0              0              0            236             18              0              0              0              0               0
Gutmann Kapitalanlage Aktiengesellschaft                              0              0              0              0              0              0              0              0         74,888               0
GWL Investment Management Ltd                                    59,330         77,590         90,976        100,043        101,520        107,838        138,873        150,724        143,344         163,478
Haber Trilix Advisors, LP _NLE                                      180            180              0              0              0              0              0              0              0               0
Handelsbanken Asset Management                                   11,894         13,848         15,050         19,901         23,088         27,086         29,286         32,215         32,215          32,215
Hanseatic Management Services, Inc                                    0             17             17              0              0              0              0              0              0               0
HAP Trading, LLC                                                 64,915              0              0              0              0              0         16,173         56,349              0         613,146
Harbour Capital Advisors, LLC                                         0              0              0          4,905         12,005         12,005         23,160         22,360              0           1,500
Hartford Investment Management Company                                0              0              0         12,965         13,621         12,964         12,594         12,029         11,416         122,150
Harvard Management Company, Inc                                       0              0              0        396,070              0              0              0              0              0               0
Hatteras Funds, LP                                                1,486         25,266              0              0              0              0              0              0              0               0
Hauck & Aufhäuser Asset Management Services S à r l _NLE          2,800          2,800          2,800              0              0              0              0              0              0          28,400
Hayman Capital Management, L P                                        0              0         24,779         52,634              0              0              0              0              0               0
HBK Investments, L P                                                  0              0          8,800              0              0              0              0              0              0               0
Heartland Advisors, Inc                                               0              0              0              0              0              0      1,003,000        903,000        703,000               0
Herndon Capital Management, LLC_NLE                                   0              0        698,454              0              0              0             19             19              0               0
Hexavest Inc                                                          0              0              0              0              0      1,110,721      1,021,135        960,361      1,191,533       1,237,151
Highbridge Capital Management, LLC                                    0              0              0              0              0        462,399         19,772        890,749        338,426         920,138
Highland Capital Management, L P                                      0        163,000        147,700              0              0              0              0              0              0               0
HighVista Strategies LLC                                              0              0              0              0         82,100        114,800              0              0              0               0
HL Financial Services LLC                                             0              0              0              0              0              0         30,400         36,400         37,300          52,300
Horizons ETFs Management (Canada) Inc                                 0            715            851            826            801            701            701            726            701               0
Horizons ETFs Management (US) LLC                                     0              0              0              0              0          1,728          1,927              0              0               0
Howard Hughes Medical Institute                                       0              0              0              0              0          6,295          6,658              0              0               0
HRS Management LLC                                                    0              0              0              0              0              0         20,000         20,000              0               0
HRT Financial LLC                                                     0              0              0          4,145              0              0              0              0              0               0
HSBC Bank USA, N A                                                    0              0            546              0              0              0              0              0              0               0



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Endo International plc
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Shares Outstanding                                       153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                      900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                              172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                             439            536            572            556            560            553            506            493            487             404

Institution/Individual                                   12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
HSBC Global Asset Management (France) S A                       3,230          3,730         12,696         16,265         16,265         11,470         11,470         11,470         11,470          11,470
HSBC Global Asset Management (International) Limited              268            242            242            242            242            242            242            242              0               0
HSBC Global Asset Management (UK) Limited                      35,141         88,182        113,846         64,219         52,346              0              0              0         30,988          20,263
Huber Capital Management LLC                                  309,823              0              0              0              0              0              0              0              0               0
Hudson Bay Capital Management LP                              216,000        174,000        233,000              0              0              0              0              0              0               0
Hunter Associates Investment Management LLC                         0              0              0              0              0              0              0              0              0          33,900
Huntington Private Financial Group                                  0              0              0             43             43              0              0              0              0               0
Hutchin Hill Capital, LP_NLE                                    4,100          2,400         62,400         45,500         21,500        133,000        482,400        339,800        209,900         460,000
IBM Retirement Fund                                            36,456         36,860         43,593         41,491         54,697         22,771         20,682         19,290         16,383               0
Ice Pond Lane Advisers, LLC                                         0              0              0              0              0              0              0              0        214,183               0
ICON Advisers, Inc                                                  0              0         20,000              0              0              0         14,000         18,000         18,000          74,600
ICW Group                                                           0              0              0              0              0              0              0              0         20,000          20,000
ID-Sparinvest A/S                                                   0              0          1,800          1,800          1,800          1,300          1,300          1,300          1,300               0
Ifrah Financial Services, Inc                                   3,694          3,285          3,227          3,201          3,275              0              0              0              0               0
IG Wealth Management                                                0         22,200         23,400         49,200         64,300         51,880         57,000         32,000              0               0
Iguana Healthcare Management, LLC                                   0         60,000         25,000         70,000         75,000              0              0              0              0               0
Incline Global Management, LLC                                173,205        192,635        294,084        350,924              0              0              0              0              0               0
Independent Financial Partners                                      0              0              0              0             18             14         14,510          2,310          9,823           8,198
Index Management Solutions, LLC_NLE                             5,797            110            497            470            470            470            470            470              0               0
Institutional Capital, LLC_NLE                                      0         12,373         16,253         16,253         16,253          9,500          9,500          9,500          9,500           9,500
Intact Investment Management Inc                                    0              0              0              0              0              0         14,600              0         23,400          26,800
INTECH Investment Management LLC                               54,000         54,000         54,000         54,000        449,400        449,400        449,400        449,400        449,400         449,400
Integra Capital Management Corp                                     0              0              0              0         15,380         17,770              0              0              0               0
Integre Asset Management, LLC                                       0              0              0              0         80,514         70,540              0              0              0               0
Invesco Advisers, Inc                                       1,439,837      1,320,816      1,332,815      1,326,867      1,488,011      1,713,688      2,692,636      1,885,871      1,952,574       1,190,831
INVESCO Asset Management (Japan) Ltd                            7,200          7,000          6,400          7,100          6,900          6,600          6,600          5,600          5,600               0
INVESCO Asset Management Limited                               54,436              0              0              0              0              0              0              0              0               0
Invesco Capital Management LLC                                 17,522         70,690         73,004         27,983      1,850,998      1,714,029      1,631,207        157,600        367,015         211,966
INVESCO Global Structured Products Group                            0        114,051        132,381        137,304        177,375        242,912        626,894        591,219        868,936               0
Invesco Management Group, Inc                                  14,689            372            420            445         58,518         52,762         52,430            979          1,019           9,493
Investors Capital Advisory Services_NLE                             0              0              0              0          3,572              0              0              0              0               0
Invictus RG Pte Ltd                                                 0              0              0              0              0              0              0          8,406              0               0
IPL Advisers, LLC                                                   0              0              0              0              0              0              0              0        756,264               0
Ireland Strategic Investment Fund                               1,125          1,125          1,125          1,125          1,125          1,125          1,125          1,125              0               0
Irish Life Investment Managers Ltd                              6,397         23,246         28,593         28,593         28,306         28,306         29,572         29,572         29,572          96,360
IST Investmentstiftung                                              0              0              0              0             67             69             70             70             69               0
Ivory Investment Management, LLC_NLE                                0              0              0              0              0        852,065      2,091,745              0              0               0
Ivy Investment Management Company                             200,000        150,000        102,000        125,000         70,000              0              0              0              0               0
J O Hambro Capital Management Limited                       3,424,036      3,355,337      4,172,649      3,770,830            869            869              0              0              0               0
J P Morgan Private Investments Inc (JPMPI)                     12,400          6,600          6,500          6,500          6,500          6,500          6,500          6,500          6,500               0
J P Morgan Securities LLC                                     955,851        134,972        412,395        219,791      1,661,056      1,111,282        247,814        378,186        469,372         242,412



                                                                                                                                                                                              Page 12 of 25
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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                       99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                          19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                     153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                    900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                            172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                           439            536            572            556            560            553            506            493            487             404

Institution/Individual                                 12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
J P Morgan Securities plc                                         0              0              0              0              0              0             59              0              0             863
Jackson Square Partners, LLC                                 29,070         29,070         33,570         33,570         46,213         29,070              0         86,639              0               0
Jacobi Capital Management, LLC                                    0              0              0              0              0              0            227            227            227             227
Jacobs Levy Equity Management, Inc                            7,230              0              0              0              0        677,099        568,270        596,670        464,820               0
Jana Investment Advisers Pty Ltd _NLE                             0              0              0              0             30             30             30             30             30              30
Jane Street Capital, L L C                                    3,511              0          8,235         85,197         10,731        111,279         15,839         22,831        145,368               0
Janus Henderson Investors                                17,466,514     17,802,470     17,263,593     16,263,756     10,218,896      5,705,157      2,167,933         93,947         68,201          11,487
Jefferies LLC                                                10,000         35,807         31,613         77,695          2,033         83,201        110,655         35,000              0          25,000
Jennison Associates LLC                                   1,383,951      1,913,118      2,993,408      4,055,109      3,635,673      3,550,043            350            350            350          13,600
Jensen Investment Management Inc                                  0              0              0              0              0              0         27,840         19,920         23,300          24,660
JNBA Financial Advisors Inc                                       0              0              0              0              0              0              0          1,486              0               0
Joddes, Ltd                                               2,696,449      2,696,449      2,696,449      2,696,449      2,696,449              0              0              0              0               0
JP Morgan Asset Management                                  194,888        152,114        162,329        138,733        128,199        181,629        283,155        246,166        213,008         272,600
JPMorgan Asset Management (Japan) Limited                         0              0              0              0              0              0              0          4,050          3,525           4,825
JPMorgan Asset Management U K Limited                             0              0              0              0              0              0              0          2,490              0               0
JPMorgan Private Bank (United States)                        59,724         82,079        163,930        242,059        199,022        200,323        304,236          7,078          5,720               0
Jump Trading, LLC                                                 0              0          1,964          1,964              0              0              0              0              0               0
JW Asset Management, LLC                                     11,998         22,085         22,885         13,192              0              0              0              0              0               0
K2 Advisors L L C                                             8,024              0              0              0              0              0              0              0              0               0
Kamunting Street Capital Management, L P                          0              0              0              0              0         51,000        164,946        184,346        193,740         231,740
KBC Asset Management N V                                     10,862         13,252         11,529         12,978         12,975         17,480         17,480         17,480         17,480          17,480
KBC Fund Management Limited                                       0          7,763          6,459              0              0              0              0              0              0               0
KBC Group NV                                                 62,815         25,761         26,348         10,954         12,364         14,523         13,900         16,826         17,457         468,045
Kellner Capital, LLC                                              0              1              1              1              1              1              0              0              0               0
Kennedy Capital Management, Inc                                   0              0              0              0              0              0              0        308,682        295,662         292,449
Kentucky Retirement Systems                                       0         11,948         13,682         14,289         15,811         18,781         17,420         17,026         14,394               0
Kentucky Retirement Systems Insurance Trust Fund                  0          5,707          6,615          6,958          7,797          9,250              0              0              0               0
Kentucky Teachers' Retirement System                         36,500         24,500         28,000         28,000         28,000         28,000         28,000         28,000         28,000          36,400
KeyBanc Capital Markets                                           0          2,476          2,738              0              0              0              0              0              0               0
Korea Investment Corporation                                 64,000         14,300         59,600         44,700         74,900              0              0              0              0               0
Kraus Partner Investment Solutions AG                             0              0              0              0              0              0              0              0              0          31,000
KS Management Corp                                                0              5              0              0              0              0              0              0              0               0
Ladenburg Thalmann Asset Management Inc (LTAM)                1,341          1,441          1,605          1,636            682            629          1,862          1,188          1,538           3,412
Landry Investment Management Inc                                  0              0              0              0          1,200          1,200          1,200              0          8,200           2,400
Laurion Capital Management LP                                     0              0              0         18,500              0          8,800        100,100         12,974         20,674               0
Lazard Asset Management, L L C                                    0         59,329            200              0              0          1,971          1,971          1,971          1,971           1,971
Leavell Investment Management, Inc                            3,000          3,000          3,000          3,000              0              0              0              0              0               0
Legal & General Investment Management Ltd                    39,000         39,000         39,000         66,800         72,900         73,200         73,200         72,903        952,880         923,718
Lemanik Asset Management S A                                    768            580            580            580            682              0              0              0              0               0
Lemanik S A                                                       0              0              0              0            682              0              0              0              0               0
Levin Capital Strategies, L P                                23,172         14,162              0              0              0              0              0              0              0               0



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                          99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                             19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                        153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                       900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                               172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                              439            536            572            556            560            553            506            493            487             404

Institution/Individual                                    12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Liberty Mutual Insurance Group                                  49,397         25,184         20,089         21,935         12,215         13,492         13,796         15,357         15,949          94,320
Lincoln Investment Advisors Corporation                              0              0          2,254          2,254              0          9,100          9,100          6,300         14,500          14,500
Linde, Hansen & Co , LLC                                             0              0              0              0              0              0         55,500         73,400         89,014         113,100
Live Your Vision, LLC                                                0              0              0              0              0              0              0              0              0           1,460
Livförsäkringsbolaget Skandia, ömsesidigt                       18,000         19,300         19,300         19,300         19,300         19,300         19,300         19,300         19,300               0
LMR Partners LLP                                                     0              0         31,658              0          5,352              0              0              0              0         435,136
Loeb King Capital Management_NLE                                56,284         56,284         56,284              0              0              0              0              0              0               0
Lombard Odier Asset Management (USA) Corp                       60,000         36,835              0              0              0              0              0              0              0               0
Lombard Odier Darier Hentsch & Cie                               3,000              0              0              0              0              0         38,460              0              0               0
Lombardia Capital Partners, LLC_NLE                                  0              0              0              0              0              0        141,807              0        565,717               0
Lone Pine Capital, L L C                                             0      3,270,117      3,570,117      3,859,641              0              0              0              0              0               0
Loomis, Sayles & Company, L P                                   13,652         13,652        228,385              0         58,810         58,810         49,990              0              0               0
Los Angeles Capital Management And Equity Research, Inc        263,246        307,225        329,395        159,796              0              0        486,844        335,756              0               0
Louisiana State Employees' Retirement System                    41,900         12,800         14,800         15,200         14,600         13,700         13,400         12,600         12,500          50,100
LPL Financial LLC                                                    0          4,429          4,750          5,173          6,180         36,424              0              0              0          21,040
LS Investment Advisors, LLC                                      2,065          3,656          4,032          4,742          4,224          5,414         13,661          9,668         11,455           6,167
LSV Asset Management                                                 0              0              0         52,950         54,250         54,250         54,250         54,250         54,250          54,250
Luther King Capital Management Corp                                  0          1,408          1,407          1,407              0              0              0              0              0               0
Lyxor Asset Management                                          22,509         34,486         40,870         37,239         63,072         30,919         30,854            135         31,172               0
MacKay Shields LLC                                                   0         19,687         21,989         22,597         22,198         21,271         35,911         16,106         27,488               0
Mackenzie Financial Corporation                                      0              0              0              0              0              0         57,000         44,416         12,462               0
Macquarie Investment Management                                      0              0         68,107              0              0         41,596              0              0              0               0
Macquarie Investment Management Ltd                                  0          2,800          2,800          2,800          2,800          2,800          2,800          2,800          6,500               0
Madrona Funds, LLC                                                   0              0            522            744          3,224          2,660          9,882          7,566         10,281               0
Magnetar Capital Partners LP                                         0              0        275,000        275,000        275,000         13,120              0              0              0               0
Managed Account Advisors LLC                                   536,491        535,359        532,571        429,494        246,851        118,181        102,152        198,760        179,639         193,876
Manning & Napier Advisors, LLC                                  51,120         51,120              0              0              0              0              0              0              0               0
Manulife Asset Management Limited                               81,928         85,774         99,234        106,849         87,491         87,622         89,993         92,291         93,048         151,032
Manulife Investment Management (Hong Kong) Limited                   0              0              0              0         14,147         14,147         13,695         13,695         13,695               0
Manulife Investment Management (US) LLC                        114,236         94,497        448,593        474,240        101,125        109,770         99,144         92,769        101,417         136,005
Marco Investment Management, L L C                              16,350         19,050         25,150         28,475         12,600         14,425         82,275         78,475         74,850         112,250
Mariner Investment Group LLC                                    46,000         29,600         49,600         47,500        112,500              0              0              0              0               0
Marshall Wace LLP                                               46,619        265,031        959,865        279,175        621,088          8,077         73,821              0              0               0
Marsico Capital Management, L L C                              141,147        670,339        682,390        701,841              0              0              0              0              0               0
Mason Street Advisors, LLC                                     450,499         22,861         26,110         26,945         27,194         27,230         27,592         26,820         27,134          93,743
Massachusetts Mutual Life Insurance Company                          0              0              0              0              0              0              0              0          7,230           7,230
Mawer Investment Management Ltd                                      0          7,544          8,813          9,185          9,865          9,865          9,865          9,865          9,865           9,865
McClain Value Management, LLC                                  372,887        245,089        241,818        229,597        334,302        162,729              0              0              0               0
McKinley Capital Management, LLC                                     0              0              0        396,040              0              0              0              0              0               0
Mcshane Partners                                                     0              0              0              0              0              0             60             70             60               0
Meadow Creek Investment Management LLC                               0              0              0              0              0              0              0              0         13,008           5,840



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                        99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                           19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                      153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                     900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                             172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                            439            536            572            556            560            553            506            493            487             404

Institution/Individual                                  12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
MEAG Munich ERGO Kapitalanlagegesellschaft mbH                     0              0              0              0              0              0              0              0              0         178,747
Meeder Asset Management, Inc                                       0              0              0              0              0          4,953              0          1,734          2,961          48,022
Mega International Investment Trust Co , Ltd                       0              0              0              0         11,588         11,588              0              0              0               0
Mellon Investments Corporation                             1,418,745      1,458,946      1,156,181      1,150,988      1,111,205      1,045,458      1,003,918        951,037        928,403       1,441,739
Meru Capital Group, LP                                             0         13,000              0              0              0              0              0              0              0               0
Metropolitan Life Insurance Co (US)                               89              0              0             15            239             63            184            163            163             163
MFS Investment Management                                  3,312,838      3,036,989      2,020,979      1,901,272      2,268,047      6,856,154        892,513        460,738              0               0
MFS Investment Management Canada Limited                     283,839        279,097        164,428        164,114        196,543        239,134              0              0              0               0
Michigan Department of Treasury                               73,100         68,500         78,600         75,000         71,200         70,400         71,200         69,200         64,864          80,600
Miles Capital, Inc                                                 0              0              0          5,846              0              0              0              0              0               0
Millennium Management LLC                                     19,600         97,972        275,533        136,350              0      1,205,266      1,225,350      1,829,353      1,573,485       1,650,937
Miller Value Partners, LLC                                         0              0              0              0              0              0      1,745,475      1,753,425      3,376,925       4,701,400
Mirae Asset Global Investments (USA) LLC                      18,878         18,878         18,878         18,878         18,878         18,878          2,628            726            701               0
Mirae Asset Global Investments Co , Ltd                       26,581         35,132         36,413         34,375         37,309         24,790         24,790         24,790         24,790          24,790
Mitsubishi UFJ Kokusai Asset Management Co , Ltd              19,517         23,171              0         25,525         28,441         31,179         31,491         61,091         55,659               0
Mitsubishi UFJ Morgan Stanley Securities Co , Ltd                  0              0            340            340            340            340            340            340            340             340
Mitsubishi UFJ Trust and Banking Corporation                 263,314        327,518        389,019        397,327        418,654        422,392        421,215        425,759        414,175               0
Miura Global Management, LLC                                       0              0      1,100,000      1,000,000              0              0              0              0              0               0
Mizuho Asset Management Co , Ltd _NLE                            657          1,073          1,916          2,268          2,609          1,073          2,393          1,826              0               0
Mizuho Securities USA, LLC                                         0              0              0              0              0         20,000              0              0              0          20,000
Mizuho Trust & Banking Co , Ltd                                    0         57,496              0              0              0              0              0              0              0               0
MLC Investments Limited                                            0              0              0              3             87          1,176          6,189          7,608          6,279           6,295
Mn Services Vermogensbeheer B V                                    0              0              0              0              0          5,328          5,328          5,328          5,328               0
Moisand Fitzgerald Tamayo, LLC                                     0              0              0              0              0            415              0              0              0               0
Monashee Investment Management, LLC                                0              0         60,412              0              0              0              0              0              0               0
Moneta Group Investment Advisors, LLC                          6,565          4,540          4,810          4,015              0              0              0              0              0               0
Monroe Hall Asset Management, LLC_NLE                              0              0              0              0              0        172,000        557,366              0              0               0
Monyx Asset Management                                             0              0         12,563         12,563         13,905         13,905          1,330          1,330              0               0
Moody National Bank                                            3,625          3,625          3,625          3,625          3,625              0              0              0              0               0
Moore Capital Management, LP                                       0         38,262        685,413              0         20,751              0              0              0              0               0
Morgan Stanley & Co International Plc                              0              0              0             11          1,042          1,247          2,079          3,726          9,804           2,120
Morgan Stanley & Co LLC                                       96,008         78,965        160,022         31,783      3,941,913      3,315,657        120,432        181,903        195,636         504,806
Morgan Stanley Canada Limited                                      1              1              1              1              1            101            101          1,101          3,001             401
Morgan Stanley Investment Management Inc (US)              5,101,221      4,735,043      4,128,003      3,678,958      1,295,124         13,486         61,318         48,314         19,126          23,640
Morgan Stanley Smith Barney LLC                              206,295        151,128        180,196        136,821         75,726         65,376        161,392        109,960        117,915         167,594
Mork Capital Management                                            0              0              0              0         16,000         16,000              0              0              0               0
MOTCO                                                              0             51              0              0              0              0              0              0              0               0
Motilal Oswal Asset Management Company Ltd                         0              0              0              0            491            501            402              0              0               0
Mountain Lake Investment Management LLC                            0              0              0              0              0              0              0              0         18,500               0
MSD Capital, L P                                             241,178        268,550        413,466        413,466        413,466        310,099              0              0              0               0
MSD Partners, L P                                          2,172,465      2,172,465      2,329,681      2,808,931      4,126,718              0              0              0              0               0



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Endo International plc
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Source: Thomson Reuters Eikon
Available Shares Held by Institutions                         99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                            19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                       153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                      900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                              172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                             439            536            572            556            560            553            506            493            487             404

Institution/Individual                                   12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Municipal Employees' Retirement System of Michigan             49,660          4,900          6,050          6,230          6,280          6,320          6,490          6,490          6,340          91,920
Mutual of America Capital Management LLC                       96,924         19,499         22,902         23,997         23,156         20,475         24,156         20,713         28,660         162,518
myCIO Wealth Partners, LLC                                          0             97             97         14,360         14,360         14,360         14,360         14,360         14,360               0
NCM Capital Management Group, Inc _NLE                          3,400          7,100          7,100          3,991          3,991          3,991              0              0              0               0
Nebula Capital Management_NLE                                       0              0              0         42,700         49,200         49,200              0              0              0               0
Neuberger Berman Breton Hill ULC                                4,300              0              0              0              0              0              0              0              0               0
Neuberger Berman, LLC                                         444,868        393,909        454,154        450,256         40,325         42,418              0              0              0               0
Neuburgh Advisers LLC                                               0              0              0              0              0              0              0              0         17,886           8,030
Neue Aargauer Bank AG                                               0              0              0         10,000         10,000              0              0              0              0               0
New Mexico Educational Retirement Board                             0         19,300         18,800         22,800         22,800         23,000         23,000         20,700         20,700               0
New York Life Investment Management, LLC                            0              0              0              0              0              0              0              0              0          62,000
New York State Common Retirement Fund                         360,952        439,100        417,750        479,700        517,200        512,700        559,105        430,400        774,045         632,930
New York State Teachers' Retirement System                    234,313        285,499        321,473        324,889        315,280        314,929        314,969        317,086        335,511         313,613
NEXT Financial Group, Inc                                           0              0              0              0              0              0              0            933            933               0
NHP Asset Management AG                                             0              0              0              0              0              0         12,000         12,000         12,000               0
Nicholas Investment Partners, L P                                   0         58,531         59,404         39,482              0              0              0              0              0               0
Nikko Asset Management Co , Ltd                                 3,453         49,203          4,100          4,100          4,250          4,248          4,248          4,248          4,352           4,204
Nine Chapters Capital Management LLC_NLE                            0              0              0         49,300              0              0              0              0         11,600               0
Nippon Life Global Investors Singapore Limited                      0              0              0              0              0              0              0              0          2,220           2,220
Nippon Life Insurance Company                                       0              0              0              0              0          7,610              0              0              0               0
NISA Investment Advisors, L L C                                45,540         45,440         47,540         43,040         46,940         46,740          6,100          3,700         19,200               0
Nissay Asset Management Corp                                    1,700          1,700          1,700          1,700          1,700          1,700          1,700              0              0               0
NNIP Advisors B V                                                   0              0              0              0              0              0         16,846         16,846         16,846          16,846
Nomura Asset Management Co , Ltd                               14,490         27,360         27,390         20,390         24,212         25,462         25,562         23,830         23,230               0
Nomura Asset Management Singapore Ltd                               0              0              0              0              0              0              0              0              0              25
Nomura Asset Management U S A Inc                                   0              0         10,000         10,000         10,000         10,000         10,000         10,000              0               0
Nomura Securities Co , Ltd                                          0              0          8,358         11,228         11,920              0         13,740         24,709         14,190               0
Nordea Funds Oy                                                 2,000          4,200          4,200          6,100          6,100          6,300        309,630        297,970        572,900       1,438,410
Norges Bank Investment Management (NBIM)                    1,247,774      1,177,993        213,849      1,659,869      1,586,414      1,623,180      1,900,075      2,615,545      1,635,834       3,004,429
NORINCHUKIN BANK                                                    0         10,525         11,478         11,914          9,726         10,491         10,745         10,614         12,034               0
North Tide Capital, LLC_NLE                                         0              0              0              0              0              0              0              0              0       4,500,000
Northern Trust Global Investments                              46,316        197,360        253,039        219,749        254,566        197,453        199,808        273,394        245,728          87,811
Northern Trust Global Investments Limited                     152,104        633,055        553,642        524,808        431,377        406,094        374,055        379,129        336,123          22,553
Northern Trust Investments, Inc                             1,313,908      1,462,843      1,639,328      1,665,486      1,703,952      1,667,930      1,678,546      1,637,247      1,516,455       1,571,102
NorthRock Partners, LLC                                         5,810          7,889          7,584              0              0              0              0              0              0               0
Northwestern Mutual Capital, LLC                                  441            441            441            526            441            447            447          2,984          2,581           2,477
Numeric Investors LLC                                               0              0          2,700              0              0          7,900              0              0              0               0
NumerixS Quant                                                      0              0         27,450         64,694              0        193,330              0              0          9,200               0
Nuveen Asset Management, LLC                                   67,086         19,876         20,928         21,408         21,216         62,099         61,893         34,800         33,874          81,234
Nuveen LLC                                                  2,009,526      2,921,944      2,350,236      2,383,193      2,860,882      1,725,653      1,596,063      1,870,898      1,760,433       1,463,690
Nykredit Bank AS                                                  360          1,251          1,251          1,956          1,956          1,604          1,604          1,604          1,065           1,065



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                         99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                            19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                       153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                      900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                              172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                             439            536            572            556            560            553            506            493            487             404

Institution/Individual                                   12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Oak Associates, Ltd                                                 0              0              0              0              0              0              0         95,700        138,570         191,185
OakBrook Investments, LLC                                       5,900         12,400         23,050         22,300         20,000         23,200         26,150         22,250         20,450          15,800
Oakworth Capital Bank                                             337            337            337            337            337            337            337              0              0               0
Ohio National Investments, Inc                                      0          3,800          4,400          4,500         10,300         10,300         10,300         10,300         10,300          10,300
OMERS Administration Corporation                               32,800              0         56,900              0              0          8,000              0              0              0               0
Omnia Family Wealth, LLC                                            0              0              0              0              0              0              0              0            182               0
Ontario Teachers' Pension Plan Board                                0         24,690         36,147              0              0              0              0              0              0               0
OP Asset Management Limited                                     6,647          6,647          6,647          6,647         10,102         10,102         10,102         10,102         10,102          10,102
Oppenheimer Asset Management Inc                                    0              0              0              0         11,025         10,775         14,375         14,775         11,550               0
OppenheimerFunds, Inc _NLE                                          0            984          1,008          1,008          4,536              0        570,108        523,209      1,015,475       2,873,153
Optimum Investments AG                                          1,500              0              0          1,200          1,200              0              0              0              0               0
Orbis Investment Management Ltd                               301,411        282,241        222,606              0              0              0              0              0              0               0
Oregon Public Employees Retirement System                      50,948         22,500         26,400         21,200         22,000         22,665         28,965         52,659         84,361         155,261
O'Shaughnessy Asset Management, LLC                                 0              0             29              0              0              0              0              0              0               0
Ossiam                                                              0         73,427         51,466              0              0              0              0              0              0               0
Ostrum Asset Management                                             0              0              0         70,390         74,467         41,444         67,345        122,959        120,813         110,784
OxFORD Asset Management                                             0        115,361        220,997         25,628         21,056        139,323              0              0        347,165               0
Pacer Advisors, Inc                                                 0              0          2,020          5,126          4,719          4,422         20,340              0              0               0
Palo Alto Investors LP                                              0        860,204        864,604        801,230        801,230        828,630        923,230        945,330              0               0
Paloma Partners Management Company                             35,606              0         19,997         34,580          7,625         37,140              0              0         49,400               0
PanAgora Asset Management Inc                                   3,373          8,932          7,965          8,816          9,531         26,809         34,828        270,977        284,021         235,281
Parallax Volatility Advisers, L P                                   0              0              0              0             72              0         23,486         11,747         12,695               0
Parallel Advisors, LLC                                              0              0              0              0              0              0              0              0            772           1,044
Parametric Portfolio Associates LLC                           134,248        142,671        137,100        250,638        279,091        257,046        193,490        432,382        398,335         335,277
Parametrica Management Ltd                                          0              0              0              0              0              0              0              0              0          26,167
Parasol Investment Management, LLC_NLE                             76             76             76             76             76             76             76             76              0               0
Park Avenue Institutional Advisers LLC                              0              0          1,197          1,385          1,349          1,312          1,292              0              0               0
Parkside Financial Bank & Trust                                     0              0              0              6             29             28              0             12             19               0
PartnerRe Asset Management Company                                  0          3,761          3,663          3,769          1,396          1,396              0              0              0               0
Paulson & Co Inc                                                    0              0              0      1,710,000      3,302,200      9,517,500      8,956,300      7,953,900      7,839,900       7,838,900
PCJ Investment Counsel Ltd                                          0              0              0          2,940              0              0              0              0              0               0
PDT Partners, LLC                                                   0         97,738        253,423         24,300              0              0              0              0              0               0
Peak 6 Capital Management, LLC                                      0          1,298         50,566         42,908         51,374         82,778         71,940         27,932         17,889               0
PENN Capital Management Company, Inc                                0         33,982         37,912              0              0              0              0         12,307              0               0
Pennsylvania Public School Employees Retirement System         32,974         20,364         22,770         13,380         13,601         15,170         16,402         11,323         11,371          28,986
Penserra Capital Management LLC                                     0              0              0              0             84            140            210              0              0               0
Perceptive Advisors LLC                                             0              0              0              0              0              0              0              0         12,920               0
Peregrine Asset Advisers, Inc                                       0              0          3,700              0              0              0              0              0              0               0
Peregrine Capital Management, LLC                                   0              0              0              0              0              0          5,786          3,302              0               0
Pergamon Advisors, LLC                                              0          3,384          7,468              0              0              0              0              0              0               0
Permian Investment Partners, LP                               891,450        902,050      1,618,044        485,005        842,005        810,472              0              0              0               0



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                            99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                               19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                          153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                         900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                                 172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                                439            536            572            556            560            553            506            493            487             404

Institution/Individual                                      12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
PGGM Vermogensbeheer B V                                         114,730        114,730        114,730        114,730        121,203        121,203        121,203        121,203        136,876         136,876
PGIM Investments LLC                                                   0              0              0              0              0              0              0              0          3,207           3,207
PGIM Japan Co , Ltd                                                  100            100            100            100            100            100            100            100              0               0
Pharus Management S A                                              5,700          5,700          5,700          5,700          5,700          5,700          5,700          9,766          9,766           9,766
Phoenix Investment Adviser LLC                                         0              0              0              0              0              0              0         42,000         54,100               0
Pictet Asset Management Ltd                                      113,966        155,891        155,891         65,986         67,314         69,258         73,131         82,499         82,687          25,932
Piedmont Investment Advisors, Inc                                     25             25              0              0              0              0              2              2         18,419          41,283
PIMCO (US)                                                             0          5,171              0              0              0              0              0              0              0           5,583
Pine River Capital Management, L P                                     0              0              0              0        253,571              0              0              0              0               0
PineBridge Investments LLC                                             3              3              3              0              0          2,064              0            532          4,962               0
Pitcairn                                                               0              0              0              0          4,437              0              0              0              0               0
Plante Moran Financial Advisors, LLC                                   0              0              0              0              0             31              0            133            133             133
Platte River Capital, LLC_NLE                                          0          3,478              0              0              0              0              0              0              0               0
PNC Capital Advisors, LLC                                            285          3,041          3,241          3,106          3,630          3,672          3,377          3,034          3,015           2,618
PNC Wealth Management                                              1,773          1,989          7,943          3,019          2,691          1,988         12,206          8,054          8,222           8,178
Point View Wealth Management, Inc                                      0              0              0              0              0              0              0              0         10,177          11,431
Point72 Asset Management, L P                                          0              0              0            400        396,500        228,000      2,521,434      1,762,300              0       1,775,500
Point72 Hong Kong Limited                                              0              0          1,279              0              0          1,740              0              0              0             997
PointState Capital LP                                             23,700              0              0        350,000              0              0      3,640,700      3,714,540              0               0
Polar Asset Management Partners Inc                               60,000         17,500         86,395         45,500              0              0              0              0              0               0
Polar Capital LLP                                                310,737              0        328,500        370,499              0              0              0              0              0               0
Pramerica SGR S p A                                                    0              0              0              0              0              0              0              0          3,207           3,207
Prelude Capital Management, LLC                                        0            210              0              0              0              0          9,337         13,279         38,016          29,789
Princeton Alpha Management LP_NLE                                      0          2,248         27,268         24,109              0        124,634              0         53,594              0               0
Principal Funds, Inc                                                   0         12,983              0          6,550          7,144              0         36,803         33,328          8,889           9,154
Principal Global Investors (Equity)                              408,521        242,647        273,027        298,185        304,208        289,923        298,778        303,444        310,086         810,435
Principal Global Investors (Fixed Income)                              0              0              0              0              0              0              0              0          6,073           6,198
Principal Management Corporation                                  13,444         13,444          4,040          9,503          9,243          8,150          9,388         10,446         17,619          10,475
Private Capital Advisors, Inc                                          0              0          5,250              0              0              0              0              0              0               0
Proficio Capital Partners                                              0              0              0              0             39             16              0              0              0               0
Pro-Financial Asset Management, Inc                                   50             50             50             50             50             50             50              0              0               0
ProFund Advisors LLC                                             165,726        193,327        199,496        212,939        324,226        280,089        278,231        178,690        286,297         181,280
PSP Investments                                                        0         61,600         69,800         54,900         52,700         33,500         38,900         45,700         45,700               0
Public Employees' Retirement Association of CO                   199,458        206,537        206,225        266,554        267,194        272,672         46,850         44,608         41,976          39,920
Putnam Investment Management, L L C                              848,404        551,464        308,682        184,701        184,701        184,717        639,954        267,360              0               0
Pzena Investment Management, LLC                                       0              0              0              0              0              0          4,825          2,575              0               0
QMA LLC                                                          415,447        218,990        249,620        250,000        251,090        247,990        274,590        268,115        266,205       2,170,015
QS Investors, LLC                                                  2,700          2,100          2,600          2,600          2,616          2,616          2,630          2,630          2,630          20,252
Quadrant Family Wealth Advisors                                        0              0             19             16             17              0              0              0             32               0
Qualcomm Inc /DE                                                  10,300         10,300         10,300         10,300              0              0              0              0              0               0
Quantbot Technologies, LP                                              0              0          4,510              0          8,463         47,079              0              0              0               0



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                          99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                             19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                        153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                       900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                               172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                              439            536            572            556            560            553            506            493            487             404

Institution/Individual                                    12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Quantitative Investment Management LLC                          22,600         30,900              0              0         43,300        246,000        654,800              0         68,000               0
Quantitative Systematic Strategies LLC                               0         14,527          7,654              0              0              0              0              0              0               0
Quantlab Capital Management, LLC                                     0              0              0              0              0         70,717              0              0              0               0
QUANTRES ASSET MANAGEMENT Ltd                                        0              0          7,100         78,500              0         56,400              0        157,500              0         178,400
Quants Vermögensmanagement AG                                    4,600              0              0              0              0              0              0              0              0               0
Quinn Opportunity Partners LLC                                       0              0              0              0              0         14,600         11,500         10,500              0               0
R W Rogé & Company, Inc                                            600            600            600            600            600              0              0              0              0               0
Rafferty Asset Management LLC                                        0            286         13,956         11,596         27,836         26,100         35,753              0              0               0
Rainier Investment Management, LLC                             620,590        478,970        328,460        150,910        690,450        321,820        176,790              0              0               0
Rampart Investment Management Company, LLC                           0              0              0              0              0              0              0         30,743              0             544
Raptor Capital Management LP                                    56,200              0              0              0              0              0              0              0              0               0
Ratan Capital Management LP                                    821,992        400,000              0        562,699              0              0              0              0              0               0
Rational Advisors, Inc                                           3,631          3,631          3,631          3,631              0              0              0              0              0               0
Raymond James & Associates, Inc                                      0              0         31,609         31,481         74,943         62,307        242,441        296,877        263,512         399,436
Raymond James Financial Services Advisors, Inc                       0              0              0              0              0          7,205         17,142         19,193         18,184          20,465
RBC Capital Markets (Canada)                                         0              0              0              0              0         14,052              0            812            812             812
RBC Capital Markets Wealth Management                              252         15,518            557         15,515         49,364         39,640         21,484         19,681         15,780          11,655
RBC Capital Partners                                                 0          5,912         10,996              0         22,350              0              0              0            240               0
RBC Dominion Securities, Inc                                     4,778          4,695         12,016          8,804          5,259          8,021         10,596          9,214          2,409           4,391
RBC Global Asset Management (U S ) Inc                               0              0              0              0              0        231,568              0              0              0               0
RBC Global Asset Management Inc                                      0          9,000              0              0              0         56,520        117,650        117,650         18,542               0
RBC Investment Solutions (CI) Limited                                0              0              0              0              0         10,000              0              0              0               0
RBC Phillips, Hager & North Investment Counsel Inc                   0              0            200            200            200            200              0              0              0               0
RBC Wealth Management, International                            34,774         20,352              0          1,627          2,319          3,049              0            469              0               0
Redmile Group, LLC                                                   0        560,443              0              0              0              0              0              0              0               0
Redwood Capital Management, L L C                                    0              0              0              0         15,000        100,000        100,000        100,000              0               0
Reilly Financial Advisors, LLC                                     160            160              0              0              0              0              0              0              0               0
Reliance Trust Company of Delaware                               6,400          6,249          5,894          7,218          6,497              0              0              0              0               0
Renaissance Technologies LLC                                         0              0        183,760              0              0        569,260         11,005        206,060      1,525,860               0
Resona Bank, Ltd                                                     0              0              0              0              0              0              0              0              0              80
Reynolds Capital Management, LLC                                     0          2,600              0              0              0              0          1,700          1,700              0               0
Rhenman & Partners Asset Management AB                               0         26,741         58,976         73,000        116,000        260,000        635,200        360,200        300,200         402,303
Rhumbline Advisers Ltd Partnership                             205,930        215,564        236,889        258,485        262,299        271,572        264,885        276,313        298,874         330,288
Rice Hall James & Associates, LLC                               72,440         70,759         63,539         61,942         44,722              0              0              0              0               0
Riedweg & Hrovat AG                                              7,000          3,920          3,920          3,920          7,700              0              0              0              0               0
Riverfront Investment Group, LLC                                     0              0              0              0              0              0              0              0              0          12,343
Riverhead Capital Management LLC                                     0         21,615         22,127              0         30,741         32,435         41,404         20,412         20,312           9,138
Riverloft Capital Management, LP_NLE                            60,000              0              0              0         22,431         22,431         22,431              0              0               0
Robeco Institutional Asset Management B V                        3,443          3,443          7,327          7,327          7,327          7,327              0              0          2,874               0
Rock Creek Group, L P                                                0              0          1,399          1,399              0              0              0              0              0               0
Rockefeller Capital Management                                     370              0              0              0          4,389              0              0              0              0               0



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Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                      99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                         19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                    153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                   900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                           172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                          439            536            572            556            560            553            506            493            487             404

Institution/Individual                                12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Roubaix Capital, LLC                                        23,702         23,702         23,702         23,702              0              0              0              0              0               0
Royal London Asset Management Ltd                           26,879         26,879         44,185         44,185         55,480         55,480         55,480         55,480         55,480          55,480
Roystone Capital Management LP                                   0              0      1,198,500      2,103,000      1,291,500      3,155,000              0              0              0               0
RS Investments_NLE                                         351,943        356,720        375,286        419,901        543,593      1,368,053      1,374,185              0              0               0
Rubric Capital Management_NLE                                    0              0              0              0        617,800              0              0              0              0               0
Russell Investments Trust Company                                0              0              0        198,962        198,962        198,962         37,885         33,351        115,984         114,570
Sabal Capital Management, LLC_NLE                                0              0              0              0              0         30,066              0              0              0               0
Sabby Management, LLC                                            0         25,991         37,358         50,658              0         50,000         60,061         59,237        126,139               0
Sachem Head Capital Management, LLC                              0              0              0              0              0      2,460,000              0              0              0               0
Salem Investment Counselors, Inc                                 0              0              0              0              0              0              0            147            147               0
Samlyn Capital, LLC                                              0              0        185,990              0              0              0              0              0              0               0
Samsung Asset Management Co , Ltd                                0              0              0              0            500            628            663          1,487          1,487           2,195
Sandy Spring Bank                                                0              0              0              0              0              0            545              0              0               0
Sanlam Investment Management (Pty) Ltd                         500            321            321            321            321            321            138            138             32              32
Santa Fe Partners LLC_NLE                                   41,150         11,536         16,218              0         49,381              0              0              0              0               0
Sawtooth Asset Management, Inc                                   0              0             28             28             28             28             28             28             28              28
Schneider Capital Management Corporation                         0              0              0              0              0              0        445,225        479,006        559,211         642,311
Schonfeld Group Holdings LLC                                     0              0              0          8,000              0              0              0              0              0               0
Schonfeld Strategic Advisors LLC                                 0              0              0              0              0         17,394         10,145              0              0               0
Schroder Investment Management Ltd (SIM)                       900            900            900            900            900            900              0              0              0               0
Schweizerische Nationalbank                                134,933        262,263        329,463        361,863        390,563        558,363        592,163        584,863        584,863         330,600
Scoggin Capital Management, L L C                                0              0          2,500              0              0              0              0              0              0               0
Sculptor Capital Management, Inc                         5,221,710      5,181,280      8,839,839     10,119,542      1,511,760      1,172,863              0              0              0               0
SEB Investment Management AB                               328,500        363,677        363,677        333,277        333,277        333,277        316,577        316,577        316,577         314,277
Sectoral Asset Management Inc                                    0         18,688         23,771         24,636         31,062              0              0              0              0         730,150
Securian Asset Management, Inc                              21,490         16,528         19,175         19,495         19,971         19,471         19,932         19,436         19,730          25,407
Security Kapitalanlage AG                                    1,140          1,140          1,140          3,948          3,948          3,948          3,948          3,948          3,948           2,808
Segall Bryant & Hamill, LLC                                      0          8,125         31,075         61,875         52,430              0              0              0              0               0
Segantii Capital Management Limited                              0              0              0              0              0              0              0              0              0           3,200
SEI Investments Canada                                           0              0          2,220          2,820          2,620          2,620          2,620          2,420          2,420               0
SEI Investments Management Corporation                      56,816         48,115         48,099         59,288         32,195          4,514         34,152        104,177          1,508           1,364
Seizert Capital Partners, L L C                            819,685        630,885        645,507        552,087        508,535          7,742              0              0              0               0
Senator Investment Group LP                              1,000,000              0              0              0              0              0              0              0              0               0
Seneca Capital Investments, L P _NLE                             0        191,400        101,400         34,400              0              0              0              0              0               0
Sentry Investment Management, L L C                              0          9,800         12,132         13,895         16,099         16,099         46,925         11,327         11,327               0
Senvest Management, LLC                                          0              0              0              0              0              0              0         97,000              0               0
Seven Bridges Advisors LLC                                       0              0              0              0              0          3,096          5,658              0              0               0
Seven Eight Capital, LP                                          0          1,421              0              0              0          1,489          1,589              0              0          52,648
Seven Locks Capital Management LP_NLE                      265,550        112,112        109,362              0              0              0              0              0              0               0
SG Americas Securities, L L C                               73,896         51,220         10,631         26,374         95,769         22,339         26,682              0         99,733         298,599
Shelton Capital Management                                  15,371              0              0              0              0         14,969         14,969         14,969         14,969          14,969



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                       99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                          19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                     153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                    900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                            172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                           439            536            572            556            560            553            506            493            487             404

Institution/Individual                                 12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Shinko Asset Management Co , Ltd _NLE                           549            549            549            549            549            549            549            549              0               0
Siemens Fonds Invest GmbH                                         0          1,147          1,147          1,312          1,328          1,328            778            778            778              43
Sigma Planning Corporation                                        0              0              0              0              0              0              0              0              0          11,850
Signator Financial Services, Inc                                  0              0              0              0              0              0              0              0            460               0
Signaturefd, LLC                                                  0              0              0             69             63             64          1,068          1,486              0               0
Signpost Capital Advisors, LP                               412,112        228,542        205,101         97,707         86,664              0              0              0              0               0
Simplex Trading, LLC                                          4,054              0         15,724          7,294              0         44,766        177,317              0              0          26,268
Sirios Capital Management, L P                                    0        379,727        400,990        244,123              0              0              0              0              0               0
Sivik Global Healthcare, LLC                                 34,700         40,000         40,000              0              0              0              0              0              0               0
Sjunde AP-fonden                                                  0              0              0              0              0              0              0              0        130,921         130,921
Société Générale Private Banking                                  0              0              0              0              0              0         26,682         26,682         26,682          26,682
Sonora Investment Management, LLC                                 0              0              0            106              0              0              0              0              0               0
Soros Fund Management, L L C                              1,748,729      2,217,176      2,299,781      2,016,984      2,163,967              0              0              0              0               0
South Dakota Investment Council                               6,100              0              0              0              0              0              0              0              0               0
Spears Abacus Advisors LLC                                        0              0              0              0              0          9,230              0         18,047         16,831          16,831
Sphera Funds Management Ltd                                       0        210,000              0              0              0              0        150,000        150,000              0               0
Spot Trading LLC_NLE                                             33          1,263             18          5,755            207         65,041         59,392         54,536         32,785               0
Squarepoint Capital LLP                                           0              0          9,115              0              0         63,709              0         50,557              0               0
St Galler Kantonalbank AG                                         0              0              0              0            320            320            990          1,299          1,299           4,173
St James's Place Wealth Management Plc                            0         32,808         32,808         33,671         33,671         33,671         33,671        145,201        145,201         145,201
Staley Capital Advisers, Inc                                      0              0              0              0          6,000              0        113,000              0              0               0
STANLIB Asset Management Ltd                                  1,300          1,300          1,300          1,300          1,300          1,300              0              0              0               0
State of Wisconsin Investment Board                         118,790        134,790        137,200        130,440        167,520        160,820        136,320        131,020        111,731          38,860
State Street Global Advisors (France) S A                    47,024         48,418         51,896         51,884         52,607         41,625         27,400         23,600         13,704               0
State Street Global Advisors (Japan) Co , Ltd                 7,100          7,100          7,100          7,100          7,100          7,100          7,100          7,100         10,390          10,390
State Street Global Advisors (UK) Ltd                        89,602         52,683         60,142         99,748        102,161        107,458        111,400        115,840        120,610         124,290
State Street Global Advisors (US)                         5,009,841      7,409,535      7,945,329      8,230,646      8,543,951      8,625,765      9,430,866      9,158,762      9,642,033       7,313,325
State Street Global Advisors Ireland Limited                      0              0              0            666            814            803            740          9,940          6,745               0
State Street Global Advisors Ltd (Canada)                         0         16,980         26,700         53,718         62,914         59,192         24,566         24,703         24,351           9,520
State Teachers Retirement System of Ohio                          0          3,638         11,862         11,756         10,441         10,725              0              0              0               0
Steadfast Financial LLC                                   1,327,000        981,000        703,000              0              0              0              0              0              0               0
Sterling Capital Management, LLC                                  0          8,000          6,000              0              0              0              0              0              0               0
Sterne Agee Asset Management, Inc                                 0              0              0              0            570            570         15,068         15,068         15,068          15,068
Sterneck Capital Management, LLC                                  0              0              0              0              0              0              0              0              0         108,620
Stevens Capital Management LP                                     0              0         62,928              0              0        127,654              0              0              0               0
Stifel Nicolaus Investment Advisors                           9,176         22,862         12,626              0         21,727         17,794         44,175          3,638              0          73,462
Stone Ridge Asset Management LLC                                  0              0            300            300            300            300            300            300              0               0
StoneRidge Investment Partners, LLC                               0              0              0              0         48,023        320,065        319,175        177,807        184,632         180,325
Storebrand Kapitalforvaltning AS                             13,743         13,759         13,759         24,494         24,494         34,046         34,571         34,571         34,571           4,763
Sumitomo Life Insurance Co                                        0            369         22,942         24,911         31,779              0              0              0              0               0
Sumitomo Mitsui DS Asset Management Company, Limited         11,968         36,982         66,748         61,020         85,370         16,490         16,490         16,490         16,328               0



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                         99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                            19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                       153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                      900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                              172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                             439            536            572            556            560            553            506            493            487             404

Institution/Individual                                   12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Sumitomo Mitsui Trust Asset Management Co , Ltd                19,200         19,200         10,191         10,191         10,191         10,191         10,226         10,226         10,226          12,726
Summit Partners Public Asset Management, LLC                        0              0              0              0        100,000              0              0              0              0               0
SunAmerica Asset Management, LLC                              298,474         71,922         81,963         81,565         99,335         96,757         89,928         71,388         71,965         396,887
SunTrust Bank                                                       0              0              0              0          3,403              0              0              0              0               0
Susquehanna International Group, LLP                          271,893         48,683         37,448         58,832         55,936        209,013        918,474        843,344        506,520       1,262,565
Suvretta Capital Management, LLC                              792,300              0              0              0              0              0              0              0              0               0
Swedbank Robur Fonder AB                                        4,100          6,221          6,221          6,221          8,621         13,221         13,221         13,221          7,000               0
Swiss Life Asset Management                                       900            900          1,400          1,400          1,400          1,400          1,400          1,400          1,400          85,332
Sydinvest                                                           0              0              0              0              0              0              0              0         45,718               0
Symphony Asset Management LLC                                       0              0              0              0         24,093         30,206              0              0              0               0
Synovus Trust Company, N A                                        280            280            280            280            280            280            280              0              0               0
Systematic Financial Management, L P                                0              0              0              0              0              0              0              0      2,626,376         130,420
T Rowe Price Associates, Inc                                  213,715      1,128,622      1,322,822      1,431,017      1,403,817      2,850,793      1,380,245      1,437,865      1,077,567         694,305
Tamarack Advisers, LP                                               0              0              0              0              0              0              0         75,000              0               0
TAMRO Capital Partners, LLC_NLE                                     0         22,799         21,892         10,747              0              0              0              0              0               0
Tangerine Investment Management Inc                                 0              0            930            930          1,010          1,010          1,060          1,060          1,060           1,060
Tarbox Family Office, Inc                                           0              0              0              7              6             28              0              0              0               0
TCI Wealth Advisors, Inc                                            0            500              0              0             16             17             48             31             31           6,553
TCW Asset Management Company LLC                                    0         50,027         14,100         14,405         14,400         14,300         35,462         35,112         43,655          29,005
TD Asset Management Inc                                        52,400         58,200         41,200         13,500              0        133,041        135,100        363,381        230,169          22,400
TD Securities, Inc                                                  0         68,655         87,716          6,750          6,440          1,675            259             98         34,440             119
Teacher Retirement System of Texas                              4,416          5,227          6,730        617,203        611,705        442,674        446,073        444,829        411,707         303,341
Tealwood Asset Management Inc                                       0              0              0              0         29,550         26,725              0              0              0               0
Tekla Capital Management LLC                                  251,773        251,773        325,873        320,321        286,348        286,348        286,348        914,548        914,548         914,548
Telemetry Investments, L L C                                        0              0          5,750              0              0              0              0              0              0               0
Templeton Investment Counsel, L L C                                 0          1,542          1,948          1,948          1,950          1,950          1,950          1,736          1,736               0
Tennessee Consolidated Retirement System                       39,200         28,400         31,800        113,726      1,028,502        564,805        908,612        597,595         62,428               0
Texas Permanent School Fund                                   138,382         66,455         73,823         74,261         73,416         70,555         66,462         61,058         59,421         143,667
TFS Capital LLC_NLE                                                 0              0              0              0              0              0              0          3,600         57,745          33,073
The Blackstone Group                                                0              0              0              0              0              0        684,600              0              0               0
The Fiduciary Group                                            16,841         16,841         17,431         16,963              0              0              0              0              0               0
The Index Group, Inc                                                0              0              0             81            104            144            321            401          1,055               0
The MassMutual Trust Company, FSB                               6,425          7,260          7,260          7,260         10,632         11,377          9,458          9,458             90               0
The Regents of the University of California                    12,100         11,700              0              0              0              0              0              0              0               0
The Retirement Systems of Alabama                             282,589        102,923        116,324        117,482        107,948        107,370        104,434        100,274         96,768         372,179
The Vanguard Group, Inc                                     9,067,089     13,328,672     16,200,249     16,957,046     18,405,878     18,814,769     17,947,000     18,219,398     18,800,418      16,482,393
THEAM_NLE                                                      18,777         29,619         13,312         10,049         12,347         14,455         14,950         14,614         10,859               0
Thompson, Davis & Co , Inc (Asset Management)                       0             51             51             51             51             51              0              0              0               0
Thompson, Siegel & Walmsley LLC                                     0          4,200              0              0              0              0              0              0              0               0
Thrivent Asset Management, LLC                                 87,000         37,230          5,200        102,584          5,970              0              0              0              0         119,910
Tiger Eye Capital LLC                                               0        406,401              0              0              0              0              0              0              0               0



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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                       99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                          19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                     153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                    900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                            172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                           439            536            572            556            560            553            506            493            487             404

Institution/Individual                                 12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Tiger Legatus Capital Management, LLC                       190,000        260,000        290,000        320,000        570,000              0              0              0              0               0
Timber Hill LLC                                                   0              0          8,071         35,502         22,697              0         35,218              0              0          18,365
TimesSquare Capital Management, LLC                       1,521,300      1,264,800      1,233,800      1,304,250      1,487,600              0              0              0              0               0
TLP Trading, LLC                                                  0              0              0              0              0              0              0          9,298              0               0
TOBAM                                                             0              0              0              0              0              0        269,376        269,376        197,081          56,591
Tocqueville Asset Management LP                               3,200          3,200          4,900              0              0              0              0              0              0               0
Toreador Research & Trading, LLC                             13,110         13,110         13,110         13,110         13,110         13,110              0              0              0               0
Tourbillon Capital Partners, LP_NLE                         580,000              0              0              0              0              0              0              0              0               0
Tower Research Capital LLC                                    1,151          1,136          1,505              0          1,698            514          1,690            602            788               0
TPG Capital, L P                                                  0              0              0     17,182,136     17,182,136     17,182,136     22,152,136     22,152,136     22,152,136      22,152,136
TradeLink Capital LLC                                         3,659          3,659          3,659          3,659          3,659          3,659          3,659          3,659              0               0
Tredje AP Fonden                                             38,298         38,298         38,298         38,298         61,083         25,900         57,835         56,055              0               0
Trellus Management Company, LLC                                   0              0              0              0          5,149              0              0              0              0               0
Tremblant Capital Group                                           0              0              0        289,528        157,231        254,867              0              0              0               0
Trexquant Investment LP                                           0              0         28,800         37,500              0         38,527         89,700         66,400         79,535         101,300
Trillium Asset Management, LLC                                    0          2,500              0              0              0              0              0              0              0               0
Trust Co of Sterne Agee, Inc                                      0              0             57              0              0              0              0              0              0               0
Tudor Investment Corporation                                      0              0         50,589         22,703          8,009         64,148         17,296         59,815              0         114,416
Turner Investment Partners, Inc                                   0              0              0              0              0              0         33,030              0              0               0
Turtle Creek Management, LLC                                109,758         89,894         89,494         85,094         73,394         77,094         70,544         66,444         61,044          53,844
Two Sigma Investments, LP                                         0         26,291         79,113              0              0              0              0              0         39,965       1,378,571
Tyers Asset Management LLC                                        0              0              0              0              0              0              0              0         22,764          10,220
Tyrian Investments, LP_NLE                                  475,000        338,000        263,500        211,466        426,593              0              0              0              0               0
Tyrus Capital S A M                                               0              0              0        425,500              0              0              0              0              0               0
U S Bancorp Asset Management, Inc                            38,668         39,395         48,453         51,615         23,249         25,982          4,878          4,297          7,586           3,851
UBS Asset Management (Americas), Inc                         26,612        130,444        143,414        107,625         49,076         51,448         55,304         58,483         54,148          13,899
UBS Asset Management (Australia) Ltd                              0              0              0              0              0              0              0              0            165               0
UBS Asset Management (Switzerland)                          234,479        270,608        346,375        338,624        314,938        311,821        311,143        317,057        319,817          56,224
UBS Asset Management (UK) Ltd                                71,326         86,833         98,798        103,030        119,340        120,128        114,706        118,006        106,890         100,322
UBS Financial Services, Inc                                  32,038         55,243        243,248        326,152        171,849        269,467        292,325        328,133        191,663         243,630
United Capital Financial Advisers, LLC                            0          5,952          4,352          7,079              0          7,958              0              0              0               0
Universal-Investment-Gesellschaft mbH                             0              0              0              0              0          6,182              0              0              0               0
USAA Asset Management Company                                     0              0              0              0              0              0        102,579              0              0               0
Utah Retirement Systems                                      26,321         31,721         31,821         37,321         40,621         40,621         37,221         37,221         37,221          37,221
Van Eck Associates Corporation                               34,130         38,087         61,052         68,847         83,005         76,364        117,695        110,969         84,217         197,960
Vanguard Investments Australia Ltd                                0              0            108            111            111         70,422         70,429        125,533        106,550          13,276
Vaughan Nelson Investment Management, L P                         0              0              0        643,825        966,350        529,400        964,250      1,764,250      1,599,375       1,563,950
Verde Asset Management S A                                        0              0              0              0        353,394              0              0              0              0          86,800
Verition Fund Management LLC                                      0          5,628              0          4,551              0         23,732              0              0              0               0
Vernier Capital Partners LLC_NLE                                  0              0              0              0        387,750              0              0              0              0               0
Versant Capital Management, Inc                                   0              0              0              0             12             12              0              0              0               0



                                                                                                                                                                                            Page 23 of 25
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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                    99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                       19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                  153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                 900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                         172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                        439            536            572            556            560            553            506            493            487             404

Institution/Individual                              12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
Vestcor Investment Management Corporation                      0              0              0              0              0          7,113          7,113          7,113          7,113           7,113
Victory Capital Management Inc                           166,555          2,865          2,865          3,765          2,804          2,732          2,615      1,839,804          3,730               0
Vident Investment Advisory, LLC                            5,653         16,326             42             51         22,094              0              0              0              0               0
Viking Global Investors LP                                     0              0              0              0      4,520,954      4,468,744              0              0              0               0
Virginia Retirement System                                 3,000          3,593          4,228          4,270          4,571              0              0              0              0               0
Virtu Americas LLC                                        11,200          6,675         29,812         57,635         18,299         73,614        169,924        173,767         53,397               0
Virtu KCG Holdings, L L C                                 15,534         15,534         15,534              0              0              0              0              0              0               0
Virtus Investment Advisers, Inc                                0              0              0              0              0              0          3,035          6,901              0               0
Visium Asset Management, LP_NLE                        5,700,751      1,740,689      3,710,724      5,204,000      5,172,598      6,680,749         12,063              0              0               0
Voloridge Investment Management, LLC                           0         27,840              0              0              0        672,183        743,491              0              0               0
Voya Investment Management LLC                            94,744        131,627        123,219        136,877        137,931        133,845        118,992        120,212        115,144          62,455
W & W Asset Management GmbH                                    0              0              0              0            444            444            444            444            444             444
Waddell & Reed Investment Management Company_NLE          32,985         32,985         32,985         32,985         32,985              0              0              0              0               0
Wall Street Associates, LLC_NLE                                0              0              0              0              0              0              0          9,745          9,602           9,048
Walleye Trading, LLC                                           0              0          1,796          1,954              0         12,791         46,551         32,672         52,303         110,296
Warburg Invest AG                                            706            706            706            706            706            706            706            819            819             819
Water Island Capital, LLC                                 68,176              0              0              0              0              0              0              0              0               0
Wealthcare Capital Management, LLC                             0             12              0              0              0              0              0              0              0               0
Wealthfront Advisers LLC                                       2            345            280          1,271              0              0              0              0              0               0
WealthTrust-Arizona, LLC                                       0              0              0            186            249             60             74            435            357             278
WEDGE Capital Management, L L P                          717,075        585,910              0              0              0              0              0              0              0               0
Weiss Multi-Strategy Advisers LLC                              0              0              0              0             10             10             31             26             35               3
Weitz Investment Management, Inc                         767,530        747,530        961,135        972,478        684,923        968,093              0              0              0               0
Wellington Management Company, LLP                             0        183,715        237,999        113,032              0        820,162      1,133,059      1,977,620      2,175,815         411,694
Wells Capital Management Inc                              12,578      2,084,749      2,043,363      1,646,986         14,732          8,567          9,068          9,003          9,031          59,003
Wells Fargo Advisors                                      56,858        144,125        165,157        181,803        113,849         51,645         73,725        147,306         88,060          38,267
Wells Fargo Bank, N A                                     14,275        304,286        147,614         39,808         44,792         85,907         67,740         22,904         39,559          39,860
Wells Fargo Securities, LLC                                    0              0              0              0              0         46,373              0              0              0              39
Western Asset Management Co                                    0              0              0              0              0              0        336,300        336,300        636,800         707,300
Westfield Capital Management Company, L P              2,872,707              0              0              0              0        528,137              0              0              0           9,048
Westpac Banking Corporation                                8,785          8,025              0              0              0              0        577,877         25,505              0               0
William Blair & Company, L L C (Research)                      0          2,550          2,550              0              0              0              0              0              0               0
William Blair Investment Management, LLC                       0        363,905        418,530        709,350        350,550              0              0              0          4,200               0
Wilmington Funds Management Corporation                    5,210          4,848          9,538         13,070         10,970          7,170              0              0              0               0
Wilmington Trust Investment Advisors, Inc                      0             45             45             10            285          1,435              0              0              0               0
Wilmington Trust Investment Management LLC                 3,660          3,704          3,084          4,384          3,319          3,160              0              0          2,400           2,400
Wilmington Trust, National Association                       455            602            695            549            743            878              0              0              0               0
Winton Capital Management Ltd                                  0              0              0              0              0              0              0              0              0          23,811
Wolverine Asset Management, LLC                                0              0              0              0            103              0              0              0          4,200               0
Wolverine Trading, LLC                                         0              0              0              0              0              0         22,795         34,724         36,473          49,257
Woodmont Investment Counsel LLC                                0              0              0              0              0              0              0             13              0               0



                                                                                                                                                                                         Page 24 of 25
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Exhibit 9
Endo International plc
Quarterly Institutional Holdings
Source: Thomson Reuters Eikon
Available Shares Held by Institutions                         99 8%          99 9%          98 1%          98 2%          97 9%          95 9%          93 6%          92 0%          92 6%           88 5%
Short Interest                                            19,687,995     10,224,363      9,524,835     12,406,635     12,763,190      9,146,322     13,501,494     12,911,376     13,936,981      24,000,542
Shares Outstanding                                       153,879,000    177,510,000    204,600,000    226,398,000    226,449,000    222,203,000    222,661,000    222,767,000    222,877,000     222,958,000
Shares Held by Insiders                                      900,446      1,024,317      1,014,397      1,197,998      1,131,983      1,314,869      1,255,722      1,252,123      1,027,242       1,020,919
Shares Held by Institutions                              172,303,503    186,487,874    209,000,263    233,312,786    233,013,469    220,542,882    219,957,997    215,597,025    218,340,684     217,537,019
Number of Institutions With Holdings                             439            536            572            556            560            553            506            493            487             404

Institution/Individual                                   12/31/2014     3/31/2015      6/30/2015      9/30/2015      12/31/2015     3/31/2016      6/30/2016      9/30/2016      12/31/2016      3/31/2017
World Asset Management, Inc                                   112,131         64,752         68,855         69,644         68,496         66,269         65,452         65,506         63,671         153,353
Xact Kapitalforvaltning AB                                          0              0              0              0              0              0              0         32,215         32,215               0
York Capital Management L P                                         0      1,881,857              0              0              0              0              0              0              0               0
Yorktown Management & Research Company, Inc                         0              0              0              0              0          1,800          1,800          1,800          1,800           1,800
Zacks Investment Management, Inc                                5,735          6,207          6,472              0              0              0              0              0              0               0
Ziff Brothers Investments, L L C                                    0              0              0              0              0              0      1,450,000        882,732        882,732         882,732
Zions Capital Advisors, Inc                                         0              0              0             22             22             38              0              0            143               0
Zürcher Kantonalbank (Asset Management)                        15,473         23,500         19,481         24,325         40,395         24,277         24,277         24,277         32,177           6,315
Zweig-DiMenna Associates, Inc                                 210,660        320,047         60,723         63,896        197,196         25,976         25,976              0              0               0




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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
   3/2/2015           $87.30          $87.32               $0.02          0.02%
   3/3/2015           $85.88          $85.92               $0.04          0.05%
   3/4/2015           $85.65          $85.66               $0.01          0.01%
   3/5/2015           $87.69          $87.71               $0.02          0.02%
   3/6/2015           $87.03          $87.05               $0.02          0.02%
   3/9/2015           $89.55          $89.56               $0.01          0.01%
  3/10/2015           $89.00          $89.03               $0.03          0.03%
  3/11/2015           $87.73          $87.74               $0.01          0.01%
  3/12/2015           $90.49          $90.50               $0.01          0.01%
  3/13/2015           $87.32          $87.35               $0.03          0.03%
  3/16/2015           $89.62          $89.65               $0.03          0.03%
  3/17/2015           $90.77          $90.78               $0.01          0.01%
  3/18/2015           $91.72          $91.74               $0.02          0.02%
  3/19/2015           $91.48          $91.49               $0.01          0.01%
  3/20/2015           $92.40          $92.43               $0.03          0.03%
  3/23/2015           $90.81          $90.84               $0.03          0.03%
  3/24/2015           $89.50          $89.51               $0.01          0.01%
  3/25/2015           $88.27          $88.28               $0.01          0.01%
  3/26/2015           $87.80          $87.83               $0.03          0.03%
  3/27/2015           $90.03          $90.05               $0.02          0.02%
  3/30/2015           $91.53          $91.54               $0.01          0.01%
  3/31/2015           $89.70          $89.71               $0.01          0.01%
   4/1/2015           $89.65          $89.67               $0.02          0.02%
   4/2/2015           $90.41          $90.42               $0.01          0.01%
   4/6/2015           $90.01          $90.02               $0.01          0.01%
   4/7/2015           $91.40          $91.41               $0.01          0.01%
   4/8/2015           $93.63          $93.65               $0.02          0.02%
   4/9/2015           $93.68          $93.69               $0.01          0.01%
  4/10/2015           $94.45          $94.47               $0.02          0.02%
  4/13/2015           $93.43          $93.44               $0.01          0.01%
  4/14/2015           $93.32          $93.33               $0.01          0.01%
  4/15/2015           $95.91          $95.94               $0.03          0.03%
  4/16/2015           $95.11          $95.12               $0.01          0.01%
  4/17/2015           $93.34          $93.35               $0.01          0.01%
  4/20/2015           $93.19          $93.20               $0.01          0.01%
  4/21/2015           $95.18          $95.19               $0.01          0.01%


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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
  4/22/2015           $94.09          $94.10               $0.01          0.01%
  4/23/2015           $94.08          $94.09               $0.01          0.01%
  4/24/2015           $93.27          $93.29               $0.02          0.02%
  4/27/2015           $90.64          $90.66               $0.02          0.02%
  4/28/2015           $87.83          $87.85               $0.02          0.02%
  4/29/2015           $86.53          $86.54               $0.01          0.01%
  4/30/2015           $84.06          $84.07               $0.01          0.01%
   5/1/2015           $85.04          $85.05               $0.01          0.01%
   5/4/2015           $86.31          $86.32               $0.01          0.01%
   5/5/2015           $84.66          $84.72               $0.06          0.07%
   5/6/2015           $84.64          $84.66               $0.02          0.02%
   5/7/2015           $86.32          $86.33               $0.01          0.01%
   5/8/2015           $87.00          $87.04               $0.04          0.05%
  5/11/2015           $86.65          $86.66               $0.01          0.01%
  5/12/2015           $84.59          $84.60               $0.01          0.01%
  5/13/2015           $83.89          $83.91               $0.02          0.02%
  5/14/2015           $85.01          $85.02               $0.01          0.01%
  5/15/2015           $85.35          $85.36               $0.01          0.01%
  5/18/2015           $80.76          $80.77               $0.01          0.01%
  5/19/2015           $83.02          $83.03               $0.01          0.01%
  5/20/2015           $85.65          $85.66               $0.01          0.01%
  5/21/2015           $85.00          $85.01               $0.01          0.01%
  5/22/2015           $84.92          $84.94               $0.02          0.02%
  5/26/2015           $83.16          $83.19               $0.03          0.04%
  5/27/2015           $83.40          $83.41               $0.01          0.01%
  5/28/2015           $82.93          $82.94               $0.01          0.01%
  5/29/2015           $83.73          $83.77               $0.04          0.05%
   6/1/2015           $84.13          $84.14               $0.01          0.01%
   6/2/2015           $83.71          $83.73               $0.02          0.02%
   6/3/2015           $84.65          $84.68               $0.03          0.04%
   6/4/2015           $84.20          $84.22               $0.02          0.02%
   6/5/2015           $83.43          $83.47               $0.04          0.05%
   6/8/2015           $84.14          $84.16               $0.02          0.02%
   6/9/2015           $82.39          $82.41               $0.02          0.02%



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          Case 2:17-cv-05114-MMB Document 116-5 Filed 06/26/20 Page 127 of 403
Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
  6/10/2015           $82.39          $82.41               $0.02          0.02%
  6/11/2015           $82.14          $82.16               $0.02          0.02%
  6/12/2015           $80.53          $80.55               $0.02          0.02%
  6/15/2015           $81.41          $81.44               $0.03          0.04%
  6/16/2015           $81.51          $81.52               $0.01          0.01%
  6/17/2015           $80.69          $80.70               $0.01          0.01%
  6/18/2015           $83.33          $83.34               $0.01          0.01%
  6/19/2015           $83.92          $83.93               $0.01          0.01%
  6/22/2015           $84.16          $84.18               $0.02          0.02%
  6/23/2015           $83.93          $83.94               $0.01          0.01%
  6/24/2015           $82.26          $82.27               $0.01          0.01%
  6/25/2015           $82.22          $82.23               $0.01          0.01%
  6/26/2015           $80.84          $80.85               $0.01          0.01%
  6/29/2015           $78.38          $78.40               $0.02          0.03%
  6/30/2015           $79.65          $79.68               $0.03          0.04%
   7/1/2015           $80.86          $80.89               $0.03          0.04%
   7/2/2015           $82.01          $82.02               $0.01          0.01%
   7/6/2015           $81.55          $81.58               $0.03          0.04%
   7/7/2015           $81.37          $81.39               $0.02          0.02%
   7/8/2015           $78.40          $78.42               $0.02          0.03%
   7/9/2015           $80.45          $80.46               $0.01          0.01%
  7/10/2015           $83.11          $83.12               $0.01          0.01%
  7/13/2015           $84.02          $84.04               $0.02          0.02%
  7/14/2015           $85.49          $85.50               $0.01          0.01%
  7/15/2015           $84.79          $84.80               $0.01          0.01%
  7/16/2015           $85.05          $85.06               $0.01          0.01%
  7/17/2015           $85.38          $85.39               $0.01          0.01%
  7/20/2015           $86.92          $86.93               $0.01          0.01%
  7/21/2015           $86.13          $86.14               $0.01          0.01%
  7/22/2015           $86.53          $86.54               $0.01          0.01%
  7/23/2015           $85.89          $85.90               $0.01          0.01%
  7/24/2015           $85.38          $85.40               $0.02          0.02%
  7/27/2015           $85.81          $85.82               $0.01          0.01%
  7/28/2015           $87.60          $87.63               $0.03          0.03%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
  7/29/2015           $86.16          $86.19               $0.03          0.03%
  7/30/2015           $85.95          $85.96               $0.01          0.01%
  7/31/2015           $87.54          $87.57               $0.03          0.03%
   8/3/2015           $86.98          $86.99               $0.01          0.01%
   8/4/2015           $85.09          $85.12               $0.03          0.04%
   8/5/2015           $85.83          $85.85               $0.02          0.02%
   8/6/2015           $81.69          $81.70               $0.01          0.01%
   8/7/2015           $83.77          $83.81               $0.04          0.05%
  8/10/2015           $84.18          $84.20               $0.02          0.02%
  8/11/2015           $83.43          $83.44               $0.01          0.01%
  8/12/2015           $83.26          $83.30               $0.04          0.05%
  8/13/2015           $83.44          $83.46               $0.02          0.02%
  8/14/2015           $84.80          $84.81               $0.01          0.01%
  8/17/2015           $86.35          $86.36               $0.01          0.01%
  8/18/2015           $85.41          $85.43               $0.02          0.02%
  8/19/2015           $84.32          $84.33               $0.01          0.01%
  8/20/2015           $80.82          $80.85               $0.03          0.04%
  8/21/2015           $76.60          $76.65               $0.05          0.07%
  8/24/2015           $73.45          $73.46               $0.01          0.01%
  8/25/2015           $73.10          $73.11               $0.01          0.01%
  8/26/2015           $76.37          $76.38               $0.01          0.01%
  8/27/2015           $78.99          $79.00               $0.01          0.01%
  8/28/2015           $78.66          $78.70               $0.04          0.05%
  8/31/2015           $76.97          $77.00               $0.03          0.04%
   9/1/2015           $73.48          $73.49               $0.01          0.01%
   9/2/2015           $74.95          $74.96               $0.01          0.01%
   9/3/2015           $74.46          $74.47               $0.01          0.01%
   9/4/2015           $72.98          $73.00               $0.02          0.03%
   9/8/2015           $76.56          $76.59               $0.03          0.04%
   9/9/2015           $74.98          $74.99               $0.01          0.01%
  9/10/2015           $75.23          $75.24               $0.01          0.01%
  9/11/2015           $74.79          $74.81               $0.02          0.03%
  9/14/2015           $74.46          $74.47               $0.01          0.01%
  9/15/2015           $76.00          $76.01               $0.01          0.01%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
      Date           Last Bid        Last Ask           Spread ($)      Spread (%)
   9/16/2015          $79.28          $79.32               $0.04          0.05%
   9/17/2015          $80.99          $81.01               $0.02          0.02%
   9/18/2015          $81.93          $81.95               $0.02          0.02%
   9/21/2015          $78.30          $78.34               $0.04          0.05%
   9/22/2015          $75.77          $75.78               $0.01          0.01%
   9/23/2015          $75.40          $75.41               $0.01          0.01%
   9/24/2015          $72.41          $72.42               $0.01          0.01%
   9/25/2015          $68.83          $68.85               $0.02          0.03%
   9/28/2015          $61.74          $61.75               $0.01          0.02%
   9/29/2015          $60.56          $60.57               $0.01          0.02%
   9/30/2015          $69.27          $69.28               $0.01          0.01%
   10/1/2015          $70.01          $70.02               $0.01          0.01%
   10/2/2015          $71.05          $71.06               $0.01          0.01%
   10/5/2015          $67.27          $67.28               $0.01          0.01%
   10/6/2015          $64.10          $64.11               $0.01          0.02%
   10/7/2015          $63.14          $63.15               $0.01          0.02%
   10/8/2015          $63.41          $63.42               $0.01          0.02%
   10/9/2015          $64.25          $64.27               $0.02          0.03%
  10/12/2015          $63.99          $64.00               $0.01          0.02%
  10/13/2015          $62.87          $62.88               $0.01          0.02%
  10/14/2015          $64.94          $64.95               $0.01          0.02%
  10/15/2015          $66.58          $66.60               $0.02          0.03%
  10/16/2015          $69.02          $69.03               $0.01          0.01%
  10/19/2015          $66.79          $66.82               $0.03          0.04%
  10/20/2015          $62.83          $62.84               $0.01          0.02%
  10/21/2015          $54.46          $54.47               $0.01          0.02%
  10/22/2015          $51.34          $51.46               $0.12          0.23%
  10/23/2015          $56.58          $56.60               $0.02          0.04%
  10/26/2015          $58.97          $58.98               $0.01          0.02%
  10/27/2015          $58.51          $58.52               $0.01          0.02%
  10/28/2015          $60.89          $60.90               $0.01          0.02%
  10/29/2015          $60.37          $60.38               $0.01          0.02%
  10/30/2015          $59.94          $59.95               $0.01          0.02%
   11/2/2015          $61.39          $61.40               $0.01          0.02%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
   11/3/2015          $61.25          $61.26               $0.01          0.02%
   11/4/2015          $60.51          $60.55               $0.04          0.07%
   11/5/2015          $51.69          $51.71               $0.02          0.04%
   11/6/2015          $55.29          $55.30               $0.01          0.02%
   11/9/2015          $54.49          $54.50               $0.01          0.02%
  11/10/2015          $55.55          $55.57               $0.02          0.04%
  11/11/2015          $56.51          $56.52               $0.01          0.02%
  11/12/2015          $56.10          $56.11               $0.01          0.02%
  11/13/2015          $57.99          $58.00               $0.01          0.02%
  11/16/2015          $56.89          $56.91               $0.02          0.04%
  11/17/2015          $57.65          $57.66               $0.01          0.02%
  11/18/2015          $59.30          $59.33               $0.03          0.05%
  11/19/2015          $59.40          $59.41               $0.01          0.02%
  11/20/2015          $59.37          $59.38               $0.01          0.02%
  11/23/2015          $60.15          $60.17               $0.02          0.03%
  11/24/2015          $60.28          $60.30               $0.02          0.03%
  11/25/2015          $60.99          $61.00               $0.01          0.02%
  11/27/2015          $62.32          $62.33               $0.01          0.02%
  11/30/2015          $61.44          $61.45               $0.01          0.02%
   12/1/2015          $61.94          $61.95               $0.01          0.02%
   12/2/2015          $61.55          $61.56               $0.01          0.02%
   12/3/2015          $59.81          $59.82               $0.01          0.02%
   12/4/2015          $62.68          $62.69               $0.01          0.02%
   12/7/2015          $59.61          $59.62               $0.01          0.02%
   12/8/2015          $59.27          $59.28               $0.01          0.02%
   12/9/2015          $58.49          $58.51               $0.02          0.03%
  12/10/2015          $58.33          $58.34               $0.01          0.02%
  12/11/2015          $57.12          $57.14               $0.02          0.04%
  12/14/2015          $57.41          $57.43               $0.02          0.03%
  12/15/2015          $60.88          $60.89               $0.01          0.02%
  12/16/2015          $62.03          $62.04               $0.01          0.02%
  12/17/2015          $61.38          $61.39               $0.01          0.02%
  12/18/2015          $61.02          $61.03               $0.01          0.02%
  12/21/2015          $61.16          $61.17               $0.01          0.02%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
      Date           Last Bid        Last Ask           Spread ($)      Spread (%)
  12/22/2015          $62.59          $62.60               $0.01          0.02%
  12/23/2015          $62.69          $62.70               $0.01          0.02%
  12/24/2015          $62.60          $62.61               $0.01          0.02%
  12/28/2015          $61.81          $61.82               $0.01          0.02%
  12/29/2015          $62.47          $62.52               $0.05          0.08%
  12/30/2015          $62.40          $62.41               $0.01          0.02%
  12/31/2015          $61.20          $61.22               $0.02          0.03%
    1/4/2016          $59.79          $59.82               $0.03          0.05%
    1/5/2016          $59.34          $59.35               $0.01          0.02%
    1/6/2016          $57.31          $57.32               $0.01          0.02%
    1/7/2016          $56.36          $56.37               $0.01          0.02%
    1/8/2016          $53.78          $53.80               $0.02          0.04%
   1/11/2016          $53.73          $53.74               $0.01          0.02%
   1/12/2016          $55.04          $55.05               $0.01          0.02%
   1/13/2016          $52.65          $52.67               $0.02          0.04%
   1/14/2016          $53.95          $53.98               $0.03          0.06%
   1/15/2016          $52.53          $52.55               $0.02          0.04%
   1/19/2016          $52.66          $52.70               $0.04          0.08%
   1/20/2016          $55.08          $55.09               $0.01          0.02%
   1/21/2016          $56.37          $56.38               $0.01          0.02%
   1/22/2016          $58.53          $58.55               $0.02          0.03%
   1/25/2016          $57.84          $57.86               $0.02          0.03%
   1/26/2016          $60.06          $60.07               $0.01          0.02%
   1/27/2016          $58.07          $58.08               $0.01          0.02%
   1/28/2016          $54.95          $54.97               $0.02          0.04%
   1/29/2016          $55.46          $55.47               $0.01          0.02%
    2/1/2016          $56.56          $56.57               $0.01          0.02%
    2/2/2016          $55.80          $55.81               $0.01          0.02%
    2/3/2016          $54.49          $54.50               $0.01          0.02%
    2/4/2016          $54.29          $54.30               $0.01          0.02%
    2/5/2016          $53.87          $53.88               $0.01          0.02%
    2/8/2016          $50.64          $50.65               $0.01          0.02%
    2/9/2016          $52.21          $52.22               $0.01          0.02%
   2/10/2016          $50.99          $51.01               $0.02          0.04%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
  2/11/2016           $48.48          $48.49               $0.01          0.02%
  2/12/2016           $50.08          $50.09               $0.01          0.02%
  2/16/2016           $51.57          $51.58               $0.01          0.02%
  2/17/2016           $52.75          $52.76               $0.01          0.02%
  2/18/2016           $51.02          $51.03               $0.01          0.02%
  2/19/2016           $50.25          $50.26               $0.01          0.02%
  2/22/2016           $50.43          $50.44               $0.01          0.02%
  2/23/2016           $50.21          $50.22               $0.01          0.02%
  2/24/2016           $51.02          $51.03               $0.01          0.02%
  2/25/2016           $52.67          $52.69               $0.02          0.04%
  2/26/2016           $52.93          $52.94               $0.01          0.02%
  2/29/2016           $41.80          $41.84               $0.04          0.10%
   3/1/2016           $42.18          $42.19               $0.01          0.02%
   3/2/2016           $43.84          $43.85               $0.01          0.02%
   3/3/2016           $43.16          $43.17               $0.01          0.02%
   3/4/2016           $42.43          $42.44               $0.01          0.02%
   3/7/2016           $44.57          $44.58               $0.01          0.02%
   3/8/2016           $42.66          $42.68               $0.02          0.05%
   3/9/2016           $41.78          $41.79               $0.01          0.02%
  3/10/2016           $40.38          $40.40               $0.02          0.05%
  3/11/2016           $42.39          $42.40               $0.01          0.02%
  3/14/2016           $42.05          $42.07               $0.02          0.05%
  3/15/2016           $32.56          $32.57               $0.01          0.03%
  3/16/2016           $33.91          $33.92               $0.01          0.03%
  3/17/2016           $30.02          $30.03               $0.01          0.03%
  3/18/2016           $29.75          $29.77               $0.02          0.07%
  3/21/2016           $28.83          $28.84               $0.01          0.03%
  3/22/2016           $30.81          $30.82               $0.01          0.03%
  3/23/2016           $29.93          $29.95               $0.02          0.07%
  3/24/2016           $29.63          $29.64               $0.01          0.03%
  3/28/2016           $28.25          $28.26               $0.01          0.04%
  3/29/2016           $28.95          $28.96               $0.01          0.03%
  3/30/2016           $28.45          $28.46               $0.01          0.04%
  3/31/2016           $28.14          $28.15               $0.01          0.04%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
   4/1/2016           $28.67          $28.68               $0.01          0.03%
   4/4/2016           $28.40          $28.42               $0.02          0.07%
   4/5/2016           $26.90          $26.92               $0.02          0.07%
   4/6/2016           $29.22          $29.24               $0.02          0.07%
   4/7/2016           $29.07          $29.09               $0.02          0.07%
   4/8/2016           $28.29          $28.30               $0.01          0.04%
  4/11/2016           $26.02          $26.03               $0.01          0.04%
  4/12/2016           $26.25          $26.26               $0.01          0.04%
  4/13/2016           $27.13          $27.14               $0.01          0.04%
  4/14/2016           $27.15          $27.16               $0.01          0.04%
  4/15/2016           $26.33          $26.34               $0.01          0.04%
  4/18/2016           $28.48          $28.50               $0.02          0.07%
  4/19/2016           $28.75          $28.76               $0.01          0.03%
  4/20/2016           $28.40          $28.41               $0.01          0.04%
  4/21/2016           $31.83          $31.84               $0.01          0.03%
  4/22/2016           $33.98          $33.99               $0.01          0.03%
  4/25/2016           $30.01          $30.02               $0.01          0.03%
  4/26/2016           $29.44          $29.46               $0.02          0.07%
  4/27/2016           $28.87          $28.88               $0.01          0.03%
  4/28/2016           $28.25          $28.27               $0.02          0.07%
  4/29/2016           $26.98          $27.00               $0.02          0.07%
   5/2/2016           $27.17          $27.18               $0.01          0.04%
   5/3/2016           $28.13          $28.14               $0.01          0.04%
   5/4/2016           $27.38          $27.39               $0.01          0.04%
   5/5/2016           $26.59          $26.60               $0.01          0.04%
   5/6/2016           $16.16          $16.17               $0.01          0.06%
   5/9/2016           $15.26          $15.27               $0.01          0.07%
  5/10/2016           $15.52          $15.53               $0.01          0.06%
  5/11/2016           $13.51          $13.54               $0.03          0.22%
  5/12/2016           $13.45          $13.46               $0.01          0.07%
  5/13/2016           $14.05          $14.06               $0.01          0.07%
  5/16/2016           $14.29          $14.30               $0.01          0.07%
  5/17/2016           $15.17          $15.19               $0.02          0.13%
  5/18/2016           $15.57          $15.58               $0.01          0.06%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
  5/19/2016           $14.77          $14.78               $0.01          0.07%
  5/20/2016           $15.43          $15.44               $0.01          0.06%
  5/23/2016           $15.15          $15.16               $0.01          0.07%
  5/24/2016           $15.43          $15.44               $0.01          0.06%
  5/25/2016           $15.30          $15.31               $0.01          0.07%
  5/26/2016           $15.22          $15.23               $0.01          0.07%
  5/27/2016           $15.37          $15.38               $0.01          0.07%
  5/31/2016           $15.80          $15.81               $0.01          0.06%
   6/1/2016           $16.61          $16.62               $0.01          0.06%
   6/2/2016           $17.44          $17.45               $0.01          0.06%
   6/3/2016           $17.57          $17.59               $0.02          0.11%
   6/6/2016           $17.95          $17.96               $0.01          0.06%
   6/7/2016           $17.61          $17.62               $0.01          0.06%
   6/8/2016           $17.71          $17.72               $0.01          0.06%
   6/9/2016           $18.00          $18.01               $0.01          0.06%
  6/10/2016           $16.48          $16.49               $0.01          0.06%
  6/13/2016           $16.67          $16.68               $0.01          0.06%
  6/14/2016           $17.13          $17.15               $0.02          0.12%
  6/15/2016           $16.82          $16.83               $0.01          0.06%
  6/16/2016           $16.91          $16.92               $0.01          0.06%
  6/17/2016           $16.42          $16.44               $0.02          0.12%
  6/20/2016           $16.06          $16.07               $0.01          0.06%
  6/21/2016           $15.39          $15.40               $0.01          0.06%
  6/22/2016           $15.44          $15.45               $0.01          0.06%
  6/23/2016           $15.83          $15.84               $0.01          0.06%
  6/24/2016           $14.84          $14.85               $0.01          0.07%
  6/27/2016           $13.69          $13.70               $0.01          0.07%
  6/28/2016           $16.19          $16.20               $0.01          0.06%
  6/29/2016           $15.92          $15.93               $0.01          0.06%
  6/30/2016           $15.58          $15.59               $0.01          0.06%
   7/1/2016           $16.97          $16.98               $0.01          0.06%
   7/5/2016           $16.56          $16.57               $0.01          0.06%
   7/6/2016           $17.09          $17.10               $0.01          0.06%
   7/7/2016           $17.28          $17.29               $0.01          0.06%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
   7/8/2016           $17.41          $17.42               $0.01          0.06%
  7/11/2016           $17.15          $17.16               $0.01          0.06%
  7/12/2016           $17.39          $17.40               $0.01          0.06%
  7/13/2016           $17.38          $17.40               $0.02          0.12%
  7/14/2016           $17.67          $17.68               $0.01          0.06%
  7/15/2016           $17.63          $17.64               $0.01          0.06%
  7/18/2016           $17.91          $17.92               $0.01          0.06%
  7/19/2016           $17.44          $17.45               $0.01          0.06%
  7/20/2016           $18.03          $18.04               $0.01          0.06%
  7/21/2016           $18.00          $18.01               $0.01          0.06%
  7/22/2016           $17.49          $17.50               $0.01          0.06%
  7/25/2016           $17.70          $17.71               $0.01          0.06%
  7/26/2016           $17.33          $17.34               $0.01          0.06%
  7/27/2016           $17.75          $17.76               $0.01          0.06%
  7/28/2016           $17.89          $17.90               $0.01          0.06%
  7/29/2016           $17.35          $17.36               $0.01          0.06%
   8/1/2016           $16.87          $16.88               $0.01          0.06%
   8/2/2016           $17.08          $17.10               $0.02          0.12%
   8/3/2016           $18.20          $18.21               $0.01          0.05%
   8/4/2016           $18.07          $18.08               $0.01          0.06%
   8/5/2016           $18.06          $18.07               $0.01          0.06%
   8/8/2016           $18.20          $18.21               $0.01          0.05%
   8/9/2016           $22.15          $22.16               $0.01          0.05%
  8/10/2016           $22.30          $22.31               $0.01          0.04%
  8/11/2016           $23.00          $23.01               $0.01          0.04%
  8/12/2016           $24.19          $24.20               $0.01          0.04%
  8/15/2016           $23.23          $23.24               $0.01          0.04%
  8/16/2016           $22.92          $22.93               $0.01          0.04%
  8/17/2016           $22.73          $22.74               $0.01          0.04%
  8/18/2016           $22.88          $22.89               $0.01          0.04%
  8/19/2016           $23.02          $23.03               $0.01          0.04%
  8/22/2016           $22.93          $22.94               $0.01          0.04%
  8/23/2016           $23.65          $23.66               $0.01          0.04%
  8/24/2016           $22.09          $22.10               $0.01          0.05%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
      Date           Last Bid        Last Ask           Spread ($)      Spread (%)
   8/25/2016          $21.01          $21.03               $0.02          0.10%
   8/26/2016          $21.02          $21.03               $0.01          0.05%
   8/29/2016          $20.81          $20.82               $0.01          0.05%
   8/30/2016          $20.88          $20.89               $0.01          0.05%
   8/31/2016          $20.69          $20.70               $0.01          0.05%
    9/1/2016          $20.22          $20.23               $0.01          0.05%
    9/2/2016          $19.81          $19.82               $0.01          0.05%
    9/6/2016          $20.48          $20.49               $0.01          0.05%
    9/7/2016          $20.29          $20.30               $0.01          0.05%
    9/8/2016          $20.64          $20.65               $0.01          0.05%
    9/9/2016          $20.03          $20.04               $0.01          0.05%
   9/12/2016          $20.79          $20.80               $0.01          0.05%
   9/13/2016          $20.33          $20.34               $0.01          0.05%
   9/14/2016          $20.33          $20.34               $0.01          0.05%
   9/15/2016          $20.68          $20.69               $0.01          0.05%
   9/16/2016          $20.84          $20.85               $0.01          0.05%
   9/19/2016          $20.06          $20.07               $0.01          0.05%
   9/20/2016          $20.28          $20.29               $0.01          0.05%
   9/21/2016          $20.08          $20.09               $0.01          0.05%
   9/22/2016          $20.25          $20.26               $0.01          0.05%
   9/23/2016          $23.39          $23.40               $0.01          0.04%
   9/26/2016          $21.99          $22.00               $0.01          0.05%
   9/27/2016          $22.53          $22.54               $0.01          0.04%
   9/28/2016          $22.35          $22.36               $0.01          0.04%
   9/29/2016          $20.92          $20.93               $0.01          0.05%
   9/30/2016          $20.14          $20.15               $0.01          0.05%
   10/3/2016          $20.56          $20.57               $0.01          0.05%
   10/4/2016          $20.38          $20.39               $0.01          0.05%
   10/5/2016          $21.41          $21.42               $0.01          0.05%
   10/6/2016          $20.62          $20.63               $0.01          0.05%
   10/7/2016          $20.37          $20.38               $0.01          0.05%
  10/10/2016          $21.17          $21.18               $0.01          0.05%
  10/11/2016          $20.46          $20.47               $0.01          0.05%
  10/12/2016          $19.62          $19.63               $0.01          0.05%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
  10/13/2016          $19.79          $19.80               $0.01          0.05%
  10/14/2016          $19.85          $19.86               $0.01          0.05%
  10/17/2016          $19.26          $19.27               $0.01          0.05%
  10/18/2016          $19.85          $19.86               $0.01          0.05%
  10/19/2016          $19.88          $19.89               $0.01          0.05%
  10/20/2016          $20.53          $20.54               $0.01          0.05%
  10/21/2016          $20.81          $20.82               $0.01          0.05%
  10/24/2016          $20.81          $20.82               $0.01          0.05%
  10/25/2016          $21.48          $21.49               $0.01          0.05%
  10/26/2016          $20.78          $20.79               $0.01          0.05%
  10/27/2016          $20.41          $20.42               $0.01          0.05%
  10/28/2016          $19.57          $19.58               $0.01          0.05%
  10/31/2016          $18.75          $18.76               $0.01          0.05%
   11/1/2016          $18.86          $18.87               $0.01          0.05%
   11/2/2016          $18.17          $18.18               $0.01          0.06%
   11/3/2016          $14.63          $14.64               $0.01          0.07%
   11/4/2016          $14.97          $14.98               $0.01          0.07%
   11/7/2016          $15.66          $15.67               $0.01          0.06%
   11/8/2016          $14.48          $14.49               $0.01          0.07%
   11/9/2016          $16.26          $16.27               $0.01          0.06%
  11/10/2016          $17.46          $17.47               $0.01          0.06%
  11/11/2016          $17.57          $17.58               $0.01          0.06%
  11/14/2016          $18.19          $18.20               $0.01          0.05%
  11/15/2016          $17.84          $17.85               $0.01          0.06%
  11/16/2016          $17.09          $17.10               $0.01          0.06%
  11/17/2016          $17.05          $17.06               $0.01          0.06%
  11/18/2016          $17.12          $17.13               $0.01          0.06%
  11/21/2016          $17.09          $17.10               $0.01          0.06%
  11/22/2016          $16.25          $16.26               $0.01          0.06%
  11/23/2016          $16.70          $16.71               $0.01          0.06%
  11/25/2016          $16.46          $16.47               $0.01          0.06%
  11/28/2016          $16.67          $16.68               $0.01          0.06%
  11/29/2016          $16.17          $16.18               $0.01          0.06%
  11/30/2016          $16.00          $16.01               $0.01          0.06%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
      Date           Last Bid        Last Ask           Spread ($)      Spread (%)
   12/1/2016          $15.82          $15.83               $0.01          0.06%
   12/2/2016          $15.80          $15.81               $0.01          0.06%
   12/5/2016          $15.86          $15.87               $0.01          0.06%
   12/6/2016          $15.85          $15.86               $0.01          0.06%
   12/7/2016          $15.08          $15.09               $0.01          0.07%
   12/8/2016          $15.63          $15.64               $0.01          0.06%
   12/9/2016          $15.63          $15.64               $0.01          0.06%
  12/12/2016          $15.40          $15.41               $0.01          0.06%
  12/13/2016          $15.94          $15.95               $0.01          0.06%
  12/14/2016          $15.34          $15.35               $0.01          0.07%
  12/15/2016          $15.44          $15.45               $0.01          0.06%
  12/16/2016          $16.02          $16.03               $0.01          0.06%
  12/19/2016          $16.02          $16.03               $0.01          0.06%
  12/20/2016          $16.03          $16.04               $0.01          0.06%
  12/21/2016          $15.69          $15.70               $0.01          0.06%
  12/22/2016          $15.77          $15.78               $0.01          0.06%
  12/23/2016          $16.26          $16.27               $0.01          0.06%
  12/27/2016          $15.89          $15.90               $0.01          0.06%
  12/28/2016          $15.65          $15.66               $0.01          0.06%
  12/29/2016          $15.68          $15.69               $0.01          0.06%
  12/30/2016          $16.47          $16.48               $0.01          0.06%
    1/3/2017          $17.46          $17.47               $0.01          0.06%
    1/4/2017          $17.69          $17.70               $0.01          0.06%
    1/5/2017          $17.52          $17.53               $0.01          0.06%
    1/6/2017          $16.54          $16.55               $0.01          0.06%
    1/9/2017          $16.40          $16.41               $0.01          0.06%
   1/10/2017          $15.29          $15.30               $0.01          0.07%
   1/11/2017          $13.99          $14.00               $0.01          0.07%
   1/12/2017          $13.85          $13.86               $0.01          0.07%
   1/13/2017          $13.18          $13.19               $0.01          0.08%
   1/17/2017          $13.05          $13.06               $0.01          0.08%
   1/18/2017          $13.16          $13.17               $0.01          0.08%
   1/19/2017          $12.89          $12.90               $0.01          0.08%
   1/20/2017          $12.34          $12.35               $0.01          0.08%



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Exhibit 10A
Endo International plc
Bid Ask Spreads on the Nasdaq GS
Source: Bloomberg


                     ENDP        Nasdaq GS Sample        ENDP        Nasdaq GS Sample
                    Spread ($)       Spread ($)        Spread (%)       Spread (%)
   Average            $0.01            $0.06             0.04%            0.20%
   Median             $0.01            $0.05             0.04%            0.16%


                                  Endo International's Stock
     Date            Last Bid        Last Ask           Spread ($)      Spread (%)
  1/23/2017           $12.16          $12.17               $0.01          0.08%
  1/24/2017           $11.84          $11.85               $0.01          0.08%
  1/25/2017           $11.88          $11.89               $0.01          0.08%
  1/26/2017           $11.99          $12.00               $0.01          0.08%
  1/27/2017           $11.77          $11.78               $0.01          0.08%
  1/30/2017           $11.80          $11.81               $0.01          0.08%
  1/31/2017           $12.23          $12.24               $0.01          0.08%
   2/1/2017           $12.33          $12.34               $0.01          0.08%
   2/2/2017           $12.60          $12.61               $0.01          0.08%
   2/3/2017           $12.71          $12.72               $0.01          0.08%
   2/6/2017           $12.52          $12.53               $0.01          0.08%
   2/7/2017           $12.01          $12.02               $0.01          0.08%
   2/8/2017           $12.28          $12.29               $0.01          0.08%
   2/9/2017           $12.18          $12.19               $0.01          0.08%
  2/10/2017           $12.05          $12.06               $0.01          0.08%
  2/13/2017           $12.10          $12.11               $0.01          0.08%
  2/14/2017           $12.65          $12.66               $0.01          0.08%
  2/15/2017           $13.64          $13.65               $0.01          0.07%
  2/16/2017           $13.29          $13.30               $0.01          0.08%
  2/17/2017           $13.08          $13.09               $0.01          0.08%
  2/21/2017           $13.19          $13.20               $0.01          0.08%
  2/22/2017           $12.89          $12.90               $0.01          0.08%
  2/23/2017           $13.39          $13.40               $0.01          0.07%
  2/24/2017           $13.15          $13.16               $0.01          0.08%
  2/27/2017           $13.29          $13.30               $0.01          0.08%




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Exhibit 10B
Endo International plc
Companies Used for Bid Ask Spread Analysis on the Nasdaq GS

     Bloomberg Symbol                             Company
EGHT US Equity              8X8 INC
ACTG US Equity              ACACIA RESEARCH CORP
ADUS US Equity              ADDUS HOMECARE CORP
AVAV US Equity              AEROVIRONMENT INC
AKAM US Equity              AKAMAI TECHNOLOGIES INC
ABDC US Equity              ALCENTRA CAPITAL CORP
ALKS US Equity              ALKERMES PLC
AMSWA US Equity             AMERICAN SOFTWARE INC-CL A
CRMT US Equity              AMERICA'S CAR-MART INC
ALOG US Equity              ANALOGIC CORP
ANGO US Equity              ANGIODYNAMICS INC
APEX US Equity              APEX GLOBAL BRANDS INC
AINV US Equity              APOLLO INVESTMENT CORP
ASRT US Equity              ASSERTIO THERAPEUTICS INC
ASTE US Equity              ASTEC INDUSTRIES INC
CAR US Equity               AVIS BUDGET GROUP INC
BBQ US Equity               BBQ HOLDINGS INC
BLMN US Equity              BLOOMIN' BRANDS INC
BCOR US Equity              BLUCORA INC
BKNG US Equity              BOOKING HOLDINGS INC
CAMP US Equity              CALAMP CORP
CPTA US Equity              CAPITALA FINANCE CORP
CENT US Equity              CENTRAL GARDEN & PET CO
CLNE US Equity              CLEAN ENERGY FUELS CORP
CCNE US Equity              CNB FINANCIAL CORP/PA
COHR US Equity              COHERENT INC
CVBF US Equity              CVB FINANCIAL CORP
DISCA US Equity             DISCOVERY INC - A
LOCO US Equity              EL POLLO LOCO HOLDINGS INC
ECPG US Equity              ENCORE CAPITAL GROUP INC
ENOC US Equity              ENEL X NORTH AMERICA INC
EFSC US Equity              ENTERPRISE FINANCIAL SERVICE
ESSA US Equity              ESSA BANCORP INC
FARM US Equity              FARMER BROS CO
FINL US Equity              FINISH LINE/THE - CL A
FCNCA US Equity             FIRST CITIZENS BCSHS -CL A
FFNW US Equity              FIRST FINANCIAL NORTHWEST
SVVC US Equity              FIRSTHAND TECHNOLOGY VALUE
GNCMA US Equity             GCI LIBERTY INC/DE
GHDX US Equity              GENOMIC HEALTH INC
GERN US Equity              GERON CORP
GSOL US Equity              GLOBAL SOURCES LTD



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Exhibit 10B
Endo International plc
Companies Used for Bid Ask Spread Analysis on the Nasdaq GS

     Bloomberg Symbol                             Company
GLNG US Equity              GOLAR LNG LTD
GBDC US Equity              GOLUB CAPITAL BDC INC
GPRO US Equity              GOPRO INC-CLASS A
GIFI US Equity              GULF ISLAND FABRICATION INC
HALO US Equity              HALOZYME THERAPEUTICS INC
HSII US Equity              HEIDRICK & STRUGGLES INTL
HOLI US Equity              HOLLYSYS AUTOMATION TECHNOLO
IMBI US Equity              IMEDIA BRANDS INC
INDB US Equity              INDEPENDENT BANK CORP/MA
INTC US Equity              INTEL CORP
ISCA US Equity              INTL SPEEDWAY CORP-CL A
ISRG US Equity              INTUITIVE SURGICAL INC
XXIA US Equity              IXIA
JCOM US Equity              J2 GLOBAL INC
LGIH US Equity              LGI HOMES INC
LQDT US Equity              LIQUIDITY SERVICES INC
LPSN US Equity              LIVEPERSON INC
MATW US Equity              MATTHEWS INTL CORP-CLASS A
MBWM US Equity              MERCANTILE BANK CORP
MIK US Equity               MICHAELS COS INC/THE
MSCC US Equity              MICROSEMI CORP
MNRO US Equity              MONRO INC
NKTR US Equity              NEKTAR THERAPEUTICS
NEOG US Equity              NEOGEN CORP
NVDA US Equity              NVIDIA CORP
OPB US Equity               OPUS BANK
OFIX US Equity              ORTHOFIX MEDICAL INC
PERI US Equity              PERION NETWORK LTD
PETS US Equity              PETMED EXPRESS INC
PLPC US Equity              PREFORMED LINE PRODUCTS CO
PINC US Equity              PREMIER INC-CLASS A
PRSC US Equity              PROVIDENCE SERVICE CORP
QRTEA US Equity             QURATE RETAIL INC-SERIES A
RNWK US Equity              REALNETWORKS INC
RNET US Equity              RIGNET INC
SEAC US Equity              SEACHANGE INTERNATIONAL INC
SHEN US Equity              SHENANDOAH TELECOMMUNICATION
SLAB US Equity              SILICON LABORATORIES INC
SINA US Equity              SINA CORP
SONC US Equity              SONIC CORP
SPLK US Equity              SPLUNK INC
STFC US Equity              STATE AUTO FINANCIAL CORP



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Exhibit 10B
Endo International plc
Companies Used for Bid Ask Spread Analysis on the Nasdaq GS

     Bloomberg Symbol                             Company
SNPS US Equity              SYNOPSYS INC
TAOP US Equity              TAOPING INC
TNAV US Equity              TELENAV INC
TTEK US Equity              TETRA TECH INC
TFCFA US Equity             TFCF CORP
TA US Equity                TRAVELCENTERS OF AMERICA INC
UTEK US Equity              ULTRATECH INC
UBNK US Equity              UNITED FINANCIAL BANCORP INC
9988445D US Equity          US ECOLOGY INC
ECOL US Equity              US ECOLOGY INC
USAK US Equity              USA TRUCK INC
VIA US Equity               VIACOM INC-CLASS A
WBA US Equity               WALGREENS BOOTS ALLIANCE INC
WIX US Equity               WIX.COM LTD
WMGI US Equity              WRIGHT MEDICAL GROUP NV
1518855D US Equity          YAHOO! INC - SET UP FOR FUND




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Exhibit 11A
Endo International plc
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  3/2/2015      3/2/2014       3/1/2015       248    0.4425      0.4379       0.0134     1.773    -0.07%       1.390          11.83        0.535          7.39
  3/3/2015      3/3/2014       3/2/2015       248    0.4425      0.4379       0.0134     1.773    -0.07%       1.390          11.83        0.535          7.39
  3/4/2015      3/4/2014       3/3/2015       248    0.4446      0.4400       0.0132     1.806    -0.06%       1.377          11.81        0.540          7.52
  3/5/2015      3/5/2014       3/4/2015       248    0.4434      0.4388       0.0132     1.805    -0.05%       1.382          11.77        0.539          7.53
  3/6/2015      3/6/2014       3/5/2015       248    0.4462      0.4417       0.0132     1.817    -0.04%       1.382          11.79        0.544          7.64
  3/9/2015      3/9/2014       3/8/2015       247    0.4424      0.4378       0.0132     1.809    -0.02%       1.373          11.82        0.528          7.34
  3/10/2015     3/10/2014      3/9/2015       248    0.4395      0.4349       0.0133     1.785    -0.01%       1.379          11.81        0.524          7.25
  3/11/2015     3/11/2014      3/10/2015      248    0.4401      0.4355       0.0132     1.795     0.00%       1.355          11.76        0.530          7.37
  3/12/2015     3/12/2014      3/11/2015      248    0.4389      0.4343       0.0133     1.795     0.00%       1.358          11.75        0.528          7.32
  3/13/2015     3/13/2014      3/12/2015      248    0.4409      0.4363       0.0133     1.804     0.00%       1.371          11.87        0.522          7.22
  3/16/2015     3/16/2014      3/15/2015      247    0.4346      0.4299       0.0135     1.811    -0.01%       1.379          11.76        0.512          7.01
  3/17/2015     3/17/2014      3/16/2015      248    0.4389      0.4344       0.0135     1.841    -0.01%       1.386          11.92        0.513          7.04
  3/18/2015     3/18/2014      3/17/2015      248    0.4386      0.4340       0.0135     1.826     0.00%       1.387          11.89        0.516          7.08
  3/19/2015     3/19/2014      3/18/2015      248    0.4347      0.4301       0.0134     1.826    -0.01%       1.369          11.81        0.508          6.99
  3/20/2015     3/20/2014      3/19/2015      248    0.4324      0.4277       0.0134     1.824     0.00%       1.364          11.76        0.501          6.96
  3/23/2015     3/23/2014      3/22/2015      247    0.4304      0.4258       0.0135     1.801     0.01%       1.363          11.74        0.506          6.82
  3/24/2015     3/24/2014      3/23/2015      248    0.4326      0.4279       0.0134     1.802     0.00%       1.366          11.79        0.509          6.91
  3/25/2015     3/25/2014      3/24/2015      248    0.4271      0.4224       0.0133     1.815     0.02%       1.352          11.78        0.487          6.62
  3/26/2015     3/26/2014      3/25/2015      248    0.4255      0.4208       0.0133     1.813     0.02%       1.348          11.81        0.474          6.48
  3/27/2015     3/27/2014      3/26/2015      248    0.4227      0.4180       0.0133     1.823     0.03%       1.342          11.74        0.472          6.44
  3/30/2015     3/30/2014      3/29/2015      247    0.4300      0.4253       0.0133     1.832     0.03%       1.343          11.76        0.503          6.76
  3/31/2015     3/31/2014      3/30/2015      248    0.4316      0.4270       0.0133     1.834     0.03%       1.343          11.84        0.503          6.77
  4/1/2015      4/1/2014       3/31/2015      248    0.4305      0.4258       0.0133     1.815     0.02%       1.340          11.84        0.500          6.71
  4/2/2015      4/2/2014       4/1/2015       248    0.4363      0.4317       0.0132     1.836     0.03%       1.348          11.96        0.507          6.83
  4/6/2015      4/6/2014       4/5/2015       246    0.4264      0.4217       0.0133     1.797     0.05%       1.336          11.74        0.496          6.54
  4/7/2015      4/7/2014       4/6/2015       247    0.4259      0.4212       0.0132     1.801     0.05%       1.330          11.72        0.499          6.60
  4/8/2015      4/8/2014       4/7/2015       247    0.4313      0.4266       0.0130     1.859     0.07%       1.300          11.62        0.528          7.08
  4/9/2015      4/9/2014       4/8/2015       247    0.4348      0.4301       0.0130     1.858     0.08%       1.306          11.67        0.531          7.17
  4/10/2015     4/10/2014      4/9/2015       247    0.4354      0.4308       0.0130     1.865     0.08%       1.305          11.64        0.543          7.27
  4/13/2015     4/13/2014      4/12/2015      246    0.4137      0.4089       0.0130     1.868     0.10%       1.263          11.04        0.536          7.04
  4/14/2015     4/14/2014      4/13/2015      247    0.4137      0.4089       0.0130     1.864     0.10%       1.266          11.09        0.534          7.02
  4/15/2015     4/15/2014      4/14/2015      247    0.4158      0.4110       0.0129     1.873     0.10%       1.278          11.20        0.528          6.95
  4/16/2015     4/16/2014      4/15/2015      247    0.4196      0.4149       0.0129     1.866     0.12%       1.294          11.32        0.528          6.95
  4/17/2015     4/17/2014      4/16/2015      247    0.4150      0.4102       0.0129     1.880     0.11%       1.286          11.20        0.526          6.90
  4/20/2015     4/20/2014      4/19/2015      247    0.4183      0.4136       0.0129     1.846     0.11%       1.292          11.32        0.525          6.88
  4/21/2015     4/21/2014      4/20/2015      248    0.4170      0.4122       0.0129     1.843     0.11%       1.282          11.28        0.527          6.93
  4/22/2015     4/22/2014      4/21/2015      248    0.4157      0.4109       0.0128     1.878     0.10%       1.269          11.27        0.518          6.88
  4/23/2015     4/23/2014      4/22/2015      248    0.4097      0.4049       0.0128     1.887     0.08%       1.256          11.15        0.515          6.77
  4/24/2015     4/24/2014      4/23/2015      248    0.4128      0.4080       0.0128     1.892     0.08%       1.258          11.19        0.521          6.86
  4/27/2015     4/27/2014      4/26/2015      247    0.4094      0.4046       0.0128     1.892     0.08%       1.250          11.06        0.522          6.84
  4/28/2015     4/28/2014      4/27/2015      248    0.4168      0.4120       0.0128     1.892     0.07%       1.258          11.17        0.528          7.09
  4/29/2015     4/29/2014      4/28/2015      248    0.4155      0.4107       0.0129     1.856     0.06%       1.254          11.03        0.542          7.25
  4/30/2015     4/30/2014      4/29/2015      248    0.4105      0.4057       0.0128     1.852     0.04%       1.245          11.03        0.522          6.99


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  5/1/2015      5/1/2014       4/30/2015      248    0.4181      0.4134       0.0128     1.852     0.04%       1.260          11.22        0.526          7.08
  5/4/2015      5/4/2014       5/3/2015       248    0.4169      0.4122       0.0128     1.843     0.04%       1.257          11.22        0.522          7.01
  5/5/2015      5/5/2014       5/4/2015       249    0.4168      0.4120       0.0128     1.848     0.04%       1.259          11.25        0.521          7.02
  5/6/2015      5/6/2014       5/5/2015       249    0.4185      0.4137       0.0128     1.857     0.03%       1.261          11.36        0.515          6.93
  5/7/2015      5/7/2014       5/6/2015       249    0.4182      0.4134       0.0128     1.858     0.03%       1.261          11.34        0.515          6.95
  5/8/2015      5/8/2014       5/7/2015       249    0.4191      0.4144       0.0128     1.860     0.04%       1.265          11.35        0.520          6.98
  5/11/2015     5/11/2014      5/10/2015      248    0.4182      0.4134       0.0128     1.874     0.03%       1.256          11.30        0.523          6.95
  5/12/2015     5/12/2014      5/11/2015      248    0.4182      0.4134       0.0128     1.874     0.03%       1.256          11.30        0.523          6.95
  5/13/2015     5/13/2014      5/12/2015      248    0.4124      0.4076       0.0129     1.857     0.02%       1.251          11.18        0.519          6.85
  5/14/2015     5/14/2014      5/13/2015      248    0.4136      0.4088       0.0129     1.865     0.01%       1.252          11.19        0.523          6.89
  5/15/2015     5/15/2014      5/14/2015      248    0.4152      0.4104       0.0129     1.857     0.01%       1.255          11.26        0.521          6.86
  5/18/2015     5/18/2014      5/17/2015      247    0.4234      0.4186       0.0128     1.861     0.00%       1.275          11.46        0.522          6.91
  5/19/2015     5/19/2014      5/18/2015      248    0.3951      0.3902       0.0133     1.794    -0.02%       1.264          10.89        0.507          6.43
  5/20/2015     5/20/2014      5/19/2015      248    0.3936      0.3886       0.0134     1.939    -0.01%       1.265          10.83        0.512          6.45
  5/21/2015     5/21/2014      5/20/2015      248    0.3916      0.3867       0.0135     1.911     0.00%       1.265          10.72        0.523          6.54
  5/22/2015     5/22/2014      5/21/2015      248    0.3903      0.3853       0.0135     1.946     0.00%       1.258          10.65        0.527          6.58
  5/26/2015     5/26/2014      5/25/2015      247    0.3885      0.3835       0.0135     1.930    -0.01%       1.255          10.61        0.524          6.52
  5/27/2015     5/27/2014      5/26/2015      248    0.3914      0.3864       0.0135     1.928    -0.01%       1.261          10.72        0.524          6.52
  5/28/2015     5/28/2014      5/27/2015      248    0.3974      0.3924       0.0134     1.930    -0.01%       1.262          10.81        0.536          6.69
  5/29/2015     5/29/2014      5/28/2015      248    0.3983      0.3934       0.0134     1.894    -0.01%       1.263          10.82        0.538          6.71
  6/1/2015      6/1/2014       5/31/2015      247    0.4057      0.4008       0.0133     1.932     0.01%       1.269          11.00        0.536          6.75
  6/2/2015      6/2/2014       6/1/2015       248    0.4055      0.4007       0.0133     1.933     0.01%       1.269          11.02        0.535          6.76
  6/3/2015      6/3/2014       6/2/2015       248    0.4065      0.4016       0.0132     1.940     0.02%       1.269          11.05        0.535          6.77
  6/4/2015      6/4/2014       6/3/2015       248    0.4069      0.4021       0.0132     1.942     0.02%       1.270          11.05        0.536          6.78
  6/5/2015      6/5/2014       6/4/2015       248    0.4087      0.4039       0.0132     1.948     0.03%       1.268          11.08        0.539          6.82
  6/8/2015      6/8/2014       6/7/2015       247    0.4092      0.4043       0.0132     1.942     0.03%       1.275          11.11        0.532          6.75
  6/9/2015      6/9/2014       6/8/2015       248    0.4064      0.4016       0.0133     1.950     0.04%       1.268          11.05        0.533          6.75
  6/10/2015     6/10/2014      6/9/2015       248    0.4077      0.4028       0.0133     1.968     0.03%       1.268          11.04        0.540          6.84
  6/11/2015     6/11/2014      6/10/2015      248    0.4061      0.4012       0.0133     1.965     0.03%       1.254          10.96        0.544          6.88
  6/12/2015     6/12/2014      6/11/2015      248    0.4053      0.4004       0.0133     1.963     0.03%       1.253          10.94        0.543          6.87
  6/15/2015     6/15/2014      6/14/2015      247    0.4095      0.4046       0.0133     1.957     0.01%       1.260          11.01        0.548          6.93
  6/16/2015     6/16/2014      6/15/2015      248    0.4074      0.4026       0.0133     1.961     0.02%       1.253          10.96        0.550          6.96
  6/17/2015     6/17/2014      6/16/2015      248    0.4076      0.4028       0.0133     1.970     0.02%       1.251          10.95        0.551          6.97
  6/18/2015     6/18/2014      6/17/2015      248    0.4058      0.4010       0.0133     1.964     0.02%       1.250          10.92        0.549          6.93
  6/19/2015     6/19/2014      6/18/2015      248    0.4122      0.4074       0.0133     1.971     0.03%       1.267          11.07        0.555          7.02
  6/22/2015     6/22/2014      6/21/2015      247    0.4102      0.4053       0.0133     1.956     0.03%       1.260          11.02        0.550          6.94
  6/23/2015     6/23/2014      6/22/2015      248    0.4089      0.4040       0.0133     1.962     0.03%       1.257          11.02        0.548          6.92
  6/24/2015     6/24/2014      6/23/2015      248    0.4080      0.4032       0.0133     1.948     0.03%       1.256          11.02        0.545          6.88
  6/25/2015     6/25/2014      6/24/2015      248    0.4129      0.4081       0.0133     1.961     0.02%       1.277          11.25        0.535          6.76
  6/26/2015     6/26/2014      6/25/2015      248    0.4131      0.4083       0.0132     1.955     0.01%       1.272          11.24        0.537          6.80
  6/29/2015     6/29/2014      6/28/2015      247    0.4148      0.4100       0.0132     1.964     0.01%       1.272          11.22        0.542          6.85
  6/30/2015     6/30/2014      6/29/2015      248    0.4221      0.4174       0.0132     1.966     0.01%       1.278          11.48        0.542          6.87
  7/1/2015      7/1/2014       6/30/2015      248    0.4240      0.4193       0.0132     1.967     0.02%       1.280          11.50        0.544          6.94


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  7/2/2015      7/2/2014       7/1/2015       248    0.4252      0.4205       0.0132     1.966    0.02%        1.284          11.54        0.546          6.94
  7/6/2015      7/6/2014       7/5/2015       247    0.4273      0.4227       0.0132     1.974    0.04%        1.287          11.56        0.548          6.96
  7/7/2015      7/7/2014       7/6/2015       248    0.4272      0.4225       0.0132     1.981    0.04%        1.288          11.59        0.546          6.96
  7/8/2015      7/8/2014       7/7/2015       248    0.4225      0.4178       0.0132     1.971    0.04%        1.277          11.50        0.540          6.85
  7/9/2015      7/9/2014       7/8/2015       248    0.4332      0.4286       0.0132     1.966    0.03%        1.298          11.79        0.550          6.95
  7/10/2015     7/10/2014      7/9/2015       248    0.4340      0.4294       0.0132     1.974    0.04%        1.302          11.78        0.556          7.01
  7/13/2015     7/13/2014      7/12/2015      247    0.4388      0.4342       0.0133     1.930    0.06%        1.314          11.91        0.557          7.00
  7/14/2015     7/14/2014      7/13/2015      248    0.4390      0.4344       0.0132     1.941    0.06%        1.311          11.94        0.556          7.00
  7/15/2015     7/15/2014      7/14/2015      248    0.4443      0.4398       0.0131     1.965    0.05%        1.306          12.02        0.562          7.18
  7/16/2015     7/16/2014      7/15/2015      248    0.4419      0.4373       0.0131     1.963    0.05%        1.304          11.99        0.560          7.09
  7/17/2015     7/17/2014      7/16/2015      248    0.4406      0.4360       0.0131     1.957    0.05%        1.303          11.98        0.559          7.02
  7/20/2015     7/20/2014      7/19/2015      247    0.4386      0.4340       0.0131     1.946    0.05%        1.303          11.87        0.565          7.05
  7/21/2015     7/21/2014      7/20/2015      248    0.4366      0.4320       0.0132     1.938    0.06%        1.304          11.86        0.564          7.02
  7/22/2015     7/22/2014      7/21/2015      248    0.4407      0.4361       0.0131     1.962    0.05%        1.309          11.98        0.562          7.04
  7/23/2015     7/23/2014      7/22/2015      248    0.4391      0.4345       0.0131     1.961    0.05%        1.306          11.94        0.561          7.02
  7/24/2015     7/24/2014      7/23/2015      248    0.4390      0.4345       0.0131     1.964    0.04%        1.305          11.95        0.563          7.00
  7/27/2015     7/27/2014      7/26/2015      247    0.4305      0.4259       0.0132     1.949    0.05%        1.298          11.83        0.535          6.68
  7/28/2015     7/28/2014      7/27/2015      248    0.4278      0.4231       0.0132     1.941    0.06%        1.293          11.79        0.533          6.64
  7/29/2015     7/29/2014      7/28/2015      248    0.4308      0.4261       0.0132     1.955    0.07%        1.296          11.93        0.526          6.57
  7/30/2015     7/30/2014      7/29/2015      248    0.4310      0.4264       0.0132     1.951    0.06%        1.284          11.80        0.542          6.81
  7/31/2015     7/31/2014      7/30/2015      248    0.4307      0.4261       0.0132     1.957    0.05%        1.284          11.82        0.538          6.76
  8/3/2015      8/3/2014       8/2/2015       248    0.4313      0.4266       0.0132     1.931    0.06%        1.283          11.79        0.544          6.84
  8/4/2015      8/4/2014       8/3/2015       249    0.4314      0.4268       0.0132     1.939    0.06%        1.283          11.82        0.544          6.84
  8/5/2015      8/5/2014       8/4/2015       249    0.4349      0.4303       0.0131     1.950    0.06%        1.299          11.98        0.537          6.77
  8/6/2015      8/6/2014       8/5/2015       249    0.4363      0.4317       0.0130     2.011    0.07%        1.283          11.91        0.546          6.96
  8/7/2015      8/7/2014       8/6/2015       249    0.4538      0.4494       0.0129     2.023    0.07%        1.304          12.21        0.570          7.43
  8/10/2015     8/10/2014      8/9/2015       248    0.4429      0.4384       0.0131     2.026    0.07%        1.290          11.89        0.568          7.31
  8/11/2015     8/11/2014      8/10/2015      248    0.4429      0.4384       0.0131     2.026    0.07%        1.290          11.89        0.568          7.31
  8/12/2015     8/12/2014      8/11/2015      248    0.4472      0.4427       0.0130     2.064    0.08%        1.292          12.01        0.568          7.35
  8/13/2015     8/13/2014      8/12/2015      248    0.4468      0.4422       0.0130     2.066    0.09%        1.290          12.00        0.565          7.33
  8/14/2015     8/14/2014      8/13/2015      248    0.4439      0.4393       0.0130     2.066    0.08%        1.286          11.94        0.562          7.28
  8/17/2015     8/17/2014      8/16/2015      247    0.4436      0.4390       0.0130     2.050    0.09%        1.284          11.93        0.557          7.23
  8/18/2015     8/18/2014      8/17/2015      248    0.4456      0.4411       0.0129     2.054    0.09%        1.288          11.99        0.559          7.28
  8/19/2015     8/19/2014      8/18/2015      248    0.4466      0.4420       0.0129     2.054    0.09%        1.293          12.02        0.560          7.30
  8/20/2015     8/20/2014      8/19/2015      248    0.4474      0.4429       0.0129     2.053    0.09%        1.294          12.05        0.559          7.30
  8/21/2015     8/21/2014      8/20/2015      248    0.4600      0.4556       0.0130     2.050    0.09%        1.316          12.43        0.563          7.36
  8/24/2015     8/24/2014      8/23/2015      247    0.4756      0.4713       0.0130     2.034    0.08%        1.342          13.03        0.554          7.18
  8/25/2015     8/25/2014      8/24/2015      248    0.4860      0.4818       0.0130     2.047    0.09%        1.318          13.41        0.554          7.20
  8/26/2015     8/26/2014      8/25/2015      248    0.4842      0.4800       0.0130     2.048    0.09%        1.305          13.34        0.554          7.21
  8/27/2015     8/27/2014      8/26/2015      248    0.4960      0.4919       0.0130     2.049    0.08%        1.291          13.76        0.554          7.20
  8/28/2015     8/28/2014      8/27/2015      248    0.5022      0.4982       0.0130     2.048    0.08%        1.294          13.99        0.552          7.18
  8/31/2015     8/31/2014      8/30/2015      247    0.5034      0.4993       0.0130     2.058    0.09%        1.294          14.00        0.551          7.17
  9/1/2015      9/1/2014       8/31/2015      248    0.5064      0.5024       0.0130     2.060    0.09%        1.299          14.11        0.551          7.24


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

               Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                     Num Obs Model R2                                     Intercept
                   Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   9/2/2015      9/2/2014       9/1/2015       249    0.5166      0.5126       0.0130     2.053     0.08%       1.311          14.53        0.546          7.18
   9/3/2015      9/3/2014       9/2/2015       249    0.5171      0.5132       0.0130     2.040     0.08%       1.306          14.58        0.541          7.12
   9/4/2015      9/4/2014       9/3/2015       249    0.5180      0.5140       0.0130     2.039     0.08%       1.305          14.60        0.537          7.15
   9/8/2015      9/8/2014       9/7/2015       248    0.5213      0.5174       0.0130     2.052     0.08%       1.304          14.66        0.542          7.20
   9/9/2015      9/9/2014       9/8/2015       248    0.5329      0.5291       0.0130     2.056     0.08%       1.324          15.09        0.542          7.20
   9/10/2015     9/10/2014      9/9/2015       248    0.5346      0.5308       0.0130     2.059     0.08%       1.325          15.15        0.542          7.20
   9/11/2015     9/11/2014      9/10/2015      248    0.5326      0.5288       0.0130     2.055     0.08%       1.323          15.11        0.538          7.13
   9/14/2015     9/14/2014      9/13/2015      247    0.5304      0.5266       0.0131     2.044     0.07%       1.321          15.02        0.537          7.08
   9/15/2015     9/15/2014      9/14/2015      248    0.5306      0.5267       0.0130     2.051     0.07%       1.321          15.05        0.537          7.09
   9/16/2015     9/16/2014      9/15/2015      248    0.5335      0.5297       0.0130     2.049     0.07%       1.322          15.14        0.541          7.13
   9/17/2015     9/17/2014      9/16/2015      248    0.5253      0.5214       0.0133     1.940     0.08%       1.335          15.02        0.521          6.76
   9/18/2015     9/18/2014      9/17/2015      248    0.5345      0.5307       0.0130     1.920     0.08%       1.330          15.25        0.523          6.98
   9/21/2015     9/21/2014      9/20/2015      247    0.5315      0.5276       0.0130     1.879     0.09%       1.313          15.09        0.527          7.00
   9/22/2015     9/22/2014      9/21/2015      248    0.5360      0.5322       0.0131     1.934     0.07%       1.303          14.92        0.564          7.78
   9/23/2015     9/23/2014      9/22/2015      248    0.5377      0.5340       0.0131     1.925     0.07%       1.308          14.98        0.565          7.78
   9/24/2015     9/24/2014      9/23/2015      248    0.5379      0.5341       0.0131     1.931     0.07%       1.309          14.99        0.565          7.78
   9/25/2015     9/25/2014      9/24/2015      248    0.5357      0.5319       0.0132     1.897     0.05%       1.309          14.86        0.576          7.87
   9/28/2015     9/28/2014      9/27/2015      247    0.5545      0.5509       0.0131     1.931     0.01%       1.330          15.11        0.607          8.69
   9/29/2015     9/29/2014      9/28/2015      248    0.5758      0.5723       0.0134     1.864    -0.01%       1.405          15.78        0.647          9.13
   9/30/2015     9/30/2014      9/29/2015      248    0.5747      0.5712       0.0135     1.876    -0.02%       1.403          15.72        0.651          9.17
   10/1/2015     10/1/2014      9/30/2015      248    0.5606      0.5570       0.0150     1.789     0.03%       1.499          15.23        0.705          8.98
   10/2/2015     10/2/2014      10/1/2015      248    0.5625      0.5589       0.0150     1.968     0.03%       1.509          15.30        0.705          9.00
   10/5/2015     10/5/2014      10/4/2015      247    0.5591      0.5555       0.0150     1.964     0.02%       1.500          15.18        0.698          8.89
   10/6/2015     10/6/2014      10/5/2015      248    0.5427      0.5389       0.0154     1.901    -0.01%       1.437          14.25        0.747          9.37
   10/7/2015     10/7/2014      10/6/2015      248    0.5478      0.5441       0.0155     1.920    -0.02%       1.443          14.28        0.760          9.64
   10/8/2015     10/8/2014      10/7/2015      248    0.5408      0.5370       0.0156     1.891    -0.04%       1.442          14.10        0.752          9.47
   10/9/2015     10/9/2014      10/8/2015      248    0.5361      0.5323       0.0156     1.889    -0.05%       1.429          13.91        0.749          9.47
  10/12/2015    10/12/2014     10/11/2015      247    0.5275      0.5237       0.0155     1.932    -0.02%       1.389          13.47        0.748          9.54
  10/13/2015    10/13/2014     10/12/2015      248    0.5274      0.5236       0.0154     1.935    -0.02%       1.389          13.50        0.748          9.56
  10/14/2015    10/14/2014     10/13/2015      248    0.5238      0.5199       0.0154     1.940    -0.02%       1.375          13.34        0.742          9.57
  10/15/2015    10/15/2014     10/14/2015      248    0.5212      0.5173       0.0155     1.920     0.00%       1.367          13.17        0.753          9.66
  10/16/2015    10/16/2014     10/15/2015      248    0.5230      0.5191       0.0155     1.950     0.00%       1.369          13.23        0.750          9.67
  10/19/2015    10/19/2014     10/18/2015      247    0.5169      0.5130       0.0157     1.941     0.01%       1.375          13.09        0.746          9.48
  10/20/2015    10/20/2014     10/19/2015      248    0.5105      0.5065       0.0158     1.981     0.00%       1.375          12.97        0.741          9.34
  10/21/2015    10/21/2014     10/20/2015      248    0.5177      0.5137       0.0159     1.959    -0.02%       1.385          12.96        0.769          9.74
  10/22/2015    10/22/2014     10/21/2015      248    0.4622      0.4578       0.0178     1.665    -0.07%       1.410          11.68        0.762          8.61
  10/23/2015    10/23/2014     10/22/2015      248    0.4442      0.4396       0.0183     1.640    -0.10%       1.353          10.97        0.787          8.68
  10/26/2015    10/26/2014     10/25/2015      247    0.4435      0.4389       0.0190     1.768    -0.07%       1.392          10.89        0.816          8.71
  10/27/2015    10/27/2014     10/26/2015      248    0.4413      0.4367       0.0191     1.761    -0.05%       1.388          10.80        0.826          8.77
  10/28/2015    10/28/2014     10/27/2015      248    0.4357      0.4311       0.0192     1.781    -0.06%       1.389          10.75        0.801          8.57
  10/29/2015    10/29/2014     10/28/2015      248    0.4361      0.4315       0.0192     1.801    -0.05%       1.400          10.80        0.801          8.53
  10/30/2015    10/30/2014     10/29/2015      248    0.4358      0.4312       0.0192     1.809    -0.05%       1.399          10.80        0.800          8.52
   11/2/2015     11/2/2014      11/1/2015      247    0.4358      0.4312       0.0193     1.807    -0.04%       1.402          10.77        0.804          8.52


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

               Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                     Num Obs Model R2                                     Intercept
                   Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   11/3/2015     11/3/2014      11/2/2015      248    0.4370      0.4324       0.0192     1.804    -0.04%       1.406          10.85        0.798          8.52
   11/4/2015     11/4/2014      11/3/2015      248    0.4387      0.4342       0.0192     1.815    -0.05%       1.406          10.88        0.798          8.55
   11/5/2015     11/5/2014      11/4/2015      248    0.4399      0.4353       0.0192     1.819    -0.06%       1.408          10.90        0.801          8.58
   11/6/2015     11/6/2014      11/5/2015      248    0.4399      0.4353       0.0192     1.819    -0.06%       1.408          10.90        0.801          8.58
   11/9/2015     11/9/2014      11/8/2015      247    0.4219      0.4172       0.0197     1.779    -0.03%       1.404          10.54        0.790          8.18
  11/10/2015    11/10/2014      11/9/2015      248    0.4220      0.4172       0.0197     1.849    -0.03%       1.404          10.58        0.786          8.18
  11/11/2015    11/11/2014     11/10/2015      248    0.4232      0.4184       0.0197     1.858    -0.02%       1.406          10.60        0.792          8.21
  11/12/2015    11/12/2014     11/11/2015      248    0.4192      0.4144       0.0198     1.841    -0.01%       1.403          10.53        0.785          8.12
  11/13/2015    11/13/2014     11/12/2015      248    0.4181      0.4133       0.0198     1.840     0.00%       1.395          10.51        0.783          8.10
  11/16/2015    11/16/2014     11/15/2015      247    0.4160      0.4112       0.0199     1.836     0.03%       1.371          10.29        0.801          8.24
  11/17/2015    11/17/2014     11/16/2015      248    0.4131      0.4083       0.0200     1.861     0.01%       1.345          10.13        0.812          8.36
  11/18/2015    11/18/2014     11/17/2015      248    0.4137      0.4089       0.0200     1.871     0.01%       1.344          10.13        0.812          8.39
  11/19/2015    11/19/2014     11/18/2015      248    0.4140      0.4092       0.0199     1.870     0.01%       1.342          10.18        0.806          8.33
  11/20/2015    11/20/2014     11/19/2015      248    0.4126      0.4078       0.0200     1.864     0.01%       1.342          10.17        0.801          8.29
  11/23/2015    11/23/2014     11/22/2015      247    0.4129      0.4081       0.0200     1.867     0.00%       1.340          10.14        0.803          8.29
  11/24/2015    11/24/2014     11/23/2015      248    0.4131      0.4083       0.0199     1.867     0.01%       1.339          10.15        0.804          8.33
  11/25/2015    11/25/2014     11/24/2015      248    0.4113      0.4065       0.0199     1.867     0.00%       1.336          10.14        0.798          8.27
  11/27/2015    11/27/2014     11/26/2015      247    0.4121      0.4072       0.0199     1.865     0.00%       1.336          10.12        0.801          8.28
  11/30/2015    11/30/2014     11/29/2015      247    0.4123      0.4075       0.0200     1.858     0.01%       1.338          10.13        0.802          8.28
   12/1/2015     12/1/2014     11/30/2015      248    0.4129      0.4081       0.0199     1.859     0.00%       1.340          10.16        0.801          8.31
   12/2/2015     12/2/2014      12/1/2015      248    0.4119      0.4071       0.0199     1.859     0.01%       1.332          10.13        0.800          8.31
   12/3/2015     12/3/2014      12/2/2015      248    0.4170      0.4123       0.0198     1.868     0.02%       1.333          10.20        0.809          8.43
   12/4/2015     12/4/2014      12/3/2015      248    0.4196      0.4149       0.0198     1.867     0.01%       1.338          10.29        0.808          8.45
   12/7/2015     12/7/2014      12/6/2015      247    0.4253      0.4205       0.0199     1.861     0.02%       1.355          10.47        0.808          8.42
   12/8/2015     12/8/2014      12/7/2015      248    0.4285      0.4239       0.0199     1.871     0.00%       1.367          10.55        0.817          8.51
   12/9/2015     12/9/2014      12/8/2015      248    0.4266      0.4219       0.0200     1.861     0.00%       1.371          10.56        0.808          8.41
  12/10/2015    12/10/2014      12/9/2015      248    0.4273      0.4226       0.0200     1.866     0.00%       1.372          10.58        0.808          8.42
  12/11/2015    12/11/2014     12/10/2015      248    0.4238      0.4191       0.0200     1.861     0.00%       1.368          10.48        0.805          8.39
  12/14/2015    12/14/2014     12/13/2015      247    0.4227      0.4180       0.0200     1.863     0.00%       1.352          10.38        0.809          8.42
  12/15/2015    12/15/2014     12/14/2015      248    0.4228      0.4181       0.0199     1.863     0.00%       1.352          10.41        0.808          8.43
  12/16/2015    12/16/2014     12/15/2015      248    0.4266      0.4220       0.0200     1.854     0.02%       1.368          10.49        0.821          8.50
  12/17/2015    12/17/2014     12/16/2015      248    0.4298      0.4252       0.0200     1.869     0.02%       1.374          10.59        0.822          8.52
  12/18/2015    12/18/2014     12/17/2015      248    0.4276      0.4229       0.0200     1.871     0.02%       1.369          10.50        0.823          8.53
  12/21/2015    12/21/2014     12/20/2015      247    0.4255      0.4207       0.0200     1.870     0.02%       1.360          10.37        0.824          8.56
  12/22/2015    12/22/2014     12/21/2015      248    0.4252      0.4205       0.0200     1.871     0.02%       1.357          10.38        0.825          8.58
  12/23/2015    12/23/2014     12/22/2015      248    0.4248      0.4201       0.0200     1.867     0.03%       1.364          10.43        0.826          8.50
  12/24/2015    12/24/2014     12/23/2015      248    0.4286      0.4239       0.0199     1.895     0.03%       1.357          10.44        0.861          8.65
  12/28/2015    12/28/2014     12/27/2015      247    0.4284      0.4237       0.0200     1.901     0.02%       1.355          10.41        0.867          8.63
  12/29/2015    12/29/2014     12/28/2015      248    0.4288      0.4242       0.0199     1.900     0.02%       1.356          10.44        0.868          8.66
  12/30/2015    12/30/2014     12/29/2015      248    0.4289      0.4242       0.0199     1.899     0.02%       1.354          10.45        0.867          8.65
  12/31/2015    12/31/2014     12/30/2015      248    0.4285      0.4239       0.0199     1.900     0.02%       1.351          10.43        0.868          8.66
   1/4/2016      1/4/2015       1/3/2016       247    0.4292      0.4245       0.0200     1.902     0.02%       1.356          10.44        0.869          8.64
   1/5/2016      1/5/2015       1/4/2016       248    0.4305      0.4259       0.0200     1.903     0.02%       1.358          10.52        0.866          8.64


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  1/6/2016      1/6/2015       1/5/2016       248    0.4305      0.4259       0.0200     1.888     0.00%       1.374          10.57        0.865          8.58
  1/7/2016      1/7/2015       1/6/2016       248    0.4419      0.4373       0.0198     1.911    -0.02%       1.397          10.86        0.872          8.72
  1/8/2016      1/8/2015       1/7/2016       248    0.4333      0.4287       0.0199     1.913    -0.02%       1.368          10.69        0.860          8.54
  1/11/2016     1/11/2015      1/10/2016      247    0.4354      0.4308       0.0200     1.929    -0.04%       1.391          10.75        0.865          8.52
  1/12/2016     1/12/2015      1/11/2016      248    0.4307      0.4260       0.0200     1.931    -0.04%       1.391          10.73        0.839          8.38
  1/13/2016     1/13/2015      1/12/2016      248    0.4322      0.4275       0.0200     1.926    -0.04%       1.399          10.79        0.841          8.37
  1/14/2016     1/14/2015      1/13/2016      248    0.4393      0.4347       0.0200     1.922    -0.05%       1.411          11.04        0.834          8.37
  1/15/2016     1/15/2015      1/14/2016      248    0.4406      0.4361       0.0200     1.920    -0.05%       1.412          11.10        0.830          8.35
  1/19/2016     1/19/2015      1/18/2016      247    0.4412      0.4366       0.0200     1.924    -0.05%       1.405          11.08        0.836          8.36
  1/20/2016     1/20/2015      1/19/2016      248    0.4388      0.4342       0.0200     1.915    -0.05%       1.405          11.08        0.824          8.29
  1/21/2016     1/21/2015      1/20/2016      248    0.4409      0.4363       0.0201     1.913    -0.03%       1.376          10.84        0.852          8.70
  1/22/2016     1/22/2015      1/21/2016      248    0.4330      0.4283       0.0202     1.871    -0.01%       1.384          10.81        0.822          8.38
  1/25/2016     1/25/2015      1/24/2016      247    0.4389      0.4343       0.0202     1.888     0.00%       1.403          10.99        0.825          8.37
  1/26/2016     1/26/2015      1/25/2016      248    0.4391      0.4345       0.0202     1.887     0.00%       1.397          11.01        0.826          8.40
  1/27/2016     1/27/2015      1/26/2016      248    0.4367      0.4321       0.0203     1.858     0.01%       1.407          11.07        0.809          8.21
  1/28/2016     1/28/2015      1/27/2016      248    0.4413      0.4368       0.0203     1.871    -0.01%       1.428          11.23        0.806          8.21
  1/29/2016     1/29/2015      1/28/2016      248    0.4538      0.4493       0.0202     1.883    -0.05%       1.434          11.30        0.835          8.71
  2/1/2016      2/1/2015       1/31/2016      247    0.4535      0.4491       0.0202     1.885    -0.05%       1.409          11.17        0.844          8.81
  2/2/2016      2/2/2015       2/1/2016       248    0.4534      0.4489       0.0202     1.888    -0.04%       1.409          11.18        0.847          8.85
  2/3/2016      2/3/2015       2/2/2016       248    0.4528      0.4483       0.0202     1.881    -0.03%       1.402          11.16        0.851          8.85
  2/4/2016      2/4/2015       2/3/2016       248    0.4481      0.4436       0.0203     1.883    -0.03%       1.416          11.17        0.839          8.62
  2/5/2016      2/5/2015       2/4/2016       248    0.4467      0.4422       0.0203     1.890    -0.03%       1.413          11.14        0.836          8.58
  2/8/2016      2/8/2015       2/7/2016       247    0.4431      0.4386       0.0204     1.889    -0.03%       1.398          11.02        0.835          8.52
  2/9/2016      2/9/2015       2/8/2016       248    0.4492      0.4447       0.0204     1.905    -0.04%       1.418          11.21        0.844          8.61
  2/10/2016     2/10/2015      2/9/2016       248    0.4473      0.4428       0.0205     1.923    -0.03%       1.419          11.16        0.845          8.59
  2/11/2016     2/11/2015      2/10/2016      248    0.4429      0.4384       0.0206     1.939    -0.04%       1.416          11.06        0.840          8.51
  2/12/2016     2/12/2015      2/11/2016      248    0.4464      0.4419       0.0207     1.929    -0.06%       1.430          11.17        0.844          8.53
  2/16/2016     2/16/2015      2/15/2016      247    0.4484      0.4439       0.0207     1.938    -0.06%       1.431          11.21        0.845          8.52
  2/17/2016     2/17/2015      2/16/2016      248    0.4511      0.4467       0.0207     1.939    -0.06%       1.435          11.33        0.845          8.54
  2/18/2016     2/18/2015      2/17/2016      248    0.4520      0.4475       0.0207     1.936    -0.06%       1.433          11.38        0.842          8.52
  2/19/2016     2/19/2015      2/18/2016      248    0.4548      0.4504       0.0207     1.938    -0.07%       1.437          11.42        0.848          8.60
  2/22/2016     2/22/2015      2/21/2016      247    0.4524      0.4479       0.0208     1.924    -0.08%       1.435          11.35        0.844          8.53
  2/23/2016     2/23/2015      2/22/2016      248    0.4522      0.4477       0.0207     1.927    -0.09%       1.426          11.34        0.846          8.58
  2/24/2016     2/24/2015      2/23/2016      248    0.4516      0.4471       0.0207     1.925    -0.08%       1.420          11.32        0.846          8.57
  2/25/2016     2/25/2015      2/24/2016      248    0.4523      0.4478       0.0207     1.923    -0.07%       1.422          11.34        0.848          8.59
  2/26/2016     2/26/2015      2/25/2016      248    0.4521      0.4476       0.0208     1.911    -0.07%       1.429          11.39        0.843          8.51
  2/29/2016     2/28/2015      2/28/2016      247    0.4531      0.4486       0.0208     1.915    -0.07%       1.430          11.38        0.845          8.52
  3/1/2016      3/1/2015       2/29/2016      247    0.4531      0.4486       0.0208     1.915    -0.07%       1.430          11.38        0.845          8.52
  3/2/2016      3/2/2015       3/1/2016       248    0.4475      0.4430       0.0209     1.902    -0.08%       1.409          11.29        0.836          8.42
  3/3/2016      3/3/2015       3/2/2016       249    0.4475      0.4430       0.0209     1.925    -0.06%       1.414          11.32        0.840          8.44
  3/4/2016      3/4/2015       3/3/2016       249    0.4479      0.4434       0.0209     1.938    -0.07%       1.410          11.29        0.842          8.49
  3/7/2016      3/7/2015       3/6/2016       247    0.4464      0.4419       0.0210     1.934    -0.09%       1.413          11.23        0.843          8.41
  3/8/2016      3/8/2015       3/7/2016       248    0.4493      0.4448       0.0210     1.943    -0.07%       1.415          11.22        0.859          8.61


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  3/9/2016      3/9/2015       3/8/2016       249    0.4538      0.4494       0.0210     1.956    -0.08%       1.426          11.34        0.863          8.70
  3/10/2016     3/10/2015      3/9/2016       249    0.4554      0.4509       0.0210     1.964    -0.10%       1.417          11.31        0.869          8.82
  3/11/2016     3/11/2015      3/10/2016      249    0.4547      0.4503       0.0210     1.952    -0.12%       1.429          11.31        0.872          8.79
  3/14/2016     3/14/2015      3/13/2016      247    0.4626      0.4582       0.0210     1.950    -0.11%       1.432          11.38        0.890          8.98
  3/15/2016     3/15/2015      3/14/2016      248    0.4626      0.4582       0.0209     1.957    -0.11%       1.432          11.40        0.890          8.99
  3/16/2016     3/16/2015      3/15/2016      249    0.4295      0.4248       0.0241     1.754    -0.20%       1.447          10.01        1.036          9.22
  3/17/2016     3/17/2015      3/16/2016      249    0.4231      0.4184       0.0243     2.096    -0.19%       1.450          9.93         1.023          9.05
  3/18/2016     3/18/2015      3/17/2016      249    0.4118      0.4070       0.0251     2.114    -0.24%       1.424          9.43         1.065          9.13
  3/21/2016     3/21/2015      3/20/2016      247    0.4110      0.4061       0.0252     2.143    -0.25%       1.425          9.36         1.073          9.09
  3/22/2016     3/22/2015      3/21/2016      248    0.4027      0.3978       0.0254     2.105    -0.26%       1.424          9.29         1.052          8.88
  3/23/2016     3/23/2015      3/22/2016      249    0.4073      0.4025       0.0255     2.144    -0.23%       1.422          9.25         1.077          9.14
  3/24/2016     3/24/2015      3/23/2016      249    0.4083      0.4035       0.0255     2.149    -0.23%       1.425          9.27         1.076          9.15
  3/28/2016     3/28/2015      3/27/2016      246    0.4093      0.4045       0.0256     2.149    -0.25%       1.428          9.21         1.086          9.14
  3/29/2016     3/29/2015      3/28/2016      247    0.4101      0.4052       0.0256     2.140    -0.27%       1.427          9.20         1.094          9.22
  3/30/2016     3/30/2015      3/29/2016      248    0.4114      0.4066       0.0255     2.148    -0.26%       1.432          9.26         1.095          9.25
  3/31/2016     3/31/2015      3/30/2016      248    0.4110      0.4061       0.0255     2.150    -0.27%       1.427          9.21         1.098          9.28
  4/1/2016      4/1/2015       3/31/2016      248    0.4065      0.4016       0.0256     2.135    -0.27%       1.426          9.16         1.081          9.16
  4/4/2016      4/4/2015       4/3/2016       247    0.4080      0.4031       0.0257     2.140    -0.27%       1.430          9.17         1.079          9.17
  4/5/2016      4/5/2015       4/4/2016       248    0.4070      0.4021       0.0256     2.135    -0.27%       1.430          9.18         1.074          9.16
  4/6/2016      4/6/2015       4/5/2016       249    0.4042      0.3994       0.0258     2.109    -0.29%       1.443          9.24         1.063          9.03
  4/7/2016      4/7/2015       4/6/2016       249    0.4187      0.4140       0.0258     2.136    -0.25%       1.475          9.44         1.085          9.39
  4/8/2016      4/8/2015       4/7/2016       249    0.4173      0.4126       0.0258     2.132    -0.26%       1.470          9.43         1.083          9.35
  4/11/2016     4/11/2015      4/10/2016      247    0.4162      0.4114       0.0259     2.136    -0.28%       1.465          9.34         1.089          9.31
  4/12/2016     4/12/2015      4/11/2016      248    0.4158      0.4110       0.0262     2.106    -0.31%       1.472          9.31         1.104          9.37
  4/13/2016     4/13/2015      4/12/2016      249    0.4160      0.4113       0.0261     2.126    -0.31%       1.471          9.33         1.104          9.39
  4/14/2016     4/14/2015      4/13/2016      249    0.4183      0.4136       0.0261     2.126    -0.30%       1.479          9.40         1.108          9.41
  4/15/2016     4/15/2015      4/14/2016      249    0.4183      0.4136       0.0261     2.126    -0.30%       1.479          9.40         1.108          9.42
  4/18/2016     4/18/2015      4/17/2016      247    0.4171      0.4123       0.0262     2.123    -0.31%       1.476          9.31         1.109          9.37
  4/19/2016     4/19/2015      4/18/2016      248    0.4157      0.4109       0.0265     2.117    -0.28%       1.494          9.32         1.118          9.35
  4/20/2016     4/20/2015      4/19/2016      249    0.4123      0.4076       0.0266     2.108    -0.28%       1.494          9.32         1.103          9.26
  4/21/2016     4/21/2015      4/20/2016      249    0.4122      0.4074       0.0266     2.117    -0.28%       1.498          9.33         1.102          9.25
  4/22/2016     4/22/2015      4/21/2016      249    0.4140      0.4092       0.0272     2.091    -0.24%       1.475          8.98         1.166          9.65
  4/25/2016     4/25/2015      4/24/2016      247    0.4097      0.4049       0.0276     2.045    -0.20%       1.478          8.86         1.173          9.53
  4/26/2016     4/26/2015      4/25/2016      248    0.3998      0.3949       0.0283     2.080    -0.24%       1.486          8.67         1.184          9.38
  4/27/2016     4/27/2015      4/26/2016      249    0.4003      0.3954       0.0283     2.136    -0.25%       1.485          8.69         1.184          9.42
  4/28/2016     4/28/2015      4/27/2016      249    0.4011      0.3962       0.0282     2.137    -0.25%       1.481          8.67         1.200          9.47
  4/29/2016     4/29/2015      4/28/2016      249    0.4006      0.3957       0.0282     2.138    -0.24%       1.486          8.71         1.195          9.41
  5/2/2016      5/2/2015       5/1/2016       247    0.4034      0.3985       0.0283     2.134    -0.25%       1.488          8.67         1.209          9.48
  5/3/2016      5/3/2015       5/2/2016       248    0.4035      0.3986       0.0283     2.134    -0.25%       1.487          8.69         1.209          9.50
  5/4/2016      5/4/2015       5/3/2016       249    0.3958      0.3909       0.0284     2.117    -0.23%       1.471          8.55         1.201          9.38
  5/5/2016      5/5/2015       5/4/2016       249    0.3965      0.3916       0.0284     2.129    -0.24%       1.473          8.57         1.197          9.39
  5/6/2016      5/6/2015       5/5/2016       249    0.3944      0.3894       0.0285     2.125    -0.25%       1.474          8.53         1.195          9.35
  5/9/2016      5/9/2015       5/8/2016       246    0.3946      0.3897       0.0286     2.124    -0.26%       1.477          8.47         1.199          9.31


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  5/10/2016     5/10/2015      5/9/2016       247    0.3792      0.3741       0.0291     2.061    -0.28%       1.476          8.34         1.158          8.91
  5/11/2016     5/11/2015      5/10/2016      248    0.3796      0.3745       0.0290     2.100    -0.28%       1.476          8.38         1.157          8.92
  5/12/2016     5/12/2015      5/11/2016      249    0.3838      0.3788       0.0295     2.070    -0.32%       1.513          8.46         1.188          9.04
  5/13/2016     5/13/2015      5/12/2016      249    0.3836      0.3786       0.0295     2.121    -0.32%       1.511          8.45         1.185          9.04
  5/16/2016     5/16/2015      5/15/2016      247    0.3837      0.3786       0.0297     2.091    -0.29%       1.492          8.28         1.200          9.13
  5/17/2016     5/17/2015      5/16/2016      248    0.3838      0.3788       0.0297     2.100    -0.29%       1.494          8.32         1.195          9.13
  5/18/2016     5/18/2015      5/17/2016      249    0.3763      0.3712       0.0300     2.087    -0.26%       1.469          8.11         1.201          9.09
  5/19/2016     5/19/2015      5/18/2016      249    0.3853      0.3803       0.0297     2.106    -0.23%       1.476          8.23         1.215          9.30
  5/20/2016     5/20/2015      5/19/2016      249    0.3869      0.3819       0.0297     2.112    -0.26%       1.482          8.26         1.219          9.33
  5/23/2016     5/23/2015      5/22/2016      247    0.3890      0.3839       0.0298     2.123    -0.25%       1.493          8.29         1.221          9.31
  5/24/2016     5/24/2015      5/23/2016      248    0.3877      0.3827       0.0298     2.126    -0.26%       1.494          8.30         1.216          9.28
  5/25/2016     5/25/2015      5/24/2016      249    0.3884      0.3834       0.0297     2.128    -0.26%       1.494          8.35         1.216          9.30
  5/26/2016     5/26/2015      5/25/2016      250    0.3874      0.3824       0.0297     2.125    -0.26%       1.490          8.34         1.215          9.31
  5/27/2016     5/27/2015      5/26/2016      250    0.3870      0.3820       0.0297     2.128    -0.26%       1.489          8.32         1.215          9.31
  5/31/2016     5/31/2015      5/30/2016      248    0.3879      0.3829       0.0298     2.129    -0.27%       1.498          8.33         1.215          9.27
  6/1/2016      6/1/2015       5/31/2016      249    0.3889      0.3840       0.0297     2.129    -0.25%       1.497          8.33         1.219          9.33
  6/2/2016      6/2/2015       6/1/2016       249    0.3878      0.3828       0.0299     2.114    -0.23%       1.499          8.30         1.223          9.32
  6/3/2016      6/3/2015       6/2/2016       249    0.3900      0.3850       0.0299     2.109    -0.22%       1.503          8.32         1.231          9.39
  6/6/2016      6/6/2015       6/5/2016       247    0.3890      0.3840       0.0301     2.097    -0.22%       1.504          8.27         1.231          9.33
  6/7/2016      6/7/2015       6/6/2016       248    0.3898      0.3848       0.0300     2.100    -0.21%       1.507          8.30         1.232          9.36
  6/8/2016      6/8/2015       6/7/2016       249    0.3898      0.3848       0.0300     2.097    -0.22%       1.506          8.31         1.225          9.38
  6/9/2016      6/9/2015       6/8/2016       249    0.3902      0.3852       0.0300     2.095    -0.22%       1.511          8.34         1.223          9.37
  6/10/2016     6/10/2015      6/9/2016       249    0.3863      0.3813       0.0301     2.084    -0.21%       1.509          8.31         1.211          9.27
  6/13/2016     6/13/2015      6/12/2016      247    0.3883      0.3833       0.0304     2.095    -0.22%       1.538          8.35         1.219          9.23
  6/14/2016     6/14/2015      6/13/2016      248    0.3867      0.3817       0.0304     2.121    -0.21%       1.531          8.32         1.219          9.23
  6/15/2016     6/15/2015      6/14/2016      249    0.3849      0.3799       0.0304     2.110    -0.20%       1.528          8.31         1.218          9.21
  6/16/2016     6/16/2015      6/15/2016      249    0.3848      0.3798       0.0304     2.119    -0.21%       1.533          8.33         1.216          9.19
  6/17/2016     6/17/2015      6/16/2016      249    0.3847      0.3797       0.0304     2.119    -0.21%       1.534          8.33         1.215          9.19
  6/20/2016     6/20/2015      6/19/2016      247    0.3844      0.3794       0.0305     2.119    -0.23%       1.534          8.28         1.216          9.15
  6/21/2016     6/21/2015      6/20/2016      248    0.3825      0.3775       0.0305     2.114    -0.24%       1.528          8.26         1.215          9.14
  6/22/2016     6/22/2015      6/21/2016      249    0.3839      0.3789       0.0305     2.112    -0.26%       1.524          8.24         1.222          9.24
  6/23/2016     6/23/2015      6/22/2016      249    0.3845      0.3795       0.0305     2.114    -0.25%       1.524          8.24         1.224          9.26
  6/24/2016     6/24/2015      6/23/2016      249    0.3857      0.3807       0.0305     2.114    -0.25%       1.528          8.29         1.224          9.26
  6/27/2016     6/27/2015      6/26/2016      247    0.3908      0.3858       0.0306     2.113    -0.25%       1.533          8.47         1.223          9.21
  6/28/2016     6/28/2015      6/27/2016      248    0.3953      0.3903       0.0306     2.101    -0.27%       1.563          8.67         1.226          9.22
  6/29/2016     6/29/2015      6/28/2016      249    0.3989      0.3940       0.0318     2.071    -0.20%       1.660          8.91         1.263          9.15
  6/30/2016     6/30/2015      6/29/2016      249    0.3941      0.3892       0.0319     2.184    -0.22%       1.640          8.75         1.264          9.13
  7/1/2016      7/1/2015       6/30/2016      249    0.3928      0.3879       0.0320     2.180    -0.24%       1.620          8.66         1.274          9.17
  7/5/2016      7/5/2015       7/4/2016       248    0.3952      0.3902       0.0323     2.181    -0.22%       1.625          8.60         1.297          9.28
  7/6/2016      7/6/2015       7/5/2016       249    0.3955      0.3906       0.0322     2.202    -0.22%       1.627          8.64         1.297          9.29
  7/7/2016      7/7/2015       7/6/2016       249    0.3975      0.3926       0.0322     2.205    -0.21%       1.633          8.67         1.301          9.34
  7/8/2016      7/8/2015       7/7/2016       249    0.3977      0.3928       0.0322     2.205    -0.20%       1.634          8.67         1.301          9.34
  7/11/2016     7/11/2015      7/10/2016      247    0.3943      0.3893       0.0323     2.206    -0.22%       1.614          8.51         1.299          9.30


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

              Control Period Control Period                      Model       Standard   Durbin                        Market1               Industry Residual2
    Date                                    Num Obs Model R2                                     Intercept
                  Begin           End                          Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
  7/12/2016     7/12/2015      7/11/2016      248    0.3943      0.3893       0.0323     2.205    -0.23%       1.612          8.52         1.300          9.33
  7/13/2016     7/13/2015      7/12/2016      249    0.3945      0.3896       0.0322     2.206    -0.23%       1.613          8.54         1.300          9.34
  7/14/2016     7/14/2015      7/13/2016      249    0.3933      0.3884       0.0322     2.202    -0.23%       1.615          8.53         1.294          9.31
  7/15/2016     7/15/2015      7/14/2016      249    0.3930      0.3881       0.0322     2.202    -0.23%       1.615          8.53         1.297          9.30
  7/18/2016     7/18/2015      7/17/2016      247    0.3929      0.3879       0.0324     2.204    -0.22%       1.617          8.49         1.294          9.26
  7/19/2016     7/19/2015      7/18/2016      248    0.3930      0.3880       0.0323     2.207    -0.22%       1.618          8.52         1.294          9.28
  7/20/2016     7/20/2015      7/19/2016      249    0.3936      0.3887       0.0322     2.208    -0.23%       1.619          8.54         1.296          9.32
  7/21/2016     7/21/2015      7/20/2016      249    0.3957      0.3907       0.0322     2.210    -0.22%       1.623          8.57         1.296          9.36
  7/22/2016     7/22/2015      7/21/2016      249    0.3948      0.3899       0.0322     2.207    -0.22%       1.622          8.56         1.290          9.34
  7/25/2016     7/25/2015      7/24/2016      247    0.3986      0.3937       0.0323     2.208    -0.24%       1.624          8.53         1.312          9.43
  7/26/2016     7/26/2015      7/25/2016      248    0.3988      0.3939       0.0322     2.213    -0.24%       1.622          8.54         1.313          9.47
  7/27/2016     7/27/2015      7/26/2016      249    0.3990      0.3942       0.0322     2.213    -0.24%       1.622          8.55         1.315          9.50
  7/28/2016     7/28/2015      7/27/2016      249    0.4007      0.3958       0.0322     2.212    -0.24%       1.624          8.57         1.312          9.55
  7/29/2016     7/29/2015      7/28/2016      249    0.4001      0.3952       0.0322     2.213    -0.24%       1.623          8.54         1.313          9.55
  8/1/2016      8/1/2015       7/31/2016      247    0.3973      0.3924       0.0324     2.207    -0.25%       1.630          8.51         1.309          9.40
  8/2/2016      8/2/2015       8/1/2016       248    0.3928      0.3878       0.0324     2.186    -0.26%       1.631          8.50         1.292          9.29
  8/3/2016      8/3/2015       8/2/2016       249    0.3928      0.3879       0.0324     2.199    -0.25%       1.625          8.49         1.294          9.33
  8/4/2016      8/4/2015       8/3/2016       249    0.3929      0.3879       0.0326     2.182    -0.22%       1.632          8.48         1.302          9.34
  8/5/2016      8/5/2015       8/4/2016       249    0.3938      0.3889       0.0325     2.194    -0.22%       1.631          8.48         1.305          9.37
  8/8/2016      8/8/2015       8/7/2016       247    0.3924      0.3874       0.0326     2.197    -0.23%       1.621          8.41         1.308          9.31
  8/9/2016      8/9/2015       8/8/2016       248    0.3914      0.3864       0.0325     2.196    -0.22%       1.620          8.42         1.305          9.31
  8/10/2016     8/10/2015      8/9/2016       248    0.3914      0.3864       0.0325     2.196    -0.22%       1.620          8.42         1.305          9.31
  8/11/2016     8/11/2015      8/10/2016      249    0.3890      0.3841       0.0325     2.186    -0.22%       1.619          8.42         1.296          9.26
  8/12/2016     8/12/2015      8/11/2016      249    0.3897      0.3848       0.0326     2.183    -0.21%       1.626          8.44         1.297          9.27
  8/15/2016     8/15/2015      8/14/2016      247    0.3898      0.3848       0.0328     2.169    -0.19%       1.623          8.36         1.309          9.27
  8/16/2016     8/16/2015      8/15/2016      248    0.3859      0.3809       0.0329     2.185    -0.21%       1.619          8.32         1.302          9.20
  8/17/2016     8/17/2015      8/16/2016      249    0.3860      0.3810       0.0328     2.197    -0.21%       1.620          8.34         1.302          9.22
  8/18/2016     8/18/2015      8/17/2016      249    0.3855      0.3805       0.0328     2.197    -0.22%       1.617          8.33         1.304          9.22
  8/19/2016     8/19/2015      8/18/2016      249    0.3855      0.3805       0.0328     2.197    -0.22%       1.617          8.33         1.304          9.22
  8/22/2016     8/22/2015      8/21/2016      247    0.3799      0.3749       0.0329     2.194    -0.21%       1.615          8.05         1.311          9.20
  8/23/2016     8/23/2015      8/22/2016      248    0.3780      0.3729       0.0329     2.192    -0.21%       1.615          8.06         1.299          9.16
  8/24/2016     8/24/2015      8/23/2016      249    0.3771      0.3721       0.0329     2.198    -0.20%       1.616          8.06         1.298          9.16
  8/25/2016     8/25/2015      8/24/2016      249    0.3803      0.3753       0.0329     2.203    -0.24%       1.668          8.07         1.307          9.26
  8/26/2016     8/26/2015      8/25/2016      249    0.3812      0.3762       0.0330     2.197    -0.26%       1.683          8.10         1.317          9.27
  8/29/2016     8/29/2015      8/28/2016      247    0.3770      0.3719       0.0331     2.194    -0.25%       1.717          7.89         1.317          9.24
  8/30/2016     8/30/2015      8/29/2016      248    0.3771      0.3720       0.0330     2.195    -0.26%       1.713          7.90         1.317          9.27
  8/31/2016     8/31/2015      8/30/2016      249    0.3770      0.3719       0.0330     2.194    -0.26%       1.713          7.91         1.318          9.29
  9/1/2016      9/1/2015       8/31/2016      249    0.3774      0.3723       0.0329     2.193    -0.25%       1.711          7.90         1.324          9.31
  9/2/2016      9/2/2015       9/1/2016       249    0.3746      0.3695       0.0330     2.195    -0.27%       1.722          7.78         1.329          9.31
  9/6/2016      9/6/2015       9/5/2016       247    0.3767      0.3716       0.0330     2.192    -0.27%       1.732          7.72         1.353          9.38
  9/7/2016      9/7/2015       9/6/2016       248    0.3778      0.3727       0.0330     2.194    -0.26%       1.735          7.74         1.356          9.42
  9/8/2016      9/8/2015       9/7/2016       249    0.3772      0.3722       0.0329     2.196    -0.26%       1.735          7.76         1.354          9.43
  9/9/2016      9/9/2015       9/8/2016       249    0.3738      0.3688       0.0329     2.198    -0.26%       1.723          7.59         1.356          9.45


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Exhibit 11A
Endo International plc
Rolling Regression Model Results

                 Control Period Control Period                              Model       Standard   Durbin                        Market1               Industry Residual2
     Date                                      Num Obs Model R2                                             Intercept
                     Begin           End                                  Adjusted R2    Error     Watson               Coefficient   t Statistic   Coefficient   t Statistic
   9/12/2016       9/12/2015      9/11/2016      247    0.3762              0.3711       0.0330     2.200    -0.25%       1.712          7.59         1.364          9.46
   9/13/2016       9/13/2015      9/12/2016      248    0.3785              0.3735       0.0329     2.201    -0.24%       1.722          7.69         1.364          9.49
   9/14/2016       9/14/2015      9/13/2016      249    0.3792              0.3741       0.0329     2.200    -0.24%       1.718          7.73         1.364          9.51
   9/15/2016       9/15/2015      9/14/2016      249    0.3786              0.3736       0.0329     2.198    -0.24%       1.719          7.73         1.359          9.50
   9/16/2016       9/16/2015      9/15/2016      249    0.3787              0.3736       0.0329     2.194    -0.24%       1.720          7.72         1.361          9.50
   9/19/2016       9/19/2015      9/18/2016      247    0.3836              0.3786       0.0328     2.208    -0.27%       1.741          7.78         1.375          9.56
   9/20/2016       9/20/2015      9/19/2016      248    0.3825              0.3774       0.0328     2.202    -0.29%       1.742          7.78         1.374          9.55
   9/21/2016       9/21/2015      9/20/2016      249    0.3826              0.3776       0.0327     2.205    -0.28%       1.742          7.79         1.373          9.58
   9/22/2016       9/22/2015      9/21/2016      249    0.3806              0.3756       0.0327     2.206    -0.27%       1.738          7.80         1.394          9.51
   9/23/2016       9/23/2015      9/22/2016      249    0.3797              0.3747       0.0327     2.208    -0.27%       1.733          7.75         1.395          9.51
   9/26/2016       9/26/2015      9/25/2016      247    0.3506              0.3453       0.0344     2.095    -0.17%       1.676          7.13         1.425          9.00
   9/27/2016       9/27/2015      9/26/2016      248    0.3513              0.3460       0.0344     2.225    -0.19%       1.694          7.21         1.425          8.98
   9/28/2016       9/28/2015      9/27/2016      249    0.3519              0.3467       0.0344     2.235    -0.18%       1.698          7.25         1.426          9.00
   9/29/2016       9/29/2015      9/28/2016      249    0.3382              0.3328       0.0344     2.239    -0.16%       1.624          6.83         1.410          8.89
   9/30/2016       9/30/2015      9/29/2016      249    0.3425              0.3372       0.0344     2.205    -0.17%       1.647          6.94         1.417          8.95
   10/3/2016       10/3/2015      10/2/2016      247    0.3261              0.3206       0.0342     2.225    -0.23%       1.530          6.42         1.388          8.77
   10/4/2016       10/4/2015      10/3/2016      248    0.3258              0.3203       0.0341     2.239    -0.22%       1.525          6.41         1.390          8.80
   10/5/2016       10/5/2015      10/4/2016      249    0.3258              0.3204       0.0340     2.241    -0.22%       1.525          6.42         1.390          8.81
   10/6/2016       10/6/2015      10/5/2016      249    0.3248              0.3193       0.0341     2.236    -0.17%       1.604          6.70         1.368          8.57
   10/7/2016       10/7/2015      10/6/2016      249    0.3234              0.3179       0.0341     2.237    -0.17%       1.596          6.66         1.373          8.56
  10/10/2016      10/10/2015      10/9/2016      247    0.3267              0.3212       0.0341     2.240    -0.17%       1.611          6.70         1.383          8.58
  10/11/2016      10/11/2015     10/10/2016      248    0.3281              0.3226       0.0341     2.240    -0.15%       1.618          6.74         1.387          8.62
  10/12/2016      10/12/2015     10/11/2016      249    0.3294              0.3239       0.0340     2.239    -0.16%       1.625          6.81         1.381          8.63
  10/13/2016      10/13/2015     10/12/2016      249    0.3318              0.3264       0.0340     2.237    -0.17%       1.624          6.80         1.384          8.71
  10/14/2016      10/14/2015     10/13/2016      249    0.3330              0.3276       0.0340     2.242    -0.16%       1.619          6.78         1.397          8.76
  10/17/2016      10/17/2015     10/16/2016      247    0.3325              0.3270       0.0340     2.211    -0.19%       1.621          6.74         1.398          8.72
  10/18/2016      10/18/2015     10/17/2016      248    0.3318              0.3263       0.0340     2.217    -0.20%       1.625          6.77         1.395          8.71
  10/19/2016      10/19/2015     10/18/2016      249    0.3328              0.3274       0.0339     2.222    -0.19%       1.632          6.81         1.397          8.74
  10/20/2016      10/20/2015     10/19/2016      249    0.3345              0.3291       0.0338     2.230    -0.18%       1.631          6.83         1.399          8.78
  10/21/2016      10/21/2015     10/20/2016      249    0.3306              0.3251       0.0338     2.184    -0.14%       1.624          6.79         1.395          8.68
  10/24/2016      10/24/2015     10/23/2016      247    0.3376              0.3322       0.0326     2.299    -0.09%       1.608          6.92         1.359          8.75
  10/25/2016      10/25/2015     10/24/2016      248    0.3374              0.3320       0.0325     2.299    -0.09%       1.606          6.93         1.357          8.76
  10/26/2016      10/26/2015     10/25/2016      249    0.3356              0.3302       0.0325     2.291    -0.08%       1.598          6.89         1.358          8.76
  10/27/2016      10/27/2015     10/26/2016      249    0.3338              0.3284       0.0325     2.284    -0.11%       1.606          6.92         1.347          8.68
  10/28/2016      10/28/2015     10/27/2016      249    0.3395              0.3341       0.0324     2.280    -0.11%       1.608          6.96         1.384          8.83
  10/31/2016      10/31/2015     10/30/2016      247    0.3404              0.3350       0.0325     2.279    -0.13%       1.601          6.88         1.391          8.86
   11/1/2016       11/1/2015     10/31/2016      248    0.3422              0.3368       0.0325     2.276    -0.15%       1.601          6.89         1.398          8.94
   11/2/2016       11/2/2015      11/1/2016      249    0.3420              0.3366       0.0324     2.275    -0.14%       1.595          6.88         1.393          8.97
   11/3/2016       11/3/2015      11/2/2016      249    0.3443              0.3390       0.0324     2.276    -0.15%       1.600          6.89         1.408          9.04
  Thereafter       11/3/2015      11/2/2016      249    0.3443              0.3390       0.0324     2.276    -0.15%       1.600          6.89         1.408          9.04

[1] Market Index: S&P 500
[2] Industry Index: NASDAQ Biotechnology Index (Bloomberg Ticker "NBI Index")


                                                                                                                                                             Page 10 of 10
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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
   3/2/2015         $87.32         2.01%       0.62%        -0.13%        0.72%         1.29%   1.34%              0.96      66.32%
   3/3/2015         $85.88        -1.65%       -0.45%        0.07%        -0.66%       -0.99%   1.34%              -0.74     54.17%
   3/4/2015         $85.65        -0.27%       -0.42%        1.20%        0.02%        -0.28%   1.32%              -0.21     16.93%
   3/5/2015         $87.71         2.41%       0.12%         2.01%        1.20%         1.20%   1.32%              0.91      63.67%
   3/6/2015         $87.03        -0.78%       -1.40%        0.44%        -1.74%        0.97%   1.32%              0.73      53.51%
   3/9/2015         $89.54         2.88%       0.40%        -0.47%        0.29%         2.60%   1.32%              1.97      95.00%           *
  3/10/2015         $89.00        -0.60%       -1.69%        1.93%        -1.33%        0.72%   1.33%              0.54      41.34%
  3/11/2015         $87.76        -1.39%       -0.18%        0.48%        0.02%        -1.41%   1.32%              -1.07     71.29%
  3/12/2015         $90.50         3.12%       1.29%        -1.20%        1.11%         2.01%   1.33%              1.51      86.78%
  3/13/2015         $87.33        -3.50%       -0.61%        0.94%        -0.33%       -3.16%   1.33%              -2.37     98.16%          **
  3/16/2015         $89.65         2.66%       1.36%         0.45%        2.09%         0.57%   1.35%              0.42      32.51%
  3/17/2015         $90.78         1.26%       -0.33%        1.13%        0.11%         1.15%   1.35%              0.85      60.53%
  3/18/2015         $91.74         1.06%       1.22%        -1.20%        1.08%        -0.02%   1.35%              -0.01      1.19%
  3/19/2015         $91.48        -0.28%       -0.49%        2.46%        0.58%        -0.86%   1.34%              -0.64     47.78%
  3/20/2015         $92.37         0.97%       0.90%        -0.80%        0.82%         0.15%   1.34%              0.11       8.79%
  3/23/2015         $90.81        -1.69%       -0.17%       -2.10%        -1.30%       -0.39%   1.35%              -0.29     23.00%
  3/24/2015         $89.51        -1.43%       -0.61%        0.03%        -0.81%       -0.62%   1.34%              -0.46     35.58%
  3/25/2015         $88.28        -1.37%       -1.45%       -2.30%        -3.07%        1.69%   1.33%              1.27      79.59%
  3/26/2015         $87.81        -0.53%       -0.24%        0.13%        -0.23%       -0.30%   1.33%              -0.23     17.80%
  3/27/2015         $90.04         2.54%       0.26%         1.47%        1.06%         1.48%   1.33%              1.11      73.03%
  3/30/2015         $91.53         1.65%       1.23%        -0.70%        1.34%         0.32%   1.33%              0.24      18.72%
  3/31/2015         $89.70        -2.00%       -0.87%       -1.08%        -1.68%       -0.32%   1.33%              -0.24     19.24%
   4/1/2015         $89.68        -0.02%       -0.38%       -0.53%        -0.75%        0.73%   1.33%              0.55      41.68%
   4/2/2015         $90.42         0.83%       0.36%        -0.83%        0.09%         0.73%   1.32%              0.55      41.97%
   4/6/2015         $90.02        -0.44%       0.66%        -1.20%        0.34%        -0.79%   1.33%              -0.59     44.61%
   4/7/2015         $91.40         1.53%       -0.20%        1.05%        0.30%         1.23%   1.32%              0.93      64.66%
   4/8/2015         $93.64         2.45%       0.31%         2.36%        1.71%         0.74%   1.30%              0.57      43.00%
   4/9/2015         $93.68         0.04%       0.45%        -0.29%        0.51%        -0.47%   1.30%              -0.36     28.05%
  4/10/2015         $94.46         0.83%       0.52%         0.34%        0.94%        -0.11%   1.30%              -0.09      6.84%
  4/13/2015         $93.43        -1.09%       -0.45%        0.65%        -0.12%       -0.97%   1.30%              -0.75     54.53%
  4/14/2015         $93.32        -0.12%       0.16%        -0.57%        0.00%        -0.12%   1.30%              -0.09      7.15%
  4/15/2015         $95.92         2.79%       0.52%         0.11%        0.82%         1.97%   1.29%              1.52      87.09%
  4/16/2015         $95.11        -0.84%       -0.08%        0.26%        0.16%        -1.00%   1.29%              -0.77     56.04%
  4/17/2015         $93.34        -1.86%       -1.13%       -0.13%        -1.41%       -0.45%   1.29%              -0.34     26.94%
  4/20/2015         $93.20        -0.15%       0.93%        -0.86%        0.86%        -1.01%   1.29%              -0.78     56.28%
  4/21/2015         $95.18         2.12%       -0.15%        1.92%        0.93%         1.19%   1.29%              0.92      64.34%
  4/22/2015         $94.09        -1.15%       0.51%        -1.07%        0.20%        -1.34%   1.28%              -1.05     70.47%
  4/23/2015         $94.08        -0.01%       0.25%         0.69%        0.75%        -0.76%   1.28%              -0.59     44.61%
  4/24/2015         $93.27        -0.86%       0.23%        -1.48%        -0.41%       -0.45%   1.28%              -0.35     27.65%
  4/27/2015         $90.64        -2.82%       -0.41%       -3.74%        -2.39%       -0.43%   1.28%              -0.33     26.13%
  4/28/2015         $87.83        -3.10%       0.29%        -1.63%        -0.43%       -2.67%   1.28%              -2.09     96.22%          **
  4/29/2015         $86.54        -1.47%       -0.37%        0.33%        -0.22%       -1.24%   1.29%              -0.97     66.47%
  4/30/2015         $84.07        -2.86%       -1.01%       -1.92%        -2.22%       -0.64%   1.28%              -0.50     38.31%
   5/1/2015         $85.05         1.17%       1.09%         1.39%        2.14%        -0.97%   1.28%              -0.76     55.21%
   5/4/2015         $86.31         1.48%       0.29%        -0.06%        0.37%         1.11%   1.28%              0.86      61.16%
   5/5/2015         $84.67        -1.90%       -1.17%       -0.69%        -1.79%       -0.11%   1.28%              -0.08      6.59%
   5/6/2015         $84.64        -0.04%       -0.41%        1.27%        0.17%        -0.20%   1.28%              -0.16     12.70%
   5/7/2015         $86.33         2.00%       0.40%         0.27%        0.68%         1.32%   1.28%              1.03      69.68%
   5/8/2015         $87.04         0.82%       1.35%         0.48%        1.99%        -1.17%   1.28%              -0.92     63.91%
  5/11/2015         $86.66        -0.44%       -0.49%        0.55%        -0.30%       -0.14%   1.28%              -0.11      8.72%
  5/12/2015         $84.60        -2.38%       -0.29%        0.09%        -0.28%       -2.09%   1.28%              -1.63     89.66%
  5/13/2015         $83.89        -0.84%       -0.01%       -0.30%        -0.15%       -0.69%   1.29%              -0.54     40.92%
  5/14/2015         $85.02         1.35%       1.09%        -0.21%        1.26%         0.08%   1.29%              0.06       5.16%
  5/15/2015         $85.35         0.39%       0.09%        -0.11%        0.06%         0.33%   1.29%              0.25      20.05%



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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
  5/18/2015         $80.77        -5.37%       0.31%         0.72%        0.77%        -6.14%   1.28%              -4.80     100.00%         ***
  5/19/2015         $83.03         2.80%       -0.04%        0.05%        -0.05%        2.85%   1.33%              2.14      96.63%           **
  5/20/2015         $85.65         3.16%       -0.08%        0.80%        0.30%         2.86%   1.34%              2.13      96.58%           **
  5/21/2015         $85.00        -0.76%       0.25%        -0.41%        0.10%        -0.86%   1.35%              -0.64     47.58%
  5/22/2015         $84.92        -0.09%       -0.22%        0.36%        -0.09%        0.00%   1.35%              0.00       0.12%
  5/26/2015         $83.17        -2.06%       -1.03%        0.09%        -1.25%       -0.81%   1.35%              -0.60     45.05%
  5/27/2015         $83.41         0.29%       0.93%         0.45%        1.40%        -1.11%   1.35%              -0.82     58.81%
  5/28/2015         $82.94        -0.56%       -0.11%       -0.45%        -0.39%       -0.18%   1.34%              -0.13     10.48%
  5/29/2015         $83.76         0.99%       -0.63%        0.65%        -0.46%        1.44%   1.34%              1.07      71.65%
   6/1/2015         $84.14         0.45%       0.22%        -0.46%        0.04%         0.41%   1.33%              0.31      24.20%
   6/2/2015         $83.71        -0.51%       -0.10%       -0.43%        -0.33%       -0.18%   1.33%              -0.13     10.59%
   6/3/2015         $84.65         1.12%       0.23%         0.06%        0.34%         0.78%   1.32%              0.59      44.31%
   6/4/2015         $84.18        -0.56%       -0.86%        0.33%        -0.89%        0.33%   1.32%              0.25      19.91%
   6/5/2015         $83.53        -0.77%       -0.14%        1.21%        0.51%        -1.28%   1.32%              -0.97     66.50%
   6/8/2015         $84.15         0.74%       -0.63%        0.01%        -0.77%        1.51%   1.32%              1.14      74.41%
   6/9/2015         $82.40        -2.08%       0.04%        -0.90%        -0.39%       -1.69%   1.33%              -1.28     79.74%
  6/10/2015         $82.40         0.00%       1.21%        -0.64%        1.22%        -1.22%   1.33%              -0.92     64.22%
  6/11/2015         $82.17        -0.28%       0.20%         0.32%        0.46%        -0.74%   1.33%              -0.55     42.05%
  6/12/2015         $80.54        -1.98%       -0.69%       -0.47%        -1.10%       -0.88%   1.33%              -0.66     49.32%
  6/15/2015         $81.45         1.13%       -0.46%        0.42%        -0.33%        1.46%   1.33%              1.10      72.86%
  6/16/2015         $81.52         0.09%       0.57%        -0.61%        0.40%        -0.32%   1.33%              -0.24     18.80%
  6/17/2015         $80.70        -1.01%       0.20%         0.23%        0.40%        -1.41%   1.33%              -1.06     70.89%
  6/18/2015         $83.34         3.27%       1.00%         1.55%        2.12%         1.15%   1.33%              0.86      61.12%
  6/19/2015         $84.03         0.83%       -0.53%        0.58%        -0.32%        1.15%   1.33%              0.86      60.98%
  6/22/2015         $84.16         0.15%       0.61%         0.63%        1.14%        -0.99%   1.33%              -0.74     54.15%
  6/23/2015         $83.93        -0.27%       0.07%        -0.18%        0.02%        -0.30%   1.33%              -0.22     17.55%
  6/24/2015         $82.26        -1.99%       -0.73%       -0.77%        -1.31%       -0.68%   1.33%              -0.51     39.00%
  6/25/2015         $82.22        -0.05%       -0.29%       -0.16%        -0.44%        0.39%   1.33%              0.30      23.36%
  6/26/2015         $80.81        -1.71%       -0.02%       -0.98%        -0.54%       -1.17%   1.32%              -0.89     62.35%
  6/29/2015         $78.39        -2.99%       -2.08%       -0.53%        -2.92%       -0.08%   1.32%              -0.06      4.56%
  6/30/2015         $79.65         1.61%       0.27%         1.76%        1.31%         0.30%   1.32%              0.22      17.70%
   7/1/2015         $80.89         1.56%       0.72%        -0.79%        0.51%         1.05%   1.32%              0.79      57.17%
   7/2/2015         $82.02         1.40%       -0.03%       -0.03%        -0.04%        1.43%   1.32%              1.09      72.13%
   7/6/2015         $81.58        -0.54%       -0.38%        0.90%        0.03%        -0.57%   1.32%              -0.43     33.39%
   7/7/2015         $81.39        -0.23%       0.61%        -0.64%        0.47%        -0.71%   1.32%              -0.54     40.74%
   7/8/2015         $78.41        -3.66%       -1.64%       -0.85%        -2.51%       -1.15%   1.32%              -0.87     61.74%
   7/9/2015         $80.46         2.61%       0.23%         0.70%        0.71%         1.90%   1.32%              1.44      85.02%
  7/10/2015         $83.12         3.31%       1.23%        -0.15%        1.57%         1.74%   1.32%              1.31      80.98%
  7/13/2015         $84.02         1.08%       1.12%         0.26%        1.67%        -0.59%   1.33%              -0.44     34.08%
  7/14/2015         $85.50         1.76%       0.45%         1.60%        1.53%         0.23%   1.32%              0.18      13.92%
  7/15/2015         $84.79        -0.83%       -0.07%        0.62%        0.31%        -1.14%   1.31%              -0.87     61.32%
  7/16/2015         $85.05         0.31%       0.80%         0.19%        1.20%        -0.90%   1.31%              -0.68     50.50%
  7/17/2015         $85.38         0.39%       0.11%         0.22%        0.32%         0.07%   1.31%              0.05       4.01%
  7/20/2015         $86.94         1.83%       0.08%        -0.18%        0.05%         1.78%   1.31%              1.35      82.21%
  7/21/2015         $86.13        -0.93%       -0.42%       -0.25%        -0.63%       -0.30%   1.32%              -0.23     17.93%
  7/22/2015         $86.52         0.45%       -0.23%       -0.12%        -0.32%        0.78%   1.31%              0.59      44.61%
  7/23/2015         $85.90        -0.72%       -0.56%        0.37%        -0.48%       -0.24%   1.31%              -0.18     14.23%
  7/24/2015         $85.39        -0.59%       -1.07%       -2.84%        -2.95%        2.36%   1.31%              1.80      92.69%           *
  7/27/2015         $85.81         0.49%       -0.58%       -0.51%        -0.97%        1.46%   1.32%              1.11      73.08%
  7/28/2015         $87.63         2.12%       1.24%         0.68%        2.02%         0.10%   1.32%              0.08       5.99%
  7/29/2015         $86.19        -1.64%       0.74%        -2.38%        -0.22%       -1.43%   1.32%              -1.08     72.06%
  7/30/2015         $85.96        -0.27%       0.01%         0.15%        0.15%        -0.42%   1.32%              -0.32     25.02%
  7/31/2015         $87.54         1.84%       -0.23%        1.11%        0.36%         1.48%   1.32%              1.12      73.72%
   8/3/2015         $86.99        -0.63%       -0.28%        0.27%        -0.15%       -0.48%   1.32%              -0.36     28.29%



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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
   8/4/2015         $85.11        -2.16%       -0.22%        0.49%        0.04%        -2.20%   1.32%              -1.67     90.41%           *
   8/5/2015         $85.85         0.87%       0.35%         0.13%        0.58%         0.29%   1.31%              0.22      17.27%
   8/6/2015         $81.70        -4.83%       -0.75%       -3.13%        -2.60%       -2.24%   1.30%              -1.72     91.35%          *
   8/7/2015         $83.75         2.51%       -0.28%       -0.45%        -0.56%        3.07%   1.29%              2.38      98.19%          **
  8/10/2015         $84.18         0.51%       1.28%        -1.01%        1.15%        -0.64%   1.31%              -0.49     37.61%
  8/11/2015         $83.43        -0.89%       -0.94%       -0.08%        -1.18%        0.29%   1.31%              0.22      17.51%
  8/12/2015         $83.30        -0.16%       0.12%         0.45%        0.49%        -0.65%   1.30%              -0.50     38.20%
  8/13/2015         $83.45         0.18%       -0.11%       -0.93%        -0.58%        0.76%   1.30%              0.59      44.21%
  8/14/2015         $84.82         1.64%       0.39%        -1.17%        -0.07%        1.71%   1.30%              1.32      81.19%
  8/17/2015         $86.36         1.82%       0.54%         1.30%        1.51%         0.31%   1.30%              0.24      18.81%
  8/18/2015         $85.41        -1.10%       -0.24%       -0.78%        -0.66%       -0.44%   1.29%              -0.34     26.69%
  8/19/2015         $84.32        -1.28%       -0.82%        0.29%        -0.81%       -0.47%   1.29%              -0.36     28.32%
  8/20/2015         $80.82        -4.15%       -2.11%       -1.44%        -3.45%       -0.70%   1.29%              -0.54     41.28%
  8/21/2015         $76.61        -5.21%       -3.17%        1.01%        -3.52%       -1.69%   1.30%              -1.31     80.77%
  8/24/2015         $73.45        -4.12%       -3.94%        0.19%        -5.10%        0.97%   1.30%              0.75      54.45%
  8/25/2015         $73.09        -0.49%       -1.35%        2.08%        -0.54%        0.05%   1.30%              0.04       3.27%
  8/26/2015         $76.38         4.50%       3.91%         0.03%        5.21%        -0.71%   1.30%              -0.55     41.46%
  8/27/2015         $79.00         3.43%       2.44%        -0.79%        2.79%         0.64%   1.30%              0.49      37.46%
  8/28/2015         $78.70        -0.38%       0.07%         0.51%        0.46%        -0.84%   1.30%              -0.65     48.15%
  8/31/2015         $77.00        -2.16%       -0.83%       -2.18%        -2.18%        0.02%   1.30%              0.02       1.30%
   9/1/2015         $73.48        -4.57%       -2.95%        1.11%        -3.13%       -1.44%   1.30%              -1.11     73.07%
   9/2/2015         $74.96         2.01%       1.85%         1.29%        3.21%        -1.19%   1.30%              -0.92     64.10%
   9/3/2015         $74.46        -0.67%       0.12%        -2.34%        -1.03%        0.36%   1.30%              0.28      21.79%
   9/4/2015         $73.00        -1.96%       -1.53%        1.60%        -1.05%       -0.91%   1.30%              -0.70     51.65%
   9/8/2015         $76.59         4.92%       2.52%         0.92%        3.87%         1.05%   1.30%              0.81      58.09%
   9/9/2015         $74.98        -2.10%       -1.38%       -0.54%        -2.04%       -0.06%   1.30%              -0.05      3.70%
  9/10/2015         $75.23         0.33%       0.54%         1.05%        1.36%        -1.03%   1.30%              -0.79     57.08%
  9/11/2015         $74.80        -0.57%       0.48%         0.55%        1.01%        -1.58%   1.30%              -1.21     77.39%
  9/14/2015         $74.47        -0.44%       -0.40%       -0.11%        -0.52%        0.08%   1.31%              0.06       4.72%
  9/15/2015         $75.97         2.01%       1.28%        -0.69%        1.40%         0.62%   1.30%              0.47      36.46%
  9/16/2015         $79.30         4.38%       0.87%        -1.67%        0.32%         4.06%   1.30%              3.12      99.80%          ***
  9/17/2015         $80.99         2.13%       -0.24%        2.17%        0.89%         1.24%   1.33%              0.93      64.79%
  9/18/2015         $81.92         1.15%       -1.62%        0.27%        -1.93%        3.08%   1.30%              2.37      98.14%          **
  9/21/2015         $78.33        -4.38%       0.46%        -5.10%        -1.99%       -2.39%   1.30%              -1.83     93.19%          *
  9/22/2015         $75.78        -3.26%       -1.23%       -0.27%        -1.68%       -1.57%   1.31%              -1.20     76.92%
  9/23/2015         $75.40        -0.50%       -0.20%       -0.42%        -0.43%       -0.07%   1.31%              -0.06      4.47%
  9/24/2015         $72.40        -3.98%       -0.34%       -1.69%        -1.32%       -2.66%   1.31%              -2.02     95.59%          **
  9/25/2015         $68.84        -4.92%       -0.05%       -5.08%        -2.94%       -1.98%   1.32%              -1.50     86.40%
  9/28/2015         $61.82       -10.20%       -2.54%       -2.96%        -5.16%       -5.04%   1.31%              -3.84     99.98%          ***
  9/29/2015         $60.57        -2.02%       0.13%        -0.79%        -0.35%       -1.68%   1.34%              -1.25     78.62%
  9/30/2015         $69.28       14.38%        1.91%         2.00%        3.97%        10.41%   1.35%              7.72      100.00%         ***
  10/1/2015         $70.02         1.07%       0.20%         0.59%        0.75%         0.32%   1.50%              0.21      16.65%
  10/2/2015         $71.06         1.49%       1.44%         1.36%        3.16%        -1.68%   1.50%              -1.12     73.67%
  10/5/2015         $67.28        -5.32%       1.83%        -3.10%        0.60%        -5.92%   1.50%              -3.94     99.99%          ***
  10/6/2015         $64.10        -4.73%       -0.36%       -3.38%        -3.05%       -1.68%   1.54%              -1.09     72.10%
  10/7/2015         $63.14        -1.50%       0.84%         0.92%        1.89%        -3.39%   1.55%              -2.19     97.06%          **
  10/8/2015         $63.42         0.44%       0.88%        -1.47%        0.13%         0.32%   1.56%              0.20      16.05%
  10/9/2015         $64.27         1.34%       0.08%         0.42%        0.38%         0.96%   1.56%              0.62      46.26%
  10/12/2015        $64.00        -0.42%       0.13%        -0.15%        0.05%        -0.47%   1.55%              -0.30     23.74%
  10/13/2015        $62.87        -1.77%       -0.67%       -2.42%        -2.77%        1.01%   1.54%              0.65      48.47%
  10/14/2015        $64.94         3.29%       -0.47%        1.44%        0.41%         2.88%   1.54%              1.87      93.79%           *
  10/15/2015        $66.60         2.56%       1.49%         2.47%        3.90%        -1.34%   1.55%              -0.87     61.24%
  10/16/2015        $69.02         3.63%       0.46%        -0.74%        0.08%         3.56%   1.55%              2.30      97.75%          **
  10/19/2015        $66.79        -3.23%       0.03%         0.49%        0.42%        -3.65%   1.57%              -2.33     97.93%          **



                                                                                                                                       Page 3 of 11
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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
  10/20/2015        $62.83        -5.93%       -0.14%       -3.08%        -2.47%       -3.46%   1.58%              -2.19     97.03%           **
  10/21/2015        $54.46       -13.32%       -0.57%        0.20%        -0.65%      -12.67%   1.59%              -7.96     100.00%         ***
  10/22/2015        $51.46        -5.51%       1.67%        -1.58%        1.07%        -6.58%   1.78%              -3.69     99.97%          ***
  10/23/2015        $56.60         9.99%       1.10%         1.45%        2.53%         7.46%   1.83%              4.07      99.99%          ***
  10/26/2015        $58.97         4.19%       -0.19%        1.05%        0.52%         3.67%   1.90%              1.94      94.60%           *
  10/27/2015        $58.52        -0.76%       -0.26%        3.29%        2.31%        -3.08%   1.91%              -1.61     89.21%
  10/28/2015        $60.89         4.05%       1.19%        -0.20%        1.44%         2.61%   1.92%              1.36      82.54%
  10/29/2015        $60.38        -0.84%       -0.03%       -0.77%        -0.71%       -0.13%   1.92%              -0.07      5.37%
  10/30/2015        $59.99        -0.65%       -0.48%       -0.35%        -1.00%        0.35%   1.92%              0.18      14.43%
  11/2/2015         $61.40         2.35%       1.19%         2.31%        3.48%        -1.13%   1.93%              -0.59     44.18%
  11/3/2015         $61.26        -0.23%       0.27%        -0.29%        0.12%        -0.34%   1.92%              -0.18     14.17%
  11/4/2015         $60.49        -1.26%       -0.32%        0.02%        -0.49%       -0.77%   1.92%              -0.40     31.23%
  11/5/2015         $51.70       -14.53%       -0.09%       -1.78%        -1.62%      -12.91%   1.92%              -6.74     100.00%         ***
  11/6/2015         $55.30         6.96%       -0.02%       -0.38%        -0.40%        7.36%   1.92%              3.84      99.98%          ***
  11/9/2015         $54.50        -1.45%       -0.96%        1.25%        -0.40%       -1.05%   1.97%              -0.53     40.48%
  11/10/2015        $55.57         1.96%       0.18%         0.13%        0.32%         1.64%   1.97%              0.83      59.36%
  11/11/2015        $56.51         1.69%       -0.32%       -1.06%        -1.31%        3.00%   1.97%              1.52      87.10%
  11/12/2015        $56.10        -0.73%       -1.38%       -0.36%        -2.23%        1.51%   1.98%              0.76      55.22%
  11/13/2015        $57.99         3.37%       -1.12%        2.47%        0.37%         3.00%   1.98%              1.51      86.87%
  11/16/2015        $56.90        -1.88%       1.51%        -1.63%        0.79%        -2.67%   1.99%              -1.34     81.76%
  11/17/2015        $57.65         1.32%       -0.11%        1.43%        1.03%         0.29%   2.00%              0.15      11.64%
  11/18/2015        $59.33         2.91%       1.62%         0.85%        2.89%         0.03%   2.00%              0.01       1.15%
  11/19/2015        $59.41         0.13%       -0.11%       -1.45%        -1.31%        1.44%   1.99%              0.72      52.96%
  11/20/2015        $59.37        -0.07%       0.40%        -0.62%        0.04%        -0.11%   2.00%              -0.06      4.45%
  11/23/2015        $60.16         1.33%       -0.12%        0.83%        0.51%         0.82%   2.00%              0.41      31.75%
  11/24/2015        $60.28         0.20%       0.13%        -0.34%        -0.10%        0.30%   1.99%              0.15      11.92%
  11/25/2015        $61.00         1.19%       0.00%         0.99%        0.79%         0.41%   1.99%              0.20      16.14%
  11/27/2015        $62.33         2.18%       0.08%         0.48%        0.49%         1.69%   1.99%              0.84      60.10%
  11/30/2015        $61.48        -1.36%       -0.46%       -1.37%        -1.71%        0.34%   2.00%              0.17      13.70%
  12/1/2015         $61.95         0.76%       1.08%        -0.85%        0.77%         0.00%   1.99%              0.00       0.05%
  12/2/2015         $61.55        -0.65%       -1.08%        0.51%        -1.01%        0.37%   1.99%              0.19      14.70%
  12/3/2015         $59.81        -2.83%       -1.43%       -1.65%        -3.23%        0.40%   1.98%              0.20      16.03%
  12/4/2015         $62.70         4.83%       2.05%         0.36%        3.05%         1.78%   1.98%              0.90      63.00%
  12/7/2015         $59.63        -4.90%       -0.69%       -1.33%        -1.99%       -2.90%   1.99%              -1.46     85.44%
  12/8/2015         $59.28        -0.59%       -0.64%        2.63%        1.28%        -1.87%   1.99%              -0.94     65.03%
  12/9/2015         $58.49        -1.33%       -0.77%       -0.68%        -1.61%        0.27%   2.00%              0.14      10.90%
  12/10/2015        $58.33        -0.27%       0.24%         0.93%        1.07%        -1.35%   2.00%              -0.67     49.92%
  12/11/2015        $57.12        -2.07%       -1.93%       -0.43%        -2.99%        0.91%   2.00%              0.46      35.13%
  12/14/2015        $57.43         0.54%       0.48%        -0.35%        0.37%         0.17%   2.00%              0.09       6.95%
  12/15/2015        $60.88         6.01%       1.06%         1.46%        2.62%         3.39%   1.99%              1.70      90.96%           *
  12/16/2015        $62.03         1.89%       1.46%         0.42%        2.37%        -0.48%   2.00%              -0.24     18.92%
  12/17/2015        $61.38        -1.05%       -1.49%        0.17%        -1.89%        0.84%   2.00%              0.42      32.52%
  12/18/2015        $61.02        -0.59%       -1.78%        1.56%        -1.13%        0.54%   2.00%              0.27      21.33%
  12/21/2015        $61.16         0.23%       0.79%        -0.26%        0.88%        -0.65%   2.00%              -0.33     25.53%
  12/22/2015        $62.61         2.37%       0.89%        -1.03%        0.38%         1.99%   2.00%              0.99      67.91%
  12/23/2015        $62.71         0.16%       1.25%         0.22%        1.91%        -1.75%   2.00%              -0.88     61.85%
  12/24/2015        $62.62        -0.14%       -0.16%        0.47%        0.22%        -0.36%   1.99%              -0.18     14.38%
  12/28/2015        $61.82        -1.28%       -0.22%       -0.60%        -0.79%       -0.48%   2.00%              -0.24     19.10%
  12/29/2015        $62.49         1.08%       1.08%         0.41%        1.84%        -0.76%   1.99%              -0.38     29.68%
  12/30/2015        $62.42        -0.11%       -0.71%        0.16%        -0.80%        0.69%   1.99%              0.35      27.14%
  12/31/2015        $61.22        -1.92%       -0.94%        0.40%        -0.90%       -1.02%   1.99%              -0.51     39.11%
   1/4/2016         $59.82        -2.29%       -1.51%       -1.35%        -3.20%        0.91%   2.00%              0.46      35.19%
   1/5/2016         $59.35        -0.79%       0.20%        -0.49%        -0.14%       -0.65%   2.00%              -0.33     25.49%
   1/6/2016         $57.31        -3.44%       -1.28%       -0.19%        -1.92%       -1.52%   2.00%              -0.76     55.28%



                                                                                                                                       Page 4 of 11
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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
   1/7/2016         $56.36        -1.66%       -2.37%       -1.11%        -4.30%        2.64%   1.98%              1.33      81.68%
   1/8/2016         $53.78        -4.58%       -1.08%       -0.57%        -2.00%       -2.58%   1.99%              -1.30     80.48%
  1/11/2016         $53.74        -0.07%       0.09%        -3.54%        -2.98%        2.91%   2.00%              1.46      85.36%
  1/12/2016         $55.04         2.42%       0.78%         0.45%        1.43%         0.99%   2.00%              0.50      37.98%
  1/13/2016         $52.65        -4.34%       -2.49%       -2.09%        -5.27%        0.93%   2.00%              0.46      35.60%
  1/14/2016         $53.98         2.53%       1.67%         1.82%        3.83%        -1.30%   2.00%              -0.65     48.45%
  1/15/2016         $52.53        -2.69%       -2.16%        0.30%        -2.84%        0.16%   2.00%              0.08       6.30%
  1/19/2016         $52.66         0.25%       0.05%        -2.24%        -1.85%        2.09%   2.00%              1.05      70.40%
  1/20/2016         $55.08         4.60%       -1.15%        4.19%        1.78%         2.81%   2.00%              1.41      83.90%
  1/21/2016         $56.37         2.34%       0.52%        -2.87%        -1.76%        4.10%   2.01%              2.04      95.78%          **
  1/22/2016         $58.55         3.87%       2.03%         0.58%        3.27%         0.60%   2.02%              0.30      23.20%
  1/25/2016         $57.84        -1.21%       -1.56%        0.40%        -1.86%        0.65%   2.02%              0.32      25.17%
  1/26/2016         $60.06         3.84%       1.41%        -2.29%        0.09%         3.75%   2.02%              1.85      93.50%           *
  1/27/2016         $58.07        -3.31%       -1.08%       -1.76%        -2.94%       -0.38%   2.03%              -0.19     14.70%
  1/28/2016         $54.95        -5.37%       0.56%        -4.22%        -2.61%       -2.77%   2.03%              -1.36     82.57%
  1/29/2016         $55.47         0.95%       2.48%        -1.76%        2.04%        -1.09%   2.02%              -0.54     41.13%
   2/1/2016         $56.57         1.98%       -0.04%        0.59%        0.39%         1.59%   2.02%              0.79      56.77%
   2/2/2016         $55.80        -1.36%       -1.87%       -0.50%        -3.10%        1.74%   2.02%              0.86      60.91%
   2/3/2016         $54.50        -2.33%       0.53%         0.59%        1.21%        -3.54%   2.02%              -1.75     91.90%           *
   2/4/2016         $54.30        -0.37%       0.17%         0.08%        0.28%        -0.65%   2.03%              -0.32     25.05%
   2/5/2016         $53.87        -0.79%       -1.84%       -0.78%        -3.29%        2.49%   2.03%              1.23      77.89%
   2/8/2016         $50.65        -5.98%       -1.41%       -1.33%        -3.10%       -2.88%   2.04%              -1.41     84.02%
   2/9/2016         $52.22         3.10%       -0.05%        0.19%        0.05%         3.05%   2.04%              1.49      86.28%
  2/10/2016         $51.00        -2.34%       0.02%         0.75%        0.62%        -2.96%   2.05%              -1.44     84.91%
  2/11/2016         $48.49        -4.92%       -1.21%       -0.71%        -2.35%       -2.57%   2.06%              -1.24     78.55%
  2/12/2016         $50.09         3.30%       1.96%         0.31%        3.01%         0.29%   2.07%              0.14      10.95%
  2/16/2016         $51.58         2.97%       1.69%         0.81%        3.04%        -0.06%   2.07%              -0.03      2.33%
  2/17/2016         $52.76         2.29%       1.66%         0.81%        3.01%        -0.72%   2.07%              -0.35     27.12%
  2/18/2016         $51.03        -3.28%       -0.46%       -1.99%        -2.40%       -0.88%   2.07%              -0.42     32.85%
  2/19/2016         $50.26        -1.51%       0.01%         0.93%        0.74%        -2.25%   2.07%              -1.09     72.15%
  2/22/2016         $50.44         0.36%       1.45%        -1.08%        1.08%        -0.73%   2.08%              -0.35     27.34%
  2/23/2016         $50.22        -0.44%       -1.24%       -0.70%        -2.45%        2.01%   2.07%              0.97      66.82%
  2/24/2016         $51.02         1.59%       0.45%        -0.02%        0.55%         1.05%   2.07%              0.50      38.58%
  2/25/2016         $52.67         3.23%       1.16%        -1.34%        0.44%         2.80%   2.07%              1.35      82.14%
  2/26/2016         $52.94         0.51%       -0.18%        1.08%        0.59%        -0.08%   2.08%              -0.04      3.00%
  2/29/2016         $41.81       -21.02%       -0.80%       -1.56%        -2.54%      -18.49%   2.08%              -8.88     100.00%         ***
   3/1/2016         $42.19         0.91%       2.39%         1.17%        4.34%        -3.43%   2.08%              -1.65     89.91%
   3/2/2016         $43.85         3.93%       0.43%         0.51%        0.95%         2.98%   2.09%              1.43      84.56%
   3/3/2016         $43.17        -1.55%       0.36%        -1.84%        -1.10%       -0.45%   2.09%              -0.21     16.93%
   3/4/2016         $42.44        -1.69%       0.33%        -0.73%        -0.22%       -1.47%   2.09%              -0.71     51.87%
   3/7/2016         $44.58         5.04%       0.10%         2.38%        2.04%         3.00%   2.10%              1.43      84.54%
   3/8/2016         $42.66        -4.31%       -1.11%       -2.03%        -3.38%       -0.93%   2.10%              -0.44     33.97%
   3/9/2016         $41.79        -2.04%       0.52%        -1.79%        -0.88%       -1.16%   2.10%              -0.55     41.80%
  3/10/2016         $40.40        -3.33%       0.02%        -0.74%        -0.71%       -2.61%   2.10%              -1.25     78.62%
  3/11/2016         $42.40         4.95%       1.67%         0.51%        2.70%         2.25%   2.10%              1.07      71.47%
  3/14/2016         $42.08        -0.75%       -0.12%        0.09%        -0.20%       -0.56%   2.10%              -0.27     20.99%


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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
  3/15/2016         $32.57       -22.60%       -0.18%       -3.51%        -3.49%       -19.11%        2.09%        -9.13     100.00%         ***
  3/16/2016         $33.91         4.11%       0.57%        -1.18%        -0.60%         4.71%        2.41%        1.96      94.85%           *
  3/17/2016         $30.03       -11.44%       0.66%        -2.01%        -1.28%       -10.16%        2.43%        -4.19     100.00%         ***
  3/18/2016         $29.84        -0.63%       0.44%         1.32%        1.79%         -2.42%        2.51%        -0.96     66.40%
  3/21/2016         $28.84        -3.35%       0.10%         1.89%        1.92%         -5.27%        2.52%        -2.09     96.24%          **
  3/22/2016         $30.81         6.83%       -0.07%        2.82%        2.61%          4.22%        2.54%        1.66      90.27%          *
  3/23/2016         $29.93        -2.86%       -0.64%       -2.41%        -3.74%         0.88%        2.55%        0.35      27.08%
  3/24/2016         $29.63        -1.00%       -0.04%        0.71%        0.47%         -1.48%        2.55%        -0.58     43.72%
  3/28/2016         $28.27        -4.59%       0.06%        -1.27%        -1.55%        -3.04%        2.56%        -1.19     76.41%
  3/29/2016         $28.96         2.44%       0.90%         0.60%        1.68%          0.76%        2.56%        0.30      23.33%
  3/30/2016         $28.45        -1.76%       0.45%        -1.03%        -0.75%        -1.01%        2.55%        -0.39     30.62%
  3/31/2016         $28.15        -1.05%       -0.20%        2.58%        2.27%         -3.33%        2.55%        -1.30     80.64%
   4/1/2016         $28.68         1.88%       0.63%         2.10%        2.90%         -1.02%        2.56%        -0.40     30.82%
   4/4/2016         $28.41        -0.94%       -0.30%        1.39%        0.80%         -1.74%        2.57%        -0.68     50.12%
   4/5/2016         $26.91        -5.28%       -1.01%        1.12%        -0.52%        -4.76%        2.56%        -1.86     93.58%           *
   4/6/2016         $29.23         8.62%       1.09%         4.54%        6.11%          2.51%        2.58%        0.98      67.00%
   4/7/2016         $29.07        -0.55%       -1.19%       -0.18%        -2.21%         1.66%        2.58%        0.64      48.04%
   4/8/2016         $28.30        -2.65%       0.28%        -1.39%        -1.35%        -1.30%        2.58%        -0.50     38.57%
  4/11/2016         $26.03        -8.02%       -0.27%       -1.20%        -1.98%        -6.04%        2.59%        -2.33     97.94%          **
  4/12/2016         $26.25         0.85%       0.97%        -0.14%        0.97%         -0.12%        2.62%        -0.05      3.71%
  4/13/2016         $27.14         3.39%       1.02%         0.60%        1.86%          1.54%        2.61%        0.59      44.29%
  4/14/2016         $27.16         0.07%       0.03%         0.18%        -0.06%         0.13%        2.61%        0.05       4.01%
  4/15/2016         $26.33        -3.06%       -0.10%       -0.11%        -0.57%        -2.49%        2.61%        -0.95     65.88%
  4/18/2016         $28.49         8.20%       0.66%         0.68%        1.40%          6.80%        2.62%        2.59      98.99%          **
  4/19/2016         $28.75         0.91%       0.31%        -2.29%        -2.39%         3.30%        2.65%        1.24      78.53%
  4/20/2016         $28.42        -1.15%       0.08%         0.02%        -0.13%        -1.01%        2.66%        -0.38     29.72%
  4/21/2016         $31.83       12.00%        -0.52%        3.64%        2.96%          9.04%        2.66%        3.40      99.92%          ***
  4/22/2016         $33.98         6.75%       0.01%         0.36%        0.19%          6.57%        2.72%        2.42      98.36%           **
  4/25/2016         $30.04       -11.60%       -0.18%       -0.56%        -1.13%       -10.47%        2.76%        -3.80     99.98%          ***
  4/26/2016         $29.47        -1.90%       0.19%        -1.69%        -1.97%         0.07%        2.83%        0.02       1.96%
  4/27/2016         $28.88        -2.00%       0.17%        -1.45%        -1.72%        -0.29%        2.83%        -0.10      8.08%
  4/28/2016         $28.27        -2.11%       -0.92%        0.44%        -1.08%        -1.03%        2.82%        -0.36     28.43%
  4/29/2016         $27.00        -4.49%       -0.51%       -1.84%        -3.19%        -1.30%        2.82%        -0.46     35.54%
   5/2/2016         $27.18         0.67%       0.78%         0.09%        1.03%         -0.36%        2.83%        -0.13     10.15%
   5/3/2016         $28.13         3.50%       -0.87%       -0.66%        -2.33%         5.83%        2.83%        2.06      95.98%          **
   5/4/2016         $27.37        -2.70%       -0.57%       -2.07%        -3.55%         0.85%        2.84%        0.30      23.48%
   5/5/2016         $26.59        -2.85%       0.00%         0.45%        0.30%         -3.15%        2.84%        -1.11     73.09%
   5/6/2016         $16.17       -39.19%       0.33%        -1.72%        -1.81%       -37.37%        2.85%       -13.11     100.00%         ***
   5/9/2016         $15.27        -5.57%       0.08%         2.43%        2.77%         -8.34%        2.86%        -2.91     99.61%          ***
  5/10/2016         $15.52         1.64%       1.25%        -0.72%        0.73%          0.91%        2.91%        0.31      24.49%
  5/11/2016         $13.55       -12.69%       -0.90%       -1.76%        -3.65%        -9.05%        2.90%        -3.12     99.80%          ***
  5/12/2016         $13.45        -0.74%       -0.01%       -1.58%        -2.21%         1.47%        2.95%        0.50      38.17%
  5/13/2016         $14.05         4.46%       -0.84%        2.14%        0.96%          3.51%        2.95%        1.19      76.41%
  5/16/2016         $14.30         1.78%       0.99%         1.73%        3.26%         -1.48%        2.97%        -0.50     38.09%
  5/17/2016         $15.17         6.08%       -0.91%        0.44%        -1.13%         7.21%        2.97%        2.43      98.43%          **



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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
  5/18/2016         $15.57         2.64%       0.04%         1.39%        1.46%          1.18%        3.00%        0.39      30.62%
  5/19/2016         $14.77        -5.14%       -0.37%       -0.85%        -1.81%        -3.33%        2.97%        -1.12     73.69%
  5/20/2016         $15.44         4.54%       0.62%         1.30%        2.24%          2.29%        2.97%        0.77      55.96%
  5/23/2016         $15.16        -1.81%       -0.20%        0.98%        0.64%         -2.45%        2.98%        -0.82     58.86%
  5/24/2016         $15.44         1.85%       1.37%         0.47%        2.36%         -0.51%        2.98%        -0.17     13.65%
  5/25/2016         $15.31        -0.84%       0.70%         0.25%        1.10%         -1.94%        2.97%        -0.65     48.53%
  5/26/2016         $15.22        -0.59%       -0.01%       -0.52%        -0.90%         0.32%        2.97%        0.11       8.48%
  5/27/2016         $15.38         1.05%       0.45%         0.42%        0.91%          0.14%        2.97%        0.05       3.82%
  5/31/2016         $15.81         2.80%       -0.09%        1.48%        1.39%          1.40%        2.98%        0.47      36.20%
   6/1/2016         $16.62         5.12%       0.13%         0.41%        0.45%          4.68%        2.97%        1.57      88.30%
   6/2/2016         $17.44         4.93%       0.29%         1.52%        2.06%          2.87%        2.99%        0.96      66.26%
   6/3/2016         $17.59         0.86%       -0.29%       -1.07%        -1.97%         2.83%        2.99%        0.95      65.45%
   6/6/2016         $17.96         2.10%       0.49%         0.90%        1.63%          0.47%        3.01%        0.16      12.44%
   6/7/2016         $17.62        -1.89%       0.13%        -2.64%        -3.26%         1.36%        3.00%        0.45      35.03%
   6/8/2016         $17.72         0.57%       0.35%        -0.48%        -0.27%         0.84%        3.00%        0.28      22.06%
   6/9/2016         $18.00         1.58%       -0.17%       -1.49%        -2.30%         3.88%        3.00%        1.29      80.31%
  6/10/2016         $16.48        -8.44%       -0.92%       -0.79%        -2.55%        -5.89%        3.01%        -1.96     94.89%           *
  6/13/2016         $16.68         1.21%       -0.78%       -0.05%        -1.49%         2.71%        3.04%        0.89      62.60%
  6/14/2016         $17.13         2.70%       -0.17%       -0.21%        -0.73%         3.43%        3.04%        1.13      73.97%
  6/15/2016         $16.82        -1.81%       -0.18%        0.13%        -0.31%        -1.50%        3.04%        -0.49     37.82%
  6/16/2016         $16.92         0.59%       0.33%        -0.44%        -0.24%         0.83%        3.04%        0.27      21.61%
  6/17/2016         $16.44        -2.84%       -0.33%       -1.49%        -2.52%        -0.32%        3.04%        -0.10      8.32%
  6/20/2016         $16.07        -2.25%       0.58%         0.14%        0.83%         -3.09%        3.05%        -1.01     68.70%
  6/21/2016         $15.40        -4.17%       0.28%        -1.84%        -2.05%        -2.12%        3.05%        -0.69     51.15%
  6/22/2016         $15.45         0.32%       -0.16%        1.04%        0.76%         -0.43%        3.05%        -0.14     11.31%
  6/23/2016         $15.84         2.52%       1.34%         0.47%        2.36%          0.17%        3.05%        0.06       4.39%
  6/24/2016         $14.85        -6.25%       -3.59%        0.17%        -5.53%        -0.72%        3.05%        -0.24     18.60%
  6/27/2016         $13.69        -7.81%       -1.81%       -0.45%        -3.58%        -4.23%        3.06%        -1.38     83.24%
  6/28/2016         $16.19        18.26%       1.80%         1.41%        4.27%         13.99%        3.06%        4.56      100.00%         ***
  6/29/2016         $15.93        -1.61%       1.72%        -0.12%        2.50%         -4.10%        3.18%        -1.29     80.13%
  6/30/2016         $15.59        -2.13%       1.36%        -1.19%        0.49%         -2.63%        3.19%        -0.82     58.84%
   7/1/2016         $16.98         8.92%       0.21%         1.85%        2.46%          6.46%        3.20%        2.02      95.54%          **
   7/5/2016         $16.56        -2.47%       -0.68%        0.09%        -1.20%        -1.28%        3.23%        -0.40     30.70%
   7/6/2016         $17.10         3.26%       0.57%         1.64%        2.84%          0.42%        3.22%        0.13      10.44%
   7/7/2016         $17.28         1.05%       -0.08%        0.85%        0.76%          0.29%        3.22%        0.09       7.18%
   7/8/2016         $17.42         0.81%       1.53%        -0.83%        1.20%         -0.39%        3.22%        -0.12      9.69%
  7/11/2016         $17.16        -1.49%       0.34%        -0.57%        -0.42%        -1.08%        3.23%        -0.33     26.05%
  7/12/2016         $17.39         1.34%       0.70%        -0.12%        0.75%          0.59%        3.23%        0.18      14.57%
  7/13/2016         $17.38        -0.06%       0.02%        -1.64%        -2.32%         2.26%        3.22%        0.70      51.70%
  7/14/2016         $17.68         1.73%       0.53%        -0.28%        0.26%          1.46%        3.22%        0.45      34.98%
  7/15/2016         $17.63        -0.28%       -0.09%        1.69%        1.81%         -2.10%        3.22%        -0.65     48.43%
  7/18/2016         $17.92         1.64%       0.24%         0.14%        0.35%          1.29%        3.24%        0.40      31.03%
  7/19/2016         $17.45        -2.62%       -0.14%       -1.01%        -1.76%        -0.86%        3.23%        -0.27     21.06%
  7/20/2016         $18.04         3.38%       0.44%         2.09%        3.19%          0.19%        3.22%        0.06       4.75%
  7/21/2016         $18.00        -0.22%       -0.36%        1.88%        1.63%         -1.85%        3.22%        -0.58     43.43%



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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
  7/22/2016         $17.50        -2.78%       0.46%        -0.27%        0.17%         -2.94%        3.22%        -0.91     63.79%
  7/25/2016         $17.71         1.20%       -0.30%        0.99%        0.57%          0.63%        3.23%        0.19      15.42%
  7/26/2016         $17.34        -2.09%       0.04%        -0.63%        -1.01%        -1.08%        3.22%        -0.33     26.16%
  7/27/2016         $17.76         2.42%       -0.12%        2.73%        3.16%         -0.74%        3.22%        -0.23     18.06%
  7/28/2016         $17.89         0.73%       0.17%         0.09%        0.15%          0.58%        3.22%        0.18      14.40%
  7/29/2016         $17.36        -2.96%       0.16%         0.52%        0.72%         -3.68%        3.22%        -1.14     74.64%
   8/1/2016         $16.88        -2.76%       -0.13%        1.93%        2.07%         -4.83%        3.24%        -1.49     86.34%
   8/2/2016         $17.11         1.36%       -0.63%        1.15%        0.19%          1.17%        3.24%        0.36      28.19%
   8/3/2016         $18.21         6.43%       0.34%         0.72%        1.24%          5.19%        3.24%        1.60      88.95%
   8/4/2016         $18.08        -0.71%       0.05%        -0.72%        -1.08%         0.37%        3.26%        0.11       9.02%
   8/5/2016         $18.07        -0.06%       0.86%        -0.55%        0.47%         -0.52%        3.25%        -0.16     12.76%
   8/8/2016         $18.19         0.66%       -0.08%       -0.85%        -1.47%         2.14%        3.26%        0.66      48.79%
   8/9/2016         $22.16        21.83%       0.04%         0.17%        0.07%         21.75%        3.25%        6.69      100.00%         ***
  8/10/2016         $22.29         0.59%       -0.25%       -1.56%        -2.66%         3.24%        3.25%        1.00      68.03%
  8/11/2016         $23.01         3.23%       0.49%         0.52%        1.24%          1.99%        3.25%        0.61      45.81%
  8/12/2016         $24.18         5.08%       -0.07%        0.40%        0.18%          4.90%        3.26%        1.51      86.66%
  8/15/2016         $23.23        -3.93%       0.29%         0.66%        1.14%         -5.07%        3.28%        -1.55     87.70%
  8/16/2016         $22.92        -1.33%       -0.53%       -0.66%        -1.93%         0.60%        3.29%        0.18      14.38%
  8/17/2016         $22.74        -0.79%       0.21%        -0.27%        -0.22%        -0.57%        3.28%        -0.17     13.74%
  8/18/2016         $22.89         0.66%       0.22%         0.03%        0.19%          0.47%        3.28%        0.14      11.49%
  8/19/2016         $23.03         0.61%       -0.13%       -0.15%        -0.63%         1.24%        3.28%        0.38      29.40%
  8/22/2016         $22.94        -0.39%       -0.05%        2.17%        2.54%         -2.94%        3.29%        -0.89     62.64%
  8/23/2016         $23.66         3.14%       0.20%        -0.12%        -0.05%         3.19%        3.29%        0.97      66.68%
  8/24/2016         $22.09        -6.64%       -0.52%       -2.56%        -4.36%        -2.27%        3.29%        -0.69     50.98%
  8/25/2016         $21.03        -4.80%       -0.13%       -0.78%        -1.48%        -3.32%        3.29%        -1.01     68.54%
  8/26/2016         $21.03         0.00%       -0.16%        1.09%        0.91%         -0.91%        3.30%        -0.28     21.67%
  8/29/2016         $20.82        -1.00%       0.54%        -1.15%        -0.84%        -0.15%        3.31%        -0.05      3.71%
  8/30/2016         $20.89         0.34%       -0.18%        0.12%        -0.41%         0.75%        3.30%        0.23      17.89%
  8/31/2016         $20.70        -0.91%       -0.22%       -0.36%        -1.10%         0.19%        3.30%        0.06       4.56%
   9/1/2016         $20.23        -2.27%       0.00%         0.23%        0.05%         -2.32%        3.29%        -0.70     51.79%
   9/2/2016         $19.82        -2.03%       0.43%        -0.72%        -0.49%        -1.53%        3.30%        -0.47     35.77%
   9/6/2016         $20.49         3.38%       0.30%         0.99%        1.58%          1.80%        3.30%        0.55      41.41%
   9/7/2016         $20.30        -0.93%       0.01%         0.73%        0.75%         -1.67%        3.30%        -0.51     38.81%
   9/8/2016         $20.65         1.72%       -0.22%        1.15%        0.91%          0.82%        3.29%        0.25      19.58%
   9/9/2016         $20.04        -2.98%       -2.45%        0.48%        -3.83%         0.85%        3.29%        0.26      20.39%
  9/12/2016         $20.80         3.82%       1.47%         1.09%        3.76%          0.06%        3.30%        0.02       1.47%
  9/13/2016         $20.34        -2.21%       -1.45%        0.56%        -1.98%        -0.23%        3.29%        -0.07      5.64%
  9/14/2016         $20.34         0.00%       -0.05%        1.37%        1.54%         -1.54%        3.29%        -0.47     36.06%
  9/15/2016         $20.69         1.72%       1.03%         0.13%        1.71%          0.02%        3.29%        0.00       0.37%
  9/16/2016         $20.85         0.77%       -0.38%        1.18%        0.72%          0.05%        3.29%        0.02       1.29%
  9/19/2016         $20.06        -3.79%       0.00%         0.07%        -0.17%        -3.61%        3.28%        -1.10     72.88%
  9/20/2016         $20.29         1.15%       0.03%         1.45%        1.75%         -0.61%        3.28%        -0.18     14.64%
  9/21/2016         $20.09        -0.99%       1.09%        -0.84%        0.46%         -1.45%        3.27%        -0.44     34.13%
  9/22/2016         $20.26         0.85%       0.65%        -0.05%        0.79%          0.06%        3.27%        0.02       1.49%
  9/23/2016         $23.39        15.45%       -0.57%        0.32%        -0.81%        16.26%        3.27%        4.97      100.00%         ***



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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
  9/26/2016         $21.99        -5.99%       -0.85%        0.02%        -1.57%        -4.41%        3.44%        -1.28     79.92%
  9/27/2016         $22.53         2.46%       0.65%         0.22%        1.23%          1.23%        3.44%        0.36      27.79%
  9/28/2016         $22.36        -0.75%       0.55%        -1.64%        -1.58%         0.83%        3.44%        0.24      19.06%
  9/29/2016         $20.93        -6.40%       -0.93%       -1.60%        -3.93%        -2.46%        3.44%        -0.72     52.62%
  9/30/2016         $20.15        -3.73%       0.80%         0.08%        1.25%         -4.98%        3.44%        -1.45     85.10%
  10/3/2016         $20.57         2.08%       -0.31%        0.48%        -0.04%         2.13%        3.42%        0.62      46.58%
  10/4/2016         $20.39        -0.88%       -0.49%        0.36%        -0.47%        -0.41%        3.41%        -0.12      9.54%
  10/5/2016         $21.42         5.05%       0.47%         0.33%        0.95%          4.10%        3.40%        1.20      77.04%
  10/6/2016         $20.63        -3.69%       0.05%        -2.24%        -3.16%        -0.53%        3.41%        -0.16     12.34%
  10/7/2016         $20.37        -1.26%       -0.32%        0.44%        -0.08%        -1.18%        3.41%        -0.35     26.99%
  10/10/2016        $21.18         3.98%       0.46%         0.79%        1.66%          2.31%        3.41%        0.68      50.16%
  10/11/2016        $20.46        -3.40%       -1.24%       -1.94%        -4.85%         1.45%        3.41%        0.43      33.03%
  10/12/2016        $19.63        -4.06%       0.12%        -2.63%        -3.58%        -0.47%        3.40%        -0.14     11.04%
  10/13/2016        $19.81         0.92%       -0.31%        0.88%        0.55%          0.36%        3.40%        0.11       8.53%
  10/14/2016        $19.86         0.25%       0.02%        -1.90%        -2.79%         3.04%        3.40%        0.89      62.81%
  10/17/2016        $19.27        -2.97%       -0.30%        0.43%        -0.08%        -2.89%        3.40%        -0.85     60.44%
  10/18/2016        $19.85         3.01%       0.62%         0.56%        1.58%          1.43%        3.40%        0.42      32.49%
  10/19/2016        $19.89         0.20%       0.23%        -1.05%        -1.28%         1.48%        3.39%        0.44      33.73%
  10/20/2016        $20.53         3.22%       -0.13%        1.29%        1.40%          1.81%        3.38%        0.54      40.75%
  10/21/2016        $20.81         1.36%       -0.01%       -0.79%        -1.25%         2.62%        3.38%        0.77      56.00%
  10/24/2016        $20.81         0.00%       0.48%        -1.07%        -0.77%         0.77%        3.26%        0.24      18.76%
  10/25/2016        $21.48         3.22%       -0.38%        0.11%        -0.54%         3.76%        3.25%        1.16      75.17%
  10/26/2016        $20.78        -3.26%       -0.17%        0.32%        0.09%         -3.35%        3.25%        -1.03     69.55%
  10/27/2016        $20.42        -1.73%       -0.30%        0.58%        0.20%         -1.93%        3.25%        -0.59     44.67%
  10/28/2016        $19.57        -4.16%       -0.31%       -1.33%        -2.43%        -1.73%        3.24%        -0.53     40.56%
  10/31/2016        $18.75        -4.19%       -0.01%       -1.50%        -2.23%        -1.96%        3.25%        -0.60     45.28%
  11/1/2016         $18.87         0.64%       -0.68%        2.16%        1.79%         -1.15%        3.25%        -0.35     27.71%
  11/2/2016         $18.17        -3.71%       -0.64%       -0.89%        -2.39%        -1.31%        3.24%        -0.41     31.47%
  11/3/2016         $14.63       -19.48%       -0.41%       -2.24%        -3.96%       -15.52%        3.24%        -4.79     100.00%         ***
  11/4/2016         $14.98         2.39%       -0.16%        2.29%        2.81%         -0.41%        3.24%        -0.13     10.17%
  11/7/2016         $15.68         4.67%       2.22%         0.62%        4.28%          0.39%        3.24%        0.12       9.56%
  11/8/2016         $14.51        -7.46%       0.43%        -0.26%        0.17%         -7.63%        3.24%        -2.36     98.07%          **
  11/9/2016         $16.28       12.20%        1.11%         7.49%        12.19%         0.01%        3.24%        0.00       0.32%
  11/10/2016        $17.48         7.37%       0.20%         1.40%        2.15%          5.22%        3.24%        1.61      89.20%
  11/11/2016        $17.58         0.57%       -0.14%       -0.35%        -0.87%         1.44%        3.24%        0.45      34.41%
  11/14/2016        $18.19         3.47%       0.00%         1.89%        2.51%          0.96%        3.24%        0.30      23.19%
  11/15/2016        $17.84        -1.92%       0.77%        -1.63%        -1.21%        -0.71%        3.24%        -0.22     17.38%
  11/16/2016        $17.10        -4.15%       -0.13%       -1.36%        -2.28%        -1.87%        3.24%        -0.58     43.54%
  11/17/2016        $17.07        -0.18%       0.47%         0.07%        0.70%         -0.88%        3.24%        -0.27     21.38%
  11/18/2016        $17.14         0.41%       -0.22%       -0.81%        -1.65%         2.06%        3.24%        0.64      47.50%
  11/21/2016        $17.10        -0.23%       0.75%        -0.26%        0.67%         -0.90%        3.24%        -0.28     21.96%
  11/22/2016        $16.25        -4.97%       0.22%        -2.02%        -2.64%        -2.33%        3.24%        -0.72     52.68%
  11/23/2016        $16.70         2.77%       0.08%         0.78%        1.08%          1.69%        3.24%        0.52      39.71%
  11/25/2016        $16.47        -1.38%       0.39%        -0.14%        0.28%         -1.65%        3.24%        -0.51     38.97%
  11/28/2016        $16.67         1.21%       -0.51%       -0.87%        -2.20%         3.41%        3.24%        1.05      70.67%



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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
  11/29/2016        $16.17        -3.00%       0.16%         0.01%        0.11%         -3.11%        3.24%        -0.96     66.25%
  11/30/2016        $16.01        -0.99%       -0.24%       -1.88%        -3.19%         2.20%        3.24%        0.68      50.30%
  12/1/2016         $15.82        -1.19%       -0.35%       -1.07%        -2.21%         1.03%        3.24%        0.32      24.86%
  12/2/2016         $15.80        -0.13%       0.04%         0.49%        0.60%         -0.73%        3.24%        -0.22     17.70%
  12/5/2016         $15.87         0.44%       0.59%        -0.19%        0.53%         -0.09%        3.24%        -0.03      2.21%
  12/6/2016         $15.86        -0.06%       0.34%         0.48%        1.07%         -1.14%        3.24%        -0.35     27.42%
  12/7/2016         $15.09        -4.85%       1.34%        -4.71%        -4.65%        -0.21%        3.24%        -0.06      5.12%
  12/8/2016         $15.65         3.71%       0.23%         0.51%        0.93%          2.78%        3.24%        0.86      60.82%
  12/9/2016         $15.64        -0.06%       0.59%        -0.36%        0.29%         -0.35%        3.24%        -0.11      8.67%
  12/12/2016        $15.41        -1.47%       -0.11%       -0.44%        -0.95%        -0.52%        3.24%        -0.16     12.85%
  12/13/2016        $15.95         3.50%       0.67%        -0.28%        0.53%          2.97%        3.24%        0.92      64.05%
  12/14/2016        $15.34        -3.82%       -0.81%        1.36%        0.48%         -4.30%        3.24%        -1.33     81.45%
  12/15/2016        $15.45         0.72%       0.39%         0.50%        1.18%         -0.46%        3.24%        -0.14     11.35%
  12/16/2016        $16.03         3.75%       -0.17%        0.34%        0.05%          3.71%        3.24%        1.14      74.65%
  12/19/2016        $16.03         0.00%       0.20%        -1.38%        -1.78%         1.78%        3.24%        0.55      41.59%
  12/20/2016        $16.04         0.06%       0.38%         0.33%        0.92%         -0.86%        3.24%        -0.26     20.83%
  12/21/2016        $15.69        -2.18%       -0.24%       -0.79%        -1.65%        -0.53%        3.24%        -0.16     13.03%
  12/22/2016        $15.77         0.51%       -0.17%       -0.02%        -0.46%         0.97%        3.24%        0.30      23.62%
  12/23/2016        $16.27         3.17%       0.14%         2.14%        3.08%          0.09%        3.24%        0.03       2.18%
  12/27/2016        $15.90        -2.27%       0.23%        -0.62%        -0.67%        -1.60%        3.24%        -0.50     37.90%
  12/28/2016        $15.65        -1.57%       -0.82%       -0.01%        -1.48%        -0.10%        3.24%        -0.03      2.35%
  12/29/2016        $15.68         0.19%       -0.02%       -0.23%        -0.51%         0.71%        3.24%        0.22      17.22%
  12/30/2016        $16.47         5.04%       -0.46%        0.01%        -0.87%         5.91%        3.24%        1.82      93.08%           *
   1/3/2017         $17.47         6.07%       0.85%         0.89%        2.46%          3.61%        3.24%        1.12      73.43%
   1/4/2017         $17.70         1.32%       0.59%         1.88%        3.45%         -2.13%        3.24%        -0.66     48.91%
   1/5/2017         $17.54        -0.90%       -0.08%        0.46%        0.38%         -1.28%        3.24%        -0.40     30.80%
   1/6/2017         $16.54        -5.70%       0.38%         0.25%        0.81%         -6.51%        3.24%        -2.01     95.46%          **
   1/9/2017         $16.41        -0.79%       -0.35%        2.05%        2.17%         -2.96%        3.24%        -0.91     63.82%
  1/10/2017         $15.31        -6.70%       0.00%         0.88%        1.08%         -7.79%        3.24%        -2.41     98.31%          **
  1/11/2017         $14.01        -8.49%       0.29%        -3.28%        -4.31%        -4.19%        3.24%        -1.29     80.27%
  1/12/2017         $13.87        -1.00%       -0.21%        0.81%        0.65%         -1.65%        3.24%        -0.51     38.83%
  1/13/2017         $13.19        -4.90%       0.18%         0.22%        0.46%         -5.36%        3.24%        -1.66     90.09%           *
  1/17/2017         $13.07        -0.91%       -0.30%       -1.47%        -2.70%         1.79%        3.24%        0.55      41.99%
  1/18/2017         $13.17         0.77%       0.19%         0.71%        1.16%         -0.39%        3.24%        -0.12      9.66%
  1/19/2017         $12.90        -2.05%       -0.36%       -0.30%        -1.15%        -0.90%        3.24%        -0.28     21.80%
  1/20/2017         $12.34        -4.34%       0.34%        -0.84%        -0.79%        -3.55%        3.24%        -1.10     72.66%
  1/23/2017         $12.17        -1.38%       -0.27%       -0.42%        -1.18%        -0.20%        3.24%        -0.06      4.96%
  1/24/2017         $11.85        -2.63%       0.66%        -1.12%        -0.68%        -1.95%        3.24%        -0.60     45.15%
  1/25/2017         $11.89         0.34%       0.80%        -0.05%        1.06%         -0.72%        3.24%        -0.22     17.65%
  1/26/2017         $11.99         0.84%       -0.07%       -0.30%        -0.69%         1.53%        3.24%        0.47      36.38%
  1/27/2017         $11.78        -1.75%       -0.08%        1.26%        1.49%         -3.24%        3.24%        -1.00     68.19%
  1/30/2017         $11.81         0.25%       -0.60%       -0.45%        -1.74%         1.99%        3.24%        0.61      46.08%
  1/31/2017         $12.24         3.64%       -0.09%        3.05%        4.00%         -0.36%        3.24%        -0.11      8.73%
   2/1/2017         $12.34         0.82%       0.05%         0.95%        1.27%         -0.46%        3.24%        -0.14     11.22%
   2/2/2017         $12.60         2.11%       0.06%        -0.24%        -0.39%         2.50%        3.24%        0.77      55.89%



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Exhibit 11B
Endo International plc
Actual vs. Predicted Returns
Notes: [1] “***”, “**” and “*” indicate statistical significance at the 99%, 95% and 90% confidence levels, respectively.


                                                                                      Company-
                   Closing        Actual       Market      Industry      Predicted             Standard                     Confidence Statistically
     Date                                                                             Specific                     t-Stat
                    Price         Return       Return      Residual       Return                Error                         Level    Significant[1]
                                                                                       Return
   2/3/2017         $12.71         0.87%       0.74%         0.17%        1.26%         -0.39%        3.24%        -0.12      9.60%
   2/6/2017         $12.53        -1.42%       -0.21%        0.49%        0.20%         -1.61%        3.24%        -0.50     38.12%
   2/7/2017         $12.01        -4.15%       0.03%        -0.32%        -0.56%        -3.59%        3.24%        -1.11     73.18%
   2/8/2017         $12.29         2.33%       0.10%        -0.17%        -0.24%         2.57%        3.24%        0.79      57.15%
   2/9/2017         $12.18        -0.90%       0.59%         0.23%        1.12%         -2.02%        3.24%        -0.62     46.58%
  2/10/2017         $12.06        -0.99%       0.36%        -0.55%        -0.34%        -0.64%        3.24%        -0.20     15.74%
  2/13/2017         $12.10         0.33%       0.55%         0.06%        0.81%         -0.47%        3.24%        -0.15     11.62%
  2/14/2017         $12.65         4.55%       0.43%         0.64%        1.43%          3.11%        3.24%        0.96      66.29%
  2/15/2017         $13.65         7.91%       0.51%         1.18%        2.34%          5.57%        3.24%        1.72      91.32%           *
  2/16/2017         $13.30        -2.56%       -0.08%       -0.50%        -0.98%        -1.58%        3.24%        -0.49     37.40%
  2/17/2017         $13.08        -1.65%       0.17%         0.37%        0.64%         -2.30%        3.24%        -0.71     52.16%
  2/21/2017         $13.19         0.84%       0.60%        -1.36%        -1.10%         1.94%        3.24%        0.60      45.11%
  2/22/2017         $12.89        -2.27%       -0.10%       -0.64%        -1.22%        -1.06%        3.24%        -0.33     25.56%
  2/23/2017         $13.39         3.88%       0.05%        -0.23%        -0.39%         4.27%        3.24%        1.32      81.13%
  2/24/2017         $13.15        -1.79%       0.17%         0.06%        0.21%         -2.00%        3.24%        -0.62     46.26%
  2/27/2017         $13.29         1.06%       0.12%         2.76%        3.92%         -2.85%        3.24%        -0.88     62.08%




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Exhibit 12


                                   Summary of Endo Stock Price Reaction on Event Dates

     Event                                                                      Impact          Actual    Residual   Confidence
                                            Event
     Date                                                                        Date           Return    Return       Level


    3/2/2015          Fourth-Quarter/Full-Year 2014 Earnings Results           3/2/2015          2.01%     1.29%     66.3%


   5/11/2015                First-Quarter 2015 Earnings Results                5/11/2015        -0.44%    -0.14%      8.7%


   8/10/2015               Second-Quarter 2015 Earnings Results                8/10/2015         0.51%    -0.64%     37.6%


   11/5/2015                Third-Quarter 2015 Earnings Results                11/5/2015        -14.53%   -12.91%    100.0% ***


   2/29/2016          Fourth-Quarter/Full-Year 2015 Earnings Results           2/29/2016        -21.02%   -18.49%    100.0% ***


    5/5/2016                First-Quarter 2016 Earnings Results                5/6/2016         -39.19%   -37.37%    100.0% ***


    8/8/2016               Second-Quarter 2016 Earnings Results                8/9/2016         21.83%    21.75%     100.0% ***


   11/8/2016                Third-Quarter 2016 Earnings Results                11/8/2016        -7.46%    -7.63%     98.1% **

  “***” and “**” indicates statistical significance at the 99% and 95% confidence level, respectively.



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Exhibit 12

             Impact
              Date                                                             Event
            3/2/2015   Before market open on Monday, March 2, 2015, the Company reported its fourth-quarter and full-year 2014 financial
                       results. For the quarter, Endo reported revenue of $800.0 million, adjusted net income of $184.9 million, and
                       adjusted diluted earnings per share (“adjusted EPS”) of $1.16.1

                       The consensus estimates of quarterly revenue and adjusted EPS were $781.7 million and $1.12, respectively. 2

                       Rajiv De Silva, then-President and CEO of Endo (“De Silva”), commented on the Company’s performance:3

                               We are proud of the progress Endo made in rebuilding our business in 2014. This was achieved
                               through multiple strategic transactions, a focus on organic growth and building our R&D pipeline.
                               These efforts, along with the announcement that we will divest our AMS Men’s Health and Prostate
                               Health businesses, have helped us continue to transform the company into a leading global specialty
                               pharmaceuticals company and, in the process, deliver strong financial performance …. We look
                               forward to continuing to invest in sustainable organic growth drivers in our existing commercial
                               portfolio as well as our R&D pipeline and deploying capital to value-creating M&A. The sale of
                               AMS increases our financial flexibility to support those objectives in our core pharmaceuticals
                               businesses. We believe the recently closed acquisition of Auxilium Pharmaceuticals significantly
                               expands the organic growth profile for our U.S. Branded Pharmaceuticals and more broadly
                               supports a company objective to deliver high-single to low-double digit organic growth for
                               revenues over the mid-term.

                       The Company also provided full-year 2015 guidance as follows:4

                                                                           Current Guidance
                               Total revenue                               $2.90 – $3.00 billion

1
    PR Newswire, “(PR) Endo Reports Fourth Quarter And Full Year 2014 Financial Results,” March 2, 2015, 7:00 AM.
2
    Bloomberg, “Endo Intl 4Q Beats Est.; To Sell AMS Unit to Boston Scientific,” March 2, 2015, 7:10 AM.
3
    PR Newswire, “(PR) Endo Reports Fourth Quarter And Full Year 2014 Financial Results,” March 2, 2015, 7:00 AM.
4
    Ibid.


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                               GAAP EPS                                      $2.73 – $2.93
                               Adjusted EPS                                  $4.35 – $4.55
                               Adjusted gross margin                         63% – 65%
                               Adjusted operating expenses as % of rev.      23% – 24%
                               Adjusted interest expense                     $310 million
                               Adjusted effective tax rate                   15% – 17%

                       Prior to the Company’s guidance, the consensus estimates of revenue and adjusted EPS for 2015 had been $3.47
                       billion and $4.95, respectively.5

                       In a separate, contemporaneous press release, the Company announced that Boston Scientific would acquire Endo’s
                       American Medical Systems’ (“AMS”) Men’s and Prostate Health businesses for up to $1.65 billion, with $1.6 billion
                       in cash payable at closing. The Company was “also eligible to receive a potential milestone payment of $50 million
                       in cash conditioned on Boston Scientific achieving certain product revenue milestones in the Men’s Health and
                       Prostate Health businesses in 2016. In addition, Endo [was] evaluating strategic alternatives for the AMS Women’s
                       Health business.” The transaction was expected to close in the third quarter of 2015.6

                       De Silva commented that the AMS transaction would allow the Company to focus on its pharmaceuticals business:7

                               The divestiture of AMS marks the continued execution of our business strategy and furthers the
                               transformation of Endo into a leading global specialty pharmaceutical company …. This
                               transaction provides us with greater financial flexibility and better positions the Company to take
                               advantage of value-creating M&A opportunities for our pharmaceuticals businesses. As a result of
                               the divestiture, we expect to realize an increase in our revenue growth rate, an improvement in our
                               operating margin profile and a decrease in our overall effective tax rate. I would like to thank all of

5
    Bloomberg, “Endo Intl 4Q Beats Est.; To Sell AMS Unit to Boston Scientific,” March 2, 2015, 7:10 AM.
6
 PR Newswire, “(PR) Endo Announces Divestiture of American Medical Systems’ Men’s and Prostate Health Businesses to Boston
Scientific,” March 2, 2015, 7:00 AM.
7
    Ibid.


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                               our AMS colleagues for their continued dedication and efforts in support of the business and its
                               growth. We are confident that the combined expertise, resources and product portfolio of AMS and
                               Boston Scientific will create a leader in the male urological device space dedicated to improving
                               patients’ lives.

                       The same day, before market open, the Company held a conference call with investment analysts.8 During the call,
                       Suky Upadhyay, Endo’s then-CFO and Executive Vice President (“Upadhyay”), discussed the impact of the AMS
                       transaction on the Company’s guidance:9

                               As a result of today’s agreement with Boston Scientific and the sale process for Women’s Health,
                               we expect to report any interim results for AMS as discontinued operations. The shift to
                               discontinued operations removes AMS from our operating and tax results and AMS will only show
                               as a contribution to consolidated net income on the income statement. On a number of fronts, we
                               believe this will enhance our financial profile by improving our organic growth rates for revenue,
                               reducing our effective tax rate and improving net income margins.

                       Canaccord wrote that the Company’s revenue and EPS were both “even stronger than expected” with “strength
                       [that] seemed to come across the board.” The analyst saw the AMS sale as a “welcome relief as it removes an
                       overhang … despite about 60 cents of dilution.” Canaccord remarked that the Company’s “[f]irst time 2015 EPS
                       guidance was meaningfully ahead of consensus (when backing out AMS).” The analyst increased its price target for
                       the Company to $104 from $88 “by increasing our EPS, and increasing our terminal growth rate to 2% because
                       removing AMS is accretive to growth”:10

                               Endo reported a strong Q4 with both revenue ($800M vs. consensus of $780M) and EPS even
                               stronger than expected ($1.16 vs CGI and consensus at $1.11). Announcing the sale of AMS

8
 Thomson Reuters, StreetEvents, “ENDP – Q4 2014 Endo International PLC Earnings Call, EVENT DATE/TIME: MARCH 02, 2015 /
1:30PM GMT,” March 2, 2015, 8:30 AM.
9
    Ibid.
10
     Canaccord Genuity, “Trifecta: good Q4, better 2015, unloading AMS,” March 3, 2015.


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                 (except for ~$100M of the women’s health products) for $1.65B was a welcome relief as it removes
                 an overhang and despite about 60 cents of dilution it was refreshing that investors focused on the
                 right thing that it is accretive to growth and fuels the cash war-chest for acquisitions. First time
                 2015 EPS guidance was meaningfully ahead of consensus (when backing out AMS) and given
                 management’s two-year track record, it is likely to end 2015 well ahead of top end of its EPS
                 guidance of $4.55. We raise our target from $88 to $104 by increasing our EPS, and increasing our
                 terminal growth rate to 2% because removing AMS is accretive to growth.

                 Q4 Strength. There was no one single business line or product that was a stand-out in Q4 as the
                 strength seemed to come across the board. If anything, the generics business was not hit as badly as
                 anticipated from the “shelf stock adjustments” and rebates Endo had to give because of the price
                 increases it has taken that should lead to an impressively strong Q1.

                 2015 Levers. Endo’s guidance (as does our new model) makes several reasonable conservative
                 assumptions that if the timing breaks in its favor, would create meaningful upside. However, since
                 most of these involve new competition that is a matter of when not, IF, we’re not sure how much of
                 a multiple (if any) the extra earnings really deserve: 1) another Lidoderm generic in Q2, 2) V-gel
                 generics in Q3, 3) more generics for hydrocodone and valganciclovir in Q2, Frova generics Q4, 5)
                 Belbuca PDUFA in Oct - launch in early 2016, and 6) hopefully accelerating growth in the newly
                 acquired Auxillium products.

                 Buying Power. Endo hopes to acquire 2-3 assets in 2015. Even after deducting for all the mesh
                 litigation payouts, and including the $1.65B from Boston Scientific, we calculate the company
                 could have over $5B in incremental buying power from cash and debt alone (depending on the
                 EBITDA of the target and whether it would choose to go above a 4.0x lever ratio for a brief period
                 of time). But with the stock at all time highs, we also wouldn’t be surprised to see it use its equity
                 for a larger transaction. A $5.4B acquisition could buy $1.8B in revenue at 3x sales and at 30% net
                 income margins, would generate ~$3.00 in EPS (~56% accretion in 2016).

                 Valuation/risks



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                              We raise our DCF-derived price target from $88 to $104 by raising our base business EPS estimates
                              and with the sale of AMS being accretive to growth, we raise our terminal growth rate to 2%. Risks
                              include: failure for products growth to stabilize, failure for further acquisitions to materialize and/or
                              failure to realize synergies from the Auxillium transaction.

                       Cantor Fitzgerald wrote that the Company’s “[s]trong beat in 4Q:14 and AMS sale are positives to the stock.”
                       Cantor commented that the Company’s “[g]uidance now assumes generic competition pressure … which highlights
                       stronger growth pressure on the newly acquired Auxilium business.” The analyst reiterated its “Hold” rating and
                       price target for the Company, as it “conclude[d] that ENDP shares are fairly valued in the near-term”:11

                              Strong beat in 4Q:14 and AMS sale are positives to the stock: Endo reported revs of $800M vs.
                              $780M FactSet consensus and adjusted diluted EPS of $1.16 vs. $1.11 consensus. The top line beat
                              was driven primarily by stronger-than-expected performance in Branded Pharma and Qualitest
                              ($245.8M and $337.4M vs. $232.9M and $321.1M StreetAccount consensus, respectively), offset
                              by weakness in International Sales, which we attribute to F/X impact. Endo is divesting
                              approximately 80% of the AMS device business and searching for a buyer for the remaining
                              Women’s Health business and re-categorizing this entire division as discontinued operations.
                              Management introduced 2015 revenue and adjusted diluted EPS guidance of $2.90-3.00B and
                              $4.35-4.55 (which excludes AMS) relative to $3.5B and $4.84 consensus (which includes AMS).
                              We model $3.0B and $4.37 and expect guidance to be conservative. We maintain our HOLD rating
                              and $80 PT (based on DCF).

                              How we think about valuation: Endo trades at a ~20x 2015 EPS (using the mid-point of
                              management’s guidance) which makes it fairly valued relative to companies such as Valeant and
                              somewhat expensive relative to larger generics companies like Mylan and Actavis (which trade at
                              ~14-17x 2015 EPS). We don’t see this business as somehow better positioned than the rest and do
                              not credit the company for its M&A strategy since the other players actively engage in business
                              development as well. This, in conjunction with our DCF analysis leads us to conclude that ENDP


11
     Cantor Fitzgerald, “Strong 4Q:14; No Change to Our HOLD Thesis; Maintaining $80 PT,” March 2, 2015.


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                              shares are fairly valued in the near-term. At the same time, there is now less downside risk in the
                              business, in our view.

                              Commercial execution in the spotlight in 2015: Guidance now assumes generic competition
                              pressure for Lidoderm, generic Hydrocodone/APAP, generic Valcyte, and Voltaren Gel in 2015,
                              which highlights stronger growth pressure on the newly acquired Auxilium business, in our view.
                              Management indicated that it has approximately 375 reps spread amongst three re-organized
                              segments (urology, pain, and specialty) and does not plan to expand this infrastructure for the
                              launch of BELBUCA in 2016 at this time.

                              Modest M&A expected while Endo delevers: Management indicated it hopes to achieve 2-3 small-
                              to-midsize transactions in 2015 (which may focus on new ANDAs [Abbreviated New Drug
                              Applications] and international products), while remaining open to larger transformational deals.
                              Though M&A is an important component of Endo’s growth strategy, we do not expect any large
                              2015 acquisitions while integrating Auxilium.

                       CRT Capital wrote that the Company reported “better than expected” revenue and adjusted EPS “driven by stronger
                       generic pharma segment revenues.” As a result of the AMS divestment, which CRT believed “pushe[d] [ENDP] one
                       step further into becoming more of a pure play in[] specialty pharma,” the analyst cut its 2015 and 2016 EPS
                       estimates for the Company. CRT Capital reiterated its “Fair Value” rating for Endo, but increased its price target to
                       $86 from $80:12

                              With Endo planning to sell its AMS Men’s and Prostate Health Businesses to Boston Scientific for
                              up to $1.65B (closing targeted by 3Q), we believe Endo pushes one step further into becoming
                              more of a pure play into specialty pharma with growth coming solely from branded and generic
                              segments. While Endo’s sale of a majority of the AMS device business amounts to the loss of
                              ~$500M of revenue and EPS of ~$0.60, we believe the sale will allow Endo to pursue more “tuck-
                              in” acquisitions, targeting additional branded/generic pharma assets. While we have lowered our
                              2015 and 2016 EPS forecasts to $4.40 and $5.00, from $4.61 and $5.12, respectively, we believe

12
     CRT Capital, “ENDP: Divests AMS to BSX; Adj. Est’s; PT Upped to $86; FV,” March 2, 2015.


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                               the recent acquisition of Auxilium should provide a major offset with key branded products
                               including Xiaflex (for the treatment of Dupuytren’s contracture and Peyronie’s disease), Testopel
                               (testosterone pellets for male hormonal replacement therapy), and Stendra (avanafil tablets for ED
                               treatment). On this morning’s call, management highlighted that it is on track to deliver significant
                               cost synergies with Auxilium (~$175M in annual run rate synergies in the first year).

                               Endo’s 15 Guidance which includes $2.9 - $3B of revenue and adj. EPS of $4.35 - $4.55 excludes
                               AMS. In addition, Endo targets 63-65% gross margins, an effective tax rate of 15-17%, and a fully
                               diluted share count of ~180M shares. On this morning’s call, management [sic]. This morning,
                               Endo reported better than expected 4Q revenues of $800M (vs. our $766M est.) and adj. EPS of
                               $1.16 (vs. our $1.06 est.), driven by stronger generic pharma segment revenues of $337M (vs. our
                               $315M est.). While Endo expects competition to emerge for several of its key pharma products in
                               2015, the Co. continues to benefit from better than expected pricing on the generic segment.

                               Investment Summary – Fair Value/Upping PT $86 (from $80). This morning, Endo announced the
                               sale of a majority of its AMS business segment to Boston Scientific for up to $1.65B, while also
                               reporting Q4 results and issuing 2015 financial guidance. Overall, we believe management, led by
                               CEO Rajiv De Silva continues to execute on its goals of restructuring the Co. and optimizing the
                               p&l for EPS growth longer term. While we maintain our FV rating, we have increased our PT to
                               $86, which we arrive at by applying a 19x multiple on our 16 EPS estimate of $5.00, discounted
                               back one year at 10%.

                       Deutsche Bank wrote that the Company’s quarterly EPS topped its estimates. The analyst cut its 2016 EPS estimate
                       for the Company to account for the sale of AMS. Deutsche Bank maintained its price target and Buy rating for the
                       Company “based on improving performance for the base business coupled with the recent acquisition of Auxilium
                       and the potential for additional deals”:13

                               Updated model post-4Q results and AMS asset sale


13
     Deutsche Bank, “Solid Q and outlook,” March 2, 2015.


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                              We updated our model following ENDP’s 4Q results (EPS of $1.16 beat our $1.15 and consensus
                              of $1.11) and announcement that the company will divest part of the AMS device business (Men’s
                              Health and Prostate Health) to BSX for up to $1.65bn. We raised our revenue estimates for
                              Branded Pharma, and increased our gross margin assumptions for Generics. To account for the
                              asset sale and potential divestiture of the Women’s Health business (ENDP expects to finalize plans
                              for that segment in the coming weeks), we removed AMS from our model starting in 1Q15. This
                              change was neutral to EPS for 2015 and slightly dilutive beyond 2015. Our new 2015E EPS is
                              $4.45 (no change) and 2016E EPS is $4.61 (from $4.75). While removing AMS reduced our 2016+
                              EPS estimates, our DCF-based PT is unchanged at $91 due to a lower discount rate (7.0% vs. 7.5%;
                              based on the latest WACC). We are maintaining our Buy rating based on improving performance
                              for the base business coupled with the recent acquisition of Auxilium and the potential for
                              additional deals (not in our model). We note that management is targeting 2-3 value-creating deals
                              in 2015, and cited the enhanced balance sheet flexibility provided by the AMS sale.

                       Gabelli wrote that the Company reported “better-than-expected” quarterly revenue and adjusted EPS as the “[b]ase
                       business remain[ed] strong.” The analyst expected the AMS sale to “free up additional cash for deals.” Gabelli
                       updated its revenue and earnings estimates for the Company “to reflect the sale of AMS … and continued strength of
                       base business”:14

                              Endo reported better-than-expected Q4 sales ($800M, +37%) and adjusted EPS ($1.16 vs. $0.96).
                              The company also announced the sale of its men’s health and BPH assets (part of AMS segment) to
                              Boston Scientific for $1.6 billion upfront plus $50M contingent payment. The company provided
                              adjusted EPS guidance of $4.35-4.55 for 2015, excluding AMS.

                              Base business remains strong, with generics ($337M, +70%) growing 15% organically and core
                              branded pharma (ex Lidoderm and Opana) up 12% organically. The addition of Auxilium adds key
                              growth assets (Stendra and Xiaflex), and company expects October 2015 FDA decision for pain
                              drug Belbuca (likely launch in 2016 if approved). These drugs should help offset potential new
                              generic competitors for Lidoderm and Voltaren gel.

14
     Gabelli & Company, “Outlook, AMS Sale Are Catalysts -Buy,” March 3, 2015.


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                           The sale of AMS assets for $1.6B (~12x EBITDA) is expected to close in Q3 and will free up
                           additional cash for deals. We estimate net debt leverage could reach low 2’s by end of 2015 with
                           no additional M&A, though Endo targets 2-3 additional deals this year. Endo continues to look for
                           a buyer for women’s health portion of AMS, but this could take longer given the product liability
                           issues.

                           We are updating estimates to reflect the sale of AMS (not counted towards 2015 adjusted estimates)
                           and continued strength of base business. We expect sales of $3.0B and adjusted EPS of $4.45 in
                           2015, growing to $3.2B and $5.30 in 2016. Favorable pricing dynamics for generics or additional
                           accretive deals could provide upside to estimates.

                           We continue to recommend ENDP and trust management’s growing track record of creating
                           shareholder value. We expect high-single digit revenue growth and mid-teen’s EPS growth over
                           the next five years with potential upside from accretive deals. Endo currently trades at 16.5x 2016
                           EPS and at a 22% discount to our 2016 PMV of $112 per share.

                    Guggenheim wrote that the Company’s quarterly EPS beat its estimate, and viewed the AMS sale “as a positive, as it
                    further enhances balance sheet flexibility and capital for the deployment for M&A”:15

                           Conclusion: We believe ENDP is well positioned for many years of earnings growth driven by the
                           existing base business and the recent acquisition of AUXL. We see multiple opportunities for
                           potential upside, including 1) better-than-expected sales from Lidoderm, Opana ER, and Voltaren;
                           2) continued operational efficiencies; 3) Xiaflex for cellulite and frozen shoulder (which we view as
                           a call option); and 4) additional M&A over the next 12 to 18 months.

                           ENDP announced the sale of its men’s health and prostate health business for $1.65B to Boston
                           Scientific (BSX, NC, $16.90). We view this as a positive, as it further enhances balance sheet

15
 Guggenheim, “ENDP - BUY - Improving Growth Prospects and AMS Divestiture Positions ENDP Well in 2015; Increasing PT to $100,”
March 2, 2015.


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                              flexibility and capital for the deployment for M&A. Assuming the deal closes by 3Q15, the
                              company anticipates a net leverage profile (which includes ~$2B of cash on the balance sheet) in
                              the mid-2.0x.

                              4Q14 Positives: 1) Belvuca, Xiaflex for cellulite and frozen shoulder could deliver $500MM to $1B
                              in sales; 2) ENDP anticipates tax rate in the upper teens to be sustainable; 3) Underlying cash flow
                              conversion rate as a percentage of adjusted EBITDA expected to improve from 40% to 50%; and 4)
                              Acquisition of international assets to drive expansion of OUS [outside the U.S.] business to 25% of
                              revenue in median term.

                              ENDP reported 4Q14 EPS of $1.16, $0.04 higher than consensus and $0.10 above us. Our
                              Variance Analysis has details. ENDP provided 2015 adj EPS guidance of $4.35 to $4.55, which
                              excludes ~$0.60 in EPS from AMS. We updated our model to reflect 4Q14 results and the
                              divestment of the AMS business.

                              Potential Catalyst. 1) Additional Lidoderm generic 1H15; 2) Potential Voltaren gel generic 3Q15;
                              3) Opana ER insufflation data ’15; 4) Auxilium integration ’15; 5) Xiaflex Phase IIb data for frozen
                              shoulder 1Q15; 6) Belbuca PDUFA October 2015; and 7) M&A.

                       JP Morgan wrote that the Company’s quarterly adjusted EPS was “slightly ahead” of its estimate and its guidance
                       “include[d] a fairly conservative set of assumptions as expected.” However, the analyst announced that it was
                       suspending its rating and price target for the Company due to its involvement in the AMS transaction:16

                              Endo reported adjusted 4Q EPS of $1.16 this morning, slightly ahead of JPMe/Street, and provided
                              first-time 2015 guidance, which excludes its divested AMS business. Endo remains focused on
                              driving organic growth across its branded and generics business, and with additional cash coming in
                              from AMS (up to $1.65bn), Endo commented that the company will continue to evaluate a wide
                              range of business development opportunities, including transformational acquisitions. Due to J.P.
                              Morgan’s involvement in the transaction announced on March 2, 2015, we are suspending our

16
     JP Morgan, “Suspending Rating and Price Target; Removing from the AFL,” March 2, 2015.


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                              rating and price target for Endo International PLC (ENDP), and removing it from the US Equity
                              Analysts’ Focus List. Our prior rating and price target no longer should be relied upon.

                              Endo provides first-time 2015 guidance ex-AMS. Endo provided 2015 guidance this morning, with
                              total revenues of $2.9-$3.0bn and adjusted EPS of $4.35-$4.55, which assumes all of AMS will be
                              reported as discontinued operations (a $0.60 impact to 2015). Additionally, Endo is guiding to
                              adjusted gross margins of 63%-65%, adjusted operating expense as a % of revenue of 23%-24%,
                              adjusted interest expense of approx. $310mn and an adjusted effective tax rate of 15%-17%. We
                              would note that consensus 2015 estimates of $4.95 included AMS.

                              Endo outlines key business assumptions for 2015. This includes a fairly conservative set of
                              assumptions as expected, including additional competition on Lidoderm (1H/15),
                              Hydrocodone/APAP 300mg (1H/15), Voltaren Gel (Q3), Frova (Q4) and Valganciclovir Tablets
                              (1H/15). Endo does not include future M&A in guidance or additional generic pricing action
                              beyond what has been announced.

                              AMS divestiture for up to $1.65bn. In conjunction with its 4Q earnings release, Endo announced it
                              is divesting its AMS Men’s Health and Prostate business (reported $395mn in 2014 sales) for up to
                              $1.65bn, and is currently evaluating strategic alternatives for its Women’s Health business (reported
                              $101mm in 2014 sales). Endo expects the transaction to close in 3Q/15. In its press release this
                              morning, Endo management stated that the transaction puts the company in a better position to take
                              advantage of value-creating M&A, and the divestiture will result in an increase in the company’s
                              revenue growth rate, an improvement in operating margin profile and a decrease in its overall
                              effective tax rate.

                       In a report published the following day, JP Morgan updated its models for the Company. Although the analyst
                       lowered its EPS estimates for the Company to reflect the AMS divestiture, JP Morgan believed that “initial 2015
                       guidance reflect[ed] … a conservative set of assumptions”:17


17
     JP Morgan, “Updating Model to Reflect Announced AMS Divestiture,” March 3, 2015.


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                              We are updating our Endo model following the company’s 2015 guidance introduction and
                              announced AMS divestiture. With the AMS sale generating up to $1.65bn in cash and natural
                              deleveraging over time with core portfolio growth, we see Endo with significant balance sheet
                              capacity to deploy toward business development throughout 2015 (mid 2x net leverage by year-
                              end). Endo commented that the company will continue to evaluate a wide range of business
                              development opportunities, including transformational acquisitions, and management is
                              increasingly focused on deals that will improve the organic growth of its businesses. Due to J.P.
                              Morgan’s involvement in the transaction announced on March 2, 2015, we are Not Rated on Endo.

                              Updating model to reflect AMS divestitures. We are lowering our Endo estimates to reflect the
                              impact of the AMS divestiture (~$0.60 EPS headwind before capital redeployment). Our new
                              2015E revenues of $2.99bn and EPS of $4.40 fall within the company’s guidance range (revenues
                              of $2.9-$3.0bn and EPS of $4.35-$4.55). As with past guides, Endo’s initial 2015 guidance reflects
                              what we view as a conservative set of assumptions, including competition on Lidoderm (1H/15),
                              Hydrocodone/APAP 300mg (1H/15), Voltaren Gel (3Q/15), Frova (4Q/15) and Valfanciclovir
                              Tablets (1H/15). We also model gross margin improvement in 2015 (guidance range of 63-65%),
                              with the company noting stronger margins from its Qualitest business and favorable mix post the
                              AUXL acquisition.

                              Business development remains a priority. With the divestiture of AMS and recent closing of the
                              Auxilium transaction (Jan 29), Endo commented that it is targeting 2-3 value-creating deals in 2015
                              with leverage expected to move to the mid-2x range post AMS. While Endo is focused on small to
                              mid-sized deals, it also remains open to larger and more transformative transactions and is
                              increasingly focused on deals that can supplement its longer-term organic growth targets of high-
                              single/double-digit across branded pharma and high-single-digit growth for generics.

                       Leerink published a report prior to the Company’s conference call. The analyst wrote that Endo’s “modest 4Q
                       consensus sales and EPS beat” was “driven by the top line (mainly generic sales) and lower non-operating spend,”
                       and that the AMS divestiture was “widely anticipated”:18

18
     Leerink, “4Q Quick Take: De-levered Post AMS & ’15 Guidance Slightly Better Than Expected,” March 2, 2015.


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                              Bottom Line: This morning, ENDP delivered modest 4Q consensus sales and EPS beat of ~$20m
                              ($800m vs. $780m) and +5c ($1.16 vs. $1.11), respectively. The beat was driven by the top line
                              (mainly generic sales) and lower non-operating spend. The company announced the widely
                              anticipated divestiture of the AMS (American Medical Systems) Men’s Health & Prostate business
                              for $1.6B in upfront cash, while ENDP will evaluate strategic alternatives for its women’s health
                              business. 2015 guidance was slightly better than our/Street forecasts (mid-point: $4.45 vs. Street’s
                              $4.87 vs. Leerink’s $4.90) after backing out an est. negative 50-60c impact from the AMS sales,
                              which ENDP will report as “discontinued operations” in 2015. We est. the deal will lower ENDP’s
                              leverage ratio a little more than 1-turn, which should allow mgmt. to get more aggressive adding
                              businesses that are strategically aligned with ENDP’s specialty products platform. On the CC, we
                              expect investors to focus on guidance assumptions, updated M&A outlook now that the company
                              has de-levered, and outlook for Auxilium products.

                       In a separate report published following Endo’s conference call, Leerink wrote that it “view[ed] the [AMS]
                       divestiture as a positive as it accelerates ENDP’s de-leveraging & will allow the company to compete for larger deals
                       in the near term without the use of equity.” Leerink “trim[ed]” its international sales estimates “following 4Q
                       update,” and “view[ed] ENDP’s 2015 guidance as relatively conservative” as it “call[ed] for competition to several
                       key products”:19

                              Bottom Line: This morning ENDP posted a 4Q sales/EPS beat and announced the sale of its AMS
                              biz unit to BSX (OP) in a $1.6B deal. We view the divestiture as a positive as it accelerates
                              ENDP’s de-leveraging & will allow the company to compete for larger deals in the near term
                              without the use of equity. We view 2015 as catalyst rich year for ENDP: (1) favorable generic
                              pricing in ’15 may provide upside to guidance; (2) ENDP is guiding to 2-3 value enhancing M&A
                              deals in ’15; (3) brand catalysts -- advancement of Xiaflex’s clinical programs (frozen shoulder &
                              cellulite) and a likely Belbuca approval for pain in 4Q. We forecast ENDP achieving a ~15%, 2-
                              year EPS CAGR (’15-’17), and our price target is $101/share (from $94) on ~19x our ’16E EPS of
                              $5.29. We remain OP.

19
     Leerink, “4Q Wrap: Solid Qtr & AMS Divestiture Position ENDP for Further Consolidation,” March 2, 2015.


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                 ENDP likely to be a bigger player on the M&A front in 2015. On the CC, mgmt. commented: (1)
                 AMS deal will bring leverage down to the low 2x’s, from 3.5x at end of 1Q; and (2) mgmt is
                 guiding to completing 2-3 deals in 2015. ENDP’s focus remains on assets that will build out its
                 international business and/or potentially something transformative (entirely new platform). Mgmt
                 believes ENDP could theoretically lever up past ~4.5x (assuming amendments to ENDP’s debt
                 facilities) and we est. ENDP could theoretically mfg ~20% of inorganic EPS in that scenario.

                 International sales ests. require trimming following 4Q update. On the CC, mgmt. indicated 2015
                 international sales would be dampened by Fx impact and a few products dropping out of the mix
                 due to change of control provisions. As such -- we are rebasing our 2015 forecast to $335m (from
                 $400m) and reducing our out-year forecasts by ~$50-$60m. We do forecast a return to more
                 meaningful international revenue growth closer to mgmt.’s outlook (“high single digits to low
                 double digits”) starting in 2016. Our updated 2-year revenue growth CAGR (2015E-17E) for the
                 international business is 9% (from 7%) driven by a lower base year revenue.

                 We view ENDP’s 2015 guidance as relatively conservative. We believe mgmt’s 2015 guidance
                 assumptions are conservative noting guidance calls for competition to several key products --
                 notably Voltaren Gel and HYCD/APAP 300mg markets where generic competition could continue
                 to face delays. Further, guidance for ENDP’s generic segment is largely driven by volume
                 (pipeline) and no price increases, so continued price tailwinds should be favorable.

                 Changes to our model. We are updating our model to reflect: (1) removal of the AMS business for
                 ’15E+ including ~$200m in SG&A and ~$50m in associated R&D exp.; (2) rebasing our int’l brand
                 revenue to ~$335 from ~$400m in ’15E to reflect previously mentioned headwinds; and (3) lower
                 tax rate from ~23% to ~16% per mgmt. guidance.




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                       Morgan Stanley resumed coverage of Endo with an “Overweight” rating. Without commenting on the Company’s
                       quarterly earnings results, the analysts stated that it “believe[d] investors under-appreciate the durability of Endo’s
                       long-term growth prospects”:20

                              We are resuming coverage of ENDP with an Overweight rating and a $101 price target, or 20x ’16E
                              of $5.03. Our thesis is that Endo can grow long-term EPS 15%, and future M&A could boost
                              prospects.

                              We believe investors under-appreciate the durability of Endo’s long-term growth prospects; $101
                              PT explained. We model 2015-2020E (5-yr CAGR) rev growth of 6% and EPS growth of 15%.
                              Our $101 target represents 20x ’16E EPS of $5.03, assuming a PEG ratio of 1.3x EPS growth of
                              15%.

                              Auxilium deal enhances high-value branded pharma business. The Auxilium merger closed on
                              1/29/15. We estimate Auxilium will boost Endo’s 2020 branded segment revenue by 65% and total
                              company sales by 23%.

                              Near and long-term pipeline opportunities. Belbuca (BEMA buprenorphine) should be approved in
                              October 2015 and launch in early ’16. We project ’20E sales of $325M. Endo expects the DEA to
                              schedule the drug as a class 3 narcotic, which would represent a competitive advantage over class 2
                              opioids (which face greater restrictions on prescribing and marketing). Xiaflex could be a “pipeline
                              within a product,” with opportunities in cellulite, frozen shoulder, and other potential indications.
                              Note, however, that we are cautious on frozen shoulder. We est. ’15E sales of $162M, ramping to
                              $437M in ’20E.

                              AMS divestiture could effectively yield $5.6B in additional M&A capacity for attractive
                              pharmaceutical business, which could boost our 2016E EPS of $5.03 by 38% in our bull case.
                              Endo has announced the planned divestiture of its AMS (medical products) business for $1.65B,
                              and mgmt expects minimal tax leakage on the sale. By our estimates, the divestiture of AMS could

20
     Morgan Stanley, “Resuming at OW; durable growth + M&A optionality,” March 5, 2015.


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                               yield $5.6B in add’l M&A firepower. See “AMS divestiture provides M&A firepower” (PDF p. 9-
                               11) for further details.

                               Mgmt has the vision, judgment, and track record to build more shareholder value via future M&A.
                               CEO Rajiv de Silva and CFO Suketu “Suky” Upadhyay are strong executives with an impressive
                               M&A track record. Mgmt has a preference for niche therapeutic areas, which can be targeted with
                               a field force of a few hundred reps to cover promotional requirements.

                       Morningstar wrote that the Company “reported very strong fourth-quarter results and 2015 guidance” that topped its
                       expectations. The analyst also believed that the AMS sale was the “correct move by management” that would allow
                       Endo to “focus on its core pharmaceutical operations.” However, the analyst cautioned that Endo was “unlikely to
                       get as attractive of a price from the remaining women’s health portion of AMS”:21

                               Endo reported very strong fourth-quarter results and 2015 guidance. Both bear [sic] our
                               expectations, and we plan to raise our fair value estimate. We do not plan any changes to our moat
                               rating.

                               In addition to strong results, Endo also announced the next step in its continued transformation into
                               a pure-play pharmaceutical company. Endo is selling its men’s health and prostate segments of its
                               AMS device business to Boston Scientific for $1.65 billion. The AMS business, which was
                               acquired under the previous Endo management in 2011, has largely been a disappointment and
                               struggled to grow under Endo’s ownership.

                               We believe it is the correct move by management to divest the business and focus on its core
                               pharmaceutical operations, where it has much greater competitive advantages and better investment
                               opportunities. The divestiture will boost Endo’s companywide operating margin and growth rate.
                               We believe Endo received a fair price for the AMS assets, especially given that it was openly eager
                               to get rid of the business and didn’t have much negotiating leverage. It appears to have helped that
                               Endo was willing to split the business up and sell the more attractive men’s health and prostate

21
     Morningstar, “Endo Posts Strong 4Q and Divests Majority of AMS Business; Raising Our Fair Value Estimate,” March 2, 2015.


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                             business separately from women’s health. However, is unlikely to get as attractive of a price from
                             the remaining women’s health portion of AMS.

                             Management is expecting 2015 EPS of $4.35-$4.55 excluding the entire AMS business. We
                             estimate the AMS business would have contributed about $0.60 in EPS this year, which would have
                             put the firm’s 2015 guidance around $5.00, which is higher than we have previously expected. The
                             redeployment of AMS proceeds are likely to boost EPS even beyond this range, either by paying
                             down debt to reduce interest expense, or more likely, through additional accretive acquisitions.

                      Needham wrote that “the ENDP narrative remains largely the same with share price and valuation increasingly
                      inseparable from future M&A activity.” Needham thought it was “[d]ifficult to gauge initial 2015 adjusted EPS
                      guidance … as consensus reflects a range of pre- and post-AUXL numbers”:22

                             INVESTMENT HIGHLIGHTS: Despite the multiplicity of moving parts, the ENDP narrative
                             remains largely the same with share price and valuation increasingly inseparable from future M&A
                             activity despite overall optical improvement in organic growth profile. While ENDP emerges as
                             leaner, higher margin, faster growth story with no long-term damage inflicted from the AMS
                             purchase, forward EV/EBITDA valuation of approximately 14.0X is at the high end of spec pharma
                             and BioPharm comps requiring near precision delivery of organic growth targets and supplemental
                             M&A to clear expectations hurdle.

                             ENDP closed out a transformational 2014 with another strategic announcement though this time on
                             the sell side, announcing a definitive agreement for the sale of its long underperforming AMS
                             business to BSX for $1.6B. Deal effectively jettisons a slow-to-no growth device business with
                             45% EBITDA margins for potential capital redeployment into higher growth and higher margin
                             branded pharma (63.5% EBITDA) and generics segments (49.1%). Sale results in fairly substantial
                             immediate dilution ($0.60/yr) though this assumes no immediate debt pay down or deployment into
                             “growthier” assets.


22
     Needham, “Rebasing For Growth Post AMS; Valuation Embeds Best of Growth And M&A Worlds,” March 3, 2015.


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                              Difficult to gauge initial 2015 adjusted EPS guidance ($4.35-$4.55) vs. expectations as consensus
                              reflects a range of pre- and post-AUXL numbers. With closing of AUXL deal, we had assumed
                              $0.45 of EPS accretion to our prior pre-AUXL estimate $4.58 or $5.03 adjusted. Allowing for
                              divestment of AMS and associated $0.60 pro forma EPS hit puts full-year essentially on track with
                              the core of our prior projections.

                              Guidance embeds 2H15 generic competition on Voltaren Gel and added competition on generic
                              hydrocodone/APAP 300mg; assumptions which if not realized could add another $0.25-$0.30 to the
                              full year outlook. Accelerated debt reduction post- AMS could also add $0.15-$0.20 to full year
                              forecast. Management appears to have ample room to allow for upward numbers progression even
                              if no further deal flow materializes.

                              Initial 2015 guidance on the surface embeds more upside scenarios than down and M&A
                              environment remains robust with ever more assets coming to market given valuations. While
                              shares can continue to grind higher against this favorable backdrop, at 19.0X forward adjusted EPS,
                              multiple contains fairly optimistic assumptions around continued seamless realization of accretive
                              deal flow in an increasingly frothy M&A environment. Outperformance potential predicated on
                              almost perfect combination of realization of high end of near-term organic growth targets and
                              supplemental M&A.

                       Oppenheimer wrote that the Company reported revenue and adjusted EPS above its estimates, “driven by strong
                       sales in the US generics business as well as AMS device revenues.” Oppenheimer thought the AMS sale would give
                       the Company “additional leverage for BD [business development] purposes”:23

                              Endo reported 4Q14 revenues and adjusted EPS of $800M and $1.16, above our estimates of
                              $791M/$1.09 and consensus of $780M/$1.11, respectively. Upside was driven by strong sales in
                              the US generics business as well as AMS device revenues which exceeded our estimates by $12M
                              and $26M, respectively. We highlight that Endo completed the acquisition of Auxilium on January
                              29, and we continue to expect R&D investment into expanding Xiaflex’s label and further clarity on

23
     Oppenheimer, “4Q14 Beat; Strong Fetch for Device Biz from BSX,” March 2, 2015.


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                               this front by the end of 1Q15. We are adjusting our estimates to reflect provided 2015 revenue
                               guidance of $2.9B-$3.0B and adjusted EPS of $4.35-$4.55, excluding contributions from the
                               (pending) divested AMS businesses.

                               KEY POINTS
                               In our view, Endo’s 4Q results reflect positively on the company’s 2013-2014 acquisition
                               integrations, which have been difficult to peg given the nature of some of these deals. Looking
                               forward, contributions from Auxilium (deal closed in late Jan.) will be a key focus of 2015
                               quarterly results.

                               ENDP to receive $1.6B upfront (excl. potential $50M milestone payment) from sale of AMS’s
                               Men’s and Prostate Health businesses to BSX upon closure of transaction expected during 3Q15.
                               Endo anticipates a pro forma leverage ratio of ~2.5x following the close of the sale, a comfortable
                               level allowing for additional leverage for BD purposes.

                               Endo guided to double-digit growth for US generic revenues in 2015 as well as continued focus on
                               expanding international footprint to support plans to generate 25% of total revenue outside US.

                               Of note, our 2015 estimates include contributions from AMS through the expected deal closing in
                               3Q15. Excluding the AMS businesses, our 2015 revenue estimate is $3.36B, compared to guidance
                               of $2.9B-$3.0B.

                        Piper Jaffray wrote that the Company reported adjusted EPS “ahead of the Street estimate” as the “Generics
                        business continues to be a source of strong growth.” The divestiture of AMS was “[m]ore consequential” than the
                        Company’s earnings and gave “ENDP more wherewithal to execute on the acquisition of higher growth (and
                        similarly high-margin) pharmaceutical assets,” according to the analyst. Piper Jaffray commented that Endo’s
                        guidance “set[] a reasonable bar,” and “slightly raised” its price target for the Company to $102 from $98:24



24
     Piper Jaffray, “Solid 4Q; Addition By Subtraction With AMS Divestiture; Staying Bullish,” March 2, 2015.


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                 Earlier today, Endo reported 4Q14 adjusted diluted EPS of $1.16, ahead of the Street estimate of
                 $1.12. More consequential was the divestiture of the Men’s and Prostate Health segments from the
                 American Medical Systems (AMS) division. We would view the divestiture as a classic “addition
                 by subtraction” transaction that gives ENDP more wherewithal to execute on the acquisition of
                 higher growth (and similarly high-margin) pharmaceutical assets. We continue to believe there is
                 ample visibility on a long-term EPS CAGR for ENDP at least in the mid-to-high teens. That
                 dynamic, coupled with ample bandwidth to execute on the acquisition of additional commercial-
                 stage assets, points to an attractive risk/reward profile in the context of a 2016 P/E of 16x our
                 revised estimate of $5.65. We reiterate our Overweight rating and are slightly raising our PT to
                 $102 from $98 (see below for more details).

                 2015 guidance sets a reasonable bar, in our view. The top-line and non-GAAP EPS guidance
                 ranges of $2.9B-$3.0B and $4.35-$4.55, respectively, reflect the removal of the entire AMS
                 business and contribution from Auxilium. Notably, the guidance also reflects the loss of
                 exclusivity in 3Q15 for Voltaren Gel, though ENDP made it clear that it does not have any new
                 market intelligence that suggests generic entrants are looming (and this is bearing in mind that the
                 product has been off-patent for some time; i.e., the product has generally been thought of as having
                 relatively high barriers for potential generics).

                 Generics business continues to be a source of strong growth. Sales from the generics segment grew
                 by 15% in 4Q14 over 4Q13 on a normalized basis. With over 75 products in the pipeline (filed and
                 in development), we believe that visibility on at least high single-digit annual sales growth for the
                 next several years is strong. This is bearing in mind that gross margins (GM) for the segment are
                 now markedly higher given the pricing action on a number of products (particularly hydrocodone-
                 containing generics; this is in the context of the recent reclassification of the molecule as a schedule
                 II controlled substance). ENDP noted that GMs for the Qualitest unit were in the high-40’%’s in
                 4Q14 and should be in the low-50%’s in 2015.

                 Latest color on M&A. With the $1.6B in proceeds from the divestiture, net debt/ EBITDA should
                 be around 2.5x. We would not be surprised to see M&A in the following areas, broadly speaking:
                 (1) the U.S. generics space with a focus on alternative dosage forms (e.g., injectibles; topicals); (2)



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                           brand assets in the broader pain/neuro space that can be folded into ENDP’s commercial
                           infrastructure in this setting: and (3) brand generic and over-the-counter-available assets in
                           emerging markets.

                           RISK TO ACHIEVEMENT OF PRICE TARGET
                           Risks include additional generic threats and merger integration risk.

                    RBC issued a report prior to the Company’s conference call, stating Endo’s “P&L results and outlook [were] solid
                    and [] the AMS divestiture [was] not a surprise given news reports last week”:25

                           This morning, ENDP reported results providing color on three things: (1) 4Q with revenue and EPS
                           of $800 million and $1.16 above consensus at $780 million and $1.11 (and our $770 million and
                           $1.09); (2) the spin-off of its AMS Men’s Health business to Boston Scientific for $1.65 billion
                           which is expected to close in 3Q (ENDP is evaluating strategic alternatives for its AMS Women’s
                           Health business); and (3) 2015 first time guidance with a revenue range of $2.9 billion to $3 billion
                           and adjusted EPS range of $4.35 to $4.55 which excludes AMS - if we assume a full (including
                           Women’s Health which is moving to discontinued ops) divestiture would leave a ~$0.50 to$0.60
                           short term EPS hole. Adjusting guidance for AMS which is still included in Street numbers, we
                           think non-GAAP guidance would have been close to $5.00 against what we had thought were
                           buyside expectations for ~$4.70 to $4.90 and consensus at $4.88 (we were at $5.01).

                           Overall, we think P&L results and outlook are solid and while the AMS divestiture is not a surprise
                           given news reports last week, it does three things that we think will resonate well in the stock today
                           (1) it raises the growth profile of ENDP to a high single digit to low double digit top-line story over
                           the medium term - we think that can easily translate into mid-teens bottom line growth especially
                           for a company where M&A remains an ongoing focus; (2) it will keep focus on potential for sizable
                           near-term M&A with $1.6 billion is cash (ex contingent payments) coming into the business over
                           the next ~6 months which is likely the message on the call this morning; and (3) lowers the tax rate

25
  RBC Capital Markets, “ENDP 4Q and 2015 outlook solid; AMS (MH/PH) to be spun adding greater focus on more M&A ahead,” March 2,
2015.


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                              of the overall platform - the tax rate guidance of 15% to 17% is below the ~23-24% recent trend
                              which we think adds some support to ENDP’s ability to lower the tax burden on acquired assets.
                              Conference call at 8:30am ET 1-877-415-3812 with passcode 81514356.

                              Relative to the 2015 outlook - ENDP is pointing to revenue of $2.9 billion to $3 billion which, if we
                              removed our $511 million forecast of AMS from consensus, gets us to $2.956 billion and within the
                              range. Most of the line item guidance is generally consistent with our proforma forecasts, including
                              share count (180 million versus our 177 million) except for tax which at 15% to 17% is below our
                              22% proforma forecast.

                       In a report published the next day, RBC wrote that the Company’s “solid 2015 outlook and AMS divestiture weren’t
                       necessarily a surprise,” but they “more visibly reveal[ed] the solid underlying growth base, lower platform tax and
                       availability of capital for more M&A.” The analyst increased its 2015 and 2016 revenue and adjusted EPS estimates
                       for the Company and increased its price target to $98 from $80, as it saw “more accretive M&A likely ahead” and
                       “guidance [was] reasonable with pockets of conservatism built in”:26

                              Our view: While the solid 2015 outlook and AMS divestiture weren’t necessarily a surprise, the
                              shift to a more robust growth outlook on longer duration assets validate the recent share move and
                              our thesis with more accretive M&A likely ahead. We are raising our target to $98 an keeping our
                              OP rating.

                              Key points:
                              When we launched on ENDP back on Sept 2 “Compelling laggard play; we see an inflection ahead
                              – initiate with $80 target” our view was that a combination of accelerating organic growth in 2016E
                              combined with accretive M&A could boost a stock that had negative sentiment wrapped around it.
                              Much of that has now reversed with sentiment moving sharply positive, the AUXL deal adding
                              accretion and a boost to organic growth. The announced AMS (ex-Women’s Health) divestiture
                              now more visibly reveals the solid underlying growth base, lower platform tax and availability of
                              capital for more M&A. Three broader points:

26
     RBC Capital Markets, “Growth profile is improving and accretive M&A deployment remains; raising our PT,” March 3, 2015.


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                              (1) Our new EPS forecasts for 2015E to 2018E are $4.47, $5.05, $5.89 and $6.93 – a 3-year CAGR
                              off of 2015E of 16%. There was a lot of detail provided this morning and we would characterize
                              guidance as reasonable with pockets of conservatism built in (ie. assumptions around competition
                              Voltaren Gel in 3Q, Lidoderm 1H, Gx Valcyte 1H, limited generic pricing increases etc). AMS is
                              now fully out of forecasts with the reaming Women’s Health business in discontinued ops.

                              (2) The valuation debate is going to come into play with three variables. (i) the “sustainable”
                              growth outlook – we think mid-teens EPS growth medium term is realistic (ii) what is perceived to
                              be an eclectic asset base – we agree though it is becoming less so particularly post the AMS
                              divestiture and (iii) anticipated upside from M&A – the message around more deals was clear and
                              will remain a near-term focus. Valuation to us is defendable but growth sustainability now matters
                              more. ENDP trades at 19.2x 2016E or a PEG of 1.2 on our new growth outlook that puts it at the
                              lower end of what we have historically seen in specialty pharma with duration of that asset base
                              continuing to improve.

                              (3) The next major catalyst is likely to come from more M&A – 2-3 “value creating” deals expected
                              to complete in 2015 and potential for more transformational deals are on the table. ENDP is ~3.7x
                              levered proforma for AUXL but post AMS close it will be at ~2.5x on a net basis with ~$2 billion
                              in cash on the balance sheet. This leaves significant capital on the table for more deals with each $1
                              billion adding ~$0.40 to $0.50 in EPS accretion or 8-10% to 2016E depending on financing
                              assumptions (10x EBITDA, 10% cost synergies) – we think ENDP could pursue cash deals
                              comfortably in the $2-4 billion range.

                       Sterne Agee wrote that the Company reported revenue and EPS that were “well ahead” of consensus “driven by
                       better than expected generics business revenues.” The analyst saw the Company’s “2015 guidance as prudently
                       conservative and [saw] upside from the deployment of Endo’s strengthened balance sheet for further strategic
                       accretive deals as a potential catalyst for the stock”:27


27
     Sterne Agee, “4Q14 Beat, 2015 Adjusted Guidance Ahead of Consensus; AMS Sale Leaves Flexibility for Further Deals,” March 2, 2015.


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                 Endo reported 4Q14 EPS of $4.16, ahead of our $1.15 estimate and well ahead of consensus
                 estimates of $1.12 and also announced the sale of the AMS Men’s and Prostate Health business to
                 Boston Scientific (BSX, Neutral, $16.69) for up to $1.65bn. Revenues of $800mn were ahead of
                 our and consensus estimates of $782mn driven by better than expected generics business revenues
                 of $337mn versus our $292mn. 2015 guidance for continuing operations to generate EPS of $4.35-
                 4.55 appears ahead of consensus estimates of $4.87 and slightly below our $5.21 estimate as the
                 AMS sale is expected to negatively impact EPS by ~$0.60. We remain buyers as we see 2015
                 guidance as prudently conservative and see upside from the deployment of Endo’s strengthened
                 balance sheet for further strategic accretive deals as a potential catalyst for the stock.

                 Key Takeaways from the call:
                 2015 EPS guidance of $4.35-4.55 is ahead of consensus and appears prudently conservative:
                 Guidance excludes the contribution from the AMS assets as the sale is pending. Management
                 commented that the business would have contributed ~$0.60 to 2015 EPS implying a comparable
                 range of $4.95-5.15, ahead of consensus estimates of $4.87 and slightly below our $5.21 estimate.
                 We note that guidance assumes additional competition for generic Valcyte and Vicodin ES as well
                 Lidoderm and its AG in 1H15, Frova in 4Q15 and Voltaren Gel in 3Q15. We see this as prudently
                 conservative given the risks but note that generic filers have yet to receive tentative approvals for
                 Lidoderm, Valcyte, or Voltaren gel leaving upside potential to guidance.

                 Endo appears poised to redeploy its strengthened balance sheet. Management expects to complete
                 two to three value enhancing deals in 2015 and has been evaluating opportunities. 2015 guidance
                 does not assume any further deals, but with a $1.6bn cash infusion from the AMS sale pending and
                 a mid-to-high 3x leverage profile Endo appears poised to compete a deal. We also note that with
                 the addition of Auxilium’s branded platform, a growing international presence and a generics
                 business that has achieved scale we see a number of options available to Endo, leaving potential
                 upside in 2015 and beyond.

                 Tax Rate guidance of 15-17% demonstrates tax structure strategy is coming to fruition: Endo
                 expects a combined tax rate of 15-17% as US domiciled AMS earnings will no longer negatively




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                               impact Endo’s tax rate. We expect Endo to leverage its advantageous structure in future deals and
                               intellectual property planning to increase cash conversion and drive greater shareholder value.

                        Susquehanna wrote that the Company’s quarterly results were “solid,” while the sale of AMS provided “the
                        opportunity to redeploy proceeds … to execute accretive deals.” However, the analyst warned that it had seen
                        “evidence of rising valuations pressuring returns on capital,” and also noted that the “outlook for the International
                        business was disappointing even considering the Fx headwind.” The analyst increased its price target for the
                        Company to $95 from $75 “with the view that ENDP’s 2015 outlook leaves room for upside”:28

                               We increase our price target to $95/share with the view that ENDP’s 2015 outlook leaves room for
                               upside. A premium multiple relative to peers is supported by the opportunity to redeploy proceeds
                               from divesting AMS to execute accretive deals, though we also look for greater pipeline investment
                               over time.

                               HIGHLIGHTS
                               ENDP reported a solid 4Q yesterday along with the sale of most of its device business to BSX for
                               $1.65 bln. Adjusting for the divestiture, management provided guidance for 2015 revenue of $2.9-
                               $3.0 bln and EPS of $4.35-$4.55. We see room for upside as guidance implies solid organic growth
                               while appearing conservative on competitive assumptions and operating expenses.

                               Reasons for Optimism - Management emphasized its enthusiasm about M&A opportunities and we
                               see a continued attractive deal environment. If ENDP can use its BSX proceeds to execute deals at
                               ~10x EBITDA including synergies (similar to some recent comps), it could add ~15% to EPS.
                               Combining this with beating guidance and getting Belbuca approved would support a strong mid
                               teens growth outlook the next few years while retaining financial flexibility to do more deals in
                               2016.

                               Potential Challenges - While cash deals remain highly accretive, we see evidence of rising
                               valuations pressuring returns on capital. We see potentially better returns from targeted pipeline

28
     Susquehanna, “Endo International: Updating Forecasts and Raising Target Post-4Q on Solid Organic Trends,” March 3, 2015.


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                             additions, though it is unclear how aggressively ENDP will pursue its objective of rebuilding its
                             brand pipeline. Significant improvements in US generics pricing could become more difficult to
                             sustain and IMS data show ENDP’s Rx volume declining on a pro forma basis. The outlook for the
                             International business was disappointing even considering the Fx headwind, though management
                             remains enthusiastic about the opportunity for more bolt-on deals.

                             Catalysts
                             Belbuca (BEMA buprenorephine) PDUFA 10/15, Xiaflex update in 1Q, closing AMS divestiture in
                             3Q, continued pricing tailwinds, and M&A.

                             Downside risk
                             We see downside to ~$81 assuming renewed pricing pressure in US generics.

                      UBS wrote that the Company had “[a]nother nice print,” with EPS above its estimate, and “slightly higher revenues
                      … offset by a lower GM … and higher spending.” Endo’s EPS “beat was driven mostly by a lower tax,” according
                      to UBS, and the Company’s guidance “was a very strong number and nicely above consensus and [the analyst’s]
                      numbers.” UBS predicted “some confusion regarding the qtr and guidance”:29

                             What’s new? EPS of $1.16 vs UBSe of $1.12 and consensus $1.11
                             Slightly higher revenues (+$6.7M) were offset by a lower GM (-80bp) and higher spending (SG&A
                             -$5.7M, R&D +$3.7M). The EPS beat was driven mostly by a lower tax (+$7.6M). Positive sales
                             variances include Brands (+$19.9M) and Generics (+$12M), partially offset by Paladin/Somar (-
                             $26.5M). Mgt announced the sale for $1.6B of the AMS Men’s business to Boston Scientific as
                             part of the plan to fully divest the AMS biz. Mgt guided to 2015 revenues of $2.9-3Bn (excl. AMS)
                             and EPS of $4.35- 4.55 (excl. AMS).

                             Our takeaway: Another nice print
                             The weak International sales in 4Q was due to a change in the way Endo will report numbers with
                             some expenses moving into the gross-to-net calculation for sales and thus will have no EBITDA

29
     UBS, “Nice 4Q; Strong 2015 Guidance Ex-AMS,” March 2, 2015.


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                              impact. Regarding 2015 guidance, the numbers exclude the Men’s Health biz which we had
                              assumed would have sales of >$400M this yr and roughly $0.60 of EPS. When adding this back,
                              the forecast was a very strong number and nicely above consensus and our numbers. On additional
                              question for the call is that we need to learn how the company is considering V-gel in that estimate.

                              Thoughts on the stock: Should have a nice day
                              There may be some confusion regarding the qtr and guidance but once investors get comfortable
                              with the adjustments, we think they will like the 4Q numbers and guidance.

                              Valuation: We maintain our Buy rating and PT of $90
                              Our price target of $90 is based on P/E of ~21x our 2016E EPS of $4.25.

                       UBS published another report the following day, stating there was “no change in [its] positive view.” The analyst
                       raised its price target for Endo to $100 from $90, based on “a slightly higher multiple to account for reinvestment of
                       proceeds [from the AMS divestment] into an accretive deal” later in the year:30

                              What we learned on the conference call
                              (1) For key goals for this yr mgt pointed to 2-3 deals, improving the R&D pipeline, and establishing
                              a better OUS footprint. The goal is for OUS to eventually represent 25% of sales. (2) In 2014
                              AMS added $497M of sales with a GM of 76%/op margin of 31% and tax rate of 30% and mgt
                              pointed to a relatively stable biz this yr or ~$0.60 of dilution from divestment. (3) In generics mgt
                              indicated the base biz was +15%, and we assume Lidoderm AG added ~$55M, Dava ~$30M, and
                              Boca ~$25M, with a GM of ~48%. And the nums absorbed the one-time payment (100-150 bps hit
                              to GM) to facilitate the price increases. The guidance for 2015 assumes more competition for
                              Lidoderm, Hydrocodone APAP and Valcyte in 1H, V-Gel in 3Q, and Frova in 4Q and GM
                              improving to the low 50s as pricing remains a key driver along with product mix.

                              Additional takeaways:


30
     UBS, “Executing According to Plan,” March 3, 2015.


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                           (4) On brands, the Natesto launch is this month, Belbuca PFUFA date is October, and the V-Gel
                           deal is still to mid-2016, so mgt is still pointing to no sales for that product afterwards. (5) OUS
                           sales have come down due to FX, some loss of control contracts in Canada (mainly Trelstar) for
                           Paladin, and an accounting adj that lowered sales as COGS for distribution sales were moved to net
                           sales (~$15M). (6) 2015 EPS guidance is ~50/50 1H/2H with 2Q>1Q as Auxilium accretion kicks
                           in more. There is no change to the $175M of Auxilium synergies after 1 year. Mgt is in
                           discussions with FDA on requirements for the Xiaflex cellulite indication.

                           Thoughts on the stock: No change in our positive view
                           It was good to see the follow through in the stock. While it was a debate over the past 6 mos,
                           investors appear to be willing to look through the ST dilution from the AMS sale in front of a
                           probable accretive deal later this year. We think the mgt team has done a good job of transforming
                           the co and we remain patient for what it does next to add value.

                           Valuation: We maintain our Buy rating and raise PT to $100
                           Our $100 PT is based on P/E of ~18x our 2017E EPS of $5.60, a slightly higher multiple to account
                           for reinvestment of proceeds into an accretive deal.

                    Wells Fargo wrote that the Company posted “[s]olid Q4 results highlighted by revenue strength across the board
                    with some GM offset.” The analyst called the AMS sale “welcome news,” at a price that was “in line with media
                    reports.” The analyst noted that the Company’s “2015E guidance [was] above consensus after adjusting for AMS”:31

                           AMS sale is welcome news. ENDP has agreed to sell 2 of 3 parts of its AMS urology device
                           business to BSX for $1.6B in cash, plus a potential $50MM cash milestone payment based on
                           2016E revenue targets. The deal includes men’s health and benign prostatic hyperplasia (BPH), but
                           not women’s health, for which ENDP continues to explore strategic alternatives. The price equates
                           to 4.0x sales and about 12.2x EBITDA (both LTM; assumes low 30s operating margins across all
                           AMS), which we think is a reasonable valuation for the modest growth profile of this business

31
  Wells Fargo, “ENDP: AMS Sale Provides Flexibility To Buy More Pharma And Improve Asset Mix; 2015E Guidance Is Better Than
Expected,” March 2, 2015.


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                              (+1% in 2014), and is in line with media reports that had discussed a potential deal in the $2B area
                              for the entire business.

                              AMS deal provides substantial balance sheet flexibility and other positives. The only
                              disappointment is that the deal did not include the mesh business, but that is a minor negative
                              relative to the major positives of the deal it unloads a noncore asset that was not a good strategic fit
                              for ENDP, and provides substantial new capital flexibility for redeployment into more core assets in
                              pharma. It also improves ENDP’s revenue growth, operating margin and overall tax rate.

                              2015E guidance is above consensus after adjusting for AMS. ENDP guided to $4.35$ 4.55 in
                              2015E EPS, excluding AMS which will be treated as a discontinued operation. If we add our
                              estimated 2015E AMS EPS contribution of $0.66 to this guidance, we get $5.01$ 5.21, which is 5%
                              above $4.87 consensus at the midpoint.

                              Solid Q4 results highlighted by revenue strength across the board with some GM offset. Q4 EPS of
                              $1.16 was above $1.11 consensus and below our $1.19. Revs were above our estimates in every
                              segment except international ($22MM below), most notably generics at $11MM above ours and
                              $17MM over consensus. GM was a bit lower than expected at 61.3% vs our 63.2% and consensus
                              62.9%, potentially reflecting the generics strength.

                       William Blair called the Company’s AMS sale the “highlight of today’s news.” Endo’s quarterly revenue and
                       earnings were above its and consensus expectations, however, according to the analysts, the EPS beat was “primarily
                       due to a reduced tax rate and R&D spending below both consensus and our estimates.” William Blair noted that the
                       Company’s EPS guidance was “significantly lower than [its] estimate … as well as the Street consensus,” but “given
                       Endo’s strategic focus on acquisitions, [it] believe[d] the company [would] look to deploy the capital received from
                       [the AMS] transaction in an immediately accretive deal”:32

                              Before the markets opened this morning, March 2, Endo reported fourth quarter and full year 2014
                              earnings. The highlight of today’s news was the agreement reached for Boston Scientific (BSX

32
     William Blair, “Quick Take on Fourth Quarter; 2015 Guidance Conservative While AMS Sale Provides Cash for M&A,” March 2, 2015.


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                 $16.90) to acquire Endo’s American Medical Systems’ (AMS) urology portfolio for up to $1.65
                 billion in an up-front payment plus a potential additional $50 million milestone based on 2016
                 sales. According to the press release, the AMS business generated 2014 sales of about $400 million
                 and adjusted operating income of about $130 million; however, in most recent years it was known
                 for vaginal mesh patent litigation.

                 The sale of the AMS franchise has reduced Endo’s 2015 top-line guidance, while EPS guidance is
                 shy of Street consensus and likely conservative. The company expects 2015 revenue to range from
                 $2.9 billion to $3 billion, with non-GAAP EPS to range from $4.35 to $4.55, which is significantly
                 lower than our estimate of $4.83 as well as the Street consensus of $4.87. However, given Endo’s
                 strategic focus on acquisitions, we believe the company will look to deploy the capital received
                 from this transaction in an immediately accretive deal. We will look for hints on the call as to the
                 size and scope of a potential deal.

                 Regarding fourth-quarter financials, the company reported $799.9 million in revenue, up 37% year-
                 over-year, which was greater than consensus of $783.3 million and our estimate of $777.8 million.
                 The upside was primarily due to generic U.S. sales, which came in at $337.4 million, up 70% year-
                 over-year, above the consensus estimate of $326.2 million and our estimate of $325 million. Endo
                 made significant acquisitions in 2014 related to its generics business that have led to the significant
                 growth in this franchise, which now represents about 42% of total revenue. The company’s pain
                 franchise yielded revenue of approximately $197 million, up 9% year-over-year, which was above
                 consensus of $179.2 million but in line with our estimate of $196.1 million. We continue to believe
                 that the company is in the midst of reinvigorating its brand division with the acquisition of
                 Auxilium and the upcoming launch of Belbuca, the company’s buprenorphine product, with partner
                 BioDelivery Sciences (BDSI $15.00; Outperform). The company recently received a PDUFA date
                 around October 30, 2015, for Belbuca. Endo beat expectations on the bottom line during the fourth
                 quarter, with $1.16 in non-GAAP EPS, above the consensus estimate of $1.12 and our estimate of
                 $1.08. This was primarily due to a reduced tax rate and R&D spending below both consensus and
                 our estimates. We show reported earnings, our estimates, and consensus in exhibit 1, on page 3.




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                       William Blair published another report the following day, noting that it did “not expect the company to be able to
                       divest the women’s health business until the [vaginal mesh] litigation overhang is cleared, which, in [its] view, makes
                       it a potential source of cash in 2016”:33

                               Monday morning, Boston Scientific (BSX $17.06) reached an agreement with Endo to acquire
                               Endo’s American Medical Systems (AMS) urology portfolio for up to $1.65 billion in an up-front
                               payment plus a potential additional $50 million milestone based on 2016 sales. According to the
                               press release, the AMS business generated 2014 sales of about $400 million and adjusted operating
                               income of about $130 million; however, in most recent years it was known for ongoing vaginal
                               mesh litigation. In its earnings presentation, Endo stated that it is evaluating strategic options for
                               the AMS women’s health business, but recall that in the middle of last year, Endo took a $1.1 cash
                               billion reserve to settle roughly 20,000 claims relating to vaginal mesh products sold by the AMS
                               subsidiary that anticipated payments through 2016. We do not expect the company to be able to
                               divest the women’s health business until the litigation overhang is cleared, which, in our view,
                               makes it a potential source of cash in 2016.

                               The sale of the AMS franchise has reduced Endo’s 2015 top-line guidance, while EPS guidance
                               was shy of Street consensus and likely conservative. The company expects 2015 revenue to range
                               from $2.9 billion to $3 billion, with non-GAAP EPS to range from $4.35 to $4.55, which is
                               significantly lower than our estimate of $4.83 as well as the Street consensus of $4.87. However,
                               given Endo’s strategic focus on acquisitions, we believe the company will look to deploy the capital
                               received from this transaction and management signaled a near-term deal is likely. Given the
                               company’s aggressive M&A strategy, though, near-term deals are always just around the corner.
                               On the call, management spoke to expanding the international business via strategic acquisitions
                               and also suggested a high-growth deal with some pipeline element may be possible, with
                               management expecting to execute on two to three “value creating deals” during the year.

                               In exhibit 1, we note the company’s 2015 guidance for organic growth stratified by individual
                               business segment. Due to the acquisitions of several generic companies in 2014, the largest organic

33
     William Blair, “Fourth-Quarter Second Look; AMS Divestiture Gives Endo Flexibility for Two or Three Deals in 2015,” March 3, 2015.


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                                growth profile belongs to Endo’s U.S. generic pharmaceuticals franchise, which is expected to
                                produce “strong double-digit growth.” The company has seen some success in producing generics
                                of its legacy U.S. branded products through successful authorized generics, as in the case of the
                                Fortesta gel, which may be repeated since the Voltaren gel ($180 million in sales in 2014) faces
                                generic threats later in the year. The company’s international pharmaceuticals franchise is the most
                                likely to be bolstered by an acquisition, as management alluded to on the earnings call. The organic
                                growth profile of “double digits” includes growing the revenue stream from 2014 acquisition
                                Groupo Farmaceutico Somar and using the ex-U.S. base to lower costs. The U.S. branded
                                pharmaceuticals business was guided to a conservative “high single to low double digits” with the
                                key products affecting the revenue generation being Xiaflex and Belbuca, which management has
                                previously stated may be able to produce $0.5 billion to $1.0 billion in peak sales. Management
                                will update the Street on the development pathway for additional Xiaflex indications such as for the
                                treatment of cellulite and frozen shoulder sometime over the next quarter following discussions
                                with the FDA on the approvable path forward for these indications.

                        Following the Company’s disclosures on March 2, 2015, according to Bloomberg, the average of analysts’ price
                        targets for Endo stock increased to $90.86 from $84.21, or 7.89%.34 All 20 analysts who published investment
                        ratings for the Company both before and after the earnings announcement maintained their ratings. (See Exhibit
                        5C.35)

                        Remark: Given the mix of information disclosed, including that: (i) while the Company’s quarterly revenue and
                        adjusted EPS were above consensus expectations, international revenues were “weak,”36 and the EPS beat was


34
     JP Morgan and Morgan Stanley are excluded from these figures as they did not publish ratings both before and after the event.
35
  Exhibit 5C contains a summary of analysts’ price targets and rating actions for Endo surrounding each event date, as provided by
Bloomberg.
36
  UBS, “Nice 4Q; Strong 2015 Guidance Ex-AMS,” March 2, 2015. See also, e.g.: Wells Fargo, “ENDP: AMS Sale Provides Flexibility To
Buy More Pharma And Improve Asset Mix; 2015E Guidance Is Better Than Expected,” March 2, 2015; Susquehanna, “Endo International:
Updating Forecasts and Raising Target Post-4Q on Solid Organic Trends,” March 3, 2015.


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                    “primarily due to a reduced tax rate and R&D spending below” estimates;37 (ii) after adjusting for the AMS
                    divestiture, 2015 revenue expectations were “within the range” of management’s guidance,38 and while EPS guidance
                    was “above consensus,”39 analysts suspected “there may be some confusion,”40 and guidance was considered
                    “prudently conservative”;41 (iii) the AMS divestiture was not “necessarily a surprise,”42 and the price was “in line
                    with media reports,”43 the statistically insignificant Company-specific return on March 2, 2015 is consistent with that
                    expected in an efficient market.




37
  William Blair, “Quick Take on Fourth Quarter; 2015 Guidance Conservative While AMS Sale Provides Cash for M&A,” March 2, 2015.
See also, e.g., UBS, “Nice 4Q; Strong 2015 Guidance Ex-AMS,” March 2, 2015.
38
  RBC Capital Markets, “ENDP 4Q and 2015 outlook solid; AMS (MH/PH) to be spun adding greater focus on more M&A ahead,” March 2,
2015. See also, e.g., JP Morgan, “Updating Model to Reflect Announced AMS Divestiture,” March 3, 2015.
39
  Wells Fargo, “ENDP: AMS Sale Provides Flexibility To Buy More Pharma And Improve Asset Mix; 2015E Guidance Is Better Than
Expected,” March 2, 2015. See also, e.g.: RBC Capital Markets, “ENDP 4Q and 2015 outlook solid; AMS (MH/PH) to be spun adding
greater focus on more M&A ahead,” March 2, 2015; Sterne Agee, “4Q14 Beat, 2015 Adjusted Guidance Ahead of Consensus; AMS Sale
Leaves Flexibility for Further Deals,” March 2, 2015.
40
 UBS, “Nice 4Q; Strong 2015 Guidance Ex-AMS,” March 2, 2015. See also, e.g., Needham, “Rebasing For Growth Post AMS; Valuation
Embeds Best of Growth And M&A Worlds,” March 3, 2015.
41
  Sterne Agee, “4Q14 Beat, 2015 Adjusted Guidance Ahead of Consensus; AMS Sale Leaves Flexibility for Further Deals,” March 2, 2015.
See also, Guggenheim, “ENDP - BUY - Improving Growth Prospects and AMS Divestiture Positions ENDP Well in 2015; Increasing PT to
$100,” March 2, 2015; Leerink, “4Q Wrap: Solid Qtr & AMS Divestiture Position ENDP for Further Consolidation,” March 2, 2015;
Susquehanna, “Endo International: Updating Forecasts and Raising Target Post-4Q on Solid Organic Trends,” March 3, 2015.
42
  RBC Capital Markets, “Growth profile is improving and accretive M&A deployment remains; raising our PT,” March 3, 2015. See also,
Wells Fargo, “ENDP: AMS Sale Provides Flexibility To Buy More Pharma And Improve Asset Mix; 2015E Guidance Is Better Than
Expected,” March 2, 2015.
43
  Wells Fargo, “ENDP: AMS Sale Provides Flexibility To Buy More Pharma And Improve Asset Mix; 2015E Guidance Is Better Than
Expected,” March 2, 2015.


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             5/11/2015   Before market open on Monday, May 11, 2015, the Company reported its first-quarter 2015 financial results. For the
                         quarter, Endo reported revenue of $714.1 million, adjusted net income of $207.4 million, and adjusted EPS of
                         $1.17.44

                         The consensus estimates of quarterly revenue and adjusted EPS were $711.4 million and $1.05, respectively. 45

                         Then-CEO De Silva commented on the Company’s performance:46

                                We continued to make progress during the first quarter towards achieving a number of our strategic
                                priorities for the year …. Our diversified business helped us deliver strong financial results for the
                                quarter and helps provide the flexibility to re-invest and re-deploy capital to drive growth. We are
                                excited about our new commercial opportunities in U.S. Branded Pharmaceuticals with the recent
                                addition of the Auxilium portfolio and the launch of Natesto(TM) Testosterone Nasal Gel. We also
                                believe that we have attractive development opportunities to support further organic growth across
                                each of our business units.

                         The Company also updated 2015 guidance:47

                                                                             Current Guidance               Previous Guidance48
                                Total revenue                                $2.90 – $3.00 billion          $2.90 – $3.00 billion
                                GAAP EPS                                     $1.70 – $1.90                  $2.73 – $2.93
                                Adjusted EPS                                 $4.40 – $4.60                  $4.35 – $4.55

44
     PR Newswire, “(PR) Endo Reports First Quarter Financial Results,” May 11, 2015, 7:00 AM.
45
     Bloomberg, “MORE: Endo Boosts Yr Adj. EPS View After 1Q Beats Est,” May 11, 2015, 7:07 AM.
46
     PR Newswire, “(PR) Endo Reports First Quarter Financial Results,” May 11, 2015, 7:00 AM.
47
     Ibid.
48
 PR Newswire, “(PR) Endo Reports First Quarter Financial Results,” May 11, 2015, 7:00 AM; PR Newswire, “(PR) Endo Reports Fourth
Quarter And Full Year 2014 Financial Results,” March 2, 2015, 7:00 AM.


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                             Adjusted gross margin                         64% – 65%                     63% – 65%
                             Adjusted operating expenses as % of rev.      23% – 24%                     23% – 24%
                             Adjusted interest expense                     $310 million                  $310 million
                             Adjusted effective tax rate                   13% – 14%                     15% – 17%

                      Prior to the Company’s quarterly announcement, the consensus estimates of revenue and adjusted EPS for 2015 had
                      been $2.99 billion and $4.45, respectively.49

                      In a separate press release, the Company announced “the acquisition of a broad portfolio of branded and generic
                      injectable and established products focused on pain, anti-infectives, cardiovascular and other specialty therapeutics
                      areas from a subsidiary of Aspen Holdings, a leading publicly-traded South African company that supplies branded
                      and generic products in more than 150 countries”:50

                             The transaction is expected to meaningfully expand Endo’s presence in South Africa by adding a
                             product portfolio that generated approximately $28 million of revenue during the fiscal year ended
                             June 30, 2014, as well as a sizeable pipeline of products in various phases of development that are
                             expected to launch over the next several years. For 2015, Endo anticipates that EBITDA to be
                             generated by the acquired portfolio will translate into a transaction multiple of less than 10 times
                             EBITDA on a post-synergized basis.

                             This transaction underscores and helps to deliver upon Endo’s strategy of building its International
                             Pharmaceuticals business unit through acquisitions. The Company’s aspiration is to grow its
                             International Pharmaceuticals business to represent 25 percent of Endo’s corporate revenues in the
                             longer-term. The portfolio of products to be acquired from Aspen Holdings will be incorporated
                             into Endo’s Litha Healthcare Group portfolio and is expected to increase Litha’s pro-forma 2015
                             revenues by 30 percent and pro-forma pharmaceutical product revenues by 60 percent. Under the


49
     Bloomberg, “MORE: Endo Boosts Yr Adj. EPS View After 1Q Beats Est,” May 11, 2015, 7:07 AM.
50
 PR Newswire, “(PR) Endo Acquires Broad Portfolio of Branded and Generic Products, Expanding International Pharmaceuticals Business,”
May 11, 2015, 7:30 AM.


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                             terms of the agreement, Aspen Holdings will receive a one-time payment of approximately $130
                             million subject to usual and customary closing adjustments. Endo expects the transaction to close
                             in third quarter 2015 and to be immediately accretive to earnings.

                      De Silva discussed the reasons for the transaction:51

                             With the acquisition of these products from Aspen Holdings, Endo continues to grow, diversify and
                             optimize its international portfolio and, specifically, further expand its reach into hospital and
                             pharmacy markets in South Africa …. The transaction also continues to build Endo’s R&D
                             pipeline and position the company for future organic growth with the addition of nearly 70 pipeline
                             programs in development with multiple strengths and dosage forms across oncology, anti-
                             infectives, cardiovascular and respiratory. We are excited about this opportunity as it furthers
                             Endo’s corporate and M&A strategy.

                      The same day, the Company held a conference call with investment analysts. During the call then-CFO Upadhyay
                      discussed the Company’s updated guidance:52

                             First-quarter performance gives us the of confidence to affirm our top line guidance range and
                             increase adjusted EPS guidance, while tightening and improving some of the details in between.
                             We are holding our revenue guidance and raising EPS, despite FX headwinds, and a slower than
                             expected start to the year for STENDRA. The continued diversification of our portfolio should
                             enable continued growth for the Company in 2015 and beyond. We expect full-year 2015 revenues
                             of between $2.9 billion and $3 billion.

                             On an adjusted basis we now expect our full-year 2015 gross margin to be between 64% and 65%.
                             On an adjusted basis, we expect operating expenses as a percentage of the revenues for full-year


51
     Ibid.
52
 Thomson Reuters, StreetEvents, “ENDP – Q1 2015 Endo International PLC Earnings Call, EVENT DATE/TIME: MAY 11, 2015 / 1:00PM
GMT,” May 11, 2015, 9:00 AM.


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                               2015 to be in the range of 23% to 24%. On average, that implies approximately $30 million:of
                               incremental operating expense each quarter based on our first-quarter expenses. We believe those
                               incremental expenses represent investments with good potential returns from a combination of
                               commercial and development projects.

                               Moving on with guidance, we expect adjusted interest expense in 2015 of approximately $310
                               million. We now anticipate an adjusted effective tax rate of approximately 13% to 14% in 2015.
                               This rate is expected to be lumpy due to the mix of earnings and impact of discrete items
                               throughout the year. Our strategic tax planning in a number of areas, including intellectual property
                               planning and improved supply chain management, gives us confidence that we will be more
                               efficient in our conversion of operating income to cash flow from operations, when compared to
                               2014.

                               We have increased our estimated adjusted diluted earnings per share from continuing operations,
                               and now expect that to be in a range of $4.40 to $4.60 for 2015, and we project reported or GAAP
                               diluted earnings per share from continuing operations for the year to be within a range of $1.70 to
                               $1.90. Reported GAAP diluted earnings per share from continuing operations will fluctuate
                               through the year, as we continue to finalize purchase price allocation for Auxilium, and as we incur
                               the remainder of integration and acquisition costs related to the transaction. Our fully-diluted, per-
                               share estimates assume among other items contained in today’s earnings press release, a weighted
                               average number of common shares outstanding of approximately 180 million shares.

                        Canaccord reiterated its price target for Endo, writing that the Company’s EPS “handily beat[]” consensus estimates,
                        while “revenue expectations for Q1 had been coming down into the numbers so there were no surprises with $714M
                        revenue just meeting consensus.” Canaccord remarked that the “market is still looking for Endo to do more
                        meaningful acquisitions this year.” The analyst increased its EPS estimate by “almost exactly by the amount of the
                        11 cent beat this quarter”:53



53
     Canaccord Genuity, “Q1: No surprises but decent acquisition,” May 11, 2015.


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                 Luckily Endo’s revenue expectations for Q1 had been coming down into the numbers so there were
                 no surprises with $714M revenue just meeting consensus. EPS of $1.17 handily beating consensus’
                 $1.06 by 11 cents -- largely due to lower R&D. Endo also raised its guidance for the year from
                 $4.35-4.50 up to $4.40-$4.60, primarily on better gross margins and a lower tax rate. The generics
                 business continues to be the primary top-line driver, although Q2 will likely be light because of
                 pending price increases and Q2 “shelf stock adjustments”. We continue to like (not love) the stock
                 as the market is primarily looking for acquisitions to provide more sizzle to the story. In the
                 meantime, the absence of generic Voltaren gels throughout 2015 and a return to growth for Opana
                 ER could provide upside surprises for the remainder of 2015.

                 Investment highlights
                 Belbuca has a PDUFA date in October and it’s not really a secret any longer as its tremendous
                 potential is starting to become better appreciated by the Street. We could see a launch before year
                 end and as one of the only Schedule 3 opioids for pain, we could easily see this becoming a $500M
                 product for Endo. Purdue’s Butrans pain patch uses the same active, has been on the market since
                 January 2011 and is running at close to $260M annually according to IMS sales data.

                 Changes to numbers. We are raising our 2015 EPS estimate from $4.50 to $4.60 to be in line with
                 guidance, but this is almost exactly by the amount of the 11 cent beat this quarter. We’re taking up
                 our SG&A to better account for a stronger investment in the Belbuca launch later this year and also
                 taking down our R&D forecast.

                 Valuation/risks. We are not changing our $104 target that is derived from a standard DCF analysis
                 through 2021 using a 10% discount rate and a 2% terminal growth rate. This translates to a 20x P/E
                 off of our $5.11 2016 EPS estimate, compared to Endo’s current 17x P/E and the peer group
                 average of 18x. The market is still looking for Endo to do more meaningful acquisitions this year
                 beyond the $130M purchase of a suite of products for the South African market from Aspen. Risks
                 include: If Opana ER were to lose its court case that has now finished the trial and is awaiting a
                 judge’s decision, could provide meaningful downside if it goes against the company and if the
                 generic chooses to launch. Also, the failure for more acquisitions to materialize would present
                 downside to the multiple in our opinion.



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                       Deutsche Bank published a report prior to the Company’s conference call, stating that quarterly results were
                       “slightly above [its] expectations” and 2015 guidance was raised “modestly”:54

                              ENDP reported adjusted results that were slightly above our expectations and raised 2015 guidance
                              modestly. ENDP still anticipates revenue of $2.9-3.0Bn but increased its adjusted diluted EPS
                              guidance to $4.40-4.60 versus previous guidance of $4.35-4.55. ENDP’s improved guidance is
                              based on the assumption that its adjusted gross margin will register 64-65% (from 63-65%).

                              ENDP announced 1Q15 revenue of $714.1MM vs. our estimate of $710.5MM. U.S. Branded
                              Pharmaceuticals’ underlying core revenue expanded 11% and total revenue grew 21% due to the
                              inclusion of Auxilium in ENDP’s results. U.S. Generics base organic revenue increased 39% while
                              incremental revenue from Boca, Dava and Lidoderm produced total segment growth of 68% YOY.
                              International revenues were $73MM in 1Q15.

                              We estimate 1Q15 adjusted EBITDA of $342MM (excluding stock comp) versus our expectation
                              for $320MM.

                              Cash used in operating activities was $89.8MM versus a use of $246.9MM in 1Q14. Capex was
                              $17.2MM. Acquisition expense of $911.9MM was offset by $1.0Bn of incremental borrowings to
                              finance the purchase of Auxilium, which occurred in January. Other miscellaneous investing and
                              financing activities consumed cash of $44.0MM.

                              Debt of $5.387Bn was up $1.184Bn Q/Q due to the issuance of $1.2Bn 6.0% senior notes due 2025.
                              Unrestricted cash of $377.5MM declined $31.3MM Q/Q. Pro forma for ENDP’s acquisitions of
                              Dava, Somar, Sumavel and Auxilium, we estimate adjusted EBITDA of ~$1.35Bn producing 3.7x
                              net and 4.0x total leverage. ENDP’s $1.65Bn mesh liability increases total leverage rises to 5.2x.



54
     Deutsche Bank, “1Q15 Results In-Line; Guidance Bumped Slightly,” May 11, 2015.


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                               We currently rate the bonds a HOLD (7% 2019: 104 bid, 3.8% YTW, 360 bps; 7% 2020: 105.625,
                               3.2% YTW, 272 bps; 7.25% 2022: 106.75 bid, 4.3% YTW, 356 bps).

                               There are downside risks to our investment call including but not limited to: manufacturing
                               disruptions, the early entry of generic competition and leveraging acquisitions.

                        In another report published after the Company’s conference call, Deutsche Bank noted that “[p]erformance for the
                        generics business was particularly strong.” The analyst reiterated its Buy rating for the Company, “trimmed” its
                        revenue estimates “on lower sales for brands and international, partially offset by higher sales for generics,” and
                        increased EPS forecasts based on “raised [] gross margin assumptions for generics”:55

                               Tweaking up EPS on higher generics gross margin
                               We updated our model following ENDP’s 1Q results (EPS of $1.17 beat our $1.01 on higher sales
                               and lower expenses). Performance for the generics business was particularly strong, with organic
                               growth of 39% driven by both volume and price. ENDP plans to take price on selected generics in
                               2Q, which will temporarily impact sales and gross margin in 2Q, but should drive upside later in
                               2015 and into 2016. Importantly, Xiaflex (the most important asset from the recent Auxilium
                               acquisition) continued to gain traction in 1Q, with volume growth of 114%. We trimmed our
                               revenue estimates by ~1% based on lower sales for brands and international, partially offset by
                               higher sales for generics. We also raised our gross margin assumptions for generics. These
                               changes took our 2015E EPS to $4.50 (from $4.44) and 2016E EPS to $4.74 (from $4.64). Our
                               DCF-based PT remains $96. We are maintaining our Buy rating based on improving performance
                               for the base business and the potential for additional deals (not in our model). We note that
                               management described assessing a robust set of small-to-medium sized opportunities and remains
                               focused on completing 2-3 deals in 2015.

                        Gabelli wrote that “[g]eneric performance … continue[d] to drive top-line,” while the Company increased 2015
                        adjusted EPS guidance “primarily due to updated tax rate guidance (13-14%) with Q2 expected to be weakest quarter


55
     Deutsche Bank, “Generics biz drives solid 1Q,” May 11, 2015.


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                       and recovery in back-half of year.” Gabelli added that the Aspen deal would “add to [Endo’s] international portfolio
                       beginning in H2”:56

                              On May 11, 2015, Endo announced Q1 results with revenue of $714M and adjusted EPS of $1.17
                              (vs. $0.75) while raising adjusted EPS guidance to $4.40-4.60 for 2015. The company also
                              acquired a portfolio of ~60 branded and generic drugs in South Africa ($28M revenue) from Aspen
                              Holdings for $130M.

                              Branded Rx ($285M, core +11% pro froma) was driven by strength in assets from Auxilium,
                              including Xiaflex (vials +114%). Generic performance ($357M, +39% core, +68% total) continues
                              to drive top-line, though Q2 will be negatively impacted rebates from price increases. International
                              ($73M, -9% sequential) was negatively impacted by FX.

                              Adjusted EPS guidance was raised by $0.05 to $4.40-4.60 per share primarily due to updated tax
                              rate guidance (13-14%) with Q2 expected to be weakest quarter and recovery in back-half of year.
                              We are raising our 2015 adjusted EPS estimate by $0.05 to $4.50 per share to reflect improved tax
                              rate.

                              Deal for Aspen assets will add to international portfolio beginning in H2. $130M deal is estimated
                              at less than 10x EBITDA (including synergies) and will be immediately accretive upon closing.
                              Management continues to target 2-3 deals throughout 2015.

                              We continue to recommend Endo as one of our favorite names for 2015 in specialty
                              pharmaceuticals. We believe that strong organic growth from generics, new assets like Xiaflex and
                              Stendra, an under-appreciated pipeline, and a strong deal-focused management team are all
                              potential catalysts for the company. Endo currently trades at a 21% discount to our 2016 PMV of
                              $110 per share.



56
     Gabelli & Company, “I’m Talking About a Little Deal Called Aspen-Buy,” May 12, 2015.


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                    Guggenheim wrote that the Company reported a quarterly “earnings beat,” but “the Street continue[d] to
                    underappreciate earnings power within the company’s business.” The analyst saw “multiple levers and opportunities
                    for potential upside that should continue to drive earnings” and “expect[ed] earnings visibility to continue to improve
                    over the next 12 months”:57

                           Conclusion: We remain positive on ENDP shares post the company’s 1Q15 earnings beat. We
                           believe the Street continues to underappreciate earnings power within the company’s business. We
                           expect earnings visibility to continue to improve over the next 12 months driven by Auxilium,
                           strong double-digit growth in the generic business, and operational leverage/margin expansion.

                           We see multiple levers and opportunities for potential upside that should continue to drive earnings
                           growth including 1) better-than-expected sales from Lidoderm, Opana ER, and Voltaren; 2)
                           continued operational efficiencies (i.e., cost management, Somar facility); 3) pipeline opportunities
                           such as Xiaflex for cellulite and frozen shoulder (which we view as a call option); and 4) additional
                           M&A.

                           1Q15 Positives: 1) Bolt-on international acquisition of brand/generic injectable portfolio from
                           Aspen Holdings expected to close in 3Q15 and be immediately accretive; 2) Price increases in U.S.
                           generics in 2Q15 should drive strong double-digit performance and generic business margin well
                           above mid-50% in 2015+; and 3) Xiaflex PDUFA for recurrent contractures in DC expected May
                           ’15.

                           ENDP reported 1Q15 EPS of $1.17, $0.10 higher than consensus and $0.11 above us. Our
                           Variance Analysis has details. ENDP updated its 2015 adj. EPS guidance to $4.40-$4.60 (from
                           $4.35-$4.55) and reaffirmed its revenue guidance of $2.9B-$3B. We updated our model to reflect
                           quarterly results and the Aspen Holdings deal.



57
 Guggenheim, “ENDP - BUY - 1Q15 Earnings Beat Highlights Operational Efficiency and Robust Growth Prospects for U.S. Gx Business,”
May 11, 2015.


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                              Potential Catalyst. 1) Additional Lidoderm generic; 2) Close of Aspen Holdings 3Q15; 3) Potential
                              Voltaren gel generic 3Q15; 4) FDA meeting on Opana ER TD label June 2015; 5) Xiaflex
                              additional indications; 6) Belbuca PDUFA October 2015; and 7) M&A.

                       JP Morgan published a report prior to the Company’s conference call, in which it reiterated its “overweight” rating
                       for Endo, stating that the earnings “beat” was “driven by a strong gross margin and lower opex,” and that “1Q
                       revenues were … in line with consensus.” The analyst also commented that “Endo modestly increased its 2015 EPS
                       guidance,” “while maintaining revenue guidance”:58

                              This morning, Endo reported a 1Q EPS beat of $1.17 (+$0.11 vs. Street) on a strong gross margin
                              and lower opex spend. Endo modestly increased its 2015 EPS guidance, but it appears estimates
                              would have moved even higher were it not for re-investments in several franchises. Focus remains
                              on business development, where we continue to see a wide range of potential targets. Endo remains
                              focused on small- to mid-sized deals, but remains open to larger, transformative acquisitions. With
                              Endo well positioned to execute on its M&A strategy in a rapidly consolidating Specialty Pharma
                              space, we remain OW.

                              Endo reports 1Q EPS beat of $1.17. Endo reported 1Q EPS of $1.17 (+$0.11 vs. cons.), driven by a
                              strong gross margin and lower opex (-$22mm). 1Q revenues were $714mm, in line with consensus,
                              with strength in the generics business (+$19mm) offsetting slight weakness in the international (-
                              $13mm) and brands (-$6mm) businesses. Of note, management continues to see a favorable
                              generic pricing environment, and expects to increase price on select products in 2Q.

                              Management raises 2015 guidance to $4.40-$4.60. Endo raised 2015 EPS guidance to $4.40-$4.60
                              (+$0.05), while maintaining revenue guidance of $2.90-$3.00bn. Management now expects a tax
                              rate of 13-14% (vs. 15-17%) and narrowed the gross margin guidance to 64-65% (from 63-65%).
                              Notably, management sees 2Q EPS lower on a sequential basis due to penalties associated with an
                              expected 2Q generics price increase (which should translate to higher 2016 generic results).


58
     JP Morgan, “1Q/15 Takeaways: Solid Qtr, Reinvestment Suggests Solid 2016+ Setup – ALERT,” May 11, 2015.


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                              Endo acquires portfolio of int’l assets from Aspen for $130mm. Endo is acquiring a portfolio of
                              branded and generic assets from Aspen for $130mm. The portfolio includes on-market products
                              that generated roughly $28mm in sales last year as well as a number of pipeline products, and
                              significantly bolsters the company’s presence in South Africa. As a reminder, Endo has focused on
                              growing its international business, which it expects to ultimately represent 25% of revenues (vs.
                              ~10-11% today).

                              Company remains focused on smaller deals, but open to transformative deals. Endo remains
                              focused on small- to mid-sized deals while also remaining open to larger, more transformative
                              acquisitions (with a focus on higher growth/higher barrier to entry businesses). With net leverage
                              in the mid-2x range by the end of 2015, we see the company with several billion dollars of debt
                              capacity not including acquired EBITDA, and expect business development to continue to remain
                              an important driver going forward.

                              Xiaflex launch progressing well with 114% demand growth YoY. The Xiaflex launch is
                              progressing well, with approximately 12,200 vials (~6,300 in PD, ~5,900 in DC) of demand in 1Q.
                              Mgmt sees continued traction for the Peyronie’s indication with roughly 1,900 certified physicians
                              and 8,100 patients enrolled in the reimbursement program at quarter end. Further, we continue to
                              expect Endo to initiate a new study (likely phase IIb) in cellulite at the end of this year, and
                              management continues to see a longer-term path forward for the frozen shoulder indication.

                       In a report published the next day, JP Morgan wrote that “Endo [was] well positioned for continued upside
                       throughout 2015” and noted that investors’ “focus remain[ed] on Endo’s business development optionality with
                       significant debt capacity post AMS”:59

                              Endo reported a 1Q adjusted EPS beat of $1.17 which came in +$0.11 above consensus, while
                              raising full year guidance despite higher reinvestment in the business (Stendra, Gx price increase).
                              In our view, Endo is well positioned for continued upside throughout 2015, with another generics
                              price increase in 2Q that should benefit 2H and 2016+ results, and we continue to look toward

59
     JP Morgan, “Solid Operational Performance Bodes Well For 2015+; Raising Estimates Post 1Q Results,” May 12, 2015.


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                              several branded pipeline catalysts later this year (Belbuca, Xiaflex in FSS and Cellulite). While
                              focus remains on Endo’s business development optionality with significant debt capacity post
                              AMS, we also continue to see strong operational trends that bode well for 2016+ results. Reiterate
                              OW.

                              Solid generics growth driven by volume and price. Endo reported generics sales of $357mm, and
                              noted strong double-digit underlying growth driven by a mix of price and volume. Additionally,
                              Endo plans to take price increases again in 2Q (after taking price on its hydrocodone products on
                              last year’s rescheduling), which we believe sets the generics business up for continued upside
                              throughout 2H/15 and 2016+.

                              Xiaflex remains a core focus; Mgmt reinvesting in Stendra. The Xiaflex launch is progressing well,
                              with approximately 12,200 vials (~6,300 in PD, ~5,900 in DC) of demand in 1Q. We expect
                              continued double-digit topline growth from Xiaflex going forward, and Endo is pursuing additional
                              studies (likely phase IIb) in cellulite and FSS at the end of this year. Relative to Stendra, Endo has
                              been disappointed with the transition as the product has roughly ~2 months of inventory in the
                              channel (vs. historical ENDP brand levels of 1 month). Going forward, Endo has hired a new CSO
                              to relaunch the product at the end of 2Q, and plans to put DTC spend behind the product to get it
                              back on a growth trajectory.

                       Leerink wrote that Endo’s “1Q results were okay -- driven mainly by lower-than-expected OpEx,” and the “guidance
                       raise of 5c was underwhelming.” Leerink “dampen[ed] [its] sales forecast for ENDP’s more durable brand segment”
                       after U.S. brands missed its estimate. “Other updates were not needle moving,” including the Aspen deal “and some
                       recent generic price increases,” according to the analyst:60

                              Bottom Line: ENDP posted a 1Q EPS beat of 10c with in-line sales and increased its FY’15 EPS
                              guidance range 5c ($4.40-$4.60 vs. $4.35-$4.55 previously). Overall, 1Q results were okay --
                              driven mainly by lower-than-expected OpEx. However, guidance raise of 5c was underwhelming.
                              Further -- with US brands missing our 1Q est. by ~$35m, we are dampening our sales forecast for

60
     Leerink, “Modest 1Q EPS Beat/Raise; 2015E to Be Active Year of M&A; Remain OP,” May 11, 2015.


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                 ENDP’s more durable brand segment. Other updates were not needle moving, such as the
                 announced acquisition of Aspen portfolio for $130m and some recent generic price increases.
                 Bottom line -- ENDP remains positioned well to continue to execute on its deal driven model for
                 acquiring innovation and commented it will look to do 2-3 additional deals and remains open to
                 transformative deals. We remain OP; price target now $100/shr (from $101).

                 Aspen deal strengthens ENDP’s presence in the South African market. ENDP announced a
                 relatively small deal in 1Q buying Aspen’s portfolio of ~60 marketed & ~70 pipeline drugs for
                 $130m. The portfolio consists of branded & generic injectable products focused in pain, anti-
                 infectives, and CV. The marketed portfolio generated ~$28m for FY’14, and mgmt characterized
                 the market as growing “high single digits.” We believe the deal further strengthens ENDP’s
                 presence in South Africa and could allow the company to expand throughout the MENA region in
                 the future. The deal is in line with the company’s strategy to expand its presence in emerging
                 markets and its stated goal to achieve “double-digit” sales growth for its international generic biz.

                 1Q positives include strong US Generic Biz & improving tax rate. 2Q price increases on “select”
                 generic products are expected to negatively impact 2Q sales and GMs but positively impact 2H’15
                 numbers. Pricing continues to be a positive tailwind for the ENDP generic business. While we
                 cannot predict future price increases, the pricing dynamics in ENDP’s core controlled substance biz
                 remain favorable representing pot’l for future upside. On the tax rate -- updated guidance calls for a
                 rate of 13-14% vs 15-17%, and guidance calling for mid-teens longer term suggests to us ENDP’s
                 rate should converge with peers at 15% longer term.

                 AUXL brands off to a slow start. Xiaflex (Dupuytren/Peyronie’s) underperformed relative to our
                 forecasts in 1Q as we may have been over bullish on our ramp assumptions. We are dialing back
                 our 2015 forecasts to ~$150m (ex ROW royalties) vs. our previous forecast of ~ $195m to reflect a
                 more conservative ramp. However, feedback from MEDACorp urology specialists remain positive
                 on Xiaflex demand in Peyronie’s, and cellulite remains an interesting oppt’y with a Ph. 2b to start
                 later this year. On Stendra, mgmt is planning a focused DTC campaign which should drive growth
                 in the latter part of the year.




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                       Morgan Stanley wrote the Company’s quarterly revenues were 2% short of its forecast while adjusted EPS was 5%
                       above. The analyst noted that the Company’s adjusted EPS guidance was “essentially in line” with consensus.
                       Morgan Stanley called the Aspen transaction “a minor deal”:61

                              Endo reported 1Q non-GAAP EPS of $1.17, 11% above cons’ $1.06 and 5% above our $1.12.
                              Revenues were $714M, 2% below our $731M and 0% below cons’ $714M. EPS was $1.17, 5%
                              above our $1.12 and 11% above cons’ $1.06. $0.01 per share equates to approximately $2.1M
                              pretax. 1Q I/S YOY growth in a nutshell: revs +23%, gross profit +18%, oper inc +40%, pretax
                              +31%, net inc +45%, EPS +21%. $0.05 EPS upside vs. our model included: Revenues -0.08,
                              COGS +0.06, SG&A +0.01, R&D +0.07, Other +0.02, Taxes - 0.00. Please see following pages for
                              variation tables.

                              2015 revenue guidance unch; EPS guidance bumped 1%. Revenue guidance is $2.90-$3.0B;
                              midpoint of $2.95B is 1% below our and cons’ $2.99B. Mgmt bumped 2015 EPS guidance
                              midpoint by $0.05 to $4.50, which is essentially in line with cons’ $4.48 and 1% above our $4.45.

                              Endo also announced a minor deal - the $130M acquisition of South African products and pipeline
                              from Aspen. For 2015, Endo anticipates that EBITDA to be generated by the acquired portfolio
                              will translate into a transaction multiple of less than 10 times EBITDA on a post-synergized basis.

                              Events to watch: 1) Belbuca (BEMA buprenorphine) PDUFA (est. Oct. 2015) and subsequent
                              DEA scheduling. Buprenorphine is already Schedule 3, so we believe it is likely that Belbuca will
                              receive a Schedule 3 designation; 2) Pipeline newsflow, in particular Xiaflex development progress;
                              3) M&A activity (anytime).

                       Morningstar did not “anticipate any changes to [its] fair value estimate” for Endo after the Company “reported first-
                       quarter results mostly within [the analyst’s] expectations.” The analyst noted that “[b]etter-than-expected operating



61
     Morgan Stanley, “1Q EPS 11% above cons; EPS guidance bumped 1%; events to watch,” May 11, 2015.


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                       margin expansion and a slight tax rate advantage led management to slightly boost its 2015 EPS outlook, which
                       remain[ed] slightly below [its] forecast”:62

                              Endo Reports Strong Fundamentals as Auxilium Integration Remains Underway 11 May 2015

                              Endo Pharmaceuticals reported first-quarter results mostly within our expectations, so we don’t
                              anticipate any changes to our fair value estimate or economic moat rating. Revenue and adjusted
                              EPS increased 52% and 56%, respectively, thanks largely to the acquisition of Auxilium and
                              associated cost synergies combined with strong underlying double-digit growth in Endo’s
                              segments. Generic competition on Lidoderm and Opana should remain headwinds for the
                              company, but ongoing strength for Xiaflex and new product launches should support the company’s
                              healthy performance. Better-than-expected operating margin expansion and a slight tax rate
                              advantage led management to slightly boost its 2015 EPS outlook, which remains slightly below
                              our forecast. We imagine there’s opportunity for additional outperformance over the remainder of
                              the year, and the divestment of the AMS business later this year to Boston Scientific should give
                              management greater resources for finding value-accretive deals, including the May 11
                              announcement that Endo will purchase a diverse basket of products from Aspen Holdings for $130
                              million to bolster the company’s operations in South Africa.

                              Endo Turns In Solid 1Q, Prepares for AMS Transaction; Overweight Bonds 11 May 2015

                              On May 11, Endo International ENDP (rating: BB, narrow moat) reported first-quarter results that
                              included solid underlying sales growth (11% in the branded business and 39% in the generic
                              business) and margin expansion that allowed management to boost its adjusted earnings per share
                              outlook slightly. Most important for creditors, Endo remains on track to sell its male-focused AMS
                              businesses in the third quarter to Boston Scientific BSX (rating: BBB-, narrow moat) for about
                              $1.65 billion, including a $50 million potential milestone payment. The sale of those operations
                              should significantly increase Endo’s financial flexibility, pushing net debt/EBITDA leverage well
                              below its typical range of 3-4 times. With Endo expected to redeploy the AMS proceeds through

62
     Morningstar, “Endo Reports Strong Fundamentals as Auxilium Integration Remains Underway,” May 11, 2015.


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                               acquisitions soon (as evidenced by its March bid for Salix), net leverage probably will not remain
                               below the firm’s typical leverage range for long, though. On the call, management noted that it
                               remained open to both tuck-in (such as the Aspen deal announced with the earnings release) and
                               transformative acquisitions, which may require debt financing. Given this ongoing appetite for
                               acquisitions, we continue to believe that Endo’s long-term credit profile will remain firmly below
                               investment-grade territory for the foreseeable future. Currently, Endo’s bonds appear the most
                               attractively valued in the high-yield health-care sector, in our opinion. For example, Endo’s 6.00%
                               senior notes due 2025 (trading to a 2023 call date) are indicated at a yield to worst of 5.82% and a
                               spread to worst of +387 basis points over the nearest Treasury. Those bonds offer more
                               compensation than similar bonds from Valeant Pharmaceuticals VRX (rating: BB, narrow moat),
                               including notes due 2025 (trading to a 2023 call date) that are indicated at a yield to worst of 5.59%
                               and a spread to worst of +357 bps. We also prefer Endo’s notes to Mallinckrodt’s MNK (rating:
                               BB-, no moat) notes due 2025 (trading to a 2023 call date), which are indicated at a yield to worst
                               of 5.36% and a spread to worst of +336 bps. We believe all three of these specialty pharmaceutical
                               firms operate with similar leverage targets (net debt/EBITDA between 3 and 4 times) and
                               aggressive M&A strategies. Given the bond compensation available currently, we view Endo the
                               most favorably of these three firms, followed by Valeant and then Mallinckrodt.

                        Piper Jaffray reiterated its Overweight rating and price target for the Company, writing that the Company’s quarterly
                        revenue was “in-line with the Street,” adjusted EPS was “north of” consensus, and the “generics business performed
                        particularly well”:63

                               Endo reported adjusted diluted EPS of $1.17 (north of the Street estimate of $1.06) on revenues of
                               $714M (in-line with the Street). The generics business performed particularly well with sales from
                               the base business up 39% over 1Q14 (certainly driven by pricing action but volume growth in 1Q15
                               was also in the double digits). With strong visibility on continued growth from the generics
                               business (selected pricing action combined with a pipeline of over 75 products either filed or in
                               development, per comments on the 4Q14 call), along with the continued ramp of Xiaflex (not to
                               mention contribution from Belbuca down the road), we believe a LT EPS CAGR in the high teens

63
     Piper Jaffray, “Generics Business A Continued Source Of Strength; Reiterating Overweight,” May 11, 2015.


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                 is realistic, translating into an attractive risk/reward in the context of a 2016 P/E of 15x our EPS
                 estimate of $5.69. We reiterate our Overweight rating and $110 PT.

                 Color on the generics business. Though pricing action in the controlled substance segment (i.e.,
                 hydrocodone-containing products), which accounts for around 45% of the sales for the generics
                 segment, was a key driver, volume growth was also strong. We saw particularly strong prescription
                 (Rx) volume growth for a generic version of the oral anti-viral valganciclovir (ENDP launched its
                 generic in November 2014 and volume share for its product stands at 41%; there is only one other
                 generic entrant). We note that the 2015 guidance does reflect additional competition for
                 valganciclovir, the Lidoderm authorized generic and controlled substance products.

                 Color on Xiaflex sales and expansion opportunities. There were 6,300 vials used in Peyronie’s
                 disease (PD) in 1Q15. Recall that the product was launched in PD in January 2014, and volumes
                 were around 5,650 in 3Q14 (we do believe there was a bit of a pentup demand effect). Regarding
                 expansion settings, ENDP will move forward in frozen shoulder syndrome (also known as adhesive
                 capsulitis), but likely in a subset of more severe cases given the mixed results from the most recent
                 study (ENDP cited a high placebo response rate). The next study will be another Phase IIb study.
                 In cellulite, ENDP is working with the FDA on clarity regarding clinical endpoints, and most likely
                 the next trial will be another Phase IIb study (though ENDP did not rule out advancement right into
                 Phase III). Both studies should begin by the end of 2015.

                 Tuck-in acquisition an intuitive move, and more of these likely to come. ENDP is acquiring a
                 portfolio of generic and brand assets sold in South Africa from Aspen for around $130M (annual
                 revenues were around $28M). The transaction will increase ENDP’s South Africa-based product
                 revenue by 60%. We believe ENDP will continue to explore smaller acquisitions like these in
                 emerging markets, but could easily see the company execute on mid-to-larger scale transactions that
                 bolster its generics presence in the U.S. (i.e., that add additional alternative dosage form
                 capabilities).

                 RISK TO ACHIEVEMENT OF PRICE TARGET
                 Risks include additional generic threats and merger integration risk.



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                       RBC published a report prior to the Company’s conference call, in which it wrote that Endo’s “in-line top line with a
                       margin-driven, bottom-line beat was generally expected”:64

                               ENDP reported 1Q revenue and EPS of $714 million and $1.17 which was in line on Street revenue
                               and above the $1.07 consensus (we were at $713 million and $1.04). Overall, an in-line top line
                               with a margin-driven, bottom-line beat was generally expected. Relative to our model, gross profit
                               drove $0.02 EPS upside, lower spending $0.15 and higher tax $0.04. Guidance was updated and
                               for the most part reaffirmed with the expection [sic] of three areas (i) the EPS range was increased
                               by $0.05 to $4.40 to $4.60; (ii) the lower end of the gross margin line was raised by 100 bps to now
                               64-65%; and notably (iii) tax guidance was lowered to 13-14% from 15-17% or about 250 bps at
                               the midpoint which on full year numbers is roughly a $0.15 EPS benefit (at the midpoint). While
                               there may be some read into full year and questions as to why we didn’t see more of a boost to
                               guidance, if sustainable it should be viewed favorably especially in the context of potential
                               accretion as ENDP looks to pursue more M&A.

                               ENDP announced the acquisition of a portfolio of generic products in the injectable and established
                               product area, along with a sizable pipeline, from Aspen. TTM revenue was June 2015 was $28
                               million with the deal value expected to be <10x EBITDA on a post synergized basis for 2015 - deal
                               value is up to $130 million and expected to close in 3Q2015. The deal adds to ENDP’s
                               international as part of its goal to grow ex-US to 25% of total. Overall, we thought 1Q was decent
                               and M&A is likely to be a theme on the call.

                       In a report published the next day, RBC reiterated its Outperform rating and price target for the Company, stating
                       that it “[left] 1Q with no meaningful change,” and its “forecasts [were] largely unchanged.” However, “[n]ear-term
                       forecasts [would] be impacted by recent generic pricing increases.” The analyst “sense[d] that ENDP deal focus is
                       still high despite the Aspen bolt-on announcement”:65


64
     RBC Capital Markets, “ENDP - 1Q largely as expected with small generic deal announced,” May 11, 2015.
65
     RBC Capital Markets, “Some moving parts but outlook and primary drivers unchanged - M&A still a focus,” May 12, 2015.


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                 Our view: We leave 1Q with no meaningful change in our view - we think there is significant
                 optionality associated with ENDP but it’s hard to handicap the timing or magnitude of a deal. Our
                 P&L outlook has several moving parts following the quarter but on the whole is largely unchanged.
                 We make no change to our Outperform rating or $98 price target.

                 Key points:
                 We are making several changes to our P&L given moving parts from the call but our forecasts are
                 largely unchanged. Our new 2015E to 2018E EPS are $4.48, $5.05, $5.87 and $6.92, which drives
                 a 3-year EPS CAGR of 16%. Revenue guidance was reaffirmed for 2015E while EPS outlook was
                 higher by $0.05 with several moving parts to the year and line items. The gross margin outlook
                 was increased at the lower end while spending has likely moved to the higher end with some offset
                 from a 250 bps reduction in tax outlook which will be bumpy through 2015.

                 Near-term forecasts will be impacted by recent generic pricing increases - trading a near-term
                 headwind for a sustainable benefit. For 2Q, the implied EPS guidance range appears to be $0.94 to
                 $0.99 (taking the midpoint) and we are taking our estimate to $0.98, reflecting the temporary shelf
                 stock adjustment impact in generics due to pricing increases that will begin to add benefit in
                 2H2015E. The increase follows the late 2014 price increases on the hydrocodone products and
                 provides a favorable data point that generic pricing strength remains.

                 We sense that ENDP deal focus is still high despite the Aspen bolt-on announcement. The “bread
                 and butter” transactions are still small/medium and management expects 2-3 deals in 2015 that are
                 not reflected in guidance and nor will the announced Aspen deal be until its 3Q closing. The
                 company is also open to larger, more transformative deals and focus here is not going to go away.
                 ENDP has decent debt capacity with adjusted leverage now <3x 2015E EBITDA when considering
                 the ~$1.6 billion AMS payment set to come in (ex $534 million restricted cash for mesh) and
                 management has been clear (ie. SLXP) that it is (i) willing to get aggressive for the right asset, (ii)
                 open to using equity as currency, and (iii) will be disciplined with respect to financial metrics and
                 not overpaying.




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                               What could ENDP buy? Management seems to be keeping its options open. We still think an
                               AKRX deal could be attractive (meaningfully accretive at >10%) and ENDP highlighted both an
                               interest in adding further to the injectables platform it is getting from Aspen and its appetite in
                               expanding US generic exposure. PRGO to us is a stretch deal that may be unlikely at this point, but
                               is still modestly accretive. Management still sees OTC as an area of interest but also noted that a
                               move into OTC would need to be “on the back of a meaningful transaction”.

                        Susquehanna wrote that the Company’s “1Q15 results … were modestly ahead of expectations, with slight revenue
                        upside and lower expenses and taxes,” and that “management gave a modest guidance raise while announcing a tuck-
                        in deal that should add a few more pennies.” The analyst commented that ENDP “shares declined slightly, which
                        seemed appropriate given a lower tax rate and more aggressive price increases appear[ed] to be offsetting a couple of
                        weak spots”:66

                               ENDP boosted its 2015 EPS outlook by $0.05 with 1Q results but needed to absorb a couple of
                               headwinds. There is still room for upside to full year guidance, though a Belbuca approval and
                               M&A may be necessary to get multiple expansion.

                               HIGHLIGHTS
                               ENDP’s 1Q15 results yesterday were modestly ahead of expectations, with slight revenue upside
                               and lower expenses and taxes. Overall, it was a fairly in-line quarter and management gave a
                               modest guidance raise while announcing a tuck-in deal that should add a few more pennies. Yet,
                               shares declined slightly, which seemed appropriate given a lower tax rate and more aggressive price
                               increases appear to be offsetting a couple of weak spots. Guidance still appears conservative on
                               expenses and competitive assumptions, but with shares at ~17x 2016, we are mindful of
                               expectations for M&A.

                               2015 Outlook Raised – ENDP raised the EPS outlook by $0.05 (not including the Aspen deal) but a
                               lower tax rate and slightly better gross margin added ~$0.20 and appear to be offsetting some
                               weakness (Stendra, Dava, Fx). Top line guidance of $2.9 bln-$3.0 bln was maintained, but ENDP

66
     Susquehanna, “Endo International: Outlook a Little Choppier But Intact,” May 12, 2015.


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                              expects better margins, now at 64-65% (previously 63-65%) as it gets more aggressive with another
                              round of generic price increases. Operating expense guidance is still 23-24% of sales as some
                              investments ramp up, though we note that R&D was well below our forecast for 1Q and suggests
                              flexibility on expenses even with some new spending (e.g., DTC for Stendra, Belbuca pre-launch
                              cost). ENDP took tax rate guidance down to 13-15% from previous expectations of 15-17%.
                              Guidance assumes additional competition on Lidoderm, Voltaren, and valganciclovir, which could
                              be a source of upside if market dynamics stay in ENDP’s favor.

                              Back-end Loaded Year – ENDP announced that it will take another round of price increases in its
                              generics portfolio in 2Q, negatively impacting the quarter (we estimate ~$50mln) but helping the
                              full year and beyond. While this is positive, it is unclear how sustainable of a driver it will be: we
                              note that some competitors had more cautious comments on generics pricing on their 1Q calls.
                              Also, while ENDP’s generics business overall beat our expectations, the recently acquired Dava
                              business fell well short at only $11.7 mln. ENDP now expects the year to be slightly back-end
                              loaded (52-53% of EPS in 2H, we estimate 54% with the Aspen deal).

                              Catalysts
                              Belbuca (BEMA buprenorephine) PDUFA 10/15, closing AMS divestiture in 3Q, continued pricing
                              tailwinds, and M&A.

                              Downside risk
                              We see downside to ~$81 assuming renewed pricing pressure in US generics.

                       UBS published a report prior to the Company’s conference call, in which it wrote that Endo had a “solid quarter” as
                       revenues topped its forecasts and “a lower R&D spend (-$13M) largely drove the $0.12 EPS upside.” The analyst
                       maintained its investment rating and price target for Endo stock, noting that that “[management] maintained revenue
                       guidance of $2.90-3.00B, but raised EPS guidance by 5 cents to $4.40-4.60”:67

                              What’s new? EPS of $1.17 vs. UBSe of $1.05 and Consensus of $1.06

67
     UBS, “A Beat and Raise Quarter,” May 11, 2015.


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                               Revenues (+$29M) beat our forecast, which along with a lower R&D spend (-$13M) largely drove
                               the $0.12 EPS upside. Mgt maintained revenue guidance of $2.90-3.00B, but raised EPS guidance
                               by 5 cents to $4.40-4.60. Mgt also announced a niche deal in South Africa, acquiring a portfolio
                               from Aspen for $130M (~10x EBITDA) for $28M in sales in FY2014.

                               Our takeaway: A solid quarter
                               Sales from the Brand biz were generally in line with our forecast, and it’s good to see Xiaflex sales
                               (+$5M) were strong and it doesn’t look like it was disrupted by the integration process. Generic
                               sales (+$28M) was particularly strong, and was the primary driver of upside to our revenue
                               forecast. R&D spend was substantially lower than our forecast, and we look for management
                               commentary on the call. Also, we like South Africa as a growth market and think the Aspen
                               portfolio should be a good deal.

                               Thoughts on the stock: Stock should be up some
                               With a beat and raise quarter, we expect the stock to be up.

                               Valuation: We maintain our Buy rating and PT of $100
                               Our price target of $100 is based on P/E of ~18x our 2017E EPS of $5.60.

                       In a report issued after the Company’s conference call, UBS said there was “[n]o change to [its] investment thesis.”
                       The analyst opined that “the stock was modestly down because some investors were disappointed that mgt chose to
                       reinvest 1Q EPS upside and the lower tax rate for the year instead of letting [it] fall to the bottom line.” However,
                       UBS was “OK with this decision” by management:68

                               What we learned on the conference call
                               (1) For the Generic Business, mgt expects 2Q sales to be down sequentially as a result of the shelf
                               stock adjustments for the announced price increases. It believes this will have an 8-10% negative
                               impact on 2Q generic GM, but expects the full year GM in the mid-50s and op margin in the high
                               40s. It plans to file 6 ANDAs this year. (2) On Xiaflex in 1Q, demand vials were ~6,300 for

68
     UBS, “We Still Like This Story,” May 11, 2015.


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                              Peyronie’s and ~5,900 for Dupuytren’s Contracture, and ~8,100 pts have been enrolled in the PD
                              re-imbursement program. Mgt is still committed to cellulite and frozen shoulder (but both will
                              remain in Phase 2) and indicated that it’s seeing encouraging early-stage results in canine and
                              human lipoma, uterine fibroids, and it’s looking at capsular contraction of the breast, keloids, and
                              potentially tennis elbow as well.

                              Additional takeaways
                              (3) On Stendra, mgt indicated that it will invest to re-launch the brand in late-2Q (with a targeted
                              DTC campaign) and is working down wholesaler inventory levels (from ~2 months to 1 month). It
                              has already engaged a new CSO. (4) Mgt has scheduled a meeting with the FDA in June regarding
                              the label changes for Opana ER. (5) Mgt noted that its efforts to qualify Somar as a source of low-
                              cost manufacturing for the US Generic business is on track, with products identified for tech
                              transfer, and is working towards an FDA inspection to complete the qualification process.

                              Thoughts on the stock: No change to our investment thesis
                              We think the stock was modestly down because some investors were disappointed that mgt chose to
                              reinvest 1Q EPS upside and the lower tax rate for the year instead of letting fall to the bottom line.
                              We are OK with this decision, as numbers are still going up, and we look forward to BD to drive
                              earnings further. This mgt team is not done with the corporate transition, and we look forward to
                              further actions that drive value.

                              Valuation: We maintain our Buy rating and PT of $100
                              Our price target of $100 is based on P/E of ~17-18x our 2017E EPS of $5.70.

                       Wells Fargo wrote the Company “reported a solid Q1 with in-line revenues and an EPS beat driven by lower
                       operating expenses.” The analyst remarked that “ENDP raised 2015E EPS guidance largely due to a lower tax rate,”
                       which “could imply that the new EPS guidance is conservative”:69



69
     Wells Fargo, “ENDP: Solid Q1 Driven By Lower Operating Expenses Lower Tax Rate Raises 2015E Guidance,” May 11, 2015.


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                      ENDP reported a solid Q1 with in-line revenues and an EPS beat driven by lower operating
                      expenses (EPS of $1.17 vs $1.07 consensus). ENDP raised 2015E EPS guidance largely due to a
                      lower tax rate.

                      2015 EPS guidance raised due to lower tax rate, from $4.35-$ 4.55 to $4.40-$ 4.60. Rev guidance
                      was maintained at $2.9B$ 3.0B (vs. $2.987B consensus). Gross margin was raised at the low end
                      from 63-65% to 64-65% (vs 65.7% consensus). Operating expenses as percent of sales are
                      unchanged at 23%-24% (vs. 23.9% consensus). The biggest change was a lower tax rate, now 13-
                      14%, down from the prior 15-17% (17% consensus). We estimate that the tax rate reduction of
                      2.5% at the guidance range midpoints adds roughly $0.13 to EPS. With only a $0.05 increase to
                      EPS guidance and very minor changes to revenue, expense and share count guidance, this could
                      imply that the new EPS guidance is conservative.

                      Revenues were in line at $714MM (vs $714MM consensus). Generics revenues were strong at
                      $357MM vs $338MM consensus. Offsetting shortfalls came from a mix of products.

                      Lower operating expenses drove the EPS beat. SG&A of $132MM (vs $143MM consensus) and
                      R&D of $16MM (vs $28MM consensus) were the primary drivers of the EPS beat. Lower GM
                      (65.2% vs 64.7%) also provided a small boost as did a lower tax rate (16.3% vs 16.9% consensus).

                      ENDP separately announced the acquisition of a branded and generics portfolio from Aspen
                      Holdings, for $130MM. The deal expands ENDP’s international business, adding $28MM
                      revenues (year ended June 30, 2014) to ENDP’s current international business of about
                      $290MM/year (annualized Q1 revenue of $73MM), across a portfolio of 60 marketed products (and
                      brings 70 pipeline products). ENDP guided that the deal will be accretive in 2015E and the
                      purchase price will translate to under 10x EBITDA, including synergies. The deal is epxcted [sic]
                      to close in Q3 2015E.

               William Blair published a report prior to the Company’s conference call, stating that quarterly revenues were
               “slightly above consensus,” but “below [its] estimate,” and Endo “beat expectations on the bottom line … primarily




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                       due to [lower] operating costs.” The analyst also noted that the Aspen transaction “could bolster international
                       revenue”:70

                               Before the open this morning, May 11, Endo reported first quarter 2015 earnings. Endo reported
                               $714.1 million in revenue, up 52% year-over-year, which was slightly above consensus of $713.7
                               million and below our estimate of $733.7 million. Xiaflex revenue was $28 million, slightly above
                               our estimate of $24 million. The company’s pain franchise yielded revenue of about $153.8
                               million, up 5% year-over-year, which was above consensus of $149.2 million but slightly below our
                               estimate of $160 million. The company’s generic portfolio has been a source of strength in recent
                               quarters after several acquisitions in 2014. In the first quarter, Endo reported $357 million in total
                               U.S. generic revenue, up 68% year-over-year, above consensus of $337.5 million, but below our
                               estimate of $376 million (and down 9% quarter-over-quarter). International revenue was $73
                               million, up 191% year-over-year, but below both consensus estimate of $85.3 million and our
                               estimate of $81 million (and down 9% quarter-over-quarter). The company announced an
                               acquisition of a portfolio of branded and generic injectable products from a subsidiary of Aspen
                               Holdings, a South African company, that could bolster international revenue. The portfolio of
                               acquired products generated $28 million of revenue during the previous fiscal year with several
                               pipeline products. For 2015, Endo anticipates that EBITDA to be generated will translate into a
                               transaction multiple of less than 10 times on a post-synergized basis.

                               Endo beat expectations on the bottom line during the first quarter, with $1.17 in non- GAAP EPS,
                               above consensus estimates of $1.07 and our estimate of $1.13. This was primarily due to operating
                               costs, with SG&A expense of approximately $132 million and R&D expense of $16 million both
                               below consensus estimates of $142.6 million and $27.8 million, respectively, as well as our
                               estimates of $154 million and $29 million, respectively. We show reported earnings, our estimates,
                               and consensus in exhibit 1, on page 3. We continue to believe that the company is in the midst of
                               reinvigorating its brand division with the acquisition of Auxilium and the upcoming launch of
                               Belbuca, the company’s buprenorphine product with partner BioDelivery Sciences (BDSI $7.74;
                               Outperform). The company has a PDUFA date around October 30, 2015, for Belbuca.

70
     William Blair, “Quick Take on First Quarter; Bottom-Line Upside Primarily Based on Lower Operating Costs,” May 11, 2015.


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                            The company raised non-GAAP EPS guidance to $4.40 to $4.60 from $4.35 to $4.55 while
                            maintaining revenue guidance of $2.9 billion to $3 billion. The revised guidance is based on gross
                            margins of 64% to 65%, operating expenses as a percentage of revenues of 23% to 24%, adjusted
                            interest expense of approximately $310 million, an adjusted tax rate of 13% to 14%, and full-year
                            diluted shares of 180 million.

                     In a report published the next day, William Blair wrote that Endo “expect[ed] a dip in second-quarter non-GAAP
                     EPS as a result of price increases it anticipates making in the quarter with associated penalties and shelf stock
                     adjustment.” “Given the updates on the first-quarter call, the potential for further accretive acquisitions that are
                     critical to Endo’s roll-up strategy, and the company’s financial structure,” the analyst “believe[d] that the company’s
                     guidance could be conservative and [its] model estimates will trend toward the high end of the range”:71

                            Monday, May 11, Endo released first-quarter earnings and hosted a conference call. Of particular
                            note was the company’s forecast for quarter-over-quarter earnings in 2015. On the call,
                            management stated that it expects a dip in second-quarter non-GAAP EPS as a result of price
                            increases it anticipates making in the quarter with associated penalties and shelf stock adjustment.
                            Regarding organic growth, the company is on track to file six ANDAs in 2015; plans to relaunch
                            Stendra in late second quarter; has a PDUFA date of October 23, 2015, for Belbuca with partner
                            BioDelivery Sciences International (BDSI $7.64; Outperform); and has an FDA action date on May
                            15 for a potential Dupuytren’s contracture enhancement for Xiaflex that could lead to a potential
                            label update related to retreatment of recurrent contractures.

                            The company raised non-GAAP EPS guidance to $4.40 to $4.60 from $4.35 to $4.55 while
                            maintaining revenue guidance of $2.9 billion to $3 billion. The revised guidance is based on gross
                            margin of 64% to 65%, operating expense as a percentage of revenue of 23% to 24%, adjusted
                            interest expense of approximately $310 million, an adjusted tax rate of 13% to 14%, and full-year
                            diluted shares of 180 million. On the call, management stated that it expects revenue to be back-

71
  William Blair, “Post-Call Model Update; Despite Potential Weakness in Second Quarter, Endo Set Up for Strong Second Half,” May 12,
2015.


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                            end loaded as it relaunches Stendra, potentially launches Belbuca, integrates the Aspen Holdings
                            assets, and potentially receives the label update for Xiaflex. In exhibit 1, we note the company’s
                            prior expectations for organic growth of each business segment. Given the updates on the first-
                            quarter call, the potential for further accretive acquisitions that are critical to Endo’s roll-up
                            strategy, and the company’s financial structure, we believe that the company’s guidance could be
                            conservative and our model estimates will trend toward the high end of the range.

                            We have updated our model to account for the increased guidance as well as added our 2017
                            estimates. Our revised 2015 non-GAAP EPS estimate of $4.55 reflects a decrease in the second
                            quarter ($1.09) followed by a ramp-up in the third and fourth quarters as we anticipate several
                            organic growth drivers as well as the complete integration of Auxilium and the Aspen Holdings
                            products. In out-years, we believe that Belbuca will be a key organic driver for the pain franchise,
                            with market potential that may not be fully recognized by the Street. In exhibit 2, we show the
                            hydrocodone/APAP monthly prescriptions since April 2012 that have seen a precipitous decline
                            since the re-scheduling of hydrocodone products from schedule 3 to schedule 2. We believe this
                            enhances the market potential for Belbuca, a schedule 3 opioid, with the approximately 2.5 million-
                            3 million monthly TRx drop in the hydrocodone/APAP class. In addition, we expect a steady
                            ramp-up of Xiaflex to provide organic growth and for the generic and international business
                            segments to continue their solid growth trajectory. In exhibit 3, we show our new estimates for
                            2015-2017 with the revised quarterly earnings reporting format.

                    Following the Company’s disclosures on May 11, 2015, according to Bloomberg, the average of analysts’ price
                    targets for Endo stock increased to $94.00 from $93.93, or 0.08%. All 19 analysts who published investment ratings
                    for the Company both before and after the earnings announcement maintained their ratings. (See Exhibit 5C.)

                    Remark: Given that: (i) the Company’s “in-line top line with a margin-driven, bottom-line beat was generally
                    expected”;72 (ii) Endo reiterated its 2015 revenue guidance, and “raised 2015E EPS guidance largely due to a lower

72
  RBC Capital Markets, “ENDP - 1Q largely as expected with small generic deal announced,” May 11, 2015. See also, e.g., Canaccord
Genuity, “Q1: No surprises but decent acquisition,” May 11, 2015; Leerink, “Modest 1Q EPS Beat/Raise; 2015E to Be Active Year of M&A;
Remain OP,” May 11, 2015.


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                       tax rate,”73 which was considered “conservative”74 and “underwhelming”;75 and (iii) “[o]ther updates were not needle
                       moving,” including the Aspen deal, and “some recent generic price increases,”76 the statistically insignificant
                       Company-specific return on May 11, 2015 is consistent with that expected in an efficient market.

         8/10/2015     Before market open on Monday, August 10, 2015, the Company reported its second-quarter 2015 financial results.
                       For the quarter, Endo reported revenue of $735.2 million, adjusted net income of $204.3 million, and adjusted EPS of
                       $1.08.77

                       The consensus estimates of quarterly revenue and adjusted EPS were $726.5 million and $1.01, respectively. 78

                       Then-CEO De Silva commented on the Company’s performance:79

                               Our diversified business delivered strong financial results for the quarter and demonstrated the
                               value that we expect to create through the continued execution of our strategy …. We are close to

73
  Wells Fargo, “ENDP: Solid Q1 Driven By Lower Operating Expenses Lower Tax Rate Raises 2015E Guidance,” May 11, 2015. See also,
e.g., Gabelli & Company, “I’m Talking About a Little Deal Called Aspen-Buy,” May 12, 2015; Wells Fargo, “ENDP: Solid Q1 Driven By
Lower Operating Expenses Lower Tax Rate Raises 2015E Guidance,” May 11, 2015.
74
  Wells Fargo, “ENDP: Solid Q1 Driven By Lower Operating Expenses Lower Tax Rate Raises 2015E Guidance,” May 11, 2015. See also,
e.g., William Blair, “Post-Call Model Update; Despite Potential Weakness in Second Quarter, Endo Set Up for Strong Second Half,” May 12,
2015.
75
     Leerink, “Modest 1Q EPS Beat/Raise; 2015E to Be Active Year of M&A; Remain OP,” May 11, 2015.
76
  Leerink, “Modest 1Q EPS Beat/Raise; 2015E to Be Active Year of M&A; Remain OP,” May 11, 2015. See also, e.g., Morgan Stanley,
“1Q EPS 11% above cons; EPS guidance bumped 1%; events to watch,” May 11, 2015; RBC Capital Markets, “Some moving parts but
outlook and primary drivers unchanged - M&A still a focus,” May 12, 2015.
77
     PR Newswire, “(PR) Endo Reports Second Quarter 2015 Financial Results,” August 10, 2015, 6:30 AM.
78
     Bloomberg, “Endo International 2Q Results Beat Ests; Reaffirms Year Views,” August 10, 2015, 6:38 AM.
79
     PR Newswire, “(PR) Endo Reports Second Quarter 2015 Financial Results,” August 10, 2015, 6:30 AM.


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                               completing the integration planning for our acquisition of Par and we remain excited by the
                               strategic expansion of our product portfolio, R&D pipeline and long-term growth profile that the
                               Par assets and Par talent joining Endo are expected to help provide. Looking ahead to the second
                               half of 2015 and beyond, we are focused on accelerating growth in our current U.S. Branded
                               Pharmaceuticals portfolio and continue to expect that our strategic M&A and pipeline development
                               efforts will yield future growth drivers.

                       The Company updated 2015 guidance and noted that “[f]ull-year 2015 financial guidance excludes the impact of the
                       pre-close financing activities related to the acquisition of Par”:80

                                                                          Current Guidance             Previous Guidance81
                               Total revenue                              $2.90 – $3.00 billion        $2.90 – $3.00 billion
                               GAAP EPS                                   $1.42 – $1.62                $1.70 – $1.90
                               Adjusted EPS                               $4.40 – $4.60                $4.40 – $4.60
                               Adjusted gross margin                      64% – 65%                    64% – 65%
                               Adjusted operating expenses as % of rev.   23% – 24%                    23% – 24%
                               Adjusted interest expense                  $310 million                 $310 million
                               Adjusted effective tax rate                13% – 14%                    13% – 14%

                       Prior to the Company’s quarterly announcement, the consensus estimates of revenue and adjusted EPS for 2015 had
                       been $2.98 billion and $4.55, respectively.82




80
     Ibid.
81
  PR Newswire, “(PR) Endo Reports Second Quarter 2015 Financial Results,” August 10, 2015, 6:30 AM; PR Newswire, “(PR) Endo
Reports First Quarter Financial Results,” May 11, 2015, 7:00 AM.
82
     Bloomberg, “Endo International 2Q Results Beat Ests; Reaffirms Year Views,” August 10, 2015, 6:38 AM.


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                       The same day, before market open, the Company held a conference call with investment analysts.83 During the call,
                       then-CFO Upadhyay said that the Company “expect[ed] to update full-year 2015 financial guidance following the
                       close of Par acquisition to include both operating and financing effects and [it] expect[ed] the transaction to close
                       prior to reporting third-quarter 2015 subject to regulatory approval and other customary closing conditions.”84

                       Canaccord reported that the Company had a “strong” quarter, with the “generics business [] again the primary top-
                       line driver.” Endo’s adjusted EPS topped consensus “due to a 6.8% tax rate resulting from improvements in the
                       global supply chain,” commented the analyst. “Going into 2016,” the analyst “expect[ed] to see the acceleration of
                       Stendra, 6 new ANDAs from Qualitest and EPS accretion from Par”:85

                              Endo reported a strong Q2 -- revenue came at $714.1M [sic], slightly beating our estimate of
                              $713.0M, but missing consensus’ $726.4M. Non-GAAP EPS was $1.20 [sic], $0.19 higher than
                              what we and consensus had modeled due to a 6.8% tax rate resulting from improvements in the
                              global supply chain. The generics business was again the primary top-line driver, and is likely to
                              continue to be so, given the recent price increases and potential increases on controlled substances.
                              Going into 2016, we are expecting to see the acceleration of Stendra, 6 new ANDAs from Qualitest
                              and EPS accretion from Par.

                              Investment highlights
                              Xiaflex met expectations. Despite weakness in sales and demand in April and May, 6,900 vials of
                              Xiaflex were used in Peyronie’s in Q2, compared 6,300 vials in Q1. With the FDA adding the
                              indication for retreatment of recurrent Dupuytren’s Contracture, it should support growth in the rest
                              of 2015 and beyond. With respect to cellulite and frozen shoulders, additional trials are still set to
                              start by end of the year.


83
  Thomson Reuters, StreetEvents, “ENDP – Q2 2015 Endo International PLC Earnings Call, EVENT DATE/TIME: AUGUST 10, 2015 /
12:00PM GMT,” August 10, 2015, 8:00 AM.
84
     Ibid.
85
     Canaccord Genuity, “Endo in Cresc-Endo,” August 11, 2015.


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                              Belbuca October 23 PDUFA. We remain confident about the approvability of Belbuca, and a
                              launch in early 2016. Its differentiation will mainly be as a DEA Schedule 3 product. Given the
                              market contraction that has occurred with the hydrocodones, we think Belbuca will be an attractive
                              alternative to chronic pain patients who have dropped out due the scheduling change. We continue
                              to believe this can be a $500M drug, and a key product for Endo as it needs Belbuca to climb from
                              the current 8% growth in the US branded business to low double digit.

                              Valuation/risks
                              Our $104 price target is derived from a standard DCF analysis through 2021 using a 10% discount
                              rate and a 2% terminal growth rate. This translates into a 19.9x P/E off our 2016 EPS estimate,
                              compared to Endo’s current 16.0x P/E and the peer group average of 18.8x. Risks include: failure
                              to realize synergies from the Par transaction, failure for Belbuca to obtain FDA approval and failure
                              for products growth to stabilize.

                       Guggenheim noted that the Company’s adjusted EPS was better than consensus, and 2015 guidance was reaffirmed.
                       The analyst was “await[ing] the closing of Par, expected in 3Q15, and the potential approval for Belbuca in October
                       to drive share price appreciation in the next few months.” The analyst added that it “believe[d] ENDP ha[d] set the
                       stage for better-than-expected growth in ’16+”:86

                              Conclusion: We remain positive on ENDP shares post the company’s 2Q15 earnings beat. We
                              await the closing of Par, expected in 3Q15, and the potential approval for Belbuca in October to
                              drive share price appreciation in the next few months. Furthermore, we continue to believe ENDP
                              has set the stage for better-than-expected growth in ’16+ driven by Xiaflex and the generics
                              business, which we anticipate will be supplemented by brand focused M&A that can be funded
                              through a larger EBITDA base. We expect pro forma EBITDA of $2B to $2.5B in 2016, and
                              leverage to come down to ~3x by then. The company is willing to lever up 5x to 6x for a deal,
                              which suggests a capital structure that could support ~$5B worth of transaction(s).



86
     Guggenheim, “ENDP - BUY - Solid 2Q15; Set-Up Heading into 2H15 Keeps Us Positive,” August 10, 2015.


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                      Even with the launch of another generic Lidoderm, we continue to see multiple levers and
                      opportunities for potential upside. 1) No additional competition for Voltaren gel and Boca 2H15;
                      2) Opana ER taper deterrent labeling upside late 2016; 3) Greater synergy prospects from Par from
                      manufacturing and taxes as well as pipeline opportunities in a limitedcompetition, high-barrier
                      market; 4) Continued operational efficiencies (i.e., cost management, Somar facility); 5) Brand
                      pipeline opportunities such as Xiaflex for cellulite and frozen shoulder (which we view as a call
                      option); and 6) Additional M&A.

                      2Q15 Positives: 1) 13,000 Xiaflex vials were shipped in 2Q15 (+67% YOY) driven by Peyronie’s
                      (6,900 vials) and Dupuytren’s Contracture (6,200); 2) Xiaflex prescribing trend toward buy and
                      build should drive acceleration in growth; 3) Opana ER abuse deterrent labeling supplemental data
                      filing expected early 2016; 4) Divestment of 10 products with Par acquisition not expected to be
                      material; and 5) Price increases in U.S. generics in 2Q15 should drive strong double-digit
                      performance and generic business margin well above mid-50% in 2015+

                      ENDP reported 2Q15 EPS of $1.08, $0.07 higher than consensus and $0.10 above our estimate.
                      Our Variance Analysis has details. ENDP reaffirmed its 2015 adj. EPS guidance of $4.40 to $4.60
                      and revenue guidance of $2.9B to $3B. We note that guidance does not incorporate Par and
                      assumes additional competition for Lidoderm and Voltaren 2H15. We updated our model to reflect
                      quarterly results.

                      Potential Catalyst. 1) Close of Aspen Holdings 3Q15; 2) Close of Par in 3Q15; 3) Potential
                      Voltaren gel generic 3Q15; 4) Xiaflex additional indications; 5) Belbuca PDUFA October 2015;
                      and 6) M&A.

               JP Morgan wrote that the Company’s quarterly revenues “were in-line with expectations,” while EPS topped
               consensus expectations “driven by operating expense discipline … and a lower-than-expected tax rate.” The analyst
               commented that “Endo’s core business continue[d] to perform well, and notably, management [saw] no change in the




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                      generics pricing environment.” The analyst noted that the “Xiaflex launch [was] in-line with management
                      expectations”:87

                             This morning, Endo reported an upside EPS of $1.08 (+$0.11 vs. JPMe despite a $0.04 headwind
                             due to financing from the pending Par deal). Endo’s core business continues to perform well, and
                             notably, management has seen no change in the generics pricing environment. Endo now expects
                             the Par acquisition to close by Q3 reporting and we see Endo rapidly de-levering following deal
                             close and remaining active on the M&A front (likely focusing on brands/international). With
                             shares at 12x our 2017 EPS, we continue to see an attractive set-up in shares as we approach the Par
                             deal close. Remain OW.

                             Endo reports 2Q EPS beat of $1.08 and reiterates guidance. The company reported a solid 2Q EPS
                             of $1.08 (+$0.11 vs. JPMe), or $1.12 excluding the pre-close Par financing. Revenues of $735mm
                             were in-line with expectations. The EPS upside was driven by operating expense discipline
                             (-$11mm vs. JPMe) and a lower-than-expected tax rate (-620bps vs. JPMe). We continue to see
                             healthy trends in Endo’s core business, which we see as capable of generating high-single
                             digit/low-double digits organic growth (ex-patent expirations) over time.

                             We continue to see an attractive growth profile for the generics business. On the call, Endo noted
                             that they see no change in the generics pricing environment with select pricing opportunities in
                             specialty generics (incl. controlled substances) and commodity generics facing pricing pressure. In
                             addition, the company believes it will be able to generate continued above market growth with the
                             addition of the Par pipeline to its portfolio. As a reminder, Endo recorded penalties and shelf stock
                             adjustments in 2Q generics revenues related to price increases that should meaningfully benefit
                             2016 performance.

                             Expecting guidance update at 3Q results following Par close. This morning, management reiterated
                             2015 guidance of $4.40-$4.60 on revenues of $2.9-$3.0bn, which continues to exclude any impact
                             from Par or the related dilutive acquisition financing. Endo now expects the Par acquisition to

87
     JP Morgan, “EPS Beat Driven By Expense Mgmt; Generic Commentary Reassuring - ALERT,” August 10, 2015.


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                              close by Q3 reporting, and we expect the company to update guidance at that time. We are
                              forecasting 2016/2017 EPS of $5.64/$7.00, and see upside potential to these estimates, particularly
                              as it relates to Endo’s generic business.

                              Business development remains a priority, appears focused on brands post the Par deal. Endo
                              expects to close the Par deal with ~4.5x leverage, decreasing to 4x by YE 2015. With a significant
                              step up in 2016 and 2017 EBTIDA/EPS, we see the company in a position to deploy significant
                              capital to business development over the next 12-18 months.

                              Xiaflex launch in-line with management expectations. In 2Q, Xiaflex reported sales of $40mm (vs.
                              $46mm JPMe), with roughly 13,100 demand vials (6,900 in PD, 6,200 in DC), representing YoY
                              growth of 67%. Endo remains focused on optimizing its reimbursement processes as well as its
                              sales force execution and implemented changed in 2Q that impact quarterly results but should set
                              the product up for healthy growth going forward. In addition, management noted that they plan to
                              initiate phase IIb studies in frozen shoulder/adhesive capsulitis and cellulite by the end of this year.

                       JP Morgan published another report the following day in which it updated its forecasts for the Company to “now
                       include a full quarter of Par in 4Q estimates … as well as the pre-close financing impact.” The analyst left its “EPS
                       estimates largely unchanged”:88

                              We are updating our Endo model following solid 2Q results and reiterated 2015 guidance, with our
                              EPS estimates largely unchanged. Overall, we continue to see an attractive path forward for ENDP
                              shares post Par close (no later than 3Q earnings), with healthy organic growth across the company’s
                              branded and generics businesses and rapid deleverage which should set up further M&A heading
                              into 2016. With shares trading at only 12x our 2017 EPS, we remain OW.

                              Model update. We are updating our model following 2Q results and now include a full quarter of
                              Par in 4Q estimates (we previously assumed a year-end close), as well as the pre-close financing


88
     JP Morgan, “Updating Model Post 2Q Results,” August 11, 2015.


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                               impact. Our new 2015-2018 EPS is $4.40, $5.70, $7.17 and $7.93. Please see page 2 for a
                               summary of our estimate changes.

                       Leerink wrote that “ENDP posted a modest 2Q EPS beat of 4c with in-line sales and kept its 2015 stand-alone
                       guidance range flat at $4.40-$4.60, which excludes Par financing activities which could serve as a 23c drag on the
                       full yr number.” The analyst “view[ed] the 2Q results as encouraging,” but made “only modest changes to [its]
                       forecasts” for the Company:89

                               Bottom Line: ENDP posted a modest 2Q EPS beat of 4c with in-line sales and kept its 2015 stand-
                               alone guidance range flat at $4.40-$4.60, which excludes Par financing activities which could serve
                               as a 23c drag on the full yr number. Overall, we view the 2Q results as encouraging -- as US
                               generics remain strong with pricing/pipeline as tailwinds and ENDP appears to be gaining market
                               traction for Xiaflex in Peyronie’s. We are making only modest changes to our forecasts. We value
                               ENDP shares using (blended) P/E multiple for pro forma ENDP-Par at 16.5x ’16E EPS ($96 PF
                               valuation).

                               US Gx’s continues to remain strong in spite of concerns around pricing. In our view, 2Q helped
                               address some of the bear case concerns about pricing pressure to ENDP’s controlled substance (CS)
                               generics, after competitor MNK (OP) indicated its CS portfolio was facing pricing headwinds. In
                               2Q, ENDP generics only slightly missed our sales forecast, reporting sales of $338m vs. our $346m.
                               What differentiates ENDP’s generic business vs. MNK is greater revenue diversity – including
                               more product opportunities to take selective price increase, as well as a dramatically deeper
                               pipeline. In 2Q, ENDP benefited from being in a two player generic Valcyte market ($440m
                               brand). Relative to ENDP’s guidance, we see risk/reward as favorable for the generics in the 2H,
                               with upside from pipeline and/or no additional g-Valcyte competitors.

                               Ease of reimbursement should continue to drive Xiaflex Peyronie’s usage. On the CC, mgmt
                               commented about changes in its Xiaflex-PD reimbursement process to optimize physician
                               utilization of the buy-andbill process for getting the drug. 2Q sales of Xiaflex were inline with our

89
     Leerink, “Inline 2Q + Guide; Encouraging Signs From Gx’s and Peyronie’s Uptake, PT to $96,” August 10, 2015.


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                               ests, which we view as encouraging given the level of skepticism around ENDP’s ability to
                               establish a market in peyronie’s disease. Based on our checks with urology specialists, the buy-
                               and-bill mechanism will likely increase as physicians get more comfortable taking inventory risk
                               under b/b once physicians gain confidence around reimbursement. In 2Q, ENDP net revenue
                               dollars/vial was ~$3k, which implies only ~10% gross-to-net deduction on the product. Next up –
                               ENDP plans to expand the prescriber base for Xiaflex from the current 2100 specialists who are
                               certified prescribers and increase utilization of buy-and-bill.

                               No major M&A updates; plan is to focus on de-leveraging in the near-term. ENDP mgmt continues
                               to expect the Par Pharma acquisition to close by end of 3Q or early 4Q’15. The company is
                               targeting a leverage ratio in the 3-4x range by mid-2016, prior to which we would expect ENDP to
                               engage in only smaller bolt-on deals.

                       Morgan Stanley wrote that the Company’s quarterly revenue and EPS were “slightly above expectations.” EPS was
                       impacted by a tax rate “well below” consensus and “$0.04 dilution from Par-related financing,” according to the
                       analyst. Morgan Stanley noted “ENDP’s unchanged guidance midpoint for 2015,” but added that “mgmt’s guidance
                       [was] before accounting for Par-related financing dilution” and “exclud[ed] the benefit of the Par deal closing”:90

                               Revenue and EPS slightly above expectations. Revenues were $735M, 3% above our $716M
                               (driven by Generics segment and Voltaren gel sales upside) and 1% above cons’ $727M. Operating
                               income was $297M, 2% above our $291M and 1% above cons $293M. The tax rate was 7%, well
                               below our 15% and we believe below consensus’ ~13.5%. EPS were $1.08, 6% above our and
                               cons’ $1.02. $0.01 per share equates to approximately $2.0M pretax. This is despite $0.04 dilution
                               from Par-related financing. Please see detailed variation analysis tables which follow.

                               2Q I/S YOY growth in a nutshell. revs +2%, gross profit +1%, oper inc +10%, pretax -3%, net inc
                               +18%, EPS +2%.



90
     Morgan Stanley, “2Q results above; guidance unchanged pre-Par,” August 10, 2015.


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                              2Q revenues highlights. Generics sales were $338M vs. our $322M. U.S. Brands sales were
                              $316M vs. our $313M, Pain sales were $157M vs. our $144M, Lidoderm sales were $30M vs. our
                              $28M, Opana ER sales were $43M vs. our $46M, Voltaren Gel sales were $51M vs. our $36M,
                              Percocet sales were $32M vs. our $35M, Urology Retail sales were $26M vs. our $34M, Fortesta
                              Gel sales were $15M vs. our $14M, Testim sales were $11M vs. our $20M, Specialty sales were
                              $58M vs. our $60M, Supprelin LA sales were $18M vs. our $18M, Xiaflex sales were $40M vs.
                              our $42M, Branded other revenues sales were $75M vs. our $74M, International Pharmaceuticals
                              sales were $81M vs. our $81M,

                              $0.06 EPS upside vs. our model. Revenues +0.09, COGS -0.09, SG&A -0.02, R&D +0.05,
                              Other -0.02, Taxes +0.09, Share count -0.04.

                              2015 guidance unch pre-Par. Revenue guidance is $2,900-$3,000M; midpoint of $2,950M is in line
                              with our $2,963M and 1% below cons’ $2,986M. EPS guidance is $4.40 -$4.60; midpoint of $4.50
                              is 1% below our and cons’ $4.53. ENDP’s unchanged guidance midpoint for 2015 implies that
                              consensus lower 2H:15 EPS $0.06/share or -1%. Note that mgmt’s guidance is before accounting
                              for Par-related financing dilution (0.04 in 2Q and est. $0.23 in 3Q excluding the benefit of the Par
                              deal closing - potentially in 3Q).

                       Morningstar did not “plan any major shift in [its] fair value estimate” for the Company, following “underlying
                       results [that] continue[d] to mostly meet [its] expectations.” The analyst thought “the incorporation of Par may help
                       stretch Endo’s reach and scale, [but would not] … strengthen[] Endo’s narrow economic moat”:91

                              Acquisitions continued to play a central role in Endo’s 24% revenue growth and 26% adjusted
                              earnings per share growth (when excluding the recently issued shares for the purchase of Par
                              Pharmaceuticals) during its second quarter. We don’t plan any major shift in our fair value estimate
                              as we re-evaluate our assumptions for the acquisition of Par and sale of the AMS business to
                              Boston Scientific, and underlying results continue to mostly meet our expectations.


91
     Morningstar, “Auxilium Deal Continues to Help Endo Meet Expectations,” August 10, 2015.


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                               Although Endo remains a transitional company through acquisitions and divestitures, we still view
                               Xiaflex (acquired with the Auxilium purchase) and other potential upcoming product launches as
                               the company’s primary growth drivers, helping to offset increased generic competition on
                               Lidoderm and Opana. U.S. Xiaflex sales witnessed over 50% pro forma growth for the quarter
                               while Opana sales fell 20%. Additional Lidoderm generics have now been approved, which should
                               lead to lower branded and authorized generic payments over the back half of the year for this drug.
                               We also have concerns about long-term growth opportunities for Endo’s generics segment,
                               including the heavily U.S. and small-molecule-based assets from Par. Although the incorporation
                               of Par may help stretch Endo’s reach and scale, we still don’t view this recent deal as strengthening
                               Endo’s narrow economic moat at this time.

                        Piper Jaffray wrote the Company reported adjusted EPS and revenues “ahead of Street estimates” in what was
                        “[a]nother strong quarter for the generics business.” The analyst “believe[d] that visibility on a long-term EPS
                        CAGR [compound annual growth rate] at least in the mid-teens [was] strong, driven by an exceedingly deep
                        abbreviated NDA (aNDA) pipeline … and a brand business that in [its] view ha[d] a number of attractive growth
                        drivers.” The analyst lowered its price target for Endo to $117 from $113 “reflecting modest estimate revisions”:92

                               Endo reported non-GAAP EPS of $1.08 on revenues of $735M, ahead of Street estimates. We
                               continue to believe that visibility on a long-term EPS CAGR at least in the mid-teens is strong,
                               driven by an exceedingly deep abbreviated NDA (aNDA) pipeline (inclusive of Par, which has over
                               110 aNDA’s pending) and a brand business that in our view has a number of attractive growth
                               drivers (i.e., Belbuca, which has an FDA action date of 10/23/15; Xiaflex in Peyronie’s disease
                               (PD), with potential upside from expansion opportunities). Given these dynamics, ENDP in our
                               view is trading at an attractive risk/ reward profile in the context of a 2016E P/E of 14x our 2016
                               pro forma EPS estimate. We reiterate our Overweight rating and are lowering our PT to $113 from
                               $117 (reflecting modest estimate revisions).

                               Another strong quarter for the generics business. Organic sales growth for the U.S. generics
                               segment totaled 24% over 2Q14 (excluding the Lidoderm authorized generic as well as

92
     Piper Jaffray, “Solid 2Q; Xiaflex and Generics Leading The Way; Reiterate Overweight,” August 10, 2015.


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                      acquisitions, and also bearing in mind that pricing action for select products in 2Q15 temporarily
                      pressured revenue due to rebating and stocking adjustments). The generics pipeline for the base
                      business (i.e., excluding Par) continues to grow, with ENDP planning on 6 additional abbreviated
                      (aNDA) filings this year. Management noted that the pipeline, excluding Par, consists of around 90
                      development programs, with a significant majority being pending aNDA’s (and ENDP suggested
                      that most of these filings will be approved and launched over the next three-four years).

                      Solid growth for Xiaflex in PD. Total Xiaflex sales were $40M, up from $28M in 1Q15.
                      Importantly, ENDP noted that there were 6,900 vials sold in the PD setting, compared to 6,300
                      vials in 1Q15 (there were also another 6,200 vials sold in the Dupuytren’s contracture (DC) setting,
                      compared to 5,900 in 1Q15). Regarding label expansion opportunities, ENDP noted that it is
                      planning to initiate Phase IIb studies in frozen shoulder syndrome (FSS, also known as adhesive
                      capsulitis) and cellulite before the end of 2015. Recall that earlier this year, ENDP announced that
                      it would move forward in a subset of more severe cases of FSS given that it saw mixed results in a
                      prior Phase II study in a broader FSS population (mainly a high placebo response).

                      Additional color on Stendra; a potential longer-term upside driver in our view. Stendra
                      prescriptions (Rx) in 2Q15 generally have stabilized at around 3,400 per week, per IMS, as ENDP
                      has worked to recalibrate promotional efforts surrounding the product. We believe the focus on
                      more aggressive direct-to-consumer (DTC) promotion is logical and should drive significant
                      volume growth over time, bearing in mind that the erectile dysfunction treatment landscape is
                      essentially a consumer-driven setting (that said, our model reflects minimal contribution from
                      Stendra).

                      RISK TO ACHIEVEMENT OF PRICE TARGET
                      Risks include additional generic threats and merger integration risk.

               RBC published a report prior to the Company’s conference call, noting that quarterly revenue and earnings beat
               consensus estimates, “driven by lower gross profit (-$0.04), lower spending (+$0.10), lower tax rate (+$0.07) and




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                    higher share count (-$0.05).” According to RBC, the quarter was viewed “more as an event to get past given some
                    near-term swing factors”:93

                           ENDP reported 2Q revenue and EPS of $735 million and $1.08 versus consensus of $727 million
                           and $1.01. The company also reaffirmed the full year outlook for revenue of $2.9-3.0 billion
                           (Street $2.96 billion) and EPS of $4.40-4.60 (Street $4.51). Relative to our forecasts, results were
                           driven by lower gross profit (-$0.04), lower spending (+$0.10), lower tax rate (+$0.07) and higher
                           share count (-$0.05) as ENDP reflected the weighted average impact of the recent Par related equity
                           offering rather than adjusting out. Heading into 2Q, expectations were low and based on call
                           volume leading in we sensed that many were viewing the quarter more as an event to get past given
                           some near-term swing factors. Specifically, this quarter (i) absorbed anticipated shelf stock
                           adjustments within generics (estimate a $0.10-15 EPS headwind) that reverses in 2H2015; (ii) saw
                           solid Xiaflex revenue that had seemingly de-coupled from more muted performance suggested by
                           IMS; (iii) saw lower spend than we had thought given several targeted initiatives (i.e., Stendra
                           S&M campaign etc.); and (iv) absorbed the recent equity financing. As we look ahead, P&L
                           support could come from the absence of competition on Voltaren Gel, the near-term closing of Par
                           with better clarity on proforma outlook and what we expect will be a louder message around an
                           interest in pursuing more branded M&A with balance sheet capacity re-emerging post Par close
                           (and AMS proceeds have been received).

                           Separately, and after ENDP’s results hit, MYL announced that it has launched a generic version of
                           Lidoderm. Additional competition here had been built into our model and guidance; however,
                           given the lingering lack of an approval we and most of the Street had been viewing it more as
                           another anticpated [sic] 2H2015 upside driver and that will now not happen. ENDP reported brand
                           revenue sales of Lidoderm (it also sells an AG) of $30 million in 2Q. We estimate that each $10
                           million of lost revenue equates to ~$0.04 of EPS. While it will eliminate a short-term upside
                           opportunity, there were three known generics looking to enter with the only remaining hurdle being
                           a final FDA approval.

93
 RBC Capital Markets, “ENDP posts 2Q upside with reaffirmed FY outlook but new Lidoderm competition a curve ball; CC at 8AM ET,”
August 10, 2015, 8:15 AM.


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                       In another report published after the Company’s conference call, RBC wrote that the Company “delivered upside on
                       the top and bottom line with reaffirmed outlook.” These results “combined with MYL’s generic Lidoderm approval
                       remove[d] two important headwinds,” according to RBC. The analyst noted that its “standalone and proforma
                       forecasts [for Endo] are little changed”:94

                               Our view: ENDP’s 2Q delivered against low expectations which combined with MYL’s generic
                               Lidoderm approval remove two important headwinds. From here we see (i) several important P&L
                               drivers setting up nicely (ii) potential FDA approvals inflection that can boost sentiment around the
                               Par deal and (iii) more anticipated M&A ahead. Reiterate Top Pick rating.

                               Key points:
                               Our standalone and proforma forecasts are little changed – we model proforma EPS of $5.87, $6.96
                               and $8.03 in 2016–18E. The quarter delivered upside on the top and bottom line with reaffirmed
                               outlook for both standalone and aspirational proforma accretion in 2016E and 2017E. This is
                               important as we move past 2Q where expectations were low and some moving parts absorbed (i.e.,
                               ~$0.12 of generic largely one-time shelf stock impact). And while the MYL launch on generic
                               Lidoderm clipped a 2H2015 upside opportunity, the DCF impact is minimal. As we move into
                               2H2015, several upside drivers begin to emerge but we expect focus to shift to 2016E and 2017E
                               where we still think Street forecasts can move higher.

                               Par is now expected to close in 3Q2015 and proforma outlook was reaffirmed. The aspirational
                               accretion of 15% and 20% in 2016–17E imply EPS of ~$6.00 and >$7.00 implying valuation of
                               ~14x and 12x. Importantly, we’re seeing continued evidence of an inflection in ANDA approval
                               activity which is a key theme we have been highlighting. That has potential to reverse negative
                               Street sentiment around ENDP’s move on Par with the combined company set to have the third
                               largest ANDA pipeline, most US generic revenue at ~66% among mid/large cap specialty and one
                               of the sector’s lowest valuations.


94
     RBC Capital Markets, “Robust 2016+ outlook forming; we would be buyers on solid risk/reward path,” August 10, 2015.


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                               M&A upside is again set to become a focus with branded asset targets reintroducing an important
                               catalyst in the stock. At the end of 2015, ENDP will be 4.1x levered on our numbers leaving about
                               two turns of balance sheet capacity (~$1.6 billion in AMS proceeds has been received). That means
                               $4–5 billion of capacity (plus levering up target or issuing equity which it has on its last three
                               deals). Each $2 billion in deployment can add ~$0.55 in EPS upside or roughly 9% which will
                               once again re-introduce an important upside opportunity that will get more focus.

                               Upcoming catalysts – several near-term things to focus on. First, Par is now expected to close in
                               3Q and we continue to expect September. Second, the Belbuca approval and label update expected
                               on the 10/23 PDUFA with an early 2016 launch likely. Finally, potential M&A should pickup
                               again particularly after the Par deal closes. Additional things to focus on (i) OPANA ER generics
                               decision and (ii) potential deal extension on Voltaren Gel with NVS/GSK (and whether or not a
                               generic is part of the Par divestiture – if not, it is a positive sign).

                       UBS did not “expect much of a change [in the price of Endo stock] off the qtr alone.” UBS characterized the quarter
                       as “in line,” with the EPS beat “driven primarily by a lower tax rate.” The analyst commented that the “good news
                       was that the generics biz continues to be strong and the OUS biz had another solid qtr. However, the brand biz was a
                       little weak”:95

                               What’s new? EPS of $1.08 vs. UBSe of $1.04 and Street of $1.01
                               Revenues beat the Street (+$9M) and in line with our forecast, with major sales variances in
                               Lidoderm (+$10M), Percocet (-$7M), Voltaren Gel (+$11M), Xiaflex (-$7M), and other brand revs
                               (-$11M). EPS was above the Street (+$0.09) and beat our forecast by $0.04, driven primarily by a
                               lower tax rate (-4.2%). Mgt maintains 2015 guidance, excluding Par, of $2.90-3.00B for revenues
                               and $4.40-4.60 for EPS.

                               Our takeaway: Basically an in line quarter
                               The good news was that the generics biz continues to be strong and the OUS biz had another solid
                               qtr. However, the brand biz was a little weak. The Lidoderm upside was one-time, while we are

95
     UBS, “Solid Quarter,” August 10, 2015.


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                               not sure what drove the variances for Percocet and Voltaren. We would expect that investors will
                               focus on the Xiaflex weakness, as many still question the Auxilium transaction. We look for more
                               commentary on the brand biz on the call.

                               Thoughts on the stock: Wouldn’t expect much of a change off the qtr alone
                               The sector has been in a correction for the past week so it’s difficult to know whether this weakness
                               will persist.

                               Valuation: We maintain our Buy rating and PT of $100
                               Our price target of $100 is based on P/E of ~14x our 2017E EPS of 6.90.

                        UBS published another report after the Company’s conference call, summarizing the Company’s update on the Par
                        acquisition, its Generic business, and its pain medication, Opana ER:96

                               What we learned on the conference call
                               (1) The Par deal should close by the reporting of 3Q15 results, and the divestitures of the <10
                               products shouldn’t have a material impact on the guidance of double double-digit revenue growth
                               for the overall biz with Par and of mid-teens and ~20% accretion in 2016 and 2017, respectively.
                               (2) In the Generic Biz, the legacy business grew double digits YOY (+24% YTD), driven by price
                               and volume, and we think it is on track to grow double-digit in 2015. As expected, 2Q generic GM
                               was down 700 bps seq to ~50% (vs. 57% in 1Q15) as a result of the shelf stock adjustments (we
                               assume $15-20M hit to sales) for the reported price hikes. 2015 guidance includes another generic
                               Lidoderm entrant in 2H, and so Mylan’s approval is in line with mgt’s expectation. (3) Re Opana
                               ER, after its June FDA meeting, Endo expects to submit by early 2016 a supplemental request for a
                               label change to add abuse deterrent formulation claims. If it succeeds, we are likely to see
                               meaningful upside to the Street sales numbers.

                               Additional takeaways: (4) On Xiaflex, it was good to see shipped vials grew sequentially, with
                               6,900 (vs. 6,300 in 1Q15) vials shipped for Peyronies and 6,200 (vs. 5,900) vials for Dupuytren’s

96
     UBS, “Still Positive On Endo,” August 10, 2015.


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                           Contracture. Demand in April and May was slower as Endo implemented commercial changes and
                           reimbursement process updates as part of the Auxilium integration, but demand rebounded in June
                           after these changes. Barring the summer seasonality, Endo expects strong growth for the remainder
                           of the year. Through June, there were ~2135 physicians and 9,800 cumulative patients enrolled in
                           Endo’s reimbursement program. Additional studies in cellulite and adhesive capsulitis remain on
                           track to start by end of 2015. Mgt could size these studies for registrational submission. Endo is
                           still in dialogue with the FDA on an endpoint for cellulite.

                           Thoughts on the stock: We still like ENDP
                           Once investors gets [sic] more comfortable with the Par deal and mgt’s ability to drive earnings
                           growth with synergies, tax structure, and more M&A we would expect the stock to move up higher.

                           Valuation: We maintain our Buy rating and PT of $100
                           Our price target of $100 is based on P/E of ~14x our 2017E EPS of 7.00.

                    William Blair published a report prior to the Company’s conference call, writing that Endo reported quarterly
                    revenue above its estimate “primarily due to the branded pharmaceuticals business (and last year’s Auxilium
                    Pharmaceuticals acquisition).” Adjusted EPS was “slightly below” the analyst’s estimate. William Blair also noted
                    that the Company had “maintained 2015 full-year guidance,” which “excludes the impact of preclosing financing
                    activities related to the acquisition of Par Pharmaceuticals”:97

                           On Monday, August 10, Endo International reported second-quarter earnings. Total revenue was
                           reported at $735.2 million, up 5% year-over-year, which was above both consensus of $726.5
                           million and our estimate of $728.8 million. Net income for the second quarter was $226 million,
                           which was also above both consensus of $184.6 million and our estimate of $195 million, aided by
                           a non-GAAP increase of $22 million due to adjustments related to the AMS business including
                           litigation charges related to vaginal mesh cases. Non-GAAP EPS were $1.08, which was above the
                           consensus estimate of $1.02 and slightly below our estimate of $1.09.

97
 William Blair, “Quick Take on Second Quarter; EPS Beat Due to Auxilium Integration, Looking for More Details on Par, Future M&A,”
August 10, 2015.


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                 The top-line upside was primarily due to the branded pharmaceuticals business (and last year’s
                 Auxilium Pharmaceuticals acquisition) that came in at $316 million, up 36% year-over-year, and
                 significantly above both the consensus estimate of $309.9 million and our estimate of $283 million.
                 The pain franchise reported revenue of $156.7 million, above both consensus of $151.2 million and
                 our estimate of $143 million. The Xiaflex franchise continues to do well in the hands of Endo,
                 reporting $40 million in revenue, above our estimate of $36 million. Non-GAAP operating
                 expenses included a 63% gross margin ($272 million in COGS), with R&D costs of $17 million,
                 below both consensus of $23.6 million and our estimate of $22 million. SG&A costs came in at
                 $148 million, slightly above both consensus of $145.7 million and our estimate of $142 million.
                 The company’s non-GAAP tax rate in the quarter was 6.8%, which was aided by tax savings
                 acquired from tax attributes and an adjustment to include a tax benefit resulting from the expected
                 realization of deferred tax assets related to certain components of the AMS business.

                 The company maintained 2015 full-year guidance with total revenue anticipated between $2.9
                 billion and $3 billion and non-GAAP EPS expected to be between $4.40 and $4.60. The
                 company’s top- and bottom-line guidance is based on a non-GAAP gross margin between 64% and
                 65%, non-GAAP operating expenses as a percentage of revenues between 23% and 24%, non-
                 GAAP interest expense of about $310 million, non-GAAP tax rate between 13% and 14%, and
                 diluted shares outstanding of approximately 180 million. It is important to note that the 2015
                 guidance excludes the impact of preclosing financing activities related to the acquisition of Par
                 Pharmaceuticals.

                 Before the markets opened Monday, May 18, Endo International announced an agreement to
                 acquire privately held Par Pharmaceutical Holdings from the private equity player TPG for a total
                 enterprise value of $8.05 billion. Endo anticipates the deal to be accretive to non-GAAP diluted
                 earnings per share within the first 12 months (close expected in second half of 2015) with double-
                 digit accretion expected in 2016. Given the size of the transaction, management noted that large
                 deals will likely not occur until the company works down debt to the targeted 3-4 times net-debt-to-
                 EBITDA range within 12-18 months; however, smaller $300 million to $1 billion deals are still
                 possible until those target leverage ratios are reached.



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                       The next day, William Blair published a report stating that the Company “continue[d] to expect the [Par] acquisition
                       to drive double-digit CAGR for pro forma revenue in the near to midterm,” and “be accretive to adjusted diluted EPS
                       within the first 12 months”:98

                               Before the open on Monday, August 10, Endo International hosted its second-quarter earnings call.
                               Overall, the call centered on the organic growth drivers for the company in its three core areas of
                               branded pharmaceuticals, generics, and international pharmaceuticals as well as the impact of the
                               company’s agreement to acquire Par Pharmaceuticals for $8.05 billion and completion of the
                               divestiture of the AMS Men’s and Prostate Health business to Boston Scientific (BSX $17.33).

                               On the call, management highlighted the Par Pharma acquisition building on the company’s
                               Qualitest business to create a top 5 U.S. generics business as measured by sales. Endo continues to
                               expect the acquisition to drive double-digit CAGR for pro forma revenue in the near to midterm.
                               On the bottom line, the acquisition is expected to be accretive to adjusted diluted EPS within the
                               first 12 months, with midteens percentage accretion to adjusted diluted EPS in 2016 and
                               approximately 20% accretion to adjusted diluted EPS in 2017. The acquisition is expected to close
                               prior to third quarter 2015 reporting, with discussions with the FTC yielding an expectation to
                               divest less than 10 products/projects with no expected material impact. Endo has completed the
                               financing required to make the acquisition with a registered offering of $2.3 billion in June,
                               placement of a 6% senior note offering totaling $1.635 billion in July (and redeeming roughly $500
                               million of two series of 7% senior notes due in 2019), and commitments for $3.8 billion of new
                               senior secured credit facilities in July. By our estimates, pro forma net-debt-to-LTM-EBITDA will
                               be approximately 4.4 times, decreasing to 4 times by the end of 2015 (with a 3-4 times net debt
                               leverage ratio anticipated by mid-2016, allowing the company financial flexibility to execute on its
                               M&A strategy).

                               For the branded franchise contribution to organic growth, Xiaflex performance was in line with
                               company expectations with about 67% year-over-year growth in demand vials (roughly 6,900 vials

98
     William Blair, “Post-Call Update; Par Acquisition Increases Pro Forma Long-Term Outlook to Double-Digit Growth,” August 11, 2015.


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                            in Peyronie’s disease and roughly 6,200 vials in Dupuytren’s contracture). On a go-forward basis,
                            the company looks to optimize the reimbursement process and salesforce execution to continue the
                            growth trajectory. This includes building on Peyronie’s disease treatment guidelines that support
                            Xiaflex treatment and the label expansion for recurrence and retreatment data in Dupuytren’s
                            contracture. The generic pharmaceuticals franchise was helped by incremental revenues from Boca
                            Pharmacal, DAVA Pharmaceuticals, and strong Lidoderm authorized generic sales. Price increases
                            that were taken in the second quarter came with associated penalties (responsible for a decrease in
                            gross margins of about 700 basis points from the first quarter). Endo’s generic business is also on
                            track to meet its guidance of six ANDAs filed in 2015. The international business was affected
                            slightly by the strong U.S. dollar, but should be bolstered in the second half of the year by the
                            closing of the Aspen holdings transaction in the third quarter and the divestiture of device, vaccine,
                            and additional noncore product lines from the Litha Group. Overall, the company has guided to pro
                            forma long-term growth of double digits for the overall business (above the 2015 guidance of high-
                            single- to low-double-digit organic growth).

                     Following the Company’s disclosures on August 10, 2015, according to Bloomberg, the average of analysts’ price
                     targets for Endo stock decreased to $102.00 from $102.42, or -0.41%. All 17 analysts who published investment
                     ratings for the Company both before and after the earnings announcement maintained their ratings. (See Exhibit 5C.)

                     Remark: Given that: (i) the Company’s quarterly revenues “were in-line with expectations,” while EPS topped
                     consensus expectations “driven by operating expense discipline … and a lower-than-expected tax rate”;99 (ii) the
                     Company reaffirmed its full-year 2015 guidance (excluding Par), and “expect[ed] to update … guidance following
                     the close of Par acquisition to include both operating and financing effects”;100and (iii) analysts’ “standalone and



99
  JP Morgan, “EPS Beat Driven By Expense Mgmt; Generic Commentary Reassuring - ALERT,” August 10, 2015. See also, e.g., Leerink,
“Inline 2Q + Guide; Encouraging Signs From Gx’s and Peyronie’s Uptake, PT to $96,” August 10, 2015; UBS, “Solid Quarter,” August 10,
2015.
100
   Thomson Reuters, StreetEvents, “ENDP – Q2 2015 Endo International PLC Earnings Call, EVENT DATE/TIME: AUGUST 10, 2015 /
12:00PM GMT,” August 10, 2015, 8:00 AM.


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                       proforma forecasts [were] little changed” following the Company’s quarterly results,101 the statistically insignificant
                       Company-specific return on August 10, 2015 is consistent with that expected in an efficient market.

         11/5/2015     Before market open on Thursday, November 5, 2015, the Company reported its third-quarter 2015 financial results.
                       For the quarter, Endo reported revenue of $745.7 million, adjusted net income of $214.1 million, and adjusted EPS of
                       $1.02.102

                       The consensus estimates of quarterly revenue and adjusted EPS were $736.1 million and $0.99, respectively.103

                       De Silva commented on the Company’s quarterly performance:104

                              Our diversified business delivered solid financial results this quarter and was further strengthened
                              by our completed acquisition of Par Pharmaceutical Holdings, Inc. As we continue to execute on
                              our strategy of organic growth, de-risked pipeline development and creating shareholder value
                              through accretive, strategic M&A, we believe Endo is positioned for overall double-digit revenue
                              expansion over the mid- to long-term .… Fundamentally, our business is more diversified and well
                              positioned financially and strategically. Following the recent FDA approval of BELBUCA(TM),
                              we are conducting a strategic portfolio optimization process to expand our pain sales force and
                              reallocate resources across key growth products in our U.S. Branded Pharmaceuticals business.
                              Moving forward, we remain focused on execution and value creation activities: the integration of
                              Par, driving growth for our priority branded products, growing our international presence and
                              strategic M&A.

101
   RBC Capital Markets, “Robust 2016+ outlook forming; we would be buyers on solid risk/reward path,” August 10, 2015. See also, e.g.,
Leerink, “Inline 2Q + Guide; Encouraging Signs From Gx’s and Peyronie’s Uptake, PT to $96,” August 10, 2015; Morningstar, “Auxilium
Deal Continues to Help Endo Meet Expectations,” August 10, 2015; Piper Jaffray, “Solid 2Q; Xiaflex and Generics Leading The Way;
Reiterate Overweight,” August 10, 2015.
102
      PR Newswire, “Endo Reports Third Quarter 2015 Financial Results,” November 5, 2015, 6:30 AM.
103
      Bloomberg, “Endo 3Q Results Beat, Reaffirms Yr Views; to Realign US Branded,” November 5, 2015, 6:44 AM.
104
      PR Newswire, “Endo Reports Third Quarter 2015 Financial Results,” November 5, 2015, 6:30 AM.


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                       The Company also announced that it had taken charges for asset impairments:105

                              During the third quarter of 2015, the Company recorded $240 million of pre-tax, non-cash
                              impairment charges related to intangible assets. This included a $150 million charge that was
                              triggered by underperformance of STENDRA(R), NATESTO(TM), and Testim(R) and the
                              expectation of lower future cash flows for these products as Endo prioritizes future investments
                              across other products. In addition, the Company identified impairment indicators on certain other
                              indefinite and finite-lived intangible assets based on third quarter decisions to reprioritize certain
                              product portfolios and in-process research and development programs primarily across the
                              Company’s legacy Qualitest business assets. This assessment resulted in a combined additional
                              pre-tax non-cash impairment charge of approximately $90 million.

                              As a result of the sustained downturn in the TRT market and the underperformance of
                              STENDRA(R), the Company initiated an interim goodwill impairment analysis of our Urology,
                              Endocrinology and Oncology (UEO) reporting unit as of September 30, 2015 and recorded an
                              estimated pre-tax, non-cash impairment charge of $680 million representing the difference between
                              the estimated implied fair value of the UEO reporting unit’s goodwill and its respective net book
                              value.

                              The pre-tax, non-cash impairment charges are partially offset by $80.3 million of income
                              recognized during the third quarter related to a reduction in the fair value of contingent cash
                              consideration liabilities.

                       The Company also reiterated its full-year 2015 guidance:106




105
      Ibid.
106
      Ibid.


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                                                                           Current Guidance             Previous Guidance107
                               Total revenue                               $3.22 – $3.27 billion        $3.22 – $3.27 billion
                               GAAP EPS                                    $(3.70) – $(3.60)            ---------
                               Adjusted EPS                                $4.50 – $4.60                $4.50 – $4.60
                               Adjusted gross margin                       64%                          64%
                               Adjusted operating expenses as % of rev.    21.5%                        21.5%
                               Adjusted interest expense                   $375 million                 $375 million
                               Adjusted effective tax rate                 9% – 10%                     9% – 10%

                        Prior to the Company’s quarterly announcement, the consensus estimates of revenue and adjusted EPS for 2015 had
                        been $3.27 billion and $4.56, respectively.108

                        The same day, before market open, the Company held a conference call with investment analysts.109

                        Canaccord wrote the Company “reported a decent Q3,” as both revenue and EPS were ahead of consensus. The
                        analyst further commented that “it is perhaps not surprising that the [Company’s] stock was off as much as 17%,”
                        given “a very large $924M asset impairment charge,” as well as dashed expectations “that Endo would raise its 2015
                        guidance”:110

                               Endo reported a decent Q3 -- revenue came at $745.7M, beating our estimate of $741.3M and
                               consensus of $737.6M. EPS was $1.02, ahead of our/consensus $0.93/ $1.00. Both the US branded
                               and Gx businesses were strong, posting y/y growth of 27% and 15% respectively. With the
                               impending launch of Belbuca in 1Q2016 and addition of two new potential indications to the

107
   Dow Jones Institutional News, “Press Release: Endo Completes Acquisition of Par Pharmaceutical and Provides Financial Guidance,”
September 28, 2015, 6:30 AM.
108
      Bloomberg, “Endo 3Q Results Beat, Reaffirms Yr Views; to Realign US Branded,” November 5, 2015, 6:44 AM.
109
    Thomson Reuters, StreetEvents, “ENDP – Q3 2015 Endo International PLC Earnings Call, EVENT DATE/TIME: NOVEMBER 05, 2015
/ 1:30PM GMT,” November 5, 2015, 8:30 AM.
110
      Canaccord Genuity, “Q3: Xiaflex needs to flex,” November 8, 2015.


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                 Xiaflex pipeline (lateral hip fat and plantar fibromatosis), Endo will reallocate resources to growing
                 products - Opana ER, Supprelin LA, Voltaren Gel, Xiaflex, Belbuca, Aveed and Testopel.

                 Highlights
                 $924M in asset impairment charges. Endo is planning to release a more complete explanation on
                 Monday. One major reason the stock was down so much on Thursday after it reported its Q3 had to
                 do with a very large $924M asset impairment charge, which many incorrectly assumed was entirely
                 due to the Auxilium acquisition that just closed Jan. 29, 2015 for $2.6B. So on the surface, it
                 appeared that less than one year later, Endo was writing off 35% of an acquisition, leading to fears
                 that they were starting to overpay for assets and that the deal model was broken, etc. And in the
                 environment we are currently in, it is perhaps not surprising that the stock was off as much as 17%
                 on Thursday. On top of that, we surmise that Endo would raise its 2015 guidance, which it did not.
                 But the stock now seems to have largely recovered.

                 Breaking down the $924M impairment. But upon further examination, only a fraction of that
                 $924M asset impairment charge related to Auxilium. There are two components of the impairment:
                 1) intangible asset write-down of $240M, and 2) goodwill impairment. Of the $240M, $150M was
                 from the three drugs that have been underperforming –Testim and Stendra (from Auxilium) as well
                 as Natesto (from Trimel). The remaining $90M was from Qualitest and Par and discontinuing
                 certain generic products. The goodwill impairment was $680M. Anytime the value of an asset
                 goes down, there is a corresponding impairment to goodwill (difference between the new fair value
                 and the book value established at the time of the acquisition). Part of this calculation also has to do
                 with stock price actions during legacy transactions. Goodwill is carried on the balance sheet as an
                 asset (Endo has about $8B). Hence a reduction in goodwill requires recording as an expense (albeit
                 noncash). We will learn more about this on Monday, but nothing seems that alarming to us given
                 that Stendra and Testim were never the crux of the Auxilium acquisition.

                 Valuation/risks
                 Our $104 price target is derived from a standard DCF analysis through 2021 using a 10% discount
                 rate and a 2% terminal growth rate. Risks include: failure to realize synergies from the Par




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                             transaction, failure for products growth to stabilize, and/or failure to see strong launch from
                             Belbucca.

                      Cowen wrote that the Company reported revenues and EPS “in line with the Street’s estimates.” However, the
                      analyst warned that “Endo has now found itself at a size and scale that they will eventually need to find and pivot to
                      higher quality assets to justify a higher market capitalization,” but “it will be even more challenging for Endo (with
                      its disadvantaged balance sheet and scale) to complete future value creating transactions.” The analyst maintained its
                      rating for the Company and “believe[d] ENDP shares [were] fairly valued”:111

                             Endo now finds itself at a size and scale where they will eventually need to pivot to higher quality
                             assets to justify further appreciation. Unfortunately, we believe that they will likely continue to
                             compete for assets that larger, better financed companies would also want, which will likely
                             preclude their ability to move upstream. Hence, we remain at Market Perform.

                             Future Value Creation Will Continue To Remain Difficult
                             Endo reported Q3 results with revenues of $746MM and EPS of $1.02 that was in line with the
                             Street’s estimates. More importantly, with the Par transaction now closed, we now contemplate the
                             potential next steps for this company. First we would note that Mallinckrodt’s and AMAG’s recent
                             purchase of services businesses (Therakos and Cord Blood Registry, respectively) and Endo’s
                             purchase of Par (another generics business rather than a branded business) also suggest that it is
                             becoming more challenging to find quality assets that align with the core operations of the
                             acquiring company. Stated more clearly, it appears that with the increasingly limited availability of
                             quality assets, it will be even more challenging for Endo (with its disadvantaged balance sheet and
                             scale) to complete future value creating transactions. Although certainly not expensive, we believe
                             ENDP shares are fairly valued at these levels.

                             Our Previous Thesis Is Unchanged: Endo Is At A Unique Point In Time
                             Endo is at a unique point in the company’s evolution. Management has executed exceedingly well
                             in adding to its cash flow generative platform with a variety of assets, as well as acquiring a tax-

111
      Cowen & Company, “Thesis Remains Unchanged,” November 5, 2015.


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                               advantaged status. They have taken lemons and made some semi-sweet lemonade. However, we
                               would note that this business model has now been well-defined by a variety of specialty
                               pharmaceutical companies that had fairly low quality assets and duration issues with their own core
                               portfolio – and out of necessity – were able to somewhat diversify via aggressive acquisitions.
                               However, Endo has now found itself at a size and scale that they will eventually need to find and
                               pivot to higher quality assets to justify a higher market capitalization. And unfortunately, we
                               believe that they will likely continue to compete for assets that larger and better financed companies
                               would want, which will likely preclude their ability to move more upstream. This means that the
                               story could end with a flat stock that continues to buy more assets that simply fill a temporary void
                               ahead of the decline of both their core portfolio and previously purchased short duration products.
                               This can become a vicious (or at least a painful and drawn out) cycle, to buy and replace, with little
                               NPV gain.

                        Deutsche Bank wrote that “ENDP shares were weak today following 3Q results, which we would characterize as ok
                        but not great.” The analyst noted that the Company’s revenues were “just above” its estimate, while EPS missed.
                        According to the analyst, “the quarter was marred by impairment charges related to several assets (including Stendra,
                        Testim, and Natesto), which have continued to underperform relative to expectations.” Deutsche Bank reduced its
                        2016 and 2017 EPS forecasts for the Company and cut its price target to $84 from $88:112

                               Trimming estimates and PT to $84; maintain Buy
                               ENDP shares were weak today following 3Q results, which we would characterize as ok but not
                               great. EPS missed our estimate ($1.02 vs. $1.09) but beat consensus ($0.99), and we note that
                               revenue came in just above our estimate (and consensus). Another solid quarter for US Generics
                               drove the top-line upside relative to our model, and more than offset lower US Branded and
                               International sales. Disappointingly, the quarter was marred by impairment charges related to
                               several assets (including Stendra, Testim, and Natesto), which have continued to underperform
                               relative to expectations. On the positive side, management expressed confidence in the key growth
                               drivers for 2016, including generic launches out of Par’s pipeline, continued Xiaflex uptake, and the
                               launch of Belbuca, and reiterated its financial targets for 2015-16. We trimmed our estimates and

112
      Deutsche Bank, “3Q not great, but sell-off looks way overdone,” November 5, 2015.


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                              PT to $84 (from $88) based largely on lower US Branded sales. We are sticking with our Buy
                              rating as we continue to believe that ENDP is well positioned for strong revenue and earnings
                              growth over the next several years with the recent Par acquisition.

                              Model changes
                              We updated our model following 3Q results (our estimates are subject to change following ENDP’s
                              10-Q filing). We lowered our revenue estimates in 2016+ by ~2% based on lower US Branded and
                              International sales, partially offset by higher sales for US Generics. We also tweaked up our gross
                              margin assumptions. These changes took our 2016E EPS to $5.80 (from $5.86) and 2017E EPS to
                              $6.81 (from $7.00).

                       Gabelli wrote that “Endo reported Q3 results slightly ahead of expectations,” but “the stock faced heavy selling
                       pressure throughout the day.” The analyst “believe[d] that concerns about Valeant have contributed to Endo’s
                       weakness.” Gabelli added that asset impairment charges “likely also contributed to concerns about Endo’s M&A
                       approach.” The analyst maintained its 2015 adjusted EPS forecast for the Company:113

                              On November 5, 2015, Endo reported Q3 results slightly ahead of expectations including revenue
                              of $746M (+14%) and adjusted EPS of $1.02 (vs. $1.03). However, the stock faced heavy selling
                              pressure throughout the day, closing down $8.79 per share (-15%). We view this as a buying
                              opportunity.

                              Business remains healthy. Stronger than expected results for generics (+24% underlying) and US
                              brands (+1% underlying ex-Lidoderm) helped offset weaker sales internationally (-22%). The
                              acquisition of Par will add to generic growth beginning in Q4, while the brand business will benefit
                              from the upcoming launch of Belbuca and a restructuring of the sales force to focus on growth
                              products like Xiaflex. Earnings for the quarter were also aided by a lower-than expected effective
                              tax rate of 1.1%.



113
      Gabelli & Company, “Sum of Parts Says Endo Oversold,” November 6, 2015.


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                      Shares continue to slide. Despite the strong results and reaffirmed guidance, ENDP shares
                      approached a 52-week low. The moniker of “mini-Valeant” that has gone from an accolade to an
                      insult, and we believe that concerns about Valeant have contributed to Endo’s weakness. Asset
                      impairment charges of $924M related to poor performance of products like Stendra and several
                      testosterone therapies likely also contributed to concerns about Endo’s M&A approach. These
                      concerns are reasonable, but we believe that the market does not appreciate that the Par acquisition
                      has transformed Endo from a specialty pharma company with a generics business into a generics
                      company with a branded business. We believe that Par provides Endo with a platform and pipeline
                      for growth without relying on recent taboos like “branded price increases” and “specialty
                      pharmacies.”

                      Outlook for 2015 and 2016. We continue to expect adjusted EPS of $4.55 in 2015, growing to
                      $6.05 per share in 2016 due to the contribution of Par. Both estimates are in-line with the midpoint
                      of Endo’s adjusted EPS guidance ($4.50-4.60 in 2015 and $5.58-6.15 for 2016). Longer term, we
                      believe that Endo can grow revenue at 8-9% annually while growing adjusted EPS at 15-20%
                      annually through the end of the decade.

                      Continue to recommend. With two-thirds of sales expected to come from generics and no single
                      product accounting for more than 6% of sales, we believe that Endo is positioned for growth even
                      without aggressive M&A. With a total enterprise value of just under $21B (including debt and
                      mesh legal liabilities), Endo trades at 13.7x generic EBITDA of $1.5B in 2016. Even if we include
                      all corporate costs (~$125M), Endo would trade at just under our 15x EBITDA valuation multiple
                      for the generic business in 2016. At the current stock price, investors can buy ENDP for the fair
                      value of the combined Endo/Par generics business and get the entire branded business (US and
                      international) for free. We believe that this provides a significant margin of safety for investors
                      worried about Endo being a “mini-Valeant.” ENDP currently trades at 9.7x 2016 EBITDA, 8.5x
                      2016 adjusted EPS, and a 55% discount to our 2016 PMV of $115 per share.

               Guggenheim wrote that the Company announced “an in line 3Q15,” but that the market “appeared disappointed that
               ENDP wrote down some assets.” The analyst also “believe[d] part of the sell-off can be attributed to broader
               headlines in the healthcare sector today (LCI [NC, $46.16], VRX [BUY, $91.98]).” Guggenheim made no changes



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                       to its 2015 and 2016 EPS estimates for the Company following quarterly EPS that were higher than consensus
                       estimates:114

                              Don’t throw this one out with the rest of pharma: ENDP shares are weaker than expected post an in
                              line 3Q15 (down 14%, S&P500 flat). The Street appeared disappointed that ENDP wrote down
                              some assets and we believe part of the sell-off can be attributed to broader headlines in the
                              healthcare sector today (LCI [NC, $46.16], VRX [BUY, $91.98]). We think concerns regarding the
                              write-downs and read-throughs from other companies are overdone. ENDP now trades below 9x
                              forward P/E, which is even lower than MYL (NEUTRAL, $46.58) at 9.5x, and we believe there is
                              far less execution risk to get ENDP to work. Therefore, we remain positive on ENDP shares post
                              3Q15 results. We continue to believe ENDP has set the stage for better-than-expected growth in
                              ’16+ driven by Xiaflex (existing and new indications), Belbuca, and the generics business. We
                              anticipate brand-focused M&A to enhance ENDP’s overall growth profile. This could be funded
                              through a larger and growing EBITDA base. We expect pro forma EBITDA of $2B+ in ’16 and
                              leverage to come down to 3x-4x by mid-’16. We think ENDP could lever up to 5x-6x for the right
                              deal, which suggests a capital structure that could support at least $5B worth of additional
                              transaction(s).

                              3Q15 positives that support our thesis: 1) Branded sales increased 27% YOY driven by Auxilium,
                              there was some Auxilium seasonality in 3Q, but sales were in line with ENDP’s internal
                              expectations; 2) Generics sales increased 15% YOY driven by launches and 9/15 acquisition of Par
                              and 8/14 acquisition of DAVA, expect 5-7 new launches in 4Q15; 3) Specialty Pharmacy only 3%
                              of revenues and no affiliations with Specialty Pharmacies; and 4) Belbuca has scheduling advantage
                              and dosing flexibility, ENDP will expand pain field force for ’16 launch.

                              No changes to our ’15 and ’16 EPS estimates. ENDP reported 3Q15 adjusted EPS of $1.02, $0.02
                              higher than consensus and $0.03 above our estimate. Our Variance Analysis has details. ENDP
                              reaffirmed its ’15 EPS guidance of $4.50 to $4.60 (we are at $4.53, consensus was $4.55). We
                              have updated our model for 3Q15 and this did not change our ’15 and ’16 EPS estimates.

114
      Guggenheim, “ENDP - BUY - 3Q15 Was PAR for the Course, But That Doesn’t Seem to Matter Today,” November 5, 2015.


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                              Upcoming Events and Catalysts. 1) Potential Voltaren gel generic ’15+; 2) Advance additional
                              Xiaflex indications; and 3) M&A.

                       JP Morgan published a report prior to the Company’s conference call, stating that “Endo reported a slight top and
                       bottom-line beat driven by continued outperformance in the generics business, while leaving 2015 guidance largely
                       unchanged.” The analyst also noted that Endo “announced that it is realigning its branded business following
                       disappointing Stendra and testosterone replacement trends throughout 2015 (which appears to be impacting shares
                       today),” and that “[a]s part of this realignment, Endo is recording two non-cash charges”:115

                              This morning, Endo reported a slight top and bottom-line beat driven by continued outperformance
                              in the generics business, while leaving 2015 guidance largely unchanged. Endo also announced
                              that it is realigning its branded business following disappointing Stendra and testosterone
                              replacement trends throughout 2015 (which appears to be impacting shares today). Although still a
                              work in progress, we see Endo’s ongoing shift to healthier growth products as a positive one and
                              remain OW on the longerterm story given very inexpensive valuation (10x 2016 EPS) and
                              significant M&A optionality over time.

                              Endo will realign branded business due to underperforming assets and focus on growth products.
                              With the recent approval of Belbuca (anticipated launch 1Q/16) and underperformance of several
                              products, Endo will reallocate resources and its sales force to focus on its growth portfolio, which
                              includes Xiaflex, Aveed, Testopel, Belbuca, Opana ER, Voltaren Gel and Supprelin LA. As part of
                              this realignment, Endo is recording two non-cash charges, including $240mm related to intangible
                              assets (largely Stendra, Natesto, and Testim) and $680mm related to the goodwill of its Urology,
                              Endocrinology and Oncology (UEO) unit (due to the downturn in the TRT market and
                              underperformance of Stendra). While Stendra and TRT trends have been disappointing since
                              Endo’s acquisition of AUXL, we ultimately see this reprioritize of focus as an appropriate one
                              given the challenging growth dynamics of these products.


115
      JP Morgan, “In-Line 3Q Results; Branded Business Execution Represents A Key Focus Moving Forward – ALERT,” November 5, 2015.


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                              Endo remains confident in longer-term Xiaflex growth. Xiaflex recorded 3Q revenues of $40mm
                              (vs. $44.5mm JPMe), which was flat sequentially and up 16% YoY. Approximately 13,900
                              demand vials shipped during 3Q (21% YoY growth), with Peyronie’s accounting for 7,500 demand
                              vials. Endo remains focused on expanding active injector base and increasing patient awareness
                              through DTC campaigns, and we will closely watch for a reacceleration of growth in the coming
                              quarters. Additionally, Endo confirmed it remains on track to initiate a phase IIb study in frozen
                              shoulder and cellulite study by year end, and recently opted in to add’l indications Lateral Hip Fat
                              and Plantar Fibromatosis.

                       In a separate report published after the Company’s conference call, JP Morgan wrote that “the quarter was not one
                       of Endo’s strongest,” but the sell-off of Endo shares was “overdone.” However, the analyst saw “a lack of near-term
                       catalysts for the stock into year-end” and “modestly” lowered its 2016 through 2018 revenue and EPS estimates and
                       cut its price target for the Company to $90 from $100:116

                              We are updating our ENDP model post the quarter, and believe today’s sell-off is overdone and
                              continue to like the Endo story longer-term. While admittedly the quarter was not one of Endo’s
                              strongest, particularly for the branded business, we think Endo will continue to shift into stronger
                              organic growth products over time, and with ongoing M&A optionality heading into 2016 and
                              shares highly inexpensive (9x our 2016E EPS), we remain OW.

                              Sell-off appears overdone; shares remain highly inexpensive on outyear EPS. Endo shares closed
                              down ~15% (Nasdaq flat) and are now down almost ~40% since September (Nasdaq +5%). In our
                              view, this sell-off is very much overdone with shares now trading at 9x our 2016E EPS. While
                              admittedly we see a lack of near-term catalysts for the stock into year-end, we continue to like the
                              2016 and longer-term story given inexpensive valuation, improving organic growth potential and
                              M&A optionality.

                              Primary inbound questions have revolved around legacy Auxilium assets. While the Xiaflex
                              number was disappointing, management is taking several steps to reaccelerate growth (additional

116
      JP Morgan, “Long-Term Thesis Remains Intact And Sell-Off Overdone; Remain OW,” November 5, 2015.


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                              resources, DTC campaign, etc.) and we continue to have confidence in the product’s longer-term
                              growth potential given its unmet need and current low penetration. Additionally, while Endo is also
                              writing down AUXL intangible assets by $150mm related to non-core assets (Stendra, Natesto and
                              Testim), we would note Endo’s goodwill impairment charge of $680mm is not as severe as it
                              appears (~50% of the charge was generated by stock price increases between the time of deal
                              announcement and closing for recent acquisitions).

                              Updating estimates. We are modestly lowering 2016-2018 revenues and EPS based on lower
                              Xiaflex assumptions, offset by continued strong cost control. Please see page 2 for a summary of
                              our estimates changes.

                       Leerink wrote that “ENDP outperformed our 3Q expectations,” but “[t]op/bottom line beats were lower quality.”
                       The analyst remarked that “part of ENDP’s stock weakness relates to ‘VRX-correlation.’” According to Leerink,
                       other reasons for Endo’s sell-off included “confusion around Xiaflex seasonality,” and “investors [who] read too
                       much into acctg impairments taken on two Auxilium brands.” The analyst “trim[med] out-year (2016-2020)
                       forecasts by ~$10-65m to reflect a more conservative near-term outlook on int’l pharma,” and decreased its price
                       target for the Company to $64 from $74:117

                              Bottom Line: ENDP’s post-3Q selloff looks overdone for two reasons: (1) confusion around
                              Xiaflex seasonality – the brand grew sales mid-teens Y/Y for the overall franchise and +33% vial
                              growth for the peyronie’s indication; (2) investors read too much into acctg impairments taken on
                              two Auxilium brands that are non-core to the story. Top/bottom line beats were lower quality, but
                              there is no fundamental change in the business as implied by today’s -14.5% decline in the stock.
                              With Par Pharma now consolidated, we forecast 4-year (2016-20E) top and bottom-line growth
                              CAGR’s of +6% and +8%. While part of ENDP’s stock weakness relates to “VRX-correlation”, we
                              view every concern cited with VRX’s Philador relationship as VRX-specific. When the dust settles
                              from VRX related concerns, we believe the valuation of ENDP is one of the most compelling in the
                              group (~9x our 2016 P/E, 10.5x forward EBIT & 12% FCF yield) based on very sustainable US


117
      Leerink, “3Q Sell-Off Overdone; Drivers Continue To Be US Gx’s, Xiaflex and Belbuca,” November 5, 2015.


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                      Gx’s and underappreciated brand growth drivers. We trim our PT to $64 (from $74) on generic mix
                      shift and to reflect the recent sector multiple re-rating.

                      What and we liked about the quarter: ENDP outperformed our 3Q expectations by $12m (sales) and
                      9c (non-GAAP EPS), driven by another solid qtr from the US generics. In 3Q, IMS data suggests
                      g-Valcyte (longer than expected limited competition), g-oxycodone and g-Potassium CL were
                      particularly strong Y/Y. As investors worry about pricing headwinds to Spec Pharma brands, we
                      believe it is important to remember that ENDP (post Par deal) will derive ~65% of its topline from
                      US generics, which is a very stable business driven by new product introductions. Unlike
                      Qualitest’s largely Paragraph 3 generic biz, the recently acquired Par Pharma brings a mix of high
                      barrier P3’s and exclusive Paragraph 4’s. We forecast a mid-single digit growth CAGR (2016-20)
                      for ENDP generics.

                      What we didn’t like in the quarter: Performance of ENDP’s int’l pharma biz declined -10%
                      (organic) driven by transitioning of certain low margin businesses and mgmt. expects a slight Y/Y
                      step-down in 2016 reflecting Litha divestiture. While the divested biz was “lower margin”
                      according to mgmt., we and consensus appeared to over-estimate revenue pot’l in 2016 by $50-
                      60m. At the margin, our old ests. assumed some modest growth of TRT and Stendra (erectile
                      dysfunction), but going forward we model growth of those brands flat to down.

                      Model changes: We trim out-year (2016-2020) forecasts by ~$10-65m to reflect a more
                      conservative near-term outlook on int’l pharma, following some rebasing items in 2015-16.
                      Longer-term, we lower peak Belbuca sales to $330m (from $380m) to more appropriately reflect
                      analog launches in the pain space. Offsetting these reductions is an increase in our US generics
                      forecast driven by our new products assumption.

               Morgan Stanley wrote that the Company’s revenue and EPS were “slightly above expectations,” and “top and
               bottom line expectations were well set heading into the quarter.” However, the analyst believed that “the asset




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                       impairment charges may come as a disappointment to investors.” The analyst also noted that “unchanged” guidance
                       “implie[d] that consensus [should] lower 4Q:15 EPS $0.03/share or -1%”:118

                              We had previously stated Xiaflex grew +3% YoY, but mgmt. noted on the call that its $40M of
                              revenues is U.S. revenues only. Auxilium disclosed U.S. revenues of $34.6M and ex-U.S. revenues
                              of $4M in 3Q:14. Based on U.S. revenues only, Xiaflex grew +16%. Endo does not disclose ex-
                              U.S. Xiaflex sales, which are imbedded in their international pharmaceuticals business ($73M vs.
                              our $78M on the quarter).

                              Revenue and EPS slightly above expectations. Revenues were $746M, 1% above our $738M and
                              cons’ $736M. EPS was $1.02, 5% above our $0.97 and 3% above cons’ $0.99. $0.01 per share
                              equates to approximately $2.1M pretax. Recall Endo had provided 3Q:15 and 2016 guidance after
                              closing the Par acquisition on 9/29/15, so top and bottom line expectations were well set heading
                              into the quarter.

                              Management also took asset impairment charges related to Stendra, Natesto, and Testim. Due to
                              the underperformance of these products, Endo recorded a $240M pre-tax, non-cash impairment
                              charge related to intangible assets. As a result of the sustained downturn in the testosterone market
                              and underperformance of Stendra, Endo also initiated an interim goodwill impairment analysis and
                              recorded a non-cash impairment charge of $680M on their Urology, Endocrinology, and Oncology
                              unit. While these products comprised a small portion of the branded portfolio (mgmt. does not
                              even break out revenues), the asset impairment charges may come as a disappointment to investors.
                              Recall mgmt. had committed financial resources to stabilize the Stendra franchise and initiated a
                              DTC campaign—mgmt. had already commented that it would reallocate those resources to other
                              growth franchises (e.g., Belbuca launch) on previous calls.

                              Next catalysts include Belbuca’s launch and initiation of Xiaflex trials in frozen shoulder and
                              cellulite. Investors will now be looking towards Belbuca’s launch in 2016 in addition to further


118
      Morgan Stanley, “CORRECTION: 3Q above, Xiaflex U.S. rev. grew double-digit; large charges,” November 5, 2015.


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                              Xiaflex pipeline developments. Endo is expected to initiate add’l trials for frozen shoulder and
                              cellulite by end of 2015.

                              2015 guidance unchanged. Revenue guidance is $3,220-$3,270M; midpoint of $3,245M is in-line
                              with our $3,260M and 1% below cons’ $3,267M. EPS guidance is $4.50 -$4.60; midpoint of $4.55
                              is in-line with our $4.54 and cons’ $4.56. ENDP’s unch guidance mdpt for 2015 implies that
                              consensus lower 4Q:15 EPS $0.03/share or -1%

                              3Q I/S YOY growth in a nutshell: revs -2%, gross profit -1%, oper inc +8%, pretax -7%, net inc
                              +18%, EPS -11%. $0.05 EPS upside vs. our model included: Revenues +0.03, COGS -0.02, SG&A
                              +0.05, R&D -0.00, Other -0.02, Taxes +0.02.

                       Morningstar wrote that “Endo reported a surprisingly weak third quarter as growth in Xiaflex and Opana fell short
                       of [its] forecast,” and “lower expectations” for some products “led to a nearly $900 million goodwill and intangibles
                       impairment charge.” The analyst added that “[t]he impairment charge and questionable growth of Xiaflex places
                       some doubt on management’s merger and acquisition strategy and deal price discipline.” The analyst expected to
                       reduce its fair value estimate for the Company:119

                              We plan to revisit some of our assumptions for Endo Pharmaceuticals, which will likely lead to a
                              reduction in our fair value estimate. Our concern is that the growth trajectories for some of the
                              company’s products look lower than we originally anticipated following this quarter’s performance,
                              and that raises concerns about the company’s deal-making acumen as well as sustainability of
                              future earnings. We also plan to revisit our narrow moat rating.

                              Endo reported a surprisingly weak third quarter as growth in Xiaflex and Opana fell short of our
                              forecast, and management’s acknowledgment of lower expectations for certain erectile dysfunction
                              and testosterone replacement products led to a nearly $900 million goodwill and intangibles
                              impairment charge. The impairment charge and questionable growth of Xiaflex places some doubt
                              on management’s merger and acquisition strategy and deal price discipline. We never found these

119
      Morningstar, “Endo’s Weak Quarter Raises Growth and Capital Allocation Concerns,” November 5, 2015.


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                               assets particularly compelling, and Xiaflex’s current performance in particular raises doubt about
                               management’s ability to meet its financial goals. Regardless, management retained its yearend
                               outlook likely thanks in part to the consolidation of Par Pharmaceuticals. The expected launch of
                               its new patch for chronic pain, Belbuca, next year may also add some tailwind for the business in
                               2016. Additionally, Endo’s generics business did surpass our expectations, but we still view the
                               acquisition of Par Pharmaceuticals as questionable due to the long-term growth opportunities in the
                               generics segment, especially against larger scale and vertically integrated peers like Teva or smaller
                               low-cost competitors based in emerging markets.

                        Piper Jaffray noted that the Company reported 3Q15 revenue and EPS slightly above consensus estimates, but
                        commented that “there [was] considerable hand wringing over the [Company’s] write down.” The analyst reduced its
                        price target for the Company to $83 from $112, “due to the myriad controversies swirling around the group (the
                        political firestorm surrounding drug pricing, and the controversies specific to Valeant, that fairly or not, have cast a
                        pall over the entire space),” as well as “adjustments to our estimates following the 3Q15 earnings release, namely the
                        tempering of our estimates for Testim and Fortesta, as well as the removal of Stendra from our estimates (ENDP
                        made it clear that promotion of these products will be de-emphasized going forward)”:120

                               Endo reported 3Q15 diluted EPS of $1.02 on revenues of $746M, versus the Street estimates of
                               $1.00 and $738M, respectively. Though there is considerable hand wringing over the write down
                               related of certain testosterone (T) products and Stendra, the reality of the underperformance of these
                               assets has been well known for some time. Further, given the continued strong performance from
                               the generics business (and visibility on continued strong growth in our view), along with continued
                               volume growth for Xiaflex, and eventual contribution from Belbuca, we continue to believe that
                               ENDP is well-positioned for a long-term EPS CAGR potentially in the mid-teens. With a 2016 P/E
                               of 9x our estimate, we believe the shares are oversold. We are reiterating our Overweight rating
                               and are lowering our PT to $83 from $112 (see below for more details).

                               Write downs related to certain Auxilium assets; Xiaflex, however, is performing well. Given the
                               generic competition seen in the T gel space, along with the unrelenting competition from Viagra

120
      Piper Jaffray, “Recalibrating the Brand Business; Xiaflex, Belbuca and Generics Keep Us Bullish,” November 5, 2015.


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                 and Cialis in the erectile dysfunction (ED) space, we were hardly surprised by the write downs
                 related to Testim and Stendra (for Stendra, prescriptions (Rx) stabilized, but did not see any return
                 to meaningful growth). Regarding the broader T franchise, ENDP will focus its promotional efforts
                 on Aveed (long-acting depot injection) and Testopel (implantable pellet form of T) going forward.
                 Though the performance overall has been disappointing, the main growth driver from the Auxilium
                 assets has always been Xiaflex (and in our view that drove the acquisition from a top-line
                 perspective), and that product continues to see solid volume growth, with ENDP citing 13,900 vials
                 sold in 3Q15, up from 13,100 in 2Q15 (a sequential growth rate of 6%). In Peyronie’s disease,
                 there were 7,500 sold in 3Q15, up from 6,300 in 2Q15, a growth rate of 19%. ENDP also
                 announced that it is opting in on the development of Xiaflex (per its agreement with BioSpecifics)
                 in two additional expansion indications (lateral hip fat and plantar fibromatosis; recall that Phase II
                 studies in cellulite and frozen shoulder should begin in the near-term).

                 Generics business continues to be a bright spot. Sales from U.S. generics increased 15% over 3Q14
                 (largely organic given that Par closed on 9/28/15). Management is guiding to 5-7 new generic
                 launches in 4Q15, and is targeting a total of 20-25 new abbreviated NDA filings for the entirety of
                 2015 (inclusive of Par).

                 Additional color on Belbuca. ENDP noted that it is likely to price Belbuca largely in line with the
                 pricing seen for extended-release (ER) opioids (e.g., OxyContin OP, Opana ER), which is sensible
                 in our view since the target patient population is essentially the same as that of the ER opioids.
                 ENDP is planning to expand its pain-focused sales force to support the launch, which remains on
                 track for 1Q16.

                 RISK TO ACHIEVEMENT OF PRICE TARGET
                 Risks include additional generic threats and merger integration risk.

                 Lowering PT to $83 from $112 on ENDP
                 Our $83 PT (down from $112) is based on a P/E of 13x (down from 17x) our 2017 EPS estimate of
                 $6.99 (down from $7.22), discounted by 10% (unchanged). The lower P/E multiple is reflective of
                 broader market realities in the specialty pharma space. In other words, due to the myriad



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                            controversies swirling around the group (the political firestorm surrounding drug pricing, and the
                            controversies specific to Valeant, that fairly or not, have cast a pall over the entire space), we expect
                            that specialty pharma companies will trade below long-term growth estimates for the foreseeable
                            future (i.e. P/E/G multiples less than 1.0x). That said, we continue to believe that a long-term EPS
                            CAGR in at least the mid-teens is realistic for ENDP, driven by the continued strong performance
                            of the generics business (and an exceedingly deep abbreviated NDA pipeline), along with continued
                            volume growth from Xiaflex and eventual contribution from Belbuca (which will launch in 1Q16).
                            The lower EPS estimate reflects adjustments to our estimates following the 3Q15 earnings release,
                            namely the tempering of our estimates for Testim and Fortesta, as well as the removal of Stendra
                            from our estimates (ENDP made it clear that promotion of these products will be de-emphasized
                            going forward).

                    RBC published a report prior to the Company’s conference call, stating that “expectations [for the quarter] were
                    relatively benign and ENDP came in slightly above the high end of its pre-announced range.” EPS upside was
                    “mainly from lower spend and tax,” according to RBC:121

                            ENDP reported slightly better 3Q sales of $745.7 million (versus consensus of $738 million and our
                            $725 million) and cost driven bottom line upside at $1.02 (versus consensus at $1.00 and our $0.93)
                            mainly from lower spend and tax. Given the Sept 28 guidance update which followed the Par
                            closing and included 3Q2015, expectations were relatively benign and ENDP came in slightly
                            above the high end of its pre-announced range. Importantly, ENDP also reaffirmed 2015E
                            guidance and we don’t see anything in the results that would impact the $6.00 and $7.00 of
                            expected EPS in 2016E and 2017E. Relative to our model, EPS beat was driven by lower gross
                            profit -$0.02 (on lower gross margin of 63.5% versus our 66%) offset by benefits of lower R&D
                            +$0.03, lower SG&A +$0.07 with below the line items (other, tax and share count) making up the
                            remainder of the variance. The quarter saw in-line topline results from US brands at $304.8 million
                            (consensus $303.9 million), strength in US generics $367.9 million (consensus $349.5 million), and
                            offset by weakness in international $73 million (consensus $85.2 million). For the most part, most

121
  RBC Capital Markets, “ENDP 3Q results largely in-line and modestly better than pre-announced expectations; CC at 8:30AM ET,”
November 5, 2015, 8:25 AM.


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                               major brand line items were in line with our model while strength in generics offset a lighter
                               International result. Overall, expectations for 3Q were not high, the business is progressing and
                               targets remain intact all this against a stock that trades at 8.6x 2017E and growing EPS in the mid-
                               teens. While we would like to be able to point to more near-term catalysts, we continue to think
                               that ENDP offers attractive exposure to pending recovery from the recent sector sell-off.

                               Conference call is at 8:30AM ET with dial-in 1-866-497-0462 and code 65950717. There are four
                               things we’re looking for on the call (i) confirmation that 2016E and 2017E targets remain
                               unchanged in the face of some reallocation of resources within the brand business (ii) launch
                               strategy and expectations for BELBUCA given that Street forecasts are still somewhat conservative
                               at < $300 million peak for most (iii) M&A strategy and ability to finance deals in the current
                               environment given leverage of ~4x TTM EBITDA and depressed equity and (iv) rationale for not
                               announcing a buyback down at these levels given that ENDP does have $836 million of unrestricted
                               cash on the balance sheet.

                        In a separate report published the next day, RBC identified “four main things” that drove weakness in Endo’s stock
                        price: “(i) the size of the write-down so soon after AUXL closed (1/29) (ii) the linkage to VRX and negative sector
                        sentiment (iii) debate [it] heard around ability to finance meaningful M&A over the near-term and (iv) lack of
                        commitment to share repurchases.” Although the analyst reduced its price target for the Company to $91 from $100,
                        its adjusted EPS “estimates [were not] meaningfully different in 2015-18E” than before the earnings
                        announcement:122

                               Our view: ENDP share reaction was surprisingly negative down 15% on a reasonably mixed
                               quarter that we thought had low expectations. Overall, we leave the quarter with only minor
                               changes to forecasts with key drivers intact. After yesterday’s sell-off, the stock trades at 7.5x
                               2017E which we are having a hard time justifying. No change to outlook.

                               Key points:


122
      RBC Capital Markets, “ENDP sell-off hard to explain but rationale for buyback is now much stronger,” November 6, 2015.


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                 The recurring question was related to the weakness in the stock which ultimately closed down 15%.
                 The magnitude is hard for us to explain but there were four main things that we think drove it: (i)
                 the size of the write-down so soon after AUXL closed (1/29) (ii) the linkage to VRX and negative
                 sector sentiment (iii) debate we heard around ability to finance meaningful M&A over the near-
                 term and (iv) lack of commitment to share repurchases. We also heard several questions around
                 Xiaflex growth following the call where we think there was some confusion. Overall, we had
                 hoped for a more aggressive message around willingness to deploy some of the $837 million in
                 unrestricted cash to repurchases which could have sent a stronger message around management’s
                 view of the current equity dislocation.

                 We’ve revisited our model and are making several adjustments with our price target moving to $91.
                 Overall, our estimates aren’t meaningfully different in 2015-18E at $4.55, $5.94, $6.93 and $7.50.
                 The guidance for 2016E of $6.00 at the midpoint was reaffirmed and we see no reason why ENDP
                 can’t earn ~$7.00 in 2017E. We thought management did do a good job reinforcing the lack of any
                 meaningful P&L exposure to the lingering macro concerns around pricing and specialty pharmacy
                 with only about 5% net growth from pricing and specialty pharmacy exposure (which we continue
                 to defend as an integral component of the supply chain) ~3% of total revenue with no ownership
                 interests or affiliations.

                 Where our thesis is still relevant and where we see headwinds. ENDP has clearly been a
                 challenging stock for us. Our thesis has been tied to attractive valuation, better anticipated
                 appreciation of the generic opportunity in 2016E and beyond, improving P&L outlook and potential
                 for M&A. For the most part that still holds though we’ve been wrong on the P&L upside thus far
                 and the sector sell-off has clearly impaired the ability or desire to use equity for M&A for now.
                 However, we would point to three things (i) ENDP now trades at 7.5x 2017E which is about 0.5x
                 growth (ii) we continue to see evidence that broader US generic inflection is coming in 2016E and
                 ENDP is well positioned (65% of revenue) and (iii) ENDP still has flexibility for deals, albeit more
                 limited. We still see an improving P&L outlook in 2016E but that has clearly been pushed out from
                 what we initially expected.




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                       UBS published a report prior to the Company’s conference call, writing that revenues “were modestly better” than
                       expectations, and EPS topped consensus as spending and taxes were lower than expected. UBS added that the
                       “reported numbers are not surprising, given that mgt recently updated guidance to include Par”:123

                              What’s new? EPS of $1.02 vs UBSe of $0.95 and Consensus of $1.00
                              Revenues were modestly better (+$12M vs. UBSe and +$8M vs Street), with notable sales
                              variances from Lidoderm (+$16M) and Generics (+$18M), partially offset by Opana (-$4M).
                              Xiaflex was in line with our expectation. Spending (-$9M) and the tax rate (-180 bps, adding $0.02
                              to EPS) were lower than our forecast, and together with the better-than expected revenues drove the
                              EPS upside (+$0.07 vs UBSe and +$0.02 vs Street). Endo maintains its 2015 EPS guidance of
                              $3.22-3.27B in revenues and $4.50-4.60 in EPS as well as its 2016 EPS guidance of $5.85-6.15 that
                              it just provided recently.

                              Our takeaway: A good quarter
                              Overall, the quarter was good. The reported numbers are not surprising, given that mgt recently
                              updated guidance to include Par. The strong generic sales included some sales from Par, which is
                              likely modest and which we did not include in our forecast. And we look for commentary on the
                              contribution from Par. The commentary on the non-cash impairment write-down from the
                              underperformance of the Auxilium products (Stendra, Natesto, and Testim) is not surprising as well
                              given mgt’s previous commentary on these assets and that it had overestimated the potential of
                              these products. Sales for the key Auxilium product, Xiaflex, were in line with our estimate in a
                              seasonally weak quarter, but we were looking for it to do a bit better, and we look for additional
                              color on this as well.

                              Thoughts on the stock: No major reaction expected
                              We believe there was nothing in the quarter that should alter investor’s view of the name. Hence,
                              we don’t expect much of a move in the stock today.

                              Valuation: We maintain our Buy rating and PT of $100

123
      UBS, “A Good Quarter,” November 5, 2015.


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                              Our price target of $100 is based on P/E of ~14x our 2017E EPS of 7.00.

                       In a separate report published after the Company’s conference call, UBS wrote that weakness in Endo’s stock price
                       was a result of “the substantial impairment charge for the recent Auxilium deal,” Xiaflex performance, and the lack
                       of emphasis on share buybacks. The analyst maintained its “Buy rating and [price target] of $100” for Endo stock:124

                              What we learned on the conference call
                              (1) Clearly, the Street was disappointed by the Auxilium deal, particularly with the poor Stendra
                              performance, but we think mgt made the right move to reallocate resources. The key Auxilium
                              product, Xiaflex, should still be a meaningful growth driver, driven by the current indications and
                              potential label expansion. Ph2 on frozen shoulder and cellulite should start after settling on the
                              endpoints w/ the FDA. In 3Q, Xialfex for PD had ~7,500 demand vials (vs 6,900 in 2Q) while DC
                              had ~6,400 vials (+14% YOY & 6,200 in 2Q). Investors were concerned by the performance,
                              which we don’t understand as 3Q is seasonally weak and both indications had nice dd+ growth.

                              Additional takeaways
                              (2) Re Belbuca, mgt expects to double its pain field force for the early 2016 launch and has begun
                              to engage with payers. (3) Generics sales were very strong with the base biz +24%, Lido AG sales
                              of $25-30M in 3Q, and GM in the mid-50s. Par did better than what Endo expected in 3Q. Mgt
                              expects 5-7 approvals in 4Q. (4) On the hot topic of pricing, mgt indicated its portfolio has ~5%
                              net increases per year. (5) On working capital, mgt pointed to the Par deal as the reason for the
                              unusual movements and that the ratios will work out as the full revenues ramp up from the deal.

                              Thoughts on the stock: Very surprised by the weakness
                              Investors pointed to (1) the substantial impairment charge for the recent Auxilium deal, especially
                              for an M&A story (ie, how much faith should we have in mgt to do good deals), (2) Xiaflex was not
                              great (which we disagree with), and (3) mgt was recently talking about share buyback as a key use
                              of cash given the weak stock price, but on the call, it was third behind M&A and debt paydown.
                              We get the disappointment with Auxilium. We are just surprised that this is such new news that

124
      UBS, “We Think Things Are Better Than the Stock Does,” November 5, 2015.


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                            would hit the stock so significantly, as the Street has also been more skeptical of Stendra and
                            testosterone than mgt anyway. Overall, there is no change in numbers or the growth outlook. We
                            like the Par deal and believe investors will too as Endo continues to post sustainable double digit
                            generics growth, and we like Belbuca as an important new growth driver.

                            Valuation: We maintain our Buy rating and PT of $100
                            Our price target of $100 is based on P/E of ~14x our 2017E EPS of 7.00.

                    William Blair published a report prior to the Company’s conference call, stating that “Endo announced third-quarter
                    earnings that were relatively in line with its guidance” updated on September 28, and that revenues were “above
                    consensus”:125

                            Before the markets opened on Thursday, November 5, Endo announced third-quarter earnings that
                            were relatively in line with its guidance given in concert with the closing of the Par Pharmaceuticals
                            acquisition on September 28. Total revenue was reported at $745.7 million, up 1% from last
                            quarter and down 2% compared with the corresponding quarter in 2014, which was above both the
                            consensus estimate of $738 million and our estimate of $741 million. The higher total revenue is
                            mainly due to higher-than-expected Lidoderm and Voltaren sales at $29.7 million and $48.5
                            million, respectively. Fortesta sales and Xiaflex sales were about 20% below our estimates. Total
                            international sales came in at $73 million, lower than consensus and our estimate of $85 million and
                            $97 million, respectively. Net income for the third quarter was $214.7 million, above the consensus
                            estimate of $202 million and below our estimate of $219 million. The diluted non-GAAP EPS
                            were $1.02, slightly above the consensus estimate of $1.00 and slightly below our estimate of
                            $1.04. We show reported earnings, our estimates, and consensus estimates in exhibit 1.

                            Shares have seen significant weakness as a result of the pricing discussions and other more
                            company-specific issues raised with Valeant (VRX $91.98). However, these issues do not look to
                            have infected Endo, despite management’s prior work at Valeant. Recall that on October 21, Endo

125
  William Blair, “Third-Quarter Quick Take; Earnings in Line With Guidance, Focus on Belbuca as an Organic Branded Growth Driver,”
November 5, 2015.


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                           issued a press release detailing its use of specialty pharmacies. According to the announcement, the
                           company uses independently owned specialty pharmacy services primarily for physician-
                           administered U.S. branded products (i.e., Xiaflex, Aveed, Testopel, Supprelin LA, Vantas, and
                           Valstar) with the percentage of the company’s 2015 revenues for the category at less than 10%, or
                           about 3% of the company’s projected 2015 revenue (using the midpoint of the $3.22 billion to
                           $3.27 billion 2015 revenue guidance range, equating to roughly $97 million).

                           During the quarter, Endo and partner BioDelivery Sciences (BDSI $6.14; Outperform) received
                           approval for what we believe will be the next major product for Endo’s brand division, Belbuca, a
                           buccal buprenorphine film. Belbuca is a treatment for acute and chronic pain conditions that
                           require daily, around-the-clock, long-term opioid treatment for which alternative treatment options
                           are unavailable. We believe the label sets Belbuca up to be a strong product for both companies,
                           with relatively low rates of gastrointestinal side effects and respiratory depression, in line with the
                           two Phase III study results, while the warning language is in line with the opioid class.

                    In a separate report published after the Company’s conferenced call, William Blair wrote that the weakness in
                    Endo’s stock price was “likely caused by the brand write-downs as well as fears that pricing scrutiny may bleed into
                    the generics business.” Although “management believe[d] that their priorities would be to fund new acquisitions,”
                    the analyst cautioned that it was “unsure of the quality of assets Endo [would] be able to acquire in the near term.”
                    The analyst noted that management had stated that share buybacks were a third and last priority for deployment of
                    capital:126

                           On November 5, Endo International announced third-quarter earnings. We note that the company’s
                           shares have seen significant weakness since the call, including being down over 20% in the open
                           market intraday. Generally, the downturn in share price has occurred since questions on pricing
                           issues and more company-specific issues associated with Valeant (VRX $91.98). Despite
                           management’s prior work at Valeant, we do not believe that these issues are prevalent at Endo, and
                           it has previously noted its exposure to specialty pharmacies was restricted to physician-assisted

126
  William Blair, “Post-Call Update; Near-Term Growth Likely Due to Par; Impairments Raise Concerns About Auxilium Assets,”
November 5, 2015.


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                 U.S.-branded products only. Regarding pricing, management stated on the call that the company’s
                 U.S.-branded business had mean effective annual price increases of roughly 5% after discounts and
                 rebates.

                 Future growth is expected to be driven by volume while for the company’s brand business namely
                 Xiaflex and the recently approved Belbuca. Given the significant weakness, likely caused by the
                 brand write-downs as well as fears that pricing scrutiny may bleed into the generics business, we
                 show the P/E NTM multiples over the last five years for Endo and select specialty pharmaceuticals
                 and generics companies to gauge the potential trough multiples for the group. Of these companies,
                 Endo had the lowest historical multiple at about 5 times in 2012 when Lidoderm and Opana ER
                 were facing generic competition, but the mean trough of the comp group was roughly 8.8 times
                 (range 5 times to 10.87 times), which could represent a potential bottom for the stock. In addition,
                 at these levels, the company has a free-cash-flow yield of about 3.18% in 2015, 8.82% in 2016, and
                 17.94% in 2017 using consensus estimates. While these valuations are attractive, we would like to
                 move beyond some of the headline risk surrounding pricing that is affecting the sector before
                 becoming more constructive on the name.

                 On the call, management highlighted the company’s strategic transformation from 2012 (when 72%
                 of revenues were derived from non-core businesses) to the present (when the portfolio is diversified
                 so that no product makes up more than 6% of revenue) and provided the company’s view on its
                 position to achieve sustainable double-digit organic top- and bottom-line growth. Regarding
                 deployment of capital, which remains a core tenant of the company’s strategy, management
                 believes that their priorities would be to fund new acquisitions to contribute to organic growth, debt
                 paydown (with the company anticipating a net-debt leverage ratio of 3 to 4 times by mid-2016), and
                 lastly, share buybacks. We note that a significant portion of the company’s business is now based
                 on generic pharmaceuticals after the Par acquisition. However, we are unsure of the quality of
                 assets Endo will be able to acquire in the near term given its stated goal of de-levering to 3 to 4
                 times in 2016 and the premium required for acquiring high-quality branded assets.




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                     News articles attributed the decline in the Company’s stock price on November 5, 2015 to the Company’s
                     announcements on that day.127

                     Following the Company’s disclosures on November 5, 2015, according to Bloomberg, the average of analysts’ price
                     targets for Endo stock decreased to $85.73 from $91.00, or -6.40%. Of 20 analysts who published investment ratings
                     for the Company both before and after the earnings announcement, 19 maintained their ratings and 1 reduced its
                     rating. (See Exhibit 5C.)

                     Remark: Given that: (i) the Company’s results were “ok but not great,”128 and were “not surprising, given that mgt
                     recently updated guidance”;129 (ii) the Company announced “a nearly $900 million goodwill and intangibles
                     impairment charge,” including for certain products of recently acquired Auxilium, which “place[d] some doubt on
                     management’s merger and acquisition strategy and deal price discipline”;130 (iii) management displayed a seeming




127
   See, e.g., Bloomberg, “Endo Drops 12.5% on Results; Fields Questions on M&A, Buybacks,” November 5, 2015, 10:19 AM; Bloomberg,
“Endo Will Be Challenged to Find ‘Quality Assets’: Cowen,” November 5, 2015, 11:32 AM; Dow Jones Institutional News, “Endo
International’s Earnings Smackdown -- Barron’s Blog,” November 5, 2015, 11:55 AM; The Motley Fool, “Why Endo International plc Shares
Are Crashing Today,” November 5, 2015, 2:28 PM.
128
   Deutsche Bank, “3Q not great, but sell-off looks way overdone,” November 5, 2015. See also, e.g., Canaccord Genuity, “Q3: Xiaflex
needs to flex,” November 8, 2015; JP Morgan, “Long-Term Thesis Remains Intact And Sell-Off Overdone; Remain OW,” November 5,
2015; Leerink, “3Q Sell-Off Overdone; Drivers Continue To Be US Gx’s, Xiaflex and Belbuca,” November 5, 2015.
129
   UBS, “A Good Quarter,” November 5, 2015. See also, e.g., Morgan Stanley, “CORRECTION: 3Q above, Xiaflex U.S. rev. grew double-
digit; large charges,” November 5, 2015; William Blair, “Third-Quarter Quick Take; Earnings in Line With Guidance, Focus on Belbuca as
an Organic Branded Growth Driver,” November 5, 2015.
130
   Morningstar, “Endo’s Weak Quarter Raises Growth and Allocation Concerns,” November 5, 2015. See also, e.g., Canaccord Genuity,
“Q3: Xiaflex needs to flex,” November 8, 2015; Gabelli & Company, “Sum of Parts Says Endo Oversold,” November 6, 2015; RBC Capital
Markets, “ENDP sell-off hard to explain but rationale for buyback is now much stronger,” November 6, 2015; UBS, “We Think Things Are
Better Than the Stock Does,” November 5, 2015.


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                       “lack of commitment to share repurchases”;131 and (iv) analysts attributed the decline in the Company’s stock price to
                       “disappoint[ment] that ENDP wrote down some assets,”132 “lack of commitment to share repurchases,”133 and
                       “unchanged” guidance that “implie[d] that consensus [should] lower 4Q:15 EPS,”134 the statistically significant
                       Company-specific stock price decline on November 5, 2015 is consistent with that expected in an efficient market.

         2/29/2016     Before market open on Monday, February 29, 2016, the Company reported its fourth-quarter and full-year 2015
                       financial results. For the quarter, Endo reported revenue of $1.07 billion, adjusted net income of $307.4 million, and
                       adjusted EPS of $1.36.135

                       The consensus estimates of quarterly revenue and adjusted EPS were $1.07 billion and $1.27, respectively.136

                       De Silva commented on the Company’s performance:137


131
  RBC Capital Markets, “ENDP sell-off hard to explain but rationale for buyback is now much stronger,” November 6, 2015. See also, e.g.,
UBS, “We Think Things Are Better Than the Stock Does,” November 5, 2015; William Blair, “Post-Call Update; Near-Term Growth Likely
Due to Par; Impairments Raise Concerns About Auxilium Assets,” November 5, 2015.
132
   Guggenheim, “ENDP - BUY - 3Q15 Was PAR for the Course, But That Doesn’t Seem to Matter Today,” November 5, 2015. See also,
e.g., Canaccord Genuity, “Q3: Xiaflex needs to flex,” November 8, 2015; Leerink, “3Q Sell-Off Overdone; Drivers Continue To Be US Gx’s,
Xiaflex and Belbuca,” November 5, 2015; Morgan Stanley, “CORRECTION: 3Q above, Xiaflex U.S. rev. grew double-digit; large charges,”
November 5, 2015; Piper Jaffray, “Recalibrating the Brand Business; Xiaflex, Belbuca and Generics Keep Us Bullish,” November 5, 2015.
133
  RBC Capital Markets, “ENDP sell-off hard to explain but rationale for buyback is now much stronger,” November 6, 2015. See also, e.g.,
UBS, “We Think Things Are Better Than the Stock Does,” November 5, 2015.
134
  Morgan Stanley, “CORRECTION: 3Q above, Xiaflex U.S. rev. grew double-digit; large charges,” November 5, 2015. See also, e.g.,
Canaccord Genuity, “Q3: Xiaflex needs to flex,” November 8, 2015.
135
      PR Newswire, “(PR) Endo Reports Fourth Quarter And Full Year 2015 Financial Results,” February 29, 2016, 6:30 AM.
136
      Bloomberg, “Endo Winding Down Astora; Boosts Mesh Liability Accrual by $834m,” February 29, 2016, 6:42 AM.
137
      PR Newswire, “(PR) Endo Reports Fourth Quarter And Full Year 2015 Financial Results,” February 29, 2016, 6:30 AM.


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                              Endo delivered solid financial results this quarter and was further strengthened by our first full
                              quarter of revenues from the acquisition of Par Pharmaceutical Holdings, Inc. As we enter 2016,
                              we believe our business is diversified and positioned for double-digit underlying growth over the
                              mid- to long-term …. Moving forward, we are focused on operational execution - especially on the
                              integration of Par and on supporting growth for priority branded products such as XIAFLEX(R)
                              and BELBUCA(TM) - and continuing to create value for Endo shareholders.

                       The Company also provided the following 2016 guidance:138

                                                                          Current Guidance             Previous Guidance139
                              Total revenue                               $4.32 – $4.52 billion
                              GAAP EPS                                    $2.25 – $2.60
                              Adjusted EPS                                $5.85 – $6.20                $5.85 – $6.15
                              Adjusted gross margin                       63% – 65%
                              Adjusted operating expenses as % of rev.    19.5% – 20.5%
                              Adjusted interest expense                   $455 million
                              Adjusted effective tax rate                 9% – 11%

                       The Company added that “[c]ash flow from operations is expected to support the Company’s stated goal of de-
                       levering to 3 to 4 times net debt to adjusted EBITDA in the second half of 2016.”140

                       Prior to the Company’s quarterly announcement, the consensus estimates for revenue and adjusted EPS for 2016 had
                       been $4.66 billion and $6.02, respectively.141


138
      Ibid.
139
  Thomson Reuters, StreetEvents, “ENDP – Q4 2015 Endo International PLC at JPMorgan Healthcare Conference,” EVENT DATE/TIME:
JANUARY 12, 2016 / 12:00AM GMT,” January 11, 2016, 7:00 PM.
140
      Ibid.
141
      Bloomberg, “Endo Winding Down Astora; Boosts Mesh Liability Accrual by $834m,” February 29, 2016, 6:42 AM.


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                       In its press release, Endo stated that its generics business had been unfavorably impacted by increased pricing
                       pressure:142

                              Compared to previous 2015 expectations, fourth quarter revenues in U.S. Generic Pharmaceuticals
                              were unfavorably impacted by increased pricing pressure due to increased competition across pain
                              and commoditized products within legacy Qualitest and certain non-recurring charges.

                       Endo also stated that it had increased its mesh product liability accrual by $834 million:143

                               During the fourth quarter 2015, the Company recorded an $834.0 million aggregate pre-tax charge
                               to increase its estimated product liability accrual for vaginal mesh cases. This product liability
                               accrual increase includes $401 million attributable to removing the reduction factor assumption
                               previously included in the Company’s estimates based on the actual number of claims processed
                               and the lack of any meaningful reduction factor observed to date. The accrual increase also
                               includes $433 million primarily related to the execution of additional Master Settlement
                               Agreements in 2016. During the fourth quarter 2015, the Company recorded a $997 million tax
                               benefit predominantly relating to a worthless stock deduction directly attributable to product
                               liability losses. This tax benefit includes $297 million recorded in discontinued operations and
                               $700 million in continuing operations. The Company anticipates that it will receive a federal
                               income tax refund in 2016 from carrying back losses incurred in 2015 and expects additional
                               benefits from reduced federal income taxes in 2016 and future years.

                       The same day, before market open, the Company held a conference call with investment analysts.144 On the call,
                       management commented on its fourth-quarter 2015 results and future performance of its U.S. Generics business:


142
      PR Newswire, “(PR) Endo Reports Fourth Quarter And Full Year 2015 Financial Results,” February 29, 2016, 6:30 AM.
143
      Ibid.
144
   Thomson Reuters, StreetEvents, “ENDP – Q4 2015 Endo International PLC Earnings Call, EVENT DATE/TIME: FEBRUARY 29, 2016 /
1:30PM GMT,” February 29, 2016, 8:30 AM.


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                               … actual full-year underlying generics growth was lower than preliminary estimates shared earlier
                               this year. This was due to fourth quarter actual sales of our legacy Qualitest portfolio versus our
                               previous expectations, part of the shortfall was driven by the number of non-recurring net charges
                               recorded as part of our year-end processes.

                               … we do expect pricing headwinds in US generics to continue across the sector and for there to be
                               a more challenging pricing environment for commoditized products.

                               … those one-time charges, we do not expect to continue in forward-looking quarterly results, but
                               there is some underlying pressure on around pricing that will extend into 2016.

                               Having said that all of that is baked into our forward-looking estimates for 2016, …

                               … when you look at the commodities business it’s going to be very, very challenging to take price
                               increases like we had historically seen over maybe the past couple of years, but that, again, is all
                               planned for.

                       Barclays published a report prior to the Company’s conference call, stating Endo’s “revenues were light relative to
                       [its] expectations” as “[g]eneric pharmaceuticals came in below [] expectations.” Barclays added that Endo’s
                       “quarter would’ve fallen short [of] expectations if ENDP had recorded a tax expense in the quarter”:145

                               ENDP reported an EPS beat (driven by tax), though it missed consensus top-line expectations and
                               increased its mesh product liability accrual by $834 million, a more than 50% increase on the prior
                               $1.5 billion. ENDP reported 4Q15 diluted EPS of $1.36, compared to our estimate of $1.27 and
                               consensus of $1.27. ENDP reported a net tax benefit in the quarter of $17.6 million, which
                               provided the upside versus earnings estimate; the quarter would’ve fallen short expectations [sic] if
                               ENDP had recorded a tax expense in the quarter.



145
      Barclays, “4Q15 ENDP First Impressions,” February 29, 2016.


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                                The company posted 4Q15 total revenues of $1.074Bn, compared to our estimate of $1.085Bn and
                                consensus of $1.067Bn. Management raised the top end of ’16 guidance by $0.05 to a new range of
                                $5.85 and $6.20 on total revenues between $4.32 and $4.52Bn. That compares to consensus at
                                $6.02 in EPS and revenues of $4.67 billion. We’d note the tax rate came in well below our
                                expectations as well as consensus at 9-11% versus our estimate and consensus at 15%.

                                Top-line revenues were light relative to our expectations though there were some strong
                                performances; Xiaflex and Lidoderm ($40M versus our $28M) did beat, but we expect Lidoderm
                                performance was price-driven. With Xiaflex beating 4Q15 revenue expectations, reporting $50M
                                compared to our estimates of $32M, we feel the brand will be a focus for ENDP in 2016 especially
                                as the company drives towards label expansion. Belbuca’s approval and launch was another
                                milestone for the company in 2015; we are constructive on the Belbuca opportunity, but recognize
                                the amount of heavy lifting required to gain meaningful share in the pain market, especially with a
                                novel administration. Generic pharmaceuticals came in below our expectations at $609 million,
                                which the company attributed increased pricing pressure within the Qualitest controlled substance
                                franchise. This shouldn’t come as a surprise given commentary by MNK at the end of January
                                when it reported F1Q results.

                                On this morning’s conference call, we expect to gain clarity on the outlook for 2016 and more detail
                                on performance across various business segments including Qualitest and Par, of which the
                                company has made it a priority to complete integration in 2016. We will also look for commentary
                                on the sustainability of Xiaflex’s 4Q performance.

                        In a separate report published a few days later, Barclays lowered its 2016 adjusted EPS forecast for the Company and
                        cut its price target to $55 from $70 “after 4Q, [that was] not without its bright spots but created some uncertainty for
                        investors.” The analyst noted that both the Company’s results and 2016 guidance “benefited from lower tax”:146

                                We are lowering our price target on ENDP to $55 after 4Q, not without its bright spots but created
                                some uncertainty for investors, reinforced the company’s need, in our view, to execute on

146
      Barclays, “4Q highlights ENDP is still a deal away,” March 4, 2016.


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                      additional M&A. ENDP reported 4Q15 diluted EPS of $1.36, compared to our estimate and
                      consensus at $1.27. Both 4Q results and 2016 guidance, which was raised by $0.05 to a new range
                      of $5.85 and $6.20, benefited from lower tax, which contributed ~$0.30 to management’s outlook.

                      Brand performance was stronger in the quarter, although it remains a portfolio in transition.
                      Xiaflex’s 4Q performance ($50M) was encouraging and Belbuca should begin to contribute. We’re
                      constructive on the Belbuca opportunity, but recognize a challenging competitive landscape which
                      could elongate the launch curve. This must overcome the drag of more mature brands such as
                      Lidoderm & Opana, and to a lesser degree Voltaren, highlighting ENDP’s need for more M&A
                      transactions, in our view.

                      ENDP’s generics business has gained scale, although it remains prone to volatility, which was seen
                      in this quarter’s shortfall, largely related to Qualitest. The softness wasn’t wholly unanticipated
                      given well-known dynamics with controlled substance generics market, and $30M in one-time
                      items which exacerbated optics. Par should enjoy strong growth in ’16 on launches of Zetia,
                      Seroquel XR & Exelon, although 4Q’s Y/Y decline (3%) due to competition for generic Exforge,
                      served as a reminder of its lumpiness – something we’re well familiar from covering Par ahead of
                      its LBO. Excluding Vasostrict, which contributed >$50M in 4Q, Par declined ~15% y/y. We expect
                      Fresenius, among others, to seek approval for vasopressin products in the next 24 months which
                      could affect that franchise.

                      The launches of Zetia and Seroquel should be strong, although they’ll face competition after the
                      180-day exclusivity expires; FDA has already granted tentative approvals. Exelon should prove
                      more durable. Par makes ENDP the 4th largest generics manufacturer in the U.S. but its portfolio
                      remains prone to volatility.

               Canaccord wrote the Company had a “mixed Q4” as adjusted EPS beat its estimate, while revenue was “in line with
               expectations,” but generics division sales were “well below” Canaccord’s and consensus estimates. Also, noted
               Canaccord, Endo “provided 2016 revenue guidance that was $100-300M below what the Street was projecting, but it
               effectively raised the top end of EPS by $0.05 to a new range of $5.85-$6.20.” The analyst attributed the “massive
               sell-off,” following the Company’s earnings announcement to Generics sales being “well below” expectations, and



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                       the $834M pre-tax charge for mesh litigation being an “unexpected piece of bad news.” The analyst lowered its price
                       target for Endo to $67 from $104:147

                              Endo reported a mixed Q4 -- non-GAAP EPS came at $1.36, beating our estimate and consensus of
                              $1.27; revenue of $1.074B was in line with expectations, but the generics division sales of $609.2M
                              were well below our $725M and consensus’ $680M due to increased pricing pressure and some
                              one-time chargebacks in Q4. The company also provided 2016 revenue guidance that was $100-
                              300M below what the Street was projecting, but it effectively raised the top end of EPS by $0.05 to
                              a new range of $5.85-$6.20. The stock had a massive sell-off that was completely overdone in our
                              view. Despite the fact we’re lowering our target (from $104 to $67) to be more realistic with where
                              we think sentiment around the sector is right now, we are keeping our BUY rating.

                              Why was the stock down 21%?
                              In addition to poor performance of the legacy Qualitest (generics) business -- $250M vs. our
                              $371M -- Endo failed to accurately quantify the weakness (i.e. numerical contribution of price and
                              volume). Another unexpected piece of bad news was an $834M pre-tax charge to increase its
                              estimated product liability accrual for the mesh litigation (that’s now dragged on for two years). As
                              a result, this could further reduce Endo’s buying power -- but it has already communicated that
                              M&A will not be a key priority in 2016.

                              Why we think this is a good buying opportunity
                              The stock is currently trading at an almost incredulous FCF yield of 20%, while having none of the
                              headline risks of names like Valeant. Management also indicated that it doesn’t need any M&A to
                              obtain double-digit growth, which should be achievable because: 1) Opana ER has a PDUFA date
                              of July 29 and, upon approval, could help fend off competition from Impax’s generic; 2) Xiaflex is
                              an extremely durable asset that beat consensus by 15% in the quarter; and with a new advertising
                              campaign and a robust R&D pipeline in itself, could be a $1B product; 3) in addition to the
                              blockbuster generics coming on Q4 on Seroquel and Zetia, the newly acquired Par business has
                              ~115 potential launches between 2016 and 2019. The Par injectables business should be an area of

147
      Canaccord Genuity, “Endo Q4: Anyone up for 20% FCF yield?” March 1, 2016.


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                              rapid growth; so collectively this should make up for weakness in Qualitest; and 4) we have high
                              hopes for the Belbuca launch (just weeks ago) that Endo has guided to $250M in 2019, but we think
                              will exceed that as one of the only Schedule 3 opioid painkillers out there now -- an area Endo
                              knows exceedingly well.

                              Valuation/risks
                              Our newly lowered $67 price target is derived from a standard DCF analysis through 2021 using a
                              12% discount rate and a 2% terminal growth rate. This translates into a 10.9x P/E off our 2016 EPS
                              estimate, compared to Endo’s current 7.2x P/E and the peer group average of 11.6x. Risks include:
                              failure to realize synergies from the Par transaction, failure for Belbuca and/or Xiaflex to show the
                              kind of growth trajectory we are expecting from both drugs.

                       Cowen wrote that the Company “reported good Q4 results with revenues and adjusted earnings that were above the
                       Street … [but] the commentary around the additional mesh liabilities … and generic pricing … has controlled the
                       conversation.” The analyst noted that Endo’s “revenue guidance was below the Street’s expectations.” Cowen
                       opined that “we have now likely – and finally – seen the worst”:148

                              It is now well understood that Endo’s balance sheet/liabilities will keep it captive (for a while) to
                              simply executing on its current portfolio. And we believe there is a fairly broad realization that
                              long-term growth could prove difficult given the scale-up in the generic portfolio. Nonetheless, this
                              growth to value trade appears done, and at nearly an 8% FCF yield, it is hard to see downside.

                              Future Value Creation Will Continue To Remain Difficult, But We Believe The Floor Has Been
                              Found

                              Endo reported good Q4 results with revenues and adjusted earnings that were above the Street.
                              Nonetheless, the commentary around the additional mesh liabilities (a long concern of ours) and
                              generic pricing (not a concern of ours) has controlled the conversation. As for 2016 guidance, it
                              factors in the generic pricing environment, integration of the Par transaction, and the launches of

148
      Cowen & Company, “Thesis Is Unchanged - But Value Investors Will Likely Now Find/Provide Support,” February 29, 2016.


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                      Belbuca and Xiaflex, and should yield revenues of $4.32-4.52B (+32-37 Y/Y) and earnings of
                      $5.85-6.20 (+26-33 Y/Y). Although the revenue guidance was below the Street’s expectations, we
                      didn’t find anything in the reporting that would cause any more significant or heightened concerns
                      than from how we had previously viewed the assets. We have long thought that Endo’s aggregation
                      of more generic revenue via a fairly expensive Par transaction was a bit misguided, and we were not
                      enamored with the Auxilium transaction. Nonetheless, these decisions are all done and over, and
                      the valuation is essentially reflecting these issues/concerns. At this point, we would think that the
                      Street would have reconciled that Endo is what it is: a not terribly exciting asset with a leveraged
                      balance sheet. But the fact of the matter is that the cash flows appear stable and should grow with
                      the windfall launches via the Par new generic introductions in 2016/2017. Using our calculations,
                      we estimate that the free cash flow yield is approaching 7.8-8.0% at these levels. Given these cold
                      financial metrics, we believe this is when value investors are usually adding to their positions from
                      the growth investors that are capitulating. For these reasons, this would appear to be the floor in the
                      stock. We would remind investors that following Mylan’s purchase of Meda (also at a price that
                      we would argue was misguided) the shares seemed to halt their decline at a roughly 8% free cash
                      flow yield figure – and then pivoted higher (stopping out at a roughly 7% yield). This would
                      suggests [sic] that value investors will likely begin their entry into ENDP shares at these levels
                      which should halt the decline. Although we argue that we have now likely – and finally – seen the
                      worst, this becomes an issue of whether there are better potential investments to make. We would
                      argue that there are (SHPG is yielding nearly 7% and we think a better growth asset), but we are not
                      looking to begin a debate about which assets are better than the other in this note (just a rationale to
                      why our rating stays unchanged). What we are trying to point out is that ENDP shares do look
                      relatively inexpensive and therefore we believe that – for ENDP shares specifically – the bleeding
                      should indeed stop and the value investors should find solace at these levels.

               Deutsche Bank wrote that the Company’s quarterly revenue was “generally in line,” but “featured lower than
               expected sales for Generics.” The Company “expect[ed] pricing headwinds [for Generics] to continue in 2016,”
               noted the analyst. Endo’s quarterly EPS was higher than Deutsche Bank’s estimate owing to “a tax benefit.” The




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                        analyst reduced its 2016 and 2017 revenue and EPS estimates for the Company and cut its price target to $70 from
                        $84 “[b]ased primarily on lower sales and higher expenses”:149

                               Lowering estimates and PT to $70; sticking with Buy
                               ENDP reported 4Q EPS of $1.36, which was above our estimate of $1.31 (and consensus of $1.27)
                               as a tax benefit offset lower gross margin and higher expenses. Revenue was generally in line (as
                               pre-announced), but featured lower than expected sales for Generics (-10% vs. our estimate), which
                               was offset by higher Branded and International sales. ENDP noted that its legacy generics business
                               (Qualitest) faced volume and pricing pressures during the quarter (non-recurring charges also
                               impacted revenue), and the company expects pricing headwinds to continue in 2016. While the
                               results for Qualitest were disappointing, management noted that performance for the recently-
                               acquired Par business exceeded its internal expectations in terms of both the base business and new
                               launches. On the brand side, ENDP continues to see significant growth potential for Xiaflex for
                               both current and future indications, and is optimistic about the potential of Belbuca in the large
                               chronic pain market. Based primarily on lower sales and higher expenses, we reduced our EPS
                               estimates and lowered our DCF-based PT to $70 (from $84; see below). While the quarter was
                               disappointing in some respects and we lowered our estimates and target, we continue to believe that
                               ENDP is well positioned for solid organic growth, and we are sticking with our Buy rating. Solid
                               execution in the coming quarters will be important for the stock, in our view.

                               Model changes
                               We lowered our 2016E revenue to $4.33bn (from $4.52bn) and 2017E revenue to $4.80bn (from
                               $5.04bn) based on lower sales for Qualitest, partially offset by higher US Branded and International
                               sales. We also tweaked up our gross margin assumptions and raised our operating expense
                               estimates based on ENDP’s targets. We lowered our 2016E tax rate to 10% (from 15%; ENDP
                               expects 9-11%) and 2017E tax rate to 13% (from 15%; ENDP expects low teens). These changes
                               took our 2016E EPS to $5.92 (from $6.19), 2017E EPS to $6.94 (from $7.47), and DCF-based PT
                               to $70 (from $84). We note the potential for ENDP’s mesh liability to increase going forward (the
                               company accrued an additional $834mn in 4Q15); we have factored ENDP’s expected mesh

149
      Deutsche Bank, “Tough Q for Qualitest,” February 29, 2016.


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                              payments for 2016-17 into our model, but note that this liability has continued to increase over the
                              last few years.

                       Gabelli wrote that Endo provided 2016 guidance that was “below expectations for revenue” and “inline for adjusted
                       EPS … due to better-than-expected tax rate guidance.” Regarding generics, Gabelli opined that “continued pricing
                       pressure for 2016 contributed to the company’s lower than expected guidance.” The analyst noted that Endo’s stock
                       fell following its quarterly announcement “amidst a perfect storm of pressure from both the company’s own
                       headwinds (generic pricing, mesh liability, disappointing 2016 outlook) and negative news for peers (government
                       investigations for VRX and HZNP).” Gabelli lowered its 2016 and 2017 EPS estimates for the Company:150

                              On February 29, 2016, Endo reported Q4 results with revenue of $1.1B (+62%) and adjusted EPS
                              of $1.36 (vs. $0.96). The company also provided 2016 guidance that was below expectations for
                              revenue ($4.32-4.52B) and inline for adjusted EPS ($5.85-6.20) due to better-than-expected tax rate
                              guidance. The company also increased its mesh liability accrual by $834M. Despite these
                              disappointments, we view yesterday’s sell-off (ENDP shares fell $11.13, or -21%) as a buying
                              opportunity.

                              Pricing pressure for generics. Q4 results for US Brands ($379M, +54%) and International ($85M,
                              +7%) were strong, but Generic revenue of $609M was lower than expected due to pricing pressure
                              for commoditized and pain products in the legacy Qualitest portfolio. Excluded a $359M
                              contribution from the Par acquisition, generic sales would have fallen 26% in Q4. While some of
                              this was due to non-recurring gross-to-net items, we believe continued pricing pressure for 2016
                              contributed to the company’s lower than expected guidance. We still expect the combined
                              Par/Qualitest generic business to generate high-single-digit growth over the next five years, but the
                              base for this growth will be negatively impacted in 2016.

                              Mesh still a liability. Despite a 2014 settlement agreement covering over 46k mesh claims, Endo
                              continues to see its liability climb. The current liability accrual of $2.1B (estimated $1.1B after-
                              tax) covers approximately 49k claims, but there are an additional 8k “lower quality” claims that are

150
      Gabelli & Company, “Mesh, Generic Pricing Hurt Outlook,” March 1, 2016.


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                              not covered and which ENDP plans to challenge aggressively. The company also plans to wind
                              down its women’s health business by the end of Q1 2016. We believe that this overhang could
                              limit Endo’s strategic options in the near term, and we are assigning a residual liability of $500M
                              beyond the estimated 2016-2017 payouts.

                              Updating estimates. We are lowering our 2016 EPS estimate by $0.05 to $6.00 per share. We are
                              assuming the midpoint of the company’s 9-11% tax range guidance and note that our earnings
                              estimates would be approximately $0.25 per share lower using a more normalized 14% tax rate.
                              For 2017, we are lowering our adjusted EPS estimate by $0.30 to $6.80 per share. Our estimates
                              reflect increased pricing pressure on the base generics business and legacy US brands. Despite
                              these pressures, we expect revenue growth of 7-8% annually and adjusted EPS in the low-to-mid
                              teens annually through the end of the decade.

                              Buy on weakness. ENDP shares fell by $11.13 (-21%) yesterday amidst a perfect storm of pressure
                              from both the company’s own headwinds (generic pricing, mesh liability, disappointing 2016
                              outlook) and negative news for peers (government investigations for VRX and HZNP). We caution
                              that ENDP could face similar inquiries on pricing activity and thus continue to be grouped in with
                              companies with a history of “aggressive” pricing practices. However, we note that Endo’s business
                              is two-thirds generics, and the overall generics industry in the US is experiencing negative pricing.
                              In 2016, we expect Endo to reduce its debt leverage to 3-4x EBITDA, but a more significant
                              catalyst would be an indication that the mesh liability has been contained. Despite the uncertainty
                              of the timing for this catalyst, we note that Endo currently trades at 6.1x our 2017 EPS estimate of
                              $6.80 per share and at a 64% discount to our 2017 PMV of $104 per share, giving investors a
                              significant margin of safety.

                       Guggenheim wrote that the Company reported “a beat and raise quarter,” but it expected “[p]ricing pressure for
                       commodity generics will continue to be a headwind in ’16.” The analyst commented that the mesh liability accrual
                       “was higher than expected,” but “the post tax call is manageable in ’16 and ’17,” and “the vaginal mesh debate
                       should now be closed for ENDP.” The analyst reduced its 2016 and 2017 EPS estimates for the Company:151

151
      Guggenheim, “ENDP - BUY - Don’t Throw This One Out with the Rest of Your Spring Cleaning,” February 29, 2016.


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                      Sell-off in sympathy with other Specialty Pharma stocks. Post a beat and raise quarter, ENDP’s
                      stock is down 18% today while the S&P500 is flat. We think the sell-off is overdone and mostly
                      driven by other headline risk in the Specialty Pharma industry coming from VRX (BUY, $80.65)
                      and HZNP (BUY, $19.79). We remain positive on ENDP post the 4Q15 results and view the
                      weakness as a buying opportunity for ENDP shares. We continue to believe ENDP has set the
                      stage for better-than-expected growth in ’16+ driven by Xiaflex (existing and new indications),
                      Belbuca, and the Par generics business. Therefore, ENDP’s organic growth potential is still
                      underappreciated, in our view. Even without M&A, we still think ENDP can achieve double-digit
                      EPS growth, which we do not think is reflected in the company’s valuation. ENDP trades at a P/E
                      multiple of 6x ’17E consensus EPS. One or two turns on P/E would translate into 11%-27% upside
                      potential for shares.

                      Vagina and commodity generics masking growth prospects. 1) We think the vaginal mesh debate
                      should now be closed for ENDP, especially since the company is shutting down Astora, although
                      the liability was higher than expected, the post tax call is manageable in ’16 and ’17; 2) Pricing
                      pressure for commodity generics will continue to be a headwind in ’16, but growth in ENDP’s
                      generics business should be driven by up to 100 launches between ’16-’19.

                      Lowered our ’16 EPS and ’17 EPS estimates post 4Q15 results. ENDP reported 4Q15 adjusted
                      EPS of $1.36, $0.09 higher than consensus and $0.10 above our estimate. Our Variance Analysis
                      has details. ENDP updated its ’16 EPS guidance from $5.85-$6.15, midpoint $6.00 to $5.85-$6.20,
                      midpoint $6.03 (we were at $6.10, consensus was $5.97). We have updated our model for 4Q15
                      and ENDP’s ’16 outlook, which decreased our ’16 and ’17 EPS estimates.

                      Upcoming Events and Catalysts. 1) Potential Voltaren gel generic ’16+; 2) Belbuca launch, 3)
                      Advance additional Xiaflex indications; And, 4) M&A.

               JP Morgan published a report prior to the Company’s conference call, which stated “Endo slightly raise[d] 2016
               EPS guidance; top line range modestly below consensus.” The analyst also noted that “Endo [was] guiding 2016




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                     total revenues to $4.32-$4.52bn, a midpoint that [was] about $200mn below consensus.” JP Morgan found that
                     “incremental pricing commentary on the company’s legacy generic business (Qualitest) [was] disappointing”:152

                            This morning, Endo reported 4Q results and provided updated 2016 guidance that was largely in
                            line with expectations. While we are encouraged by the strong branded performance in the quarter
                            (Xiaflex, Voltaren Gel) and continue to see the overall generics business positioned for double-digit
                            growth post Par, incremental pricing commentary on the company’s legacy generic business
                            (Qualitest) is disappointing. That being said, with shares trading at <7x 2017 EPS and expected
                            healthy core product growth over time, we remain OW.

                            Endo slightly raises 2016 EPS guidance; top line range modestly below consensus. Endo is guiding
                            2016 total revenues to $4.32-$4.52bn, a midpoint that is about $200mn below consensus, and
                            adjusted EPS to $5.85-$6.20 (vs. prior $5.85-$6.15). Despite top line modestly below expectations
                            (not surprising given select price competition), gross margins (63-65%), adjusted operating
                            expenses (19.5-20.5%), and adjusted interest expense $455mn were roughly in line with our
                            estimate, while the adjusted tax rate (9-11%) came in below. Additionally, Endo noted that it
                            expects 54% of revenue and 57% of EPS to be 2H/16 weighted due to exclusive generic
                            Seroquel/Zetia launches, while 22% of revenue and 18% of EPS in 1Q/16 (due to greater support
                            for Belbuca and Xiaflex).

                            Strong branded performance in qtr is encouraging. Endo reported a slight 4Q EPS beat of $1.36
                            (+$0.09 vs. cons.) on revenues of $1074mm (in line with cons.). We believe top line strength in the
                            branded business ($380mn, +$65mn vs. JPMe) and core products Xiaflex and Voltaren Gel will be
                            well received. This offset anticipated generics weakness due to pricing pressure across legacy
                            Qualitest products. Looking across the P&L, gross margins (~60%) were slightly below while
                            SG&A came in ~$20mn above our estimate. Lower margins in the quarter were more than offset
                            by a ~$18mn net tax benefit.


152
   JP Morgan, “In-Line Qtr with Generic Pressure Offset by Branded Strength, Valuation Remains Highly Attractive - ALERT,” February
29, 2016.


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                            Endo notes modest generic pricing headwinds. Endo reported generic sales of $609mn (Par was
                            ~$350mn), and noted a soft cough season and increased pricing pressure on multi-player products
                            impacting results, as well as ~$30mn in one-time charges and rebates. While pricing remains an
                            industry focus, 4Q pressure appears to be related to a portfolio that represents ~20% of total generic
                            sales (controlled substance, etc.) and the company noted that >40% of generic revenues in 2016 are
                            projected to come from high value, high growth products less susceptible to this type of price
                            volatility. Additionally, with a large Par ANDA pipeline, a growing sterile injectables business and
                            pricing erosion already reflected in 2016 guidance, we see continued growth for Endo’s generic
                            business despite 4Q headwinds.

                     In a separate report published the next day, JP Morgan wrote that “Endo shares [were] down significantly (-20%)
                     following 4Q results and 2016 guidance.” The analyst commented that “[i]ncoming call volume focused on pricing
                     pressure in the legacy Qualitest business and the incremental mesh settlement,” which, although larger than expected,
                     would result in “a sizable tax refund on the settlement.” The analyst reduced its 2016 and 2017 EPS forecasts for the
                     Company and cut its price target to $80 from $90:153

                            With Endo shares down significantly (-20%) following 4Q results and 2016 guidance, we wanted to
                            share our latest thoughts on the stock. Although the update was far from perfect, we see no
                            fundamental justification for the magnitude of yesterday’s move. Further, while it’s difficult to call
                            a bottom for sentiment in the current specialty pharma environment, we see Endo as inexpensive on
                            nearly any valuation metric (6x/7x multiple on 2017 PE and EV/EBITDA) and struggle to create a
                            plausible DCF scenario that would justify valuation down at these levels. Remain OW.

                            Incoming call volume focused on pricing pressure in the legacy Qualitest business and the
                            incremental mesh settlement. While our top incoming question on Endo related to the magnitude of
                            the share price move, key fundamental issues centered on (1) the magnitude of the 4Q decline in the
                            legacy Endo generics business (down double-digits), and (2) the headline mesh settlement ($834mn
                            pre-tax charge).

153
   JP Morgan, “Shares Highly Oversold Following 4Q; Limited NT Catalysts But Attractive Entry Point For Those With Patience,” March 1,
2016.


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                              On generics, legacy Endo had a challenging quarter but this was offset by healthy Par growth and
                              appears well reflected in 2016 guidance. Endo reported generic sales of $609mn in 4Q with Par
                              sales of $359mn coming ahead of expectations and legacy Endo disappointing. The legacy Endo
                              shortfall appears to be driven by a mix of portfolio optimization post Par, pricing pressures on parts
                              of the commoditized Endo business (~20% of generic sales) as well as a $30mm one-time
                              rebate/chargeback impact on the quarter. Looking forward, we have rebased our generic sales
                              number lower to reflect a more difficult pricing environment for a portion of the Endo business but
                              continue to see the overall generic portfolio poised for healthy growth driven by a robust Par
                              pipeline.

                              Mesh settlement larger than expected but does not materially impact operating cash flows. Endo
                              announced an additional $834mn pre-tax charge to increase its estimated product liability accrual
                              for its mesh cases during the quarter. While the incremental accrual is setback, Endo will benefit
                              from a sizable tax refund on the settlement and the remaining cash call to fund mesh is ~$200mm in
                              2016 and ~$375mm in 2017, leaving Endo with significant cash flow to pay down debt/pursue
                              tuck-in business development over time.

                       Leerink wrote that the Company’s “4Q print and guide were low quality, with lower than forecast tax expense
                       helping to preserve the optics of ENDP meeting consensus expectations.” The analyst added that “the qtr has further
                       shaken investor confidence on ENDP’s strategic bet on the US generics space.” Leerink observed that “US generic
                       pricing pressure [caught] up with ENDP legacy products,” and “2016 guidance now assumes pricing headwinds in
                       generic category that are reflected in [Leerink’s] new forecasts (7-11% below prior 2016-21E ests).” As a result, the
                       analyst decreased its price target for the Company to $51 from $64:154

                              Bottom Line: We are lowering our ests. after a disappointing 4Q, highlighted by generic pricing
                              pressure & ’16 outlook calling for higher spend. The 4Q print and guide were low quality, with
                              lower than forecast tax expense helping to preserve the optics of ENDP meeting consensus
                              expectations. While the qtr has further shaken investor confidence on ENDP’s strategic bet on the

154
      Leerink, “Lowering Ests & PT to $51 Reflecting Generic Price Dynamics; Remain OP,” March 1, 2016.


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                 US generics space, we believe pricing pressure is limited to small pockets of ENDP’s portfolio and
                 see the stock as having significant upside after today’s selloff. We would expect ENDP to trade at a
                 ~7.5x multiple of our $6.74 ’17E EPS, which is lower than peers reflecting an est. ~$1/shr
                 contribution from nonrecurring 180-day exclusive Gx’s. Our updated PT is $51 (from $64).

                 US generic pricing pressure catches up with ENDP legacy products. In 4Q, ENDP generics were
                 unfavorably impacted by increased pricing pressure in pain and commodity products within legacy
                 Qualitest, an issue seen with peers like MNK (OP). After backing out $359m first-time sales from
                 the Par Pharma acquisition, ENDP’s legacy generics business declined -26% and 2016 guidance
                 now assumes pricing headwinds in generic category that are reflected in our new forecasts (7-11%
                 below prior 2016-21E ests).

                 After backing out contribution from major exclusive launches in 2016-17, ENDP now trades near
                 floor valuation. Following a -21% valuation pullback, we believe ENDP now trades closer to a
                 floor valuation. As shown on pg. 2, we est. two major (non-recurring) first-tofile exclusive
                 generics, g-Zetia and g-Seroquel XR, should contribute ~$1/ shr to 2017 EPS. Assuming an 8.5x
                 multiple on ENDP’s EPS, ex. the FTF exclusives, we see the company’s floor valuation at $49/shr.

                 Funding product launches, not M&A, is top priority. Mgmt reiterated that M&A won’t be a key
                 priority this year and the company plans to focus on (1) de-leveraging; (2) execution against
                 Belbuca and Xiaflex launches. Given the challenges faced by the company, we’d prefer to see
                 mgmt. take a breather from M&A and channel some of the tax savings to fully fund the Belbuca
                 launch, which will be challenged by the drug’s novel dosage form (buccal) and highly competitive
                 chronic pain space.

                 New AMS mesh claims modestly impact on our valuation. Mgmt updated that there has been an
                 influx of new vaginal mesh claims in late 2015 driven by higher plaintiff attorney advertising, a
                 lack of settlements by other mesh mfr’s & higher value verdicts against other mfr’s. As a result,
                 ENDP recorded an $834m pre-tax charge to increase the est. product liability accrual for mesh
                 cases, although remaining after-tax cash call is limited to ~$600m based on expected tax offsets.




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                                While disappointing to see an increase in the accrual liability, the quantity and quality of cases
                                appears to be decreasing.

                         Morgan Stanley published a report prior to the Company’s conference call, stating that Endo’s quarterly revenues
                         were “in-line,” but “Qualitest (core generics) was disappointing, and mgmt discussed pricing pressure.” Although
                         EPS topped expectations, “the outperformance was largely due to a tax benefit for the quarter,” according to the
                         analyst. Morgan Stanley commented that “[r]evenue and EPS guidance was disappointing relative to high
                         expectations”:155

                                Although 4Q EPS beat both MSe (+5%) and consensus (+7%), the outperformance was largely due
                                to a tax benefit for the quarter. Revenue and EPS guidance was disappointing relative to high
                                expectations; flags were raised on mesh liabilities, organic generic growth, and a 4Q-weighted
                                2016.

                                4Q revs in-line and EPS above MSe and consensus, but the beat was largely due to tax. Revenues
                                were $1.1B, in line with MSe and 1% above cons’ $1.1B. EPS were $1.36, 5% above our $1.30
                                and 7% above cons’ $1.27. However, tax accounted for +$0.23 of EPS vs. our model, which was
                                largely due to a tax benefit related to worthless stock deduction. Full $0.06 EPS upside vs. our
                                model included: Revenues +0.02, COGS -0.16, SG&A +0.03, R&D -0.10, Other +0.05, Taxes
                                +0.23.

                                Although revenue was in line on the quarter, Qualitest (core generics) was disappointing, and mgmt
                                discussed pricing pressure. U.S. Generics sales were $609M, 10% below MSe $679M and 9%
                                below cons’ $672M. According to mgmt, Par accounted for $359M, which means that legacy Endo
                                Gx were only $250M on the quarter (-26% YoY). Mgmt. mentioned that revs were skewed due to
                                ~$30M of one-time charges, but this still implies “normalized” revenue of $280M, which implies a
                                YoY decline of -17%. Mgmt. noted that generics were unfavorably impacted by increased pricing
                                pressure from increased competition across pain and commodity products. Good news is that mgmt
                                projects pro forma 2016 rev growth (incl Par) in the mid to high teens.

155
      Morgan Stanley, “4Q EPS figure looked good on surface, but lots of devils in the details,” February 29, 2016.


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                                Endo disclosed an additional mesh pre-tax charge of $834M. At the end of 3Q, Endo had recorded
                                $1.4B of liability accrual for vaginal mesh cases. Given the additional $834M charge, partially
                                offset by ~$700M of qualified settlement funds (QSFs), the total mesh liability accrual pre-tax is
                                now estimated at ~$1.5B for YE15. On a post-tax basis, including a $700M tax refund benefit, the
                                est. post-tax liability is ~$575M. Mgmt. expects a cash call of ~$150-$250M in 2016 and $325-
                                $425M in 2017. These figures do not include ~8,000 “lower value” claims that may be fraudulent
                                and/or lack medical records. However, if we apply the avg $30,000/claim to date, accrued
                                liabilities could potentially increase by another $240M. The figure could be lower if there are many
                                fraudulent claims as mgmt suggested or larger if the holdouts have strong cases against Endo. On a
                                related note, Endo is also shutting down its ASTORA Women’s Health business to “reduce the
                                potential for product liability related to future mesh implants.”

                                2016 rev. guidance below; modest EPS raise is a disappointment, in our view. Revenue guidance is
                                $4,320-$4,520M; midpoint of $4,420M is 6% below our $4,708M and 5% below cons’ $4,670M.
                                EPS guidance is $5.85 - $6.20 (prev. $5.85-$6.15); midpoint of $6.03 (slightly up from $6.00) is
                                2% below our $6.13 and in line with cons’ $6.02. The modest EPS guidance raise is disappointing
                                given that on Jan. 11, 2016, CEO Rajiv de Silva emphasized potential upside from the V-Gel
                                extension and completed share buybacks and that “there’d be more tailwinds against this number
                                than headwinds.” Additionally, 54% of revs and 57% of EPS are supposed to occur 2H:16, driven
                                primarily by short-duration earnings (Seroquel generic launch in Nov ’16 and Zetia in Dec ’16 have
                                6-months exclusivity and then will likely face significant competition).

                        In a separate report published a few days later, Morgan Stanley lowered its 2016 through 2020 EPS estimates for
                        Endo, “driven by lower generic growth assumptions,” and cut its price target to $50 from $68. The analyst did “not
                        expect significant multiple expansion near-term” or “material M&A near-term given Endo’s leverage.” “Following
                        negative 4Q news,” Morgan Stanley “believe[d] the company ha[d] to deliver above expectations to drive enthusiasm
                        for the base business again”:156


156
      Morgan Stanley, “Lowering ests and PT; generics in the spotlight,” March 4, 2016.


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                 We are lowering our EPS estimates by 1% in ’16, 8% in ’17, and 11-15% in ’18-20, driven by
                 lower generic growth assumptions. We are also reducing our price target from $68 to $50.
                 Maintaining EW rating.

                 Cutting our price target from $68 to $50. Our previous $68 price target represented 11x ’16E EPS.
                 Given the company’s high leverage and higher mesh litigation liabilities (Endo announced $1.5B in
                 pretax liabilities and $575M after tax), we have transitioned to an EV/EBITDA methodology. Our
                 new $50 PT assumes 8x 2017 EBITDA of $2.2B, which blends both the spec pharma median of
                 8.2x and the generic pharma median of 7.7x, by consensus estimates. Note that we lowered our
                 2017E EBITDA by -5% from $2.4B to $2.2B.

                 Lowering projections mainly on legacy Endo (Qualitest) generics. We lowered our ’16E rev by -
                 8% from $4.8B to $4.4B and ’16E EPS by -1% from $6.10 to $6.01. The reduction on the top-line
                 is offset by lower costs and a lower tax rate than we initially anticipated (new est. of 10% vs. 12%
                 prior). We lowered ’17E EPS -8% from $7.17 to $6.58, ’18E -11% from $7.87 to $6.97, ramping
                 to ’20E -15% from $9.20 to $7.82. The key swing factor is legacy Endo generics, which we were
                 previously forecasting growing mid- to high- single digits, now declining -3% in perpetuity. The
                 Qualitest portfolio tends to have older, more commoditized products and a limited pipeline.
                 Additionally, we expect an ongoing tough pricing environment based upon Endo’s and other
                 generic companies’ comments.

                 Valuation at these levels is more compelling...On an EV/EBITDA basis, ENDP trades at 8x ’16E
                 and 7x ’17E, which represent discounts to the consensus spec median of 9x and 8x, respectively.
                 Additionally, we estimate 2016E FCF of $1.2B (inclusive of est. mesh charges of ~$200M), which
                 reflects a reasonable FCF yield of 7%, in-line with the spec median. Using 2017E FCF of $1.4B,
                 the FCF yield is 9%.

                 ...but since we estimate ~63% of Endo’s earnings will come from generics (to which the market
                 assigns a lower multiple than brands), and 2016 results are 4Q-weighted, we do not expect
                 significant multiple expansion near-term. Following negative 4Q news, we believe the company
                 has to deliver above expectations to drive enthusiasm for the base business again. A positive is that



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                              1Q guidance seems very achievable (18% weighting to Q1 based on FY guidance implies a range of
                              $1.05-$1.11). We do not expect material M&A near-term given Endo’s leverage (net debt 3.9x
                              ’16E EBITDA). See our math in section which follows on est. Zetia & Seroquel generic launch
                              contributions to 4Q:16 and 2017 EPS. These figures are rough estimates; we did not have input
                              from Endo.

                       Morningstar wrote the Company’s revenue guidance fell “below [its] forecast,” while EPS guidance was close to the
                       analyst’s estimate because of “lower-than-expected” interest expense and tax rate. Morningstar thought “increased
                       competition on Endo’s older branded and generic products remain[ed] a challenge for future performance.” The
                       analyst noted that, while “after-tax vaginal mesh payouts … continue[d] to absorb a fairly significant amount of
                       cash,” “[a] related tax refund, however, doesn’t appear to significantly alter our initial after-tax claims payout
                       projections at this time”:157

                              We plan to make some adjustments to our model for Endo Pharmaceuticals, including higher
                              accruals for vaginal mesh claims and management’s decision to wind down its women’s health
                              segment, which may lead to a shift in our fair value estimate. Management’s outlook for nearly
                              $4.3 billion to $4.5 billion in revenue for 2016 also falls below our forecast, but a higher-than-
                              expected gross margin (despite integration of Par’s generics business) and lower-than-expected tax
                              rate and interest expense should keep earnings close to our initial $5.94 adjusted EPS estimate,
                              which is still within management’s guidance range. However, after-tax vaginal mesh payouts,
                              which management projects at nearly $200 million and $375 million in 2016 and 2017,
                              respectively, continue to absorb a fairly significant amount of cash. We still think Endo’s
                              dependency on a few key branded products, weak relative position in the generics industry, and
                              questionable acquisition strategy leave the company without an economic moat.

                              Although we anticipate modest strength from Xiaflex and the recent launch of Belbuca
                              (buprenorphine buccal patch) can help stabilize Endo’s business, we think increased competition on
                              Endo’s older branded and generic products remain a challenge for future performance.
                              Additionally, an increase in vaginal mesh claims, particularly near the end of 2015, has led

157
      Morningstar, “Endo’s Growth and Mesh Litigation Remain Concerns for 2016,” February 29, 2016.


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                               management to boost its payout reserves and could remain an ongoing liability for the firm beyond
                               our initial forecast. A related tax refund, however, doesn’t appear to significantly alter our initial
                               after-tax claims payout projections at this time, and we imagine the mesh litigation issue likely
                               remains in the final innings. Although higher marketing costs, partially due to the launch of
                               Belbuca, should also lead to higher marketing costs in 2016 than we originally anticipated, an
                               estimated adjusted gross margin near 64% and a tax rate of 9% to 10% helps offset the higher
                               operating expenses.

                       Northland published a report prior to the Company’s conference call, stating that Endo’s quarterly revenue missed
                       its forecast as Generics were “weaker than we forecast.” The Company’s EPS was higher than Northland’s forecast
                       “on lower tax.” Northland “view[ed] [Endo’s] 2016 outlook as low-quality as a lower tax rate of 9%-11% versus
                       14.7% consensus allowed Endo to slightly revise prior EPS guidance”:158

                               Endo reported 4Q15 results with Adjusted EPS of $1.36, above our $1.27/ $1.27 consensus. For
                               2015, Endo’s Adjusted EPS from Continuing Ops were $4.66. For 2016, Endo boosted its 2016
                               Adjusted EPS range by just $0.05 on top-end to $5.85-$6.20 and our $6.15. Sales guidance of
                               $4.32-$4.42B is 5.4% below consensus of $4.67B and our prior $4.70B model. We view 2016
                               outlook as low-quality as a lower tax rate of 9%-11% versus 14.7% consensus allowed Endo to
                               slightly revise prior EPS guidance.

                               Key Points
                               We are reviewing our EPS forecasts and our price target for Endo International although we see our
                               Market Perform as the correct stance post-Endo’s conference call even assuming a bounce from an
                               intra-day drubbing of 18%. We see key negatives as (1) an increased reserve for surgical mesh
                               liability which was a $834M pre-tax charge during 4Q15 and an expected $150-$250M cash
                               payments in 2016, (2) further impairment charges for Paladin and Stendra and (3) 2016 revenue
                               guidance of $4.32-$4.52B a 5.4% shortfall from Consensus-$4.67B/Northland-$4.70B.



158
      Northland Capital Markets, “Endo’s 4Q15 Disappoint Although Adjusted EPS ‘Beat’; 2016 Sales Guidance Misses,” February 29, 2016.


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                               Endo’s 4Q15 results were Adjusted EPS of $1.36, above our $1.27/ Consensus-$1.27 although
                               revenue of $1.074B missed our $1.085B forecast. Consensus was $1.067. Versus our model, total
                               Generics were weaker than we forecast at $609M versus our $698M model. Endo beat our forecast
                               on lower tax--a benefit of $17.6M or -6.1% versus our 13.1% model. Also, contributions from
                               higher Lidoderm (pain patch) sales and some inventory expansion for Xiaflex are not 2016 drivers.

                               Cross-currents in 2016. While Endo has actually slightly increased its Adjusted EPS guidance
                               $0.05 on upper-end to $5.85-$6.20, it expects a back-weighted year with just 18% of EPS (using
                               mid-point of ~$6.03) in 1Q16. This implies 1Q16 Adjusted EPS of just $1.09-$1.10, well-below
                               our $1.31/Consensus-$1.32. Endo’s tax rate guidance of 9%-11% is well-below our 14.5%
                               estimate/Consensus 14.7% for 2016. While positive, it should increase in 2017 to a low-teens
                               range. Endo has some EPS benefit from extension of the Voltaren Gel agreement; however, it
                               could see generics eventually as Endo highlighted on its conference call. Endo reiterated its 2019
                               target for Belbuca (long-acting opioid) at $250M; however, its view of the launch is gradual in
                               2016 and expenses should exceed 2016 sales.

                               Stresses to 2016 cash flow. While Endo highlights over $2B in 2016E EBITDA, with debt pay-
                               down goal of $500M of debt, GAAP Cash Flow from Operations has some strains. Adjusted
                               interest of $455M and potential $150-$250M in mesh product liability payments are just two items.
                               In 2015, free cash flow was a $19.7M burn.

                        In a separate report, Northland wrote that “for 4Q15 as Endo cited increasing pricing pressure for commodity and
                        pain drug generics performance eroded.” Northland noted that surgical mesh product liability was “an approximate
                        $7 per share liability.” The analyst made “modest EPS cuts” to its 2016 and 2017 forecasts for the Company, but
                        noted “[o]nly a much lower tax rate … allows us to keep near intact our 2016-2017 Adjusted EPS forecasts.”
                        Northland “slash[ed] [its] 2016-2017 revenue forecasts,” and cut its price target for the Company to $48 from $67:159

                               Endo International’s shares appear to be a broken story near term. We slash our 2016-2017 revenue
                               forecasts by 6.5% and 6% respectively. Only a much lower tax rate (2016E guidance of 9%-11%

159
      Northland Capital Markets, “No Hurry to Commit to ENDP Shares, Slashing Target to $48 (from $67),” March 2, 2016.


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                 versus 14.5% estimate) allows us to keep near intact our 2016-2017 Adjusted EPS forecasts which
                 are now $6.10 (down $0.05) and $6.90 (down $0.10). We cut our 12-month target to $48 per share
                 from $67.

                 Key Points
                 We cut our price target to $48 per share (from $67) reflecting an EV/EBITDA multiple of 9x our
                 2016E EBITDA per share forecast of $9.24 (from prior 11x multiple). This compares to a 6.6x
                 average for M&A driven (roll-up) branded comps and ~8.2x blended peer average. We view
                 ENDP shares which are down in excess of 21% since prior to 4Q15 as a potential bounce-candidate
                 although we see little hurry to commit to shares afterwards. We maintain our Market Perform
                 rating for Endo International plc. shares.

                 For 2015, Endo took steps to sell off its device business (acquired under prior management) and
                 Endo is winding down its Astora Health unit by end of March in part to prevent further escalation
                 of product liability claims from surgical mesh, which is the source of Endo’s product liability. We
                 note that accruals as of December 2015 for product liabilities are $1.57B net of Endo’s restricted
                 cash on balance sheet for an approximate $7 per share liability. This liability is a factor that goes to
                 what multiple investors will pay for Endo particularly with $8.3B or $34.60 per share in net debt
                 (ex. restricted cash). While we expect rebound in free cash flow from burn of $19.7M in 2015,
                 drains on cash flow and 2016E Adjusted EBITDA of $2.1B ($9.24 per share) include interest
                 expense of $455M, potential receivables of $200M+ from 4Q15 generic launches and ~$150-
                 $200M of settlement payments. Our free cash flow forecast for 2016 is $671.8M or $3.00 per
                 share.

                 Acquisitions drove performance for 2015. Total revenues for 2015 continuing operations were
                 $3.27B up 37% from $2.38B in 2014. Excluding $742.7M in acquired sales (Auxilium/Par), 2015
                 revenue growth was ~6%. Endo’s US Generics business (now Par) represents 51.2% of sales up
                 from 47.9% in 2014 and for 2015 total Generics grew 47% including $383M from Par’s purchase
                 late 3Q15. Excluding Par, US Generics growth was 13%. However, for 4Q15 as Endo cited
                 increasing pricing pressure for commodity and pain drug generics performance eroded. For 4Q15,
                 total Endo generics were $609M at 57% of revenue and rising 81% on a reported basis. Par added



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                               $359M for 4Q15 so Endo’s Generics showed a 26% YOY decline. As mentioned, we make modest
                               EPS cuts; however, our 2016-2017 forecasts include sharp revenue cuts of 6%-6.5% per year
                               chiefly from Generics. We factor in higher R&D spend & back-weighted EPS progression for
                               2016.

                       Oppenheimer wrote that Endo’s shares were down following results due, in part, to “a sizable accrual relating to the
                       vaginal mesh cases,” as well as “reported softness in its base generic business.” The analyst wrote that the
                       Company’s quarterly revenue was “in-line” with its estimates, EPS beat its estimate as a result of “[l]ower than
                       expected R&D expense … and better taxes,” and that “[r]evenue guidance for 2016 was light compared to
                       consensus.” Oppenheimer “slightly lower[ed]” its 2016 revenue forecast for the Company and kept its EPS estimate
                       “at the bottom of the range”:160

                               Shares of Endo traded down ~21% (vs. S&P 500 down ~1%) despite strong 4Q15 results with an
                               EPS beat. Revenue guidance for 2016 was light compared to consensus, but EPS was in-line. Part
                               of the weakness in the shares was due to a sizable accrual relating to the vaginal mesh cases. Endo
                               increased the accrual by $834 million (vs. prior $1,403 million), split roughly evenly between the
                               removal of a prior assumption of a reduction factor and an increase from anticipated new
                               settlements. Additionally, the company reported softness in its base generic business. With the
                               share declines following the 4Q15 results, we note that Endo’s valuation appears relatively
                               inexpensive. However, we maintain our Perform rating as we look to do more work regarding the
                               pipeline.

                               KEY POINTS
                               Headline Results: ENDP reported revenue/adj. EPS of ~$1.07B/$1.36. The revenue was in-line
                               with our/Street estimates, while adj. EPS beat our/consensus of $1.31/$1.27. Base business generic
                               softness was offset by Lidoderm/Voltaren/ Xiaflex strength on the top-line. Lower than expected
                               R&D expense (~+$0.05) and better taxes (~+600bps) were the primary reasons for the bottom-line
                               beat.


160
      Oppenheimer, “4Q15 Results: Mesh Liability and Generic Weakness Lead to Share Declines,” March 1, 2016.


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                                Guidance: Management slightly increased the top end of the 2016 adj. EPS guidance to $5.85-6.20
                                (vs. prior $5.85-6.15) and provided revenue guidance of $4,320-4,520M. At the midpoint, the
                                revenue guidance was ~3%/5% below our/consensus estimates prior to the call. Additionally, in the
                                generics business, management commented that additional price increases would be unlikely.

                                Generics Softness: The legacy Qualitest portfolio was negatively impacted by pricing pressure and
                                increased competition in both the generic pain and commodities franchises. Excluding ~$30M of
                                one-time charges, the base generic business (ex. Par) was down ~24% Q/Q and down ~17% Y/Y.
                                Additionally, management noted that the retailer-wholesaler alliances have significantly impacted
                                the generics segment since 2Q15.

                                Mesh Liability: ENDP increased its accrual relating to the vaginal mesh cases by $834M in 4Q.
                                Management though does not believe the accrual will impact the company’s ability to pay down
                                debt. We believe there are now ~49,000 agreements for claims, which does not include ~8,000
                                claims that management considers weaker in nature that could be fraudulent or that Endo could
                                litigate.

                                Model Changes: We are slightly lowering our 2016 revenue estimate to ~$4,352M (vs. prior
                                $4,555M), at the bottom end of guidance. Our 2016 adj. EPS remains at the bottom of the range at
                                $5.87. We maintain our Perform rating but note that the shares appear relatively inexpensive
                                trading at ~7x our 2016 EPS.

                         Piper Jaffray wrote that the Company reported quarterly revenue and adjusted EPS “largely in-line with Street
                         estimates.” However, the analyst noted that “there was a significant amount of hand-wringing over management’s
                         update on the vaginal mesh liability … and pressure on commodity generics from the legacy Qualitest business.”
                         The analyst reduced its price target for the Company to $81 from $83, “reflecting modest adjustments to [its]
                         estimates”:161



161
      Piper Jaffray, “Generics Business Is Doing Fine...Really; And So Is Xiaflex; Staying Bullish,” February 29, 2016.


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                 Endo reported 4Q15 non-GAAP EPS of $1.36 on revenues of $1.1B, largely in-line with Street
                 estimates. Though there was a significant amount of hand-wringing over management’s update on
                 the vaginal mesh liability (it does not impact ENDP’s ability to de-lever this year) and pressure on
                 commodity generics from the legacy Qualitest business, these items will not detract from what in
                 our view is a favorable business mix going forward (i.e., an exceedingly deep generics pipeline,
                 assets from Par that have far lower risks of commoditization, and growing contribution from
                 Xiaflex and Belbuca). As such, we continue to believe that ENDP is well-positioned to drive a
                 long-term EPS CAGR in the double-digits, and do not believe today’s sell-off is logical. We
                 reiterate our Overweight rating and are slightly lowering our PT to $81 from $83, reflecting modest
                 adjustments to our estimates.

                 Commodity generics a headwind, but should not be a concern going forward. Sales from the
                 generics business were $609M in 4Q15, with Par contributing $359M. ENDP cited FY15 organic
                 growth of 11% over FY14. We note that a significant chunk of legacy Qualitest assets are
                 commoditized generics, and ENDP’s exposure to these kind [sic] of products should be
                 significantly more limited with the addition of Par (i.e., far more exposure to alternative dosage
                 forms). We would expect to see ENDP cut a number of these lower-margin assets from the
                 portfolio as it fully integrates Par.

                 2016 guidance builds in a good dose of conservatism. The 2016 guidance assumes additional
                 competition on the generics for valgancyclovir (few entrants thus far) and low-dose
                 hydrocodone/APAP, as well as generic competition on Voltaren (a relatively difficult to copy
                 locally-acting gel that has been off-patent for some time). ENDP does not expect competition in
                 2016 on Vasostrict (vasopressin), its largest selling injectable product. That has been a source of
                 anxiety given that ENDP is the only entrant here (it’s essentially a brand; a 505(b)(2)-based, non-
                 substitutable product). That said, this is a peptide hormone (not exactly easy to make; there have
                 been previous competitor exits), and vasopressin replacement desmopressin is currently on the FDA
                 shortage list. As such, ENDP’s expectations on Vasostrict look reasonable to us. Further, if
                 competition does materialize longer-term, ENDP’s generics portfolio will likely look significantly
                 different, with 8 potential first-to-file launches in 2016 and 2017 alone, out of around 150 pending




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                           filings. Put another way, Vasostrict’s importance to the generics mix will wane as new
                           opportunities bear fruit.

                           Xiaflex strong in 4Q15. Sales of Xiaflex in 4Q15 were $50M, up 26% versus 3Q15 sales of $40M,
                           with ENDP citing continued volume growth in both Peyronie’s disease and Dupuytren’s
                           contracture. Vial demand in PD and DC grew by 72% and 12% in 2015 over 2014.

                           RISK TO ACHIEVEMENT OF PRICE TARGET
                           Risks include additional generic threats and merger integration risk.

                    RBC published a report prior to the Company’s conference call, stating that Endo’s fourth quarter revenue was
                    “largely in line” with consensus, while EPS topped consensus, with both “helped by below the line items.” Lower
                    taxes and share count benefitted the Company’s EPS, according to RBC. RBC highlighted that “Generics missed,”
                    2016 “revenue outlook [was] below Street,” and the Company recorded a pre-tax charge to increase product liability
                    accrual for vaginal mesh cases:162

                           ENDP reported 4Q2015 revenue of $1.07 billion largely in line with consensus while EPS of $1.36
                           came in above the Street’s $1.27 with both line items better than us but helped by below the line
                           items. Overall, there are three things that are important to the print (i) 4Q results that came with
                           some moving parts (ii) the 2016 guidance outlook and (iii) the increase in the mesh product liability
                           pre-tax accrual. Overall, while consensus 2016 EPS are unlikely to change much post 4Q and
                           expectations were low, there are some moving parts that need additional context on the 8:30am ET
                           call - dial-in 1-877-456-0441 passcode 50028537.

                           (i) ENDP beat on branded revenue at $379 million versus our $319 million with nearly every
                           product line (ex-Testim) above our forecasts, including Xiaflex, and we were above the Street’s
                           $309 million. International also delivered upside at $85 million versus our $76 million and the
                           Street’s $77 million. However, Generics missed and this will be a focus this morning. ENDP

162
   RBC Capital Markets, “ENDP 4Q EPS above and 2016 guidance detail provided but some moving parts for the 8:30 am CC,” February
29, 2016.


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                               reported $609 million versus our $629 million and the Street’s much higher $672 million. This was
                               the first full quarter of Par but ENDP called out increased pricing pressure within legacy Qualitest
                               and “certain non-recurring charges” which will be get some attention this morning. Overall,
                               relative to our numbers the revenue upside was offset by a lower gross margin leaving a -$0.02 EPS
                               variance. Higher spending versus our model was -$0.18 of EPS variance while the income tax
                               benefit and lower share count provided offset and the +$0.10 upside to our estimate.

                               (ii) The guidance for 2016 was increased at the upper end by $0.05 to now $5.85 to $6.20 versus
                               consensus at $6.02 while the revenue outlook provided of $4.32-4.52 billion is below Street at
                               $4.67 billion. Gross margins of 63-65% bracket our forecasts while spending (19.5% to 20.5% of
                               revenue) appears to be above both us and consensus. Interest and share count do not appear to
                               surprise however, tax rate at 9-11% is lower than what we have modeled though consistent with last
                               year’s rate. The delta between a 15% rate and 10% rate is ~$0.35 so sustainability matters.

                               (iii) ENDP recorded an $834 million pre-tax charge in 4Q to increase its product liability accrual
                               for vaginal mesh cases. This includes $401 million to remove the reduction factor assumption that
                               had been included in the estimate based on actual claims and lack of any meaningful reduction
                               factor seen to date. The other $433 million is apparently largely related to the execution of more
                               Master Settlement Agreements in 2016. We had received several questions during the quarter
                               around potential for greater exposure here and we expect ENDP to provide additional detail on the
                               call.

                        In a separate report published the next day, RBC wrote that it was “not surprised the [Company’s] stock was down”
                        following a “mixed 4Q.” The analyst noted that investors expressed concerns about the “Qualitest decline,” revenue
                        guidance that was “below Street,” EPS guidance “with support coming from lower tax,” a lack of guidance for 2017,
                        and “[g]reater vaginal mesh accruals [that] played into cash flow concerns.” The analyst reduced its price target for
                        the Company to $73 from $91:163



163
      RBC Capital Markets, “Lingering questions post 4Q - our upcoming management meetings will look to address,” March 1, 2016.


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                 Our view: Stepping back from a mixed 4Q, we’re not surprised the stock was down but are on the -
                 21% magnitude. This has been a challenging stock call for us. But hard to argue that valuation
                 stays down here. Outlook comes down to confidence in new numbers but from here ENDP sets up
                 as an attractive value play. Price target lower but still see meaningful upside potential.

                 Key points:
                 We leave 4Q and the ensuing sell-off with our 2016E numbers little changed but helped by non-
                 operational factors. Our 2016E revenue remains roughly the same as we were at the low end of
                 consensus while higher spending clips our EBITDA by 5% offset by lower tax and share count
                 leaving us roughly mid guidance on EPS. In other words, while we’ve made several changes to our
                 model, 2016E EPS isn’t meaningfully different while we’ve tempered our outer year forecasts
                 pending better visibility. Notable brand business strength was overshadowed by generic concerns
                 and while we don’t expect meaningful changes to 2016 Street forecasts, ENDP is going to need to
                 show that it can convert its generic pipeline before outer year Street numbers revise higher. The
                 bottom line though is that at 6x 2017E EPS (7.7x EV/EBITDA) the stock is not pricing in much at
                 these levels.

                 There were five recurring investor concerns we heard: (i) The 4Q Qualitest decline was hard to
                 explain even after one-time items which, combined with commentary around commodity generic
                 pricing softness, has impacted investor confidence in the generics business (~53% of gross profit).
                 (ii) While guidance of $5.85-6.20 was updated (raised at upper end) revenue was below Street and
                 spend was higher with support coming from lower tax. (iii) Bullish message from Jan 11 on 4Q
                 and 2016E didn’t deliver in part on the back of year-end processes in Jan/Feb (i.e., Qualitest
                 chargebacks etc.). (iv) Management did not bless the previous $7.00 EPS target for 2017E when
                 asked (recurring concerns here). (v) Greater vaginal mesh accruals played into cash flow concerns.

                 Where do we stand? We lower our target but still see meaningful upside as a value play. During
                 our meetings with management on Wed we will look to get greater comfort around two things (i)
                 confidence in the new forecasts; and (ii) when we can expect to see favorable P&L swing factors
                 emerge. We think it’s going to be hard to argue for a meaningful peer group premium until we see
                 more consistency in operational performance but we still see significant upside from here. Our new



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                              $73 target is based on a P/E and EV/EBITDA blend and implies a 10.6x 2017E P/E - closest peers
                              trades at 6.7x to 9.3x but also on arguably depressed valuations.

                       UBS published a report prior to the Company’s conference call, stating that Endo’s quarterly revenues were “in line,”
                       but that “generics was weaker than expected,” while EPS topped consensus expectations as lower taxes “drove the
                       beat.” The analyst also noted that the Company’s “revenue[] [guidance] came in lighter than [] expected”:164

                              What’s new? 4Q15 EPS of $1.36 vs consensus of $1.27 and UBSe of $1.33
                              While overall revenues were generally in line, lower gross margin (-2.7%), higher S&GA (-$20M)
                              and higher R&D (-$3.5M) were more than offset by lower taxes (+17.8% or $0.22), which drove
                              the beat. Management provided 2016 revenue guidance for the first time ($4.32B to $4.52B vs.
                              consensus and UBSe of $4.6B) and raised the upper end of its previously provided non-GAAP EPS
                              guidance range by $0.05 to $5.85-6.20. Management expects gross margins of 63-65% (vs ~63%
                              UBSe), operating expenses of 19.5%-20.5% (vs UBSe 18.6%) and a tax rate of 9-11% (vs UBSe of
                              17%). Endo expects a federal tax refund in 2016 for back losses incurred in 2015 and expects
                              additional benefits from reduced federal income in 2016 and future years.

                              Our takeaway: Key Brands beat, generics was weaker than expected
                              For 4Q15, the good news is that Endo came in above the high end of its guidance range and that we
                              saw positive variances for the key brands including Voltaren Gel (+$11.5M), Xiaflex (+$5.5M),
                              Paladin (+$10.7M) and even Lidoderm (+$14.5M). However, generics sales (-$71.5M) came in
                              lower because of increased pricing pressure in pain and commoditized products within the legacy
                              Qualitest business and some nonrecurring charges which is a bit of a surprise to us as management
                              had not said anything about pricing pressure in the pain business while we had heard this from
                              some of the other players in the pain space. Further, the 4Q $834M charge for the mesh cases is
                              significant and we look for more color on how close we are to the end of these charges. For the
                              2016 guidance, revenues came in lighter than we expected but the gross margin is a little higher and
                              it looks like at least some of the lower tax rate is sustainable beyond 2016. We look to get more
                              clarity on the conference call.

164
      UBS, “Good News Bad News Quarter,” February 29, 2016.


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                               Thoughts on the stock: Wouldn’t expect much
                               Investors should be happy to see the strength in the branded products. The $0.05 increase to the
                               high end of the 2016 EPS guidance is a small positive; however, investors will want to understand
                               the key moving parts in the generics business heading into next year and the components of the
                               2016 revenue and tax rate guidance.

                               Valuation: We maintain our Buy rating and PT of $91
                               Our price target of $91 is based on P/E of ~13x our 2017E EPS of 7.00.

                        In a separate report published later that day, UBS wrote that the Company’s “pricing pressure in the legacy Qualitest
                        biz as well as the incremental new mesh liabilities [were] disappointing, and the earnings quality in both 4Q and 2016
                        [were] worse than expected.” The analyst noted that “2016 guidance assumes no price increases in generics (except
                        for some injectables).” However, the analyst maintained its forecasts for the Company as “the strong outlook for Par,
                        Xiaflex and Belbuca remain[ed] unchanged and the lower tax rate appear[ed] sustainable”:165

                               What we learned on the conference call
                               (1) In generics, while Par exceeded internal expectations ($359M), Qualitest was impacted by
                               volume loss (20% of products drove 80% of loss), price pressure, mild flu season and one-time
                               charges of $30M. In 2016, mgt expects mid-to-high teens growth driven by ~20 new product
                               launches plus Zetia and Seroquel and continued strength in sterile injectables. (2) Re mesh
                               liabilities, mgt expects post-tax payments of $575M through 2017 ($150-250M in 2016 and $325-
                               425M in 2017) and while there are ~8K more cases pending, these are likely to result in lower
                               charges as these are weaker cases and mgt believes many may even be fraudulent. (3) Mgt still
                               expects to de-lever to 3-4x in 2H16. (4) Lidoderm benefited from one-time return reserves of $10-
                               15M in 4Q. Mgt expects headwinds in 2016 as some of the contracts come to an end and has
                               already started seeing some of that in 2016. (5) Re Belbuca, mgt reiterated >$250M in sales by
                               2019 but expects a slow ramp in 2016 as it negotiates contracts with Medicare Part D and gains
                               adoption of this new opioid formulation.

165
      UBS, “Things Are Not That Bad; Keeping the Faith,” February 29, 2016.


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                            Additional takeaways: (6) For Xiaflex, demand in 2015 grew 72% for PD and 12% for DC. Vials
                            shipped in 4Q continued to grow for both DC and PD. Endo is kicking off a DTC campaign next
                            week for PD. (7) FDA has accepted Endo’s application for Opana TRF with a July 29 action date.
                            Post approval, Endo plans to file a Citizen’s Petition to remove the Opana ER generics from the
                            market. (8) 2016 guidance assumes no price increases in generics (except for some injectables) and
                            0-25% price increases on the branded side. (9) Endo expects EPS cadence in 2016 of ~18% in 1Q,
                            ~25% in 2Q and the remainder in 2H16.

                            Thoughts on the stock: No doubt a mixed qtr; Stock reaction over done
                            No doubt the pricing pressure in the legacy Qualitest biz as well as the incremental new mesh
                            liabilities was disappointing, and the earnings quality in both 4Q and 2016 are worse than expected,
                            but things are not that bad in our view. The strong outlook for Par, Xiaflex and Belbuca remains
                            unchanged and the lower tax rate appears sustainable, which keeps us confident in our $7.00 EPS
                            estimate in 2017, and we remain patient with the name.

                            Valuation: We maintain our Buy rating and PT of $91
                            Our price target of $91 is based on P/E of ~13x our 2017E EPS of 7.00.

                     William Blair published a report prior to the Company’s conference call, providing Endo’s earnings results and
                     guidance, and stating “[o]verall, we believe that growth in 2016 will be focused on the Par Pharmaceuticals
                     integration and pipeline, Xiaflex growth trends, and the recently launched Belbuca”:166

                            Before the open on Monday, February 29, Endo International reported fourth quarter and full year
                            2015 earnings. For 2016 guidance, the company expects revenue in the range of $4.32 billion to
                            $4.52 billion and adjusted diluted EPS to range from $5.85 to $6.20, a slight $0.05 increase on the
                            top end from previously noted 2016 guidance announced at the close of the Par deal. The company
                            continues to set the goal of de-leveraging to 3 to 4 times net-debt-to-adjusted-EBITDA by the

166
   William Blair, “Fourth-Quarter Quick Take; Guidance in Line With Prior Announcement, Focus on Belbuca Launch and Par Integration,”
February 29, 2016.


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                 second half of 2016 with the company having net debt of $8.3 billion and a net-debt-to-adjusted-
                 EBITDA ratio of 4.37 at year-end. In addition, during the fourth quarter, Endo recorded an $834
                 million pretax charge related to its product liability accrual for vaginal mesh cases and determined
                 that it would be winding down ASTORA (AMS Women’s Health) by the end of first quarter 2016
                 to reduce the potential for product liability related to future mesh implants. Overall, we believe that
                 growth in 2016 will be focused on the Par Pharmaceuticals integration and pipeline, Xiaflex growth
                 trends, and the recently launched Belbuca.

                 On February 22, Endo announced the commercial availability of Belbuca for the treatment of
                 chronic pain severe enough to require daily, around-the-clock, long-term, opioid treatment for
                 which alternative treatment options are inadequate. The company has put significant resources into
                 the launch by doubling the size of its pain salesforce and we view the product as having a profile
                 that makes it appealing to prescribing physicians, including a Schedule III classification from the
                 DEA and seven dosage strengths (from 75 μg to 900 μg), which allows physicians to titrate Belbuca
                 individually for patients to provide adequate efficacy with minimal side effects. We continue to
                 believe that the product has the potential to gain significant market share in the hole left by the
                 descheduling of hydrocodone-containing products to Schedule II from Schedule III and expand the
                 market based on the efficacy and safety profile.

                 We note that at co-partner BioDelivery Sciences’ (BDSI $3.80; Outperform) analyst event last
                 week, Dr. Richard Rauck of the Carolinas Pain Institute spoke about the unmet needs in the
                 treatment of chronic pain and the clinical profile of Belbuca, which completed two positive double-
                 blind, placebo-controlled Phase III studies in opioid naïve (BUP-308) and opioid experienced
                 patients (BUP-307). A total of 974 randomized patients completed both trials, which included an
                 open-label period in which patients were titrated to a tolerated effective dose of Belbuca and then
                 randomized to either continue on Belbuca or receive a placebo buccal film. The primary endpoint
                 of both studies was the change in the average daily pain score from baseline to week 12 of double-
                 blind treatment following the open-label titration period. Overall, there was a statistically
                 significant difference between the treated group and placebo in both studies in the primary endpoint
                 (BUP-307: Belbuca mean score change 1.92 versus placebo mean score change 0.88, or 1.04 points,
                 p<0.00001; BUP-308: Belbuca mean score change 1.59 versus placebo mean score change 0.94, or



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                            0.65 points, p=0.0012). Dr. Rauck also highlighted the differentiation of Belbuca from the Butrans
                            transdermal patch in ability to titrate and higher dose strength (which had revenue of about $230
                            million in 2015, three years post-launch). Endo has guided to exceeding $250 million in revenue
                            by 2019 from Belbuca, which we believe should be attainable given our belief in its superior
                            product profile in addressing market needs.

                     In a separate report published the next day, William Blair stated that Endo “reported strong fourth-quarter revenue
                     and non-GAAP EPS, [but] management issued cautious guidance for 2016 that was below consensus.” The analyst
                     “view[ed] the [mesh] litigation and potential concerns over generic pricing as a recurring headwind for the company.”
                     William Blair “believe[d] disappointment in top-line guidance may have compounded with the mesh liability accrual
                     to lead to Monday’s significant sell-off”:167

                            On Monday, February 29, Endo announced its fourth quarter and full year 2015 earnings. Although
                            the company reported strong fourth-quarter revenue and non-GAAP EPS, management issued
                            cautious guidance for 2016 that was below consensus, although it still represented double-digit
                            year-over-year growth. However, beyond guidance, much of the call was focused on the mesh
                            product liability accrual, the strategic decision to wind down ASTORA business operations, and the
                            future impact of the litigation on financial results. We view the litigation and potential concerns
                            over generic pricing as a recurring headwind for the company as management focuses 2016 on the
                            launch of Belbuca, de-leveraging, and execution on the company’s large ANDA pipeline, which
                            should drive double-digit core growth excluding M&A.

                            Regarding the mesh litigation, management noted that an influx of claims were presented to the
                            company in late 2015 driven by increased advertising from plaintiff attorneys, a lack of meaningful
                            settlements by other mesh manufacturers, and higher value verdicts awarded against other
                            manufacturers. As a result, the company now has a total product liability accrual of $2.086 billion,
                            including an additional $834 million accrual taken in the fourth quarter consisting of $401 million
                            due to the elimination of a kick-out factor and $433 million in new additional settlements and

167
  William Blair, “Post-Call Model Update; Litigation Uncertainty Presents Overhang, Double-Digit Organic Growth Expected in 2016,”
March 1, 2016.


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                 claims. The company is also aware of about 8,000 supported claims that have not been accrued
                 because the company believes on consult with legal counsel that the portfolio could be of lower
                 value and lower quality (lacking medical records and/or demographic information). Management
                 noted on the call that the total remaining liability post-tax cash flow is projected to be $150 million
                 to $250 million paid in 2016 and $325 million to $425 million paid in 2017, mitigated by an
                 expected tax refund of about $700 million in the first half of 2016. In addition, despite receiving
                 formal bids for ASTORA, management has decided to wind down the business by the end of the
                 first quarter to reduce the potential for product liability related to future mesh implants and the
                 evolving liability landscape around vaginal mesh.

                 In addition, management highlighted the progress in 2015 and expected future progress of its three
                 primary business lines: U.S. branded pharmaceuticals, international, and U.S. generics. The
                 company continues to see double-digit growth in Xiaflex driven by volume (up 72% in 2015 for
                 Peyronie’s disease and up 12% in 2015 for Dupuytren’s contracture) and expects the product to
                 become a $1 billion franchise with additional indications (cellulite Phase IIb trial initiated, adhesive
                 capsulitis FDA meeting expected in first quarter 2016, and more than 12 additional potential
                 indications). Last week, the company launched Belbuca with its expanded salesforce and about
                 two-thirds of commercial patient lives (the rest covered under Medicare Part D) with chronic pain
                 (about $4.7 billion total market) covered at launch. Endo has also submitted a request for abuse-
                 deterrent labeling for Opana ER (on top of a favorable IP ruling in the fourth quarter) and the FDA
                 set a review date of July 29, 2016. For the international pharmaceuticals business, management is
                 projecting improved margins and double-digit underlying growth for both Somar and Litha, and
                 including the recently acquired Aspen portfolio and divesting noncore product lines.

                 ***

                 For 2016 guidance, the company expects revenue in the range of $4.32 billion to $4.52 billion and
                 adjusted diluted EPS in the range of $5.85 to $6.20, a slight $0.05 increase on the top end from
                 previous 2016 guidance announced at the close of the Par deal. However, with consensus at $4.66
                 billion and $6.02 in 2016, we believe disappointment in top-line guidance may have compounded
                 with the mesh liability accrual to lead to Monday’s significant sell-off. Gross margins are expected



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                            to be between 63% and 65%, adjusted operating expenses as a percentage of revenues between
                            19.5% and 20.5%, adjusted interest expense of about $55 million, and the adjusted effective tax rate
                            between 9% and 11%. We believe the below peer group tax rate is also a likely risk factor as we
                            enter an election cycle, which is likely to focus on overseas tax rates of pharmaceutical companies.
                            In 2016 management noted it anticipates over $2 billion in adjusted EBITDA, growing at a double-
                            digit rate excluding any M&A. We note that historically Endo has issued conservative yearly
                            guidance during its fourth-quarter calls. For 2014, guidance was for revenue between $2.5 billion
                            and $2.62 billion with adjusted EPS between $3.40 and $3.65, which ended up being $2.877 billion
                            and $4.31. In 2015, guidance was for revenue between $2.9 billion and $3 billion with adjusted
                            EPS between $4.35 and $4.55, which ended up being $3.268 billion and $4.66.

                    News articles attributed the decline in the Company’s stock price on February 29, 2016 to the Company’s
                    announcements on that day.168

                    Following the Company’s disclosures on February 29, 2016, according to Bloomberg, the average of analysts’ price
                    targets for Endo stock decreased to $70.13 from $81.75, or -14.2%. Of the 21 analysts who published investment
                    ratings for the Company both before and after the earnings announcement, two upgraded their ratings. (See Exhibit
                    5C.)




168
   See, e.g., Dow Jones Institutional News, “Endo Drops On Revenue Pressure, Mesh Liability -- Market Talk,” February 29, 2016, 11:13
AM; Theflyonthewall.com, “11:53 EDT Endo weakness an overreaction, says NomuraNomura said the pullback in...,” February 29, 2016; The
Motley Fool, “Why Endo International plc Earned a Lower Price Today,” February 29, 2016, 1:44 PM; Benzinga.com, “Endo International
Tanks After Revealing It Will Close Astora Women’s Health Division,” February 29, 2016, 2:01 PM; Associated Press Newswires, “Signet
and Newmont Mining rise, Valeant and Endo fall,” February 29, 2016, 4:45 PM;


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                     Remark: Given that: (i) the Company’s fourth-quarter 2015 revenue was “generally in line,” but “featured lower
                     than expected sales for Generics”;169 (ii) “[b]oth 4Q results and 2016 guidance … benefited from lower tax”;170 (iii)
                     “the company expect[ed] [generics] pricing headwinds to continue in 2016,”171 and generics’ “continued pricing
                     pressure for 2016 contributed to the company’s lower than expected guidance”;172 (iv) the $834M pre-tax charge for
                     mesh litigation was an “unexpected piece of bad news”;173 and (v) analysts reported that investors found “key
                     fundamental issues centered on (1) the magnitude of the 4Q decline in the legacy Endo generics business (down




169
   Deutsche Bank, “Tough Q for Qualitest,” February 29, 2016. See also, e.g., Barclays, “Lowering ests and PT; generics in the spotlight,”
March 4, 2016; Canaccord Genuity, “Lowering Target Price, Endo Q4: Anyone up for 20% FCF yield?,” March 1, 2016; Leerink, “Lowering
Ests & PT to $51 Reflecting Generic Price Dynamics; Remain OP,” March 1, 2016; Northland Capital Markets, “No Hurry to Commit to
ENDP Shares, Slashing Target to $48 (from $67),” March 2, 2016; Morgan Stanley, “4Q EPS figure looked good on surface, but lots of
devils in the details,” February 29, 2016.
170
   Barclays, “Lowering ests and PT, generics in the spotlight,” March 4. See also, e.g., Leerink, “Lowering Ests & PT to $51 Reflecting
Generic Price Dynamics; Remain OP,” March 1, 2016; Deutsche Bank, “Tough Q for Qualitest,” February 29, 2016; Morgan Stanley, “4Q
EPS figure looked good on surface, but lots of devils in the details,” February 29, 2016; Northland Capital Markets, “Endo’s 4Q15 Disappoint
Although Adjusted EPS ‘Beat’; 2016 Sales Guidance Misses,” February 29, 2016; UBS, “Things Are Not That Bad; Keeping the Faith,”
February 29, 2016.
171
   Deutsche Bank, “Tough Q for Qualitest,” February 29, 2016. See also, e.g., Leerink, “Lowering Ests & PT to $51 Reflecting Generic
Price Dynamics; Remain OP,” March 1, 2016; UBS, “Things Are Not That Bad; Keeping the Faith,” February 29, 2016.
172
   Gabelli & Company, “Mesh, Generic Pricing Hurt Outlook,” March 1, 2016. See also, e.g., UBS, “Things Are Not That Bad; Keeping the
Faith,” February 29, 2016; Leerink, “Lowering Ests & PT to $51 Reflecting Generic Price Dynamics; Remain OP,” March 1, 2016; William
Blair, “Post-Call Model Update; Litigation Uncertainty Presents Overhang, Double-Digit Organic Growth Expected in 2016,” March 1, 2016.
173
   Canaccord Genuity, “Endo Q4: Anyone up for 20% FCF yield?” March 1, 2016. See also, e.g., Guggenheim, “ENDP - BUY - Don’t
Throw This One Out with the Rest of Your Spring Cleaning,” February 29, 2016; JP Morgan, “Shares Highly Oversold Following 4Q;
Limited NT Catalysts But Attractive Entry Point For Those With Patience,” March 1, 2016; RBC Capital Markets, “ENDP 4Q EPS above and
2016 guidance detail provided but some moving parts for the 8:30 am CC,” February 29, 2016..


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                        double-digits), and (2) the headline mesh settlement ($834mn pre-tax charge),”174 the statistically significant
                        Company-specific stock price decline on February 29, 2016 is consistent with that expected in an efficient market.

          5/6/2016      After market close on Thursday, May 5, 2016, the Company reported its first-quarter 2016 financial results. For the
                        quarter, Endo reported revenue of $963.5 million, adjusted net income of $240.7 million, and adjusted EPS of
                        $1.08.175

                        The consensus estimates of quarterly revenue and adjusted EPS were $956.1 million and $1.04, respectively.176

                        Then-CEO De Silva commented on the Company’s performance:177

                               Despite increasing competitive and pricing pressures across both our Generics and Branded
                               businesses, Endo was able to deliver first quarter results largely in line with our expectations. …
                               However, as we move further into 2016, we are rebasing our full-year financial expectations due to
                               the impact of several previously unanticipated headwinds: new competitive entrants, including for
                               Voltaren(R) Gel; greater than expected price erosion across the Generics sector; and delays on
                               regulatory actions related to certain Endo products. We are also continuing to evolve Endo’s
                               corporate strategy and are taking decisive action to best position the Company for a return to long-
                               term, organic growth within a rapidly changing market environment. We look forward to executing
                               on this evolved strategy to deliver products that improve patients’ lives while creating value for our
                               shareholders.

174
   JP Morgan, “Shares Highly Oversold Following 4Q; Limited NT Catalysts But Attractive Entry Point For Those With Patience,” March 1,
2016. See also, e.g., Canaccord Genuity, “Endo Q4: Anyone up for 20% FCF yield?” March 1, 2016; Cowen & Company, “Thesis Is
Unchanged - But Value Investors Will Likely Now Find/Provide Support,” February 29, 2016; RBC Capital Markets, “Lingering questions
post 4Q - our upcoming management meetings will look to address,” March 1, 2016; William Blair, “Post-Call Model Update; Litigation
Uncertainty Presents Overhang, Double-Digit Organic Growth Expected in 2016,” March 1, 2016.
175
      PR Newswire, “Endo Reports First Quarter 2016 Financial Results,” May 5, 2016, 4:05 PM.
176
      Bloomberg, “Endo Falls After Views Cut; Adds Two to Board Including TPG Rep,” May 5, 2016, 4:36 PM.
177
      PR Newswire, “Endo Reports First Quarter 2016 Financial Results,” May 5, 2016, 4:05 PM.


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                        The Company updated 2016 guidance:178

                                                                           Current Guidance               Previous Guidance179
                               Total revenue                               $3.87 – $4.03 billion          $4.32 – $4.52 billion
                               GAAP EPS                                    $0.25 – $0.55                  $2.25 – $2.60
                               Adjusted EPS                                $4.50 – $4.80                  $5.85 – $6.20
                               Adjusted gross margin                       59% – 60%                      63% – 65%
                               Adjusted operating expenses as % of rev.    21.5% – 22%                    19.5% – 20%
                               Adjusted interest expense                   $455 million                   $455 million
                               Adjusted effective tax rate                 0% – 2%                        9% – 11%

                        Prior to the Company’s quarterly announcement, the consensus estimates of revenue and adjusted EPS for 2016 had
                        been $4.29 billion and $5.64, respectively.180

                        The Company also outlined its strategic plan over “the medium-term”:181

                               Endo’s corporate strategy continues to evolve to meet current challenges and capitalize on
                               opportunities. Today, Endo is outlining key steps it is taking in 2016 and beyond that are focused
                               on returning the Company to organic growth through investment in R&D and growth products,
                               improving margins and increasing cash generation to de-lever the Company in the medium-term.
                               Specific priorities include, but are not limited to, the following:

                               Branded Pharmaceuticals commercial operations: Endo continues to prioritize its investment on key

178
      Ibid.
179
   PR Newswire, “(PR) Endo Reports Fourth Quarter and Full Year 2015 Financial Results,” February 29, 2016, 6:30 AM; Endo
International, SEC Form 8-K, Exhibit 99.1, p. 12, filed March 17, 2016.
180
      Bloomberg, “Endo Falls After Views Cut; Adds Two to Board Including TPG Rep,” May 5, 2016, 4:36 PM.
181
      PR Newswire, “Endo Reports First Quarter 2016 Financial Results,” May 5, 2016, 4:05 PM.


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                              near-term growth opportunities: XIAFLEX(R) and BELBUCA(TM).

                              Branded Pharmaceuticals R&D Pipeline: Endo is also accelerating timelines for its XIAFLEX(R)
                              R&D pipeline with plans to move at least five programs into clinical trials this year.

                              Generics manufacturing operations: As part of Endo’s ongoing Generics business integration and
                              optimization efforts, the Company is announcing an accelerated restructuring of its Generics
                              product and R&D portfolio, as well as its manufacturing facility network. This restructuring is
                              expected to result in approximately $60 million in net run rate cost savings in 2017 and is expected
                              to result in the closure of the Company’s facility in Charlotte, North Carolina, and a workforce
                              reduction at its facility in Huntsville, Alabama.

                              Generics R&D: the Company reiterated its intention to launch approximately 30 products from its
                              newly combined pipeline in 2016 and to file approximately 25 to 30 abbreviated new drug
                              applications with U.S. Food and Drug Administration.

                              Corporate: Endo will focus on opportunities to continue to optimize its business, fund investment in
                              new growth opportunities and to de-lever in the medium term.

                       De Silva commented on the Company’s strategic plan:182

                              While Endo is facing challenges in 2016, we see this as a period of substantial opportunity for the
                              Company, the patients and physicians we serve, and our shareholders …. We are restructuring our
                              business to successfully meet these challenges and to position Endo for future growth. We believe
                              in the potential of our core long-term growth drivers: XIAFLEX(R), including its related pipeline,
                              BELBUCA(TM) and the Par generics pipeline and sterile injectables business …. We have
                              attractive assets and a resilient organization that we can rely on to return the Company to organic
                              growth, improve margins and increase cash generation over time. We strongly believe in Endo’s
                              future and in our ability to generate long-term value for our shareholders.

182
      Ibid.


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                        In a separate, contemporaneous press release, the Company announced that Brian Lortie, Endo’s President of U.S.
                        Branded Pharmaceuticals, “decided to step down from his position upon the appointment of a successor.”183

                        In another press release, the Company announced that Douglas S. Ingram and Todd B. Sisitsky (“Sisitsky”) were
                        appointed members of its Board of Directors, effective as of May 5, 2016.184 Sisitsky was then a Managing Partner
                        of TPG Capital.185

                        The Company also announced that, in connection with the Par Acquisition, it had “enable[ed], among other things,
                        TPG to purchase up to $250 million of additional shares of the Registrant on the open market through December 31,
                        2016, subject to certain limitations and other regulatory requirements.”186

                        The Company also announced restructuring charges related to its US Generic Pharmaceuticals “integration
                        efforts”:187

                               As part of the Registrant’s ongoing U.S. Generic Pharmaceuticals integration efforts, on May 3,
                               2016 the Registrant’s Board of Directors approved a restructuring initiative to optimize the U.S.
                               Generic Pharmaceuticals product portfolio and rationalize its manufacturing sites to expand product
                               margins (the “2016 U.S. Generic Pharmaceuticals restructuring initiative”). These measures
                               include certain cost savings initiatives, including a reduction in headcount and the closing of the
                               Registrant’s Charlotte, North Carolina manufacturing facility.


183
      PR Newswire, “Endo Announces Change to Senior Management Team,” May 5, 2016, 4:05 PM.
184
  PR Newswire, “Endo Announces Appointment of Douglas S. Ingram and Todd B. Sisitsky to its Board of Directors,” May 5, 2016, 4:05
PM. See also, Endo International plc, SEC Form 8-K, filed May 5, 2016.
185
      Ibid.
186
      Endo International plc, SEC Form 8-K, filed May 5, 2016.
187
      Ibid.


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                            As a result of the 2016 U.S. Generic Pharmaceuticals restructuring initiative, the Registrant expects
                            to incur total restructuring-related expenses of approximately $200 million, consisting of asset
                            impairment charges, increases to its excess inventory reserves, employee separation, retention and
                            other benefit-related costs and certain other charges.

                    The same day, also after market close, the Company held a conference call with investment analysts.188

                    During the trading day on May 6, 2016, Moody’s announced that it had downgraded Endo’s credit rating with a
                    negative outlook:189

                            Moody’s Investors Service downgraded the ratings of Endo Luxembourg Finance I Company
                            S.à.r.l., Endo Finance Co. and Endo Finance LLC, all subsidiaries of Endo International plc
                            (“Endo”). Moody’s downgraded the Corporate Family Rating and Probability of Default Rating to
                            B1 and B1-PD from Ba3 and Ba3-PD, respectively. The rating on the senior secured debt was
                            downgraded to Ba2 from Ba1 and the rating on the senior unsecured debt was downgraded to B3
                            from B1. Moody’s also affirmed the SGL-2 Speculative Grade Liquidity Rating. The rating
                            outlook is negative.

                            The downgrade of the Corporate Family Rating incorporates a number of negative developments
                            over the last several months including generic competition on Voltaren Gel and a significant
                            increase in vaginal mesh litigation accruals. More recently, competition and pricing pressure has
                            intensified in Endo's generic business, particularly within legacy Qualitest opioid products. These
                            developments have culminated in Endo significantly reducing its expectations for revenue, earnings
                            and cash flow in 2016. With earnings growth constrained by multiple headwinds, and free cash
                            flow constrained by litigation payments, debt/EBITDA will likely be sustained around 5.0x with


188
   Thomson Reuters, StreetEvents, “ENDP – Q1 2016 Endo International PLC Earnings Call, EVENT DATE/TIME: MAY 05, 2016 /
8:30PM GMT,” May 5, 2016, 7:30 PM.
189
   Moody’s Investors Service Press Release, “Moody’s Downgrades Endo’s Ratings; CFR to B1; outlook negative,” May 6, 2016. See also,
Bloomberg, “Moody’s Downgrades Endo’s Ratings; CFR to B1; outlook negative,” May 6, 2016, 11:36 AM.


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                              limited ability for Endo to deleverage meaningfully over the next 12-18 months.

                              The negative outlook reflects uncertainty around when Endo will be able to return to sustained
                              earnings and revenue growth. Further, the negative outlook reflects the risk of further downward
                              revisions to financial expectations given multiple headwinds across Endo's branded and generic
                              businesses.

                       Barclays published a report prior to the Company’s conference call, noting that “it wasn’t a matter of whether ENDP
                       would be lowering numbers, but by how much.” The analyst wrote that the Company’s quarterly adjusted EPS “may
                       be considered a beat, [but] the revision to 2016 guidance is a big miss to investors who were looking for a $5-
                       handle”:190

                              As we said in our preview, it wasn’t a matter of whether ENDP would be lowering numbers, but by
                              how much. We thought our $5.35 estimate, below consensus at $5.69, was in the neighborhood,
                              but clearly we underestimated the reverse leverage that pressure on ENDP’s generics business
                              would face. ENDP lowered guidance to a range of $4.50-$4.80, not only below our revised number
                              but well below the worst-case we heard from the buyside of a number in the range of $5.00 that
                              some hoped would be a clearing event. Though with numbers coming in where they did, it’s hard
                              to see how that will be the case in the near-term. ENDP announced management changes with
                              Brian Lortie exiting as president of the branded business as well as the addition of Douglas Ingram
                              and Todd B. Sisitsky to the Board of Directors. Ingram previously was president at Allergan.

                              While ENDP’s 1Q16 adjusted diluted EPS of $1.08 compared to our estimate of $1.01 and
                              consensus of $1.06, may be considered a beat, the revision to 2016 guidance is a big miss to
                              investors who were looking for a $5-handle. Adjusted diluted EPS range to $4.50-4.80 and
                              revenues from $3.87-4.03B, down meaningfully from the prior $5.85-$6.20 on revenues of $4.32-
                              4.52B. While at the Barclays healthcare conference in March, ENDP revised 1Q16 guidance in an
                              effort to be more transparent with investors, but the magnitude of the revision to 2016 guidance
                              notes many headwinds that the company thought would be contained within 1Q16. ENDP noted

190
      Barclays, “ENDP 1Q16 First Impressions,” May 5, 2016.


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                               continuous pressure in generics pricing and expects delays in regulatory reviews will continue to
                               impact 2016 results.

                               The company reported 1Q16 total revenues of $963M, compared to our estimate of $982M and
                               consensus of $956M. Of note, in the branded segment Xiaflex posted $44M in sales, compared to
                               our estimate of $46M. The company did not disclose Belbuca sales. Interestingly, ENDP noted it
                               will evolve the corporate strategy to focus on long-term organic growth drivers; ENDP has largely
                               been viewed as an M&A driven story, much like VRX, and the shift towards organic opportunities
                               will likely be met with some skepticism, much as it has for VRX.

                        In a separate report published the next day, Barclays stated that it expected the Company to reduce guidance, but it
                        was “surprised to see [it] come down this much.” According to the analyst, “competitive pressures in the generics
                        business were known even if the magnitude proved greater.” As a result, the analyst lowered its price target for the
                        Company to $28 from $37:191

                               We knew ENDP was going to be lowering numbers with 1Q results, though we were surprised to
                               see them come down this much. Mgmt had already lowered 1Q guidance in March to reflect
                               incremental pressure in its generics business and ENDP acknowledged pressure from generic
                               competition for Voltaren Gel, though we felt our $5.35 estimate, well below consensus at $5.70,
                               captured those headwinds, so seeing numbers “rebased” to $4.50-4.80, down from the prior $5.85-
                               $6.20 caused us do a double-take when reading the press release. Furthermore, with the ’16
                               effective tax rate lowered to a range of 0-2%, the cut to op income was even greater.

                               A key theme from today’s call was the need for brand segment growth to offset generic weakness,
                               especially in Qualitest (approximately 40% of segment revenues). On top of pressure in controlled
                               substances, the recent pickup on FDA approvals has pressured other commodity products; much of
                               this has been in Qualitest, though Par has seen competitive entrants too. Given ENDP’s current
                               branded portfolio, a combination of declining assets and lagging Belbuca, we lack confidence in the
                               ability of the segment to carry top-line growth. Mgmt is accelerating development of Xiaflex in

191
      Barclays, “Coping with a 4-handle,” May 6, 2016.


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                               new indications, but it is some time before those contribute meaningfully (if ever since approval is
                               not assured).

                               The competitive pressures in the generics business were known even if the magnitude proved
                               greater. However, we did not realize ENDP was depending so much on its 505(b)2 program for
                               previously unapproved drugs. While ENDP expressed some hope this would work out eventually,
                               given the recent focus on drug pricing, it’s unclear to us that the FDA will take actions that
                               increases costs to hospitals. The 505(b)2 program’s importance suggests Par’s growth profile
                               maybe less durable than assumed.

                               Our price target goes to $28. While ENDP will screen as “cheap” on adj EPS even on reduced
                               guidance, we’d argue “core” EPS is considerably lower, perhaps as low as $3, after adjusting for
                               Vasostrict & 180-day generic exclusivities, lessening valuation case.

                       Cowen questioned “whether Endo can stabilize its operations and begin to generate meaningful cash yield – and even
                       if so – at what point will that improved performance lead to significant debt retirement in the face of still large mesh
                       liability payments and potential future accruals.” The analyst advised its clients to “continue to avoid” Endo stock
                       given “this amount of leverage, combined with this level of problems.” The analyst emphasized that the Company’s
                       “lowering of guidance was not the surprise, but the magnitude was”:192

                               The question remains whether Endo can stabilize its operations and begin to generate meaningful
                               cash yield – and even if so – at what point will that improved performance lead to significant debt
                               retirement in the face of still large mesh liability payments and potential future accruals. With this
                               amount of leverage, combined with this level of problems, we simply do not want our clients
                               involved.

                               Future Value Creation Will Continue To Remain Difficult
                               Endo lowered its guidance to reflect the operating challenges in its legacy generic franchise and
                               pressures on a few of its core brand products. The lowering of guidance was not the surprise, but

192
      Cowen & Company, “Thesis Is Unchanged - Better Alternatives Exist,” May 6, 2016.


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                               the magnitude was. The question remains whether Endo can stabilize its core operations and begin
                               to generate meaningful cash yield – and even if so – at what point will that improved operating
                               performance lead to significant debt retirement in the face of still significant mesh liability
                               payments and potential future accruals. With this amount of leverage we do not believe that this is
                               something that our clients need to try find answers to, as in this difficult environment that has
                               lowered the valuation of significantly more higher quality assets there are simply too many other
                               alternative “inexpensive” companies available with easier and far more straightforward pathways to
                               greater value creation. For these reasons, we would continue to avoid.

                               As for our thesis, we have long thought that Endo’s aggregation of more generic revenue via a
                               fairly expensive Par transaction was a bit misguided, and we were not enamored with the Auxilium
                               transaction. Nonetheless, these decisions are all done and over, and the valuation is now essentially
                               reflecting these issues/concerns. At this point, we reconciled that Endo is what it is: a not terribly
                               exciting asset with a leveraged balance sheet. But the fact of the matter is that if management can
                               stabilize the cash flows, there should at the minimum be an upcoming bolus windfall of generic
                               launches via the Par new introductions in 2016/2017. Using our calculations, we estimate that the
                               free cash flow yield to total enterprise value (pre-interest) is approaching 10% at these levels.
                               Given these cold financial metrics, we believe that there is value, but remain concerned that this
                               could be a serious value-trap, especially in light of the debt levels. Although we argue that we have
                               now likely – and finally – seen the worst, this becomes an issue of whether there are better potential
                               investments to make. We would argue that there are via SHPG ($187.42, Outperform) and AGN
                               ($216.56, Outperform) which we think still offer compelling valuations and yet should be durable
                               growth entities with favorable inorganic optionality. For these reasons, we encourage our clients to
                               diversify away this asset.

                        Deutsche Bank wrote that “ENDP surprised us and the market with a ’16 outlook that was far lower than expected,
                        based primarily on generic competitive and pricing pressures.” The analyst reported “an intense and emotionally-
                        charged sell-off.” The analyst reduced its 2016 and 2017 revenue and EPS estimates for the Company and cut its
                        price target to $31 from $61:193

193
      Deutsche Bank, “Surprised, disappointed, nervous; not downgrading here,” May 6, 2016.


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                 Re-setting the bar, lowering target to $31
                 ENDP surprised us and the market with a ’16 outlook that was far lower than expected, based
                 primarily on generic competitive and pricing pressures, mixed in with some other factors. Against
                 the backdrop of “Specialty Pharma” sentiment that has been awful, an intense and emotionally-
                 charged sell-off continues. As hard as it is to step back and take a look at the story with a clean
                 slate from a new level, we do not see the justification to downgrade the stock when we see the
                 potential for it to be significantly higher in 12 months. Clearly, there is risk that the business could
                 disappoint again in the future, but rightly or wrongly we are choosing to take the view that
                 significant risk is priced in at these levels. Without a doubt, it will be crucial for ENDP to execute
                 and deliver, if not over-deliver, on its outlook in the coming quarters.

                 Model changes
                 We reduced our 2016E revenue to $3.91bn (from $4.12bn) and 2017E revenue to $3.88bn (from
                 $4.49bn) based on lower sales for Qualitest, Opana ER and Percocet (due to potential pressures on
                 the opioid market), and other brands (we had already factored in generic erosion for Voltaren Gel).
                 We also took a much more conservative view on Belbuca, lowering year-5 sales to $100mn (from
                 $250mn); we note that ENDP continues to expect sales of >$250mn in 2019. We lowered our
                 2016E gross margin to 60% (from 64%) based on ENDP’s margin expectations; we model gross
                 margin improving to 60.6% in 2017 and 61.0% in 2018 based on ENDP’s restructuring initiatives;
                 we do not model a return to the mid-60s, which ENDP believes is possible over time. We lowered
                 our tax rate estimate for 2016 to 2% (from 10%); we model the tax rate climbing to 9% by 2018
                 (vs. our prior 13%) based on ENDP’s longer-term expectation of a high single-digit rate. These
                 changes took our 2016E EPS to $4.54 (from $5.34), 2017E EPS to $4.80 (from $6.05), and DCF-
                 based PT to $31 (from $61).

                 De-levering will take longer, but debt appears manageable
                 ENDP had $8.56bn of debt at 3/31. Approximately 45% of the debt consists of term loans due in
                 2019 and 2021, while the balance consists of senior notes due in 2022-25. Based on our new, lower
                 cash flow estimates, we now model more gradual debt reduction relative to our prior model. We
                 now model net leverage (net debt/EBITDA) of 5.1x for 2016 (from 4.0x), 4.3x for 2017 (from



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                          3.0x), and 3.7x for 2018 (from 2.2x). Note that ENDP’s mid-term net leverage aspiration goal is 3-
                          4x. While it will now take longer for ENDP to de-lever, we do not see the company having trouble
                          with its debt maturities.

                   Guggenheim wrote that the Company reported adjusted EPS higher than consensus, but Endo’s stock was down
                   following management’s “lower-than-expected guide-down.” The analyst lowered its 2016 and 2017 adjusted EPS
                   estimates for the Company and cut its price target to $35 from $65 “driven by downwards earnings revisions”:194

                          ’16 guide-down with $4 handle adds to list of unexpected Spec Pharma downsides this year. That
                          said, with the stock down 25% aftermarket and likely to open lower than where it closed, we don’t
                          think it makes sense to downgrade it. We are however decreasing our PT from $65 to $35 (7.7x ’16
                          EPS of $4.50, vs. comps 12x), and this is driven by downwards earnings revisions. We would also
                          note ENDP said it is open to strategic alternatives if management cannot enhance shareholder
                          value. We think this puts a floor on valuation. Finally, ENDP’s lower-than-expected guide-down
                          could negatively impact where other Spec Pharma stocks trade tomorrow.

                          1Q16 positives that support our thesis: 1) Reshaping the path forward, evolving business strategy to
                          meet challenges, re-positioning the company for long term organic growth, margin improvement
                          and de-levering; 2) reiterated its intention to launch ~30 generic products in ’16 and to file ~25-30
                          ANDAs; 3) accelerating timelines for its Xiaflex R&D pipeline with plans to move at least five
                          programs into clinical trials this year; and, 4) expects to maintain a net debt to adjusted EBITDA
                          leverage ratio in the high four times range in ’16 and remains committed to achieving a ratio of
                          three to four times in the future.

                          Lowered our ’16E and ’17E EPS estimates post ’16 guide-down. ENDP reported 1Q16 adjusted
                          EPS of $1.08, $0.03 higher than consensus and $0.07 above our estimate. Our Variance Analysis
                          has details. ENDP lowered its ’16 EPS guidance from $5.85-6.20 to $4.50-4.80 midpoint $4.65


194
   Guggenheim, “ENDP-BUY-Getting More Bent but Not Broken Yet, Lower-Than-Expected ’16 Guide Down Drives Us to Lower PT From
$65 to $35,” May 6, 2016.


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                             (we were $5.96, consensus was $5.81). We have updated our model for 1Q16 and ENDP’s lower
                             outlook which decreased our ’16 and ’17 EPS estimates.

                             Upcoming Events and Potential Catalysts. 1) Voltaren gel generic ’16+; 2) Advance additional
                             Xiaflex indications, ’16+; 3) Belbuca launch progression ’16+; 4) M&A and/or business
                             development.

                      In a separate report published later that day, Guggenheim noted that “ENDP’s stock is down 42% today (S&P 500
                      flat) after the lower-than-expected ’16 guide-down last night”:195

                             Getting close to bottom, but Street more focused on who is next. ENDP’s stock is down 42% today
                             (S&P 500 flat) after the lower-than-expected ’16 guide-down last night. Although we think the
                             stock is close to finding a bottom (3.4x ’16 EPS of $4.50), the Street is more focused on the read-
                             throughs to other potential guide-downs in Spec Pharma (i.e. AKRX, TEVA, MNK, HZNP, AGN,
                             MYL, PRGO, JAZZ). Most of our call volume has been on AKRX and TEVA, but there was
                             interest to better understand ENDP’s cash flows in ’16 and ’17, which we take a look at in this
                             report. See page 3 for details.

                             Decrease in ’16 FCF is less than lowered EBITDA. ENDP previously guided to ~$2B in ’16
                             EBITDA and decreased this by $363MM to $1,638 (at midpoint). The company lowered its FCF
                             forecast from $500MM to $248MM (or $252MM decrease). The lower-than-expected decrease in
                             FCF comes from: 1) a pick-up in working capital, and, 2) lower contingent considerations. Debt
                             paydown looks tight in ’16. This improves in ’17. Moody’s downgraded ENDP’s debt today.

                             We estimate ’17 FCF could be $405MM. ENDP sees a path to EBITDA growth in ’17, but the
                             company is not providing any guidance yet. YOY tailwinds to FCF include a pick up in working
                             capital, lower restructuring and integration costs, modestly lower capex. YOY headwinds include
                             higher after-tax mesh payment (lower payout, but lower tax shield also), more contingent
                             considerations because of 505(b)(2)s, not a doubling but higher.

195
      Guggenheim, “ENDP - BUY - Does ENDP Have More Lead Left in the Pencil?” May 6, 2016.


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                             Upcoming Events and Potential Catalysts. 1) Voltaren gel generic ’16+; 2) Advance additional
                             Xiaflex indications, ’16+; 3) Belbuca launch progression ’16+; 4) M&A and/or business
                             development.

                      JMP wrote that the Company’s quarterly revenue and EPS topped consensus expectations, but Endo reduced 2016
                      guidance and “set the revenue and earnings bars exceptionally low.” The analyst added that “lowered guidance [was]
                      delaying the company’s deleveraging plans … from 2016 to 2017.” JMP lowered its 2016 revenue and EPS
                      estimates for Endo and cut its price target to $52 from $56:196

                             Endo International reported 1Q16 revenue of $964M ($951M JMPe and $960M consensus) and
                             EPS of $1.08 ($1.02 JMPe and $1.05 consensus); we reiterate our Market Outperform rating and
                             reduce our price target to $52 from $56. Endo reduced 2016 revenue guidance from $4.32-4.52B to
                             $3.87-4.03B and EPS from $5.85-$6.20 to $4.50-$4.80. The guidance reduction was driven by
                             delays in FDA regulatory actions with two 505(b)2 filings from 2H16 to FY17, an early Voltaren
                             generic approval, and pricing pressures in commodity generics. We believe that growth will still be
                             driven by specialty generic, double-digit growth from Xiaflex, and increased uptake of Belbuca.
                             Our $52 price target is based on a peer group PEG average of 0.9x for 2016.

                             The base Qualitest generics business is facing additional pressure offset by strength in generic
                             sterile injectables. The U.S. generics business generated $583M in sales, in line with our estimate
                             of $588M. The pricing and competitive pressures are expected to continue and Endo will
                             restructure the Qualitest business by discontinuing 60 products and focus on high-value difficult to
                             manufacture generics, which is expected to add ~$60M to GM by 2018. The legacy Par sterile
                             injectable business continues to increase, led by Vasostrict, which may reach ~$300M in sales.

                             Xiaflex generated sales of $44M vs. $46M JMPe and $47M consensus and is still expected to
                             generate double-digit growth in 2016. We believe Xiaflex is the primary growth driver for Endo
                             and forecast 2016 sales of $230M. In addition, Endo is accelerating the Xiaflex pipeline with the

196
      JMP, “1Q16 In Line, Management Lowers Bar With Downward Guidance,” May 6, 2016.


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                              initiation of clinical trials, which we believe will add significant incremental revenue by 2018. The
                              Cellulite Phase 2 results are expected in late 2016, the Adhesive Capsulitis and Plantar
                              Fibromatosis studies will initiate in 3Q16, and the Dupuytren’s Nodules and Lateral Hip Fat study
                              will initiate in 4Q16.

                              Belbuca’s launch is slower than Endo expected, but in line with our forecasts. Belbuca was
                              launched in 1Q16 and may have missed the 2016 formulary review cycle with some payers. Payers
                              construct barriers for new drug additions, but we are confident that a slow launch will be followed
                              by meaningful peak sales. A CDC narcotic warning letter, Schedule III DEA status and minimal
                              abuse and addiction potential are all tailwinds for Belbuca success.

                              We believe management set the revenue and earnings bars exceptionally low and we expect 2Q16-
                              4Q16 upside. The lowered guidance is delaying the company’s deleveraging plans for net debt to
                              adjusted EBITDA in the 3-4x range from 2016 to 2017. We remain bullish on Endo’s
                              fundamentals and valuation and would use short-term weakness as a buying opportunity.

                       JP Morgan wrote that the Company “reported in-line 1Q results but more significantly revised 2016 guidance well
                       below expectations due primarily to greater than expected pressures in its legacy generics business.” The analyst
                       “view[ed] this update as highly disappointing, particularly the rapid deterioration of Endo’s legacy generic portfolio,
                       and believe[ed] it [would] take several quarters for the company to restore confidence in this revised outlook.” The
                       analyst lowered its price target for the Company to $40 from $65:197

                              Endo reported in-line 1Q results but more significantly revised 2016 guidance well below
                              expectations due primarily to greater than expected pressures in its legacy generics business. We
                              view this update as highly disappointing, particularly the rapid deterioration of Endo’s legacy
                              generic portfolio, and believe it will take several quarters for the company to restore confidence in
                              this revised outlook. However, as we look at our rebased numbers, we would note the impact of
                              these changes appear to be peaking in 2016 as the company’s generic pipeline (largely from legacy
                              Par) represents an increasing portion of the business over time. From a valuation perspective

197
      JP Morgan, “Volatile Generics Environment Leads To Greater Than Expected Guidance Cut; Lowering PT,” May 6, 2016.


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                              (which admittedly appears to be a secondary consideration at this point given the moving target on
                              earnings), Endo trades at 4x/3x our 2016/2017 EPS and 7.5x/6.5x EV/EBITDA based on
                              aftermarket trading levels.

                              Endo provides 2016 outlook well below expectations. While a cut to guidance was widely
                              expected, Endo’s revised 2016 guidance came in well below expectations with revenues of $3.87-
                              $4.02bn and $4.50-$4.80 in EPS (vs. prior $5.85-$6.20 and our prior ~$5.65 estimate). This was
                              due to a number of factors, most significantly (and surprisingly) a rapid deterioration of the legacy
                              generic business, which accounted for >50% of the company’s guidance cut. Further, Endo
                              provided a new gross margin range of 59-60% (prior 63-65%), opex ranging from 21.5-22% of
                              sales (prior 19.5-20%), and a tax rate of 0-2% (prior 9-11%).

                              We see the rapid deterioration of Endo’s generics business as the most concerning of today’s
                              updates. Endo attributed the ~30% decline in the legacy Qualitest business to declining price and
                              volumes on a mix of incremental competition to a number of key products as well as a more a
                              challenging consortium bidding cycle. Although the Par portfolio remains on track, we are
                              rebasing our legacy Endo generic assumptions to reflect significant erosion in 2016, with more
                              normalized erosion (mid-single digits) starting in 2017. We now forecast 2016 total generic sales
                              of ~$2.6bn (down ~$300mm), growing to ~$2.9bn by 2017.

                       Leerink reported that “[i]n light of ENDO’s 1Q update, we are reducing our 2016-21E sales by ~7% and EPS by 17-
                       20%, with the bottom line impact magnified by gross margin degradation in US generics.” Leerink also cut its price
                       target to $23 from $37, and downgraded its rating to “Market Perform” from “Outperform” “on the revised business
                       outlook, limited near-term catalysts and our lack of conviction that the mgmt. team can turnaround the business in a
                       timely fashion”:198

                              Bottom Line: We lowering our rating to MP from OP based on the revised business outlook, limited
                              near-term catalysts and our lack of conviction that the mgmt. team can turnaround the business in a
                              timely fashion. Based on a combination of intensifying competitive pressure to ENDP’s historically

198
      Leerink, “Downgrade to MP: Better Value Elsewhere, ENDP Back To Turnaround Story,” May 6, 2016.


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                 high margin US generic business and underwhelming acquired brand performance, we find it
                 increasingly difficult to be constructive on any of the company’s topline growth drivers. In light of
                 ENDO’s 1Q update, we are reducing our 2016-21E sales by ~7% and EPS by 17-20%, with the
                 bottom line impact magnified by gross margin degradation in US generics. Further, with
                 diminished cash generation in 2016-17, we believe the company will have limited balance sheet
                 optionality for at least 18-mo. We expect investor focus to shift to ENDP takeout or merger as the
                 best means for creating shareholder value, though the list of buyers may be short. Our updated PT
                 is $23/shr, based on an 8x multiple of 2017 forecasted EBITDA.

                 US Gx’s hit by troika of issues. ENDP mgmt. reduced its revenue and EPS guidance (mid-pts) in
                 ’16 by -11% and -23%, respectively, driven by US Gx’s negatively impacted by lost payer
                 consortium bids, competitive pricing pressure, and product-related delays. We are reducing our US
                 Gx forecasts by 5-8% and we’re reducing our generic GM’s by ~400 bps (2016-21E) as
                 unsustainable pricing drove our prior ests. Our new generic GM’s of 52-53% are more in-line with
                 peers.

                 505(b)2 strategy has dubious longevity. ENDP revealed that ’16E guidance had previously
                 assumed two 505(b)2 generics would benefit from market exclusivity but FDA delays in removing
                 UMD (unapproved marketed drugs) from the market has pushed those oppty’s out to 2017.
                 ENDP’s 505(b)2 strategy consists of securing NDA approvals for UMD’s that the FDA has allowed
                 to remain on the market as “grandfathered” drugs. Under this strategy, ENDP is seeking to benefit
                 from an FDA incentive that rewards 505(b)2 filers with indefinite exclusivity in exchange for
                 running the studies necessary to convert the market from unauthorized to authorized drug.
                 However, because these are very old molecules & 505(b)2’s use the same API, the ability to secure
                 IP protection in a narrow timeframe is questionable.

                 US brand outlook underwhelming, & calls into question asset selection. The Belbuca (pain) launch
                 has gotten off to a very slow start and pain specialists view the product profile as marginally
                 differentiated. We are reducing est. peak sales to $150m (from $275m). Xiaflex for
                 musculoskeletal disorders has sales guidance of mid to high-teens growth, much lower than
                 our/street forecasts and we’re lowering our 2016-20E forecasts by $28-133m.



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                        Morgan Stanley wrote that the Company’s fourth quarter revenue and adjusted EPS were “slightly above” Morgan
                        Stanley’s and consensus estimates, but “2016 EPS guidance provided in February [w]as lowered by 23%” and
                        “[r]evenue guidance was decreased 11%.” The analyst also noted that the Company’s “[l]anguage on deleveraging
                        [was] more conservative” as the Company said it “‘remains committed to achieving a [net debt to adjusted EBITDA]
                        ratio of three to four times in the future,’” while “previously, Endo had committed to delevering within the 3-4x
                        range by 2H:16”:199

                               Endo slightly exceeded 1Q expectations but cut 2016 EPS guidance midpoint by 23%.

                               4Q revs and non-GAAP EPS slightly above MSe and consensus, although there was tax upside to
                               our estimates. Revenues were $964M, 1% above cons’ $956M and 1% above our $958M. EPS
                               was $1.08, 4% above cons’ $1.04 and 2% above our $1.05. $0.01 per share equates to
                               approximately $2.3M pretax. $0.03 EPS upside vs. our model included: Revenues +0.02, COGS -
                               0.22, SG&A +0.13, R&D -0.01, Other +0.02, Taxes +0.07. The non-GAAP tax rate of 3.4% was
                               well below our 9.5% estimate.

                               2016 EPS guidance provided in February lowered by 23%. Revenue guidance was decreased 11%
                               from $4.3B-$4.5B to $3.9B-$4.0B; this is 8% below MSe and cons’ $4.3B. EPS guidance was
                               lowered -23% from $5.85 - $6.15 to $4.50 -$4.80; new midpoint is 18% below cons’ $5.69 and
                               MSe $5.73. Downside drivers included generic pricing pressure, new generic entrants, Endo
                               505(b)(2) product launch delays, and a slow Belbuca launch.

                               1Q branded sales were slightly above, including Xiaflex. On the branded side, Xiaflex sales were
                               $44M, 5% our $42M. Other key brands such as Opana ER, Lidoderm, and V-gel were also slightly
                               above our estimates. U.S. Generics sales were $583M, 2% below our $597M, but 1% above cons’
                               $579M. Please see following Variance section for complete revenue variation.



199
      Morgan Stanley, “Guidance much lower than expected; brand business President departed,” May 5, 2016.


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                               Other notable tidbits on the quarter: Language on deleveraging more conservative: “The Company
                               expects to maintain a net debt to adjusted EBITDA leverage ratio in the high four times range with
                               quarter to quarter fluctuations in 2016 and remains committed to achieving a ratio of three to four
                               times in the future.” Previously, Endo had committed to delevering within the 3-4x range by
                               2H:16. Endo announced the departure of its Brand Business President Brian Lortie and appointed
                               two new Board members, including Todd Sisitsky, a managing partner at TPG. Recall TPG took
                               Par private, and currently owns ~8% of ENDP shares as of latest disclosures. But TPG is precluded
                               from owning more than 10% of ENDP shares.

                        Morningstar wrote that the Company “face[d] poor prospects in a tough industry, but even this quarter’s particularly
                        weak results surprised us.” The analyst remarked that “Endo’s generics business appears to be crumbling” and its
                        “poor performance severely diminishes the company’s future outlook.” Morningstar added that although
                        “[m]anagement will refocus generic pipeline efforts on higher value generics … and rationalize its manufacturing
                        network following the recent acquisition of Par … we doubt these efforts will materially improve the outlook for
                        Endo’s generics business.” The analyst lowered its fair value estimate for Endo to $30 from $62:200

                               Our no-moat and negative trend ratings on Endo support our view the company faces poor
                               prospects in a tough industry, but even this quarter’s particularly weak results surprised us. We
                               already anticipated generic competition on Voltaren Gel, but Endo’s generics business appears to be
                               crumbling under increased competition and the timing of potential new launches, primarily
                               affecting the legacy Qualitest assets in the generic pain market. While we did not possess a rosy
                               outlook for Endo’s generics business, this quarter’s poor performance severely diminishes the
                               company’s future outlook, in our view. Ongoing pressure in its generics business, new CDC
                               guidelines that attempt to limit opioid prescriptions, no major growing products other than Xiaflex,
                               and the essential lack of a branded product pipeline should limit growth opportunities.
                               Additionally, high financial leverage (net debt/EBITDA remaining over 4.5 in 2016) and ongoing
                               vaginal mesh litigation will further constrain cash flow. We’re lowering our fair value estimate to
                               $30 after cutting our free cash flow forecast and raising our cost of debt assumption in addition to
                               raising our uncertainty rating to very high.

200
      Morningstar, “Surprise Erosion of Generics Business Creates Bleak Outlook for Endo,” May 6, 2016.


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                              While Endo appears it can manage interest payments for the time being and doesn’t appear close to
                              tripping senior secured maintenance covenants, the company’s diminished financial flexibility and
                              ongoing vaginal mesh liability concerns place the company in a more precarious position, in our
                              view. Although Endo’s stock will likely trade near 4 times the mid-point of management’s updated
                              EPS guidance range $4.65, we advise most investors to use a high degree of caution with this stock.

                              Although management plans to restructure its generics unit, we remain skeptical of the company’s
                              success due to the lack of competitive advantages in the generic drug industry and customer
                              consolidation putting additional pressure on prices.

                              Management will refocus generic pipeline efforts on higher value generics, such as injectables, and
                              rationalize its manufacturing network following the recent acquisition of Par, but we doubt these
                              efforts will materially improve the outlook for Endo’s generics business, which remains one of the
                              weaker players in the industry, in our view.

                       Northland wrote that Endo reported quarterly adjusted EPS that “hit the high-end” of consensus range, but “the sting
                       of an EPS guidance cut … outweighs 1Q16 results.” The analyst added that “Endo’s model is in disarray as severe
                       contraction in generic pricing has led the company to dramatically slash guidance.” As a result, the analyst cut its
                       price target for the Company to $22 from $34:201

                              Endo’s model is in disarray as severe contraction in generic pricing has led the company to
                              dramatically slash guidance to $4.50-$4.80 (from $5.85-$6.20) to a $4.65 midpoint well below our
                              $5.80/FactSet at $5.37. At midpoint, Endo’s guidance is now 13% below consensus and Endo is
                              culling SKUs and restructuring its generics business. Implied 2016E Adjusted EBITDA is $1.62-
                              $1.66B, or an 18% shortfall to our $2.0B/FactSet $1.92B model for 2016. We cut our target to $22
                              per share from $34.

                              Key Points

201
      Northland Capital Markets, “Endo’s 1Q16 EPS Beats Estimates; Company Cuts 2016 EPS Guidance to $4.50-$4.80,” May 6, 2016.


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                      Using the same 8x target EV/EBITDA multiple on 2016E Adjusted EBITDA of $1.64B well-below
                      our prior $2.0B/FactSet $1.92B yields an enterprise value to the firm of $13.1B or ~$58.80 per
                      share; however, Endo has debt net of non-restricted cash of ~$37.22 per share making fair-value for
                      ENDP shares $21-$22 per share. Allowing for some bounce and some credit for growth in 2017
                      which is somewhat uncertain based upon Endo’s 1Q16 conference call commentary, we use $22 per
                      share as our new target price objective, down from $34 per share.

                      As we note in Figure 1 (attached) Endo met its guidance range for 1Q16 Adjusted EPS at $1.08
                      versus our $1.04 albeit with the help of just a 3.4% Adjusted Tax Rate versus our 10% model.
                      Branded sales had a shortfall at $309M versus our $333M model primarily on a 41% shortfall on
                      Voltaren Gel on generic entry. US Generics sales of $583M were 5% above model and up strongly
                      YOY due to acquisition although they fell sequentially.

                      Endo will cull some SKUs primarily in legacy Qualitest while the branded business suffers impact
                      of generic entry for Voltaren Gel (NSAID pain reliever) and Endo will restructure. Endo expects
                      savings of $10M in 2016 and $40-$45M net of expected revenue reductions of $22M for 2016 and
                      $88M for 2017 as Endo looks to rationalize non-profitable products, reduce manufacturing footprint
                      impacting and ~740 employees. While Endo has some attractive generic pipeline launches, large
                      trade buyers with Top 5 players accounting for ~90% of business is negatively impacting the
                      predominantly legacy business of Endo Generics including pain management and commoditized
                      products.

                      Endo did report 1Q16 results which hit the high-end of a range of Adjusted EPS at $1.02-$1.08
                      although the sting of an EPS guidance cut to $4.50-$4.80 range (midpoint $4.65) or a shortfall of
                      13% from consensus outweighs 1Q16 results.

                      We will review our model; however, our new target reflects a fair value for ENDP shares with the
                      assumption that EBITDA can hit new guidance.

               Piper Jaffray wrote that “Endo significantly lowered its 2016 guidance ranges in the wake of significant pressure on
               its generics segment.” The analyst “had not believed that the rebasing of expectations would be nearly this



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                       significant.” The analyst added that “[g]iven these dynamics … we believe it will be difficult for ENDP to make
                       much of a dent in its net debt load of $8.4B over the next 1-2 years.” Piper Jaffray cautioned that “[w]ithout much in
                       the way of flexibility to deploy capital (i.e., buy back shares or engage in significant M&A) for the foreseeable
                       future, it is hard for us to see how the shares recover anytime soon.” As a result, the analyst slashed its 2016 and
                       2017 revenue and EPS estimates for Endo, reduced its price target to $25 from $79, and cut its rating to “Neutral”
                       from “Overweight”:202

                              Endo significantly lowered its 2016 guidance ranges in the wake of significant pressure on its
                              generics segment (namely Qualitest) and opioid products in particular. We had not believed that
                              the rebasing of expectations would be nearly this significant. We were wrong. Given these
                              dynamics (which in a sense further magnify the payments related to the vaginal mesh lawsuits), we
                              believe it will be difficult for ENDP to make much of a dent in its net debt load of $8.4B over the
                              next 1-2 years. Further, given management’s commentary, it is not even clear to us that ENDP is
                              positioned to return to earnings growth in 2017. As such, it is now difficult for us to make a case
                              that the current EV/2016E EBITDA multiple of near 8x will recover anytime soon. We are
                              therefore downgrading ENDP to Neutral from Overweight, and lowering our PT to $25 (see below
                              for more details).

                              Major reset to 2016 guidance, and it is not clear when ENDP will return to meaningful growth. The
                              new EPS guidance range of $4.50-$4.80 is around 23% lower than previous ENDP expectations
                              (with $0.75 of the delta coming from pressure on price and volumes mainly for Qualitest products).
                              Notably, the new range does not reflect competition for Vasostrict, which is ENDP’s largest selling
                              generic (1Q16 sales, per Symphony, were $76M in 1Q16, and sales are annualizing to north of
                              $300M). If we assume operating margins of 65%-75% (bearing in mind there is no competition),
                              we estimate that annualized EPS contribution from Vasostrict is at least $0.75-$0.85. Though we
                              are confident that we will not see Vasostrict competition this year (refer to our note on 3/8/16 for
                              more details), the specter of competition beyond this year, particularly in the context of the rebasing
                              of ENDP expectations, translates into limited visibility on a return to growth unless we see a
                              massive number of new generic approvals along with some stabilization of the legacy generics

202
      Piper Jaffray, “Ripping Off The Band-Aid; Long Road Ahead To Recovery; Moving To Neutral,” May 5, 2016.


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                               business. Further, this is bearing in mind that ENDP noted that other 505(b)(2)-based generic
                               opportunities (namely two products experiencing regulatory delays that ENDP cited as another
                               reason for the guidance reset) are smaller than that of Vasostrict.

                               How we are thinking about cash and debt paydown. Management is guiding to 2016 cash from
                               operations, inclusive of mesh-related payments, of $465M-$510M. With a current unrestricted cash
                               balance of $220M, that leaves little room for significant delevering this year. Further, given that
                               ENDP is expecting $325M-$425M (after-tax) in mesh-related payments in 2017, and given the
                               risks surrounding a return to significant organic growth next year, it is difficult to see how ENDP
                               de-levers dramatically in 2017. This is bearing in mind that around $1B of principal on terms loans
                               is due in 2019. Without much in the way of flexibility to deploy capital (i.e., buy back shares or
                               engage in significant M&A) for the foreseeable future, it is hard for us to see how the shares
                               recover anytime soon.

                               RISK TO ACHIEVEMENT OF PRICE TARGET
                               Risks include additional generic threats and merger integration risk.

                        RBC wrote that “[a]fter last night’s update, we now think that turnaround is going to take longer than we had
                        anticipated and further P&L risks remain.” The analyst commented that the “[t]he biggest impact was pressure
                        within generics.” RBC recommended that Endo “look at strategic alternatives.” The analyst lowered its 2016 and
                        2017 revenue and EPS estimates for the Company, reduced its price target to $26 from $45, and cut its rating to
                        “Sector Perform” from “Outperform”:203

                               Our view: We had held on to our Outperform rating despite near-term generic concerns on the view
                               that valuation could support the stock into an eventual recovery in 2017E. After last night’s update,
                               we now think that turnaround is going to take longer than we had anticipated and further P&L risks
                               remain. Bottom line, we downgrade to Sector Perform and lower our price target to $26.

                               Key points:

203
      RBC Capital Markets, “Turnaround is going to take longer than expected - move to Sector Perform,” May 6, 2016.


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                 The 2016E guide of $4.50 to $4.80 came in well below buyside expectations which were in the
                 $5.25 to $5.50 range. It was expected that the $5.85 to $6.20 range would come down due to (i)
                 earlier generic competition on Voltaren Gel and (ii) more pressure within generics. Per our
                 discussion with management following the call last night the impact was broad. The Voltaren Gel
                 hit came with other branded reductions (-$0.45 in EPS), the pressure within generics was greater
                 than expected (-$0.75 in EPS), but ENDP also called out delays in 505(b)(2) opportunities (-$0.36
                 in EPS) and generic infrastructure headwinds (-$0.18 in EPS). Opex cuts and lower tax are
                 expected to shield what could have been another $0.36 in EPS impact. We’re cutting EPS 2016-
                 18E to $4.57, $5.12 and $5.35. A 7-8x 2016E EV/EBITDA level would imply a $16 to $23 stock
                 range which, pending evidence of near-term execution, may be an appropriate range.

                 The biggest impact was pressure within generics and we think this is a sector issue. While most of
                 the hit came to the legacy Qualitest business and largely within its pain franchise, 20% of the
                 impact was on the Par side. The impact stemmed from several fronts including new competitive
                 entries across its existing portfolio and pressure from generic buying consortiums. While generic
                 manufacturers are each positioned differently, we continue to think this is a broader industry issue -
                 see our March 28 report “Five headwinds facing the sector and where we would be positioned” for
                 background on the competitive set-up within generics and why an acceleration in approval activity
                 is a risk. Consensus forecasts reflect a ~200bps increasing in sector gross margins through 2018E
                 that we continue to think is too high.

                 We think ENDP needs to look at strategic alternatives at this point - there are equity combinations
                 that could make sense. The challenge that ENDP now faces is that current P&L headwinds will
                 take time to get through and in the interim, leverage effectively moves higher towards 5x on lower
                 EBITDA with few catalysts over the near-term. That leaves little financial flexibility and an equity
                 value (ie. currency) that will be more depressed tomorrow. In other words, the greatest opportunity
                 to realize value over the near term, in our view, would be to pursue an equity tie up with another
                 company. By doing so, ENDP could strengthen the generics platform in a sector that we strongly
                 think needs to consolidate.




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                        Susquehanna wrote that a “guidance cut was widely expected,” but the Company’s guidance cut “was far beyond
                        what we expected, owing mainly to a massive deterioration in its older generics.” The analyst added that “the level
                        of uncertainty remains high [and] [m]ore importantly, the results now lean even more heavily on a few key products,
                        some of which could decline in the 2017-18 timeframe.” As a result, the analyst reduced its 2016 EPS estimate for
                        the Company and cut its price target to $22 from $68:204

                               We lower our price target to $22 after applying a 9x EV multiple on core EBITDA of ~$1.52 bln
                               that makes adjustments to guidance. After several attempts, ENDP has finally rebased expectations
                               to a seemingly conservative figure, but that earnings base still includes big contributions from
                               short-duration assets. Adjusting for those, we believe it is appropriate to apply a peer multiple, but
                               to become more constructive, we would need to see a sizable decline in the shares or achieve
                               greater visibility on earnings upside.

                               HIGHLIGHTS
                               A guidance cut was widely expected as ENDP has faced a series of incremental setbacks in its
                               brand and generics business this year. However, its 23% reduction to 2016 EPS was far beyond
                               what we expected, owing mainly to a massive deterioration in its older generics. While
                               management did an admirable job detailing changes in assumptions, it is difficult to reconcile past
                               descriptions. Thus, while we come out near the high end of the revised range, the level of
                               uncertainty remains high. More importantly, the results now lean even more heavily on a few key
                               products, some of which could decline in the 2017-18 timeframe.

                               Setting the Base for Valuation ($1.52 bln EBITDA) - We forecast 2016 EBITDA of ~$1,650 mln,
                               which is toward the high end of revised guidance. We subtract half of the contribution from generic
                               launches (Seroquel XR and Zetia temporary exclusivities) since 2016 is an above-average launch
                               year and half of the contribution from Vasostrict (a $300mln sterile injectable with no current IP
                               protection). We add-back ~$100mln of cost savings and ~ $50mln in consideration that Belbuca is
                               in launch phase and is currently unprofitable. This results in an EBITDA base of $1.52 bln on
                               which we believe a ~9x EV/EBITDA multiple is appropriate (comparable to peers like MYL and

204
      Susquehanna Financial Group, “Endo International: Searching for the Core Earnings in Results Meltdown,” May 6, 2016.


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                              TEVA). We also adjust the net debt to ~$9 bln considering the potential for additional product
                              liability partially offset by tax attributes.

                              Catalysts
                              Belbuca launch and uptake, Opana label change in 2016, key Par approvals/launches, Vasostrict IP,
                              and potential strategic alternatives.

                              Downside or Upside risk
                              We see upside to ~$28 if Vasostrict proves sustainable.

                       UBS, observing that Endo’s “[s]tock is trading in the $20 range after hours,” opined that “[i]t will not surprise us if
                       the stock does in fact move down this significantly.” The analyst described guidance numbers as “significantly worse
                       than expected,” adding that “the shortfall in generics is significantly higher than we could have ever imagined.” UBS
                       stated that “[g]iven the muted near-term outlook, [Endo] stock will take some time to get its momentum back.” As a
                       result, the analyst reduced its 2016 through 2018 EPS estimates for the Company and cut its price target to $30 from
                       $56:205

                              Our takeaway: Numbers significantly worse than expected
                              Sales guidance is coming down 11% ($470M) due to V-Gel/other brands (27% of the change or
                              $127M), delayed 505(b)(2) products (17% or $80M), and generics (56% or $263M). We get the V-
                              Gel, the impact from delayed products, and Belbuca launching a little slower than expected, but the
                              shortfall in generics is significantly higher than we could have ever imagined. Mgt pointed to
                              incremental players/pricing pressure in the April timeframe, so it appears to be really incremental.
                              The only good news for the generics franchise is that the weakness is in the legacy Endo biz, while
                              Par continues to perform as expected, and Endo is accelerating the transition of the legacy biz to
                              one that resembles more of the Par b-model with respect to product choices, IT systems, and
                              manufacturing efficiencies. The other good news is that it sounds like the 505(b)(2) products are
                              just delayed and that they should launch next year as well as additional similar products in the next
                              few years, which is a key part of Par’s strategy that we think is still not well understood.

205
      UBS, “Painful Numbers,” May 6, 2016.


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                              The generics mojo has left the sector
                              Mgt pointed out that generics players need a well-balanced portfolio to do well with the big 4
                              consortiums/Wal Mart, which together account for 90% of the biz and Par has this type of portfolio,
                              so mgt believes Endo should be successful as it migrates the legacy biz. But it’s clear the overall
                              generics biz has gotten more competitive, so this remains the key risk and puts more importance on
                              the 505(b)(2) products.

                              Thoughts on the stock: Stock is trading in the $20 range after hours
                              It will not surprise us if the stock does in fact move down this significantly, given the difficult
                              market and pharma sector environment, the material miss, and the disappointing cash flow situation
                              over the next year. Given the muted near-term outlook, this stock will take some time to get its
                              momentum back, but it appears some of this shortfall will get pushed into 2017, so we think Endo
                              should be able to grow earnings in the high-single digits in 2017 (assuming Vasostrict is protected),
                              and we don’t think the valuation reflects any kind of bounce back.

                              Valuation: Maintain our Buy rating but lower our PT to $30 from $56
                              Our new PT is based on a P/E of 6x our EPS of $5.00 in 2017.

                       William Blair wrote that the Company’s revised guidance was “significantly below previous guidance.” The analyst
                       believed that Endo’s “reduced guidance and headwinds for the business have created substantial challenges that we
                       believe will be difficult to overcome to return to a growth profile in the near term.” The analyst also noted that “the
                       company’s previously stated goal of de-leveraging to 3 to 4 times adjusted EBITDA in the second half of 2016 has
                       been adjusted to high 4 times in fiscal year 2016”:206

                              After the close on Thursday, May 5, Endo International announced first-quarter earnings and
                              lowered 2016 guidance. The company now expects revenues to range from $3.87 billion to $4.03
                              billion, down from $4.32 billion to $4.52 billion (about 10%-11% lower on the low and high end of
                              the range), and diluted non-GAAP EPS to range from $4.50 to $4.80, significantly below previous

206
      William Blair, “2016 Guidance Lowered Amid Competitive and Pricing Pressures, Maintain Market Perform,” May 6, 2016.


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                 guidance of $5.85 to $6.20 (approximately 23% lower on the low and high end of the range). On
                 the call, management noted unanticipated headwinds such as increasing competitive and pricing
                 pressures across the generics and branded businesses, which include competitive entrants for
                 Voltaren Gel, greater-than-expected price erosion in the generics sector caused by payer
                 consolidation, and delays on regulatory actions related to some products. The company also
                 announced the appointment of two new directors to the board (Douglas Ingram and Todd Sisitsky)
                 and the resignation of Brian Lortie, president of U.S. branded pharmaceuticals. The reduced
                 guidance and headwinds for the business have created substantial challenges that we believe will be
                 difficult to overcome to return to a growth profile in the near term; therefore, we continue to rate
                 shares Market Perform.

                 The reductions in 2016 guidance on the top and bottom line are the result of reductions in expected
                 gross margin, outlook of each business segment (U.S. branded pharmaceuticals, U.S. generics, and
                 international), and a restructuring of U.S. generics manufacturing. Gross margin guidance for 2016
                 is now expected to be between 59% and 60%, down from 63% to 65%, primarily due to lower
                 generics base (Qualitest) revenue due to pricing and volume as well as delayed actions from
                 505(b)(2) products. Operating expenses as a percentage of revenue is now expected to be in the
                 range of 21.5% to 22%, up from 19.5% to 20.5%, primarily due to the decreased expected revenues.
                 The 2016 outlook from continuing operations is expected to have a flat to low-single-digit decline
                 in underlying revenue (driven by mid- to high-teens decline in underlying revenues from U.S.
                 branded pharmaceuticals, low-single-digit growth in U.S generics underlying revenues, and
                 midsingle-digit growth in underlying revenues from the international segment). The adjusted
                 effective tax rate is expected to be approximately zero to 2%, below previous guidance of about 9%
                 to 11%. In addition, the company’s previously stated goal of de-leveraging to 3 to 4 times adjusted
                 EBITDA in the second half of 2016 has been adjusted to high 4 times in fiscal year 2016.

                 On the call, management noted steps it is taking to return the company to a growth profile in the
                 future. This involves continuing investment in U.S. branded growth drivers of Xiaflex and
                 Belbuca, a restructuring of the generics product and R&D portfolio and manufacturing operations
                 that will result in approximately $60 million net run-rate cost savings by 2017, with approximately
                 $10 million recognized in 2016 (affecting about 740 employees). The company reiterated the goal



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                            of launching about 30 generics products from its combined pipeline, discontinuing 60 legacy
                            products (which should affect revenues by $20 million in 2016 and $90 million in 2017) and filing
                            approximately 25 to 30 ANDAs.

                     News articles attributed the decline in the Company’s stock price after-hours on May 5, 2016, and during the trading
                     day on May 6, 2016, to the Company’s announcements after the close of trading on May 5, 2016.207

                     Following the Company’s disclosures on May 5, 2016, according to Bloomberg, the average of analysts’ price targets
                     for Endo stock decreased to $36.80 from $56.60, or -34.98%. Of the 20 analysts who published investment ratings
                     for the Company both before and after the earnings announcement, four downgraded their ratings. (See Exhibit 5C.)

                     Remark: Given that: (i) “ENDP surprised [] the market with a ’16 outlook that was far lower than expected”;208 (ii)
                     analysts “believe[ed] it [would] take several quarters for the company to restore confidence in this revised

207
    See, e.g., Bloomberg, “Endo Falls After Views Cut; Adds Two to Board Including TPG Rep,” May 5, 2016, 4:36 PM; Associated Press
Newswires, “Endo reports 1st-quarter loss, trims full-year guidance,” May 5, 2016, 6:54 PM; The Wall Street Journal, “Endo Cuts Annual
Guidance on Impairment Charge; Company expects annual revenue of $3.87 billion to $4.03 billion,” May 5, 2016, 8:19 PM; Investing.com,
“Endo International shares plunge 24% after full-year outlook cut,” May 6, 2016; Dow Jones Institutional News, “Morning Movers: Endo
International Tumbles on Guidance; Atwood Oceanics Jumps -- Barron’s Blog,” May 6, 2016, 8:24 AM; Theflyonthewall.com, “10:47 EDT
Endo plunges, drags down pharma ‘roll-up’ peers after guidance cut...,” May 6, 2016; The Philadelphia Inquirer, “Endo reports loss,
announces layoffs, shake-up,” May 6, 2016; Dow Jones Institutional News, “Endo International: Baby Valeant Feels the Pain -- Barron’s
Blog,” May 6, 2016; Bloomberg, “Endo Slumps to 2009 Low on Outlook, Dragging Down Pharma Stocks,” May 6, 2016, 10:26 AM;
Reuters, “Endo forecast cut sends shares tumbling; drags along biotechs,” May 6, 2016, 12:34 PM; The Motley Fool, “Why Endo
International plc Is Crashing Today,” May 6, 2016, 4:23 PM; RTT News, “Endo Remains Under Pressure On Disappointing Guidance,” May
6, 2016; MarketWatch, “Endo Pharma’s stock logs its largest one-day loss in 14 years; Drugmaker shares were the biggest decliners in the
S&P 500, and most-active on the Nasdaq exchange,” May 6, 2016, 4:38 PM; Investor’s Business Daily, “Generic Drug Stocks Crash, As
Endo Warns Of Price Erosion,” May 6, 2016.
208
   Deutsche Bank, “Surprised, disappointed, nervous; not downgrading here,” May 6, 2016. See also, e.g., Cowen & Company, “Thesis Is
Unchanged - Better Alternatives Exist,” May 6, 2016; Guggenheim, “ENDP-BUY-Getting More Bent but Not Broken Yet, Lower-Than-
Expected ’16 Guide Down Drives Us to Lower PT From $65 to $35,” May 6, 2016; JP Morgan, “Volatile Generics Environment Leads To
Greater Than Expected Guidance Cut; Lowering PT,” May 6, 2016.


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                       outlook”;209 and (iii) analysts were not surprised that Endo’s stock “moved[d] down this significantly,”210 the
                       statistically significant Company-specific stock price decline on May 6, 2016 is consistent with that expected in an
                       efficient market.

          8/9/2016     After market close on Monday, August 8, 2016, the Company reported its second-quarter 2016 financial results. For
                       the quarter, Endo reported revenue of $920.9 million, adjusted net income of $192.3 million, and adjusted EPS of
                       $0.86.211

                       The consensus estimates of quarterly revenue and adjusted EPS were $863.9 million and $0.74, respectively.212

                       Then-CEO De Silva commented on the Company’s performance and announced the appointment of Joseph J.
                       Ciaffoni to President, U.S. Branded Pharmaceuticals:213

                               During the second quarter 2016, Endo remained focused on operational execution. We have
                               delivered results across all of our businesses that are on-track or ahead of Company expectations for
                               the quarter and today we are affirming our full year 2016 revenue and adjusted diluted EPS
                               financial guidance while increasing investment in Branded and Generics R&D as well as

209
   JP Morgan, “Volatile Generics Environment Leads To Greater Than Expected Guidance Cut; Lowering PT,” May 6, 2016. See also, e.g.,
Leerink, “Downgrade to MP: Better Value Elsewhere, ENDP Back To Turnaround Story,” May 6, 2016; Piper Jaffray, “Ripping Off The
Band-Aid; Long Road Ahead To Recovery; Moving To Neutral,” May 5, 2016; UBS, “Painful Numbers,” May 6, 2016.
210
   UBS, “Painful Numbers,” May 6, 2016. See also, e.g., Deutsche Bank, “Surprised, disappointed, nervous; not downgrading here,” May 6,
2016; Guggenheim, “ENDP-BUY-Getting More Bent but Not Broken Yet, Lower-Than-Expected ’16 Guide Down Drives Us to Lower PT
From $65 to $35,” May 6, 2016; Piper Jaffray, “Ripping Off The Band-Aid; Long Road Ahead To Recovery; Moving To Neutral,” May 5,
2016.
211
      PR Newswire, “Endo Reports Second Quarter 2016 Financial Results,” August 8, 2016, 4:28 PM.
212
      Bloomberg, “Endo Climbs 14% as 2Q Adj. EPS, Rev. Beat Estimates,” August 8, 2016, 4:36 AM.
213
  PR Newswire, “Endo Reports Second Quarter 2016 Financial Results,” August 8, 2016, 4:28 PM. See also, PR Newswire, “Endo
Announces Appointment of Joseph J. Ciaffoni as President, U.S. Branded Pharmaceuticals,” August 8, 2016, 4:05 PM.


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                               BELBUCA™ and XIAFLEX® promotion .… We also continue to build our internal team and are
                               pleased to announce the appointment of Joseph J. Ciaffoni to President, U.S. Branded
                               Pharmaceuticals. We look forward to continuing to execute on our corporate objectives and
                               delivering products that improve patients’ lives while creating value for our shareholders.

                        The Company updated 2016 GAAP EPS guidance, while reaffirming guidance for revenue and adjusted EPS:214

                                                                           Current Guidance              Previous Guidance215
                               Total revenue                               $3.87 – $4.03 billion         $3.87 – $4.03 billion
                               GAAP EPS                                    $1.86 – $2.16                 $0.25 – $0.55
                               Adjusted EPS                                $4.50 – $4.80                 $4.50 – $4.80
                               Adjusted gross margin                       59% – 60%                     59% – 60%
                               Adjusted operating expenses as % of rev.    21.5% – 22%                   21.5% – 22%
                               Adjusted interest expense                   $455 million                  $455 million
                               Adjusted effective tax rate                 0% – 2%                       0% – 2%

                        Prior to the Company’s quarterly announcement, the consensus estimates of 2016 revenue and adjusted EPS had been
                        $3.93 billion and $4.54, respectively.216

                        The same day, after market close, the Company held a conference call with investment analysts.217 During the call,
                        then-CFO Upadhyay discussed the Company’s guidance:218


214
      Ibid.
215
      PR Newswire, “Endo Reports First Quarter 2016 Financial Results,” May 5, 2016, 4:05 PM.
216
      Theflyonthewall.com, “16:35 EDT Endo backs FY16 adjusted EPS view $4.50-$4.80, consensus $4.54Backs...,” August 8, 2016.
217
   Thomson Reuters, StreetEvents, “ENDP – Q2 2016 Endo International PLC Earnings Call, EVENT DATE/TIME: AUGUST 08, 2016 /
8:30PM GMT,” August 8, 2016, 4:30 PM.
218
      Ibid.


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                                … while the second quarter was ahead of our guided expectations, we are maintaining our guidance
                                ranges, as some of the upside in the second quarter was driven by favorable timing. As Rajiv
                                mentioned, we are also going to invest at a higher level than originally planned in our key growth
                                drivers in the second half of the year, through a reallocation of operating expenses and a modest
                                step up in spending.

                                Regarding the cadence of revenues and adjusted earnings in the second half of the year, we
                                continue to project the fourth quarter to be disproportionately larger than the rest of the year’s
                                quarters, due to the launches of generic Seroquel and Zetia. For third quarter 2016, we expect
                                revenues in the range of $830 million to $870 million, and adjusted earnings per share of $0.77 to
                                $0.82.

                                This implies a sequential step-down in third-quarter 2016. The anticipated decline is driven by the
                                product order timing benefits in second quarter that we expect to reverse in third quarter; lower US
                                branded sales related to generic competition for Voltaren Gel; continued slowing in the testosterone
                                market; continued declines in legacy pain products, and an increased investment in R&D; as well as
                                XIAFLEX and BELBUCA promotional efforts.

                        Barclays wrote that the Company’s quarterly revenues and earnings exceeded its estimates and “[c]ertainly 2Q,
                        halted [Endo’s] apparent downward spiral.” However, the analyst noted that Endo “mgmt guid[ed] to 3Q well below
                        the current consensus, which means estimates for ’16 and ’17 likely won’t change much.” The analyst lowered its
                        price target for the Company to $22 from $28 based on a change in methodology to EV/EBITDA from earnings:219

                                ENDP earnings may have met, and slightly exceeded, 2Q16 expectations, but we feel that the long-
                                term growth profile is still in question. 1Q EPS of $0.86 came in ahead of our $0.74 on revenues
                                that were also ahead of us & the consensus. Certainly 2Q, halted the apparent downward spiral but,
                                in the end, we’re not sure that much changed, esp. considering mgmt guiding to 3Q well below the
                                current consensus, which means estimates for ’16 and ’17 likely won’t change much. In order for
                                that to happen, we’ll likely need improved brand performance, which seems unlikely; we were

219
      Barclays, “Solid 2Q, but doesn’t bend the curve,” August 9, 2016.


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Exhibit 12

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                              underwhelmed by 2Q performance by both Belbuca (no surprise given Trx trends) and Xiaflex
                              (even adjusting for stocking).

                              Generic revenues beat expectations, $565M versus our $534M estimate; however, stocking ahead
                              of July 4th inflated 2Q revenues by $15-20M and mgmt guided to a lower 3Q. We gained clarity
                              on potassium chloride liquid and powder 505(b)2 programs, which present a tailwind for 2017, but
                              we remain cautious considering the seeming reliance on 505(b)2 programs as part of the generic
                              growth strategy. With no P4 filing to-date, Vasostrict durability through ’18 seems more likely,
                              even the competitive landscape will likely be manageable. In addition to Vasostrict, confidence on
                              potassium chloride also suggest a modicum of stability for the generics near-term, but we still need
                              to execution on alternative dosage generics and injectables to feel better about long-term growth,
                              which is something that historically eluded Par.

                              Branded growth to offset any generics weakness seems unlikely. Xiaflex growth in Peyronie’s
                              grew 19% y/y, though slower growth in Dupytren’s appears well mature. Belbuca continues to be
                              sluggish and investments in health economics research to support use unlikely to drive volume any
                              time soon.

                              We lower our price target to $22. Our new target is based on 6x EV/EBITDA; our prior $28 tgt
                              was based on 6.2x our prior FY16 EPS estimate of $4.50. Given ENDP’s leverage, we see
                              EV/EBITDA as a better methodology & more consistent with the buyside.

                       BMO wrote that the Endo’s quarterly revenue and EPS topped consensus expectations after the Company “set[] low
                       expectations for 2Q.” BMO remarked that “[w]hile there were a number of positives to take away from 2Q, there are
                       still many uncertainties regarding run rates for key franchises.” The analyst also noted that the Company “remain[ed]
                       optimistic on the overall pipeline.” BMO lowered its 2016 through 2018 revenue and EPS estimates for the
                       Company “[b]ased on 2Q and the guidance,” but increased its price target to $22 from $21:220



220
      BMO Capital Markets, “2Q Beats Lowered Expectations, 3Q Guided Down,” August 9, 2016.


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                      ENDP reported 2Q revenue of $921mn vs. our/consensus of $879mn/864mn, and EPS of $0.86 vs.
                      our/consensus of $0.75/$0.74. After setting low expectations for 2Q, stronger-than-expected
                      generics revenue (+$35mn), some upside in brands (+$9mn), and higher gross margin (+2.1%)
                      more than offset additional spend (+$13mn) and drove much of the upside. Please see Exhibit 1 for
                      our variance analysis. ENDP reiterated 2016 revenue and EPS guidance, although came out with
                      cautious 3Q guidance of $830-870mn and $0.77-0.82 (vs. our previous estimates of $916mn and
                      $1.01) given some timing benefits in 2Q including $15-20mn of stocking in generics, as well as
                      increased spending.

                      Impact & Analysis
                      While there were a number of positives to take away from 2Q, there are still many uncertainties
                      regarding run rates for key franchises, and we await further execution on those. This includes
                      legacy pain brands that generated upside in 2Q (Lidoderm, Percocet, Voltaren Gel), the growth
                      brands (Xiaflex, Belbuca) that disappointed in 2Q but ENDP is investing further behind them, and
                      the base generics that continue to erode with consortium pricing pressures and new generic entrants.
                      In generics, ENDP did sound confident with sustainability of Vasostrict and potential contribution
                      from two new 505(b)(2) potassium products beginning in 2017. It also continues to see good
                      growth from sterile injectables and remains optimistic on the overall pipeline. Based on 2Q and the
                      guidance, we are lowering revenue by $15mn in 2016 and $9-28mn in the out years. Our EPS
                      comes down $0.07 in 2016 and $0.05-0.13 in the out years.

                      Valuation & Recommendation
                      We are bumping up our price target to $22 from $21 based on our DCF using the same 10%
                      discount rate and terminal multiple of 5x our 2020 EBITDA. Our target implies EV/EBITDA of
                      7.2x our 2017 estimate of $1.8bn.

               Cowen wrote that Endo “reported good Q2 results given the previously lowered expectations.” According to Cowen,
               the “earnings beat was driven by strong sales in generics (namely sterile injectables), better performance in a number
               of branded products, and increased quarter-end buying patterns which should lead to a weaker Q3.” The analyst




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                       observed that “the question still remains whether Endo can stabilize and sustain its core operations,” but that “we
                       have likely seen the worst”:221

                              Endo reported good quarterly results, but the question remains whether Endo can further stabilize
                              its operations and begin to generate meaningful cash yield – and even if so – at what point will that
                              improved performance lead to significant debt retirement in the face of still large mesh liability
                              payments and potential future accruals. We believe these issues will persist.

                              Future Value Creation Will Remain Difficult
                              Endo reported good Q2 results given the previously lowered expectations with revenue of $921MM
                              (+25% Y/Y; -4% Q/Q) that was ~$60MM above us and the Street, leading to cash earnings $0.86 (-
                              28% Y/Y; -20% Q/Q), which were $0.11-0.12 above us and consensus, respectively. The earnings
                              beat was driven by strong sales in generics (namely sterile injectables), better performance in a
                              number of branded products, and increased quarter-end buying patterns which should lead to a
                              weaker Q3. This buying pattern issue will be significant enough next quarter that despite the Q2
                              earnings beat, management was only able to reiterate its fiscal year 2016 revenue guidance of
                              $3.87-4.03B (+18-23% Y/Y), and cash earnings of $4.50-4.80 (-6-0% Y/Y). Specifically,
                              management tempered Q3 expectations for guidance of $830-870MM in revenue and $0.77-0.82 in
                              cash earnings as operational challenges experienced with the legacy generic franchise and a few
                              core branded products will likely not completely ease. Additionally, for Q4, we continue to
                              anticipate the November and December launches of Seroquel XR and Zetia, respectively, to be
                              significant. Despite what should be a strong Q4, the question still remains whether Endo can
                              stabilize and sustain its core operations and begin to generate meaningful cash yield – and even if
                              so – at what point will that improved operating performance lead to meaningful debt retirement in
                              the face of still significant mesh liability payments and potential future accruals. With this amount
                              of leverage, we do not believe that this is something that our clients need to try find answers to, as
                              there are other relatively inexpensive, yet significantly more higher quality assets with easier and
                              far more straightforward pathways to greater value creation. For these reasons, we would continue
                              to avoid.

221
      Cowen & Company, “Recovery In Quarterly Performance, But Overall Thesis Is Unchanged,” August 9, 2016.


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                               As for our thesis, we have long thought that Endo’s aggregation of more generic revenue via a
                               fairly expensive Par transaction was a bit misguided, and we were not enamored with the Auxilium
                               transaction. Nonetheless, these decisions are all done and over, and the valuation is now essentially
                               reflecting these issues/concerns. At this point, we reconciled that Endo is what it is: a not terribly
                               exciting asset with a leveraged balance sheet. But the fact of the matter is that if management can
                               stabilize the cash flows, there should at the minimum be an upcoming bolus windfall of generic
                               launches via the Par new introductions in 2016/2017. Still, we remain concerned that this could be
                               a value-trap, especially in light of the debt levels. Although we argue that we have likely seen the
                               worst, this becomes an issue of whether there are better potential alternative investments to make.
                               We would argue that there are via SHPG ($197, Outperform), AGN ($248, Outperform), and
                               TEVA ($53, Outperform), which we think still offer compelling valuations and yet should be
                               durable growth entities with favorable inorganic optionality. For these reasons, we encourage our
                               clients to diversify away from this asset.

                        Deutsche Bank wrote the Company “reported 2Q results, with revenue and EPS coming in ahead of [its] previously-
                        lowered expectations.” The analyst increased its price target to $31 from $30, and was “encouraged to hear from
                        management that the generic business, while the environment remains highly competitive, played out largely as
                        planned”:222

                               Generic biz performing in line with expectations
                               ENDP reported 2Q results, with revenue and EPS coming in ahead of our previously-lowered
                               expectations, although generic revenues were helped modestly by timing of certain orders. We
                               were encouraged to hear from management that the generic business, while the environment
                               remains highly competitive, played out largely as planned. Our new model reflects lower 3Q and
                               higher 4Q EPS vs. our prior model, which is consistent with ENDP’s expectations for revenue and
                               spending trends in 2H (see below). We also lowered our cash tax rate estimates, which took our
                               DCF-based target to $31 (from $30). We are sticking with our Buy rating based primarily based on
                               valuation, and our thesis relies on, among other things, relative stability of the base generic

222
      Deutsche Bank, “Decent Q, thankfully,” August 9, 2016.


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                              business, significant generic launch activity in 2H, and continued exclusivity on Vasostrict through
                              2017.

                              Model changes
                              We lowered our 3Q16 revenue to reflect lower brand sales and a reversal of the generic stocking
                              benefit that helped 2Q. We also shifted some new generic revenue from 3Q to 4Q. We raised our
                              tax rate assumption for 2017 to 9% (from 6%) to reflect ENDP’s new reporting methodology.
                              These changes took our 2016E EPS to $4.55 (from $4.54) and 2017E EPS to $4.60 (from $4.80).
                              As ENDP now expects a cash tax rate of <5% (vs. our prior estimate of 6-9%), our cash flow
                              estimates in 2017 and beyond are modestly higher vs. our prior model.

                       Gabelli wrote that Endo “traded up … after the company reported Q2 results … and maintained full-year guidance
                       for adjusted EPS.” The analyst commented that “Endo maintained 2016 guidance despite a planned increase in
                       SG&A spending, a positive signal after last quarter’s drastic guidance cut.” Although Gabelli “continue[d] to
                       recommend ENDP,” it lowered its 2016 and 2017 adjusted EPS estimates for the Company:223

                              On August 9, 2016, ENDP traded up $3.97 (+22%) after the company reported Q2 results (rev
                              $921M +25%; EPS $0.86 vs. $1.08) and maintained full-year guidance for adjusted EPS of $4.50-
                              4.80.

                              Stability in generics. Generics ($565M, -3% vs. Q1) were slightly ahead of expectations, due partly
                              to a timing benefit that pulled an estimated $15-20M of sales from Q3 into Q2. The base business
                              saw 5% sequential erosion, though this would have been closer to 7% excluding the timing benefit.
                              Endo expects this level of erosion to continue for the balance of 2016, though we note competitors
                              have been more bearish on the generic controlled substance market for H2. Longer-term, generics
                              will be driven by the ANDA pipeline and new 505(b)(2) launches, but we expect short-term
                              headwinds in Q3 before the major launches of generic Seroquel XR and Zetia in Q4.



223
      Gabelli & Company, “Q2 Solid, But In The Wrong Places,” August 10, 2016.


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                           Non-core brands lead the way. US brands ($288M, -9%) also outperformed expectations, though
                           core products like Xiaflex ($42M, +6%) and Opana ($39M, -11%) had disappointing quarters.
                           Xiaflex saw inventory de-stocking of approximately one week that offset 19% vial growth in
                           Peyronie’s, and Opana remains pressured by the challenging environment for opioids. Legacy
                           products like Lidoderm were the primary driver of the outperformance for the US branded segment.
                           In H2 2016, Endo plans to increase its promotional efforts around Xiaflex and newly-launched
                           Belbuca to support growth.

                           Updating estimates. Endo maintained 2016 guidance despite a planned increase in SG&A
                           spending, a positive signal after last quarter’s drastic guidance cut. However, we are lowering our
                           estimates in light of near-term headwinds, lowered outlook for key brands, and cautious language
                           from peers on the generics market. We now expect 2016 adjusted EPS of $4.55 (previously $4.60),
                           growing to $4.95 in 2017 (previously $5.35).

                           Investment Case
                           Despite lowering our estimates, we continue to recommend ENDP as the company trades at 8.1x
                           2017 EBITDA of $1.7B. Net debt of $7.6B remains a concern, but the company’s goal is to get
                           below 4x leverage by the end of 2017. We estimate that the generics business alone (based on 12x
                           2017 EBITDA of $1.16B) is worth more than the current enterprise value of ENDP (including net
                           debt and $1.2B net mesh liability), and shares trades at a 56% discount to our 2017 PMV of $51 per
                           share.

                    Guggenheim wrote that “ENDP [was] moving things in the right direction” after the Company “reported a 2Q16 beat
                    and reaffirmed its ’16 guidance, which increase[d] [the analyst’s] confidence that earnings [were] stabilizing.” The
                    analyst added that “[p]ricing erosion in the generics business appear[ed] to have stabilized in 2Q16.” Guggenheim
                    noted that Endo was “open to strategic alternatives if it cannot enhance shareholder value [which] puts a floor on
                    valuation”:224


224
  Guggenheim, “ENDP - BUY - Turning the Corner on Performance; 2Q16 Beat and Outlook for ’16+ Keep Us Positive on the Stock,”
August 8, 2016.


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                 1H16 was challenging, but ENDP moving things in the right direction. ENDP reported a 2Q16 beat
                 and reaffirmed its ’16 guidance, which increases our confidence that earnings are stabilizing. If
                 ENDP can continue to execute against its stated objectives, we think the P/E multiple could expand
                 from 3.9x now to 8.0x-10.0x. Our $35 PT, translates into a 7.8x P/E multiple (assuming ’16 EPS of
                 $4.50). The comps are at 12.0x. ENDP has also said it is open to strategic alternatives if it cannot
                 enhance shareholder value. We think this puts a floor on valuation.

                 2Q16 positives from the call and release that support our thesis: 1) ENDP expects low double-digit
                 revenue growth for Xiaflex in ’16. In 2Q16 the company saw Peyronie’s demand growth of 19%
                 YOY. The Peyronie’s disease awareness campaign has been effective. ENDP saw Dupuytren’s
                 demand growth of 5%. ENDP also continues to move forward with its pipeline for Xiaflex and
                 announced during the quarter it is looking at Xiaflex to treat human lipoma. 2) Pricing erosion in
                 the generics business appears to have stabilized in 2Q16, and ENDP continues to grow this
                 business. The company expects ~30 approvals in ’16 and to file ~25-30 new ANDAs. In ’17 there
                 are some interesting 505(b)(2) opportunities, like 2 forms of potassium. 3) ENDP expects a step
                 down in 3Q16 EPS, and 4Q16 EPS performance to be outsized for the year. 3Q16 EPS should be
                 lower because of: the timing of some product sales, lower U.S. brand sales (Volaren Gel, pain
                 products), increasing SG&A expenses for promotion and an increase in R&D spend. 4Q16 EPS
                 should be driven by the launches of Seroquel XR and Zetia. And, 4) ENDP remains committed to
                 de-leveraging below 4x in ’17. ENDP ended the quarter at 4.6x leverage.

                 Maintaining our ’16E EPS and lowering our ’17E EPS post 2Q16. ENDP reported 2Q16 adjusted
                 EPS of $0.86, $0.08 higher than consensus and $0.18 above our estimate. Our Variance Analysis
                 table has details. ENDP maintained its ’16 EPS guidance of $4.50-4.80, midpoint $4.65 (we were
                 $4.50, consensus was $4.62). We have updated our model for 2Q16, which did not change our ’16
                 EPS and lowered our ’17 EPS estimate. To be conservative, we have lowered our ’17 sales
                 forecast.

                 Upcoming Events and Potential Catalysts. 1) Advance additional Xiaflex indications, ’16+; 2)
                 Belbuca launch progression ’16+; and 3) M&A and/or business development.




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                       JMP wrote that Endo “substantially outperformed in 2Q16,” as both revenue and EPS exceeded consensus estimates,
                       “with stronger sterile injectable sales and $15-20M in advanced buying at the end of the quarter.” The analyst noted
                       that the Company “believe[d] the managed care pressures from 1Q16, have passed,” and that its “Market
                       Outperform” rating for the Company was supported by “[a] modest current valuation and confidence in 2017 and
                       beyond”:225

                              Endo International substantially outperformed in 2Q16 with revenue of $920.9M ($722.8M JMPe
                              and $863.9M consensus) and EPS of $0.86 ($0.62 JMPe and $0.74 consensus); we reiterate our
                              Market Outperform rating and $44 price target. Endo reiterated 2016 revenue guidance of $3.87-
                              4.03B and EPS of $4.50-$4.80. Management believes the managed care pressures from 1Q16 have
                              passed and now expects stable GTN for 2H16. We feel that growth will still be driven by specialty
                              generic, low double-digit growth from Xiaflex, and increased uptake of Belbuca. Our price target
                              includes an equal blend of PEG ratio and Mkt Cap/EBITDA analysis of 0.8x and 6.2x, respectively,
                              on our 2017 estimates discounted 30%.

                              Xiaflex generated sales of $42.4M, in line with $42.0M JMPe, and we expect low double-digit
                              growth in 2016. Xiaflex was impacted by larger-than-expected wholesaler destocking, yet still met
                              our sales expectations. Xiaflex vials usage increased 12% Y/ Y overall and 19% Y/Y in Peyronie’s
                              disease. In addition, Endo is accelerating the Xiaflex pipeline with the initiation of clinical trials,
                              which we believe will add significant incremental revenue by 2018. The Cellulite Phase 2 results
                              are expected in late 2016, the Adhesive Capsulitis and Plantar Fibromatosis studies will initiate in
                              3Q16, and the Dupuytren’s Nodules and Lateral Hip Fat study will initiate in 4Q16.

                              The base Qualitest business exceeded expectations with sales of $565M. The managed care
                              pressures have relatively stabilized, but management expects a sequential 5% decline in the base
                              business excluding the injectable and alternative dosage forms products. The generics pipeline is
                              very deep with ~15-17 new launches remaining in 2016, including Zetia and Seroquel in
                              conjunction with 25-30 ANDA total submissions. In addition, Endo obtained NDA approval for


225
      JMP, “ENDP: Strong Quarter and Mixed Guidance Clouds Thesis; Maintain Market Outperform,” August 9, 2016.


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                               Vasostrict, which is now the only branded vasopressin formulation approved in the U.S. with patent
                               protection to 1/30/2035.

                               Belbuca expected to generate meaningful sales in 2017. Belbuca was launched in 1Q16 and may
                               have missed the 2016 formulary review cycle with some payers. Payers construct barriers for new
                               drug additions, but we are confident that a slow launch will be followed by meaningful peak sales.
                               A CDC narcotic warning letter, Schedule III DEA status, and minimal abuse and addiction potential
                               are all tailwinds for Belbuca success.

                               Endo exceeded consensus in 2Q16 with stronger sterile injectable sales and $15-20M in advanced
                               buying at the end of the quarter. Management maintained 2016 guidance, but provided guidance
                               below the Street for 3Q16 with revenue of $830-870M vs. $952M and adjusted non-GAAP EPS of
                               $0.77-$0.82 vs. $1.08. We believe that 2016 is a rebuilding year for Endo with multiple value
                               creating milestones, but a vast number of moving pieces add risk to the story. A modest current
                               valuation and confidence in 2017 and beyond supports our Market Outperform rating.

                        JP Morgan wrote that the Company “reported better than expected 2Q results.” The analyst was “encouraged with
                        generics performance this qtr which suggest [sic] trends in-line with mgmt’s revised expectations”:226

                               Endo reported better than expected 2Q results, with EPS of $0.86 (+$0.12 vs. cons), although this
                               was in part due to the timing of wholesaler buying patterns. Nevertheless, we are encouraged with
                               generics performance this qtr which suggest trends in-line with mgmt’s revised expectations. With
                               ENDP shares trading at ~3.5x 2017E EPS and ~6.5x 2017E EBITDA, we believe in-line results
                               over the next several quarters and signs of an improving outlook/cash flow profile in 2017 can
                               support a multiple in-line with generic peers.

                               Generic outlook is encouraging and largely unchanged from 1Q. Endo’s generics results suggest
                               the business is beginning to bottom, and while management expects continued pricing pressure
                               from purchasing consortiums over time, Endo’s assumption of ~5% sequential erosion for the base

226
      JP Morgan, “2Q Takeaways - Signs of Stability,” August 9, 2016.


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                              business (solid oral dosage, controlled substances) through 2016 and ~10% annual erosion for the
                              base business in 2017+ remains unchanged. Offsetting this erosion, we expect the higher barrier-
                              to-entry businesses (injectables, controlled release, etc.) to drive growth, as well as a number of
                              pipeline launches over the course of the year and in 2017 from Par. Endo expects roughly 30 new
                              product launches this year, including the Zetia and Seroquel XR FTF opportunities in 4Q which
                              will be the main driver of 2016 revenues.

                              ENDP discloses two potassium products as 505b2 opportunities. On the call, management
                              disclosed that is has had conversations with the FDA on its 505b2 products (two potassium
                              products - one liquid, one powder), and believes it may be in position to have market exclusivity by
                              year-end as unapproved competitors are removed. While Endo indicated the delay in regulatory
                              action may impact the durability of these products (add’t competitors coming to market), we see the
                              potential for these products to benefit 2017 results, and will look for other similar opportunities
                              coming from the Par pipeline over time.

                       Leerink wrote that the Company’s quarterly results were “solid,” with revenues and earnings topping consensus
                       expectation as branded pain products and generics outperformed. The analyst “revised sales/EPS ests [to] reflect
                       lower out year new product contribution,” and lowered its price target to $22 from $23:227

                              Bottom Line: ENDP reported a solid 2Q, beating revenue expectations by ~6% and EPS by 16%,
                              but left 2016 guidance parameters unchanged as 2Q revenue benefited from customer stocking &
                              advancement of orders while mgmt. left EPS guidance unchanged as ENDP plans to increase spend
                              to fund underperforming brands. While 2Q results benefited from some timing issues, we came
                              away from the quarter further questioning the growth trajectory of key brands like Xiaflex
                              (dupuytrens/peyronie’s) and Belbuca (pain), the latter reporting negligible sales YTD; mgmt. sees
                              Xiaflex and Belbuca as important growth drivers and a recent change in ENDP’s brand leadership
                              can only help given disappointing uptake of these products. On generics, we view mgmt.’s strategy
                              of pursuing conversion of unauthorized products to 505(b)2 brands as a very high risk/high reward
                              business and view the product oppty’s as relatively short-lived, in the 1-2 yr range. Our revised

227
      Leerink, “Improving Gx Environment Helps NT But Remain Cautious on LT Growth, PT to $22,” August 9, 2016.


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                               sales/EPS ests reflect lower out year new product contribution as we expect significant rebasing in
                               2018 after two large first-to-file generics lose exclusivity in 2Q17. We are lowering our PT to
                               $22/shr (from $23) and our rating remains MP.

                               2Q performance & changes to our model: ENDP reported sales/ EPS of ~$921m/~86c beating cons.
                               forecasts of ~$864m/~74c. ENDP’s branded pain products Lidoderm, Percocet and V-gel all posted
                               modest beats. Xiaflex sales grew 6% Y/Y well below the Street’s 22% Y/Y 2Q est. On the generic
                               side, ENDP beat street ests by ~$25m as the generic portfolio saw less intense competitive pressure
                               and the overall business benefited from some stocking. We are trimming our ’16E & ’17E Xiaflex
                               ests by 1-5% as we expect sales to ramp more slowly and we’re reducing our ’18-’21E generic
                               revenue ests by 8-13% to reflect the loss of g-Zetia and g-Seroquel, both high value P4 exclusive
                               products.

                               What we liked in the quarter: (1) mgmt provided increased visibility into the company’s 505b2
                               strategy noting some key near-term product opportunities including injectable potassium chloride
                               (hypokalemia; liquid and powder form), which ENDP could gain exclusivity for in early ’17E.
                               Similar to Vasotrict (hypotension), ENDP’s ability to convert the market from the unapproved
                               version and capture a more appropriate brand price point (typically 3-5x increase based on 505b2
                               comps) could yield a sizable market oppty but the ability to secure exclusivity is highly
                               unpredictable; and (2) ENDP is on track to deliver on their exclusives for g-Zetia and g-Seroquel
                               which have end markets of $1.3B and $2B, respectively.

                        Morgan Stanley wrote that the Company exceeded consensus estimates for revenue and EPS “largely due to sterile
                        injectables and favorable timing.” The analyst added that Endo’s “2016 guidance [was] reaffirmed despite solid 2Q
                        beat; [and] 3Q guidance [was] well below MSe [Morgan Stanley] and consensus” with “[s]ome of this [] likely due to
                        beneficial timing in 2Q reversing in 3Q”:228




228
      Morgan Stanley, “2Q well above, but reversal ahead in 3Q,” August 8, 2016.


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                 Endo exceeded 2Q EPS expectations by 17% vs. consensus. While execution during the Q was
                 strong, guidance for 3Q:16 is 26% below cons and full-year targets were maintained. In addition,
                 key branded drug Xiaflex missed and mgmt lowered its full-year growth forecast.

                 2Q top-line and bottom-line: Revenues were $921M, 7% above cons’ $864M and 5% above our
                 $874M. EPS was $0.86, 17% above cons’ $0.74 and 19% above our $0.73. $0.01 per share
                 equates to approximately $2.3M pretax. $0.14 EPS upside vs. our model included: Revenues
                 +0.21, COGS -0.00, SG&A -0.03, R&D -0.04, Other +0.00, Taxes -0.00.

                 Beat this quarter largely due to sterile injectables and favorable timing. Sterile generic injectables
                 revenue of $126M was ~10% above our $115M estimate. Mgmt stated that the base Gx business
                 declined -5% sequentially from 1Q to 2Q, in-line with expectations. On the branded side, upside
                 was driven largely by non-core products in decline (e.g., Lidoderm, Voltaren Gel), but key growth
                 driver Xiaflex was below ($42M was -9% below our $47M). Lastly, mgmt. referenced a modest
                 timing benefit ($15-20M total revs) related to the quarter due to buying patterns.

                 Full year 2016 guidance reaffirmed despite solid 2Q beat; 3Q guidance well below MSe and
                 consensus. Revenue guidance remains $3,870-$4,030M; midpoint of $3,950M is 1% above cons’
                 $3,927M and in-line with our $3,962M. EPS guidance remains $4.50 -$4.80; midpoint of $4.65 is
                 2% above cons’ $4.54 and 2% above our $4.58. However, mgmt’s 3Q revenues and EPS guidance
                 is well-below. 3Q revenue of $830-$870M; midpoint of $850 is -11% below our $947M and cons’
                 $952M. EPS of $0.77-$0.82; midpoint of $0.80 is 22% below our $1.03 and 26% below cons’
                 $1.08. Some of this is likely due to beneficial timing in 2Q reversing in 3Q.

                 Other notable tidbits: Endo now expects Xiaflex pro forma ’16 revenue growth in the low double-
                 digit range vs. mid-to-high teens last quarter. 2Q:16 cash flow from operations was $605M,
                 primarily due to the expected receipt of a $707M from federal income tax refund. Lastly, Endo
                 announced the appointment of Joseph Ciaffoni as new head of U.S. Branded Pharmaceuticals.
                 Ciaffoni is joining from Biogen where he was SVP, Global Specialty Medicines.




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Exhibit 12

           Impact
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                        Morningstar wrote that Endo’s “second-quarter results signify stability after the surprise weakness in the first
                        quarter … [and] mostly matched [its] expectations.” The analyst thought the Company “remain[ed] on track to meet
                        [its] year-end expectations.” The analyst added that Endo’s “performance provide[d] evidence that negative
                        competitive pressures in [the generics] segment have slowed”:229

                                We’re leaving our fair value estimate for Endo in place as the company’s second-quarter results
                                signify stability after the surprise weakness in the first quarter related to generic competition on
                                Voltaren gel and worse-than-expected competition in the generic segment. This quarter’s revenue
                                and non-GAAP EPS of $921 million and $0.86, respectively, mostly matched our expectations. We
                                think the company remains on track to meet our year-end expectations, and management
                                maintained its outlook. Although this quarter’s performance is a modestly positive sign for the firm
                                that the first-quarter issues have abated, we’re leaving our no-moat rating in place since we still
                                have long-term concerns about the sustainability of Endo’s product portfolio and pipeline.

                                We anticipate Endo’s launches of generic Seroquel and Zetia later this year and greater stability in
                                the firm’s base generic business combined with sustained double-digit growth for Xiaflex can keep
                                Endo in line with our forecast. Endo’s branded segment fell 9% from last year on generic
                                competition on Voltaren gel that began in the first quarter as well as subdued 6% growth for
                                Xiaflex due to lower customer stocking. Since vial demand for Xiaflex remains in the double-digit
                                growth range, largely driven by Peyronie’s disease, this drug should see a rebound in customer
                                buying over the coming months. The integration of Par continues to fuel the surge in reported
                                growth for the firm’s generics segment, which mostly continues to track our expectations. The
                                launches of generic Seroquel and Zetia remain incremental positives on the near-term horizon, but
                                despite the firm’s focus on unique drug formulations and injectables, we’re still concerned about
                                above industry average price erosion in Endo’s generics segment. Regardless, this quarter’s
                                performance provides evidence that negative competitive pressures in this segment have slowed.

                                Lastly, Endo remains highly leveraged with net debt to EBITDA at roughly 4.6 times with mesh
                                litigation payments over through 2017 limiting deleveraging opportunities. Net of the recently

229
      Morningstar, “After a Disastrous First Quarter, Endo’s Second-Quarter Results Show Stability,” August 9, 2016.


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                              received $700 million tax refund, Endo should have approximately $200 million in mesh payments
                              this year with an additional pretax payment of $600 million to $700 million expected for next year.

                       Northland wrote that “Endo’s June quarter results surprised on upside,” as adjusted EPS exceeded consensus
                       estimates. The analyst commented that “[w]hile Endo’s 2Q16 upside was notable, the company specifically called
                       out a weak 3Q16 with revenues and EPS down sequentially.” However, Northland noted that “Endo kept full year
                       guidance unchanged”:230

                              We stay MP-rated on Endo shares. Among acquisition-oriented companies, we would highlight
                              OP-rated Depomed and Mallinckrodt as alternatives as we see Endo’s high debt levels ($7.66B of
                              Net Debt ex. restricted cash or ~$34.36 per share) keeping Endo’s multiple discounted. We do not
                              rule out some bounce as 2Q16 Adjusted EPS of $0.86 were well-above our $0.72 and $0.74
                              consensus on revenues of $920.9M (+25% YOY) which increased largely due to acquisition. Endo
                              kept full year guidance unchanged.

                              Key Points
                              We maintain our $20 per share target now based upon 2017E versus 2016E and we slightly lower
                              our EBITDA multiple to 6.6x EBITDA reflecting still low conversion of EBITDA to free cash flow
                              due to ongoing surgical mesh liability payments and high interest costs offset by a tax refund in
                              2016. Free cash flow guidance for 2016 is just $225-$270M or $1.01-$1.21 per share, well-below
                              $1.02B of Adjusted Net Income and we see limited debt pay-down with Endo’s Net Debt to
                              Adjusted EBITDA remaining elevated although below a recent 4.6x ratio.

                              Endo’s June quarter results surprised on upside; however, unchanged guidance for 2016 at $4.50-
                              $4.80 and an estimated revenue benefit of $15M-$20M from wholesaler buying patterns for
                              generics makes the upside less exciting to us. For 2Q16, strength in generics also included (now
                              patented) Vasostrict cardiovascular drug, a part of the generics division. Vasostrict strength with
                              other products helped Generics sales top our model by 15% despite ~5% price erosion sequentially
                              for the base generics business. As reminder, Endo is optimizing unprofitable products as part of a

230
      Northland Capital Markets, “Endo’s 2Q16 EPS Decline to Above-Consensus $0.86 from $1.10; Guidance Unchanged,” August 9, 2016.


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                               restructuring move and is focusing on launches particularly for 505 (b) (2) branded products e.g.
                               potassium for 2017 and alternative dosage form drugs. During 2Q16 both International Sales and
                               Branded Sales missed forecast including some trade de-stocking for Xiaflex which should reverse
                               going forward given demand growth.

                               While Endo’s 2Q16 upside was notable, the company specifically called out a weak 3Q16 with
                               revenues and EPS down sequentially. For revenues we see three key detractors sequentially include
                               (1) reversal of wholesaler buying patterns for generics, (2) Vasostrict growth mainly due to pricing
                               as volume should plateau (WAC pricing for Vasostrict rose ~20% for 3Q16) and (3) reversal of
                               strength for branded Lidoderm and Voltaren Gel on generic competition. Revenue outlook of
                               $830M-$870M for 3Q16 is well-below $921M for June quarter. Adjusted EPS outlook of $0.77-
                               $0.82 also steps down sequentially. We credit June quarter performance; however, we take a wait
                               and see stance before being more aggressive on ENDP shares.

                       Oppenheimer wrote that “[s]hares of Endo were up ~14% in after-hours trading after the company reported strong
                       2Q16 results,” as both revenue and adjusted EPS beat consensus estimates. The analyst observed that the “[s]trong
                       [q]uarter [g]ives investors [h]ope,” and that the Company “provided clarity on the 505(b)(2) products that were partly
                       to blame for the 1Q16 miss”:231

                               Shares of Endo were up ~14% in after-hours trading after the company reported strong 2Q16
                               results. The quarter benefited from solid branded revenues and a pull forward of customer orders
                               from 3Q to 2Q. Management reaffirmed 2016 guidance and continues to forecast ~5% sequential
                               base erosion in the generics business throughout 2016, and ~10% annual erosion for 2017. Endo
                               also provided clarity on the 505(b)(2) products that were partly to blame for the 1Q16 miss. The
                               two potassium products (one liquid and one powder) have started to receive positive feedback from
                               the FDA with respect to removing unapproved sources from the market, and could impact 2017 by
                               as much as ~$70M. Additionally, Endo plans to launch between 25-30 ANDAs in 2017.

                               KEY POINTS

231
      Oppenheimer, “2Q16 Results: Strong Quarter Gives Investors Hope,” August 9, 2016.


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                 Headline Results: Revenue of $921M was ahead of our/consensus estimates of ~$877M/$864M,
                 while adj. EPS of $0.86 also beat our/Street estimates of $0.79/$0.74. Lidoderm/Voltaren/Percocet
                 were all better than expected, and management commented that there was ~$15-20M of across the
                 board, advanced orders ahead of the July 4th holiday (which ENDP expects to reverse in 3Q).

                 3Q16 Guidance: Management provided 3Q revenue guidance of $830-$870M and adj. EPS
                 guidance of $0.77-$0.82. The company additionally expects Q/Q declines for the testosterone
                 products, the pain products, and Lidoderm, as well as increased Xiaflex/Belbuca promotional
                 efforts. Even accounting for $15-20M of reduced orders Q/Q, our 3Q revenue/adj. EPS estimates
                 are ~$887M/$0.85, both above the guidance range.

                 Yearly Guidance: Endo reaffirmed full year 2016 revenue guidance of $3.87-$4.03B (vs. prior
                 consensus of $3.9B), and adj. EPS guidance of $4.50-$4.80 (vs. prior consensus of $4.54). With
                 respect to 2017, management forecasts continued Xiaflex growth (although not in the double-digit
                 range), likely a competitor-free Vasostrict market, a growing injectables franchise, the launch of
                 505(b)(2) products, and launching 25-30 ANDAs.

                 Mesh Liability: Endo’s pre-tax liability related to its vaginal mesh lawsuits stands at $1.2B ($1.6B
                 accrued minus ~$400M in restricted cash). Management estimates pre-tax cash calls of ~$300-
                 400M in 2H16 and $600-700M in 2017. The current net debt-to-leverage ratio is ~4.6x with the
                 company expecting to exit the year in the mid-to-high 4x’s range.

                 Model Changes: Our 2016 revenue/adj. EPS estimates remain largely intact at ~$3,886M/$4.54 (vs.
                 prior ~$3,882M/$4.54). We are also introducing 2017 revenue/adj. EPS estimates of
                 ~$4,284M/$5.06. We maintain our Perform rating but note that the shares appear relatively
                 inexpensive, trading at ~3.9x the midpoint of the 2016 adj. EPS guidance.




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                        Piper Jaffray reported the Company’s quarterly revenues and adjusted EPS exceeded consensus estimates, “and
                        notably, the company reiterated its 2016 guidance ranges.” The analyst reiterated its rating for the Company, raised
                        its estimates for 2016 and 2017 revenue and adjusted EPS, and increased its price target to $19 from $18:232

                               Endo reported 2Q16 non-GAAP diluted EPS of $0.86 on revenue of $921M, compared to Street
                               estimates of $0.74 and $864M, respectively, and notably, the company reiterated its 2016 guidance
                               ranges. Given that the generics business is in a period of transition (i.e., rationalization of the
                               portfolio; deep pipeline from Par that will gradually bear fruit), along with the reality of payments
                               associated with the vaginal mesh settlements, we continue to believe that it would behoove ENDP
                               to take an aggressive approach to the divestiture of non-core assets in order to accelerate debt
                               paydown (net debt/EBITDA is currently at around 5x). With limited visibility on significant
                               earnings growth over the next 2-3 years (particularly considering that the longer-term durability of
                               Vasostrict is a question mark), we believe ENDP, at an EV/2017 EBITDA of 8x, is fairly valued.
                               We reiterate our Neutral rating and PT to $19 from $18 on 5x (unchanged) 2017E EPS discounted
                               at 10%.

                               Generics segment soft as expected. Sales for the base generics business declined by around 5% in
                               2Q16 versus 1Q16, due to continued pricing pressure and competition (as ENDP had cited
                               previously). Vasostrict continues to account for an increasing portion of the generics sales mix,
                               cushioning some of the weakness from the segment given its brand-like margins due to exclusivity.
                               Sales for Vasostrict in 2Q16 grew by 10% over 1Q16 and by around 250% over 2Q15, based on
                               data from Symphony Health, and we estimate that the product accounted for nearly 15% of generics
                               sales. Notably, ENDP has not yet been notified of a paragraph IV filing. That dynamic along with
                               ENDP’s comments that it has an exclusive arrangement with an API (active pharmaceutical
                               ingredient) supplier goes some ways towards explaining why management is confident that it could
                               have exclusivity on the product into 2018.

                               Latest color on the generics pipeline. Regarding new launches and the pipeline, ENDP has
                               launched 11 new generics year-to-date, and remains on track to file between 25-30 abbreviated

232
      Piper Jaffray, “2Q Beat; Still A Long Road Ahead To Recovery,” August 8, 2016.


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                                NDA’s (the pipeline currently consists of over 250 different programs). Beyond generics for Zetia
                                and Seroquel XR, ENDP also called out 505(b)(2) filings for a liquid and powder form of
                                potassium chloride as having potential for significant contribution in 2017. ENDP is also expecting
                                around 25-30 new launches in 2017.

                                Tough dynamics for Belbuca out of the gate. Cumulative total prescriptions (TRx) for Belbuca are
                                now near 17,600 after its 24th week since launch, well behind the roughly 95,000 TRx’s seen for
                                Purdue’s BuTrans (transdermal buprenorphine) at a similar period following its rollout in January
                                2011. Beyond the overall pressures on the broader opioid space, management noted that the
                                physician learning curve associated with titration has also been a challenge. The payer landscape
                                has also been a challenge, though that could be improving (payer contracts account for 85% of
                                commercial lives, though unrestricted access accounts for 70%).

                                RISK TO ACHIEVEMENT OF PRICE TARGET
                                Risks include additional generic threats and merger integration risk.

                        RBC wrote that “ENDP shares are up after-hours on a 2Q beat and a reaffirmed outlook that captures a combination
                        of low expectations, heavily debated set-up, and some favorable read-through to 2017E.” The analyst stated that
                        Endo showed “general strength across the revenue base,” as revenue and adjusted EPS both topped the its forecasts.
                        RBC opined that “[g]iven recent disappointments, 2Q offered a reversal,” adding that it felt “incrementally better
                        about [Endo’s] visibility into next year”:233

                                Our view: ENDP shares are up after-hours on a 2Q beat and a reaffirmed outlook that captures a
                                combination of low expectations, heavily debated set-up, and some favorable read-through to
                                2017E. However, we leave the call with conviction and catalysts still low, although we do feel
                                incrementally better about visibility into next year and valuation is reasonable in our view. Expect
                                equity to remain volatile and remain Sector Perform.

                                Key points:

233
      RBC Capital Markets, “Better than anticipated 2Q on low expectations; 2017 visibility low but improving,” August 9, 2016.


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                      Solid 2Q and reaffirmed outlook, although 2016 now more back-end weighted. Revenue and EPS
                      of $921 million and $0.86 were above consensus of $864 million and $0.75, with general strength
                      across the revenue base. Given recent disappointments, 2Q offered a reversal, with management
                      setting a reasonable bar and beating it. ENDP reaffirmed full-year guidance across all line items
                      although 3Q will effectively step down with 2016 now more weighted to 4Q. For 3Q, revenue and
                      EPS guidance is $830–870 million and $0.77–0.82 vs. consensus of $952 million and $1.06, which
                      will need to move lower. Our new EPS estimates for 2016–18 are $4.58, $5.14, and $5.39,
                      respectively.

                      Generic performance was better than feared given recent challenges but not yet “normalized”.
                      Following the 1Q negative surprise, ENDP put up a reasonably solid result that came against low
                      expectations and demonstrated some consistency around execution. Importantly, in recent weeks,
                      there have been two clear positives: (i) the previously announced 6/28 Vasostrict patent issuance
                      (link) and price increase; and (ii) FDA action to remove competitors on the Potassium
                      liquid/powder 505(b)(2) opportunities that were disclosed tonight and should benefit 2017E. The
                      company remains on track for ~30 new launches this year, with 15 still to come including date-
                      certain launches of generic Zetia and Seroquel. For 2017E, management is still looking for a more
                      normalized base erosion level of 10–12%, which remains an unchanged message.

                      So where can the stock go? That depends on where consensus EBITDA for 2017E settles and how
                      much confidence builds around that number. Based on the after-market move, ENDP trades at 6.8x
                      next-year EBITDA, which reflects net debt of $7.6 billion and leverage of 4.6x, leaving little
                      financial flexibility in the near term. That is within the 6–7x floor valuation range we see for the
                      company and below generic hybrid peers that have seen valuations modestly step up to 9.7x. The
                      challenge for ENDP is that P&L upside is going to drive the stock, near-term financial flexibility is
                      constrained, and we see limited potential for meaningful pipeline surprise. Each multiple turn on
                      EV/EBITDA drives ~$7–8 of equity, value underscoring the likely volatility until ENDP more
                      meaningfully delevers.

               Susquehanna wrote that Endo’s quarterly revenue and EPS exceeded consensus estimates, and that the “relatively
               uneventful quarter with upside to conservative guidance seemed welcome after a series of resets.” Susquehanna was



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                        “encouraged that expectations are being managed [by Endo] to derisk 3Q,” and full-year guidance “indicate[d] a
                        sequential decline in 3Q but still reflect[ed] a big 4Q driven by 2 exclusive generic launches”:234

                               A relatively uneventful quarter with upside to conservative guidance seemed welcome after a series
                               of resets. We remain Neutral but are encouraged that expectations are being managed to derisk 3Q.
                               There were signs of stabilization in Qualitest and incremental details on the Vasostrict strategy
                               though efforts to accelerate key brands are still taking shape amid new segment leadership.

                               HIGHLIGHTS
                               Last night, ENDP reported EPS of $0.86, exceeding our $0.78, consensus of $0.74 and guidance of
                               $0.70-$0.75. Revenue for each segment modestly exceeded our forecasts. Management affirmed
                               full year guidance, indicating a sequential decline in 3Q but still reflecting a big 4Q driven by 2
                               exclusive generic launches.

                               2Q Upside Across Segments Despite Some One-Time Factors: Revenues of $921mln were above
                               our $884mln and consensus $869mln. Brand sales of $288mln were ahead of our $272mln but the
                               mix was not ideal, as Lidoderm, Percocet and Voltaren were stronger while Opana and Xiaflex
                               lagged. Destocking was noted for Xiaflex and growth in Peyronies’s was noted as strong, though
                               Dupuytren’s slowed. Generics of $565mln was above our $545mln with upside in sterile
                               injectables (+$11mln) and the base portfolio though $15-$20mln of stocking will presumably
                               reverse in 3Q. International of $67mln was above our $59mln. Gross margin was 90bps above our
                               forecast, helping offset higher spending.

                               Guidance Affirmed and 3Q Expectations Managed: ENDP reiterated full year guidance including
                               EPS of $4.50-$4.80. Guiding down 3Q to $0.77-$0.82 (vs. $1.01 consensus) on order timing and
                               higher spend should help derisk the immediate term ahead of a big launch expectation for 4Q.

                               Catalysts


234
      Susquehanna Financial Group, “Endo International: ENDP Easily Clears Low Bar As Results Stabilize,” August 9, 2016.


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                              Belbuca launch and uptake, Opana label change in 2016, key Par approvals/launches, Vasostrict IP,
                              and potential strategic alternatives.

                              Downside or Upside risk
                              We see downside to ~$15 if competitive pressure intensifies.

                       UBS wrote that the Company’s quarterly EPS exceeded its own and consensus expectations, as “higher sales …
                       drove the beat.” The analyst opined that Endo “management seem[ed] to be on track to deliver on its 2016 guidance
                       with growth from the branded side and new product launches from the Par biz while also continuing to de-lever the
                       balance sheet. Given low investor expectations, [UBS] expect[ed] a nice move in the stock”:235

                              What’s new? 2Q16 EPS of $0.86 vs cons of $0.74 and UBSe of $0.71
                              (1) Higher sales (+$58M) and GM (+3%), partially offset by higher R&D (+$9M) and SG&A
                              (+$10M) drove the beat. (2) The sales beat was mainly driven by strength in Lidoderm (+$15M),
                              Voltaren Gel (+$15M), and generics (+$31M). Management noted that generics sales in the quarter
                              benefited by $15-20M of inventory stocking with 50% coming from the base biz. (3) Mgt
                              maintained its FY guidance as it expects the strong 2Q and slightly better GMs to be offset by
                              higher investment in S&M in 2H16. (4) Re Xiaflex, mgt noted that inventory at the end of 2Q had
                              come down from the normal 14 days level to 7 days, so it expects low double digit sales growth in
                              2H. (5) Re Belbuca, while physician feedback has been positive, initial uptake has been impacted
                              by the learning curve in switching/titrating patients onto Belbuca, payer environment for Schedule
                              III drugs and absence of government reimbursement which takes time to kick in. Mgt is investing
                              in more promotional efforts and expects a ramp in 2017.

                              Additional takeaways: Raising 2016 to reflect 2Q beat; no change to 2017 EPS
                              (6) Re Vasostrict, Endo has saturated the mkt volume potential and growth going forward will
                              mainly be driven by price. Most of the recent 20% price increase will fall to the bottom line.
                              Further, at this time there is no known ANDA filer and if one is filed tomorrow, it would take the
                              30 month stay out to late 2018. (7) The base generics biz (IR/ER oral solid and CR pain) saw 5%

235
      UBS, “Beating Low Expectations,” August 8, 2016.


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                           erosion in 2Q, in line with mgt’s expectations and the erosion in 2017 is expected to be ~10%. (8)
                           Mgt learned that in recent weeks, FDA has asked unapproved manufacturers of 2 forms of
                           potassium (liquid and powder) to come off the market by YE16. Endo expects to start to see a
                           benefit from these 505(b)(2)s in early 2017. (9) Mgt expects leverage to be at mid-to-high 4s by
                           YE16.

                           Thoughts on the stock: Should be up nicely tomorrow
                           Following the guidance reset in 1Q due to the headwind in generics, management seems to be on
                           track to deliver on its 2016 guidance with growth from the branded side and new product launches
                           from the Par biz while also continuing to de-lever the balance sheet. Given low investor
                           expectations, we expect a nice move in the stock.

                           Valuation: Maintaining our Buy rating and PT of $30
                           Our PT is based on a P/E of 6x (details inside) our EPS of $5.00 in 2017E.

                    William Blair wrote that “Endo reported a strong quarter, beating estimates on the top and bottom line.” The analyst
                    commented that the Company maintained its 2016 guidance despite the beat because “management may be hoping to
                    keep expectations low after resetting guidance during the first quarter.” The analyst added that Endo “noted its
                    505(b)2 program should drive growth in 2017 and beyond”:236

                           After the close on Monday, August 8, Endo International reported second-quarter earnings.
                           Overall, Endo reported a strong quarter, beating estimates on the top and bottom line. However,
                           despite the strong $55 million revenue and $0.12 bottom-line beat, management maintained full
                           year 2016 revenue and adjusted EPS guidance of $3.87 billion to $4.03 billion and $4.50 to $4.80,
                           respectively. While management may be hoping to keep expectations low after resetting guidance
                           during the first quarter, third-quarter revenue is expected to be $830 million-$870 million with
                           adjusted EPS guidance of $0.77-$0.82. A significant revenue ramp-up is still expected for the
                           fourth quarter with the anticipated launches of Seroquel XR and Zetia generics. Full year 2016

236
  William Blair, “Strong Second-Quarter Results Although Execution Rebound May Pause in the Third Quarter, Maintain Market Perform,”
August 9, 2016.


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                 projected free cash flow is now expected to be $225 million-$270 million with a 4.6 times net-debt-
                 to-pro-forma-adjusted-EBITDA ratio and the goal of lowering the multiple to 4 times by early
                 2017. Management also noted its 505(b)2 program should drive growth in 2017 and beyond,
                 although specifics were scarce given competition.

                 Revenue for the quarter was $920.9 million, up 25% year-over-year, and above our estimate of
                 $866 million and consensus of $868 million. The top-line beat was driven by $565 million in total
                 U.S. generic sales, up 67% year-over-year, and above our estimate of $520 million and consensus
                 of $542 million. U.S. branded pharmaceuticals were $288 million, down 9% year-over-year, in line
                 with our estimate of $289 million and above consensus of $259 million. Total pain franchise
                 revenues were $128 million, a decrease of 18% year-over year, but higher than our estimate of $120
                 million and consensus of $119 million. Non-GAAP gross margin was 59.1%, lower than our
                 estimate of 59.6% but greater than consensus of 58.4%. R&D expense was $51 million, up 189%
                 year-over-year, and above both our estimate of $43 million and consensus of $41 million. SG&A
                 costs were $193 million, up 30% year-over-year, slightly above our estimate of $191 million and
                 consensus of $178 million. Adjusted net income for the quarter was $192 million, or $0.86 per
                 share, above our estimate of $166 million, or $0.74 per share, and consensus of $175 million, or
                 $0.76 per share. Exhibit 1 shows reported earnings, our estimates, and consensus estimates.

                 Management highlighted an action plan on the U.S. generics franchise, which was implemented
                 after the first-quarter miss and is now rather advanced after just one quarter. Endo is on track for
                 about 30 expected product launches in 2016 (with 11 products launched through August 1 and also
                 includes three first-to-file products, one alternative dosage product, and 10 sterile injectable
                 products as well as Seroquel XR and Zetia), about 25-30 expected submissions in 2016 (seven
                 filings submitted through August 1), and about $60 million in annual net run-rate savings to be fully
                 realized by fourth quarter 2017. In the second quarter, Endo/Par Pharmaceuticals announced that
                 they had received a new patent by the U.S. Patent and Trademark Office (PTO) related to Vasostrict
                 20 units/mL. The related patent is numbered ‘478 with an expiration date of January 30, 2035,
                 solidifying what has become the company’s single-largest product by revenue. With the new patent
                 to be listed on the Orange Book, any ANDA seeking FDA approval for a generic version of
                 Vasostrict before the patent expiration will be required to notify Par of its ANDA and be subject to



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                            a 30-month Hatch-Waxman stay. Management is therefore confident in the durability of the
                            product through at least 2017.

                     News articles attributed the increase in the Company’s stock price after-hours on August 8, 2016, and during the
                     trading day on August 9, 2016, to the Company’s announcements.237

                     Following the Company’s disclosures on August 8, 2016, according to Bloomberg, the average of analysts’ price
                     targets for Endo stock decreased to $28.59 from $28.71, or -0.41%. All 22 analysts who published investment ratings
                     for the Company both before and after the earnings announcement maintained their ratings. (See Exhibit 5C.)

                     Remark: Given that: (i) the Company’s “relatively uneventful quarter with upside to conservative guidance seemed
                     welcome after a series of resets”;238 (ii) analysts were “encouraged with [Endo’s] generics performance this qtr which
                     suggest trends in-line with mgmt’s revised expectations”;239 and (iii) “ENDP shares [were] up after-hours on a 2Q
                     beat and a reaffirmed outlook that captures a combination of low expectations, heavily debated set-up, and some


237
   See, e.g., Reuters, “BUZZ-Endo International Plc: Revenue, profit beat estimates,” August 8, 2016, 6:28 PM; Bloomberg, “Endo Climbs
14% as 2Q Adj. EPS, Rev. Beat Estimates,” August 8, 2016, 4:36 PM; Dow Jones Institutional News, “Endo Rallies, But Analysts Stay
Cautious -- Market Talk,” August 9, 2016, 10:05 AM; Benzinga.com, “Top Performing Industries For August 9, 2016,” August 9, 2016,
10:54 AM; The Motley Fool, “Why Endo International plc’s Shares Made a U-Turn Today,” August 9, 2016, 1:05 PM; The Associated Press,
“Valeant, Endo And Monster Worldwide Surge; Gap Slackens,” August 9, 2016, 5:38 PM; The Philadelphia Enquirer, “Endo shares up on
quarterly earnings,” August 9, 2016; Theflyonthewall.com, “10:30 EDT Endo post-earnings run accelerates, levels to watchShares were last
up,” August 9, 2016; Investing.com, “U.S. stocks mark new intraday highs amid bullish and bearish factors,” August 9, 2016.
238
    Susquehanna Financial Group, “Endo International: ENDP Easily Clears Low Bar As Results Stabilize,” August 9, 2016. See also, e.g.,
Guggenheim, “ENDP - BUY - Turning the Corner on Performance; 2Q16 Beat and Outlook for ’16+ Keep Us Positive on the Stock,” August
8, 2016; Morningstar, “After a Disastrous First Quarter, Endo’s Second-Quarter Results Show Stability,” August 9, 2016; Oppenheimer,
“2Q16 Results: Strong Quarter Gives Investors Hope,” August 9, 2016; UBS, “Beating Low Expectations,” August 8, 2016.
239
   JP Morgan, “2Q Takeaways - Signs of Stability,” August 9, 2016. See also, e.g., Cowen & Company, “Recovery In Quarterly
Performance, But Overall Thesis Is Unchanged,” August 9, 2016; Deutsche Bank, “Decent Q, thankfully,” August 9, 2016; Guggenheim,
“ENDP - BUY - Turning the Corner on Performance; 2Q16 Beat and Outlook for ’16+ Keep Us Positive on the Stock,” August 8, 2016.


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                       favorable read-through to 2017E,”240 the statistically significant Company-specific stock price increase on August 9,
                       2016 is consistent with that expected in an efficient market.

          11/8/2016    Before market open on Tuesday, November 8, 2016, the Company reported its third-quarter 2016 financial results.
                       For the quarter, Endo reported revenue of $884.3 million, adjusted net income of $225.5 million, and adjusted EPS of
                       $1.01.241

                       The consensus estimates of quarterly revenue and adjusted EPS were $863.4 million and $0.81, respectively.242

                       Paul Campanelli, then-President and CEO of Endo (“Campanelli”), commented on the Company’s performance:243

                              During the third quarter 2016, Endo further sharpened its focus on operational execution. We have
                              continued to deliver results across all of our businesses that are on-track or ahead of Company
                              expectations for the quarter. Today we are reaffirming our full year 2016 revenue and adjusted
                              diluted EPS financial guidance …. This is an important time for Endo. The leadership team is
                              working closely and collaboratively to build on our strengths and develop a go-forward strategy
                              that best positions the Company to improve the lives of the patients and customers we serve.

                       The Company also updated its full-year 2016 guidance, while affirming its revenue and adjusted EPS guidance:244



240
  RBC Capital Markets, “Better than anticipated 2Q on low expectations; 2017 visibility low but improving,” August 9, 2016. See also, e.g.,
Gabelli & Company, “Q2 Solid, But In The Wrong Places,” August 10, 2016; Oppenheimer, “2Q16 Results: Strong Quarter Gives Investors
Hope,” August 9, 2016; UBS, “Beating Low Expectations,” August 8, 2016.
241
      PR Newswire, “Endo Reports Third Quarter 2016 Financial Results,” November 8, 2016, 6:30 AM.
242
      Bloomberg, “Endo 3Q Adj. EPS Cont Ops Beats Highest Est,” November 8, 2016, 6:36 AM.
243
      PR Newswire, “Endo Reports Fourth Quarter And Full Year 2014 Financial Results,” November 8, 2016, 7:00 AM.
244
      Ibid.


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                                                                           Current Guidance              Previous Guidance245
                               Total revenue                               $3.87 – $4.03 billion         $3.87 – $4.03 billion
                               GAAP EPS                                    $0.98 – $1.28                 $1.86 – $2.16
                               Adjusted EPS                                $4.50 – $4.80                 $4.50 – $4.80
                               Adjusted gross margin                       60%                           59% – 60%
                               Adjusted operating expenses as % of rev.    22.5%                         21.5% – 22%
                               Adjusted interest expense                   $450 million                  $455 million
                               Adjusted effective tax rate                 0% – 2%                       0% – 2%

                       Prior to the Company’s quarterly announcement, the consensus estimates of revenue and adjusted EPS for 2015 had
                       been $3.93 billion and $4.55, respectively.246

                       The same day, before market open, the Company held a conference call with investment analysts. During the call,
                       Blaise Coleman, then-SVP of Global Finance Operations and Interim CFO (“Coleman”), commented on the
                       Company’s guidance:247

                               we are again reaffirming our revenue and adjusted EPS full year guidance. We expect revenues to
                               be approximately $3.87 billion to $4.03 billion, and adjusted EPS to be between $4.50 and $4.80.
                               Given our overperformance in Q3 versus our expectations, we have increased confidence in our
                               overall full year guidance range which takes into account several moving parts, including the range
                               of our launch forecast for our first-to-file generic versions of Seroquel XR and Zetia, projections
                               around year-end timing of product sales and shipments, and continued pricing pressure for our US
                               generics-based business.



245
      PR Newswire, “Endo Reports Second Quarter 2016 Financial Results,” August 8, 2016, 4:28 PM.
246
      Theflyonthewall.com, “Endo sees FY16 adj. EPS $4.50-$4.80, consensus $4.55,” November 8, 2016.
247
    Thomson Reuters, StreetEvents, “ENDP – Q3 2016 Endo International PLC Earnings Call, EVENT DATE/TIME: NOVEMBER 08, 2016
/ 1:30PM GMT,” November 8, 2016, 8:30 AM.


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                       Campanelli added that the Company expected to face “[s]teeper than anticipated” pricing pressure:248

                              … there are some strategic updates regarding the 2017 market environment that we believe are
                              important to discuss. First, the US generics competitive landscape and pricing pressures continue
                              to be challenging. Deeper than expected base erosion trends that we see and saw in the third
                              quarter indicate stronger headwinds on the front as we exit the year.

                              Steeper than anticipated consortium pricing pressures, both in and out of formal bid cycles that we
                              expect to weigh on our generics business moving forward, could impact our adjusted gross margin
                              profile, and our 505(b)(2) expectation and longer term 505(b)(2) strategy has been impacted by the
                              competitive landscape, regulatory actions, and the pricing environment. We will provide more
                              detailed insights into the expected impacts of these trends on our 2017 financial outlook, when we
                              provide full year guidance in late February 2017. I would like to note that deeper than expected
                              erosion and demand for our products, and/or changes to our resource allocation resulting from our
                              strategic assessment could result in changes in the carrying values of assets across our segments.

                              Next, XIAFLEX. We’ve identified XIAFLEX as a core US branded product and growth driver for
                              Endo moving forward. We continue to put resources and efforts behind accelerating traction and
                              growth in our trends in Duputren’s contracture and Peyronie’s disease indications. We’re also
                              analyzing our R&D pipeline. Cellulite remains the primary focus there, and we look forward to
                              reporting out on our Phase 2b data upon the completion of that trial.

                              Other potential indications are currently undergoing a full commercial assessment and analysis, so
                              that we can best prioritize our R&D efforts and determine clinical trial time lines moving forward.
                              The launch of BELBUCA is also progressing. We continue to believe that BELBUCA offers a
                              compelling and differentiated product profile, and want to ensure that we are best positioning it
                              moving forward. Finally, as the new CEO, I am spending a lot of time evaluating and working with
                              our legal team, to further develop and execute on our strategy with respect to the ongoing mesh
                              litigation.

248
      Ibid.


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                        Barclays published a report prior to the Company’s conference call, in which it stated that Endo’s fourth-quarter
                        adjusted EPS was “a solid beat,” but “[m]anagement noted a sharp decline in the Generics ‘Base’ business (down
                        20%) and noted that could continue into 2017”:249

                               Recently-appointed CEO Paul Campanelli got his tenure off on the right foot with a solid beat for
                               3Q16 with reported-adjusted diluted EPS of $1.01 beating our $0.86 and consensus of $0.81; still
                               given ongoing pressures in the generics business as well as contributions from assets with limited
                               durability, we’d argue it’s premature to declare victory. On the quarter, we’d highlight that
                               outsized contribution from Par, which drove total revenues to $884M versus our $868M and
                               consensus of $862M. Outperformance was driven by the brands business with better performance
                               from Xiaflex. The generics business came in a bit below our expectations at $534M versus our
                               $549M. Gross margins were particularly strong at 63% and almost wholly drove the big EPS beat.
                               A key point will be how sustainable 3Q’s gross margins prove to be especially in the context of
                               continued pressure for ENDP’s base generics business.

                               Management noted a sharp decline in the Generics “Base” business (down 20%) and noted that
                               could continue into 2017 as the company is affected by the purchasing consortium as well as
                               competitive product entrants; we’d argue those two factors are inextricably linked especially for
                               ENDP’s generics business which is a mix of highly commoditized products and limited competition
                               product opportunities. Adjusting for Par contribution, total generics revenues were down roughly
                               12% y/y, but performance would have been considerably worse without $60M in incremental sales
                               from Vasostrict y/y. While ENDP reaffirmed full-year guidance, with net debt/EBITDA at 4.9x,
                               we expect newly appointed CEO Campanelli will continue to review the portfolio for potential
                               divestitures, including the international business which we’ve previously highlighted considering
                               the company identified the business as noncore.

                               Branded business performance was down 8% y/y due to significant contraction in pain products;
                               while Xiaflex revenues increased 19% y/y to $48M (versus our $38M estimate); we will look for

249
      Barclays, “3Q First Impressions,” November 8, 2016.


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                              details on how much of 3Q’s strength was attributable to inventory build versus demand. ENDP
                              did not report Belbuca revenues, reflecting continued modest script trends, and we suspect
                              management will recalibrate expectations for that product and we would not be surprised if the
                              company eventually discontinued promotion.

                              ENDP cited continuing consortium pricing pressures affecting the generics base business
                              (accounting for 15% of the 20% sequential decline); 3Q revenues were $534M, below our $549M
                              estimate, and adjusting for Par contribution (which closed late September 2015). ENDP will
                              benefit from the Seroquel XR and Zetia launches in 4Q and 3Q’s brands performance especially
                              from gross margins. We hope to gain incremental clarity on potential for improvement on pricing
                              dynamics within the generics business on today’s call. We expect the recent media reports focusing
                              on the ongoing DOJ investigation to be a focus for questions.

                       In a separate report published later that day, Barclays wrote that Endo “reported results ahead of expectations and
                       reaffirmed 2016 guidance … though management expressed caution regarding [] 2017.” According to Barclays,
                       “[s]teeper than expected erosion from [Endo’s] base business,” “[c]ontinued pressure from consortiums,” and a
                       “challenging” competitive environment “impl[ied] downward revision to estimates on the Street” for 2017:250

                              ENDP reported results ahead of expectations and reaffirmed 2016 guidance of total revenue
                              between $3.87-$4.03B and adjusted-EPS of $4.50-4.80, though management expressed caution
                              regarding the 2017. While management declined to provide guidance, it strikes us comments imply
                              downward revision to estimates on the Street; we’re at $4.75 for 2017 which is below consensus at
                              $4.92.

                              1) Steeper than expected erosion from base business. Management noted the Par legacy portfolio
                              includes several authorized generics which continue to compress margins. Management is looking
                              for margins in this business to be in the low 50% range. Vasostrict had sales of $249M through
                              3Q16; management stated that in terms of pricing they have the product positioned “where they


250
      Barclays, “Key Takeaways from 3Q16 Call,” November 8, 2016.


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                 need it to be.” ENDP’s Seroquel XR generic launched on Nov 1 and generic Zetia is expected to
                 launch on Dec 12.

                 “Our base business erosion rate in 2017 may be larger than our previous assumption of a return to
                 historic Par annual erosion rates of 10% to 12%. We will update our assumptions on 2017 base
                 erosion, as part of our full year 2017 guidance on our year-end earnings call. It is important to note
                 that Par strategy is focused not on this base segment, but on prioritizing and growing higher quality,
                 higher barrier-to-entry products, and continuing to advance and replenish our differentiating R&D
                 pipeline” – CEO Campanelli

                 2) Continued pressure from consortiums:
                 “Steeper than anticipated consortium pricing pressures, both in and out of formal bid cycles that we
                 expect to weigh on our generics business moving forward, could impact our adjusted gross margin
                 profile, and our 505(b)(2) expectation and longer term 505(b)(2) strategy has been impacted by the
                 competitive landscape, regulatory actions, and the pricing environment.” - CEO Campanelli

                 3) Competitive environment was challenging, ENDP highlighted budesonide and metoprolol XL, as
                 well as changes at a large customer looking to be more global:
                 “We did see a little more discounting for some of the more established generic competitors so a
                 little bit of that going on as well. When we see the 20% erosion factor that we talked about in
                 essence, if we exclude a couple of one-time events we are more in the 15% erosion for the quarter.”
                 - CEO Campanelli

                 4) After more optimism regarding 505(b)2s with 2Q results and continued strength for Vasostrict,
                 management seemed to bow to the broader environment with a more muted outlook, especially for
                 products that the company can’t secure new intellectual property. Given the age of many of these
                 products, we expect that getting new patents will prove difficult.

                 “In today’s environment there are pricing pressures and we’ve got to be a little bit mindful of that
                 so we will continue with a strategy understanding that when we can’t get intellectual property that
                 these 505b 2s in essence will behave like a super generic, where we will have the benefit and



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                              contribution driven by volume, but the pricing environment will be a little bit tighter and likelihood
                              is that we will see ANDAs coming at a quicker rate but that’s fine” – CEO Campanelli

                              5) Revenues in the branded pharmaceutical segment declined by 8%. This was attributable to a
                              generic entrant for their Voltaren Gel product and volume contraction across their pain product line.
                              The company didn’t disclose Belbuca sales but management indicated directionally that they were
                              in the “low single digit millions,” no surprise given lackluster script trends. Net sales of Xiaflex
                              increased 19% y/y but management hinted that sales for 4Q should be similar or slightly higher
                              than 3Q2016 sales.

                              6) No surprise, ENDP declined to comment on the DOJ antitrust investigation but pointed out that
                              they were not the first entrant in the generic Digoxin market and took no price increases on the
                              drug.

                       BMO wrote that Endo’s third-quarter revenue and adjusted EPS exceeded its and consensus estimates. The analyst
                       also reported that the Company “reaffirmed 2016 guidance,” but observed regarding the base generics business that
                       “[a] significant decline is expected to continue into 2017, exceeding previous expectations of 10-12% erosion in the
                       base business next year”:251

                              Bottom Line: ENDP reported 3Q revenue of $884mn vs. BMO/consensus of $868mn/863mn,
                              driven by stronger-than-expected U.S. Branded sales with a large contribution from Other Branded
                              revenue. EPS was $1.01 vs. BMO/consensus of $0.82/0.81 (see Exhibit 1 for detailed variance).
                              The Generics base business declined 20% sequentially (-15% ex-discrete items), and a deeper
                              decline than originally expected may continue into 2017. We maintain our Market Perform rating
                              given a number of uncertainties that could linger.

                              Key Points
                              Key takeaways from 3Q. (1) The base generics business declined 20% sequentially due to
                              continued headwinds including greater consortium pricing pressures, additional competitive

251
      BMO Capital Markets, “3Q Beats Overall, But Base Generics Showing Some More Weakness,” November 8, 2016, 10:43 AM.


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                              entrants and product discontinuations (down 15% excluding certain discrete items such as
                              destocking and shifts in purchase timing). A significant decline is expected to continue into 2017,
                              exceeding previous expectations of 10-12% erosion in the base business next year. Vasostrict
                              remains a bright spot in generics with 3Q revenue of $92mn and ENDP expects it to remain durable
                              with no Paragraph IV filings to date. Generic Seroquel XR was launched on Nov.1 and generic
                              Zetia is on track for a Dec. 12 launch (both as expected). (2) Xiaflex grew 19% Y/Y with 3Q
                              revenue of $48mn ahead of our estimate of $43mn. Demand grew high single-digits (particularly in
                              Peyronie’s) and 3Q benefited from some inventory build. (3) Other Branded revenue was higher
                              than expected largely due to Testim (including AG) and Fortesta, and it is unclear to us if that’s
                              sustainable. (4) The product-by-product portfolio assessment of all three business segments
                              remains on track with results from that analysis expected along with 4Q16 results and 2017
                              guidance. (5) Management expects to exit 2016 with leverage in the high-4x range and will provide
                              additional guidance on cash flow in 2017 once the portfolio assessment is completed.

                              Reaffirmed 2016 guidance, but cautious tone on 2017. ENDP reaffirmed 2016 guidance with
                              revenue of $3.87-4.03bn and adjusted EPS of $4.50-4.80. ENDP continues to expect a 30% decline
                              Y/Y in base generics for full year 2016 and will rely on its pipeline from Par to provide any growth
                              in 2017 (potentially offsetting the erosion in the base business). Management provided limited
                              details on the 2017 pipeline (outside of 505(b)(2) potassium products), however, leaving a number
                              of questions going into next year.

                       In a separate report, BMO wrote the Company’s “3Q exceeded lowered expectations and 2016 guidance was
                       reaffirmed, but management’s cautious commentary regarding continued headwinds in the base generics business
                       was notable.” BMO “lowered [its] estimates to reflect what is likely to be a steeper and more prolonged erosion of
                       the base generics business given all the pricing pressure and competitive dynamics, combined with uncertainties
                       regarding pipeline contribution in 2017 and beyond.” The analyst also lowered its price target for the Company to
                       $20 from $22:252



252
      BMO Capital Markets, “Updating Model Post 3Q; Lowering Estimates and Target Given Generic Pressures,” November 10, 2016.


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                 Bottom Line: 3Q exceeded lowered expectations and 2016 guidance was reaffirmed, but
                 management’s cautious commentary regarding continued headwinds in the base generics business
                 was notable. We lowered our estimates to reflect what is likely to be a steeper and more prolonged
                 erosion of the base generics business given all the pricing pressure and competitive dynamics,
                 combined with uncertainties regarding pipeline contribution in 2017 and beyond. We also await an
                 update on the new CEO’s strategic assessment in February. We maintain our Market Perform
                 rating and lowered our target to $20 from $22.

                 Key Points
                 We are lowering our estimates and target. Given management’s more cautious commentary
                 regarding ongoing headwinds in its generics business, we lowered our revenue by just $2mn in
                 2016 but by $123-299mn in 2017-20. We increased EPS by $0.14 in 2016 driven by the 3Q upside,
                 but lowered it by $0.27-0.69 in 2017-20. As a result, our price target goes to $20 from $22.

                 3Q beat on lowered expectations and guidance reaffirmed. ENDP reported 3Q revenue of $884mn
                 vs. BMO/consensus of $868mn/$863mn and EPS of $1.01 vs. BMO/ consensus of $0.82/$0.81.
                 Guidance was reaffirmed with revenue of $3.87-4.03bn and adjusted EPS of $4.50-4.80. 4Q will
                 benefit substantially from the launches of generic Seroquel XR (Nov. 1) and generic Zetia
                 (expected Dec. 12), with management confident both of those are on track to meet its expectations.

                 Key concerns going into 2017. (1) The base generics business declined 20% sequentially from
                 continued headwinds: greater consortium pricing pressures, additional competitive entrants and
                 product discontinuations. We expect a significant decline into 2017, exceeding previous
                 expectations of 10-12% erosion in the base business next year. (2) Some uncertainties remain with
                 the pipeline in 2017 and beyond. 20 launches are expected for 2016, but some smaller product
                 launches were shifted into 2017, while others were rationalized following commercial assessments
                 and portfolio prioritization. Even the longer-term 505(b)(2) strategy could be impacted given the
                 new market realities. (3) It’s unclear what will come of the portfolio assessment with an update
                 expected in February. This could potentially include de-prioritization of underperforming branded
                 assets (e.g., Belbuca) and may result in write-downs of certain assets across the businesses. (4)




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                              2016 leverage will remain in the high-4’s, we expect 2017 cash flow guidance following the
                              portfolio assessment.

                       Cowen wrote that the Company reported quarterly revenue and adjusted earnings above its estimates, “which was
                       comforting.” “Unfortunately,” commented the analyst, “despite [the] reiteration [of 2016 guidance], management is
                       already beginning the process of lowering 2017 expectations, as it does appear that their generic base business
                       continues to suffer and deteriorate from competitive pressures/pricing.” As a result, Cowen reduced its 2017 revenue
                       and adjusted EPS estimates for the Company, and “remain[ed] unconvinced that there will be Y/Y growth in
                       2018”:253

                              The question remains whether Endo can stabilize its operations and begin to generate meaningful
                              cash yield – and even if so – at what point will that improved performance lead to significant debt
                              retirement in the face of still large mesh liability payments and potential future accruals. With this
                              amount of leverage, combined with this level of problems, we still believe better alternatives exist.

                              Future Value Creation Will Continue To Remain Difficult
                              Endo reported Q3 financials that were above on revenues, as well as adjusted earnings, which was
                              comforting. And given the significant new generic launches in Q4 (Seroquel XR and Zetia),
                              management was able to reaffirm their previous 2016 full year revenue and adjusted earnings
                              guidance of $3.87-4.03B, and $4.50-4.80, respectively. These figures would therefore imply a Q4
                              revenue range of $1.10-1.26B, and adjusted earnings of $1.55-1.85.

                              Unfortunately, despite this reiteration, management is already beginning the process of lowering
                              2017 expectations, as it does appear that their generic base business continues to suffer and
                              deteriorate from competitive pressures/pricing. Management indicated that in the generic business
                              “Excluding stocking and one-time factors, this decline was approximately 15% from the Second
                              Quarter 2016. We now expect full year base business decline to be in the low 30 percentage range.
                              Given the steeper than expected erosion for our base business for the quarter and the year, our base
                              business erosion rate in 2017 may be larger than our previous assumption”. Additionally,

253
      Cowen & Company, “Thesis Is Unchanged - Better Alternatives Exist,” November 8, 2016.


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                              management indicated that this erosion is expected to “weigh on our generics business moving
                              forward could impact our adjusted gross margin profile.” Given the size of the new Q4 product
                              flow which should have favorable residual sales in H1:2017, we continue to model for Y/Y growth
                              in 2017, although it should be modest. However, we remain unconvinced that there will be Y/Y
                              growth in 2018.

                              Nonetheless, given the current valuation, we believe the conversation about growth (or lack thereof)
                              is less relevant than simply stabilizing and sustaining its core operations so as to allow for more
                              consistent cash generation. And then, even if the business can stabilize, the question is at what
                              point will that improved operating performance lead to meaningful debt retirement in the face of
                              still significant mesh liability payments and potential future accruals. With this amount of leverage,
                              we do not believe that this is something that our clients need to try find answers to, as there are
                              other relatively inexpensive, yet significantly more higher quality assets with easier and far more
                              straightforward pathways to greater value creation. We would argue that SHPG ($167.67,
                              Outperform), and AGN ($195.96, Outperform) offer more compelling valuations, and should be
                              durable growth entities with significantly more favorable inorganic optionality. For these reasons,
                              we continue to encourage our clients to diversify away this asset.

                       Deutsche Bank wrote that “ENDP reported decent 3Q results and maintained its 2016 revenue and EPS targets, [but]
                       the company’s base generics business faced greater than expected headwinds during the quarter (driven by pricing
                       pressure and competitive intensity), which management believes could flow into 2017.” The analyst reported that
                       Endo “management noted the possibility that greater erosion for generics and/or the outcome of its strategic review
                       could potentially lead to asset impairments.” The analyst “lowered [its] estimates and PT to $25 (from $31) based on
                       lower generics revenue and gross margin”:254

                              Modeling more conservative growth for the generics base
                              While ENDP reported decent 3Q results and maintained its 2016 revenue and EPS targets, the
                              company’s base generics business faced greater than expected headwinds during the quarter (driven
                              by pricing pressure and competitive intensity), which management believes could flow into 2017.

254
      Deutsche Bank, “Lowering estimates and PT to $25,” November 8, 2016.


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                 On the positive side, the company’s core growth drivers within generics (sterile injectables,
                 alternative dosages, and new launches) performed well. We lowered our estimates and PT to $25
                 (from $31) based on lower generics revenue and gross margin (see below). We are sticking with
                 our Buy rating, but note that it will be important to see some stabilization of pressures on the base
                 and strong performance for the rest of the generics business in the coming quarters.

                 3Q16 snapshot
                 ENDP reported 3Q EPS of $1.01, ahead of our estimate (and consensus) of $0.81. Revenue came
                 in 3% above our estimate as higher sales for US Branded and International were partially offset by
                 lower sales for US Generics. Strong gross margin (+300bp vs. our model) also contributed to the
                 EPS upside. Excluding mesh-related payments, cash flow from ops was $258mn, up from $241mn
                 in 2Q and above our $167mn estimate.

                 Key takeaways from the call
                 In our view, some key takeaways were: 1) base generics sales declined by 20% from 2Q driven in
                 large part by deepening pricing pressure and increased competition; 2) management now believes
                 that base erosion in 2017 could be greater than its prior assumption for a return to historical erosion
                 of 10-12%; 3) ENDP is conducting a bottoms-up, product-by-product assessment of each business
                 unit, and expects to communicate the results in conjunction with 4Q earnings and 2017 guidance in
                 late February; 4) regarding potential headwinds and tailwinds to cash flow in 2017, ENDP does not
                 plan to provide updates until it guides for 2017 given the dynamic environment and strategic
                 review; and 5) management noted the possibility that greater erosion for generics and/or the
                 outcome of its strategic review could potentially lead to asset impairments.

                 Model changes
                 We lowered our revenue estimates by ~4% based primarily on lower sales for generics. We now
                 model US Generics Base sales of $820mn for 2017 (down from $980mn), which reflects ~15%
                 erosion from 4Q16 run rate sales. We also lowered our gross margin assumptions for generics by
                 200bp to 52% (the company is targeting maintaining gross margin in the low 50s over time as it
                 launches new products). These changes took our 2017E EPS to $4.24 (from $4.81) and 2018E EPS
                 to $3.89 (from $4.47).



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                       Gabelli wrote that the Company reported third-quarter revenues and adjusted EPS “ahead of expectations while
                       reaffirming 2016 top and bottom-line guidance.” According to Gabelli, Endo’s reiteration of guidance “was no
                       surprise.” “However,” the analyst cautioned that “the company also noted further erosion in its base generics
                       business … that could continue into 2017.” Gabelli lowered its 2017 and 2018 adjusted EPS estimates for the
                       Company, “primarily due to increasing concerns about generic base erosion,” and warned that it was “prudent to
                       assume continued disruptions into 2017 and 2018”:255

                              On November 8, 2016, Endo reported Q3 revenue ($884M, +19%) and adjusted EPS ($1.01, vs.
                              $1.02) ahead of expectations while reaffirming 2016 top and bottom-line guidance. However, the
                              company also noted further erosion in its base generics business ($263M, -20% from Q2) that could
                              continue into 2017.

                              All eyes on 2017. The Q3 strength came mostly from legacy brands, sterile injectables, and new
                              launch/alternate dosage generics. The company reiterated 2016 guidance last month when its
                              former CFO stepped down, so keeping the adjusted EPS range of $4.50-4.80 was no surprise (our
                              estimate of $4.55 is unchanged). The wide implied range for Q4 reflects several swing factors
                              including key generic launches (Seroquel XR, Zetia) and increasing pricing pressure on base
                              generics. The company sees this pressure (mid-30% decline for base generics in 2016) extending
                              into 2017. We are lowering our expectations for generics and now expect a -27% decline in the
                              base to lead to a -6% decline for the overall generics business to $2.3B in 2017.

                              Business assessment. Newly-named CEO Paul Campanelli is conducting a product-by-product
                              assessment of all three business segments. We expect an update on this process with Q4 earnings
                              in February. The company needs to reduce net debt leverage (currently 4.9x), and we view the
                              international business as the most likely divestiture candidate (base generics and non-Xiaflex
                              brands could also be sold).



255
      Gabelli & Company, “Q3 Beat, But Can’t Ignore That Base Drop,” November 9, 2016.


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                              DOJ investigation. Shares of ENDP and other generic companies were hit last week by a news
                              report about pending charges from a two-year-old investigation by the DOJ of generic price
                              collusion. Of the two products identified in the report, Endo noted that the company doesn’t sell
                              doxycycline hyclate (Par sells doxycycline monohydrate) and never raised price on digoxin (the
                              company entered the market after competitors had already raised the price). While we think the
                              DOJ investigation is more smoke than fire for Endo, we expect concerns about pricing and
                              government oversight to continue to weigh on both the company and the sector.

                              Updating estimates. While our earnings estimates for 2016 are unchanged, we are lowering our
                              adjusted EPS estimates for 2017 ($4.20, previously $4.80) and 2018 ($4.35, previously $5.10)
                              primarily due to increasing concerns about generic base erosion. Just when we think the market
                              may be approaching steady-state erosion levels, we see another disruption. At this point, we
                              believe it’s prudent to assume continued disruptions into 2017 and 2018.

                              Investment Case
                              We recognize the significant challenges facing Endo’s businesses, but we also believe that the
                              current valuation more than reflects this reality. To this point we’ve been painfully wrong on the
                              name, but we continue to view specialty and generic pharma as good businesses worth 10-12x
                              EBITDA over the long term. Completion of the business review and potential divestitures could
                              serve as catalysts for 2017. That said, we are lowering our PMV multiples to 8-10x EBITDA to
                              reflect pricing pressures and a buyer’s market for divestitures in the near-term. Even with our
                              lowered estimates and multiples, ENDP trades at 7.7x 2017 EBITDA (including mesh liability
                              reserves) and a 51% discount to our 2017 PMV of $29 per share.

                       Guggenheim wrote that the Company “reported a 3Q16 beat and reaffirmed its ’16 guidance, which increase[d] [the
                       analyst’s] confidence that earnings visibility is improving.” The analyst lowered its 2017 revenue and EPS estimates
                       for the Company, “given ENDP’s comments that its generics base business revenue declined ~20% sequentially”:256



256
      Guggenheim, “ENDP - BUY - 3Q16 Results Underscore Earnings Potential Is Still Underappreciated,” November 8, 2016.


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                 ENDP reported a 3Q16 beat and reaffirmed its ’16 guidance, which increases our confidence that
                 earnings visibility is improving. If ENDP can continue to execute against its stated objectives, we
                 think the P/E multiple could expand from 3.4x now to 8.0x-10.0x. Our $35 PT translates into a
                 7.8x P/E multiple (assuming ’16 EPS of $4.50). The comps are at 12.0x. ENDP has also said it is
                 open to strategic alternatives if it cannot enhance shareholder value. We think this puts a floor on
                 valuation. We think ENDP could simplify the business by selling its brand assets and pay down
                 debt with the proceeds.

                 3Q16 positives from the call and release that support our thesis: 1) U.S. Branded Pharmaceuticals
                 continued to focus on supporting demand growth for Xiaflex in both the Dupuytren’s contracture
                 and Peyronie’s disease indications and the Belbuca launch continues to progress . 2) Net sales of
                 Xiaflex increased 19% compared YOY; this increase reflects high single-digit demand growth for
                 the product and expected inventory build in the quarter. 3) On 11/1/16, ENDP launched the generic
                 form of Seroquel XR, for which it has first-to-file status and 180 days of marketing exclusivity.
                 And, 4) As of 9/30/16, ENDP had $561.6MM in unrestricted cash; net debt of ~$7.7B and a net
                 debt to adjusted EBITDA ratio of 4.9x.

                 Maintained our ’16 EPS and lowered our ’17 EPS post 3Q16. ENDP reported 3Q16 adjusted EPS
                 of $1.01, $0.20 higher than consensus and $0.25 above our estimate. Our Variance Analysis table
                 has details. ENDP maintained its ’16 EPS guidance of $4.50-4.80, midpoint $4.65 (we were $4.50,
                 consensus was $4.56). We have updated our model for 3Q16 and ENDP’s outlook, which did not
                 change our ’16 EPS and decreased our ’17 EPS estimate. We are more conservative in modeling
                 ’17 generics sales given ENDP’s comments that its generics base business revenue declined ~20%
                 sequentially, due to deepening consortium pricing pressures and additional competitive entrants and
                 product discontinuations as well as discrete factors, including destocking and shifts in purchase
                 timing due to market conditions.

                 Upcoming Events and Potential Catalysts. 1) Advance additional Xiaflex indications, ’16+; 2)
                 2017 guidance and full strategic plan update, February ’17; 3) Belbuca launch progression ’16+;
                 and 4) M&A and/or business development ’16+.




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                       JMP wrote that the Company “outperformed expectations in 3Q16,” and that the “[o]utperformance in the quarter
                       was driven by strong contributions from Xiaflex and better than expected ‘other’ branded sales.” However, JMP
                       lowered its 2017 estimates for the Company “due to additional generic pricing weakness expected in 2017,” and cut
                       its price target to $34 from $44:257

                              Endo Pharmaceuticals (ENDP) outperformed expectations in 3Q16 with revenue of $884.3M
                              ($848.1M JMPe and $862.9M consensus) and EPS of $1.01 ($0.79 JMPe and $0.81 consensus); we
                              reiterate our Market Outperform rating but lower our price target to $34 from $44 based on our
                              revised 2017 estimates. Endo reiterated 2016 revenue guidance of $3.87-4.03B and EPS of $4.50-
                              4.80 and the company will provide 2017 guidance on its 4Q16 earnings call. Outperformance in
                              the quarter was driven by strong contributions from Xiaflex and better than expected “other”
                              branded sales. We lower our 2017 estimates due to additional generic pricing weakness expected in
                              2017. Our revised $33 target includes an equal blend of a PEG ratio and market cap/EBITDA
                              analysis of 0.7x and 5.0x (prior 0.8x and 6.1x), respectively, on our 2017 estimates, discounted by
                              30% (unchanged).

                              Xiaflex generated sales of $47.7M exceeding JMPe of $39.9M and we expect low double-digit
                              growth for 2016. Xiaflex increased 7% Y/Y and 11% Y/Y in Peyronie’s disease. Xiaflex sales
                              were split 50/50 between Dupuytren and Peyronie’s. The cellulite Phase 2 data is expected in late
                              2016.

                              Total U.S. generics business generated $533.7M, in line with JMPe of $531.4M. The sterile
                              injectable and alternative dosage forms business increased but the base Qualitest business declined
                              ~20% Q/Q and a 30% decline is expected for the full year. We estimate that the erosion rate in
                              2017 may be another 10-12% due to consortium pricing pressures and additional competition.
                              Endo still expects to launch 20 drugs in 2016. Generic Seroquel XR was launched November 1st
                              and generic Zetia will launch on December 12th, both of which are first-to-file (FTF) with six
                              months of exclusivity.


257
      JMP, “ENDP Reports Strong 3Q16; Pipeline and Branded RX Offsetting Generic Pricing,” November 9, 2016.


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                              Focus on 505(b)2s with IP protection. Endo will target 505(b)2s where it: 1) develops a new
                              formulation of an existing injectable with IP protection; or 2) obtains NDA approval for a marketed
                              but previously unapproved drug with IP protection. The two strategies should provide Endo market
                              exclusivity, protection against generic filers, and retained pricing leverage.

                              We are impressed with the new CEO and the direction Endo is heading. Endo is a large
                              multinational company with both outperforming and underperforming divisions. Generic
                              reimbursement challenges continue but we believe they will stabilize in 2017. Twenty planned
                              generic launches and 25-30 ANDA filings may offset pricing pressures in 2017. Near-term revenue
                              drivers include potassium liquid and powder, Zetia, Seroquel, Vasostrict, and new 505(b)2 drug
                              launches.

                              Endo is conducting a bottoms-up evaluation of all three of its businesses (Branded, Generic,
                              International). Reuters reported that Endo may be considering divesting Paladin, the Canadian
                              business, to Knight Therapeutics. Endo has $7.7B in net debt and is levered 4.9x net debt on LTM
                              EBITDA.

                       JP Morgan published a report prior to the Company’s conference call, stating “Endo reported stronger-than-
                       expected 3Q results … largely driven by its branded business (generics were in line), while leaving 2016 guidance
                       unchanged.” The analyst observed that “[h]eading into 2017, we see key to upside being driven by improving
                       fundamentals across its generics business driving a gradual delevering process as well as clarity on the ongoing DOJ
                       investigation into pricing collusion by generic manufacturers that has further depressed valuations across the
                       space”:258

                              This morning, Endo reported stronger-than-expected 3Q results (EPS +$0.20 vs. consensus), largely
                              driven by its branded business (generics were in line), while leaving 2016 guidance unchanged.
                              Given recent weakness and with the stock trading at ~3x forward EPS/6x EV/EBITDA, we believe
                              the bar remains very low for Endo and see shares reacting favorably to today’s update. Going
                              forward, we continue to see Endo as an execution story given the mix of generic pricing headwinds

258
      JP Morgan, “3Q Impressions: Qtrly Beat Although Base Generics Business Remains Under Pressure – ALERT,” November 8, 2016.


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                      and new launch pipeline at the company. Further, we would not be surprised to see further cost
                      cutting and/or asset divestitures as new CEO Campanelli completes his strategic review of the
                      business in 2017. Overall, we believe Endo’s valuation more than reflects the current challenging
                      generic environment and we see the potential for improved results and delivering as we look out to
                      2017.

                      Endo reports 3Q upside, leaves full year guidance unchanged. Endo reported 3Q revenues of
                      $884mn (+$20mn vs. consensus) driven by stronger than expected branded revenues, while EPS of
                      $1.01 (+$0.20 vs. consensus) also benefited from stronger gross margins (~63% vs. JPMe of
                      ~60%). Endo left full year guidance unchanged (revenue of $3.87-$4.03bn, EPS of $4.50-$4.80),
                      and we continue to expect a much stronger 4Q on the back of exclusive generic launches of Zetia
                      and Seroquel. Overall, we expect shares to react favorably to today’s update, particularly given
                      recent weakness and shares trading at only ~3x forward EPS.

                      Looking for more clarity on generic base business commentary. While Endo continues to
                      restructure its generic business and focus on less commoditized products, the company saw a ~15%
                      sequential decline across its base business, due to “deepening consortium pricing pressures and
                      additional competitive entrants… and this deeper decline may continue into 2017.” We will look
                      for color on how this reconciles with the company’s prior generic outlook for 5% sequential erosion
                      of its base business.

                      We think shares remain highly inexpensive, see delevering as key to upside next year. ENDP
                      trades at ~3x forward EPS and ~6x EBTIDA, and at the end of 3Q, had roughly ~$7.7bn of debt
                      and a net debt ratio of ~4.9x (roughly unchanged from 2Q). Heading into 2017, we see key to
                      upside being driven by improving fundamentals across its generics business driving a gradual
                      delevering process as well as clarity on the ongoing DOJ investigation into pricing collusion by
                      generic manufacturers that has further depressed valuations across the space.

               In a separate report published that day, JP Morgan wrote that “despite relatively in-line results, ENDP again saw a
               pick-up in base business generic erosion due to buying consortium pressures and new competitor entrants (~15%
               sequential erosion vs. guidance of ~5%), which the company believes may continue into 2017.” The analyst lowered



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                       its 2017 through 2018 EPS estimates for the Company, “largely on greater base business erosion … and lower
                       pipeline assumptions,” and cut its price target to $30 from $38:259

                              Following 3Q results, we wanted to share our latest thoughts on ENDP. Overall, despite relatively
                              in-line results, ENDP again saw a pick-up in base business generic erosion due to buying
                              consortium pressures and new competitor entrants (~15% sequential erosion vs. guidance of ~5%),
                              which the company believes may continue into 2017. Despite a stronger anticipated upcoming 4Q
                              on the back of several FTF generic launches, with now greater uncertainty on the 2017 generic
                              pricing environment, we see a more challenging path to recovery for ENDP shares in the near-term.
                              However, we continue to see LT value in shares as we see generics as a topline growth industry
                              over time, and with ENDP trading at only ~3x 2017 EPS and ~6x EV/EBITDA, remain OW.

                              Updating model. We are updating our estimates and lowering 2017+ estimates largely on greater
                              base business erosion (~15% sequential erosion through 2017 before normalizing in 2018) and
                              lower pipeline assumptions next year. Our new 2016-2018 EPS is now $4.75, $4.88 and $4.55.
                              Please see page 2 for a summary of our estimate changes.

                       Leerink wrote that the Company’s “3Q results were encouraging, [but] the sources of the beat were lower quality
                       (not durable), and mgmt. braced investors for faster than expected erosion of their generics, noting the base biz will
                       decline at a steeper rate in ’16E and ’17E.” Leerink reported that “[m]gmt now expects the generic base biz to
                       decline 30% relative to the pro forma 2015 of $1.75bn versus a prior expectation of 10-12% erosion,” and “2017 base
                       biz erosion could be greater than the 10-12% level.” As a result, the analyst lowered its 2017–2021 revenue and EPS
                       estimates for the Company and decreased its price target to $15 from $22:260

                              Bottom Line: ENDP reported a modest 3Q top-line beat of 2% and sizeable EPS beat of 24%, but
                              mgmt. left FY16 guidance unchanged and comments regarding growth outlook for generics suggest
                              faster than expected 2017 erosion. While 3Q results were encouraging, the sources of the beat were


259
      JP Morgan, “Thoughts Post 3Q,” November 8, 2016.
260
      Leerink, “3Q Wrap-Up: Another Generics Rebasing, Reit MP, PT to $15,” November 8, 2016.


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                 lower quality (not durable), and mgmt. braced investors for faster than expected erosion of their
                 generics, noting the base biz will decline at a steeper rate in ’16E and ’17E due to: (1) increased
                 competition to two large top-line contributors; and (2) greater price pressure from consortiums. As
                 such, we are revising our ’17-21E sales and EPS downward by 3-10%. Our 2018 estimates call for
                 a 7% top-line decline and 14% Y/Y earnings dip due to the loss of two paragraph 4 exclusive Gx’s,
                 g-Zetia and g-Seroquel. We remain MP and are lowering our PT to $15/shr (from $22).

                 US base biz headwinds continue to persist. ENDP’s US gx biz declined ~15% Q/Q excl. one timers
                 such as de-stocking. Mgmt now expects the generic base biz to decline 30% relative to the pro
                 forma 2015 of $1.75bn versus a prior expectation of 10-12% erosion. Mgmt went on to say 2017
                 base biz erosion could be greater than the 10-12% level, and they plan to update investors on its
                 February 2017 call. Reasons for the diminished outlook on the base biz include customer
                 consortiums are causing greater than expected pricing pressure, and mgmt called out declining sales
                 of two large top-line contributors, g-Entocort and g-Toprol. We estimate g-Entocort was ~$100-
                 140m/ yr product and g-Toprol was $40-50m prior to recent competitive headwinds that included a
                 TEVA (OP) 3Q launch in the Entocort category, and g-Toprol has lost 200 bps of TRx market share
                 starting in 2Q16. Cumulatively, we estimate headwinds to these products could be worth ~$20-30m
                 or 10% of the 15% Q/Q decline. Our updated FY16E base business of ~$1.15B reflects a 34% Y/Y
                 decline vs mgmt.’s guidance calling for “the low-30%” Y/Y decline.

                 Vasostrict update encouraging but other 505(b)(2) launches can be tricky to forecast. In 3Q,
                 Vasostrict was a key value driver with ~$92m in sales (per 10-Q). Vasostrict has a patent expiring
                 in 2035E and no paragraph 4 challengers have emerged, to date. Part of ENDP’s generic strategy is
                 to develop products similar to Vasostrict, taking advantage of FDA incentives for pursuing NDAs
                 for products currently on the market in unauthorized form. We expect investor focus on future
                 505(b)(2)s such as potassium chloride [(hypokalemia; liquid and powder form)] – ENDP’s powder
                 form has potential upside and mgmt. commented that the FDA requested all unauthorized product
                 to exit the market in June 2016, meaning there is upside in the 18m packet market once the market
                 shifts to limited competition. We view potassium powder and ephedrine sulfate as key products
                 within this strategy and key to avoiding a sales/earnings decline in 2018, but visibility on
                 competitive landscape is low.



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                       Morgan Stanley published a report prior to the Company’s conference call, noting that Endo’s third-quarter EPS was
                       25% above consensus estimates “due to branded and int’l upside.” However, though “3Q execution [was] strong,”
                       the analyst noted that “Generics Base business revenues declined approximately 20 percent sequentially compared to
                       the second quarter 2016,” and a “‘deeper decline may continue into 2017’”:261

                              Endo exceeded 3Q EPS expectations by 25% vs. consensus due to branded and int’l upside.
                              Management reiterated guidance for the full year.

                              3Q execution strong; Gx base business impacted by discrete factors. Branded revenue drove the
                              upside, including pain and Xiaflex revenue. Int’l rev was also above. Generics revenues came in
                              slightly weaker vs. our estimates, mainly driven by the base business ($263M vs. MSe $310M).
                              However, mgmt. highlighted a number of discrete factors: “Generics Base business revenues
                              declined approximately 20 percent sequentially compared to the second quarter 2016, due to
                              deepening consortium pricing pressures and additional competitive entrants and product
                              discontinuations as well as discrete factors, including destocking and shifts in purchase timing due
                              to market conditions. The sequential decline would have been approximately 15 percent without
                              these discrete factors and this deeper decline may continue into 2017.” On the positive side, Sterile
                              Injectables were in line ($137M vs. MSe $135M) and New Launches and Alternative Dosages were
                              better than expected ($133M vs. MSe $105M).

                              Next updates to watch: 1) New CEO Paul Campanelli’s updates on base business outlook and
                              strategy. Recall that Campanelli stated he is “in the process of assessing” the branded and
                              international business segments. 2) Generics pipeline beyond Zetia and Seroquel launches. 3)
                              Cash flow and debt paydown progression. 4) Xiaflex pipeline—Phase 2b readout for cellulite is
                              likely this winter.

                              3Q top line and bottom line. Revenues were $884M, 3% above cons’ $862M and 2% above our
                              $866M. EPS were $1.01, 25% above orur and cons’ $0.81. $0.01 per share equates to

261
      Morgan Stanley, “3Q beat; guidance maintained,” November 8, 2016.


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                               approximately $2.2M pretax. $0.20 EPS upside vs. our model included: Revenues +0.08, COGS
                               +0.11, SG&A -0.03, R&D -0.00, Other +0.02, Taxes +0.02.

                               2016 guidance reiterated. Revenue guidance is $3,870-$4,030M; midpoint of $3,950M is in line
                               with cons’ $3,935M and 1% below our $3,979M. EPS guidance is $4.50 -$4.80; midpoint of $4.65
                               is 2% above cons’ $4.55 and our $4.56. Consensus EPS for 4Q:16 would need to decline by $0.09
                               or -2% in order to meet ENDP’s unch guidance midpoint.

                        In a separate report published the next day, Morgan Stanley lowered its 2016 through 2020 revenue and earnings
                        estimates for the Company, “mainly driven by steeper U.S. base generics declines.” The analyst reported that
                        “[d]espite reiterated 2016 guidance,” “[m]anagement’s commentary on generics foreshadowed greater-than-expected
                        pricing pressure in 2017.” As a result, the analyst cut its price target for Endo to $15 from $16:262

                               Despite reiterated 2016 guidance, management provided cautious commentary on gx pricing
                               heading into 2017. Additionally, the Gx pipeline beyond FTF Zetia and Seroquel remains a show
                               me, in our view. Maintain EW.

                               Slightly reducing estimates and PT, mainly driven by steeper U.S. base generics declines. We
                               revised our revenues as follows: ’16E -1% from $3.98B to $3.94B, ’17E -1% from $4.22B to
                               $4.15B, ramping to ’20E -2% from $4.21B to $4.13B. The impact was slightly greater on EBITDA
                               with reductions as follows: ’16E -1% from $1.65B to $1.63B, ’17E -3% from $1.81B to $1.76B,
                               ramping to ’20E -3% from $1.83B to $1.77B. Our lowered EBITDA estimates lead to a slight
                               reduction in our PT from $16 to $15, which still represents 6.5x ’17E EBITDA.

                               Management’s commentary on generics foreshadowed greater-than-expected pricing pressure in
                               2017. Mgmt. highlighted that its U.S. base generics segment (roughly 50% of gx revs; 30% of total
                               co. revs in 3Q) faced greater than expected consortium pricing pressures, resulting in a sequential
                               decline of -20% from 2Q to 3Q (vs. -5% guidance). Mgmt. also hinted that its 2017 base erosion
                               guidance of -10-12% YoY may worsen. As a result, we revised our 3Q/4Q16 sequential decline

262
      Morgan Stanley, “Reducing estimates on Gx pricing pressure,” November 9, 2016.


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                              from -5% to -15%, and our 2017 YoY from -12% to -16%. We maintained base erosion of -5%
                              YoY in 2018 and beyond.

                              In addition to near-term pricing pressures, we remain uncertain on the Gx pipeline beyond Zetia and
                              Seroquel. While we understand management’s decision to keep its generics pipeline close to the
                              vest for competitive purposes, CEO Paul Campanelli acknowledged that “we don’t have the two
                              blockbusters that you’re seeing right now in Zetia and Quetiapine...We’ve got a solid pipeline, but
                              they are smaller products.” We see this as a potential concern given that 1) consensus estimates ex-
                              Zetia / ex-Seroquel imply significant pipeline enthusiasm, 2) Vasostrict may not be as significant a
                              growth driver in the out years in a more “mindful and thoughtful” pricing strategy, and 3) current
                              505(b)(2) opportunities such as potassium could face Gx pressure in 2018-2019. Even when we
                              account for previously disclosed FTFs and limited competition launches, “smaller products” in
                              aggregate are still difficult to offset the Zetia and Seroquel cliff in 2018, in our view. That being
                              said, there could be upside risk to our estimates if the pipeline materializes to a greater extent than
                              we currently project.

                       Oppenheimer wrote that the Company “report[ed] 3Q16 results that were ahead of consensus estimates.” However,
                       Endo shares traded down as the “key focus for Endo remain[ed] on the headwinds facing the generics base business.”
                       These headwinds included “price erosion, increased consortium-derived pricing pressures, and a more competitive
                       505(b)(2) landscape.” The analyst reduced its 2016 revenue and adjusted EPS estimates for the Company:263

                              Shares of Endo traded down ~-7.5% (vs. the S&P 500 ~flattish) despite the company reporting
                              3Q16 results that were ahead of consensus estimates. Expectations were largely met on the branded
                              side of the business, including continued growth in Xiaflex; however, a key focus for Endo remains
                              on the headwinds facing the generics base business. Management reaffirmed 2016 guidance, but is
                              currently undergoing a product-by-product portfolio assessment for which Endo plans to provide an
                              update in 1Q17. As the company moves to conduct a comprehensive evaluation of its business, we
                              believe investors should maintain a “wait-and-see” approach on the shares. We maintain our
                              Perform rating.

263
      Oppenheimer, “3Q16 Results: Solid Results, But Challenging Headwinds Ahead,” November 8, 2016.


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                      KEY POINTS
                      Headline Results: Revenue of $884.3M split our/consensus estimates of ~ $887.6M/$863M, while
                      adj. EPS of $1.01 beat our/consensus estimates of $0.85/ $0.81 on lower than expected COGS and
                      R&D expenses. Opana/Voltaren/ Percocet revenues were all better than expected. Xiaflex
                      revenues were in line with expectations with the company benefiting from some stocking in the
                      quarter (~$1M).

                      Guidance: Management reaffirmed full-year 2016 revenue and adj. EPS guidance of $3.87-
                      $4.03B/$4.50-$4.80. For the generics base business, the company now forecasts a full-year
                      percentage decline in the “low-30’s” range and continues to indicate a challenging environment
                      heading into 2017 underscored by continued price erosion, increased consortium-derived pricing
                      pressures, and a more competitive 505(b)(2) landscape.

                      Pipeline: ENDP has launched its first-to-file version of generic Seroquel XR (early November) and
                      is on track to launch generic Zetia (December). Symphony Health data indicate prescriptions grew
                      ~1% Q/Q for Seroquel (Quetiapine) and declined ~1% Q/Q for Zetia. The company has launched
                      15 products to date in 2016 and expects to launch an additional five products in 4Q16.

                      Mesh Liability: Endo’s pre-tax liability related to its vaginal mesh lawsuits stands at $900M ($1.2B
                      accrued minus ~$300M in restricted cash). Management estimates paying out ~$300M in 4Q16
                      and the balance over the first three quarters in 2017. Current leverage levels are within secured
                      leverage covenant requirements of <3.85x EBITDA (currently ~2.1x) and interest coverage
                      covenants of >2.5x (currently ~3.8x).

                      Model Changes: Our 4Q16 and 2016 revenues/adj. EPS estimates move to $866M/$0.93 (vs. prior
                      $1,113.6M/$1.75) and ~$3,635M/$3.89 (vs. prior ~ $3,886M/$4.54), respectively. We maintain
                      our Perform rating.

               Piper Jaffray wrote that the Company reported third-quarter revenue and adjusted EPS ahead of consensus
               estimates. However, Endo shares were not “valued all that attractively” considering “the mixed dynamics



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                        surrounding the generics business, along with lackluster performance from brand assets (e.g., Xiaflex), all in the
                        context of a company that will be hard pressed to delever significantly for the foreseeable future due to payments
                        surrounding the vaginal mesh settlements.” Concerning the generics business, Piper Jaffray noted that
                        “[m]anagement cited steeper than expected pricing erosion as well as volume declines, and expects that these
                        pressures will continue into 2017.” As a result, the analyst cut its price target for the Company to $15 from $19:264

                               Endo reported 3Q16 non-GAAP diluted EPS of $1.01 on revenue of $884M, compared to Street
                               estimates of $0.81 and $863M, respectively. ENDP reiterated its 2016 guidance. Though the base
                               generics business faced significant pressure in 3Q (see below for more details), the continued
                               strength of higher margin injectibles [sic] (namely Vasostrict and to a lesser extent ENDP’s
                               potassium chloride products) drove the 3Q upside. Given the mixed dynamics surrounding the
                               generics business, along with lackluster performance from brand assets (e.g., Xiaflex), all in the
                               context of a company that will be hard pressed to delever significantly for the foreseeable future
                               due to payments surrounding the vaginal mesh settlements, we do not believe that ENDP shares, at
                               a 2017 EV/EBITDA of 7x, are valued all that attractively. We reiterate our Neutral rating and
                               lowering our PT to $15 from $19 (see below for more details).

                               Outside of the injectibles segment, a tough quarter for the generics business. Sales for the base
                               generics business, excluding injectibles and new launches, declined by 15% in 3Q16 versus 2Q16
                               (this excluded stocking and one-time items; including these items translates into a 20% decline).
                               Management cited steeper than expected pricing erosion as well as volume declines, and expects
                               that these pressures will continue into 2017. ENDP expects the erosion of base business sales in
                               2017 to be greater than 10%-12%, and this is on top of an expected 30%+ decline for the base
                               business in 2016.

                               Injectibles segments essentially keeping the overall generics business afloat. Based on data from
                               Symphony Health, Vasostrict sales were $102M in 3Q16, up 22% over 2Q16 and 143% over 3Q15.
                               We note that ENDP implemented price increases of 20% and 19% on 7/28/16 and 1/18/16,
                               respectively. We estimate that Vasostrict accounted for nearly one-fifth of generics sales in 3Q16,

264
      Piper Jaffray, “Injectibles [sic] Driving The Bus for Now; LT Earnings Visibility A Big Question Mark,” November 8, 2016.


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                            and a significantly higher portion of EBITDA given that it essentially has brand-like margins.
                            Given that ENDP has yet to receive notice of an abbreviated NDA (aNDA) filing under paragraph
                            IV, we would expect to see exclusivity into 2019 (i.e., ENDP benefitting from a 30-month stay).
                            Another key contributor to keep an eye on is ENDP’s potassium liquid and powder products. With
                            the removal of unapproved liquid products from the market, ENDP now accounts for virtually all of
                            volumes. A similar dynamic is taking place regarding potassium powder products, and the impact
                            of conversion to ENDP’s powder product should be felt during 2017. These dynamics should at
                            least in part offset the impact of continued headwinds for the base business.

                            Xiaflex just has not emerged as a major growth driver. Xiaflex sales of $48M in 3Q16 grew by
                            12% versus 2Q16, but were still down 5% versus 4Q15. ENDP cited de-stocking as a headwind
                            (demand vial growth was 7% in 3Q16 over 3Q15). We continue to believe that ENDP should
                            explore a divestiture (refer to our note from 7/7/16 for more details).

                            RISK TO ACHIEVEMENT OF PRICE TARGET
                            Risks include additional generic threats and merger integration risk.

                     RBC published a report prior to the Company’s conference call, stating that Endo reaffirmed guidance for 2016,
                     which “continues to bracket existing consensus despite the 3Q upside.” In addition, RBC noted that “there was
                     some cautionary language in the press release worth calling out which has implications for other manufacturers in
                     that sequential generic base erosion was 20% (15% without some ENDP-specific one-time factors) and ‘this steeper
                     decline may continue into 2017’”:265

                             ENDP reported 3Q revenue and adjusted EPS of $884 million and $1.01 which came in above
                             Street at $863 million and $0.81 and compared to our $867 million and $0.85. Guidance for the
                             full year was also reaffirmed and that range continues to bracket existing consensus despite the 3Q
                             upside. Overall the quarter was solid and comes after last week’s 23% sell-off. Relative to our
                             model, the revenue beat and better gross margin (63% versus our 61%) drove +$0.13 in EPS,

265
   RBC Capital Markets, “ENDP 3Q solid on ‘low expectations’ beat with reaffirmed 2016; but cautionary 2017 ‘generic’ commentary will
bring sector cross-read,” November 8, 2016.


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                 slightly higher spend -$0.01 while below the line items drove the remainder of the delta.
                 Conference call at 8:30AM ET 1-866-497-0462 passcode: 1074797.

                 The 3Q beat was broad based and well above the 3Q guidance range that was reaffirmed 9/23.
                 Generic revenue of $534 million was above our $528 million (Street $531 million) while brands at
                 $280 million were above our $275 million (Street $264 million) and this was helped by a Xiaflex
                 beat in a seasonally slower quarter ($47.7 million versus Street $46 million and our $43 million).
                 International at $70.8 million beat our $64 million which is important to the extent that the
                 business may be up for sale per recent press reports. Overall gross margin was notably solid at
                 63% (guidance tweaked higher) and up nicely sequentially despite a sequentially lower brand
                 result. * Guidance reaffirmed with some tweaks. ENDP also reaffirmed guidance with revenue of
                 $3.87 billion to $4.03 billion and EPS of $4.50 to $4.80. Adjusted gross margin is now expect to
                 be 60% (from 59-60%), operating expenses 22.5% (from 21.5% to 22%), interest expense $450
                 million (from $455 million) with tax rate (0-2%) and share count (223 million) unchanged. The
                 range is broad and we suspect the sizable launches of generic Zetia and Seroquel, with both
                 exclusivities straddling 2016-17, are likely driving that. We still do not expect 2017 guidance until
                 ~Feb consistent with the rest of the group. The implied 4Q guidance captures consensus with
                 revenue of $1.101 billion to $1.261 billion ($1.189 billion) and $1.55 to $1.85 ($1.80).

                 However there was some cautionary language in the press release worth calling out which has
                 implications for other manufacturers in that sequential generic base erosion was 20% (15%
                 without some ENDP-specific one-time factors) and “this steeper decline may continue into 2017” -
                 this will bring sector cross-read and focus today. This validates a concern that we have been
                 consistently highlighting and specifically why, until there is better 2017 generic market visibility,
                 that it will be hard for the sector to sustain a rally. ENDP appropriately called out deepening
                 consortium pricing pressure and additional competitive entrants among other headwinds that
                 reflect factors driving our cyclical growth thesis where we continue to think that sector margins
                 will remain pressured as we move into 2017 as we again detailed in our recent 10/26 report
                 “Generics: further analysis on our generic cycle thesis”.




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                                 Several questions for that call that we highlighted in our preview “Upcoming 3Q may help
                                 alleviate recent share pressure; three things we are watching”. Specifically (i) Search progress
                                 given 10/20 announced departure of CFO effective 11/22 which follows 9/23 CEO change, “CEO
                                 change announced and guidance reaffirmed; strategic ‘assessment’ will be the near-term focus” -
                                 ENDP announced Nov 7 the appointment of a COO and President of US Generics (both internal
                                 promotes). (ii) Expectations for upcoming MCK/WMT bid cycle and comfort level around
                                 improved 2017E generic visibility given 2016 challenges. (iii) Vasostrict competitive color given
                                 importance to P&L (~25% of EPS and will grow if we see divestitures). (iv) DOJ detail which
                                 will be limited on Dec-14 subpoena; Par entered Digoxin as AG and 4th entrant Jan-14, priced in
                                 line with no increases and on doxycycline it only sells monohydrate, not hyclate. (v) 2017E
                                 outlook though unlikely to be addressed, focus on if 10-12% erosion can hold (vi) focus on asset
                                 sales will remain high in order to repay debt and per this mornings release ENDP has $7.7 billion
                                 in “net” debt and leverage of just under 5x.

                        In a separate report published the next day, RBC wrote that “ENDP was down -7% following 3Q adding sector
                        pressure on cautious commentary around greater generic erosion and consortium pressure. This overshadowed what
                        was otherwise a solid 3Q.” The analyst lowered its 2017 and 2018 EPS estimates for the Company, “largely driven
                        by revenue revision lower with greater base business erosion next year,” and cut its price target to $21 from $26:266

                                Our view: ENDP was down -7% following 3Q adding sector pressure on cautious commentary
                                around greater generic erosion and consortium pressure. This overshadowed what was otherwise a
                                solid 3Q, but as we have been previewing, 2017 matters more to sector outlook and we see further
                                fundamental pressure ahead. For ENDP, we have taken a more conservative stance lowering EPS
                                and our target to $21.

                                Key points:
                                We have revisited our model in detail and are lowering 2017-19E as visibility next year will remain
                                limited until Feb guidance when upcoming bid cycle clarity likely comes (ie. MCK/WMT). Our
                                new EPS estimates for 2017-19 are $4.50, $4.62, and $4.93 respectively implying a 3% CAGR

266
      RBC Capital Markets, “The realities of 2017 are hitting the stock and sector; lowering EPS and target,” November 9, 2016.


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                      from 2016-19. We have lowered our EPS estimates largely driven by revenue revision lower with
                      greater base business erosion next year. This is consistent with management commentary that
                      ENDP will likely see more erosion than the prior assumption of 10-12% with recent declines
                      running well ahead of that. We expect greater color around generic outlook with 2017 guidance in
                      Feb with 4Q which should also come with a better understanding of the outcome around strategic
                      platform assessment. Asset divestitures from that assessment remain a focus and while the entire
                      brand business ex-Xiaflex is potentially for sale, we continue to see the pain assets and International
                      as likely divestitures.

                      Sector saw broad-based weakness on the back of greater erosion commentary; as we continue to
                      call out - cycles matter and evidence is mounting that cyclical pressure will extend into 2017.
                      ENDP provided a refreshingly honest assessment around the macro challenges facing the sector and
                      that will (i) help with expectations around set-up into Feb guidance and (ii) boost credibility for
                      new CEO Paul Campanelli on calling the environment as he sees it. This is also another 3Q data
                      point follows CAH CEO commentary in that we are seeing a cyclical generic downturn. ENDP
                      called out greater generic erosion entering 2017 with increased consortium pricing pressure and
                      impact to its 505(b)(2) expectations and longer-term strategy given the competitive landscape.

                      What does ENDP need to do from here? Three things: (i) Progress alternative dosage pipeline
                      opportunities forward, and as its commoditized base cycles through, this will ultimately drive
                      margin support and sustainability; (ii) Continue down the road of evaluating assets sales with the
                      intent on reducing leverage from existing levels at close to 5x which will ultimately shift focus back
                      to EPS and P/E; and (iii) Be open to strategic considerations and that means potential for large scale
                      combinations, bolt-on alternative dosage adds and/or a return to privatization if that opportunity
                      exists, which would eliminate both focus on Vasostrict concentration (~25% of 2016E EPS) and
                      further P&L volatility that we could continue to see over the next 12-18 months.

               Susquehanna wrote that “ENDP absorbed headwinds relatively well in 3Q … reflect[ing] expectations having been
               set more appropriately after a painful year of resets.” The analyst “forecast[ed] solid cash generation that could be




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                    augmented through streamlining the business.” As a result, the analyst upgraded Endo from “Neutral” to “Positive,”
                    but reduced its price target to $20 from $22:267

                            We upgrade shares of ENDP with ~23% upside to our $20 target based on ~8x 2017 EV/EBITDA.
                            ENDP absorbing the latest round of pricing pressure better than some peers in 2H16 in part reflects
                            its having been forced to begin rebasing over a year ago. We forecast solid cash generation that
                            could be augmented through streamlining the business.

                            HIGHLIGHTS
                            Our view is improved at a valuation near multi-year lows that doesn’t seem to require much more
                            than management proving it can sustain the business with a growing pipeline. A change in
                            leadership has renewed focus on the core business after a cycle of boom and bust on M&A-driven
                            growth (during which we were on the sidelines). Today’s generics environment is more of a slog,
                            but ENDP absorbed headwinds relatively well in 3Q. This reflects expectations having been set
                            more appropriately after a painful year of resets (some peers started that process more recently).

                            CATALYSTS - Keeping up solid cashflows despite a challenging market could provide a
                            meaningful tailwind for equity value. Incremental support for this goal can come through adding
                            505b2’s with patents, site rationalization to offset margin pressure, and adding date-certain launches
                            for 2H17 and 2018. Concerns on DOJ investigating generics pricing lifted a bit post-election and
                            ENDP notes its past subpoena cited 2 drugs where it wasn’t the price-taker (scrutiny of other
                            products still a risk).

                            WHERE COULD WE BE WRONG? - (1) Irrational Pricing - Sector-wide, 3Q results show
                            intensified generics price competition. ENDP absorbed it better than most, but competitors
                            becoming less rational could defy even conservative forecasting; (2) Leverage - still close to 5x,
                            additional product or regulatory liabilities could impact the equity; (3) Sterile Injectables - Our


267
  Susquehanna Financial Group, “Endo International: Progress Adjusting to New Normal Opens Path To Recovery - Upgrade to Positive,”
November 10, 2016.


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                             caution has eased on the near-to-medium term sustainability but exclusivity and pricing are risks
                             (Vasostrict ~20% of 2017 EBITDA).

                             Catalysts
                             Strategic update Feb., key Par launches, adding date-certain oppts.

                             Downside or Upside risk
                             We see downside to ~$14 if competitive pressure intensifies.

                      UBS published a report prior to the Company’s conference call, noting that “3Q was much better than expected, but
                      we think investors are still concerned for 4Q; so management’s commentary on the conference call about the generics
                      biz will be important in how the stock acts”:268

                             What’s new? 3Q16 EPS of $1.01 vs consensus of $0.81 and UBSe of $0.80
                             3Q16 revs of $884M beat our forecast of $850M, the Street’s $863M, and guidance of $830-870M.
                             The revs upside combined with the higher gross margin (+170 bps), a modestly lower SG&A (-
                             $4M) and a modest tax benefit (-1.1% tax rate) drove the $0.21 EPS beat vs UBSe. The reported
                             EPS is also substantially better than the guidance of $0.77-0.82. Mgt also re-confirmed 2016
                             guidance of $3.87-$4.03B for revenues and $4.50-4.80 for EPS. This suggests that mgt is
                             expecting 4Q revenues of $1.102-1.262B (vs consensus of $1.185B) and EPS of $1.55-1.85 (vs
                             consensus of $1.81).

                             Our takeaway: Better than expected quarter
                             Sales for both the brand (+$12M) and the generics (+$12M) beat our forecast. In brand, Xiaflex
                             was $3M higher, driven by a high single-digit demand growth as well as the expected inventory
                             build that mgt indicated on the 2Q that went from the normal 14 days to 7 days level during 2Q16.
                             In generics, Sterile Injectables were modestly better (+$3M), suggesting strong Vasostrict sales, and
                             alternative dosages/new launches were also strong (+$13M). The generic base business was only
                             modestly lower than our forecast (-$3M) even though the sequential decline of 20% was more than

268
      UBS, “A Good 3Q Beat,” November 8, 2016.


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                              what mgt expected, driven by deepening consortium pricing pressures, additional competitive
                              entrants, and product discontinuations as well as discrete factors, incl destocking and shifts in
                              purchase timing due to market conditions. Mgt noted that the decline would have been ~15%
                              without these discrete factors and the deeper decline may continue into 2017. We look for more
                              color on the conference call regarding whether this commentary is new or a continuation of
                              previous commentary.

                              Thoughts on the stock: Should be up some
                              When the new CEO took over in late September, he re-confirmed guidance so expectations have
                              been that 3Q would be good but investors have still been very concerned for 4Q. 3Q was much
                              better than expected, but we think investors are still concerned for 4Q; so management’s
                              commentary on the conference call about the generics biz will be important in how the stock acts.

                              Valuation: Maintaining our Buy rating and PT of $30
                              Our PT is based on a P/E of 6x our 2017 EPS of $4.80.

                       In a separate report that day, UBS wrote that the Company’s “generic base biz had a steeper decline than what mgt
                       expected” during the quarter, and that “[i]nvestors [were] clearly concerned about mgt’s comments about the generic
                       base biz.” UBS lowered its 2017 adjusted EPS forecast for the Company, which “factored in [an] aggressive 2017
                       decline,” and reduced its price target to $28 from $30:269

                              What we learned on the conference call
                              (1) In the Q, the generic base biz had a steeper decline than what mgt expected, due to the
                              deepening consortium rebates, add’l competition, and 1-off events incl destocking ($10M in the Q/2
                              days) and buying patterns. For 2016, mgt expects the base biz to decline 30% vs 2015 pro-forma
                              sales of $1,752M. For 2017 mgt also expects pricing pressures to continue and steeper base biz
                              erosion than prior 10-12% expectations. We were already below the Street for 2017, and to be
                              more conservative, we lower our EPS for 2017 by $0.05 to $4.75, which factors in >25% base biz
                              erosion. Our 2016 EPS of $4.65 remains unchanged. (2) Mgt also thinks the changing competitive

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      UBS, “Seems Like An Overreaction,” November 8, 2016.


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                      landscape and the regulatory and pricing env’t to impact its 505(b)2 strategy. (3) Mgt expects
                      generic pricing for its 505(b)2 potassium powder. With a market of ~18M packs, and assuming
                      $7/pack and a 25% rebate, the opportunity could be ~$100M.

                      Additional takeaways
                      (4) The launch timing of a number of smaller products expected to launch in 2016 has shifted into
                      2017 and should help with 2017 growth. For 2016, mgt expects 20 new product launches (15
                      already launched) incl Seroquel XR and Zetia. Mgt noted that the launch of Seroquel XR has gone
                      smoothly, and it already has product for the Zetia launch in Dec. (5) Excluding the ~$1M
                      wholesaler stocking (from 6 days to 8 days in 3Q), demand sales for Xiaflex grew 12%. The split
                      between DC/PD was ~50:50.

                      Thoughts on the stock: Seems like an over reaction
                      Investors are clearly concerned about mgt’s comments about the generic base biz that carried over
                      into a broader sell-off in the sector. At this point, it’s hard to have more visibility about what’s
                      going on in the sector until the larger companies report earnings. We do believe that Endo’s base
                      biz is likely weaker than its larger peers. Even if Endo is unable to grow much over the next 2
                      years, as we move into this time next year, the Endo FCF will start to move to shareholders rather
                      than the mesh liability issue, which we think is what investors are waiting for and should be good
                      for the stock.

                      Valuation: Maintaining our Buy rating; lowering PT to $28 from $30
                      We use our prior 6x P/E (unchanged vs ~7.5x for group) on our new 2017 EPS to derive our PT.
                      We’ve factored in aggressive 2017 decline and at 3x our 2017 EPS, we think ENDP is attractive.

               William Blair published a report prior to the Company’s conference call, commenting that Endo’s third-quarter
               revenue and adjusted EPS had exceeded the analyst’s and consensus estimates, but that “[t]he generics base business




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                    revenue declined about 20% quarter-over-quarter and the company noted that the sequential decline in the legacy
                    business … is likely to continue into 2017:270

                           Before the markets opened on Tuesday, November 8, Endo International reported third-quarter
                           earnings that were a strong beat on the top and bottom line. Total revenue was $884 million, an
                           increase of 19% year-over-year and above our estimate of $864 million and consensus of $863
                           million. Non-GAAP diluted EPS were $1.01, also above our estimate of $0.80 and consensus of
                           $0.81. Non-GAAP gross margin was 63.4%, above both our estimate of 63% and consensus of
                           63.1%. Non-GAAP net income was $225.5 million, above both our estimate of $179 million and
                           consensus of $181 million. Given the $0.20 beat in the third quarter and the $0.12 beat in the
                           second quarter, the impact of Vasostrict is clearly affecting the company’s financials after its May
                           guidance reduction. As the bar had been set low entering the quarter (guidance was previously for
                           sequentially down quarter-over-quarter results), we will wait to hear how conservative management
                           is on the call given the clear growth drivers in the fourth quarter (generic Seroquel XR launch). We
                           include reported earnings, our estimates, and consensus estimates in exhibit 1. At the end of the
                           quarter, the company’s net debt position was approximately $7.7 billion with a net-debt-to-
                           adjusted-EBITDA ratio of 4.9.

                           In the quarter, U.S. branded pharmaceuticals generated $280 million of revenue, an 8% decrease
                           year-over-year due to generic Voltaren gel that entered the market in March 2016. Xiaflex remains
                           the top branded product for the company, reporting revenue of $47.7 million, an increase of 19%
                           year-over-year. For the U.S. generics segment, revenues were $534 million in total, a 45% increase
                           year-over-year. Revenues for the international business were $71 million, a 3% decrease year-over-
                           year, including Paladin, which generated $28 million in revenue (up 10% year-over-year). The
                           generics base business revenue declined about 20% quarter-over-quarter and the company noted
                           that the sequential decline in the legacy business (likely Qualitest) from additional competitive
                           entrants, product discontinuations, and destocking/purchase timing is likely to continue into 2017.


270
  William Blair, “Third-Quarter Earnings Quick Take; Strong Top- and Bottom-Line Beat, Guidance Maintained as Seroquel XR
Launches,” November 8, 2016.


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                            Endo had guided for third-quarter revenues of $830 million to $870 million and non-GAAP EPS of
                            $0.77 to $0.82, both of which were sequentially down over second-quarter results of $920.9 million
                            in total revenue and $0.86 in EPS. We continue to view the fourth-quarter performance as key to
                            meeting full-year guidance. The company maintained 2016 full-year guidance of total revenue
                            between $3.87 billion and $4.03 billion and adjusted diluted EPS between $4.50 and $4.80.
                            Adjusted gross margins are expected to be about 60% and operating expenses as a percent of
                            revenue is expected to be about 22.5%. Net interest expense is anticipated to be $450 million with
                            a net effective tax rate of zero to 2% and fully diluted shares outstanding of roughly 223 million.

                     In a separate report published the next day, William Blair wrote that the Company posted “a strong beat on the top
                     and bottom line; however, the stock closed down over 7% due to commentary on the call that reflected downward
                     pressure on the generics base business.” The analyst added that the Company’s “full-year base business declines in
                     the low-30% range … was steeper than the previously expected decline of 10% to 12%.” The analyst opined that
                     “erosion of the base business raised significant questions on whether Endo is set up for growth beyond the Seroquel
                     XR and Zetia launches.” William Blair increased its 2016 revenue and EPS estimates for the Company, due to the
                     third quarter beat, and reduced its 2017 estimates:271

                            Before the markets opened on Tuesday, November 8, Endo International reported third-quarter
                            earnings that were a strong beat on the top and bottom line; however, the stock closed down over
                            7% due to commentary on the call that reflected downward pressure on the generics base business.
                            Endo now expects full-year base business declines in the low-30% range (based on 2015 pro forma
                            base business revenue of $1.752 billion), which was steeper than the previously expected decline of
                            10% to 12%. In addition, consortium pricing pressures, competitive landscape, and regulatory
                            actions could affect adjusted gross margin profile and 505(b)(2) expectations. Management also
                            addressed popular press reports of a Department of Justice investigation in the pricing practices of
                            the industry. It noted that the issue deals with a specific product called doxycycline hyclate that the
                            company does not sell (Endo sells doxycycline monohydrate) and Digoxin, for which management
                            stated that it never took a price increase given that it was the fourth entrant to an established market

271
  William Blair, “Third-Quarter Earnings Post-Call; Generics Base Erosion and Competitive Pressures Leads to Growth Questions,”
November 9, 2016.


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Exhibit 12

      Impact
       Date                                                        Event
                 and merely matched price. While the commentary on the DOJ investigation sounds positive, the
                 erosion of the base business raised significant questions on whether Endo is set up for growth
                 beyond the Seroquel XR and Zetia launches, which should play out over the next three quarters.
                 The focus for investors will likely switch to February when new company management is expected
                 to update the Street on 2017 guidance, near-term growth outlook, and long-term strategy for the
                 branded and international businesses. Given the significant uncertainty surrounding the company’s
                 long-term growth potential, we maintain our Market Perform rating.

                 We are updating our model estimates to reflect Endo’s third-quarter performance, full-year
                 guidance, and management’s earnings call commentary (exhibit 1). We are slightly raising our full
                 year 2016 revenue estimate to $3.9 billion from $3.878 billion due to the strong beat (about $21
                 million) on the quarter offset by the reduction in generics expectations. Our 2017 total revenue
                 estimate is now $4.15 billion, down from $4.162 billion. The generics base business for 2016 is
                 now $1.164 billion and $820 million in 2017. Our full year 2016 non-GAAP EPS estimate
                 increases to $4.75 from $4.55, based on the $0.20 beat in the third quarter (maintaining a $1.80
                 estimate for the fourth quarter), and our full year 2017 non-GAAP EPS estimate has been reduced
                 to $4.86 from $4.93.

                 Total revenue in the third quarter was $884 million, an increase of 19% year-over-year, and above
                 our estimate of $864 million and consensus of $863 million. Non-GAAP diluted EPS were $1.01,
                 also above our estimate of $0.80 and consensus of $0.81. Non-GAAP gross margin was 63.4%,
                 above both our estimate of 63% and consensus of 63.1%. Non-GAAP net income was $225.5
                 million, above both our estimate of $179 million and consensus of $181 million. Given the $0.20
                 beat in the third quarter and the $0.12 beat in the second quarter, the impact of Vasostrict is clearly
                 affecting the company’s financials after its May guidance reduction. We include reported earnings,
                 our estimates, and consensus estimates in exhibit 2. At the end of the quarter, the company’s net
                 debt position was approximately $7.7 billion with a net-debt-to-adjusted-EBITDA ratio of 4.9.




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Exhibit 12

        Impact
         Date                                                                 Event
                     News articles attributed the decline in Endo’s stock price on November 8, 2016 to the Company’s quarterly
                     announcements.272

                     Following the Company’s disclosures on November 8, 2016, according to Bloomberg, the average of analysts’ price
                     targets for Endo stock decreased to $23.12 from $26.47, or -12.67%. Of the 21 analysts who published investment
                     ratings for the Company both before and after the earnings announcement, one upgraded its rating. (See Exhibit 5C.)

                     Remark: Given that: (i) although “ENDP reported decent 3Q results and maintained its 2016 revenue and EPS
                     targets, the company’s base generics business faced greater than expected headwinds during the quarter (driven by
                     pricing pressure and competitive intensity), which management believe[d] could flow into 2017”;273 (ii) multiple
                     analysts attributed the fact that Endo “stock closed down over 7% … to commentary on the call that reflected
                     downward pressure on the generics base business”;274 and (iii) numerous analysts reduced their 2017 revenue and
                     earnings estimates for the Company “largely on greater base business erosion,”275 the statistically significant
                     Company-specific stock price decline on November 8, 2016 is consistent with that expected in an efficient market.




272
  See, e.g., Reuters, “BUZZ-U.S. STOCKS ON THE MOVE-Valeant, Hertz, CVS, Priceline, Endo,” November 8, 2016, 9:15 AM;
Theflyonthewall.com, “07:40 EDT Endo weakness seems like an overreaction, says UBSUBS analyst Marc...,” November 9, 2016.
273
   Deutsche Bank, “Lowering estimates and PT to $25,” November 8, 2016. See also, e.g., Barclays, “Key Takeaways from 3Q16 Call,”
November 8, 2016; BMO Capital Markets, “Updating Model Post 3Q; Lowering Estimates and Target Given Generic Pressures,” November
10, 2016; JP Morgan, “Thoughts Post 3Q,” November 8, 2016.
274
   William Blair, “Third-Quarter Earnings Post-Call; Generics Base Erosion and Competitive Pressures Leads to Growth Questions,”
November 9, 2016. See also, e.g., Oppenheimer, “3Q16 Results: Solid Results, But Challenging Headwinds Ahead,” November 8, 2016;
RBC Capital Markets, “The realities of 2017 are hitting the stock and sector; lowering EPS and target,” November 9, 2016; UBS, “Seems
Like An Overreaction,” November 8, 2016.
275
   JP Morgan, “Thoughts Post 3Q,” November 8, 2016. See also, e.g., Cowen & Company, “Thesis Is Unchanged - Better Alternatives
Exist,” November 8, 2016; Gabelli & Company, “Q3 Beat, But Can’t Ignore That Base Drop,” November 9, 2016; Guggenheim, “ENDP -
BUY - 3Q16 Results Underscore Earnings Potential Is Still Underappreciated,” November 8, 2016.


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Exhibit 13

Endo International plc
Market Capitalization
Source: Bloomberg

                                                                                   1                                    1                                        Number of
                            ENDP's Market           Median Market Capitalization           Mean Market Capitalization            ENDP's Percentile2
         Date                                                                                                                                                    Companies
                             Capitalization
                                                       NYSE             NASDAQ               NYSE             NASDAQ             NYSE        NASDAQ       NYSE      NASDAQ
       3/2/2015             $15,500,192,700        $2,799,902,720      $322,573,248     $11,767,872,974     $3,623,529,516       84.5%        96.4%       1,538      2,431
       7/28/2015            $18,244,881,300        $2,577,411,712      $324,114,976     $11,440,939,067     $3,611,217,414       86.9%        96.9%       1,542      2,456
      12/31/2015            $13,863,228,600        $2,346,664,960      $292,220,624     $10,818,130,512     $3,376,276,061       84.5%        96.4%       1,525      2,464
      12/31/2016            $3,670,780,900         $2,736,050,688      $345,470,896     $12,153,981,384     $3,670,612,344       57.5%        88.5%       1,462      2,384
       1/27/2017            $2,625,488,700         $2,788,324,864      $348,628,992     $12,340,345,316     $3,867,012,276       47.9%        85.0%       1,462      2,383
       2/27/2017            $2,962,032,700         $2,813,192,960      $348,238,720     $12,680,550,197     $3,991,433,891       51.0%        85.9%       1,457      2,377


                                                ENDP's Stock
        Month
                              Minimum               Maximum             Average
        Mar-15              $15,203,750,600      $16,396,619,300     $15,825,964,300
        Apr-15              $15,025,818,300      $17,026,780,600     $16,352,050,710
        May-15              $14,437,333,100      $15,557,571,300     $15,123,660,125
        Jun-15              $14,962,847,000      $17,219,136,500     $16,470,665,532
        Jul-15              $16,325,244,100      $18,244,881,300     $17,517,301,164
        Aug-15              $15,221,092,900      $18,111,631,000     $16,993,538,833
        Sep-15              $13,712,943,200      $17,059,952,500     $15,562,050,010
        Oct-15              $11,650,455,000      $16,087,861,000     $14,217,910,218
        Nov-15              $11,704,790,500      $14,114,587,400     $13,232,165,990
        Dec-15              $12,934,786,300      $14,200,638,200     $13,778,927,727
        Jan-16              $11,895,383,900      $13,600,547,400     $12,676,514,911
        Feb-16              $9,467,846,900       $12,810,239,200     $11,687,276,935
        Mar-16              $6,255,005,900        $9,905,796,300     $7,928,091,255
        Apr-16              $5,783,936,200        $7,550,447,700     $6,334,847,148
        May-16              $2,994,795,100        $6,263,446,500     $3,868,472,648
        Jun-16              $3,048,233,800        $4,007,904,200     $3,668,143,259
        Jul-16              $3,687,271,900        $4,016,810,700     $3,891,563,680
        Aug-16              $3,758,523,500        $5,386,498,600     $4,708,121,917
        Sep-16              $4,415,235,900        $5,210,513,000     $4,631,372,600
        Oct-16              $4,176,875,500        $4,785,028,600     $4,524,073,310
        Nov-16              $3,233,942,400        $4,203,607,500     $3,723,627,410
        Dec-16              $3,363,210,900        $3,670,780,900     $3,517,314,300
        Jan-17              $2,625,488,700        $3,944,919,400     $3,089,629,650
        Feb-17              $2,676,750,400        $3,042,268,300     $2,840,564,822

Notes:
1) Market capitalization of companies whose primary listing of common stock is on the NYSE and the NASDAQ, excluding companies with no data available.

2) This reflects the percentage of companies in the NYSE and NASDAQ with market capitalization smaller than Endo. Companies without market capitalization data
have been omitted from this analysis.




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Exhibit 14
Endo International plc
Public Float: Reported Shares Outstanding Minus Total Insider Holdings
Source: Bloomberg, Thomson Reuters Eikon

 Reporting      Reported Shares      Total Insider
                                                     Float (Shares)   Float (Dollars)   Float (%)
    Date         Outstanding          Holdings
  3/13/2015       177,510,000          900,446       176,609,554      $15,423,312,351    99.5%
  3/31/2015       177,510,000         1,024,317      176,485,683      $15,830,765,765    99.4%
  4/15/2015       177,510,000         1,024,317      176,485,683      $16,928,506,713    99.4%
  4/30/2015       178,740,000         1,024,317      177,715,683      $14,939,668,891    99.4%
  5/15/2015       178,746,000         1,024,317      177,721,683      $15,168,545,644    99.4%
  5/29/2015       178,746,000         1,024,317      177,721,683      $14,885,968,168    99.4%
  6/15/2015       204,600,000         1,024,317      203,575,683      $16,581,239,380    99.5%
  6/30/2015       204,600,000         1,014,397      203,585,603      $16,215,593,279    99.5%
  7/15/2015       208,204,000         1,014,397      207,189,603      $17,567,606,438    99.5%
  7/31/2015       208,204,000         1,014,397      207,189,603      $18,137,377,847    99.5%
  8/14/2015       208,251,000         1,014,397      207,236,603      $17,577,808,666    99.5%
  8/31/2015       208,251,000         1,014,397      207,236,603      $15,957,218,431    99.5%
  9/15/2015       208,251,000         1,014,397      207,236,603      $15,743,764,730    99.5%
  9/30/2015       226,398,000         1,197,998      225,200,002      $15,601,856,139    99.5%
 10/15/2015       226,398,000         1,197,998      225,200,002      $14,998,320,133    99.5%
 10/30/2015       226,398,000         1,197,998      225,200,002      $13,509,748,120    99.5%
 11/13/2015       226,449,000         1,197,998      225,251,002      $13,062,305,606    99.5%
 11/30/2015       226,449,000         1,197,998      225,251,002      $13,848,431,603    99.5%
 12/15/2015       226,449,000         1,197,998      225,251,002      $13,713,281,002    99.5%
 12/31/2015       226,449,000         1,131,983      225,317,017      $13,793,907,781    99.5%
  1/15/2016       226,449,000         1,131,983      225,317,017      $11,835,902,903    99.5%
  1/29/2016       226,449,000         1,131,983      225,317,017      $12,498,334,933    99.5%
  2/12/2016       226,449,000         1,131,983      225,317,017      $11,286,129,382    99.5%
  2/29/2016       226,449,000         1,131,983      225,317,017       $9,420,504,481    99.5%
  3/15/2016       222,203,000         1,131,983      221,071,017       $7,200,283,024    99.5%
  3/31/2016       222,203,000         1,314,869      220,888,131       $6,218,000,888    99.4%
  4/15/2016       222,203,000         1,314,869      220,888,131       $5,815,984,489    99.4%
  4/29/2016       222,661,000         1,314,869      221,346,131       $5,976,345,537    99.4%
  5/13/2016       222,661,000         1,314,869      221,346,131       $3,109,913,141    99.4%
  5/31/2016       222,661,000         1,314,869      221,346,131       $3,499,482,331    99.4%
  6/15/2016       222,661,000         1,314,869      221,346,131       $3,723,041,923    99.4%
  6/30/2016       222,661,000         1,255,722      221,405,278       $3,451,708,284    99.4%
  7/15/2016       222,661,000         1,255,722      221,405,278       $3,903,375,051    99.4%



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Exhibit 14
Endo International plc
Public Float: Reported Shares Outstanding Minus Total Insider Holdings
Source: Bloomberg, Thomson Reuters Eikon

 Reporting      Reported Shares      Total Insider
                                                     Float (Shares)   Float (Dollars)   Float (%)
    Date         Outstanding          Holdings
  7/29/2016       222,661,000         1,255,722      221,405,278      $3,843,595,626     99.4%
  8/15/2016       222,767,000         1,255,722      221,511,278      $5,145,706,988     99.4%
  8/31/2016       222,767,000         1,255,722      221,511,278      $4,585,283,455     99.4%
  9/15/2016       222,767,000         1,255,722      221,511,278      $4,583,068,342     99.4%
  9/30/2016       222,767,000         1,252,123      221,514,877      $4,463,524,772     99.4%
 10/14/2016       222,767,000         1,252,123      221,514,877      $4,399,285,457     99.4%
 10/31/2016       222,767,000         1,252,123      221,514,877      $4,153,403,944     99.4%
 11/15/2016       222,877,000         1,252,123      221,624,877      $3,953,787,806     99.4%
 11/30/2016       222,877,000         1,252,123      221,624,877      $3,548,214,281     99.4%
 12/15/2016       222,877,000         1,252,123      221,624,877      $3,424,104,350     99.4%
 12/30/2016       222,877,000         1,027,242      221,849,758      $3,653,865,514     99.5%
  1/13/2017       222,877,000         1,027,242      221,849,758      $2,926,198,308     99.5%
  1/31/2017       222,877,000         1,027,242      221,849,758      $2,715,441,038     99.5%
  2/15/2017       222,877,000         1,027,242      221,849,758      $3,028,249,197     99.5%
  2/28/2017       222,877,000         1,027,242      221,849,758      $3,028,249,197     99.5%
 Average          215,724,229         1,149,690      214,574,539      $9,476,587,736     99.5%




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